Case 5:17-cv-00564-NC         Document 248-1          Filed 10/09/18   Page 1 of 551


                    UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF CALIFORNIA




  Jackie Fitzhenry-Russell
  and Gegham Margaryan, as
  individuals, on behalf of themselves, the general     Case Nos. 5:17-cv-00564-NC (lead);
  public and those similarly situated,                  5:17- 02341-NC (consolidated); 5:17-cv-
                                                        04435-NC (consolidated)
      Plaintiffs,

                    v.
                                                        Jury Trial Demanded

  Keurig Dr. Pepper Inc., Dr Pepper/
  Seven Up, Inc., and Does 1-50,

      Defendants.




      SUPPLEMENTAL DECLARATION OF KEITH R. UGONE, PH.D.


                                  August 14, 2018




                    CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER
       Case 5:17-cv-00564-NC                    Document 248-1                  Filed 10/09/18              Page 2 of 551




              SUPPLEMENTAL DECLARATION OF KEITH R. UGONE, PH.D.

                                                       August 14, 2018

I.      OVERVIEW OF ASSIGNMENT ................................................................................... 1
II.     SUMMARY OF OPINIONS ............................................................................................ 4
III.    QUALIFICATIONS AND EXPERIENCE .................................................................. 10
IV.     FACTS, DATA, AND INFORMATION RECEIVED................................................. 12
V.      OVERVIEW OF PARTIES ........................................................................................... 13
        A. Keurig Dr Pepper, Inc. (Formerly Dr Pepper Snapple Group, Inc.) ........................... 13
        B. Named Plaintiffs ......................................................................................................... 14
           1. Gegham Margaryan .............................................................................................. 14
           2. Jackie Fitzhenry-Russell ....................................................................................... 15
VI.     DOCUMENTARY EVIDENCE AND OBSERVED RETAIL PRICES DO NOT
        SUPPORT THE EXISTENCE OF A PRICE PREMIUM CAUSED BY THE
        CHALLENGED CLAIM ............................................................................................... 16
        A. Defendants’ Pricing Practices Demonstrate A Lack Of Any Attempt By Defendants
           To Extract A Price Premium For The Challenged Products ....................................... 21
        B. Retail Price Data Demonstrate A Lack Of Any Price Premium For The Challenged
           Products Attributable To The Challenged Claim........................................................ 26
           1. Similarly Packaged Products Generally Are Line Priced According To
               Distributors ........................................................................................................... 27
           2. Retail Price Comparisons Between The Challenged Products And A Canada
               Dry Ginger Ale Product Not Bearing The Challenged Claim (Canada Dry
               Green Tea Ginger Ale).......................................................................................... 32
           3. Retail Price Comparison Between The Challenged Products And Other DPSU
               Ginger Ale Products Not Bearing The Challenged Claim .................................... 36
        C. Named Plaintiff’s Purchase Records From Safeway Demonstrate Prices Paid For
           Challenged Products And Non-Challenged Products Were The Same ...................... 40
        D. Response To Mr. Weir’s Claim That Side-By-Side Price Comparisons Cannot
           Isolate A Price Premium Attributable To The Challenged Claim .............................. 42
VII.    PLAINTIFFS’ PERCENTAGE PRICE PREMIUM APPROACH EXTRACTS
        VALUE FROM FACTORS IMPACTING PRICES UNRELATED TO THE
        CHALLENGED CLAIM ............................................................................................... 45
        A. Challenged Product Prices Vary Depending Upon Sales Channel ............................. 46
        B. Challenged Product Prices Vary Depending Upon Retailer ....................................... 48
        C. Challenged Product Prices Vary Depending Upon Promotional Activity .................. 51
        D. Challenged Product Prices Vary Depending Upon Package Size .............................. 55
        E. Challenged Product Prices Vary Depending Upon Geographic Location .................. 56



                                                                 -i-
        Case 5:17-cv-00564-NC                     Document 248-1                  Filed 10/09/18               Page 3 of 551




         F. Response To Mr. Weir’s Claim That Variations In Purchase Price Are “Inapposite
            To The Calculation Of Class-Wide Damages” Using A Percentage Price Premium
            Approach ..................................................................................................................... 58
VIII.    PLAINTIFFS’ PROPOSED APPROACH DOES NOT YIELD A MARKET
         PRICE PREMIUM ......................................................................................................... 60
         A. The “Marginal Consumer” In Dr. Dennis’ Simulations Is Not Equivalent To The
            Marginal Consumer Of A Market As Typically Defined In Economics .................... 61
         B. Dr. Dennis’ Same Methodology And Simulator Calculates And “Concludes” There
            Is A Price Premium For Regular Soft Drinks Over Diet Soft Drinks, Even Though
            No Such Price Premium Exists In The Real World .................................................... 64
         C. Sawtooth Documentation Demonstrates That Conjoint Simulations (As Presented
            By Dr. Dennis) Yield Willingness To Pay Measures That Overstate The Change In
            Equilibrium Prices ...................................................................................................... 67
         D. Dr. Dennis’ And Mr. Weir’s Discussion Of Claimed Supply-Side Considerations Is
            Insufficient For Determining Market Prices ............................................................... 71
            1. Dr. Dennis’ And Mr. Weir’s Assertions Regarding Claimed Supply Side
                Factors ................................................................................................................... 71
            2. None Of The Factors Discussed By Dr. Dennis And Mr. Weir Represent
                Supply-Side Factors Sufficient To Determine A Market Price Absent Alleged
                Wrongful Conduct ................................................................................................ 73
IX.      CLAIMED PRICE PREMIUM DOES NOT ISOLATE PRICE PREMIUM (IF
         ANY)     ATTRIBUTABLE                        TO          THE            ALLEGEDLY                      MISLEADING
         INTERPRETATION OF THE CHALLENGED CLAIM .......................................... 76
X.       DR. DENNIS’ CONJOINT SURVEY IS NOT APPLICABLE TO THE ENTIRE
         PUTATIVE CLASS ........................................................................................................ 78
         A. Failure To Provide Appropriate Support For Extrapolation Of The Claimed Price
            Premium For The 12-Pack Product To Numerous Products ...................................... 79
         B. Dr. Dennis’ Conjoint Survey Does Not Provide A Value For The Entire Putative
            Class Period ................................................................................................................ 81
         C. Dr. Dennis’ Surveys Do Not Represent Realistic Choices Available To Consumers
            At A Given Store ........................................................................................................ 83
         D. Dr. Dennis’ Surveys Included Price Points Substantially Higher Than The Actual
            Prices Paid By The Majority Of The Putative Class Members .................................. 86
XI.      PLAINTIFFS’ DAMAGES APPROACH WOULD OVERCOMPENSATE
         CLASS MEMBERS WHO DID NOT SUFFER INJURY .......................................... 90
         A. Individual Inquiry Is Required To Determine Putative Class Members’ Knowledge
            And Perception Relating To The Challenged Claim .................................................. 91
         B. Individual Inquiry Is Required To Identify Putative Class Members Who Purchased
            The Challenged Products For Reasons Unrelated To The Challenged Claim ............ 95
         C. Individual Inquiry Is Required To Determine The Specific Prices Paid For The
            Challenged Products By Each Putative Class Member .............................................. 99



                                                                   - ii -
       Case 5:17-cv-00564-NC                     Document 248-1                  Filed 10/09/18               Page 4 of 551




XII.    DR. HASTAK FAILED TO DEMONSTRATE ANY PORTION OF THE
        GROWTH IN CHALLENGED PRODUCT SALES WAS ATTRIBUTABLE TO
        THE ALLEGED MISLEADING INTERPRETATION OF THE CHALLENGED
        CLAIM ........................................................................................................................... 104
        A. Increased Consumer Demand For Ginger Ale Products In General ......................... 105
        B. Increased Sales Volume Is Attributable In Part To Canada Dry Marketing And
           Packaging Changes Unrelated To The Challenged Claim ........................................ 106




                                                                 - iii -
            Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18        Page 5 of 551




                    SUPPLEMENTAL DECLARATION OF KEITH R. UGONE, PH.D.

                                                 August 14, 2018

           I, Keith R. Ugone, hereby declare:

I.         OVERVIEW OF ASSIGNMENT

1.         I am an economist and have been retained by counsel for Dr Pepper Snapple Group, Inc.

           (“DPSG”) 1 and Dr Pepper/Seven Up, Inc. (“DPSU”) (collectively, the “Defendants”) to offer my

           opinions regarding whether a price premium attributable to the Challenged Claim exists and

           whether claimed Class-wide economic harm can be reliably proven using common proof in the

           matter of Jackie Fitzhenry-Russell, et al. v. Keurig Dr. Pepper Inc., et al. I understand Ms. Jackie

           Fitzhenry-Russell and Mr. Gegham Margaryan (collectively, “Named Plaintiffs” or “Plaintiffs”)

           allege that Defendants engaged in false and deceptive labeling relating to Canada Dry ginger ale

           soft drinks (the “Challenged Products”). 2 Generally, the Named Plaintiffs assert that, as a result

           of a “Made From Real Ginger” claim (i.e., the “Challenged Claim”), putative Class members were

           led to

                    . . . reasonably believe that Defendants’ soft drink is made from, and contains, real
                    ginger – i.e., the spice made by chopping or powdering the root of the ginger plant
                    – and that consumers who drink the soft drink will receive the health benefits
                    associated with consuming real ginger. 3




1
  Effective July 9, 2018, Dr Pepper Snapple Group, Inc. changed its name to Keurig Dr Pepper Inc. (“KDPI”).    For the
purposes of my report, any references to DPSG are references to KDPI.
2
  Consolidated Second Amended Class Action Complaint for Violation of the California Consumers Legal Remedies Act;
False Advertising Law; Unfair Competition Law; and Common Law Fraud, Deceit, and/or Misrepresentation (“Second
Amended Complaint”), pp. 1 and 4. In their Second Amended Complaint, Plaintiffs identified the following Challenged
Products: Ginger Ale; Ginger Ale – Made With Real Sugar; Diet Ginger Ale; Blackberry Ginger Ale; Cranberry Ginger Ale;
and Cranberry Diet Ginger Ale.
3
     Second Amended Complaint, p. 1.



                                                         -1-
            Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18       Page 6 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

2.        Plaintiffs claim they paid a price premium due to the Challenged Claim. 4 On April 9, 2018,

          Plaintiffs submitted two damages-related expert declarations in support of class certification in

          this matter: (a) Dr. J. Michael Dennis (“Dr. Dennis”) submitted a declaration presenting the results

          of a conjoint survey (which he referred to as “a price premium survey”) 5 and a consumer

          perceptions survey and (b) Mr. Colin B. Weir (“Mr. Weir”) submitted a declaration in which Mr.

          Weir used the results of Dr. Dennis’ conjoint survey to attempt to calculate claimed “Price

          Premium Damages” for the Class. 6 I submitted a rebuttal declaration on May 18, 2018 (the

          “Ugone Declaration”). In the Ugone Declaration, I evaluated observed real-world market prices,

          relevant pricing and sales data, and the Defendants’ pricing practices. I concluded that there was

          no evidence of a discernible, systematic, and persistent price premium associated with the

          Challenged Claim. In addition, I evaluated from an economic and claimed damages perspective

          the conjoint analysis Dr. Dennis and Mr. Weir proposed for measuring a “price premium

          percentage” attributable to the Challenged Claim. 7 Given the facts and circumstances of this case,

          my opinion was that the approach proposed by Dr. Dennis and Mr. Weir would not provide a

          reliable or relevant common proof measure of the economic injury (if any) suffered by putative

          Class members. 8

3.        Since the issuance of the Ugone Declaration, Plaintiffs submitted reply declarations by Dr. Dennis

          (the “Dennis Reply Declaration”) and Mr. Weir (the “Weir Reply Declaration”) on June 6, 2018.



4
    Second Amended Complaint, pp. 4, 14, and 19.
5
  Declaration and Expert Report of J. Michael Dennis, Ph.D. dated April 9, 2018 (“Dennis Declaration”), pp. 6 – 7 and 32 –
36.
6
    Declaration of Colin B. Weir dated April 9, 2018 (“Weir Declaration”), pp. 4 – 5 and 19.
7
  Declaration of Keith R. Ugone, Ph.D., dated May 18, 2018 (“Ugone Declaration”), pp. 1 – 2. I also addressed whether
standard economic analysis could be used to quantify claimed damages on a Class-wide basis using common proof.
8
    Ugone Declaration, pp. 3 – 14.



                                                              -2-
             Case 5:17-cv-00564-NC                Document 248-1          Filed 10/09/18          Page 7 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           In the Weir Reply Declaration, Mr. Weir responded to certain observations contained in the Ugone

           Declaration. 9 While Dr. Dennis did not directly respond to observations contained in the Ugone

           Declaration, Dr. Dennis indicated in the Dennis Reply Declaration that he agreed with Mr. Weir’s

           opinions and responses presented in the Weir Reply Declaration. 10 In addition, on July 27, 2018,

           Plaintiffs submitted a declaration by Dr. Manoj Hastak (“Dr. Hastak”) in which Dr. Hastak used

           the Defendants’ marketing documents to assert that the Challenged Claim materially impacted

           consumer demand for the Challenged Products. 11

4.         On June 26, 2018, a Court order granting class certification in this matter was filed. 12 The motion

           certified the following Class: “All persons who, between December 28, 2012 and the present,

           purchased any Canada Dry Ginger Ale products in the state of California.” 13

5.         I have been requested by counsel for Defendants to:

            a. independently evaluate and quantify a claimed price premium (if any exists) attributable to
               the alleged misleading interpretation of the Challenged Claim;

            b. evaluate from an economic perspective the opinions contained in the Dennis Declaration,
               Dennis Reply Declaration, Weir Declaration, and Weir Reply Declaration; 14 and

            c. respond to Dr. Hastak’s opinions presented in the Hastak Declaration to the extent they bear
               upon Named Plaintiffs’ damages claim.




9
     Reply Declaration of Colin B. Weir dated June 6, 2018 (“Weir Reply Declaration”).
10
     Reply Declaration of J. Michael Dennis, Ph.D. dated June 6, 2018 (“Dennis Reply Declaration”), p. 2.
11
     Declaration and Expert Report of Manoj Hastak, Ph.D. dated July 27, 2018 (“Hastak Declaration”), p. 4.
12
  Order Granting Class Certification; Order Denying Motion To Exclude; Order Granting In Part And Denying In Part Dr.
Pepper’s Motion To Seal (“Order Granting Class Certification”), pp. 16 – 34.
13
     Order Granting Class Certification, p. 18.
14
  To the extent that I do not comment on a particular rebuttal point being made by Mr. Weir, such a lack of discussion generally
means no additional comment is required beyond what is contained in the Ugone Declaration and this declaration.



                                                             -3-
         Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18       Page 8 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

II.     SUMMARY OF OPINIONS 15

6.      The observations and opinions I present in this declaration are based upon (a) my economics and

        damage quantification training and experience, (b) documentary evidence, (c) my review of the

        Weir Declaration, the Weir Reply Declaration, the Dennis Declaration, the Dennis Reply

        Declaration, and the Hastak Declaration, (d) in-store retail pricing research conducted under my

        direction, (e) my review of deposition testimony of Named Plaintiffs, DPSU personnel, Mr. Weir,

        and Dr. Dennis, and (f) my discussions with DPSU personnel, inter alia.

7.      Based upon a detailed review and analysis of the information available in this matter, I have

        concluded that (a) consumers did not pay a price premium due to the alleged misleading

        interpretations of the Challenged Claim, (b) the percentage price premium approach proposed by

        Dr. Dennis and Mr. Weir will not reliably establish Class-wide damages, (c) the conjoint analysis

        and simulations conducted by Dr. Dennis are flawed and unreliable, (d) individualized inquiry is

        required to evaluate claimed damages in this matter, and (e) Dr. Hastak failed to apportion the

        identified sales growth in the Challenged Products to the alleged misleading interpretation of the

        Challenged Claim.

         a. Documentary Evidence And Observed Retail Prices Do Not Support The Existence Of A
            Price Premium Caused By The Alleged Misleading Interpretation Of The Challenged Claim.
            Pricing analyses demonstrate that prices (including concentrate prices, wholesale prices, and
            retail prices) of the Challenged Products bearing the Challenged Claim substantially were the
            same as prices for other non-challenged carbonated soft drinks. In light of this observation,
            consumers did not pay a price premium for the Challenged Products attributable to the alleged
            misrepresentation.

            i. Defendants’ Pricing Practices Demonstrate A Lack Of Any Attempt By Defendants To
               Extract A Price Premium For The Challenged Products. Defendants charge concentrate
               prices and wholesale prices, and provide suggested retail prices, according to market
               conditions, competition, and cost considerations. While pricing may vary by package type

15
   This Summary of Opinions is intended to be an overview. This Summary of Opinions does not contain all of my
observations regarding the claimed damages methodologies proposed by Plaintiffs. A full description of my opinions is
contained throughout my declaration (i.e., narrative and associated exhibits).



                                                        -4-
          Case 5:17-cv-00564-NC                Document 248-1            Filed 10/09/18         Page 9 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                 and size, pricing does not vary by any labeling claim on the product (such as the Challenged
                 Claim). Defendants’ uniform pricing practices demonstrate a lack of any attempt by
                 Defendants to extract a price premium for the Challenged Products. 16 (Section VI.A.)

             ii. Retail Price Data Demonstrate A Lack Of Any Price Premium For The Challenged
                 Products Attributable To The Challenged Claim. In the month of July 2018, several
                 members of my staff, under my direction, visited 15 retail stores in the San Francisco Bay
                 area and 34 retail stores in the Los Angeles area to observe retail prices of soft drinks.
                 Based upon the observed store-specific prices, as well as the IRI pricing data produced in
                 this matter, I have made the following observations. (Section VI.B.)

                 •    All DPSU soft drink products 17 distributed by bottlers affiliated with DPSG, including
                      the Challenged Products, are line priced according to package types and sizes.

                 •    The Challenged Products are priced the same as Canada Dry Green Tea Ginger Ale of
                      the same package types and sizes (even though Canada Dry Green Tea Ginger Ale does
                      not carry the Challenged Claim).

                 •    Other DPSU ginger ale products not carrying the Challenged Claim (i.e., Vernors and
                      Schweppes) are priced the same or higher as the Challenged Products of the same
                      package types and sizes.

             iii. Named Plaintiff’s Purchase Records. Plaintiffs have produced store club card purchase
                  records for Named Plaintiff Ms. Fitzhenry-Russell’s purchases of Challenged Products and
                  other items at Safeway during the December 2012 – October 2017 time period. Based
                  upon Ms. Fitzhenry-Russell’s purchase records, she generally bought the Challenged
                  Products (i.e., Canada Dry Ginger Ale) and non-challenged soft drinks of the same package
                  size (e.g., Coca Cola, Coke Zero, A&W, etc.) at the same prices. (Section VI.C.)

             iv. Response To Mr. Weir’s Claim That Side-By-Side Price Comparisons Cannot Isolate A
                 Price Premium Attributable To The Challenged Claim. Mr. Weir claims that the price
                 comparisons presented in the Ugone Declaration all suffer from the same flaw: the price
                 comparisons are confounded by differences in the comparator products unrelated to the
                 Challenged Claim. However, Mr. Weir’s claim defies logic and common sense. Mr.
                 Weir’s contention essentially is that all of the different soft drinks, with different brands,
                 flavors, and other attributes, each have individual attributes that carry price premiums
                 raising (or price discounts lowering) the price of that soft drink, but all of those various
                 attributes and price premiums somehow equal out such that the products are all sold at the
                 same price. In Mr. Weir’s world, only an enormously coincidental combination of multi-
                 variate price premiums that happen to yield equal prices could explain the fact that such

16
   Such an observation also leads to a logical inconsistency in Plaintiffs’ allegations. Named Plaintiffs do not reconcile why
Defendants allegedly would provide misleading advertising to create a price premium, but leave the resulting gains from the
asserted price premium to bottlers and retailers (if it existed).
17
   Throughout this declaration and accompany exhibits, DPSU soft drink products refers to all soft drinks (and brands) owned
by DPSU or licensed to DPSU.



                                                            -5-
       Case 5:17-cv-00564-NC           Document 248-1         Filed 10/09/18      Page 10 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

              soft drinks have the same price. The simple answer is the common sense answer – that
              such soft drinks are line priced by manufacturers, distributors, and retailers, without any
              price premium attributable to the claim. (Section VI.D.)

           The price premium calculated by Dr. Dennis and Mr. Weir does not take into account the
           actual documentary evidence discussed above.

        b. Plaintiffs’ Percentage Price Premium Approach Assesses Claimed Damages On Price
           Differences Unrelated To The Challenged Claim. Mr. Weir proposed to calculate claimed
           price premium damages by applying a constant percentage price premium determined by Dr.
           Dennis to all Challenged Product sales (i.e., 4.67% for all 2-liter Challenged Products and 4%
           for all other Challenged Products). Dr. Dennis and Mr. Weir did not discuss, acknowledge,
           or investigate the implications of applying a single percentage price premium to all putative
           Class member purchases across (a) sales channels, (b) retailers, (c) promotional activity, (d)
           different geographies (i.e., different cities in California), and (e) package type and size (other
           than the distinction between 2-liter bottles and all other Challenged Products). Because of
           the significant variations in retail prices of the Challenged Products across these dimensions
           that are unrelated to the Challenged Claim, Dr. Dennis and Mr. Weir’s percentage price
           premium approach would claim as damages some portion of the value generated by these
           dimensions unrelated to the Challenged Claim. (Section VII.)

        c. Economic Evaluation Of The Conjoint Analysis And Simulations Presented In The Dennis
           And Weir Declarations. Notwithstanding the additional flaws in Dr. Dennis’ conjoint survey
           (as discussed later in my declaration), the simulations performed by Dr. Dennis cannot
           measure the price premium (if any) attributable to the Challenged Claim due to at least the
           following reasons.

          i. Problem: Plaintiffs’ Proposed Approach Does Not Yield A Market Price Premium.

              •   The “Marginal Consumer” In Dr. Dennis’ Simulations Is Not Equivalent To The
                  Marginal Consumer Of A Market As Typically Defined In Economics. Mr. Weir
                  claims that Dr. Dennis’ simulation using his conjoint survey results yields a measure
                  of the willingness to pay of the “marginal consumer,” which Mr. Weir claims is the
                  same as the market price. As a result, Mr. Weir claims Dr. Dennis’ simulations yield
                  market prices and provides a measure of the claimed price premium attributable to the
                  Challenged Claim. However, the marginal consumer in Dr. Dennis’ simulation (as
                  asserted by Mr. Weir) is in no way related to the marginal consumer of the market and
                  the willingness to pay derived from the simulation is not informative as to the actual
                  market price of a product (i.e., the equilibrium market price determined by the
                  intersection of supply and demand). (Section VIII.A.)

              •   Dr. Dennis’ Same Methodology And Simulator Calculates And “Concludes” There Is
                  A Price Premium For Regular Soft Drinks Over Diet Soft Drinks, Even Though No
                  Such Price Premium Exists In The Real World. Dr. Dennis testified that his
                  simulations indicated that regular soft drinks were priced above diet soft drinks. This
                  is inconsistent with observed retail prices, including Dr. Dennis’ and Mr. Weir’s own


                                                    -6-
           Case 5:17-cv-00564-NC            Document 248-1            Filed 10/09/18        Page 11 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                        retail price research, which indicate that regular and diet versions of the same soft
                        drinks always are priced the same in a given store. Such an inconsistency with real
                        world market outcomes demonstrates Dr. Dennis’ flawed methodology, calls into
                        question the reliability of his conjoint analysis, and provides further support that his
                        analysis does not yield a market price premium. (Section VIII.B.)

                   •    Sawtooth Documentation Demonstrates That Conjoint Simulations (As Presented By
                        Dr. Dennis) Yield Willingness To Pay Measures That Overstate The Change In
                        Equilibrium Prices. Mr. Weir claims that Dr. Dennis’ conjoint survey was designed
                        to measure a “marketplace outcome,” not “willingness to pay.” 18 The fact that Dr.
                        Dennis’ conjoint analysis measures the willingness to pay for a soft drink made from
                        real ginger, not a price premium, is supported by a recent book by Orme and Chrzan
                        (2017). 19 (Section VIII.C.)

                   •    Mr. Weir’s And Dr. Dennis’ Discussions Of Claimed Supply-Side Considerations Are
                        Insufficient For Determining Market Prices. Although Mr. Weir’s and Dr. Dennis’
                        declarations attempt to address supply-side factors, their claimed incorporation of
                        supply-side considerations is insufficient to determine market prices (or yield a price
                        premium metric). (Section VIII.D.)

               ii. Problem: Claimed Price Premium Does Not Isolate A Price Difference (If Any)
                   Attributable To The Allegedly Misleading Interpretation Of The Challenged Claim.

                   •    The claimed price premiums determined by Dr. Dennis and used by Mr. Weir to
                        calculate claimed Class-wide damages do not isolate the price premium (if any)
                        attributable to the misleading interpretation of the Challenged Claim from non-
                        misleading interpretations.

                   •    Without further apportionment of the claimed price premium to the alleged misleading
                        interpretation of the Challenged Claim, Mr. Weir’s proposed method likely overstates
                        claimed Class-wide damages (if any). (Section IX.)

               iii. Problem: Dr. Dennis’ Conjoint Survey Is Not Applicable To The Entire Putative Class Or
                    To All Disputed Products.

                   •    Failure To Provide Appropriate Support For Extrapolation Of The Claimed Price
                        Premium For The 12-Pack Product To Numerous Products. Neither Dr. Dennis nor
                        Mr. Weir performed any affirmative analysis to demonstrate that extrapolating a
                        claimed price premium allegedly associated with one product size to all package types
                        and sizes (except 2-liter bottles) is reasonable or applies to all putative Class members.
                        (Section X.A.)


18
     Weir Reply Declaration, pp. 15 – 16.
19
   Mr. Bryan K. Orme is the President of Sawtooth Software, Inc.   Mr. Keith Chrzan is a Senior Vice President at Sawtooth
Software, Inc.



                                                          -7-
       Case 5:17-cv-00564-NC          Document 248-1         Filed 10/09/18      Page 12 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

              •   Dr. Dennis’ Conjoint Survey Does Not Provide A Value For The Entire Putative Class
                  Period. Neither Dr. Dennis nor Mr. Weir established that the current 2018 values
                  obtained from Dr. Dennis’ surveys and simulations would be representative of (or
                  correlated with) putative Class members’ preferences during the entire putative Class
                  Period (i.e., beginning December 28, 2012). (Section X.B.)

              •   Dr. Dennis’ Choice Sets Do Not Represent Realistic Choices Available To Consumers
                  At A Given Store. In his 2-liter and 12-pack conjoint surveys, Dr. Dennis provides
                  certain choice sets and prices to survey participants that do not comport with market
                  realities and competitive conditions. From an economic and damages perspective, the
                  unrealistic choice sets provided to survey participants in Dr. Dennis’ conjoint analysis
                  may yield outcomes that are not consistent with actual consumer behavior. (Section
                  X.C.)

              •   Dr. Dennis’ Conjoint Surveys Included Price Points Higher Than The Actual Prices
                  Paid By The Majority Of The Putative Class Members. Dr. Dennis allowed for five
                  possible price points in each of his conjoint surveys, ranging from $1 to $3 for a 2-liter
                  bottle and $3 to $7 for a 12 pack of 12-oz. cans of the Challenged Products. A
                  comparison of the five price points contained in Dr. Dennis’ conjoint surveys with the
                  real world prices paid by putative Class members indicates that Dr. Dennis includes
                  prices that are not representative of the preponderance of prices paid for the Challenged
                  Products in the real world. (Section X.D.)

        d. Plaintiffs’ Damages Approach Would Overcompensate Class Members Who Did Not Suffer
           Injury. In this matter, determining whether and to what extent putative Class members were
           injured as a result of the alleged misleading interpretation of the Challenged Claim requires
           individualized inquiry and is not amenable to a “constant percentage of price times dollar
           sales” approach. Applying a uniform percentage price premium to all purchases during the
           Class Period would result in (a) over-compensation to some putative Class members, (b)
           under-compensation to other putative Class members (to the extent injury exists), and (c)
           compensation to some consumers who were not injured at all. Proof of alleged injury and
           resulting damages, if any, depends upon individualized inquiry into the facts and
           circumstances of Class member’s purchases of the Challenged Products (for at least the
           reasons summarized here and presented in detail later in my declaration).

          i. Putative Class Members’ Knowledge And Perceptions Relating To The Challenged Claim.
             Whether and to what extent a putative Class member was harmed depends (in part) upon
             that putative Class member’s knowledge and perceptions relating to the “Made from Real
             Ginger” claim. From an economic perspective, putative Class members who were not
             misled by the Challenged Claim (i.e., those whose knowledge and perceptions relating to
             the Challenged Claim were in line with the actual product they received) were not harmed
             by the Challenged Claim. Such putative Class members received the value that was paid
             for, and a common proof approach would not be capable of isolating these putative Class
             members from the claimed damages calculation. (Section XI.A.)




                                                   -8-
       Case 5:17-cv-00564-NC           Document 248-1         Filed 10/09/18       Page 13 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

          ii. Challenged Product Purchases For Reasons Unrelated To The Challenged Claim.
              Consumers who purchased the Challenged Products solely (or in large part) for reasons
              unrelated to the alleged misrepresentation were not injured (or were not injured to the same
              extent) as consumers who purchased solely (or in large part) because of the alleged
              misrepresentation. In economic terms, the aforementioned consumers received the value
              for which they paid. Hence, individualized inquiry is required to determine each putative
              Class member’s reasons for purchasing the Challenged Products and whether a
              corresponding claimed injury may exist with a nexus to the Challenged Claim. (Section
              XI.B.)

          iii. Variation In Purchase Prices. The prices that consumers paid for the Challenged Products
               varied over the putative Class Period and across numerous dimensions including the (i)
               sales channel in which the purchase was made, (ii) the particular retailer, (iii) whether they
               paid a promoted (i.e., “on sale”) price or non-promoted price, (iv) the city in which the
               purchase was made, and (v) the package type and size. The variation in individual actual
               prices paid by putative Class members (across the aforementioned dimensions) diminishes
               the ability of a “constant percentage of price times dollar sales” approach to yield a reliable
               and accurate estimate of a claimed percentage price premium with a nexus to Plaintiffs’
               theory of liability. (Section XI.C.)

        e. Dr. Hastak Failed To Demonstrate Any Portion Of The Growth In Challenged Product Sales
           Was Attributable To The Alleged Misleading Interpretation Of The Challenged Claim.
           Plaintiffs’ expert Dr. Hastak asserted that the sales volume of the Challenged Products has
           been materially and significantly impacted by the “Made from Real Ginger” labeling claim.
           Because Dr. Hastak solely relied upon the statements contained in the Defendants’ marketing
           documents (and did not conduct an independent analysis), Dr. Hastak has provided no
           evidence that the alleged misleading interpretation of the Challenged Claim materially
           impacted sales volume of the Challenged Products. Specifically, Dr. Hastak failed to account
           for the following factors.

          i. Demand Has Increased For Ginger Ale Products In General. The documentary evidence
             in this matter, including the marketing documents cited to by Dr. Hastak, indicates that the
             demand for ginger ale products, in general, has increased since 2005. For example, Dr.
             Hastak notes that the year-over-year increase in Canada Dry sales has remained steady
             during the 2005 – 2014 time period. Given the Challenged Claim was not introduced until
             2009, the evidence identified by Dr. Hastak is inconsistent with his own claim that the
             Challenged Claim materially and significantly impacted sales volume of the Challenged
             Products. In addition, a comparison of the year-over-year change in bottler-reported sales
             of Canada Dry Ginger Ale and Schweppes Ginger Ale (not bearing the Challenged Claim)
             indicates that sales of Schweppes Ginger Ale increased at a faster rate over the 2009 – 2017
             time period, despite Dr. Hastak’s assertion that the “Made from Real Ginger” labeling
             claim materially impacted consumer demand for Canada Dry Ginger Ale. (Section
             XII.A.)

          ii. Changes To Canada Dry Packaging And Marketing Unrelated To The Challenged Claim
              Have Contributed To Canada Dry’s Sales Volume Growth. The documentary evidence in


                                                    -9-
       Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18     Page 14 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                 this matter indicates that when the Challenged Claim was introduced, Canada Dry
                 packaging was entirely redesigned, a new marketing strategy was deployed (including
                 nation-wide television advertisements), distribution was in the process of expanding into
                 new geographies (increasing the availability of Canada Dry in California and other states),
                 and a new Diet Canada Dry Ginger Ale formula was developed. By failing to apportion
                 the sales volume growth of Canada Dry products to the alleged misleading interpretation
                 of the Challenged Claim, Dr. Hastak’s opinions (as contained in his declaration) are
                 misleading and overstate the impact of the “Made from Real Ginger” labeling claim on
                 consumer demand and sales. (Section XII.B.)

8.     The details of my analyses and the bases for my opinions are contained in the remainder of this

       declaration.

III.   QUALIFICATIONS AND EXPERIENCE

9.     I am a Managing Principal at Analysis Group, Inc. (“AG”). AG provides economic, financial,

       and business strategy consulting to its clients and specializes in the interpretation of economic and

       financial data and the development of economic and financial models. Nationally, AG consists

       of approximately 700 professionals who specialize in, among other things, the fields of economics,

       accounting, finance, statistics, and strategy consulting.

10.    My primary responsibility at AG is to provide economic, financial, and/or damages-related

       consulting services to clients. Throughout my career I have provided these consulting services in

       class certification matters, antitrust cases, breach of contract cases, intellectual property cases,

       fraud-related cases, business tort cases, business interruption cases, and securities-related cases,

       among others. I have worked on engagements (or submitted reports) relating to class certification

       issues numerous times, including but not limited to matters relating to beverages (alcoholic and

       non-alcoholic), fast food, non-stick cooking sprays, cooking oils, gas mileage, hand soap, facial

       cream, lipstick, foundation, computer tablets, printers, computers, windows, and probiotics, among

       others.




                                                    - 10 -
       Case 5:17-cv-00564-NC         Document 248-1        Filed 10/09/18     Page 15 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

11.    I specialize in the application of economic principles to complex commercial disputes, and I am

       generally retained in cases requiring economic, financial, and/or damages-related analyses.

       Financial models I have constructed or evaluated in the past have contained as components revenue

       analyses, cost analyses, assessments of capacity, assessments of profitability, assessments of

       reasonable royalties, and assessments of the competitive business environment. I also have

       evaluated various claims of economic value using peer group comparisons and/or discounted cash

       flow analyses relating to projected future earnings streams. During the course of my career, I

       have frequently performed economic analyses using large databases of information and complex

       computer models. I have provided expert testimony in deposition and trial settings numerous

       times.

12.    I received my B.A. in Economics from the University of Notre Dame in 1977, my M.A. in

       Economics from the University of Southern California in 1979, and my Ph.D. in Economics from

       Arizona State University in 1983. Attached as Exhibit 1 is a true and correct copy of my current

       resume. A listing of publications I have authored is contained in my resume. Attached as

       Exhibit 2 is my trial and deposition testimony experience. My business address is Analysis

       Group, Inc., Park Place Center, 2911 Turtle Creek Blvd., Suite 600, Dallas, Texas, 75219.

13.    AG is being compensated based upon hours incurred and the hourly rates of the personnel

       involved. Payment to AG is not contingent upon my findings or the outcome of this matter. AG

       is being compensated at a rate of $625 per hour for my time. Hourly rates for other staff at AG

       working on this matter range from $190 to $595 per hour, depending upon the level and experience

       of the staff involved.




                                                 - 11 -
         Case 5:17-cv-00564-NC            Document 248-1          Filed 10/09/18        Page 16 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

IV.     FACTS, DATA, AND INFORMATION RECEIVED

14.     The facts, data, and information available to me in forming my opinions are contained in Exhibit 3

        or elsewhere in my declaration (including footnotes and exhibits). Contained in Exhibit 4 is a

        listing of the deponents whose deposition transcripts are cited in the text of my declaration.

        Examples of the types of information available to me include the following:

         a. legal documents (e.g., Second Amended Class Action Complaint; Plaintiffs’ Motion for Class
            Certification; Order Granting Class Certification);

         b. deposition transcripts 20 (i.e., Deposition Transcript of Gegham Margaryan taken February 14,
            2018 and March 29, 2018; Deposition Transcript of Jackie Fitzhenry-Russell taken February
            16, 2018; Deposition Transcript of Steve Kramer taken February 22, 2018; Deposition
            Transcript of David Falk taken February 23, 2018; Deposition Transcript of Carmen
            Caccavale taken March 8, 2018; Deposition Transcript of Dr. Michael Dennis taken April 13,
            2018; Deposition Transcript of Colin B. Weir taken April 19, 2018);

         c. declarations (i.e., Declaration and Expert Report of J. Michael Dennis, Ph.D. dated April 9,
            2018 and associated support materials; Declaration of Colin B Weir dated April 9, 2018;
            Reply Declaration of J. Michael Dennis, Ph.D. dated June 6, 2018; Reply Declaration of Colin
            B Weir dated June 6, 2018; Declaration and Expert Report of Manoj Hastak, Ph.D. dated July
            27, 2018);

         d. documents produced by Plaintiffs (e.g., IRI data; Safeway purchase records);

         e. documents produced by Defendants (e.g., marketing documents; presentations; product
            labels; Canada Dry concentrate pricing; IRI data; retail/wholesale pricing guidelines);

         f. information independently obtained (e.g., Defendants’ SEC filings; information from Canada
            Dry website; Sawtooth Software documentation).

15.     In addition, during the preparation of my declaration, I held discussions with DPSU personnel as

        shown in Table 1. I also conducted a discussion with Dr. Rene Befurt (Defendants’ survey expert

        in this matter).




20
   Named Plaintiffs’ deposition transcripts were redacted for Plaintiffs’ Highly Confidential – Attorneys’ Eyes Only
information.



                                                       - 12 -
           Case 5:17-cv-00564-NC                Document 248-1          Filed 10/09/18         Page 17 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                        Table 1
                                    Interviews and Discussions With DPSU Personnel
                 Name                     Position                                          Topic(s)
                                                                 Distribution of products by bottlers; DPSG’s wholesale
                               Senior Director of Revenue
           Mike Cernoch                                          line pricing practices; DPSG’s pricing guidelines; reasons
                               and Margin Management
                                                                 for line pricing by retailers
                                                                 Distribution of products by bottlers; DPSG’s wholesale line
                               Vice President of Revenue and
           Josh Taylor                                           pricing practices; DPSG’s pricing guidelines; reasons for
                               Margin Management
                                                                 line pricing by retailers
           Linda Black         Finance Manager                   DPSU’s concentrate prices offered to independent bottlers
           Alan Gallaway       Finance Director                  DPSU’s concentrate prices offered to independent bottlers


16.       My analyses and opinions are based upon the information available, standard economic theory,

          and my education and training. The information I am relying upon is information typically relied

          upon by experts in my field. I reserve the ability to (a) review documents, deposition transcripts,

          expert reports, or other information still to be produced by the Parties to this dispute and

          (b) supplement my opinions based upon that review, if appropriate. I also reserve the right to use

          demonstrative exhibits and/or other information at hearings/trial to explain and illustrate my

          opinions.

V.        OVERVIEW OF PARTIES

          A. Keurig Dr Pepper, Inc. (Formerly Dr Pepper Snapple Group, Inc.)

17.       Dr Pepper Snapple Group, Inc. (“DPSG”) was incorporated on October 24, 2007 and is

          headquartered in Plano, Texas. 21 DPSG is the “No. 1 flavored carbonated soft drink company in

          the Americas.” 22 The company has more than 50 brands of “carbonated soft drinks, juices, teas,




21
     Dr Pepper Snapple Group 2016 10-K, p. 1.
22
   Dr Pepper Snapple Group, “Our Company: Operations.” (https://www.drpeppersnapplegroup.com/company/operations,
viewed on April 25, 2018.)



                                                            - 13 -
           Case 5:17-cv-00564-NC                Document 248-1         Filed 10/09/18       Page 18 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

          mixers, waters, and other premium beverages.” 23 On July 9, 2018, Keurig Green Mountain and

          DPSG completed a merger, forming Keurig Dr Pepper Inc. (“KDPI”). 24

18.       Dr Pepper/Seven Up, Inc. (“DPSU”) is a subsidiary of DPSG (now KDPI). 25 DPSU is the

          company that manufactures and sells concentrate to bottlers, including the concentrate of the

          Challenged Products. 26

          B. Named Plaintiffs

               1. Gegham Margaryan

19.       Mr. Margaryan first tried ginger ale sometime prior to what appears to be his sole purchase of the

          Challenged Product on April 24, 2017. 27 When he bought an 8 pack of 12-oz. plastic bottles of

          Canada Dry Ginger Ale for $5.99 28 from a Vons supermarket in Glendale, California, 29 he was

          interested in “the taste and that it was made out of a real ginger.” 30 While Mr. Margaryan

          originally testified that he “liked the taste of the ginger” in the Challenged Product and continued

          to drink two of the eight bottles the evening he bought Canada Dry Ginger Ale, 31 he later testified

          that he did not “like its sting” and could tell it “didn’t have the natural taste of ginger.” 32 This


23
   Dr Pepper Snapple Group, “Our Company: Operations.” (https://www.drpeppersnapplegroup.com/company/operations,
viewed on April 25, 2018.)     See also Dr Pepper Snapple Group, “Our Company: History.”          (https://www.
drpeppersnapplegroup.com/company/history, viewed on May 15, 2018.)
24
  “Keurig Dr Pepper Announces Successful Completion of the Merger between Keurig Green Mountain and Dr Pepper
Snapple Group,” July 9, 2018.       (https://www.businesswire.com/news/home/20180709005853/en/Keurig-Dr-Pepper-
Announces-Successful-Completion-Merger, viewed on August 3, 2018.)
25
     Dr Pepper Snapple Group 2016 10-K, p. 1.
26
     Based upon discussions with DPSU personnel.
27
  Mr. Margaryan could not recall the brand of ginger ale he tried prior to April 24, 2017, including whether it was Canada
Dry. (Margaryan Deposition, pp. 83 – 89 and 206 – 209.)
28
     Margaryan Deposition, Exhibit 5.
29
     Margaryan Deposition, pp. 86 and 120.   See also Margaryan Deposition, Exhibit 9.
30
     Margaryan Deposition, p. 79.
31
     Margaryan Deposition, pp. 88 - 91.
32
     Margaryan Deposition, pp. 90 - 93.



                                                            - 14 -
           Case 5:17-cv-00564-NC                Document 248-1           Filed 10/09/18         Page 19 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           alleged discrepancy prompted him to contact an attorney the following morning with his

           complaints. 33

               2. Jackie Fitzhenry-Russell

20.        Ms. Fitzhenry-Russell, a resident of Santa Cruz, California, 34 purchased Canada Dry Ginger Ale

           for 40 years. 35 She enjoyed the Challenged Product for its taste and refreshment, and also

           purchased the Challenged Product to help calm her stomach, though she did not know if it was a

           real or placebo effect. 36 Ms. Fitzhenry-Russell shopped at Safeway where she used her club card

           to purchase the Challenged Product in various package types and sizes, including 12 packs of cans

           and slim cans. 37 Summarized in Table 2 is Ms. Fitzhenry-Russell’s Safeway purchase history of

           Canada Dry ginger ale products during December 28, 2012 to October 13, 2017 (i.e., the time

           period over which her Safeway records were produced). As shown in Table 2, Ms. Fitzhenry-

           Russell paid a wide range of prices for the same package size of the Challenged Products during

           the putative Class Period. In 2017, Ms. Fitzhenry-Russell began to have doubts regarding real

           ginger in Canada Dry after seeing a Facebook ad entitled, “Is Your Ginger Ale Fake?”




33
     Margaryan Deposition, pp. 155 - 157.
34
     Fitzhenry-Russell Deposition, p. 69.
35
     Fitzhenry-Russell Deposition, p. 166.
36
     Fitzhenry-Russell Deposition, pp. 74 – 75, 91, and 169 - 171.
37
     Fitzhenry-Russell Deposition, pp. 127 and 152.   See also Fitzhenry-Russell Deposition, Exhibit 25.



                                                              - 15 -
           Case 5:17-cv-00564-NC              Document 248-1            Filed 10/09/18         Page 20 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                       Table 2
                               Plaintiff Fitzhenry-Russell’s Purchases From Safeway 38
                                                                                           Club Price (i.e.,
                               Product                 Date          Non-Club Price      Price Actually Paid)
                                                     1/25/2013           $6.49                 $6.49 39
                                                     2/25/2013            $6.59                  $6.59
                       Canada Dry Ginger Ale
                                                     5/31/2013            $5.49                  $2.50
                       (12 packs of 12-oz. cans)
                                                     5/27/2014            $5.99                  $2.50
                                                     7/1/2014             $5.99                 $5.99 40
                                                     3/25/2014            $2.99                  $2.50
                       Canada Dry Ginger Ale
                                                     3/31/2014            $2.99                  $2.50
                       (6 packs of 8-oz. cans)
                                                    11/21/2014            $2.99                  $2.50
                       Canada Dry Ginger Ale
                                                     4/26/2014            $1.99                  $1.99
                       (2-liter bottles)
                       Canada Dry Ginger Ale
                                                     6/27/2016            $2.99                  $2.99
                       (6 packs of 7.5-oz. cans)


VI.       DOCUMENTARY EVIDENCE AND OBSERVED RETAIL PRICES DO NOT SUPPORT
          THE EXISTENCE OF A PRICE PREMIUM CAUSED BY THE CHALLENGED CLAIM

21.       Plaintiffs (and Plaintiffs’ experts, Dr. Dennis and Mr. Weir) contend putative Class members paid

          more for the Challenged Products than they would have if the Challenged Products had not borne

          the Challenged Claim. 41 Dr. Dennis and Mr. Weir make this claim based upon survey and

          simulation techniques. However, their techniques fail to incorporate appropriately the larger set



38
    Fitzhenry-Russell Deposition, Exhibit 25. Product descriptions were obtained by cross-referencing the UPC codes
obtained in Ms. Fitzhenry-Russell’s Safeway purchases (Fitzhenry-Russell Deposition, Exhibit 25.) with the UPC codes listed
in the IRI data. (PL_IRI000567 AEO.xlsx, “2” tab.)
39
   It appears that Ms. Fitzhenry-Russell bought this 12 pack of 12-oz. cans of Canada Dry Ginger Ale as part of a “buy 2 get 2
free” promotion, wherein she also bought 12 pack of 12-oz. cans of Squirt, A&W, and Sunkist. According to her Safeway
purchase records, the 12 packs of Squirt and A&W were discounted by the full price. In this instance, the effective price paid
by Ms. Fitzhenry-Russell for the one 12 pack of 12-oz. cans of Canada Dry Ginger Ale could be considered less than the non-
promoted price identified in the table (i.e., $6.49).
40
   It appears that Ms. Fitzhenry-Russell bought this 12 pack of 12-oz. cans of Canada Dry Ginger Ale as part of a “buy 2 get 3
free” promotion, wherein she also bought 12 pack of 12-oz. cans of A&W, Minute Maid and two packs of Classic Coca Cola.
According to her Safeway purchase records, the 12 pack of A&W and two 12 packs of Classic Coca Cola were each discounted
by the full price. In this instance, the effective price paid by Ms. Fitzhenry-Russell for the one 12 pack of 12-oz. cans of
Canada Dry Ginger Ale could be considered less than the non-promoted price identified in the table (i.e., $5.99).
41
     Second Amended Complaint, pp. 4, 14, and 19.



                                                            - 16 -
           Case 5:17-cv-00564-NC               Document 248-1             Filed 10/09/18          Page 21 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           of actual pricing information available. In fact, when one reviews this actual pricing data, the

           actual observed pricing patterns associated with the Challenged Products demonstrate that putative

           Class members did not suffer economic injury (i.e., pay a price premium) due to the Challenged

           Claim. The absence of a claimed price premium is demonstrated in the actual data by:

            a. Defendants’ concentrate and wholesale pricing practices with respect to its Canada Dry ginger
               ale products;

            b. a comparison of retail prices of the Challenged Products to non-challenged soft drinks (also
               sold by the Defendants), which do not carry the Challenged Claim; and

            c. Named Plaintiff Ms. Fitzhenry-Russell’s own purchase records at Safeway, which
               demonstrate she paid the same prices for the Challenged Products and other, non-challenged
               soft drinks of the same package size.

22.        To obtain an understanding of the Defendants’ pricing practices, I held discussions with DPSU

           personnel and reviewed the prices of (1) soft drink concentrate sold to independent bottlers by

           DPSU and (2) final products sold to retailers by DPSG-owned bottlers. As for the retail price

           comparisons (and the price variation analyses contained in the subsequent section of my report), I

           have relied upon multiple sources of retail pricing data, including the following.

            a. IRI Pricing Data. 42 IRI pricing data produced in this matter contains weekly average retail
               prices for the Challenged Products and numerous non-challenged products, including Canada
               Dry Green Tea Ginger Ale and Schweppes ginger ale products. 43 The data provide average
               product-specific prices based upon geography (i.e., U.S. as whole, California as whole, or
               certain California cities 44) and sales channel (i.e., food, drug, and convenience). The IRI data
               includes pricing for periods when the products are “on promotion” and regular (i.e., everyday)
               pricing. The IRI data include prices during the time period starting the week ending January
               15, 2012 through the week ending April 8, 2018. 45


42
     IRI Data.   (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
43
     The average prices contained in the IRI data are product-specific based upon the UPC code of each product.
44
     The cities with city-specific average prices include Los Angeles, Sacramento, San Francisco/Oakland, and San Diego.
45
   There were two sets of IRI data produced prior to the issuance of the Ugone Declaration – one produced by the Plaintiffs
(PL_IRI000567 AEO.xlsx) and the other produced by the Defendants (DPS_165956-Copy of CDGA and Schweppes Data –
by UPC.xlsx). The IRI data produced by Plaintiffs are a limited subset of the IRI data produced by Defendants. That is,
Plaintiffs’ IRI data include pricing data for California as a whole across all sales channels (whereas Defendants’ IRI data allow
for analyses of prices by California city and sales channel). In addition, Plaintiffs’ IRI data do not include pricing data for


                                                             - 17 -
            Case 5:17-cv-00564-NC                Document 248-1              Filed 10/09/18        Page 22 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            b. Store-Specific Prices Observed By Dr. Dennis. In designing his conjoint survey, Dr. Dennis
               reviewed prices observed in a select number of stores in the San Francisco Bay area.
               Specifically, Dr. Dennis observed prices of regular and diet Canada Dry ginger ale products
               in seven retailers during a two-day period in March 2018. Dr. Dennis produced his notes
               with respect to these observed prices. 46 (See Exhibit 5 for a summary of prices observed by
               Dr. Dennis.)

            c. Store-Specific Prices Observed By Members Of My Staff. Several members of my staff,
               under my direction, visited 15 retail stores in the San Francisco Bay area and 34 retail stores
               in the Los Angeles area during the month of July 2018. 47 The stores visited include grocery
               stores, drug stores, and mass merchandisers. 48 Table 3 (below) lists the stores visited.
               Maps illustrating the locations of these retail stores are presented in Figure 1 (below). 49
               During these visits, retail prices were observed for 12 packs of 12-oz. cans and 2-liter bottles
               of numerous Challenged Products (e.g., Canada Dry Ginger Ale, Diet Ginger Ale, Cranberry
               Ginger Ale, etc.), non-challenged ginger ale products (e.g., Canada Dry Green Tea Ginger
               Ale, Vernors, Schweppes, etc.), and other non-challenged soft drinks (e.g., A&W, 7UP,
               Sunkist, Dr Pepper, Coca Cola, Pepsi, etc.). 50 (See Exhibit 6 (San Francisco Bay retailers)
               and Exhibit 7 (Los Angeles retailers) for a summary of the in-store prices observed.)




Schweppes ginger ale products. For the purpose of the analyses contained in this section and Section VII, the IRI data
produced by the Defendants are utilized given the additional information contained in these data (as compared to Plaintiffs’
IRI data).
46
   Dr. Dennis’ Observed Store-Specific Ginger Ale Prices.           (PL000783 – 785.)   Dr. Dennis’ notes also include Seagram’s
prices.
47
     More retail stores were visited in the Los Angeles area due to the greater number of retailers compared to San Francisco.
48
   Some convenience stores were visited (e.g., 7-Eleven). However, price tags were unclear and/or non-existent in the
convenience stores visited, so pricing data was not collected for these stores.
49
     Note that some retail store locations overlap in the maps.
50
   In general, the prices of all available soft drinks owned by or licensed to the Defendants, Coca Cola (or Coke), and Pepsi
were recorded for each retailer visited.



                                                                  - 18 -
       Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18    Page 23 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                 Table 3
                 Retail Stores Visited In The San Francisco Bay And Los Angeles Areas
                        Store Name              Store Type        Number Of Stores Visited
                            CVS                 Drug Store                  3
                          Rite Aid              Drug Store                  2
                         Albertsons            Grocery Store                1
                          El Super             Grocery Store                1
                        Food 4 Less            Grocery Store                1
                          Gelson’s             Grocery Store                 1
                            Lucky              Grocery Store                 1
                     Lunardi’s Market          Grocery Store                 3
                    Mollie Stone’s Market      Grocery Store                 1
                      Nob Hill Foods           Grocery Store                 1
                         Pak N Save            Grocery Store                 1
                          Ralphs               Grocery Store                 8
                         Safeway               Grocery Store                 2
                      Smart & Final            Grocery Store                 1
                    Smart & Final Extra!       Grocery Store                 1
                        Stater Bros            Grocery Store                 1
                      Super A Foods            Grocery Store                 1
                           Vons                Grocery Store                 7
                          Target             Mass Merchandiser               8
                          Walmart            Mass Merchandiser               4




                                                - 19 -
       Case 5:17-cv-00564-NC         Document 248-1       Filed 10/09/18    Page 24 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                              Figure 1
                                  Locations Of Retail Stores Visited
                   In The San Francisco Bay And Los Angeles Areas During July 2018




                                                - 20 -
         Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18        Page 25 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________



23.     As demonstrated in the remainder of this section, price comparisons (both wholesale and retail)

        between the Challenged Products and non-challenged competing products indicate a lack of a

        discernible, systematic, and persistent price premium associated with the Challenged Claim. In

        addition, at the end of this section, I address Mr. Weir’s assertion that side-by-side price

        comparisons are inappropriate and cannot isolate a price premium attributable to the Challenged

        Claim.

        A. Defendants’ Pricing Practices Demonstrate A Lack Of Any Attempt By Defendants To
           Extract A Price Premium For The Challenged Products

24.     It is my understanding that the Defendants do not sell directly to consumers or set retail prices.

        Either (a) DPSU sells concentrates of its soft drinks to independent bottlers who produce and sell

        the final products in specified territories or (b) DPSG-owned bottlers directly sell the final products

        to retailers (i.e., wholesale sales). In either scenario, Defendants may provide suggested retail

        prices, but do not directly set retail prices. 51

25.     If the Plaintiffs’ allegations were true, one would expect Defendants to charge higher concentrate

        and wholesale prices for the Challenged Products carrying the “Made from Real Ginger” claim

        than the Canada Dry Green Tea Ginger Ale, which do not carry the Challenged Claim. To the

        contrary (and confirmed in discussions with DPSU personnel), Defendants charge concentrate

        prices and wholesale prices, and provide suggested retail prices, according to market conditions,

        competition, and cost considerations. While pricing may vary by package type and size, pricing

        does not vary by any labeling claim on the product (such as the Challenged Claim).




51
  For example, based upon discussions with Mr. Mike Cernoch, DPSG and its retailers often enter into contracts in which
DPSG and the retailer agree to promotional prices that can be offered for a given point in time. (See, for example,
DPS_165958-Vons 12pks_wk 25_2017.pdf.)



                                                        - 21 -
           Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18          Page 26 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

26.       For example, DPSG’s wholesale prices to retailers (i.e., the sale of final products by DPSG-owned

          bottlers) depend upon whether a beverage is in a 12 pack of 12-oz. cans, 10 pack of 7.5-oz. bottles,

          or 2-liter bottles (among other package sizes). 52 Within the same size and packaging category,

          DPSG (generally) offers the same price to a retailer regardless of whether the package contains

          regular ginger ale, diet ginger ale, or various flavors within such categories. 53 This practice is

          referred to as “line pricing.” 54

27.       Defendants’ uniform pricing practices are evidenced by (a) DPSU’s concentrate prices offered to

          independent bottlers, (b) pricing contracts between DPSG-owned bottlers and retailers, and (c)

          DPSG’s annual pricing guidelines (or “pricing architecture”).

            a. DPSU’s Concentrate Prices Offered To Independent Bottlers. Based upon discussions with
               Ms. Linda Black and Mr. Alan Gallaway, DPSU sets product-specific concentrate prices on
               a yearly basis. 55 These concentrate prices vary across products due to costs considerations,
               such as the volume produced and the costs of ingredients. 56 However, DPSU’s year-over-
               year change in prices of all Canada Dry ginger ale products (and many other DPSU brands)
               have increased by the same percentage amount since at least 2006. For example, presented
               in Exhibit 8 are the year-over-year changes in concentrate prices for various products across
               numerous DPSU brands. The exhibit demonstrates that, since at least 2006, the year-over-
               year percentage change in prices for the majority of DPSU soft drinks have been the same,
               even though the products are of different soft drink types (i.e., ginger ale, tonic water, and
               other flavored soft drinks) and different brands (e.g., Canada Dry, Schweppes, 7UP, A&W,
               Sunkist, etc.). 57




52
     Based upon discussions with Mr. Mike Cernoch.
53
     Based upon discussions with Mr. Mike Cernoch.
54
  Mr. Weir defines “line pricing” as “two or more products from the same line are priced at the same price.”              (Weir
Deposition, p. 107.)
55
     See, for example, Canada Dry Concentrate Pricing Effective January 1, 2017.    (DPS_000011 – 012.)
56
   For example, using the 2017 concentrate pricing sheet, the difference in concentrate prices of Canada Dry Ginger Ale ($2.15
per 288 ounces) and Diet Canada Dry Ginger Ale ($2.50 per 288 ounces) is primarily due to a difference in the total production
volumes (i.e., more regular ginger ale is demanded and produced than diet ginger ale). (Based upon discussions with Ms.
Linda Black and Mr. Alan Gallaway.)
57
  Alternatively stated, while differences in concentrate prices exist, the price differentials were established as early as 2006
and the subsequent year-over-year percentage changes in concentrate prices have been uniform across these products.



                                                             - 22 -
           Case 5:17-cv-00564-NC               Document 248-1     Filed 10/09/18    Page 27 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

               The aforementioned observation is further illustrated in Figure 2 (which graphs DPSU’s prices
               per 288 ounces of concentrate for numerous DPSU soft drinks) and Figure 3 (which graphs
               the relative price ratio between Canada Dry Ginger Ale to Schweppes Ginger Ale concentrate).

               i. Comparison Of Concentrate Prices Across DPSU Soft Drinks. Figure 2 demonstrates that
                  the year-over-year concentrate pricing trends are the same for the majority of DPSU soft
                  drinks (with only a few instances in which a particular product did not increase by the same
                  percentage amount as all other products). Moreover, it is my understanding that the
                  “Made from Real Ginger” labeling claim was not introduced on the Challenged Products
                  until 2009. 58 Contrary to Plaintiffs’ claim that the Challenged Claim allowed Defendants
                  to raise the price of Canada Dry Ginger Ale (and other Challenged Products), Figure 2
                  demonstrates a lack of any price increase for Canada Dry Ginger Ale concentrate that was
                  attributable to the Challenged Claim (i.e., a price increase in addition to DPSU’s price
                  increase applied to all products). In fact, the year-over-year change in concentrate prices
                  was 4% from 2008 to 2009 and 2.5% from 2009 to 2010 for all DPSU products listed in
                  Exhibit 8.

                                                          Figure 2
                                     DPSU’s Soft Drink Concentrate Prices Per 288 Ounces
                                                        2005 – 2018




58
     Falk Deposition, pp. 45 – 46.



                                                         - 23 -
         Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18         Page 28 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

             ii. Price Ratio Of Canada Dry Ginger Ale To Schweppes Ginger Ale. Figure 3 demonstrates
                 that the relative price ratio between Canada Dry Ginger Ale concentrate and Schweppes
                 Ginger Ale concentrate stayed the same before and after the introduction of the Challenged
                 Claim. 59 Throughout the 2005 to 2018 time period, the relative price ratio of Canada Dry
                 Ginger Ale concentrate to Schweppes Ginger Ale concentrate was constant at 0.970 (i.e.,
                 Canada Dry Ginger Ale concentrate was consistently priced less than Schweppes Ginger
                 Ale concentrate and its price relative to Schweppes Ginger Ale did not increase). (See
                 also Exhibit 8.) Thus, Figure 3 further demonstrates a lack of any price increase (and a
                 lack of any price premium) for Canada Dry Ginger Ale that was attributable to the
                 Challenged Claim when using Schweppes as a benchmark.


                                                      Figure 3
                                     Relative Price Ratio Of Concentrate Prices
                             Between Canada Dry Ginger Ale and Schweppes Ginger Ale
                                                     2005 – 2018




          b. Contracts Between DPSG-Owned Bottlers And Retailers. In general, I understand that
             DPSG-owned bottlers follow a line-pricing strategy at the wholesale level for DPSU’s core

59
   The relative price ratio between Diet Canada Dry Ginger Ale concentrate and Schweppes Diet Ginger Ale concentrate is
contained in the supporting sheets of Exhibit 8. In 2012, the price of Schweppes Diet Ginger Ale concentrate increased by
4.0%, while the price of Diet Canada Dry Ginger Ale concentrate increased by 3.5%. As a result, there is a change in the
relative price ratio from 0.9916 in 2011 to 0.9868 in 2012. However, similar to the regular ginger ale concentrate, there is no
difference in the year-over-year percentage increase in concentrate prices of Diet Canada Dry Ginger Ale and Schweppes Diet
Ginger Ale during the time period around the introduction of the Challenged Claim (i.e., 2009).



                                                            - 24 -
           Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18          Page 29 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

               brands (i.e., 7UP, Canada Dry, A&W and Sunkist). 60 I have reviewed contracts that were
               executed between DPSG (and its subsidiary bottlers) and retail customers, including Safeway
               and Vons (i.e., grocery stores from which the Named Plaintiffs purchased the Challenged
               Products). 61 These contracts demonstrate that, for each customer, all Canada Dry, A&W,
               7UP, and Sunkist products of the same package type and size (including both challenged and
               non-challenged products) were sold by DPSG at the same per unit price at a given point in
               time. 62 For example, in a 2016 contract between 7UP Bottling Co. (a DPSG bottler) and a
               Safeway located in Sacramento, CA, the price for a 12 pack of 12-oz. cans of all Canada Dry,
               A&W, 7UP, and Sunkist products (among others) were listed at the same price (i.e., $4.50 per
               12 pack). 63

           c. DPSG’s Annual Pricing Guidelines. On a yearly basis, DPSG produces pricing guidelines
              (or “pricing architectures”) that provide suggested retail and wholesale prices. 64 I have
              reviewed DPSG’s pricing guidelines for the years 2013 through 2018. 65 These contracts
              demonstrate that, for carbonated soft drinks (“CSD”), suggested retail and wholesale prices
              are set according to package type/size, not the brand or flavor (among other aspects). For
              example, in the 2016 pricing guidelines, 12 packs of cans for all carbonated soft drinks (i.e.,
              Canada Dry ginger ale products, 7UP products, Sunkist products, A&W products, etc.) have




60
     Based upon discussions with Mr. Mike Cernoch.
61
   See, for example, Contract between 7 Up Bottling Co. and Safeway at 2670 Land Ave, Sacramento, CA 95815 for the time
period of August 3, 2016 – February 28, 2017. (DPS_165899-160826-25-001906-012-CARB 8-25-16.xlsx.) Based upon
discussions with Mr. Mike Cernoch, it is my understanding that the price paid by the retailer (Safeway in this example) is equal
to the “VEND COST” minus the “ALLOW AMT” in the example contract. For example, the price paid by Safeway for two
12 packs of 12-oz. cans of Welch’s grape soda (i.e., the first line item in the example contract) was $14 – $5 = $9 during the
August 3, 2016 – February 28, 2017 time period.
62
  The contracts between DPSG and retail customers made available to me do not include Schweppes ginger ale products.
Based upon discussions with Mr. Mike Cernoch, I understand that the same bottler does not deliver Canada Dry products and
Schweppes products. Thus, these products generally are not included in the same contracts.
63
   Contract between 7 Up Bottling Co. and Safeway at 2670 Land Ave, Sacramento, CA 95815 for the time period of August
3, 2016 – February 28, 2017. (DPS_165899-160826-25-001906-012-CARB 8-25-16.xlsx.) The listed price of $14 – $5 =
$9 is for two 12 packs. Thus, the effective price for one 12 pack is $4.50.
64
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.
65
  The following DPSG pricing guidelines were produced after the issuance of the Ugone Declaration: 2013 DSD Pricing
Architecture. (DPS_168599_CONFIDENTIAL__2013 Pricing Architecture DSD 08 26 13.XLSX.); 2014 DSD Pricing
Architecture. (DPS_168600_CONFIDENTIAL__2014 Pricing Architecture DSD 02 26 14.XLSX.); 2015 DSD Pricing
Architecture. (DPS_168594_CONFIDENTIAL__2015 Pricing Architecture DSD.XLSX.); 2016 DSD Pricing Architecture.
(DPS_168595_CONFIDENTIAL__2016 Pricing Architecture-Guardrail DSD 11-13-2015.XLSM.); 2017 DSD Pricing
Architecture. (DPS_168596_CONFIDENTIAL__2017 Pricing Architecture-Guardrail DSD MASTER 1-4-2017.XLSM.);
2018 DSD Pricing Architecture. (DPS_168597_CONFIDENTIAL__2018 Pricing Architecture-Guardrail DSD MASTER 5-
16-2018.XLSM.)



                                                             - 25 -
         Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18         Page 30 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

              a suggested retail price per unit of $4.99 (standard everyday price) and wholesale price of
              $3.90 per unit. 66, 67

28.      Defendants’ pricing practices demonstrate the absence of any attempt by Defendants to extract a

         price premium for its Canada Dry ginger ale products carrying the “Made from Real Ginger” claim.

         Such an observation leads to a logical inconsistency in Plaintiffs’ allegations. Named Plaintiffs

         do not reconcile why Defendants allegedly would provide misleading advertising to create a price

         premium, but not attempt to collect it (if it existed). 68

         B. Retail Price Data Demonstrate A Lack Of Any Price Premium For The Challenged
            Products Attributable To The Challenged Claim

29.      If Plaintiffs’ allegations were true, one would expect retail prices of soft drink products of the same

         package type/size to vary based upon differences in labeling claims (e.g., the “Made from Real

         Ginger” labeling claim). However, in reality, soft drinks of all varieties (i.e., brands, flavors, and

         regular or diet) of the same package size generally are line priced within a specific store based

         upon the distributor (e.g., DPSG, Coke, and Pepsi). Any store-specific price variation across soft

         drinks of the same package type/size appears to be attributable to differences in distributors, not

         differences in labeling claims.

30.      The above observation is supported by IRI data and prices observed by members of my staff.

         Based upon this evidence, I have made the following observations.



66
   2016 DSD Pricing Architecture. (DPS_168595_CONFIDENTIAL__2016 Pricing Architecture-Guardrail DSD 11-13-
2015.XLSM, “12-Pack CN LF” tab.) The standard everyday per unit wholesale price is based upon the standard wholesale
price of $14 for two 12 packs (Column B; Row 27) less a $6.20 discount (Column B; Row 28). This yields a wholesale price
of $7.80 per two 12 packs (Column B; Row 29) or $3.90 for a single 12 pack.
67
   The only carbonated soft drink brand independently priced in the pricing guidelines is Stewarts.    However, I understand
this is due to the unique packaging of this particular brand.
68
   In his reply declaration, Mr. Weir claimed that comparisons of concentrate prices or wholesale prices are irrelevant because
such comparisons do not analyze the prices that Class members paid. (Weir Reply Declaration, p. 28.) However, the
purpose of these price comparisons are to show that the Defendants (whom Plaintiffs accuse of using the Challenged Claim to
increase demand for the Challenged Products and benefit from the resulting higher prices) did not attempt to extract a price
premium from its own Challenged Product sales (i.e., concentrate sales and wholesale sales).



                                                            - 26 -
           Case 5:17-cv-00564-NC             Document 248-1              Filed 10/09/18   Page 31 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           a. All DPSU soft drink products distributed by bottlers affiliated with DPSG, including the
              Challenged Products, are line priced according to package types and sizes.

           b. The Challenged Products are priced the same as Canada Dry Green Tea Ginger Ale of the
              same package types and sizes (even though Canada Dry Green Tea Ginger Ale does not carry
              the Challenged Claim).

           c. Other DPSU ginger ale products not carrying the Challenged Claim (i.e., Vernors and
              Schweppes) are priced the same or higher as the Challenged Products of the same package
              types and sizes.

              1. Similarly Packaged Products Generally Are Line Priced According To Distributors

31.       It is my understanding that in the soft drink industry, products generally are distributed in one (or

          more) of three ways: (a) by bottlers affiliated with the manufacturer (i.e., the owner of the product),

          (b) by bottlers affiliated with competing manufacturers, and/or (c) by independent bottlers. In

          California, many of the DPSU products are (primarily) distributed by bottlers affiliated with

          DPSG. 69 Table 4 lists the DPSU brands observed by members of my staff during store visits and

          the bottlers who typically distribute the brands in California (based upon discussions with Mr.

          Mike Cernoch and Mr. Josh Taylor).




69
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.



                                                          - 27 -
          Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18          Page 32 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                  Table 4
                           Observed DPSU Brands And Distributing Bottlers In California
                                                               Distributed In California By
                                  DPSG-Affiliated          Coke-Affiliated      Pepsi-Affiliated             Independent
           DPSU Brands               Bottlers                 Bottlers               Bottlers                 Bottlers 70
          7UP                          X                                                                          X
          A&W                          X                                                                          X
          Cactus Cooler                X                          X                                               X
          Canada Dry                   X                                                                          X
          Crush                                                                            X                      X
          Dr Pepper                       X                       X                        X
          Diet Rite                       X                                                                        X
          Hawaiian Punch                  X                                                X                       X
          RC Cola                         X                                                                        X
          Schweppes                                                                        X
          Sunkist                         X                                                                        X
          Vernors                         X                                                                        X


32.      Based upon the in-store prices observed by members of my staff, the DPSU brands primarily

         distributed by DPSG-affiliated bottlers (i.e., all of the brands in Table 4 with the exception of

         Cactus Cooler, Crush, Dr Pepper, Hawaiian Punch, and Schweppes) were all observed at the same

         price (for a given retailer and package type/size). (Exhibit 6 and Exhibit 7.) Presented in Table

         5 (below) is a summary of all observed DPSU products (with the exception of Cactus Cooler,

         Crush, Dr Pepper, Hawaiian Punch, and Schweppes products) in the visited grocery stores, drug

         stores, and mass merchandisers located in the San Francisco Bay and Los Angeles areas. 71



70
   Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor, it is my understanding that distribution by independent
bottlers in California is not common for the majority of DPSU brands (particularly in larger metropolitan areas such as Los
Angeles and San Francisco).
71
   The retailers considered in this analysis include all visited retailers except for Walmarts (one in San Francisco and three in
Los Angeles). Walmart’s prices generally exhibit more variation in prices (even within specific brands). Based upon
discussions with Mr. Mike Cernoch and Mr. Josh Taylor, it is my understanding that Walmart’s pricing strategy differs from
that of other retailers as it follows a two-tier pricing structure for carbonated soft drinks. Moreover, Walmart is constantly
seeking lower prices and higher margins by leveraging its size in the market as a means to obtain lower wholesale prices. As
such, Walmart’s prices do not reflect line pricing by distributor observed in other retailers. Nonetheless, the observed retail
prices at these Walmarts still do not provide evidence of a price premium attributable to the Challenged Claim. (Exhibit 6
and Exhibit 7.)



                                                             - 28 -
           Case 5:17-cv-00564-NC                Document 248-1            Filed 10/09/18          Page 33 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           Products marked with an “X” in the table were line priced in all stores in which the products were

           observed (i.e., all of the products were observed at the same prices when available in the store). 72

           As shown in Table 5, all of the DPSU products primarily distributed by DPSG-affiliated bottlers

           were observed at the same prices for the same package size within a particular retailer. 73

           Moreover, while my staff visited 49 stores in the San Francisco Bay and Los Angeles areas, DPSU

           personnel Mr. Mike Cernoch and Mr. Josh Taylor confirmed that the observed retail prices (and

           line pricing conclusions discussed here) are representative of the prices at all California retailers.

33.        I understand that retailers prefer to line price soft drink products based upon distributors for the

           following reasons. First, as discussed earlier, DPSG-affiliated bottlers line price products based

           upon package type/size. 74 As such, the cost to the retailer is constant across products distributed

           by the same bottler. While the retailers are free to set any price they want once they purchase the

           products from bottlers, it is my understanding that retailers line price by distributor to reduce

           administrative costs. 75 For example, having to print a different price tag for each brand for each

           package type and size would greatly increase costs for retailers. In addition, retailers want to

           maintain consistent margins from a specific distributor. 76 If a retailer were to charge different

           prices for a given package type/size for every different brand from a given distributor, that would



72
     Note that an “X” does not mean that the product was observed in every retailer visited.
73
   Some of the retailers visited by members of my staff had one or two DPSU products that did not appear to be line priced
with the other DPSU products. For example, in some instances, a promotional price was not observed for a product, causing
the sales price to differ from other products (even though the regular prices were the same). Such exceptions are rare and
should be considered as anomalies in the data. The likely explanation for these data anomalies is mislabeling. Details to all
of the anomalies in the observed retail prices are contained in the exhibits to my declaration. (Exhibit 6 - 7.)
74
     As discussed earlier, DPSU similarly line prices concentrate when selling to independent bottlers.
75
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.
76
   Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor. I understand that retailers typically evaluate margins
by distributor or accounts. As such, variation in prices for different brands of the same package type/size distributed by the
same bottler would present additional complexities in managing the accounts.



                                                              - 29 -
           Case 5:17-cv-00564-NC             Document 248-1              Filed 10/09/18     Page 34 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

          make calculating margins much more complicated. 77                  Retailers would prefer to be able to

          calculate margins by package type/size, regardless of brand. 78                 This also is true for sales

          promotions: I understand that retailers choose to use the same sales price across brands in the soft

          drink category to attract more consumers while maintaining consistency in prices and margins. 79

          The result is line pricing (generally) at both the regular and promoted retail prices.




77
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.
78
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.
79
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.



                                                          - 30 -
           Case 5:17-cv-00564-NC                 Document 248-1             Filed 10/09/18           Page 35 of 551
 Supplemental Declaration of Keith R. Ugone, Ph.D.
 August 14, 2018
 _____________________________________________________________________________________________

                                                  Table 5
                  DPSU Products Line Priced By Package Type/Size And Retail Store Location 80
                                           14 San Francisco Retailers                               31 Los Angeles Retailers
      DPSU Products                2-Liter Bottles       12 Packs of 12-oz. Cans         2-Liter Bottles       12 Packs of 12-oz. Cans
Canada Dry Ginger Ale                    X                         X                           X                         X
Diet Canada Dry Ginger Ale               X                         X                           X                         X
Canada Dry Ginger Ale And
                                          X                             X                       X                          X
Lemonade
Canada Dry Cranberry
                                          X                             X                       X                 No Prices Observed
Ginger Ale
Canada Dry Blackberry
                                          X                 No Prices Observed         No Prices Observed         No Prices Observed
Ginger Ale
Canada Dry Green Tea
                                 No Prices Observed                     X              No Prices Observed                  X
Ginger Ale
7UP                                       X                             X                       X                          X
Diet 7UP                                  X                             X                       X                          X
7UP Cherry                                X                             X                       X                          X
Diet 7UP Cherry                           X                             X                       X                          X
A&W Root Beer                             X                             X                       X                          X
A&W Diet Root Beer                        X                             X                       X                          X
A&W Cream Soda                           X                              X                      X                           X
A&W Diet Cream Soda              No Prices Observed                     X              No Prices Observed                  X
RC Cola                                  X                              X                      X                           X
Diet Rite Cola                   No Prices Observed                     X              No Prices Observed                  X
Squirt                                   X                              X                      X                           X
Squirt Diet                              X                              X                      X                           X
Squirt Ruby Red                           X                             X                       X                          X
Sunkist Orange                            X                             X                       X                          X
Diet Sunkist Orange                       X                             X                       X                          X
Sunkist Lemonade                          X                             X                       X                          X
Sunkist Grape                             X                             X                       X                          X
Sunkist Strawberry                        X                             X                       X                          X
Sunkist Pineapple                No Prices Observed         No Prices Observed                  X                 No Prices Observed
Vernors Ginger Soda              No Prices Observed         No Prices Observed                  X                 No Prices Observed
Vernors Diet Ginger Soda         No Prices Observed         No Prices Observed                  X                 No Prices Observed


 34.      As for DPSU products omitted from the table above, it is my understanding that any observed

          pricing differences for Cactus Cooler, Crush, Dr Pepper, Hawaiian Punch, and Schweppes (not


 80
    Excludes one Walmart in San Francisco and three Walmarts in Los Angeles. As discussed earlier, Walmart’s unique
 pricing strategy and leverage in the market leads to variation in prices that do not reflect distributor-based line pricing. (Based
 upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.)



                                                               - 31 -
           Case 5:17-cv-00564-NC              Document 248-1             Filed 10/09/18        Page 36 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

          included in the table) likely are attributable to the fact that these brands often are distributed by

          bottlers affiliated with Coke or Pepsi. 81 This is evidenced, in part, by the fact that the observed

          retail prices indicate these products were line priced with either Coke or Pepsi products when

          prices were not similar to other DPSU products. 82

35.       In light of the observed line pricing by distributor at the retail level, there is no indication of a price

          premium for the Challenged Products due to the alleged misleading interpretation of the

          Challenged Claim. If Plaintiffs’ allegations were true, removal of the Challenged Claim would

          result in the Challenged Products being priced below all other soft drinks distributed by bottlers

          affiliated with the Defendants. A pricing pattern such as this has no precedent in the observed

          real-world data. Contrary to any claims made by the Plaintiffs (and Plaintiffs’ experts, Dr. Dennis

          and Mr. Weir), the evidence in this matter indicates that prices are determined according to market

          conditions, competition, and cost considerations (some of which is specific to distributors), not a

          particular labeling claim such as the Challenged Claim.

              2. Retail Price Comparisons Between The Challenged Products And A Canada Dry
                 Ginger Ale Product Not Bearing The Challenged Claim (Canada Dry Green Tea
                 Ginger Ale)

36.       As discussed earlier, the majority of DPSU soft drinks (both Challenged Products and non-

          challenged products) were line priced at the retailers visited by members of my staff. One such

          product that generally is line priced with other DPSU soft drinks is Canada Dry Green Tea Ginger

          Ale – a non-challenged ginger ale product sold under the same brand as the Challenged Products.

          Figure 4 presents an example of the packaging for 12 packs of 12-oz. cans of Canada Dry Ginger




81
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.
82
   However, as shown in the exhibits to my declaration, there are many instances in which these products did appear to be line
priced with the other DPSU products. (Exhibit 6 and Exhibit 7.)



                                                            - 32 -
        Case 5:17-cv-00564-NC          Document 248-1         Filed 10/09/18      Page 37 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

       Ale and Canada Dry Green Tea Ginger Ale. If the Challenged Products were selling with a price

       premium associated with the alleged misleading interpretation of the Challenged Claim, then the

       retail prices for the Challenged Products would be higher than the prices for similarly branded,

       non-challenged ginger ale products (i.e., Canada Dry Green Tea Ginger Ale) when using non-

       challenged ginger ale products as a benchmark. However, if the Challenged Products have similar

       prices as the non-challenged Canada Dry products, then consumers did not pay a price premium

       for the Challenged Products attributable to the alleged misleading interpretation of the Challenged

       Claim.

                                            Figure 4
         Example Of Canada Dry Ginger Ale And Canada Dry Green Tea Ginger Ale Packaging
                                   12 Packs Of 12-Oz. Cans 83
                     Canada Dry Ginger Ale                        Canada Dry Green Tea Ginger Ale




37.    As discussed below, comparisons of retail prices indicate no discernible, systematic, and persistent

       price difference between the Challenged Products and Canada Dry Green Tea Ginger Ale of the



83
   Amazon, “Canada Dry Ginger Ale Soda, 12 Ounce (12 Cans).” (https://www.amazon.com/Canada-Dry-Ginger-Soda-
Ounce/dp/B008CPWCEM/ref=sr_1_1_s_it?s=grocery&ie=UTF8&qid=1524770317&sr=1-1&keywords=canada+dry+ginger
+ale+12+pack, viewed on April 26, 2018.) Amazon, “Canada Dry Green Tea Ginger Ale, 12pk, 12 oz Cans.”
(https://www.amazon.com/Canada-Dry-Green-Ginger-12pk/dp/B0029XB9XI, viewed on April 26, 2018.)



                                                   - 33 -
         Case 5:17-cv-00564-NC               Document 248-1              Filed 10/09/18       Page 38 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

        same package types and sizes. Thus, actual retail prices are inconsistent with Dr. Dennis’ and

        Mr. Weir’s assertion that putative Class members paid a price premium for the Challenged

        Products that was associated with the Challenged Claim. Examples are provided below.

         a. Observed In-Store Retail Prices. The retail prices observed by members of my staff indicate
            that the Challenged Products and Canada Dry Green Tea Ginger Ale of the same package
            types and sizes generally are priced the same (within the same retailer). Table 6 (San
            Francisco Bay) and Table 7 (Los Angeles) present the prices observed of Canada Dry Ginger
            Ale and Canada Dry Green Tea Ginger Ale in 12 packs of 12-oz. cans. (See also Exhibit 6
            (San Francisco Bay) and Exhibit 7 (Los Angeles).) The observed prices demonstrate that
            Canada Dry Ginger Ale and Canada Dry Green Tea Ginger Ale of the same package type/size
            are sold at the same price at a given retailer. 84

                                                Table 6
         Observed Retail Prices Of Canada Dry Ginger Ale And Canada Dry Green Tea Ginger Ale
                     At Retailers In The San Francisco Bay Areas During July 2018
                                                                    12 Packs of 12-oz. Cans
              Retailer                      Canada Dry Ginger Ale                    Canada Dry Green Tea Ginger Ale
      Lunardi’s Market
                                                      $5.99                                          $5.99
      (1825 El Camino Real)
      Lunardi’s Market
                                                      $5.99                                          $5.99
      (2666 S Bascom Ave)
      Mollie Stone’s Market
                                                      $5.99                                          $5.99
      (635 Portola Dr)
      Safeway
                                             $6.99 (sales price $3.50)                     $6.99 (sales price $3.50)
      (150 E El Camino Real)




84
   As demonstrated in the exhibits to my declaration, other Challenged Products (e.g., Diet Canada Dry Ginger Ale) also were
observed at the same prices of similarly situated Canada Dry Green Tea Ginger Ale.



                                                           - 34 -
         Case 5:17-cv-00564-NC               Document 248-1               Filed 10/09/18           Page 39 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                 Table 7
         Observed Retail Prices Of Canada Dry Ginger Ale And Canada Dry Green Tea Ginger Ale
                         At Retailers In The Los Angeles Area During July 2018 85
                                                                        12 Packs of 12-oz. Cans
               Retailer                      Canada Dry Ginger Ale                     Canada Dry Green Tea Ginger Ale
      Albertsons
                                               $4.49 ($3.33 if buy 3)                             $4.49 ($3.33 if buy 3)
      (2035 Hillhurst Ave)
      Ralphs
                                               $5.99 ($4.99 if buy 3)                             $5.99 ($4.99 if buy 3)
      (10861 Weyburn Ave)
      Ralphs
                                               $5.99 ($4.99 if buy 3)                             $5.99 ($4.99 if buy 3)
      (11727 W Olympic Blvd)
      Ralphs
                                               $5.99 ($2.77 if buy 4)                             $5.99 ($2.77 if buy 4)
      (1200 N Central Ave)
      Ralphs
                                               $5.99 ($2.77 if buy 4)                             $5.99 ($2.77 if buy 4)
      (1416 E Colorado St)
      Ralphs
                                               $5.99 ($2.99 if buy 4)                             $5.99 ($2.99 if buy 4)
      (8626 Firestone Blvd)
      Ralphs
                                               $5.99 ($2.99 if buy 4)                             $5.99 ($2.99 if buy 4)
      (9200 Lakewood Blvd)
      Stater Bros
                                               $5.99 ($2.99 if buy 4)                             $5.99 ($2.99 if buy 4)
      (7814 Firestone Blvd)
      Vons
                                               $4.49 ($3.33 if buy 3)                             $4.49 ($3.33 if buy 3)
      (1342 N Alvarado St)
      Vons
                                               $4.49 ($3.33 if buy 3)                             $4.49 ($3.33 if buy 3)
      (3461 W 3rd St)
      Vons
                                               $4.49 ($2.99 if buy 4)                             $4.49 ($2.99 if buy 4)
      (311 W Los Feliz Rd)
      Vons
                                               $4.49 ($3.33 if buy 3)                             $4.49 ($3.33 if buy 3)
      (4520 Sunset Blvd)
      Vons
                                               $4.49 ($2.99 if buy 4)                             $4.49 ($2.99 if buy 4)
      (561 N Glendale Ave)
      Vons
                                               $4.49 ($2.99 if buy 4)                             $4.49 ($2.99 if buy 4)
      (7311 N Figueroa St)


          b. IRI Pricing Data. Comparisons of weekly average retail prices using IRI data indicate that
             the Challenged Products and Canada Dry Green Tea Ginger Ale of the same package type
             and size are priced substantially the same at a given point in time. For example, Figure 5
             below presents the weekly average retail prices of the 12 pack of 12-oz. cans of Canada Dry
             Ginger Ale (a challenged product), Diet Ginger Ale (a challenged product), and Green Tea
             Ginger Ale (a non-challenged product) from January 2012 through April 2018 for grocery
             stores located in Los Angeles, CA. Generally, during this time period, average retail prices
             for these three products were substantially the same. Within the natural period-to-period
             price fluctuations of the retail prices of these products, all three products remained at similar
             average prices, fluctuating within a range from approximately $3 to $4.50 per unit over this
             time period. While weekly average retail prices aggregated across all retailers are not as
85
   The following Los Angeles retailers offered an additional $0.50 off digital coupon if four products are bought (applicable
to both Canada Dry Ginger Ale and Canada Dry Green Tea Ginger Ale, among other products): Vons (311 W Los Feliz Rd);
Vons (561 N Glendale Ave); and Vons (7311 N Figueroa St).



                                                           - 35 -
          Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18          Page 40 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

               effective at illustrating the line pricing of Canada Dry ginger ale products (given different
               ginger ale products likely have different sales mixes across retailers), the IRI data show
               substantially the same average prices across these Canada Dry products (with and without the
               Challenged Claim). 86 This observation is consistent with the lack of a price premium
               associated with the Challenged Claim. (See Exhibit 9 (12 pack of 12-oz. products) and
               Exhibit 10 (2-liter products) for price comparisons between the Challenged Products and
               Canada Dry Green Tea Ginger Ale in Los Angeles and San Francisco/Oakland food channels.)

                                                      Figure 5
                             12 Pack Of 12-Oz. Cans Of Canada Dry Ginger Ale Products
                                      With And Without The Challenged Claim
                              Average Retail Prices For Food Stores In Los Angeles, CA




             3. Retail Price Comparison Between The Challenged Products And Other DPSU Ginger
                Ale Products Not Bearing The Challenged Claim

38.      In addition to the Canada Dry brand, the Defendants sell ginger ale products under the Vernors

         and Schweppes brands. According to Mr. Weir, Vernors and Schweppes are competitors of




86
   In addition to graphical comparisons of weekly average retail prices (as presented in the narrative to my report), the exhibits
to my report contain example analyses of relative price ratios between Canada Dry Ginger Ale and Canada Dry Green Tea
Ginger Ale. These example analyses similarly demonstrate that the relative prices of Canada Dry Ginger Ale and Canada
Dry Green Tea Ginger Ale were substantially the same over this time period.



                                                              - 36 -
         Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18         Page 41 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

         Canada Dry. 87 Vernors and Schweppes ginger ale products do not bear the “Made from Real

         Ginger” claim. 88 Figure 6 presents an example of the packaging for 12 packs of 12-oz. cans of

         Canada Dry Ginger Ale, Vernors, and Schweppes Ginger Ale.

                                             Figure 6
          Example Of Canada Dry Ginger Ale, Vernors, And Schweppes Ginger Ale Packaging
                                   12 Packs Of 12-Oz.Cans 89
     Canada Dry Ginger Ale                                  Vernors                                 Schweppes Ginger Ale




87
  Weir Deposition, pp. 100 – 101. Mr. Weir also identified Seagram’s as a competitor of Canada Dry. I understand that
Seagram’s products are alleged to bear a misleading claim similar to the “Made from Real Ginger” claim at-issue in this matter.
(Weir Declaration, pp. 43 and 104.) As a result, for the purpose of the analyses contained in my declaration, I utilize Vernors
and Schweppes as comparison products (not Seagram’s).
88
  Mr. Weir testified that Vernors and Schweppes do not use a claim similar to the “Made from Real Ginger” labeling claim.
(Weir Deposition, p. 104.)
89
   Amazon, “Canada Dry Ginger Ale Soda, 12 Ounce (12 Cans).” (https://www.amazon.com/Canada-Dry-Ginger-Soda-
Ounce/dp/B008CPWCEM/ref=sr_1_1_s_it?s=grocery&ie=UTF8&qid=1524770317&sr=1-1&keywords=canada+dry+ginger
+ale+12+pack, viewed on April 26, 2018.) Walmart, “Vernors Ginger Soda, 12 fl oz, 12 pack.” (https://www.walmart.com/
ip/Vernors-Ginger-Soda-12-fl-oz-12-pack/23565921, viewed on August 2, 2018.) Amazon, “Schweppes Ginger Ale Caffeine
Free 12 Oz 12 Cans.” (https://www.amazon.com/Schweppes-Ginger-Caffeine-Free-Cans/dp/B00BUSYRAK/ref=sr_1_fkm
r0_1_a_it?ie=UTF8&qid=1524770718&sr=8-1-fkmr0&keywords=schweppes+ginger+ale+12+pack, viewed on April 26,
2018.)



                                                            - 37 -
            Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18          Page 42 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

39.        Comparison of retail prices of the Challenged Products to retail prices of Vernors and Schweppes

           ginger ale products demonstrates the absence of a discernible, systematic, and persistent price

           premium associated with the Challenged Claim. 90 Examples are provided below.

            a. Observed In-Store Retail Prices. The observed retail prices of the Challenged Products,
               Vernors, and Schweppes ginger ale products are summarized in Exhibit 6 (San Francisco Bay
               stores) and Exhibit 7 (Los Angeles stores).

               i. Vernors. The observed prices demonstrate that, within a specific store, Vernors is
                  generally priced the same as Canada Dry Ginger Ale (and other Challenged Products) of
                  the same package type and size (particularly after active promotions were applied). While
                  no Vernors prices were observed in San Francisco, 13 of the 34 Los Angeles area retailers
                  sold at least one Challenged Product and Vernors. 91 Canada Dry Ginger Ale was priced
                  the same as Vernors in 11 of the 13 retailers. 92 The only stores not to price Vernors the
                  same as the Challenged Products was a Gelson’s grocery store in Los Angeles, California
                  and a Walmart in South Gate, California. As discussed earlier, Walmart has a different
                  pricing strategy than other retailers (and greater leverage given its size in the market),
                  yielding pricing patterns that are not representative of line pricing by distributors. 93

               ii. Schweppes. As discussed earlier, Schweppes is exclusively distributed by Pepsi-affiliated
                   bottlers in California. As such, Schweppes ginger ale products generally are line priced
                   with Pepsi products, not DPSU products. The observed prices demonstrate that within a
                   specific store, Schweppes ginger ale products are generally priced the same or higher than



90
    In addition, I compared the prices of Canada Dry ginger ale products to Vernors, Schweppes, and smaller ginger ale brands
(i.e., Reed’s, Q Spectacular, Bruce Cost Ginger Ale, and Fever-Tree Ginger Ale, hereinafter “Plaintiff Cited Products”). Some
of these smaller brands were cited by Plaintiffs or Plaintiffs’ experts as “premium” ginger ales that include “ginger root” in
their listed ingredients and/or advertise their use of ginger root. As shown in Exhibit 25, Canada Dry, Vernors, and Schweppes
ginger ale products were sold at prices in the range of $0.26 to $0.95 per 10 fluid oz. (depending upon the package type/size),
whereas the Plaintiff Cited Products were sold at prices in the range of $0.94 to $2.94 (depending upon the brand and package
type/size). If there existed a price premium for the “Made from Real Ginger” labeling claim (as Dr. Dennis and Mr. Weir
claim), it would be reasonable to expect the Challenged Products be sold at prices equivalent (or closer to) to the Plaintiff Cited
Products. However, contrary to any claims made by Dr. Dennis and Mr. Weir, the Challenged Products are line priced with
other carbonated soft drinks (with no discernible, systematic, and persistent price premium associated with the Challenged
Claim).
91
     Only 2-liter bottles of Vernors were observed (i.e., no 12 packs of 12-oz. cans).
92
   Four of the eleven retailers (i.e., an Albertsons and three Vons grocery stores) listed Vernors at a regular price slightly above
that of Canada Dry Ginger Ale (and other Challenged Products sold at the store). However, the active promotions in each of
these retailers yielded the same sales prices for Vernors and the Challenged Products. As discussed earlier, retailers set their
own prices. While DPSG-affiliated bottlers generally line price Vernors with other similarly situated DPSU products, the
Albertsons and Vons grocery stores visited decided to set a higher regular price for Vernors (likely attributable to the fact that
Vernors is sold alongside mixers as opposed to other soft drinks in these stores). (Based upon discussions with Mr. Mike
Cernoch and Mr. Josh Taylor.)
93
     Based upon discussions with Mr. Mike Cernoch and Mr. Josh Taylor.



                                                               - 38 -
          Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18          Page 43 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                  the Challenged Products of the same package type and size.                           (See Exhibit 6 (San
                  Francisco Bay stores) and Exhibit 7 (Los Angeles stores).)

          b. IRI Pricing Data. The IRI data produced in this case contain average prices for Canada Dry
             and Schweppes ginger ale products (no data on Vernors). Comparisons of weekly average
             retail prices using IRI data indicate that the Schweppes Ginger Ale of the same package type
             and size generally are priced higher than Canada Dry Ginger Ale and Diet Canada Dry Ginger
             Ale at a given point in time. For example, Figure 7 below presents the weekly average retail
             prices of 2-liter bottles of Canada Dry Ginger Ale, Diet Canada Dry Ginger Ale, and
             Schweppes Ginger Ale from January 2012 through April 2018 for grocery stores located in
             Los Angeles, CA. Generally, during this time period, average retail prices for Schweppes
             Ginger Ale were higher than the Canada Dry ginger ale products. 94 As discussed earlier, this
             difference in prices likely is explained by the fact that Schweppes products are exclusively
             distributed by Pepsi-affiliated bottlers in California (while the Challenged Products are
             primarily distributed by DPSG-affiliated bottlers). Moreover, this observation is consistent
             with the lack of a price premium associated with the Challenged Claim when using Schweppes
             Ginger Ale as a benchmark. This actual data also demonstrates the high variability
             associated with such pricing comparisons across time. (See Exhibit 11 (12 pack of 12-oz.
             products) and Exhibit 12 (2-liter products) for price comparisons between the Challenged
             Products and Schweppes ginger ale products in Los Angeles and San Francisco/Oakland food
             channels.)




94
   In addition to graphical comparisons of weekly average retail prices (as presented in the narrative to my report), the exhibits
to my report contain example analyses of relative price ratios between Canada Dry Ginger Ale and Schweppes Ginger Ale.
These example analyses similarly demonstrate that Schweppes Ginger Ale generally had higher average retail prices than
Canada Dry Ginger Ale over this time period.



                                                              - 39 -
           Case 5:17-cv-00564-NC                 Document 248-1   Filed 10/09/18   Page 44 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                      Figure 7
                         2-Liter Bottles Of Canada Dry And Schweppes Ginger Ale Products
                            Average Retail Prices For Grocery Stores In Los Angeles, CA




           C. Named Plaintiff’s Purchase Records From Safeway Demonstrate Prices Paid For
              Challenged Products And Non-Challenged Products Were The Same

40.        Plaintiffs have produced Named Plaintiff Fitzhenry-Russell’s purchases of Challenged Products

           and other items at Safeway during the December 2012 – October 2017 time period. 95 Based upon

           these records, Ms. Fitzhenry-Russell’s purchases consisted of both Challenged Products (e.g.,

           Canada Dry Ginger Ale) and non-challenged soft drinks (e.g., Coca Cola, A&W, etc.). Exhibit

           13 contains a summary of soft drink purchases made by Ms. Fitzhenry-Russell on the same days

           that she purchased Canada Dry Ginger Ale.

41.        Based upon Ms. Fitzhenry-Russell’s purchase records at Safeway, she generally bought the

           Challenged Products and non-challenged soft drinks of the same package size at the same prices


95
     Fitzhenry-Russell Deposition, Exhibit 25.



                                                         - 40 -
         Case 5:17-cv-00564-NC                Document 248-1            Filed 10/09/18         Page 45 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

         (before and after promotions).           Table 8 provides examples of Safeway prices paid by Ms.

         Fitzhenry-Russell for 12 packs of 12-oz. cans of various branded soft drinks, including Canada

         Dry ginger ale products and non-challenged products. The table (and the complete summary of

         prices paid contained in Exhibit 13) demonstrate that Ms. Fitzhenry-Russell paid the same prices

         for Canada Dry ginger ale products and non-challenged soft drinks, even after receiving

         discounts. 96 Ms. Fitzhenry-Russell’s purchase records highlight a lack of nexus between a label

         claim such as the “Made From Real Ginger” claim and Plaintiffs’ asserted price premium theory.

                                                     Table 8
                        Prices Paid By Named Plaintiff Ms. Fitzhenry-Russell At Safeway 97
                                           12 Packs Of 12-Oz. Cans
                    Brand                    May 31, 2013                 May 27, 2014                  July 1, 2014 98
                                          $2.50 (non-club price        $2.50 (non-club price
          Canada Dry                                                                                        $5.99
                                                 $5.49)                       $5.99)
                                          $2.50 (non-club price
          A&W                                                                   N/A                         $5.99
                                                 $5.49)
                                                                       $2.50 (non-club price
          Classic Coca Cola                        N/A                                                      $5.99
                                                                              $5.99)
                                                                       $2.50 (non-club price
          Coke Zero                                N/A                                                       N/A
                                                                              $5.99)
          Minute Maid                              N/A                         N/A                          $5.99




96
   Similarly, in my own experience, I have observed and paid substantially the same prices for numerous types and brands of
soft drinks (including Challenged Products and non-challenged products) at a given retailer.
97
   The prices presented in Table 8 represent only a sample of prices paid by Ms. Fitzhenry-Russell according to the Safeway
data produced in this matter. Exhibit 14 contains all prices paid by Ms. Fitzhenry-Russell for other soft drinks on the same
days that she purchased Canada Dry Ginger Ale during the December 2012 – October 2017 time period.
98
   Ms. Fitzhenry-Russell bought five 12 packs of 12-oz. cans of soft drinks on July 1, 2014, including 12 packs of Canada Dry,
A&W, Minute Maid, and two 12 packs of Classic Coca Cola. These five products appear to have been part of a “buy 2 get 3
free” promotion, as three of the five were discounted by the full price on Ms. Fitzhenry-Russell’s Safeway records. In such a
scenario, the purchase could be described that Ms. Fitzhenry-Russell (a) did not make any incremental expenditure to obtain
the Canada Dry product once the decision was made to purchase a second 12 pack or (b) paid full price for the Canada Dry
product and another product to obtain three additional 12 packs for “free” or (c) all of the 12 pack products can be viewed as
effectively having the same average price, regardless of which products are designated as “free” by the purchase receipt
(especially if such “free” designation occurred by happenstance at the check-out counter).



                                                            - 41 -
            Case 5:17-cv-00564-NC               Document 248-1             Filed 10/09/18   Page 46 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           D. Response To Mr. Weir’s Claim That Side-By-Side Price Comparisons Cannot Isolate A
              Price Premium Attributable To The Challenged Claim

42.        Weir Claim. In his reply declaration, Mr. Weir claimed that the price comparisons presented in

           the Ugone Declaration all suffer from the same flaw: the price comparisons are confounded by

           differences in the comparator products unrelated to the Challenged Claim. 99 Specifically, Mr.

           Weir noted that the prices of the comparator products varied according to the following

           differentiating factors (among others): (a) flavor; (b) brand; (c) packaging; (d) degree of product

           differentiation relative to other competing products; and (e) efforts of competitors. 100 Mr. Weir

           claimed that “[b]ecause the prices of [non-challenged] soft drinks differ due to product

           differentiation, a side-by-side comparison of the prices of these products [i.e., soft drinks not

           bearing the Challenged Claim] with ‘Canada Dry Ginger Ale’ cannot isolate the Price Premium

           attributable to the Claim.” 101

43.        Response. Mr. Weir’s dismissal of the price comparisons contained in the Ugone Declaration

           (and presented in this declaration) is inappropriate and demonstrates a misunderstanding of the

           purpose of such price comparisons. Mr. Weir’s reasoning appears to be that any difference in

           prices across soft drink products would be attributable to the relative price premiums associated

           with all of the differentiating factors (e.g., flavor, brand, packaging, labeling claims, etc.). 102 In

           situations where there are multiple differentiators, Mr. Weir claims that a side-by-side price

           comparison would not allow for the isolation of the price premium attributable to a single

           differentiator. For example, he references other matters wherein a party was attributing the entire



99
      Weir Reply Declaration, pp. 25 – 32.
100
      Weir Reply Declaration, pp. 25 – 26, 30, and 32.
101
      Weir Reply Declaration, p. 25.   (Bracketed text added for clarification.)
102
      See, for example, Weir Reply Declaration, p. 31.



                                                               - 42 -
            Case 5:17-cv-00564-NC               Document 248-1           Filed 10/09/18         Page 47 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           difference in price between two products to a single feature that was different between the two

           products. 103      However, Mr. Weir failed to consider the applicability in this matter of side-by-

           side price comparisons in demonstrating the absence of a price premium associated with a specific

           differentiator. 104

44.        In this section of my declaration, I provided numerous price comparisons between the Challenged

           Products and various other soft drinks not bearing the Challenged Claim. As pointed out by Mr.

           Weir, these products (both the Challenged Products and other soft drinks) have numerous

           differentiating factors, including (but not limited to) brand, flavor, and packaging design. 105 In

           spite of these claimed differentiating factors, these soft drinks generally are all priced the same (as

           demonstrated above). Based upon Mr. Weir’s logic, this implies that the relative price premiums

           for all of the differentiating factors must precisely offset each other, resulting in equal prices

           between the Challenged Products and other non-challenged soft drinks. This defies logic and

           common sense and Mr. Weir has provided no support for this alleged convergence of price

           premiums across all soft drinks.

45.        Mr. Weir’s error in logic can be illustrated using an example contained in the Weir Reply

           Declaration. Mr. Weir claimed that even when assuming the only differences between Canada

           Dry Ginger Ale and Canada Dry Green Tea Ginger Ale are flavor and the “Made from Real

           Ginger” claim, a side-by-side price comparison would be unable to determine the value of either




103
      Weir Reply Declaration, p. 28.
104
    Mr. Weir also dismissed my before-and-after analysis of DPSU’s concentrate prices, which demonstrate that that there was
no change in DPSU’s pricing practices when the Challenged Claim was introduced on the Challenged Products. In this
particular analysis, other factors are controlled for because the prices for the same product (i.e., Canada Dry Ginger Ale) are
compared over time (as opposed to price comparisons across different products).
105
      Weir Reply Declaration, pp. 25 – 26, 30, and 32.



                                                            - 43 -
            Case 5:17-cv-00564-NC              Document 248-1            Filed 10/09/18         Page 48 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           differentiator. 106 In this example, if Canada Dry Ginger Ale is priced the same as Canada Dry

           Green Tea Ginger Ale (which generally is true in reality), Mr. Weir’s logic implies that the price

           premium for the “Made from Real Ginger” claim is exactly equal to the price premium for the

           green tea flavoring (compared to regular ginger ale flavor). However, there is no reason to believe

           these two differentiating factors yield the exact same price premium.

46.        The flaws in Mr. Weir’s reasoning is even more apparent when applied to the real world pricing

           evidence presented in this section of my declaration. As discussed above, pricing evidence in this

           matter demonstrates the Challenged Products and other soft drinks not bearing the Challenged

           Claim are priced substantially the same. Under Mr. Weir’s theory, Canada Dry Ginger Ale is

           priced the same as other soft drinks, such as A&W Root Beer, 7UP, and Sunkist (among numerous

           others), because the differentiating factors across all of these products yield the exact same price

           premium. In other words, the claimed price premium attributable to the “Made from Real Ginger”

           labeling claim is exactly matched (or offset) by the price premium associated with other

           differentiators (e.g., flavor, brand, packaging design, other labeling claims, etc.) across all of these

           other brands and products. 107 However, it is unreasonable to conclude that the similarity in prices

           across Challenged Products and non-challenged soft drinks is caused by a coincidental

           convergence of exactly matching and offsetting price premiums attributable to a variety of claimed

           differentiators, including the claimed price premium attributable to the Challenged Claim (if such

           a premium existed). 108 In actuality, as discussed in this declaration, the evidence in this matter


106
      Weir Reply Declaration, p. 31.
107
    Alternatively, Mr. Weir’s logic can be explained as follows: if the “Made from Real Ginger” claim were not on the label of
the Challenged Products, the Challenged Products would sell for a retail price that is 4% lower than all other soft drinks sold
by the Defendants. Mr. Weir’s reasoning ignores the facts and circumstances in this case, which demonstrate that all of
DPSU’s carbonated soft drinks are priced substantially the same (regardless of product labeling claims).
108
      Moreover, Mr. Weir has not addressed this implication nor has he provided any support for such a conclusion.



                                                             - 44 -
            Case 5:17-cv-00564-NC                Document 248-1              Filed 10/09/18             Page 49 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           indicates that prices are determined according to market conditions, competition, and cost

           considerations, not a particular labeling claim such as the Challenged Claim.

VII.       PLAINTIFFS’ PERCENTAGE PRICE PREMIUM APPROACH EXTRACTS VALUE
           FROM FACTORS IMPACTING PRICES UNRELATED TO THE CHALLENGED
           CLAIM

47.        Mr. Weir proposed to calculate damages by multiplying a claimed “%Price Premium Factor:

           Claim” by dollar sales of the Challenged Products during the putative Class Period. 109 Based

           upon his conjoint analysis, Dr. Dennis opined to two percentage price premiums (i.e., “%Price

           Premium Factor: Claim”):

                    That is, for the 2-Liter Canada Dry Ginger Ale, the price premium attributable to
                    the challenged claim is at least 4.67%. For the 12-pack Canada Dry Ginger Ale,
                    the price premium is at least 4.00%. To be conservative, [Dr. Dennis] would apply
                    the 4.00% price premium to Canada Dry Ginger Ale products other than the 2-Liter
                    products, while the 4.67% price premium is applied to the 2-Liter products. 110

48.        Mr. Weir asserted that the aforementioned calculations “can be performed on a class-wide basis,

           Nationwide or across different geographies, and for any defined timed period, including the

           proposed Class Period(s) in this litigation.” 111 However, even under Mr. Weir’s assertions

           regarding such calculations, his proposed calculations would extrapolate the results of a single

           conjoint survey for two package sizes to all Challenged Product sales made across all retailers

           during the entirety of the putative Class Period.

49.        Analyses of the available actual retail price data and observed store-specific prices demonstrate

           that there are significant variations in retail prices of the Challenged Products across multiple

           purchase characteristics. Consequently, Mr. Weir’s claimed price premium damages attributable


109
    Weir Declaration, p. 19. Mr. Weir described his damages calculations as preliminary.          It is my understanding that he has
not produced final claimed damages figures. (See also Weir Deposition, p. 106.)
110
      Dennis Declaration, p. 36.   (Bolded text in original; bracketed text added for clarification.)
111
      Weir Declaration, p. 19.



                                                                - 45 -
         Case 5:17-cv-00564-NC               Document 248-1           Filed 10/09/18         Page 50 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

        to the Challenged Claim varies across Challenged Product purchases due to variation in prices

        unrelated to the alleged wrongful conduct (and, hence, is inflating claimed damages). 112 Based

        upon the analyses performed, retail prices of the Challenged Products vary depending upon at least

        (a) sales channel, (b) retailer, (c) promotional activity, (d) package type/size, (e) geographic

        location (i.e., city), and (f) time period.

50.     My analyses of price variation are detailed below and in the exhibits to this declaration. In

        addition, at the end of this section, I address Mr. Weir’s claim that said price variation does not

        impact the calculation of Class-wide damages.

        A. Challenged Product Prices Vary Depending Upon Sales Channel

51.     Analysis of IRI data for California indicates that the price paid for the Challenged Product by any

        particular putative Class member at any particular point in time could vary significantly based

        upon the sales channel in which the purchase was made. As an illustrative example, the average

        retail prices in Los Angeles, CA across sales channels for the 2-liter bottles of Canada Dry Ginger

        Ale are used.

52.     Generally, retail prices of 2-liter bottles of Canada Dry Ginger Ale were lowest in grocery stores

        and highest in convenience stores. Figure 8 provides an illustrative example regarding the

        variations in the average retail prices across three Los Angeles sales channels available in the IRI

        data for 2-liter bottles of Canada Dry Ginger Ale over the January 2012 to April 2018 time period.

        Over this time period, in Los Angeles, the average retail prices in convenience stores were 48% to

        70% higher than in grocery stores. The average price differences by sales channel (in dollars and


112
    Mr. Weir asserted that “the price premium percentage calculated by Dr. Dennis applies to all Class Members market-wide
regardless of the absolute price they paid, and regardless of any individual Class Member’s subjective valuation of the
Products.” (Weir Declaration, p. 16.) However, for reasons discussed here and throughout my declaration, there is no reason
to believe there would have been one constant percentage price premium (4.67% for 2-liter products and 4.00% otherwise) for
all purchases of the Challenged Products.



                                                          - 46 -
       Case 5:17-cv-00564-NC         Document 248-1       Filed 10/09/18     Page 51 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

       percentages) over the 2016 – April 2018 time period are summarized in Table 9. (See also

       Exhibit 14 (12 packs of 12-oz. cans) and Exhibit 15 (2-liter bottles) for summaries of average

       retail prices by sales channel and year for Canada Dry Ginger Ale in Los Angeles, CA.)

                                                Figure 8
                               2-Liter Bottles Of Canada Dry Ginger Ale
                        Average Retail Prices By Sales Channel (Los Angeles, CA)




                                                - 47 -
       Case 5:17-cv-00564-NC               Document 248-1    Filed 10/09/18      Page 52 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                     Table 9
                                   2-Liter Bottles Of Canada Dry Ginger Ale
                                    Average Retail Prices By Sales Channel
                                                2016 – April 2018
                 Sales Channel                    2016                2017              Jan – April 8, 2018
        Grocery Stores                            $1.21               $1.27                   $1.23
        Drug Stores                               $1.70               $1.64                   $1.77
        Convenience Stores                        $2.05               $2.13                   $2.10
        Difference (Highest v. Lowest)            $0.84               $0.86                   $0.87
        % Difference (Highest v. Lowest)          69%                 67%                     70%


53.    As Mr. Weir relied upon a percentage price premium, in the aforementioned example, he would

       allocate some portion of the price difference across sales channels to the alleged misrepresentation

       (where the difference in price is unrelated to the alleged misrepresentation). As demonstrated

       above, convenience stores (and drug stores) charge a “convenience premium” relative to the lower-

       priced grocery stores. For example, over the January – April 2018 time period, this convenience

       premium for convenience stores over grocery stores was $0.87 (on average). Using Dr. Dennis’

       claimed percentage price premium for illustrative purposes (i.e., 4.67% for 2-liter bottles), Mr.

       Weir’s approach is fundamentally flawed because it would attribute a portion of this convenience

       premium to the Challenged Claim (i.e., $0.87 × 4.67% = $0.04 per 2-liter bottle of Canada Dry

       Ginger Ale sold) when the difference in price was due to the sales channel of the Challenged

       Product.    In other words, Mr. Weir’s approach inappropriately allocates a portion of the

       “convenience premium” to claimed damages.

       B. Challenged Product Prices Vary Depending Upon Retailer

54.    Analysis of Dr. Dennis’ observed store-specific prices in the San Francisco Bay area and in-store

       prices observed by members of my staff indicate that retail prices of the Challenged Products

       varied across retailers, even within the same geographic area and time period.




                                                    - 48 -
           Case 5:17-cv-00564-NC               Document 248-1             Filed 10/09/18         Page 53 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            a. Retail Prices Observed By Dr. Dennis. The table below (Table 10) shows price variation
               across retailers within the same sales channels based upon the prices observed by Dr. Dennis.
               For example, the price of a 2-liter bottle of Canada Dry Ginger Ale ranged from (a) $1.99 to
               $3.00 at observed grocery stores in the San Francisco Bay area and (b) $1.38 to $1.89 at
               observed mass merchandisers in the San Francisco Bay area. (See Exhibit 5.)

                                                         Table 10
                                   Retail Prices Observed In The San Francisco Bay Area
                                                      By Dr. Dennis 113
                                                                                     Canada Dry Ginger Ale
                                               Date Of
                    Retail Store            Observed Prices              2-Liter Bottles             12 Pack of 12-oz. Cans
            Grocery Stores
            Pak N Save (Emeryville, CA)        3/14/2018                     $1.99                           $6.99
            S&M Market (Oakland, CA)           3/14/2018                     $3.00                            N/A
            Safeway (San Leandro, CA)          3/15/2018                     $1.99                           $6.99
            Nob Hill Grocery Store
                                               3/15/2018                     $1.99                           $6.99
            (Redwood City, CA)
            Mass Merchandisers
            Target (Emeryville, CA)            3/14/2018                     $1.89                           $5.99
            Walmart (San Leandro, CA)          3/15/2018                     $1.38                           $3.33


            b. Retail Prices Observed By Members Of My Staff. As discussed earlier, members of my staff
               visited grocery stores, drug stores, and mass merchandisers in the San Francisco Bay and Los
               Angeles areas. The observed prices at these retailers demonstrate price variation across
               retailers within the same sales channels and locations. As an example, presented in Table
               11 are the observed retail prices of Canada Dry Ginger Ale for Los Angeles retailers visited
               during July 24 – 26, 2018. The table shows price variation across retailers within the same
               sales channels. For example, based upon this subset of retail prices observed, the price of a
               2-liter bottle of Canada Dry Ginger Ale ranged from (a) $0.79 to $2.29 at observed grocery
               stores in the Los Angeles area and (b) $1.38 to $1.79 at observed mass merchandisers in the
               Los Angeles area. (See also Exhibit 6 and Exhibit 7.)




113
      Dr. Dennis’ Observed Store-Specific Ginger Ale Prices.     (PL000783 – 785.)    See also Exhibit 5.



                                                               - 49 -
       Case 5:17-cv-00564-NC                Document 248-1              Filed 10/09/18        Page 54 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                       Table 11
                                Example Retail Prices Observed In The Los Angeles Area
                                         Observed During July 24–26, 2018 114
                                                                                  Canada Dry Ginger Ale
                                          Date Of
               Retail Store            Observed Prices               2-Liter Bottles              12 Pack of 12-oz. Cans
        Grocery Stores 115
        Albertsons
                                        July 24, 2018             $1.99 ($0.89 if buy 5)          $4.49 ($3.33 if buy 3)
        (2035 Hillhurst Ave)
        El Super
                                        July 26, 2018             $1.39 ($1.25 if buy 4)          $3.87 ($3.33 if buy 3)
        (5610 York Blvd)
        Food 4 Less
                                        July 25, 2018             $1.99 ($1.67 if buy 3)          $6.49 ($2.77 if buy 4)
        (5100 N Figueroa St)
        Ralphs
                                        July 26, 2018             $1.99 ($1.25 if buy 4)          $5.99 ($2.77 if buy 4)
        (1200 N Central Ave)
        Ralphs
                                        July 26, 2018             $1.99 ($1.25 if buy 4)          $5.99 ($2.77 if buy 4)
        (1416 E Colorado St)
        Smart & Final
                                        July 25, 2018             $1.79 ($0.79 if buy 4)                  $5.89
        (6060 N Figueroa St)
        Stater Bros
                                        July 24, 2018             $1.99 ($1.25 if buy 4)          $5.99 ($2.99 if buy 4)
        (7814 Firestone Blvd)
        Super A Foods
                                        July 25, 2018         $1.99 (sales price $0.99)           $4.99 ($3.33 if buy 3)
        (2925 Division St)
        Vons
                                        July 26, 2018             $2.29 ($1.33 if buy 3)          $4.49 ($2.99 if buy 4)
        (311 W Los Feliz Rd)
        Vons
                                        July 26, 2018             $2.29 ($1.33 if buy 3)          $4.49 ($2.99 if buy 4)
        (561 W Los Feliz Rd)
        Vons
                                        July 25, 2018             $2.29 ($1.33 if buy 3)          $4.49 ($2.99 if buy 4)
        (7311 N Figueroa St)
        Mass Merchandisers
        Target
                                        July 26, 2018             $1.79 ($1.67 if buy 3)                  $5.99
        (2195 Galleria Way)
        Target
                                        July 26, 2018             $1.79 ($1.67 if buy 3)                  $5.99
        (2626 Colorado Blvd)
        Target
                                        July 26, 2018                     $1.79                           $5.99
        (4211 Eagle Rock Blvd)
        Target
                                        July 24, 2018                     $1.79                           $5.99
        (735 S Figueroa St)
        Walmart
                                        July 24, 2018                     N/A                    $4.48 (sales price $3.33)
        (4651 Firestone Blvd)
        Walmart
                                        July 24, 2018                     $1.38                           $4.48
        (8500 Washington Blvd)
        Walmart
                                        July 24, 2018                     $1.38                           $4.48
        (9001 Apollo Way)




                                                         - 50 -
            Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18         Page 55 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

55.        The price differences demonstrated above likely are driven by various store-specific factors and

           not by any intrinsic difference in the product sold (and not by any alleged price premium associated

           with an alleged misrepresentation). For example, the retail prices observed by Dr. Dennis indicate

           that the prices of Canada Dry Ginger Ale were significantly higher at Target ($1.89 for a 2-liter

           bottle and $5.99 for a 12 pack of 12-oz. cans) than Walmart ($1.38 for a 2-liter bottle and $3.33

           for a 12 pack of 12-oz. cans), even though the prices were observed during the same time period

           (a day apart) and in the same geographic area (San Francisco Bay area). Because Dr. Dennis and

           Mr. Weir rely upon a percentage price premium approach, their approach inappropriately attributes

           approximately 4% of the higher prices at Target as compared to Walmart to the alleged

           misrepresentation even though there is no nexus between the $0.51 and $2.66 price differences

           and the Challenged Claim. 116

           C. Challenged Product Prices Vary Depending Upon Promotional Activity

56.        Large variations also exist between Challenged Products’ promoted prices (e.g., on-sale prices,

           prices with shopper cards) and non-promoted prices. Therefore, whether a Challenged Product

           was purchased during an active promotion is important in determining the actual prices paid by

           individual putative Class members (and the amount of any alleged price premium associated with

           the purchase). In fact, the Named Plaintiffs exhibited varying purchasing behavior themselves,

           with Ms. Fitzhenry-Russell frequently (but not always) using a club card to get a discount, while




114
   This table presents Canada Dry Ginger Ale prices observed for retailers in the Los Angeles area during the July 24 – 26,
2018 time period. The full summary of prices observed for all products and visited retailers in the San Francisco Bay and Los
Angeles areas can be found in the exhibits to my declaration. (Exhibit 6 and Exhibit 7.)
115
    The following Los Angeles retailers offered an additional $0.50 off digital coupon if four products are bought (applicable
to Canada Dry Ginger Ale and numerous other products): Vons (311 W Los Feliz Rd); Vons (561 W Los Feliz Rd); and Vons
(7311 N Figueroa St).
116
      Calculations: $1.89 - $1.38 = $0.51 (2-liter bottles) and $5.99 - $3.33 = $2.66 (12 packs of 12-oz. cans).



                                                               - 51 -
            Case 5:17-cv-00564-NC                 Document 248-1            Filed 10/09/18       Page 56 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           Mr. Margaryan did not typically use a club card. 117                     Examples of price variation due to

           promotional activity are provided below.

            a. Observed Retail Prices. Retail prices observed in-store provide evidence that many putative
               Class members likely purchased the Challenged Products at a significant discount compared
               to the regularly listed prices. For example, Table 12 presents in-store prices observed at
               retail stores in the Los Angeles area on July 26, 2018. The table demonstrates the significant
               impact promotional activity has on the price paid for the Challenged Products. As an
               example, Vons shoppers realize substantial price reductions when purchasing the Challenged
               Products (as demonstrated by the “Promotion” column in the table below). At the two Vons
               presented in the table below, using a club card reduced the price of a 12 pack of 12-oz. cans
               of Canada Dry Ginger Ale by $2 (or 31%). In addition, Safeway was offering an additional
               discount when four products are bought, reducing the price of 12 packs of 12-oz. cans of
               Canada Dry Ginger Ale to $2.99 per 12 pack (i.e., a per unit price reduction off of the regular
               price of $3.50 or 54%). (See also Exhibit 6 and Exhibit 7.)

                                                       Table 12
                                Example Retail Prices Observed In The Los Angeles Area
                                            Observed On July 26, 2018 118
                                                     2-Liter Bottles Of                     12 Packs Of 12-Oz. Cans Of
                                                   Canada Dry Ginger Ale                      Canada Dry Ginger Ale
                  Retail Store               Regular Price              Promotion         Regular Price      Promotion
            El Super
                                                  $1.39                $1.25 if buy 4         $3.87        $3.33 if buy 3
            (5610 York Blvd)
            Ralphs
                                                  $1.99                $1.25 if buy 4         $5.99        $2.77 if buy 4
            (1200 N Central Ave)
            Ralphs
                                                  $1.99                $1.25 if buy 4         $5.99        $2.77 if buy 4
            (1416 E Colorado St)
            Target
                                                  $1.79                $1.67 if buy 3         $5.99             None
            (2195 Galleria Way)
            Target
                                                  $1.79                $1.67 if buy 3         $5.99             None
            (2626 Colorado Blvd)
            Target
                                                  $1.79                    None               $5.99             None
            (4211 Eagle Rock Blvd)
            Vons                                                                                          sales price $4.49
                                                  $2.29                $1.33 if buy 3         $6.49
            (311 W Los Feliz Rd)                                                                           $2.99 if buy 4
            Vons                                                                                          sales price $4.49
                                                  $2.29                $1.33 if buy 3         $6.49
            (561 W Los Feliz Rd)                                                                           $2.99 if buy 4


            b. IRI Pricing Data. Average retail prices contained in the IRI data also demonstrate significant
               price differences between promoted and non-promoted prices. As an example, for 2-liter

117
      See Fitzhenry-Russell Deposition, p. 130.   See also Margaryan Deposition, p. 71.
118
    This table presents Canada Dry Ginger Ale prices observed at retailers in the Los Angeles area on July 26, 2018. The full
summary of prices observed for all products and visited retailers in the San Francisco Bay and Los Angeles areas can be found
in the exhibits to my declaration. (Exhibit 6 and Exhibit 7.)



                                                              - 52 -
            Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18           Page 57 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                bottles of Canada Dry Ginger Ale, over the January 2012 to April 2018 time period, on
                average, non-promoted prices for grocery stores in Los Angeles were higher than the
                promoted prices in all reported years by approximately $0.01 - $0.35 (i.e., a percentage
                difference of 1.2% - 30.2%). (See Table 13 and Figure 9.) (See also Exhibit 16 (12 packs
                of 12-oz. cans) and Exhibit 17 (2-liter bottles) for analyses of promoted and non-promoted
                prices for grocery stores in Los Angeles, CA.)

                                                  Table 13
                                 2-Liter Bottles Of Canada Dry Ginger Ale
              Average Promoted And Non-Promoted Prices For Grocery Stores In Los Angeles, CA
                               Promoted Price        Non-Promoted Price             $ Difference          % Difference
                      119
               2012                 $1.26                    $1.28                     $0.01                 1.18%
                2013                $1.29                    $1.35                     $0.06                 4.54%
                2014                $1.38                    $1.45                     $0.07                 4.90%
                2015                $1.15                    $1.37                     $0.22                19.00%
                2016                $1.15                    $1.40                     $0.25                21.41%
                2017                $1.20                    $1.49                     $0.29                24.19%
               2018 120             $1.17                    $1.52                     $0.35                30.16%




119
      The IRI data include prices for 2012 starting in the week ending January 15, 2012.
120
      The IRI data include prices for 2018 through the week ending April 8, 2018.



                                                              - 53 -
       Case 5:17-cv-00564-NC         Document 248-1        Filed 10/09/18     Page 58 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                Figure 9
                               2-Liter Bottles Of Canada Dry Ginger Ale
          Average Retail Prices By Promotional Status For Grocery Stores In Los Angeles, CA




57.    Mr. Weir’s proposed damages calculation would attribute the same percentage price premium of

       the promoted price to the alleged wrongful conduct even though, in the examples above, the

       Challenged Products were less expensive by as much as 50% (i.e., buy two get two free) as

       compared to the non-promoted price. However, Mr. Weir (or Dr. Dennis) has provided no

       justification or analysis that a Challenged Product sold with considerable discounts contains the

       same proportional price premium attributable to the allegedly misleading interpretation of the

       Challenged Claim as a Challenged Product being sold at the regular (non-promoted) price. For

       example, Mr. Weir did not address in his declaration the possible scenario in which a putative

       Class member believed that the Challenged Product contained ingredients not made from real




                                                 - 54 -
         Case 5:17-cv-00564-NC                Document 248-1            Filed 10/09/18          Page 59 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

         ginger and purchased the product at a discount (e.g., 10% off), which the customer believed was

         more than enough to offset any potential price allegedly associated with the Challenged Claim. 121

         D. Challenged Product Prices Vary Depending Upon Package Size

58.      Based upon the IRI pricing data, the average retail prices of the Challenged Products vary across

         different package types/sizes (e.g., a 12 pack of 12-oz. cans versus a 6 pack of 10-oz. bottles).

         For example, during the January – December 2017 time period, for Canada Dry Ginger Ale, the

         average retail prices (per 10 fluid ounces) for grocery stores in Los Angeles, CA ranged from $0.19

         (2-liter bottles) to $0.84 (20-oz. bottles). (See Table 14 and Exhibit 18.)

                                                  Table 14
                    Average Retail Prices Per 10 Fluid Ounces Of Canada Dry Ginger Ale
                 Top-Selling Canada Dry Ginger Ale For Grocery Stores In Los Angeles, CA 122
                              During The January – December 2017 Time Period
          Canada Dry Ginger Ale Products          Total Fluid Ounces           Price Per Unit         Price Per 10 Ounces
          2-Liter Bottles                                 67.6                      $1.27                     $0.19
          6 Pack of 16.9-oz. Bottles                      101.4                     $2.70                     $0.27
          12 Pack of 12-oz. Cans                           144                      $3.99                     $0.28
          8 Pack of 12-oz. Bottles                         96                       $4.58                     $0.48
          6 Pack of 7.5-oz. Cans                           45                       $2.89                     $0.64
          20-oz. Bottles                                   20                       $1.68                     $0.84


59.      Mr. Weir proposed to use a single claimed percentage price premium (i.e., 4%) as calculated by

         Dr. Dennis for the all package types/sizes of the Challenged Products other than the 2-liter bottles

         (for which a 4.67% percentage price premium was used). However, use of a single claimed

         percentage price premium for different package types/sizes does not take into account the fact that



121
    As discussed in Section XI.A, individual inquiry is required to determine putative Class members’ knowledge and
perception of the Challenged Claim when purchasing the Challenged Products.
122
   This table includes the top-selling Canada Dry Ginger Ale products in 2017 for grocery stores in Los Angeles, CA.
Exhibit 18 contains a summary of average retail prices per 10 ounces for all Challenged Products sold in grocery stores in Los
Angeles, CA during 2017 (as reported in the IRI data).



                                                            - 55 -
       Case 5:17-cv-00564-NC             Document 248-1       Filed 10/09/18      Page 60 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

       the retail prices of the Challenged Products (and the retail prices per fluid ounce of the Challenged

       Products) varies by package type/size for reasons unrelated to the Challenged Claims.

60.    For instance, the average prices in the table above indicate that, for Canada Dry Ginger Ale, a 8

       pack of 12-oz. bottles costs $0.20 more (per 10 ounces) than a 12 pack of 12-oz. cans (on average).

       This difference in price per ounce based upon package type/size likely is related to various cost

       factors, including a different cost of packaging relative to product volume. However, because Dr.

       Dennis and Mr. Weir rely upon a percentage price premium approach, their approach

       inappropriately would attribute 4% of the higher per ounce prices of smaller pack sizes to the

       alleged misrepresentation even though there is no nexus between the $0.20 per ounce difference

       (in this example) and the Challenged Claim.

61.    In his declaration, Mr. Weir did not offer any explanation as to why he would apply the same

       claimed price premium to Challenged Products of different package types/sizes that have a

       different ratio between packaging costs and product contents, nor did he offer an explanation for

       why the difference in the claimed price premium would have a nexus to the alleged wrongful

       conduct.   Mr. Weir performed no affirmative work to demonstrate that his extrapolation is

       reasonable or applies to all putative Class members (who purchased Challenged Products of

       different package types/sizes).

       E. Challenged Product Prices Vary Depending Upon Geographic Location

62.    Analysis of the IRI data indicates that average retail prices of the Challenged Products vary across

       geographic locations (i.e., cities). As an example, I use the average retail prices of 12 packs of

       12-oz. cans of Canada Dry Ginger Ale in grocery stores. Presented in Table 15 are the average

       retail prices in four California cities across the three most recent years of IRI data. The data in

       the table indicates that, for example, the average retail prices for 12 packs of 12-oz. cans of Canada



                                                   - 56 -
       Case 5:17-cv-00564-NC            Document 248-1       Filed 10/09/18      Page 61 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

       Dry Ginger Ale ranged from $4.04 (San Diego, CA) to $5.05 (San Francisco / Oakland, CA) over

       the January to April 2018 time period (i.e., a 25% difference). (See Exhibit 19 (12 packs of 12-

       oz. cans) and Exhibit 20 (2-liter bottles) for analyses of Canada Dry Ginger Ale price differences

       across California cites.)

                                                   Table 15
                      Retail Prices Of 12 Pack Of 12-Oz. Cans Of Canada Dry Ginger Ale
                                    Grocery Store Channel In Four CA Cities
                Geographic Area                  2016                  2017            Jan – April 8, 2018
        San Diego                                $3.78                 $4.00                 $4.04
        Los Angeles                              $3.81                 $3.99                 $4.07
        Sacramento                               $4.13                 $4.36                 $4.60
        San Francisco / Oakland                  $4.57                 $4.98                 $5.05


63.    The price differences demonstrated in the table above (and in the exhibits to my declaration) likely

       are driven by the various city-specific factors associated with market conditions and difference in

       consumer preferences and not by any intrinsic difference in the product sold (and not by the alleged

       price premium associated with the Challenged Claim). However, under Mr. Weir’s proposed

       approach, higher prices caused by considerations unrelated to the alleged misrepresentation would

       be allocated to Class-wide economic injury (as Mr. Weir is relying upon a percentage price

       premium approach).         Dr. Dennis and Mr. Weir provided no explanation as to why a price

       differential based upon geography would be attributable to the alleged misrepresentation. There

       is no a priori reason to believe any of the price differences across cities in California would be

       attributable to the alleged misleading interpretation of the Challenged Claim as opposed to other

       considerations.




                                                   - 57 -
            Case 5:17-cv-00564-NC              Document 248-1     Filed 10/09/18      Page 62 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           F. Response To Mr. Weir’s Claim That Variations In Purchase Price Are “Inapposite To
              The Calculation Of Class-Wide Damages” Using A Percentage Price Premium Approach

64.        Weir Claim. Mr. Weir claims that “[v]ariations in purchase price do not prevent the calculation

           of Class-wide damages or require individual inquiry.” 123 Mr. Weir further claims that variations

           in purchase price are “inapposite to the calculation of Class-wide damages, because the ultimate

           distribution or allocation of damages to individuals during claims administration or a settlement

           does not alter the calculation of total, Class-wide damages.” 124 Relatedly, Mr. Weir claimed that

           the size of the Challenged Product and store in which the Challenged Product was sold is irrelevant

           to the determination of Class-wide damages in this matter. 125

65.        Response. Mr. Weir’s error in logic and application is straightforward. Mr. Weir proposed to

           calculate damages by multiplying a claimed “%Price Premium Factor: Claim” by the dollar sales

           of the Challenged Products during the putative Class Period. 126 Analyses of the available actual

           retail price data and observed store-specific prices demonstrate that there are significant variations

           in retail prices of the Challenged Products across multiple purchase characteristics.

           Consequently, Mr. Weir’s claimed price premium damages vary across Challenged Product

           purchases due to variation in prices unrelated to the alleged wrongful conduct (and, hence, inflate

           claimed damages).          In other words, he applies his claimed percentage price premium to

           Challenged Products that (for example) are higher priced for reasons totally unrelated to the

           Challenged Claim (e.g., Challenged Products sold at relatively higher prices in convenience stores

           compared to Challenged Products sold at relatively lower prices in grocery stores).



123
      Weir Reply Declaration, p. 3.
124
      Weir Reply Declaration, p. 3.
125
      Weir Reply Declaration, pp. 4 and 32 – 34.
126
      Weir Declaration, p. 19.



                                                       - 58 -
            Case 5:17-cv-00564-NC               Document 248-1             Filed 10/09/18         Page 63 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

66.        In addition and contrary to Mr. Weir’s claims, differences in package types/sizes and purchase

           locations contribute to price variation and cause Mr. Weir’s percentage price premium approach

           to be unreliable (as discussed throughout this section of my declaration).

            a. Package Types/Sizes. Dr. Dennis’ own analysis indicates that the percentage price premium
               differs across package types/sizes. Specifically, Dr. Dennis’ conjoint analysis indicated that
               the claimed percentage price premium attributable to the Challenged Claim for 2-liter bottles
               of Canada Dry Ginger Ale differed from that of 12-packs of Canada Dry Ginger Ale. 127 This
               demonstrates that, according to Dr. Dennis’ analysis, the claimed price premium does vary by
               package size. Thus, Mr. Weir’s claim that package size does not matter runs contrary to the
               very evidence Mr. Weir relied upon in performing his claimed damages calculations.

            b. Geographic Location And Sales Channel. Contrary to Mr. Weir’s claims, variation in
               purchase price attributable to the geographic location and type of store contributes to the
               unreliability of Mr. Weir’s percentage price premium approach. While Mr. Weir claimed in
               his reply declaration that his percentage price premium approach accounts for these variations
               in prices, 128 as demonstrated earlier, his approach yields claimed damages that vary according
               to store location and sales channel (which are both unrelated to the Challenged Claim).
               Furthermore, Mr. Weir claimed that Dr. Dennis’ conjoint survey was “carefully designed to
               be a holistic analysis of the entire market, including grocery stores and convenience stores,
               amongst other sales channels.” 129 However, Mr. Weir provided no explanation or support
               for such a claim. 130




127
      Weir Reply Declaration, p. 4.
128
    Weir Reply Declaration, pp. 33 – 34. The Order Granting Class Certification cited to Mr. Weir’s claim, noting, “[Mr.
Weir] made clear that applying a 4% price premium across the board is appropriate because he and Dr. Dennis accounted for
the variation in pricing in the study between grocery and convenience stores.” (Order Granting Class Certification, p. 33.
(Bracketed text added for clarification.)) However, Mr. Weir made this claim in his reply declaration with no further
explanation nor evidence in support of such an assertion. There is no reason to conclude that Dr. Dennis’ use of five arbitrary
prices in both the 12-pack and 2-liter conjoint surveys accounted for the substantial variation in real-world prices across sales
channels (as demonstrated in this section of my declaration).
129
      Weir Reply Declaration, p. 34.   (Bold and underline text included in original.)
130
    Mr. Weir also claimed in his reply declaration that I testified his percentage price premium approach is only flawed if
grocery stores were used as a base when calculating the percentage price premium. (Weir Reply Declaration, p. 34.) Mr.
Weir’s claim was cited by the Order Granting Class Certification. (Order Granting Class Certification, p. 33.) However,
Mr. Weir mischaracterized my deposition testimony and I do not have such an opinion. As the full deposition transcript
shows, I was discussing the observation that convenience stores generally have higher prices than grocery stores, and how Mr.
Weir’s proposed approach results in claimed damages attributable to that price differential (unrelated to the Challenged Claim).
The portion relating to grocery stores as a “base” refers to my calculation of the price differential (i.e., the convenience store
“premium” is equal to approximately $0.80 when using grocery stores as the comparative group or “base”). (Ugone
Deposition, pp. 105 – 107.)



                                                              - 59 -
            Case 5:17-cv-00564-NC                Document 248-1                Filed 10/09/18   Page 64 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

VIII. PLAINTIFFS’ PROPOSED APPROACH DOES NOT YIELD A MARKET PRICE
      PREMIUM

67.        Dr. Dennis asserted that “the design of [his] conjoint survey and [his] market simulator allowed

           [him] to calculate the price premium attributable to the challenged label for the marginal consumer,

           that is, the additional price that the marginal consumer would pay for the product with the ‘Made

           from Real Ginger’ claim.” 131 Specifically, Dr. Dennis claimed that because his conjoint survey

           included a “no buy” option and real world prices (to account for supply-side factors), his simulator

           “identified the marginal consumer as a ginger ale consumer who is indifferent between the market

           price of the Canada Dry Ginger Ale with the ‘Made from Real Ginger’ claim and the same product

           without the challenged claim having a 4% discount.” 132 In his reply declaration, Mr. Weir

           claimed that because the “marginal (or last) consumer’s willingness to pay and the market price

           are equal … the only way to interpret the Price Premium calculated by [Dr.] Dennis is as a change

           in the market price due to [the Challenged Claim].” 133

68.        Notwithstanding the additional flaws in Dr. Dennis’ conjoint survey (as discussed later in my

           declaration), the simulations performed by Dr. Dennis cannot measure the price premium (if any)

           attributable to the Challenged Claim due to at least the following reasons.

            a. The “marginal consumer” in Dr. Dennis’ simulations is not equivalent to the marginal
               consumer of a market as defined in economics.

            b. Dr. Dennis’ same methodology and simulator calculates and “concludes” there is a price
               premium for regular soft drinks over diet soft drinks, even though no such price premium
               exists in the real world.




131
      Dennis Declaration, p. 30.   (Bracketed text added for clarification.)
132
      Dennis Declaration, pp. 24 and 30 – 31.
133
      Weir Reply Declaration, pp. 19 – 20.    (Bracketed text added for clarification.)



                                                               - 60 -
            Case 5:17-cv-00564-NC             Document 248-1            Filed 10/09/18         Page 65 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            c. Sawtooth documentation demonstrates that conjoint simulations (as presented by Dr. Dennis)
               yield willingness to pay measures that overstate the change in equilibrium prices (i.e. the
               claimed price premium).

            d. Mr. Weir’s and Dr. Dennis’ discussion of claimed supply-side considerations is insufficient
               for determining market prices.

           A. The “Marginal Consumer” In Dr. Dennis’ Simulations Is Not Equivalent To The
              Marginal Consumer Of A Market As Typically Defined In Economics

69.        In his reply declaration, Mr. Weir claims that the “marginal consumer” identified in Dr. Dennis’

           simulations is equivalent to the marginal (or last) consumer in the market, and thus, the measure

           of willingness to pay (“WTP”) yielded by Dr. Dennis’ simulations is equal to market price. 134 Mr.

           Weir’s assertions are incorrect and misleading. In economics, a marginal consumer is defined as

           a consumer who is indifferent between buying and not buying a product at the market equilibrium

           price. 135 Thus, it is necessary to identify the market equilibrium price in conjunction with

           identifying the marginal consumer at that market price. As acknowledged by Dr. Dennis, the

           market equilibrium price is determined by the “intersection between demand-side factors

           (willingness to pay) and supply-side factors (willingness to sell).” 136 Given that Dr. Dennis failed

           to demonstrate any evaluation of the supply-side factors (such as costs of manufacturing,

           advertising, etc.) necessary to determine the market equilibrium price, Dr. Dennis did not

           determine the marginal consumer corresponding to the market equilibrium price. 137 In other

           words, the “marginal consumer” identified by Dr. Dennis’ simulations is not the marginal

           consumer in terms of the intersection of supply and demand (i.e., the consumer with a willingness


134
      Weir Reply Declaration, pp. 15 – 20.
135
    Hylton, Keith N. Antitrust law: Economic theory and common law evolution, Cambridge University Press, 2003, Chapter
1, p. 3.
136
      Dennis Declaration, p. 24.
137
    Even if supply-side considerations could be reliably introduced into Dr. Dennis’ analysis, Dr. Dennis’ conjoint survey and
analysis suffer from additional flaws (discussed later in this declaration).



                                                            - 61 -
           Case 5:17-cv-00564-NC              Document 248-1             Filed 10/09/18         Page 66 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           to pay equal to the market equilibrium price). Instead, Dr. Dennis’ simulations are developed to

           measure an estimated willingness to pay for Canada Dry Ginger Ale with the Challenged Claim

           and Canada Dry Ginger Ale without the Challenged Claim when the two products have an “equal

           share of preference” (irrespective of supply). 138, 139

           Response To Weir Reply Declaration

70.        Weir Claim. In his reply declaration, Mr. Weir claimed that I acknowledged in my deposition

           that (a) the marginal (or last) consumer’s willingness to pay and the market price are equal and (b)

           the conjoint literature agrees choice-based conjoint measures the marginal consumer’s willingness

           to pay. 140 Thus, Mr. Weir asserts that Dr. Dennis’ conjoint analysis measures the price premium

           allegedly attributable to the Challenged Claim. 141

71.        Response. Mr. Weir misunderstood and mischaracterized my deposition testimony. Mr. Weir

           presented only a portion of my deposition testimony in his reply declaration. My deposition (in

           full) provides the complete explanation and reasoning behind the discussion of the marginal

           consumer. Contrary to any claims made by Mr. Weir, my deposition testimony is consistent with

           the discussion above about the difference between the marginal consumer in a market (as generally

           defined in economics) and the claimed “marginal consumer” in Dr. Dennis’ simulations (as



138
   Deposition Transcript of Dr. Michael Dennis taken April 13, 2018 (“Dennis Deposition”), pp. 260 – 263.      See also Ginger
Ale 2-Liter Simulator.xlsm and Ginger Ale 12-Pack Simulator.xlsm in Dr. Dennis’ support materials.
139
    In addition, Plaintiffs and Plaintiffs’ survey and damages experts may rely upon decisions (or use) in other matters to
support the use of a conjoint survey in this case – for example, patent infringement matters. For example, Plaintiffs’ survey
and damages experts cited to an article titled “The Role Of Conjoint Surveys In Reasonable Royalty Cases” that lists several
patent infringement cases as evidence for prior use of conjoint surveys in litigation settings. (Lisa Cameron, Michael Cragg,
and Daniel McFadden, “The Role Of Conjoint Surveys In Reasonable Royalty Cases,” Law360, October 16, 2017.) However,
in patent infringement cases, conjoint surveys have been offered as a measure of what a licensee would be willing to pay for a
license to the at-issue patent(s), which is completely different than the price premium inquiry at issue in a consumer products
case like this one.
140
      Weir Reply Declaration, pp. 16 – 20.
141
      Weir Reply Declaration, pp. 16 – 20.



                                                            - 62 -
       Case 5:17-cv-00564-NC          Document 248-1         Filed 10/09/18      Page 67 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

       described by Mr. Weir). Reproduced below is my complete answers to the deposition questions

       cited by Mr. Weir (with bold text indicating the portions omitted by Mr. Weir).

                   Q. Okay. Thank you. Now assuming that at this price point, at $3, you end
                      up with a 14-cent price difference which is what leads to the 4.67 percent
                      that Dr. Dennis computed, are you testifying that the 14 cents is the
                      willingness to pay at this price point, at $3, for the made from real ginger
                      attribute?
                   A. That would be my interpretation of what Dr. Dennis has presented, yes.
                      Actually, give me one second. I want to look here at one thing. Okay.
                      I was just looking at the full information that was on the sheet; but, yes, we
                      can go forward.

                   Q. When you say that, yes, that is your understanding that it’s the willingness
                      to pay of whom, of the average person, the marginal person, or some other
                      thing?
                   A. Yeah, I think the literature would say it’s the marginal person.

                   Q. And what’s the marginal person mean?
                   A. The very last consumer.

                   Q. Meaning the one that we were talking about earlier who is at the – the
                      one whose willingness to pay is closest to the market price?
                   A. Yeah, although this marginal customer, I think, allows the share of
                      preferences to be equal, because there is no supply curve here, but I
                      think it’s generally viewed as – and I’m not going to debate this –
                      viewed as more of the marginal customer.

                   Q. Okay. Thank you. Given that the 14 cents in the context of the $3
                      price point is the willingness to pay of the marginal consumer, why is
                      it your testimony that 4.67 percent is a measurement of willingness to
                      pay?
                   A. Because the 14 cents is the willingness to pay.

                   Q. But 14 cents is being divided by the price which $3, right?
                   A. Yes, but that has nothing to do with anything.

                   Q. Why not?
                   A. Because there is no supply curve here. You’re looking at shifting
                      down the demand curve, so you’re not getting what prices will be,
                      you’re getting just half of the equation. You’re getting one blade on
                      the scissors. You’re getting half of the interaction of supply and
                      demand. You’re not getting anything on the supply side.




                                                  - 63 -
           Case 5:17-cv-00564-NC           Document 248-1       Filed 10/09/18    Page 68 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                         Q. You’re getting that the marginal consumer would demand a discount
                            of 14 cents at a $3 price point to pay – or, rather, to buy the Canada
                            Dry product if it didn’t say “made from real ginger,” right?
                         A. Well, if you want to get technical about it, what you’re getting is that
                            at 14 cents or 4.67 percent the share of preference is equalized with
                            and without the made from real ginger. Specifically that’s what
                            you’re getting.

                         Q. And if we used a – also one of the assumptions I asked you to make
                            earlier was that at lower price points the number of cents discount that
                            would be required is a larger share of the price so that it’s not 4.67
                            percent in those contexts but it might be 6 percent or 8 percent. I’m
                            asking you to assume that for the purpose of the question. Okay?
                         A. Okay.

                         Q. In those contexts at those other lower price points, your testimony is
                            that the difference in price, whether it’s – let’s say it’s a 16-cent
                            discount at –
                         A. Or it could still be 14 cents because you got a lower price so that
                            percent would be different.

                         Q. So that discount amount is the measurement of the marginal
                            consumer’s willingness to pay?
                         A. It’s almost like shifting down of the demand curve.

                         Q. So, yes, it’s a measurement of the marginal consumer’s willingness to
                            pay?
                         A. That’s how it’s described. We can debate that in terms of what the
                            definition of a marginal consumer is and that’s why I said what this
                            really is doing is setting the share of preferences equal and what would
                            it take to do that. So it’s almost the marginal consumer that gets you
                            there, which is where we have to be careful, versus the marginal
                            consumer in the market. Those are two different things. 142

           B. Dr. Dennis’ Same Methodology And Simulator Calculates And “Concludes” There Is A
              Price Premium For Regular Soft Drinks Over Diet Soft Drinks, Even Though No Such
              Price Premium Exists In The Real World

72.        Dr. Dennis stated that he “conducted the analysis of the conjoint data using a market simulation

           tool,” which Dr. Dennis described as “a ‘choice laboratory’ for testing multiple real-world




142
      Ugone Deposition, pp. 61 – 64.



                                                      - 64 -
            Case 5:17-cv-00564-NC              Document 248-1             Filed 10/09/18          Page 69 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           possibilities.” 143 One way to test the accuracy of the results generated by Dr. Dennis’ simulator

           is comparing simulated prices (generated by the simulator) of products available in the real world

           to the real-world market prices. According to an article cited by Dr. Dennis and Mr. Weir,144

           titled “The Role Of Conjoint Surveys In Reasonable Royalty Cases,” a conjoint survey used for

           the purpose of determining market prices can be tested using real world evidence.

                        In a conjoint survey that is aimed at determining price (as opposed to median
                        or average WTP [i.e., willingness to pay]), results can be tested using real world
                        evidence. Conjoint analysis generates part-worths for every level of every
                        attribute in the study. While there might not be market evidence available on
                        consumer WTP for all features, there may be market evidence for some
                        features, and an opposing expert can compare prices to the conjoint results for
                        the feature for which market evidence is available. 145

73.        If Dr. Dennis’ simulation is capable of generating the prices consumers would have paid for a

           hypothetical product without the Challenged Claim, it should at the very least be able to simulate

           real-world prices that consumers pay for a product available in the real world. Without such

           testing, there is no assurance that Dr. Dennis’ market simulator analysis presented in this matter

           would have yielded reliable results for a hypothetical product absent the Challenged Claim. In

           his declarations, Dr. Dennis did not provide any reasonableness checks on his simulator nor did he

           discuss any possible scenarios or explanations as to why and under what circumstances his

           simulated results would deviate from the real-world prices.



143
      Dennis Declaration, p. 29.
144
   Dr. Dennis and Mr. Weir relied upon this article’s explanation of the “no buy” option used in Dr. Dennis’ conjoint survey.
(See, for example, Dennis Declaration, p. 30; Weir Reply Declaration, p. 17.)
145
    Lisa Cameron, Michael Cragg, and Daniel McFadden, “The Role Of Conjoint Surveys In Reasonable Royalty Cases,”
Law360, October 16, 2017. (Bracketed text added for clarification.) The article notes that “the party conducting the conjoint
study can anticipate this criticism and address it by including product offerings that correspond to real market offerings in the
study.” In other words, the authors claim that unrealistic results of a conjoint analysis (i.e., results that do not comport with
real world market outcomes) can be avoided if realistic product offerings are used in the survey. However, Dr. Dennis’ survey
did not use realistic product offerings. As explained by Mr. Weir, the “orthogonal design” of Dr. Dennis’ conjoint survey
includes unrealistic product choices in Dr. Dennis’ survey. (Weir Reply Declaration, p. 11.)



                                                             - 65 -
           Case 5:17-cv-00564-NC               Document 248-1             Filed 10/09/18        Page 70 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

74.        In his deposition, Dr. Dennis discussed his simulation results with respect to regular versus diet

           soft drinks. Dr. Dennis testified that his simulations indicated that “there’s a price premium on

           regular compared to diet.” 146 However, in actuality, there is not a price premium for regular soft

           drinks over diet soft drinks. The following evidence demonstrates that regular and diet soft drinks

           generally are priced the same for a given product, package type/size, and store.

            a. Store-Specific Prices Observed By Dr. Dennis And Mr. Weir. Dr. Dennis’ own research on
               retail prices reveals that regular and diet Canada Dry Ginger Ale products of the same package
               type/size were priced the same within a store. (Table 10.) Mr. Weir also noted in his
               deposition that he noticed regular and diet Canada Dry ginger ale products were priced the
               same. 147

                                                     Table 16
                        Retail Prices Observed In The San Francisco Bay Area By Dr. Dennis
                                         Canada Dry Ginger Ale Products 148
                                                        2-Liter Bottles                      12 Packs of 12-oz. Cans
                     Retail Store                Regular                  Diet             Regular               Diet
            Target (Emeryville, CA)               $1.89                 $1.89                $5.99              $5.99
            Pak N Save (Emeryville, CA)           $1.99                 $1.99                $6.99              $6.99
            Walmart (San Leandro, CA)             $1.38                 $1.38                $3.33              $3.33
            Safeway (San Leandro, CA)             $1.99                 $1.99                $6.99              $6.99
            Nob Hill Grocery Store
                                                  $1.99                 $1.99                $6.99              $6.99
            (Redwood City, CA)


            b. Store-Specific Prices Observed By Members Of My Staff. As discussed earlier, members of
               my staff, under my direction, visited numerous retailers and observed store-specific prices in
               the San Francisco Bay and Los Angeles areas. As summarized in Exhibit 6 (San Francisco
               Bay stores) and Exhibit 7 (Los Angeles stores), the observed retail prices show that regular



146
    Dr. Dennis testified that his simulator confirmed that the “consumer preference share” for regular soft drinks was higher
than diet soft drinks. Dr. Dennis further testified that he did not measure the price premium for regular soft drinks compared
to diet soft drinks. However, in response to the question “And did [the simulator] show that the consumer was willing to pay
more for diet over regular?” Dr. Dennis answered, “Is that what I said? I didn’t – I meant to say regular. They pay more –
there’s a price premium on regular compared to diet.” (Dennis Deposition, pp. 264 – 266. Bracketed text added for
clarification.))
147
      Weir Deposition, p. 107.
148
      Dr. Dennis’ Observed Store-Specific Ginger Ale Prices.     (PL000783 – 785.)   See also Exhibit 5.



                                                               - 66 -
            Case 5:17-cv-00564-NC             Document 248-1            Filed 10/09/18         Page 71 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                and diet Canada Dry Ginger Ale always are priced the same. 149 In fact, this generally was
                true for all soft drink products observed.

75.        The fact that Dr. Dennis’ simulations found a difference in what consumers were willing to pay

           for regular versus diet soft drinks provides further support that his simulations do not yield market

           prices nor market price premiums. Assuming Dr. Dennis’ conjoint survey results were accurate

           and he conducted the simulations correctly, the result of his simulations at best yield prices that

           consumers were willing to pay for regular and diet soft drinks, not actual market-determined

           prices. As discussed in my declaration, consumers’ willingness to pay generally overstates the

           market price. Thus, conditional on the accuracy of Dr. Dennis’ conjoint survey and simulations,

           the difference in the “prices” obtained from his simulator overstates the claimed price premium (if

           any) attributable to the Challenged Claim.

           C. Sawtooth Documentation Demonstrates That Conjoint Simulations (As Presented By Dr.
              Dennis) Yield Willingness To Pay Measures That Overstate The Change In Equilibrium
              Prices

76.        In his reply declaration, Mr. Weir claimed that Dr. Dennis’ conjoint survey was designed to

           measure a “marketplace outcome,” not willingness to pay. 150 However, Mr. Weir’s assertion is

           incorrect and contrary to the description of the output yielded by conjoint simulations per Sawtooth

           Software documentation. A recent book by Bryan Orme and Keith Chrzan (2017) of Sawtooth

           Software, Inc. (i.e., the company that produced the simulation software used by Dr. Dennis), 151




149
   One retailer (Walmart at 4651 Firestone Blvd) out of the 49 retailers visited showed a promotional price for regular Canada
Dry Ginger Ale but not for diet (while the non-promoted prices were the same). It is likely that the diet Canada Dry Ginger
Ale in this Walmart was in fact on sale, but the sales tag was missing from the shelf.
150
      Weir Reply Declaration, pp. 15 – 16.
151
      Dennis Declaration, p. 29.



                                                            - 67 -
            Case 5:17-cv-00564-NC               Document 248-1         Filed 10/09/18   Page 72 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           when discussing conjoint simulations, states that “[t]he difference in price that equalizes the shares

           is an estimate of WTP [i.e., willingness to pay].” 152

77.        According to the same book, a willingness to pay measure obtained by comparing two competing

           products (a product with the feature and a product without the feature, as done by Dr. Dennis)

           “may measure what economists call the ‘maximum price,’ but in a competitive environment what

           customers are willing to pay may be quite a bit less.” 153 Generally, the market price of a product

           is lower than all but the marginal purchaser’s willingness to pay – providing incentives to purchase

           the product for those consumers with a higher willingness to pay (because value received is greater

           than price paid in such situations). 154

78.        Another Sawtooth document notes that willingness to pay overstates the change in equilibrium

           price.

                    The problem with both the WTP [Willingness to Pay] and WTB [Willingness to
                    Buy] measures is that they are not equilibrium outcomes. WTP measures only a
                    shift in the demand curve and not what the change in equilibrium price will be as
                    the feature is added or enhanced….

                    We advocate using equilibrium outcomes (both price and shares) to determine the
                    incremental economic profits that would accrue to a firm as a product is enhanced.
                    In general, the WTP measure will overstate the change in equilibrium price and
                    profits…. 155

79.        Given that Mr. Weir’s damages calculation uses the values from Dr. Dennis’ conjoint analysis

           which are measures of willingness to pay, the calculation overstates the claimed economic injury




152
   Orme, Bryan K. and Keith Chrzan (2017), “Becoming An Expert In Conjoint Analysis – Choice Modelling for Pros,”
Sawtooth Software, Inc., Chapter 3, p. 194. (Bracketed text added for clarification. Emphasis added.)
153
   Orme, Bryan K. and Keith Chrzan (2017), “Becoming An Expert In Conjoint Analysis – Choice Modelling for Pros,”
Sawtooth Software, Inc., Chapter 3, p. 194.
154
      Market conditions ultimately determine the price of a product.
155
    Proceedings of Sawtooth Software Conference, October 2013, p. 342. (https://www.sawtoothsoftware.com/download
/techpap/2013Proceedings.pdf viewed on March 21, 2018.) (Bracketed text added for clarification.)



                                                              - 68 -
            Case 5:17-cv-00564-NC                Document 248-1                Filed 10/09/18     Page 73 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           (if any) experienced by putative Class members. Mr. Weir’s statement that Dr. Dennis’ claimed

           damages measure is “inherently conservative” 156 directly contradicts Sawtooth documentation.

           As discussed above, Sawtooth documentation explains that simulations (such as those proposed

           by Dr. Dennis and relied upon by Mr. Weir) yield measures of willingness-to-pay, which overstate

           the change in equilibrium price with the change in a product attribute – i.e., claimed price

           premiums.

80.        By Dr. Dennis’ own admission, the price premium attributable to the Challenged Claim requires

           “the intersection between demand-side factor (willingness to pay) and supply-side factors

           (willingness to sell), to determine the actual effect of the challenged claim on market price.”157

           However, according to Sawtooth documentation, conjoint analysis “is designed to measure and

           simulate demand.” 158 A simulation such as that performed by Dr. Dennis could not account for

           relevant information on supply factors. Hence, even absent various limitations of Dr. Dennis’

           methodology (discussed throughout my declaration), the results of his methodology could at best

           quantify the consumer preferences for Ginger Ale with the Challenged Claim, which pertains only

           to the demand side of the market. Consequently, Mr. Weir’s calculation of the claimed damages

           using the values generated by Dr. Dennis’ simulations is an unreliable estimate of the claimed

           price premium (if one exists).

           Response To Weir Reply Declaration

81.        Weir Claim. In his reply declaration, Mr. Weir used a “Gilligan’s Island” example to justify his

           claim that Dr. Dennis’ conjoint analysis yields a “marketplace price premium measurement,” not


156
      Weir Declaration, p. 9.
157
      Dennis Declaration, p. 24.   (Bracketed text added for clarification.)
158
    Proceedings of Sawtooth Software Conference, October 2013, p. 342.             (https://www.sawtoothsoftware.com/download/
techpap/2013Proceedings.pdf, viewed on March 21, 2018.)



                                                               - 69 -
           Case 5:17-cv-00564-NC             Document 248-1      Filed 10/09/18     Page 74 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           willingness to pay. 159 Based upon his “Gilligan’s Island” example, Mr. Weir claimed that a

           survey (such as Dr. Dennis’ conjoint survey) can provide information about the market value (i.e.,

           market price) of a product when the willingness to pay of multiple individuals is revealed (as

           opposed to a single individual). 160

82.        Response. Mr. Orme, in Orme and Chrzan (2017), also discussed a “Gilligan’s Island” example.

           However, contrary to Mr. Weir’s “Gilligan’s Island” example, the book identifies the “Gilligan’s

           Island” problem to outline the necessity of incorporating supply-side factors such as competing

           products in the marketplace. Mr. Orme states the following in his book:

                        In the absence of competitive options, rich castaways on a desert island might
                        be willing to pay any amount for a rescue when the boat from Island Rescues,
                        Inc. shows up. However, if Acme Island Rescue Corp. also stops by and offers
                        a lower price, we expect the castaways’ WTP [i.e., willingness to pay] for a
                        rescue from Island Rescues, Inc. will fall quite a bit. In a vacuum, WTP may
                        measure what economists call the ‘maximum price,’ but in a competitive
                        environment what customers are willing to pay might be quite a bit less. 161

83.        Mr. Orme uses the analogy to emphasize properly simulating the market with appropriate

           competitive products included in the simulation in order to avoid measuring the “maximum price.”

           Although Dr. Dennis’ conjoint surveys attempted to include competing products, the simulations

           that Dr. Dennis performed did not include competing products. By eliminating competitive

           choices from consumers’ choice set in the simulations, Dr. Dennis’ simulations failed to reflect

           the actual market choices that would have been available to consumers and failed to account for

           competitive effects such as consumers choosing products other than the Challenged Products.




159
      Weir Reply Declaration, pp. 15 – 16.
160
      Weir Reply Declaration, pp. 15 – 16.
161
   Orme, Bryan K. and Chrzan, Keith (2017). Becoming An Expert In Conjoint Analysis: Choice Modeling For Pros,
Sawtooth Software, Inc., Orem, Utah, p. 194. (Bracketed text added for clarification.)



                                                       - 70 -
            Case 5:17-cv-00564-NC                Document 248-1                Filed 10/09/18   Page 75 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           Thus, Dr. Dennis’ simulations compared two products “in a vacuum” and do not represent

           competitive conditions.

           D. Dr. Dennis’ And Mr. Weir’s Discussion Of Claimed Supply-Side Considerations Is
              Insufficient For Determining Market Prices

84.        Dr. Dennis and Mr. Weir asserted that through the use of actual historical sales and market prices

           their analysis account for supply side factors, and as a result their simulation exercises yield a price

           premium. 162 However, Dr. Dennis’ and Mr. Weir’s discussion of supply side considerations is

           insufficient for determining market prices.

               1. Dr. Dennis’ And Mr. Weir’s Assertions Regarding Claimed Supply Side Factors

85.        Dr. Dennis asserted that “[i]n designing the conjoint survey, [he] considered and included

           numerous real-world supply-side factors for the products at issue, so that [his] survey would

           accurately measure the price premium attributable to the challenged claim, i.e., the intersection

           between demand-side factor (willingness to pay) and supply-side factors (willingness to sell), to

           determine the actual effect of the challenged claim on market price.” 163 Dr. Dennis listed the

           following as the factors he considered.

            a. “…th[e] product is sold in a well-developed, longstanding, and competitive market, through
               a variety of retail outlets.” 164

            b. “…price premium survey included market-based price points for the 2-liter and 12-pack price
               attribute based on actual real-world prices that consumers have paid for the products. The
               actual real-world pricing of the products reflects the actual number of units sold, the costs of
               manufacturing, the costs for distribution, advertising, and marketing, and margin, among
               other supply-side factors.” 165



162
   Dennis Declaration, p. 24.        Weir Declaration, p. 10.      Dennis Declaration, pp. 292 – 293 and 299 – 302.   Weir
Deposition, pp. 171 and 172.
163
      Dennis Declaration, p. 24.   (Bracketed text added for clarification.)
164
      Dennis Declaration, p. 24.   (Bracketed text added for clarification.)
165
      Dennis Declaration, p. 24.   (Bracketed text added for clarification.)



                                                               - 71 -
            Case 5:17-cv-00564-NC                  Document 248-1                Filed 10/09/18          Page 76 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            c. “…price premium survey also incorporates other market-based attributes besides price, such
               as actual competing products in the marketplace identified by the Defendants. I [Dr. Dennis]
               used real logos, product photos and actual wording of label claims and nutrition fact claims
               from these competing brands in the survey.” 166

            d. “Further, I [Dr. Dennis] took into account the fact that the quantity supplied of the Defendants’
               and competitors’ ginger ale products is a known fact and is fixed as a matter of history” 167

86.        Additionally, Mr. Weir claimed that “Dr. Dennis considered and accounted for supply factors in

           the determination of his price premium calculation” 168 and that Mr. Weir “also considered supply

           side factors in [his] determination of damages.” 169 Mr. Weir identified the following supply-side

           factors either as factors that Mr. Weir considered or that Mr. Weir discussed with Dr. Dennis. 170

            a. “[I]n this litigation, the historic number of units sold is a fact and in this litigation, it would
               be antithetical to the concept of class definition to suggest the quantity supplied be anything
               other than the actual number of units sold by Defendant.” 171

            b. “[I]f one were to assume, arguendo, that Defendant would not have lowered its price in
               concert with demand [], then the economic outcome would be that many or all of the purchases
               would not have take[n] place at all.” 172

            c. “It is also an economic perversion for a defendant engaged in a litigation [] to simply state
               that it would never have adjusted its prices or would not have adjusted them enough so as to
               meet demand…” 173

            d. “One of the most important and most frequent topics of discussion between Dr. Dennis and
               [Mr. Weir] was the data on actual sales of the Products in the real-world marketplace. These
               real-world transactions occurred at prices that already reflect the supply side factors then
               extant in the market.” 174



166
      Dennis Declaration, p. 24.     (Bracketed text added for clarification.)
167
      Dennis Declaration, p. 24.     (Bracketed text added for clarification.)
168
      Weir Declaration, p. 9.
169
      Weir Declaration, p. 9.    (Bracketed text added for clarification.)
170
      Weir Declaration, pp. 9 – 11.
171
      Weir Declaration, p. 9.    (Bracketed text added for clarification.)
172
      Weir Declaration, p. 9.    (Bracketed text added for clarification.      Emphasis in original.)
173
      Weir Declaration, p. 10.     (Bracketed text added for clarification.)
174
      Weir Declaration, p. 10.     (Bracketed text added for clarification.     Emphasis in original.)



                                                                 - 72 -
            Case 5:17-cv-00564-NC                  Document 248-1              Filed 10/09/18       Page 77 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            e. “[V]ariability in pricing both at the wholesale level and retail level showed that Defendant’s
               and retailers’ pricing was responsive to changing market forces.” 175

            f. “Another important supply-side factor that Dr. Dennis and I [Mr. Weir] discussed was the fact
               that the quantity of the Products supplied is a known quantity, and fixed as a matter of
               history.” 176

            g. “Defendants do not control the retail price paid by consumers.” 177

            h. “[T]he market for the Products was an ‘ordinary’ market, subject to competitive pressures that
               both Defendant and retailers identified as risks to their business.” 178 Mr. Weir further
               identified statements from Kroger, Publix, Safeway, SuperValu, Ahold Delhaize (Stop &
               Shop) demonstrating competition, market risks, and the need to adjust prices to changing
               market conditions. 179

               2. None Of The Factors Discussed By Dr. Dennis And Mr. Weir Represent Supply-Side
                  Factors Sufficient To Determine A Market Price Absent Alleged Wrongful Conduct

87.        In their declarations, Dr. Dennis and Mr. Weir presented claimed “supply-side factors” they

           allegedly considered. 180 However, the supply-side factors needed to determine the equilibrium,

           market-clearing price absent the alleged wrongful conduct include factors that determine the

           amount Defendants would have been willing to supply at any given market price (and generally

           rely upon cost considerations). 181 Such factors, among other things, include (a) the relationship

           between the quantity of Canada Dry Ginger Ale produced and the costs to produce it 182 and (b)




175
      Weir Declaration, p. 10.
176
      Weir Declaration, p. 10.
177
      Weir Declaration, p. 10.
178
      Weir Declaration, p. 11.     (Bracketed text added for clarification.)
179
      Weir Declaration, pp. 11 – 15.
180
      Dennis Declaration, p. 24.     Weir Declaration, pp. 9 – 11.
181
      See, e.g., Principles of Microeconomics, Fifth Edition, N. Gregory Mankiw, p. 73.
182
    Dr. Dennis testified that his analysis assumed that “the price points in the actual marketplace include the cost of goods
sold.” (Dennis Deposition, p. 299.) Mr. Weir testified that “Through the measurement of actual marketplace prices that
took place during the class period and the incorporation of that data, both in the Dennis survey, and the market simulator, and
in the application of that information that comes from the market simulator back to the retail sales data that has already been
set by the interaction of supply and demand, including cost of production.” (Weir Deposition, p. 171.) According to
Plaintiffs’ experts, other supply side factors such as cost of distribution, advertising, and margins were all incorporated into the


                                                                 - 73 -
            Case 5:17-cv-00564-NC               Document 248-1              Filed 10/09/18           Page 78 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           information on the reactions of Canada Dry Ginger Ale’s competitors (and how those reactions in

           turn affect Defendants’ incentives). 183 The claimed “supply-side factors” Dr. Dennis and Mr.

           Weir presented represent general statements about markets that do not include these required

           supply-side considerations. 184 Thus, Dr. Dennis’ and Mr. Weir’s supply side considerations are

           flawed and incomplete because of at least the following factors.

            a. Historical Sales And Prices Do Not Represent The Supply-Side Factors That Would Have
               Been Relevant Absent The Alleged Wrongful Conduct. Dr. Dennis and Mr. Weir claimed
               that use of the historical sales and prices incorporated into Dr. Dennis’ analysis provide the
               necessary relevant supply-side influences to conclude that the results of his conjoint-related
               analyses yield price premium conclusions. 185

               i. Dr. Dennis Included Unrealistic Prices In His Conjoint Survey. Despite Dr. Dennis’ claim
                  of using actual historical prices in his analysis, the prices used in his analysis do not reflect
                  the real world prices paid by consumers. Specifically, the conjoint choice set examples
                  presented in the Dennis Declaration do not represent realistic prices available to consumers
                  shopping for ginger ale soda at a given retailer. For example, in a choice set presented by
                  Dr. Dennis, Canada Dry Ginger Ale is priced at more than twice the price of Seagram’s
                  Ginger Ale at a given store. 186 In the real world, prices of carbonated soft drinks of the
                  same package size do not typically vary significantly within a specific store. Given the
                  unrealistic choice options presented in his conjoint surveys, Dr. Dennis cannot make the
                  argument that his conjoint analysis uses actual prices to yield an asserted price premium.

               ii. Historical Prices Do Not Account For Differences In Market Conditions In The But-For
                   World. While historical transactions occurred at prices that reflect historical supply-side
                   factors facing Defendants and retailers, those transactions do not reflect what the prevailing
                   market conditions would have been absent the alleged wrongful conduct (for the simple
                   reason that none of those transactions occurred absent the alleged wrongful conduct).
                   Calculation of a claimed price premium requires estimations of historical market-clearing

market prices they used. The assumption that historical prices encapsulate all costs is flawed because, at the very least, it
oversimplifies the supply side factors.
As shown in Table 19, Seagram’s Ginger Ale and Canada Dry Ginger Ale are sold at the same retail price within numerous
retail stores. It is unlikely that the cost of manufacturing and distributing both these products at different locations in different
companies is identical. It is not clear how using a retail price range based upon actual prices for all Ginger Ale products
(challenged and non-challenged products) in Dr. Dennis’ conjoint surveys reflects costs specific to offering a hypothetical
product without the Challenged Claim.
183
      See, e.g., Principles of Microeconomics, Fifth Edition, N. Gregory Mankiw, p. 73.
184
      Weir Declaration, pp. 9 – 11.
185
      Dennis Declaration, p. 24.   Weir Declaration, p. 10.
186
      See Section X.C.



                                                               - 74 -
            Case 5:17-cv-00564-NC              Document 248-1            Filed 10/09/18          Page 79 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                    equilibrium prices and market-clearing equilibrium prices absent the alleged wrongful
                    conduct. Reference to historical market prices in isolation is insufficient to demonstrate
                    that the claimed damages measure Dr. Dennis proposed would represent the difference
                    between such prices and market-clearing equilibrium prices absent the alleged wrongful
                    conduct. In addition, the results of Dr. Dennis’ conjoint analysis would not represent such
                    a price difference and therefore is not a claimed price premium.

            b. Dr. Dennis and Mr. Weir Inappropriately Assumed That Quantity Supplied Would Have
               Remained The Same In The Market Absent The Challenged Claim. Mr. Weir asserted that
               “in this litigation, the historic number of units sold is a fact … and in this litigation, it would
               be antithetical to the concept of class definition to suggest that the quantity supplied be
               anything other than the actual number of units sold by Defendant.” 187 However, Mr. Weir’s
               statement unreasonably conflates (i) the use of historical quantity sold to determine how many
               Challenged Products actually were purchased with (ii) the role of quantity supplied in
               identifying equilibrium price of the hypothetical product without the Challenged Claim in a
               “hypothetical marketplace.” 188

                From an economic perspective, a price premium associated with a label claim (should a price
                premium actually exist) is the difference between (a) the market price of the product with the
                label claim and (b) the market price of the product without the label claim. As acknowledged
                by Dr. Dennis, market prices are determined by the interaction of both supply and demand. 189
                Under general economic principles, an asserted reduction in demand (as asserted by the
                Plaintiffs) would result in some combination of lower prices and lower quantities sold.190
                The specific impact on price of a reduction in demand for a given product depends upon the
                nature of supply for the product (i.e., how much does quantity supplied respond to a change
                in price). 191 Within Dr. Dennis’ and Mr. Weir’s approach, the assumption of a fixed quantity
                supplied implies that quantity supplied does not respond to any change in price that may be
                caused by a change in demand. As a result, Dr. Dennis’ and Mr. Weir’s assumption results
                in an overstatement of the reduction in price in the hypothetical marketplace, maximizing
                claimed damages. 192



187
      Weir Declaration, p. 9.
188
      Dennis Deposition, p. 266.
189
      Dennis Declaration, p. 24.
190
   See, e.g., Principles of Microeconomics, Fifth Edition, N. Gregory Mankiw, pp. 79 – 81, which shows that an increase in
demand would result in some combination of higher prices and higher quantities sold.
191
   According to the law of supply, the quantity supplied of a product generally rises when the price of the good rises (and thus
generally quantity supplied would decrease when the price decreases). (Principles of Microeconomics, Fifth Edition, N.
Gregory Mankiw, p. 73.)
192
    Holding other considerations constant, the magnitude of the price decrease is related to the elasticity of the supply curve.
The more elastic the supply curve, the smaller the decrease in price from a reduction in demand. The more inelastic the supply
curve, the greater the decrease in price from a reduction in demand. By asserting (without support) that the reduction in
demand would have no effect on quantity supplied as prices decreased (Dennis Deposition, p. 303), Dr. Dennis analysis yields
the theoretical maximum value for a claimed price premium associated with a given claimed reduction in demand (as opposed


                                                             - 75 -
            Case 5:17-cv-00564-NC            Document 248-1               Filed 10/09/18      Page 80 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            c. Mr. Weir Makes Inconsistent Claims Regarding Use Of Real World Market Data In Dr.
               Dennis’ Conjoint Analysis. In his reply declaration, Mr. Weir described Dr. Dennis’ conjoint
               analysis as following an “orthogonal design.” 193 According to Mr. Weir, when a survey uses
               an “orthogonal design,” each of the various options within an attribute/feature (e.g., price,
               brand, etc.) should be shown to respondents in all combinations. 194 In other words, according
               to Mr. Weir, “there are no methodological problems or biases generated from such
               ‘unrealistic’ choices.” 195 However, the inclusion of unrealistic choices presented to survey
               respondents contradicts Mr. Weir’s claim the Dr. Dennis used real world market pricing data
               to design his conjoint analysis and account for supply-side considerations. 196

IX.        CLAIMED PRICE PREMIUM DOES NOT ISOLATE PRICE PREMIUM (IF ANY)
           ATTRIBUTABLE TO THE ALLEGEDLY MISLEADING INTERPRETATION OF THE
           CHALLENGED CLAIM

88.        Mr. Weir defined “price premium damages” to be “the portion of the market price of the Products

           attributable to Defendant’s misrepresentations.” 197 From an economic perspective, putative Class

           members who were not misled by the Challenged Claim (i.e., those whose knowledge and

           perceptions relating to the Challenged Claim were in line with the actual product they received)

           were not harmed by the Challenged Claim. However, Dr. Dennis’ conjoint analysis, which is

           used to calculate the claimed price premium, did not account for consumers’ interpretation of the

           Challenged Claim. 198 As a result, the claimed price premium calculated by Dr. Dennis does not

           isolate the price premium (if any) attributable to the alleged misleading interpretation of the

           Challenged Claim from the alleged non-misleading interpretation (i.e., the product includes




to an estimate of what actually would be observed in the market place).    The above observations and comments do not take
into account other flaws in Dr. Dennis’ analysis.
193
      Weir Reply Declaration, p. 11.
194
      Weir Reply Declaration, p. 11.
195
      Weir Reply Declaration, p. 11.
196
      Weir Reply Declaration, p. 13.
197
      Weir Declaration, p. 5.
198
   Dr. Dennis conducted a separate consumer perception survey that studies consumers’ understanding of the Challenged
Claim, but did not include any measure of consumer interpretation of the Challenged Claim in the conjoint analysis. (Dennis
Declaration, p. 6.)



                                                           - 76 -
            Case 5:17-cv-00564-NC               Document 248-1   Filed 10/09/18    Page 81 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           extracts of ginger but not ginger root). For example, the “Made from Real Ginger” claim could

           be interpreted (a) in the alleged misleading manner or (b) that the ginger ingredients are sourced

           from real ginger (i.e., ginger extract). Consumers who purchased the Challenged Products may

           understand that the products were not made using chopped or powdered ginger root (i.e., the

           alleged misleading interpretation 199), but the Challenged Claim may still carry a premium because

           consumers understand the ginger ingredients are sourced from real ginger.

89.        Dr. Dennis’ analysis and the corresponding calculation by Mr. Weir implicitly assumes that all

           putative Class members understood the Challenged Claim in an allegedly misleading manner.

           However, the evidence presented by Dr. Dennis’ consumer perception survey shows that not all

           consumers understand the Challenged Claim to indicate that the beverage is made using ginger

           root. 200 Specifically, Dr. Dennis surveyed over 200 individuals who had recently purchased

           Canada Dry Ginger Ale. 201 Dr. Dennis asked survey participants to select among several, pre-

           defined statements which best represent how they understand the “Made from Real Ginger” claim.

           The possible responses and survey results are presented in Table 17. The survey results indicate

           that 21.5% of survey respondents do not interpret the “Made from Real Ginger” claim as meaning

           the Challenged Product are made from ginger root (i.e., the alleged misleading interpretation of

           the Challenged Claim).




199
      Second Amended Complaint, p. 1.
200
      Dennis Declaration, pp. 32 – 33.
201
      Dennis Declaration, pp. 10 and 12 – 13.



                                                        - 77 -
            Case 5:17-cv-00564-NC                Document 248-1              Filed 10/09/18         Page 82 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                    Table 17
                              Results Of Dr. Dennis’ Consumer Perceptions Survey
                       Consumers’ Understanding Of The “Made from Real Ginger” Claim 202
                                             Responses                                      No. Respondents           Percent
            Ginger root, which is part of the ginger plant, not an extract                        164                  78.5%
            Ginger oil, which is extracted from the ginger root using steam                         18                 8.6%
            Ginger oleoresin, which is extracted from the ginger root using a solvent               10                 4.8%
            None of these                                                                           17                 8.1%
            Total                                                                                  209                 100%

90.        Dr. Dennis’ consumer perception survey results confirm that not all consumers have an allegedly

           misleading interpretation of the Challenged Claim. Dr. Dennis’ conjoint analysis yields results

           that are not appropriate measures of claimed economic injury when interpretations that are not

           alleged to be misleading (and thus have no nexus to the economic damages or liability) may also

           carry a premium. In other words, neither Dr. Dennis’ nor Mr. Weir’s analysis isolates the claimed

           damages attributable to the allegedly misleading interpretation of the Challenged Claim. 203

X.         DR. DENNIS’ CONJOINT SURVEY IS NOT APPLICABLE TO THE ENTIRE
           PUTATIVE CLASS

91.        Dr. Dennis used a conjoint analysis approach to measure what he claimed to be a “marketplace

           price premium” attributable to the Challenged Claim. 204 To calculate a claimed price premium,

           Dr. Dennis conducted two “price premium” surveys with 401 respondents for the 2-liter survey

           and 403 respondents for the 12-pack conjoint survey. 205 Based upon his surveys and simulation


202
    Dr. Dennis asked respondents the following question: “Based on your understanding of the product package we showed
you, what is your understanding of the statement “Made from Real Ginger” on the Canada Dry Ginger Ale?” Dr. Dennis
instructed the respondents to “select the option that is closest to [their] understanding” that finished the statement “[t]he ginger
ale is made using…” with the answer options listed in Table 17. (Dennis Declaration, p. 17.)
203
    Mr. Weir asserted that “the price premium percentage calculated by Dr. Dennis applies to all Class Members market-wide
regardless of the absolute price they paid, and regardless of any individual Class Member’s subjective valuation of the
Products.” (Weir Declaration, p. 16.) As such, Mr. Weir’s analysis does not account for alternative, non-misleading
interpretations of the Challenged Claim. For reasons discussed here and throughout my declaration, there is no reason to
believe all consumers were similarly misled by the Challenged Claim (if at all).
204
      Dennis Declaration, p. 22.
205
      Dennis Declaration, pp. 28 – 29.



                                                               - 78 -
            Case 5:17-cv-00564-NC             Document 248-1             Filed 10/09/18         Page 83 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           analyses using the survey results, Dr. Dennis concluded that “at a minimum the class members

           paid a 4 percent price premium solely attributable to the ‘Made from Real Ginger’ claim.” 206 Mr.

           Weir used the claimed price premium percentages calculated by Dr. Dennis to extrapolate claimed

           damages across the entire putative Class. However, Dr. Dennis’ simulations and his surveys

           suffer from at least the following fundamental flaws rendering them unreliable for measuring

           claimed price premiums (if any exist) associated with the Challenged Claim for all putative Class

           members during the entire putative Class Period.

            a. Mr. Weir extrapolated the claimed price premium for the 12-pack product to numerous
               products without appropriate support.

            b. Dr. Dennis’ conjoint survey does not provide a value for the entire putative Class Period.

            c. Dr. Dennis’ conjoint surveys do not represent realistic choices available to consumers at a
               retail store.

            d. Dr. Dennis’ conjoint surveys included price points higher than the actual prices paid by the
               majority of the putative Class members.

           A. Failure To Provide Appropriate Support For Extrapolation Of The Claimed Price
              Premium For The 12-Pack Product To Numerous Products

92.        Dr. Dennis opined to a 4% claimed price premium on “Canada Dry Ginger Ale products other than

           the 2-Liter products” and a 4.67% claimed price premium for the 2-liter Canada Dry ginger ale

           products. 207 Mr. Weir used the claimed price premium percentages calculated by Dr. Dennis to

           determine the claimed damages for all available package types of the Challenged Products. 208


206
      Dennis Declaration, p. 36.
207
   Dennis Declaration, p. 36. Dr. Dennis calculated the claimed price premium percentages using a conjoint analysis for 12
packs of 12-oz. cans of the Challenged Products and a conjoint analysis for 2-liter bottles of the Challenged Products. (Dennis
Declaration, pp. 24 – 25.)
208
    Weir Declaration, pp. 16 and 20 – 21. Specifically, Mr. Weir calculated claimed damages for 16 package types (or sizes)
including a total of 27 unique combinations of flavors and package types. (Weir Declaration, pp. 17 – 18.) Mr. Weir counts
“Canada Dry Ginger Ale Soda Diet Plastic Bottle 1 count 67.6 oz.” and “Canada Dry Ginger Ale Soda Regular Plastic Bottle
1 count 67.6 oz.” twice each. (Weir Declaration, Table 1, pp. 17 – 18.) It appears that this repetition is due to the same
product mapping to two different Unique Product Codes (UPCs) in the IRI data. Mr. Weir applied a claimed price premium
percentage of 4% to 25 unique Challenged Products and 4.67% to the remaining two.



                                                            - 79 -
            Case 5:17-cv-00564-NC             Document 248-1      Filed 10/09/18      Page 84 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           However, using a uniform claimed price premium across numerous products does not account for

           differences in consumer preferences for different product sizes and types. Dr. Dennis’ and Mr.

           Weir’s assumption of a uniform price premium across all the Challenged Products (except for the

           2-liter bottles) is flawed because of at least the following reasons.

            a. Plaintiffs’ Experts Did Not Provide Any Economic Support For The Assumption Of Uniform
               Price Premium (If Any) Across Product Sizes and Types. Neither Dr. Dennis nor Mr. Weir
               provide any economic support as to why a uniform price premium percentage should be
               applied to all product sizes except for 2-liter bottles. By opining to a uniform price premium
               for all package sizes (except for 2-liter plastic bottles), Dr. Dennis implicitly assumed that all
               the putative Class members would have paid the same claimed price premium percentage (or
               a claimed price premium percentage of at least 4%) for the Challenged Products regardless of
               the product quantity (6 pack versus 12 pack), size (20-oz. versus 12-oz.), and type (bottle
               versus cans) they purchased. 209 For example, according to Dr. Dennis’ analysis, a consumer
               purchasing a single 12-oz. can of Canada Dry Ginger Ale would have paid the same claimed
               price premium percentage as a consumer who bought a 6 pack of 20-oz. plastic bottles of
               Canada Dry Ginger Ale. Dr. Dennis’ claimed price premium did not account for differences
               in consumer preferences for different product sizes and types, and the corresponding
               differential extent of economic injury (if any) suffered by the putative Class members.

            b. Results From Dr. Dennis’ Conjoint Analysis For Different Product Types Contradicts The
               Assumption Of Uniform Claimed Price Premium Across Sizes. Dr. Dennis conducted two
               separate conjoint surveys and simulations for the two product types: a 12 pack of 12-oz. cans
               and a 2-liter bottle. 210 Using the conjoint analysis, Dr. Dennis calculated a claimed price
               premium of 4.67% for the 2-liter products and 4% for the 12-pack product. 211 Given that Dr.
               Dennis obtained two different claimed price premium percentages for the two product sizes
               that he evaluated, there is no guarantee, and it does not follow, that price premium (if any)
               associated with other product sizes and types would be the same as (or at least as large as) the
               price premium associated with a 12-pack product.

93.        Neither Dr. Dennis nor Mr. Weir performed any affirmative analysis to demonstrate that

           extrapolation of a uniform claimed price premium allegedly associated with one package size to

           all package types and sizes (except 2-liter bottles) is reasonable or applies to all putative Class

           members.


209
      See Dennis Deposition, pp. 275 – 276.
210
      Dennis Declaration, pp. 24 – 25.
211
      Dennis Declaration, p. 36.



                                                       - 80 -
            Case 5:17-cv-00564-NC                  Document 248-1              Filed 10/09/18   Page 85 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           B. Dr. Dennis’ Conjoint Survey Does Not Provide A Value For The Entire Putative
              Class Period

94.        Mr. Weir stated that “…these price premiums apply to every sale of the Products, to every Class

           member, and the class period, respectively.” 212 However, survey techniques such as conjoint

           analysis generally measure the value of product attributes at the point in time of the survey and

           cannot easily determine the value of attributes in the past. Hence, the values that Dr. Dennis

           calculated from his conjoint surveys and simulations were based upon tastes and preferences that

           existed when the surveys were performed (i.e., 2018). 213 However, the putative Class Period

           begins in December 2012. 214 Dr. Dennis acknowledged that it is possible for consumers to view

           the Challenged Claim differently in 2018 than in 2012. 215 There are no assurances that the values

           based upon the current survey responses would be representative of (or correlated with) putative

           Class members’ preferences associated with the Challenged Claim from approximately 5 years

           prior to Dr. Dennis’ survey.

95.        By applying the results from a survey conducted in 2018 to the entire putative Class Period, Dr.

           Dennis and Mr. Weir assumed that consumers’ preferences and any alleged price premium have

           been constant during the putative Class Period. However, in his “Supply Side Considerations,”

           Mr. Weir acknowledged consumer preferences changed over time. 216 Specifically, Mr. Weir

           stated that “[m]any major grocery retailers identify a willingness to adjust prices in response to

           changing economic conditions and consumer preferences.” 217 Thus, Mr. Weir’s own declaration


212
      Weir Declaration, p. 16.
213
      Dennis Declaration, p. 27.
214
      Plaintiffs’ Motion for Class Certification, p. vii.
215
      Dennis Deposition, pp. 305 – 306.
216
      Weir Declaration, p. 11.
217
      Weir Declaration, p. 11.     (Bracketed text added for clarification.)



                                                                 - 81 -
            Case 5:17-cv-00564-NC             Document 248-1            Filed 10/09/18         Page 86 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           provides an example that contradicts the implicit assumption of constant consumer preferences

           during the putative Class Period.

           Response To Weir Reply Declaration.

96.        Weir Claim. In his reply declaration, Mr. Weir claimed that Dr. Dennis “conducted cognitive

           interviews with survey respondents to gauge their preferences for ginger ale and determined that

           the results of the survey are reasonably projectable to the Class and Class period.” 218

97.        Response. Dr. Dennis used current survey data and applied such survey data to draw inferences

           as to consumers’ tastes and preferences over a period that began more than five years ago

           (December 28, 2012 through the present). For such an analysis to be reliable, Dr. Dennis would

           need to demonstrate that consumers’ tastes and preferences have not changed. Mr. Weir attempts

           to address this issue by claiming Dr. Dennis’ “cognitive interviews” indicate that the results of his

           conjoint survey are projectable to the entire Class and Class period. However, the following

           factual observations demonstrate the lack of substantive evidence in support of such a claim.

            a. Dr. Dennis and Mr. Weir did not produce any evidence to support the extrapolation of Dr.
               Dennis’ survey results over the entire putative Class Period.

            b. Dr. Dennis and Mr. Weir did not provide any documentation relating to Mr. Weir’s claim that
               Dr. Dennis’ “cognitive interviews” indicate the conjoint survey results are projectable to the
               entire putative Class Period.

            c. Even if Dr. Dennis’ “cognitive interviews” provide information about the respondents’ tastes
               and preferences over time, Dr. Dennis’ and Mr. Weir’s reliance on Dr. Dennis’ “cognitive
               interviews” still requires them to extrapolate the results of a small number of consumers to
               the entire putative Class. 219



218
      Weir Reply Declaration, p. 12.
219
    It is unclear how many “cognitive interviews” were conducted by Dr. Dennis. According to his declaration, Dr. Dennis
conducted 7 cognitive interviews and 103 pretest survey interviews. However, according to Dr. Dennis, these cognitive
interviews and pretest survey interviews were used to design and test for issues in the consumer perceptions survey, not his
price premium survey used to estimate the claimed price premiums.         (Dennis Declaration, pp. 11 – 12.) In his reply
declaration, Dr. Dennis referred to “two rounds of cognitive interviews” when discussing his determination of attributes to be
included in his conjoint survey. However, Dr. Dennis did not identify how many consumers were interviewed, whether these


                                                            - 82 -
           Case 5:17-cv-00564-NC                Document 248-1              Filed 10/09/18          Page 87 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           C. Dr. Dennis’ Surveys Do Not Represent Realistic Choices Available To Consumers At A
              Given Store

98.        Dr. Dennis’ surveys instruct the respondents to assume that “[they] are shopping at the store where

           [they] usually purchase GINGER ALE.” 220 This instruction indicates that respondents should

           view the choices presented in the choice tasks to be available within the same retail store.

           However, the product profiles used in the surveys by Dr. Dennis include unrealistic choices which

           are not representative of product choices available to consumers within a given retail store.

            a. Example Of Choice Sets Included In Dr. Dennis’ Conjoint Surveys. The choice sets included
               in Dr. Dennis’ surveys present a wide variation in prices of ginger ale products within a retail
               store. For illustrative purposes, consider an example of a choice set reproduced from the
               Dennis Declaration presented in Figure 10. As shown in Figure 10, the options offered in
               the choice set included a Canada Dry Ginger Ale priced at $7 and a Seagram’s Ginger Ale
               product priced at $3. Considering the assumption of shopping at a given store presented to
               the participants, Dr. Dennis’ choice set shown in Figure 10 presents a scenario where a given
               store has Canada Dry Ginger Ale priced at more than twice the price of Seagram’s Ginger
               Ale. While Canada Dry Ginger Ale may be available at a convenience store for a high price
               of $7, it is unlikely that the same store will sell other ginger ale products such as Seagram’s
               Ginger Ale for $3 (or would do so on a regular basis). Table 18 presents examples of other
               brand and price combinations included by Dr. Dennis in his choice tasks in the 12-pack
               version of his conjoint surveys. As shown in Table 18, Dr. Dennis’ choice sets included a
               wide variation in prices of Ginger Ale soda available within the same retail store.

               i. 12-Pack. Out of the ten choice task examples Dr. Dennis provided for the 12-pack
                  conjoint survey version, the price difference between the highest-priced option and the
                  lowest-priced option in a choice task is $4 in 3 choice tasks; $3 in 4 choice tasks; $2 in 2
                  choice tasks; and $1 for 1 choice task.

               ii. 2-Liter. Similarly, out of the ten choice task examples Dr. Dennis provided for the 2-liter
                   conjoint survey version, the price difference between the highest-priced option and the
                   lowest-priced option in a choice task is $2 in 2 choice tasks; $1.50 in 2 choice tasks; $1 in
                   4 choice tasks; and $0.50 for 2 choice tasks. 221



were the same interviews he referred to in his initial declaration, or to what extent (if at all) these interviews provided evidence
that the conjoint survey results are projectable to the entire Class and Class Period. (Dennis Reply Declaration, p. 5.)
220
   Dennis Deposition, pp. 251 – 252. Dennis Declaration, Attachment F, p. 56. (Emphasis is original.) In addition, the
choice task includes the following statement: “If these were your only options at the store, which of these 2-Liter bottles of
GINGER ALE would you purchase in real life?” (Dennis Declaration, p. 26. Emphasis in original.)
221
      Dennis Declaration, Attachment F, pp. 34 – 53.



                                                               - 83 -
           Case 5:17-cv-00564-NC                 Document 248-1   Filed 10/09/18   Page 88 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                However, as discussed below, in the real world, ginger ale products of the same package size
                typically are priced the same (or within $1 price difference) within a retail store.

                                                    Figure 10
                              Example Of A Choice Task Included In 12 Pack Version Of
                                   Conjoint Survey Conducted By Dr. Dennis 222




222
      Dennis Declaration, Attachment F, p. 75.



                                                         - 84 -
           Case 5:17-cv-00564-NC               Document 248-1           Filed 10/09/18          Page 89 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                         Table 18
                                      Examples Of Choice Tasks Included By Dr. Dennis
                                               Version Of Conjoint Survey 223
                                                                                                    Difference Between
                                        Option 1             Option 2             Option 3          Highest And Lowest
                                                                                                           Prices
                                        Seagram’s          Canada Dry            Schweppes
                Choice Task 1                                                                               $4.00
                                          $3.00              $7.00                 $6.00
                                        Schweppes             Vernors            Canada Dry
                Choice Task 2                                                                               $2.00
                                          $4.00                $6.00               $5.00
                                         Vernors            Seagram’s                 Vernors
                Choice Task 3                                                                               $4.00
                                          $6.00               $7.00                    $3.00
                                        Schweppes          Canada Dry            Seagram’s
                Choice Task 4                                                                               $3.00
                                          $7.00              $7.00                 $4.00
                                        Schweppes             Vernors            Canada Dry
                Choice Task 5                                                                               $3.00
                                          $6.00                $5.00               $3.00
                                        Schweppes           Seagram’s            Seagram’s
                Choice Task 6                                                                               $1.00
                                          $4.00               $3.00                $4.00
                                       Canada Dry          Canada Dry                 Vernors
                Choice Task 7                                                                               $3.00
                                         $6.00               $5.00                     $3.00
                                        Schweppes             Vernors            Canada Dry
                Choice Task 8                                                                               $3.00
                                          $7.00                $6.00               $4.00
                                        Seagram’s           Seagram’s            Schweppes
                Choice Task 9                                                                               $2.00
                                          $6.00               $5.00                $7.00
                                       Canada Dry             Vernors                 Vernors
               Choice Task 10                                                                               $4.00
                                         $3.00                 $7.00                   $5.00

            b. Ginger Ale Sodas Are Priced Similarly Within A Retail Store. In the real world, ginger ale
               products may have varying prices across retail stores but they are typically priced similarly
               within a retail store. Pricing data from Dr. Dennis’ field notes support the observation that
               ginger ale sodas are priced similarly within a retail store. Summarized in Table 19 are the
               prices observed by Dr. Dennis of 12 packs of 12-oz. cans and 2-liter bottles of Seagram’s
               Ginger Ale and Canada Dry Ginger Ale across different retailers. 224 As shown in Table 19,
               retail prices for Seagram’s Ginger Ale and Canada Dry Ginger Ale vary across stores, but
               both products are priced similarly (if not exactly the same) within a store. For example, at a
               Safeway that Dr. Dennis visited, the price of a 2-liter bottle of Seagram’s Ginger Ale and a 2-
               liter bottle of Canada Dry Ginger Ale was $1.99 each. (See Exhibit 5.)




223
      Dennis Declaration, Attachment F, pp. 74 – 101.
224
      Michael Dennis’ Ginger Ale Local Market Scan Pricing, San Francisco Bay Area.     (PL000783 – 785.)



                                                           - 85 -
         Case 5:17-cv-00564-NC               Document 248-1           Filed 10/09/18        Page 90 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                       Table 19
                        Retail Prices Observed By Dr. Dennis Of Canada Dry Ginger Ale
                      and Seagram’s Ginger Ale Across Retail Stores In San Francisco Bay Area 225
                                                                      Observed Retail Prices (Non-Diet Products)
                                 Retail Stores                    Canada Dry Ginger Ale       Seagram’s Ginger Ale
               2-Liter Bottles
               Safeway (San Leandro, CA)                                  $1.99                        $1.99
               Target (Emeryville, CA)                                    $1.89                        $1.89
               Pak N Save (Emeryville, CA)                                $1.99                        $1.99
               Nob Hill Grocery Store (Redwood City, CA)                  $1.99                        $1.99
               12 Packs of 12-oz. Cans
               Safeway (San Leandro, CA)                                  $6.99                        $6.99
               Target (Emeryville, CA)                                    $5.99                        $4.99
               Pak N Save (Emeryville, CA)                                $6.99                        $6.99
               Nob Hill Grocery Store (Redwood City, CA)                  $6.99                        $6.99



99.     Dr. Dennis’ own price research presented above shows that in the real world, ginger ale products

        of the same package size are typically priced the same (or within a $1 difference) within a retail

        store. However, Dr. Dennis included unrealistic choice sets in his surveys which present a wide

        variation in prices within a given retail store (choice set) environment. From an economic and

        damages perspective, the unrealistic choice sets used in Dr. Dennis’ conjoint analysis may yield

        outcomes that are not consistent with actual consumer behavior and may present unreliable results.

        D. Dr. Dennis’ Surveys Included Price Points Substantially Higher Than The Actual Prices
           Paid By The Majority Of The Putative Class Members

100.    Dr. Dennis asserted that his conjoint surveys included “market-based price points for the 2-liter

        and [the] 12-pack price attribute based on actual real-world prices that consumers have paid for




225
    Michael Dennis’ Ginger Ale Local Market Scan Pricing, San Francisco Bay Area. (PL000783 – 785.) Only the stores
where the same package sizes of Seagram’s Ginger Ale and Canada Dry Ginger Ale were available are included in this table.



                                                         - 86 -
            Case 5:17-cv-00564-NC              Document 248-1             Filed 10/09/18          Page 91 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           the products.” 226 Similarly, Mr. Weir asserted that Dr. Dennis’ “conjoint survey took into account

           actual marketplace prices.” 227 In his conjoint analysis, Dr. Dennis allowed for a price range of $1

           to $3 with an increment of $0.50 for the 2-liter product and a price range of $3 to $7 with an

           increment of $1 for the 12-pack product. 228 An analysis of retail prices at which the Challenged

           Products were sold (based upon the IRI data presented below) shows that Dr. Dennis’ surveys

           included prices higher than the majority of prices paid by the consumers for the Challenged

           Products.

101.       Contained in Table 20 are summary statistics of the actual retail prices of the 2-liter and the 12-

           pack product sizes of the Challenged Products. (Exhibit 21.)229

            a. 2-Liter. The average retail prices for a 2-liter bottle of the Challenged Products ranges
               between $1.03 and $2.07 in the IRI data during the time period from December 2012 to
               January 2018, indicating that a $3.00 price point used in Dr. Dennis’ 2-liter conjoint survey
               is substantially higher than the majority of actual prices paid by the putative Class members
               for the 2-liter product.

            b. 12-Pack. Similarly, the average retail prices for a 12 pack of 12-oz. cans of the Challenged
               Products ranges between $2.99 and $5.55 in the IRI data during the time period from
               December 2012 to January 2018, indicating that a $7.00 price point used in Dr. Dennis’ 12-
               pack conjoint survey is substantially higher than the majority of actual prices paid by the
               putative Class members for a 12 pack of 12-oz. cans.

           Based upon the IRI data used by Mr. Weir, while price points such as $3 for a 2-liter bottle product

           or $7 for a 12 pack of 12-oz. cans of the Challenged Product may be present in retail stores, they

           do not represent the majority of “actual real-world prices that consumers have paid for the

           products.”



226
      Dennis Declaration, p. 24.
227
      Weir Declaration, p. 15.
228
      Dennis Declaration, p. 25.
229
    A complete list of summary statistics of actual retail prices for all the Challenged Products used by Mr. Weir is included in
Exhibit 21.



                                                             - 87 -
           Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18          Page 92 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                     Table 20
                      Average Retail Prices For The 2-Liter And 12-Pack Challenged Products
                                                                            California Multi-Outlet Retail Prices
                                                                             (December 2012 – January 2018)
                                Product                                Average              Minimum              Maximum
            2-Liter Bottles
            Canada Dry Ginger Ale Soda Diet
                                                                        $1.32                  $1.17                $1.47
            Plastic Bottle 1 Count 67.6 oz.
            Canada Dry Cranberry Ginger Ale Soda Diet
                                                                        $1.31                  $1.03                $1.99
            Plastic Bottle 1 Count 67.6 oz.
            Canada Dry Ginger Ale Soda Regular
                                                                        $1.33                  $1.23                $1.48
            Plastic Bottle 1 Count 67.6 oz.
            Canada Dry Cranberry Ginger Ale Soda Regular
                                                                        $1.28                  $1.11                $1.97
            Plastic Bottle 1 Count 67.6 oz.
            Canada Dry Blackberry Ginger Ale Soda Regular
                                                                        $1.36                  $1.11                $1.78
            Plastic Bottle 1 Count 67.6 oz.
            Canada Dry Ginger Ale Soda Regular
                                                                        $1.75                  $1.36                $2.07
            NR Plastic Bottle 1 Count 67.6 oz.
            12 Packs Of 12-Oz. Cans
            Canada Dry Ginger Ale Soda Diet
                                                                         $4.01                 $3.65                $4.48
            Can in Fridge Pack Box 12 Count 144 oz.
            Canada Dry Ginger Ale Soda Regular
                                                                        $3.94                  $3.59                $4.43
            Can in Fridge Pack Box 12 Count 144 oz.
            Canada Dry Blackberry Ginger Ale Soda Regular
                                                                        $3.99                  $2.99                $5.55
            Can in Fridge Pack Box 12 Count 144 oz.


102.       Figure 11 presents a scatter plot of actual average prices of 2-liter bottles of Canada Dry Ginger

           Ale Challenged Products Mr. Weir identified in the IRI California data from December 2012 to

           January 2018. 230 During this time period, approximately 90% of 2-liter bottles of Canada Dry

           Ginger Ale were sold at average prices within a range of $1.22 to $1.95, and 90% of 12 packs of

           Canada Dry Ginger Ale were sold at average prices within a range of $3.67 to $4.48. 231 This




230
      A similar figure for 12-pack Canada Dry Ginger Ale Challenged Products is contained in Exhibit 22.
231
    These price ranges are based upon 4-week average prices presented in the IRI data. Dr. Dennis acknowledged that his
understanding is that a 2-liter bottle of carbonated soft drink typically costs around $1.50 to $2.00 and a 12 pack of cans usually
costs between $3.50 and $5.00. (Dennis Deposition, pp. 205 – 206.)



                                                              - 88 -
           Case 5:17-cv-00564-NC          Document 248-1         Filed 10/09/18      Page 93 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           analysis confirms that Dr. Dennis’ conjoint surveys included price points substantially higher than

           the majority of prices paid by the putative Class members. (See Exhibit 22.)

                                                  Figure 11
           Average Monthly Prices Of 2-Liter Bottles Of Canada Dry Ginger Ale Challenged Product
                         Compared To Prices Assumed In Dr. Dennis’ Choice Sets




103.       Mr. Weir testified that “the point of Dr. Dennis’s range of prices [] is to encapsulate the range of

           prices that are actually evident in the marketplace.” 232 However, a comparison of the five price

           points contained in Dr. Dennis’ conjoint surveys with the real world prices paid by putative Class

           members indicates that Dr. Dennis includes prices that are substantially higher than the vast


232
      Weir Deposition, p. 136.



                                                      - 89 -
            Case 5:17-cv-00564-NC         Document 248-1        Filed 10/09/18      Page 94 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           majority of prices paid for the Challenged Products in the real world. Use of prices that do not

           appropriately reflect actual prices paid by consumers may yield unreliable results.

XI.        PLAINTIFFS’ DAMAGES APPROACH WOULD OVERCOMPENSATE CLASS
           MEMBERS WHO DID NOT SUFFER INJURY

104.       Assuming the existence of an asserted price premium caused by the alleged misleading

           interpretation of the Challenged Claim, determining whether and to what extent a putative Class

           member was injured (if at all) as a result of the Challenged Claim requires individual inquiry.

           Despite Mr. Weir’s claim that Dr. Dennis’ conjoint analysis requires “[n]o individualized analyses,

           or Class-Member-specific inquiry,” 233 in this matter, a simple mathematical calculation of a

           “constant percentage of price times dollar sales” cannot be used to evaluate whether individual

           putative Class members were injured (and the extent of the claimed injury, if any). Failure to

           conduct individualized inquiry would result in (a) over-compensation to some putative Class

           members, (b) under-compensation to other putative Class members (to the extent injury exists),

           and (c) compensation to some consumers who were not injured at all. Proof of alleged injury

           would depend upon individualized inquiry into at least the following facts and circumstances

           associated with each putative Class member’s purchase:

            a. a putative Class member’s interpretation of the Challenged Claim (i.e., the putative Class
               member’s beliefs about whether a “Made from Real Ginger” claim implies that a product was
               made from ginger root, not extract, and provides health benefits associated with the ginger
               plant, or whether it is made from “powdered” or “chopped” ginger as alleged in Plaintiffs’
               Second Amended Complaint 234);

            b. whether the purchase was based upon the Challenged Claim (i.e., the putative Class member’s
               reasons for purchasing the Challenged Products); and

            c. the price paid (i.e., the actual prices paid by putative Class members for the Challenged
               Products in their various transactions).

233
      Weir Declaration, pp. 8.
234
      Second Amended Complaint, p. 1.



                                                      - 90 -
            Case 5:17-cv-00564-NC                 Document 248-1                Filed 10/09/18        Page 95 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

105.       For at least the above reasons, evaluation of claimed damages on a Class-wide basis is not

           amenable to a simple “constant percentage of price times dollar sales” approach. Failure to

           examine the considerations above on an individualized basis would sever the required economic

           nexus of tying the claimed harm to the alleged misleading interpretation of the Challenged Claim.

           A. Individual Inquiry Is Required To Determine Putative Class Members’ Knowledge And
              Perception Relating To The Challenged Claim

106.       Individual putative Class members’ knowledge and perceptions relating to the Challenged Claim

           may affect the determination of whether an individual purchaser suffered injury attributable to the

           Challenged Claim. The opinion, belief, or understanding of a putative Class member regarding

           the meaning of the Challenged Claim affects the determination of whether (or to what extent) that

           purchaser suffered injury attributable to the alleged message communicated by the Challenged

           Claim. From an economic perspective, putative Class members who were not misled by the

           Challenged Claim (i.e., those whose knowledge and perceptions relating to the Challenged Claim

           were in line with the actual product they received) were not harmed by the Challenged Claim.

           Such putative Class members received the value that was paid for, and a “constant percentage of

           price times dollar sales” approach would not be capable of isolating these putative Class members

           from the claimed damages calculation.

107.       Plaintiffs assert that consumers interpreted the Challenged Claim (“Made from Real Ginger”) to

           mean the Challenged Products are made from ginger root, not ginger extracts. 235 However, it is

           possible that a putative Class member may have interpreted the “Made from Real Ginger” claim

           differently and believed that a product with natural flavor made from ginger is “Made from Real

           Ginger.” Namely, a putative Class member could interpret the Challenged Claim as indicating



235
      See, e.g., Plaintiffs’ Motion For Class Certification, pp. 1 – 3 and 6.   See also Dennis Declaration, p. 5.



                                                                 - 91 -
            Case 5:17-cv-00564-NC        Document 248-1        Filed 10/09/18    Page 96 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           that the Challenged Products are made from ginger extract and/or affirm that a product flavored

           with the natural extract from real ginger comports with the claim of “Made from Real Ginger.”

           Putative Class members who do not interpret the Challenged Claim as containing chopped or

           powdered ginger root are not harmed under Plaintiffs’ damages theory. Among others, the

           following factors support the observation that not all putative Class members interpreted the

           Challenged Claim in the manner asserted by Plaintiffs.

            a. Evidence From Dr. Dennis’ Consumer Perceptions Survey. The existence of putative Class
               members who did not (and do not) interpret the Challenged Claim as containing ginger root
               is evidenced by the consumer perceptions survey conducted by Dr. Dennis. As discussed
               earlier in my declaration, Dr. Dennis’ consumer perception survey shows that over 20% of
               the 209 survey respondents who had recently purchased Canada Dry Ginger Ale did not
               understand the Challenged Claim to mean that the beverage is made using “ginger root.” 236
               From an economic perspective, such consumers did not suffer economic injury (under
               Plaintiffs’ damages theory).

            b. Consumers Who Consulted Available Information Regarding Ingredients Likely Would Not
               Have Been Misled By The Challenged Claim. A putative Class member concerned about
               the presence of ginger root in the Challenged Products could seek information about
               ingredients through different sources made available by the Defendants.

               i. Ingredient Label. A putative Class member could rely on the product description on the
                  Challenged Product label to interpret the Challenged Claim. For example, the ingredients
                  listed on the Challenged Products do not include ginger root. (Figure 12.)




236
      Dennis Declaration, pp. 32 – 33.



                                                     - 92 -
           Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 97 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                      Figure 12
                                         Example Of Challenged Product Label
                                         Canada Dry Ginger Ale 2-Liter Bottle 237




               ii. Contacting The Defendants. According to the deposition testimony of Ms. Carmen
                   Caccavale, Director of Consumer Relations at DPSU, there are numerous ways for a
                   consumer to contact the Defendants with questions about products. 238

                         Q. …So what are the different ways that a Dr Pepper Snapple Group consumer
                             can contact Dr Pepper Snapple Group with a customer inquiry, a
                             complaint, or a question about a product?
                         A. They can call, they can e-mail, they can post on a social web site.
                         …
                         Q. Mailed letters? Does Dr Pepper Snapple Group ever get letters in the mail
                            from consumers?
                         A. We do.

                         Q. When you said that there is -- social media could be one way they could
                            contact Dr Pepper Snapple Group, what specific forms of social media
                            does Dr Pepper Snapple Group have?
                         A. Facebook, Twitter, and I believe some Instagram, all managed by my
                            marketing department.
                         ….

237
      Product Label.   (DPS_000018.)
238
      Deposition of Carmen Caccavale taken March 8, 2018 (“Caccavale Deposition”), pp. 29 – 32.



                                                           - 93 -
           Case 5:17-cv-00564-NC               Document 248-1           Filed 10/09/18       Page 98 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                         Q. …What are the 1-800 numbers that can be utilized to call Dr Pepper Snapple
                            Group to raise a complaint or a question about a product?
                         A. There are over 80 of them...

                         Q. … Is it one per product or some sort of distinction like that?
                         A. Yes, generally one per product. 239

                   According to a 2010 DPSU presentation on consumer relations (i.e., a year after the
                   Challenged Claim was added), 13% of the total inquiries from consumers were regarding
                   the ingredient, out of which 23% specifically involved the “amount of ginger in Canada
                   Dry Ginger Ale.” 240 Specifically, the DPSU presentation noted that “[c]onsumers also
                   regularly inquire about the amount of ginger in Canada Dry Ginger Ale, accounting for
                   23% of ingredient calls.” 241 Thus, documentary evidence suggests that consumers
                   concerned about the ginger content of the Challenged Products have used channels
                   available to them to gather information about the Challenged Products. Putative Class
                   members that explicitly sought information on the “amount of ginger” are unlikely to have
                   been misled by the Challenged Claim.

               iii. dpsgproductfacts.com. In addition to the nutrition labels on the products and various
                    inquiry portals, Defendants’ “public ingredient fact website called dpsgproductfacts.com”
                    is another channel used for communicating product facts to consumers. 242 Ms. Caccavale
                    noted that the website has helped “tremendously with ingredient inquiries overall,” 243
                    indicating that consumers utilize information sources about product ingredients.

                It is likely that at least some putative Class members who reviewed the ingredients listed on
                the label or Defendants’ ingredient fact website or inquired about the ingredients from
                Defendants did not interpret the “Made from Real Ginger” claim as meaning the product was
                made using ginger root. From an economic perspective, such putative Class members did
                not suffer economic injury (under Plaintiffs’ damages theory).

108.       The knowledge and perceptions of individual putative Class members regarding the Challenged

           Claim would be important information relevant to evaluating and quantifying the claimed injury,

           if any, attributable to the Challenged Claim. A “constant percentage of price times dollar sales”



239
      Caccavale Deposition, pp. 29 – 32.
240
      Caccavale Deposition, Exhibit 41.
241
      Caccavale Deposition, pp. 109 – 110.   See also http://www.dpsgproductfacts.com/en/.
242
      Caccavale Deposition, pp. 109 – 110.   See also http://www.dpsgproductfacts.com/en/.
243
   Caccavale Deposition, p. 110. Prior to implementing the website, Dr Pepper Snapple Group estimated that over 50,000
contacts a year were related to ingredient inquiries. After implementing the website, “total contacts have gone down over
100,000” in the past three years. (Caccavale Deposition, pp. 129 – 130.)



                                                            - 94 -
       Case 5:17-cv-00564-NC          Document 248-1        Filed 10/09/18      Page 99 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

       approach, such as that opined to by Plaintiffs’ experts, cannot overcome this “knowledge and

       perception” hurdle. Any evaluation of claimed damages absent such an individualized analysis

       would result in a windfall gain to putative Class members who actually suffered no injury as they

       were not deceived as Plaintiffs claim.

       B. Individual Inquiry Is Required To Identify Putative Class Members Who Purchased The
          Challenged Products For Reasons Unrelated To The Challenged Claim

109.   From an economic perspective, a person who purchased the Challenged Products for a reason or

       reasons unrelated to the Challenged Claim (e.g., a person who bought solely because of the taste

       of the product) and who would have purchased the same product(s) at the same price regardless of

       the Challenged Claim, did not suffer injury attributable to the alleged message communicated by

       the Challenged Claim. In such instances, because the purchase of the Challenged Products was

       not based upon the Challenged Claim, these consumers did not receive less than what was

       bargained for.   Given the numerous factors that influence purchase decisions, inquiry and

       analyses regarding putative Class members’ motivations for purchasing the Challenged Products

       are determinative as to whether individual putative Class members suffered economic injury

       attributable to the alleged misleading interpretation of the Challenged Claim – which would require

       individual inquiry with respect to each putative Class member.

110.   Defendants’ documents relating to the Challenged Products and deposition testimonies of DPSU

       personnel and the Named plaintiffs indicate that putative Class members purchased the Challenged

       Products for numerous reasons unrelated to the Challenged Claim. Important alternative reasons

       for purchasing the Challenged Products include, but are not limited to, taste and refreshment,




                                                  - 95 -
           Case 5:17-cv-00564-NC              Document 248-1            Filed 10/09/18          Page 100 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           loyalty to the brand, comfort and “feel good” qualities, quality of the ingredients, and application

           as a mixer. 244

            a. Taste And Refreshment. According to a study conducted by Kelton (an independent
               consulting firm) for DPSU, the top two reasons for drinking ginger ale were refreshment and
               taste. 245 The Kelton study also concluded that Canada Dry Ginger Ale performed the
               strongest on all preferred taste profiles when compared to competing ginger ale brands. 246
               This is further supported by a brand analysis performed by Ipsos ASI (an advertising research
               specialist company), which concluded that taste is the most important demand driver for
               Canada Dry Ginger Ale. 247 Plaintiffs Mr. Margaryan and Ms. Fitzhenry-Russell both
               identified taste as a purchase driver. 248 In addition, the deposition testimony of Mr. David
               Falk, Vice President of Brand and Content Marketing at DPSU, indicates that Canada Dry is
               known for having a “great tasting, refreshing product.” 249

            b. Brand Loyalty And Recognition. According to the Kelton study, Canada Dry has a
               significant brand advantage over other ginger ales. 250 The Kelton study also concluded that
               the Canada Dry brand has a “strong base of advocates who are more likely to proactively
               recommend the brand.” 251 Moreover, Kelton’s survey found several brand-specific factors
               were reasons for drinking Canada Dry Ginger Ale, including “I trust and respect the Canada
               Dry brand,” “Canada Dry is of particularly high quality,” and “Canada Dry is a brand with a




244
    The purchase drivers discussed herein might drive purchasing behavior for some putative Class members but not for others
(e.g., some putative Class members may purchase the Challenged Products because the soft drinks were on sale but are not
driven by the taste of the beverages). Nevertheless, the observation that numerous factors drive the purchasing behavior of
some individuals indicates that some putative Class members purchase Challenged Products for reasons unrelated to the
Challenged Claim, that differences exist among putative Class members, and that the assessment of economic injury, if any,
resulting from the alleged misleading interpretation of the Challenged Claim is not amenable to Class-wide proof.
245
    Kelton conducted a survey in which participants were provided a list of statements and asked to “select up to ten statements
that best describe why you personally drink ginger ale.” Of the 27 statements, “It is very refreshing” and “I like the taste of
ginger” were the most selected, with 61% and 53% of survey participants selecting them, respectively. (“Understanding
Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014. (DPS_045765 – 849, at 838.))
246
   The preferred taste profiles according to Kelton are “Crisp,” “Ginger-y,” “Clean,” “Bubbly,” “Soothing,” “No aftertaste,”
and “Balanced.” Overall, Kelton concluded that Canada Dry Ginger Ale was generally viewed as the best tasting ginger ale
when compared to competing ginger ales by Seagram’s, Schweppes, Vernors, and Hansen’s. (“Understanding Ginger Ale
and How Canada Dry Can Capitalize on Its Success” dated May 2014. (DPS_045765 – 849, at 796.))
247
      “Canada Dry Brand Health, Equity, and Market Communications Tracker” dated 2009:Q4.         (DPS_074874 – 903, at 893.)
248
      Margaryan Deposition, pp. 70 – 71.   See also Fitzhenry-Russell Deposition, p. 169.
249
      Falk Deposition, p. 123.
250
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.           (DPS_045765 – 849,
at 792.)
251
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.           (DPS_045765 – 849,
at 793.)



                                                             - 96 -
           Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18         Page 101 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                strong heritage.” 252 Kelton also found that Canada Dry Ginger Ale was viewed by survey
                participants as the most affordable ginger ale in the market. 253

            c. Comfort And “Feel Good” Qualities. According to the same Kelton survey (discussed
               above), additional top reasons for buying the drink were “Drinking it makes me feel better
               when I’m sick,” “It is caffeine-free,” and “Drinking it has a calming, relaxing effect.” 254
               Kelton’s survey found that participants believed ginger ale made them feel physically and
               emotionally better compared to other soft drinks. 255 Ms. Fitzhenry-Russell noted that,
               besides other attributes such as hydration, refreshment, and taste, she purchased Canada Dry
               Ginger Ale for the way it made her feel. 256 Specifically, Ms. Fitzhenry-Russell testified that
               “[i]t just makes me [Ms. Fitzhenry-Russell] feel better [] when I drink it.” 257 Consistent with
               Kelton’s findings, Mr. Falk testified to the “health halo” of Canada Dry Ginger Ale, referring
               to the use of ginger ale when a person is not feeling well. 258 Mr. Falk further testified that
               not having caffeine also is a key attribute of Canada Dry Ginger Ale that drives consumer
               demand. 259

            d. Quality Of Ingredients. According to Mr. Falk, the quality of its ingredients is a key attribute
               of Canada Dry Ginger Ale. 260 This is supported by the analysis performed by Ipsos ASI,
               which found that “Premium ingredients” are an important demand driver for Canada Dry
               Ginger Ale. 261 Similarly, the Kelton study found that the quality of the ginger ale was an
               important reason for drinking Canada Dry, with 21% of survey participants identifying
               “Canada Dry is of particularly high quality” as a reason for purchase. 262



252
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.         (DPS_045765 – 849,
at 839.)
253
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.         (DPS_045765 – 849,
at 797.)
254
    Of the 27 statements survey participants were asked to select from, “Drinking it makes me feel better when I’m sick,” “It
is caffeine-free,” and “Drinking it has a calming, relaxing effect” were selected by 50%, 34%, and 33% of participants,
respectively. (“Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.
(DPS_045765 – 849, at 838.))
255
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.         (DPS_045765 – 849,
at 784 and 787.)
256
      Fitzhenry-Russell Deposition, pp. 91 and 169 – 171.
257
    Fitzhenry-Russell Deposition, p. 169. (Bracketed text added for clarification.) Ms. Fitzhenry-Russell also testified that
she has been purchasing Canada Dry Ginger Ale for the past 40 years. However, she could not recall the “Made from Real
Ginger” labeling claim being added to Canada Dry Ginger Ale. (Fitzhenry-Russell Deposition, pp. 166 – 167.)
258
      Falk Deposition, pp. 114 – 115.
259
      Falk Deposition, p. 123.
260
      Falk Deposition, p. 123.
261
      “Canada Dry Brand Health, Equity, and Market Communications Tracker” dated 2009:Q4.       (DPS_074874 – 903, at 893.)
262
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.         (DPS_045765 – 849,
at 839.)



                                                            - 97 -
           Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18      Page 102 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

            e. Mixer. The Kelton study found that the use of ginger ale as a mixer was a popular reason for
               drinking Canada Dry Ginger Ale. 263 Specifically, 15% of survey participants selected “I like
               to mix Canada Dry with alcohol” as a reason for drinking Canada Dry Ginger Ale. 264 The
               relevance of Canada Dry Ginger Ale as a mixer is further evidenced by Defendants’ marketing
               strategy. For example, several Canada Dry marketing calendars show numerous mixer-
               related advertising campaigns during the 2013 through 2016 time period (e.g., partnership
               with Diageo). 265

111.       The evidence presented above indicates that many reasons exist as to why putative Class members

           purchase the Challenged Products. Because purchasers of the Challenged Products could and did

           make purchases for reasons unrelated to the Challenged Claim, it would be necessary to examine

           why each putative Class member purchased the Challenged Products in order to determine if the

           Challenged Claim was a determinative (or even a significant) reason for the purchase of a

           Challenged Product. For example, Named Plaintiff Ms. Fitzhenry-Russell purchased Canada Dry

           Ginger Ale for many years before the product ever carried the Challenged Claim. 266 (See also

           Exhibit 13.) Ms. Fitzhenry-Russell testified that she preferred Canada Dry to other ginger ale

           brands, such as Seagram’s and Refreshe, noting she liked the flavor, taste, and bubbly nature of

           Canada Dry. 267 Thus, an assessment of putative Class members’ reasons for purchase is required

           in order to evaluate each putative Class member’s alleged injury, if any.

112.       Putative Class members who purchased a Challenged Product solely (or in large part) for reasons

           other than the Challenged Claim were not injured (or were not injured to the same extent) as

           putative Class members who purchased solely or in large part due to the alleged misleading


263
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.    (DPS_045765 – 849,
at 838 – 839.)
264
    “Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success” dated May 2014.    (DPS_045765 – 849,
at 839.)
265
   Canada Dry Marketing Calendars.          (Falk Deposition, Exhibit 34.   (DPS_164419, DPS_001193, DPS_068427, and
DPS_047821.))
266
      Fitzhenry-Russell Deposition, pp. 166 – 167 and Exhibit 25.
267
      Fitzhenry-Russell Deposition, pp. 168 – 169.



                                                             - 98 -
           Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18         Page 103 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           interpretation of the Challenged Claim. This aspect of the economic injury and causation analysis

           requires individual inquiry and cannot be determined using a simple “constant percentage of price

           times dollar sales” approach.

           C. Individual Inquiry Is Required To Determine The Specific Prices Paid For The
              Challenged Products By Each Putative Class Member

113.       As discussed in detail in Section VII, analysis of retail sales data indicates that there are wide

           variations in final prices paid by consumers associated with the Challenged Products. The prices

           putative Class members paid for the Challenged Products differ depending upon the circumstances

           surrounding their purchases, including (at least) the sales channel, the retailer, whether they paid

           a promoted (i.e., “on sale”) or non-promoted price, the package size, the geographic area where

           the purchase was made, and date of purchase. These pricing variations demonstrate that the price

           paid by one consumer in one place at one time for a Challenged Product is not indicative of the

           price paid by another consumer in a different location at the same or different time (even for the

           exact same Challenged Product).

114.       Based upon the Named Plaintiffs’ deposition testimonies, the Named Plaintiffs differ in multiple

           ways with regard to their purchases of the Challenged Products. Summarized below are examples

           of differences in purchase attributes between the two Named Plaintiffs, which highlight the need

           for individual inquiry among putative Class members. (See also Table 21.)

            a. Differences In Retailers Where Purchases Were Made. Mr. Margaryan purchased one
               package of Canada Dry at a Vons grocery store. 268 Ms. Fitzhenry-Russell purchased multiple
               sizes and packages of Canada Dry at Safeway. 269 Ms. Fitzhenry-Russell also shops at
               Grocery Outlet and could not rule out purchasing ginger ale products from this location.270
               Ms. Fitzhenry-Russell described Grocery Outlet as a store that sells overstocked products and


268
      Margaryan Deposition, p. 86.   See also Margaryan Deposition, Exhibit 5.
269
      Fitzhenry-Russell Deposition, pp. 127 – 156.   See also Fitzhenry-Russell Deposition, Exhibit 25.
270
      Fitzhenry-Russell Deposition, pp. 51 – 54.



                                                             - 99 -
           Case 5:17-cv-00564-NC                  Document 248-1       Filed 10/09/18    Page 104 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                is less expensive to shop at. 271 Empirically and theoretically, a price premium paid (if any)
                could be different at a store such as Grocery Outlet compared to purchasing a Challenged
                Product in other regular grocery stores.

            b. Differences In Frequency Of Purchase. Mr. Margaryan could not recall whether he had
               previously purchased or just tried Canada Dry at a friend’s house prior to the purchase he
               made on April 24, 2017. 272 In contrast, Ms. Fitzhenry-Russell purchased Canada Dry Ginger
               Ale for 40 years. 273 Empirically and theoretically, the claimed harm by putative Class
               members would be different depending upon whether putative Class members purchased the
               Challenged Products once or multiple times and whether they previously purchase the product
               without the Challenged Claim.

            c. Differences In Product Sizes Purchased. Mr. Margaryan purchased an 8 pack of 12-oz.
               bottles of Canada Dry Ginger Ale 274 while Ms. Fitzhenry-Russell purchased 12 packs of 12-
               oz. cans, 6 packs of 8-oz. cans, 6 packs of 7.5-oz. cans, and 2-liter bottles of Canada Dry
               Ginger Ale. 275 Empirically and theoretically, a price premium paid (if any) could vary
               among the products given different pricing across different product sizes.

            d. Differences In Promotions Applied. Mr. Margaryan did not purchase Canada Dry Ginger
               Ale under a promotion. 276 Ms. Fitzhenry-Russell made use of several promotions at Safeway
               (including club-card discounts) that ranged from $0.49 to $3.49. 277 Empirically and
               theoretically, a price premium paid (if any) associated with the Challenged Products could
               vary depending upon whether purchases were made on promotional pricing.




271
      Fitzhenry-Russell Deposition, p. 54.
272
      Margaryan Deposition, pp. 87 – 89 and 206 – 209.
273
      Fitzhenry-Russell Deposition, pp. 165 – 166.
274
      Margaryan Deposition, pp. 90 and 120.
275
    Product descriptions were obtained by cross-referencing the UPC codes obtained in Ms. Fitzhenry-Russell’s Safeway
purchases (Fitzhenry-Russell Deposition, Exhibit 25) with the UPC codes listed in the IRI data. (PL_IRI000567 AEO.xlsx,
“2” tab.)
276
      Margaryan Deposition, p. 71.   See also Margaryan Deposition, Exhibit 5.
277
      Fitzhenry-Russell Deposition, Exhibit 25.



                                                            - 100 -
           Case 5:17-cv-00564-NC              Document 248-1              Filed 10/09/18       Page 105 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                       Table 21
                           Examples Of Differences In Purchases Of The Challenged Products
                                               By The Named Plaintiffs
                  Attributes                      Mr. Margaryan                             Ms. Fitzhenry-Russell
            Sales Channel                             Vons                                 Safeway, Grocery Outlet
            Frequency of
                                     Infrequent consumption prior to 4/24/2017        Frequent consumption for 40 years
            Purchase
                                                                                           12 pack of 12-oz. cans,
                                                                                            6 pack of 8-oz. cans,
            Product Size                       8 pack of 12-oz. bottles
                                                                                         6 pack of 7.5-oz. cans, and
                                                                                                2-liter bottles
                                     Did not purchase Canada Dry Ginger Ale         Received several discounts that ranged
            Promotional Pricing
                                                under a promotion                           from $0.49 to $3.49


115.       Given the differences in consumer preferences and complexities involved in purchase decisions as

           discussed above, Plaintiffs’ proposed “constant percentage of price times dollar sales” approach

           to determine claimed damages will overcompensate some putative Class members and

           undercompensate others. Illustrative examples using the Named Plaintiffs’ purchase history are

           provided below and summarized in Table 22. (See also Exhibit 23.)

            a. Price Paid By Mr. Margaryan. Mr. Margaryan testified that he purchased an 8 pack of 12-
               oz. bottles of Canada Dry Regular Ginger Ale for $5.99. 278 Based upon the IRI data, the
               price paid by Mr. Margaryan was higher than the average prices paid by putative Class
               members for this product. (See Figure 13.) Plaintiffs’ proposed approach of applying a
               claimed price premium of 4% to prices paid would yield a price premium of $0.24 for the 8
               pack of 12-oz. bottles of Canada Dry Regular Ginger Ale purchased by Mr. Margaryan.
               However, the average price for an 8 pack of 12-oz. bottles of Canada Dry Regular Ginger Ale
               according to the IRI data during the putative Class Period was $4.29, yielding a claimed price
               premium of $0.17. 279 Under Plaintiffs’ framework, without individual inquiry, Mr.
               Margaryan would receive $0.17 even though he allegedly suffered claimed damages of $0.24.
               Thus, Plaintiffs’ “constant percentage of price times dollar sales” approach would
               undercompensate putative Class members such as Mr. Margaryan who had paid higher than
               average retail prices for the Challenged Products.

            b. Price Paid By Ms. Fitzhenry-Russell. According to the Safeway purchase history of Ms.
               Fitzhenry-Russell, she purchased a 12 pack of 12-oz. cans of Canada Dry Regular Ginger Ale
               at different prices, sometimes higher and sometimes lower than the average prices paid by
               putative Class members for this product based upon the IRI data. One of the prices she paid

278
      Margaryan Deposition, Exhibit 5.   (Receipt from a visit to Vons market on April 24, 2017.   (GM000001.))
279
      See Exhibit 23.



                                                            - 101 -
           Case 5:17-cv-00564-NC             Document 248-1              Filed 10/09/18        Page 106 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                was $2.50. 280 Plaintiffs’ proposed approach of applying a claimed price premium of 4% to
                prices paid would yield a price premium of $0.10 for a purchase of the 12 pack of 12-oz. cans
                by Ms. Fitzhenry-Russell at the $2.50 price point. However, the average price for a 12 pack
                of 12-oz. cans of Canada Dry Regular Ginger Ale according to the IRI data during the putative
                Class Period was $3.94, yielding a claimed price premium of $0.16. Thus, Plaintiffs’
                “constant percentage of price times dollar sales” approach would overcompensate putative
                Class members who had paid lower than average retail prices for the Challenged Products.

                                                     Table 22
                            Examples Of Overcompensation And Undercompensation
                  Using Plaintiffs’ “Constant Percentage Of Price Times Dollar Sales” Approach
                                                                       Mr. Margaryan             Ms. Fitzhenry-Russell
            Product Size                                            8 pack of 12-oz. bottles     12 pack of 12-oz. cans
            Claimed Price Premium Percentage                                  4%                          4%
            Claimed Damages Based Upon Actual Price Paid
            Price Paid                                                       $5.99                       $2.50
            Claimed Price Premium Based Upon Price Paid                      $0.24                       $0.10
            Claimed Damages Based Upon “Constant Percentage Of Price Times Dollar Sales” Approach
            Average Retail Price Based Upon IRI Data                         $4.29                       $3.94
            Claimed Price Premium under Plaintiffs’
            “Constant Percentage Of Price Times Dollar                       $0.17                       $0.16
            Sales” Approach
            Difference
            Overcompensation / Undercompensation
                                                                            -$0.07                       $0.06
            Amount




280
      See Table 2 and Exhibit 23.



                                                          - 102 -
       Case 5:17-cv-00564-NC         Document 248-1            Filed 10/09/18     Page 107 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                Figure 13
                    8 Pack Of 12-Oz. Bottles Of Canada Dry Regular Ginger Ale Soda
                    Compared To Price Paid By Named Plaintiff Gegham Margaryan
                                    June 23, 2014 - January 28, 2018
        $7.00

                                            $5.99: The price paid by Mr.
        $6.00                              Margaryan for this Canada Dry
                                        Ginger Ale product on April 24, 2017.
                                         From June 23, 2014 to January 28,
                                        2018, the Average Retail Price for this
        $5.00                                     product is $4.29.


        $4.00


        $3.00


        $2.00


        $1.00


        $0.00




116.   The aforementioned actual differences between the two Named Plaintiffs and relative to average

       prices in the IRI data highlight that knowing the prices paid by individual putative Class members

       (which differed greatly across Class members) is an important factor in evaluating whether (and

       to what extent) an individual Class member suffered economic harm. Without individual inquiry,

       one cannot determine the price an individual putative Class member paid for the Challenged

       Products or the extent to which an individual did or did not pay a “price premium” – rendering

       attempts to quantify damages based upon a “constant percentage of price times dollar sales”

       approach on a Class-wide basis inaccurate and unreliable. Because of the wide variations in the

       Challenged Products’ retail prices, putative Class members’ claimed damages cannot be evaluated



                                                   - 103 -
           Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18   Page 108 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           and quantified reliably on a Class-wide basis using a “constant percentage of price times dollar

           sales” approach.

XII.       DR. HASTAK FAILED TO DEMONSTRATE ANY PORTION OF THE GROWTH IN
           CHALLENGED PRODUCT SALES WAS ATTRIBUTABLE TO THE ALLEGED
           MISLEADING INTERPRETATION OF THE CHALLENGED CLAIM

117.       According to Plaintiffs’ expert Dr. Hastak, “[t]he ‘Made from Real Ginger’ claim is material and

           has significant impact on consumer behavior.” 281 Specifically, Dr. Hastak stated the following in

           his declaration:

                    In sum, KDP’s research and internal assessment indicates that the revised
                    positioning for Canada Dry consistently increased in sales over a 9-year period [i.e.,
                    2005 – 2014 282], and that this success was due, at least in part to the “Made from
                    Real Ginger” claim.”

                    Many other internal KDP documents also indicate that both consumers and KDP
                    thought the “Made from Real Ginger” claim was material to consumers’ purchasing
                    decisions and drove sales.” 283

118.       Dr. Hastak relied upon broad statements from Defendants’ marketing documents in reference to

           Canada Dry marketing, advertising, and sales volume. While these documents generally discuss

           the Defendants’ use of “real ingredients” and other marketing and advertising techniques for

           Canada Dry products, none of the documents provides evidence that the alleged misleading

           interpretation of the Challenged Claim impacted sales volumes. 284 Because Dr. Hastak solely

           relied upon the statements contained in the Defendants’ marketing documents (and did not conduct

           an independent analysis), Dr. Hastak has provided no evidence that the Challenged Claim, much



281
      Hastak Declaration, p. 28.
282
   The source document indicating “9 years of strong growth” for Canada Dry products is dated October 2014. Thus, the
“9-year period” noted by Dr. Hastak appears to be in reference to approximately the 2005 – 2014 time period. (2016 Canada
Dry Strategic Brand Plan, October 2014. (DPS_047779 – 840, at 781.))
283
      Hastak Declaration, p. 27.   (Bracketed text added for clarification.)
284
      Hastak Declaration, pp. 25 – 27.



                                                               - 104 -
          Case 5:17-cv-00564-NC              Document 248-1            Filed 10/09/18        Page 109 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

          less an alleged misleading interpretation of the Challenged Claim, materially impacted sales

          volume of the Challenged Products.

119.      Contrary to any claims made by Dr. Hastak, the documentary evidence in this matter, including

          the marketing documents cited by Dr. Hastak, indicate that the growth in sales volume of Canada

          Dry Ginger Ale (and other Canada Dry ginger ale products) is attributable, in large part, to factors

          unrelated to the introduction of the Challenged Claim.

          A. Increased Consumer Demand For Ginger Ale Products In General

120.      The evidence in this matter suggests that ginger ale products, in general, have increased in

          popularity starting prior to the introduction of the Challenged Claim and continuing on to the

          present day. As discussed earlier, Dr. Hastak cited to a marketing document that indicated the

          sales volume growth of Canada Dry products has been consistent over a “9-year period.” This

          “9-year period” actually refers to (roughly) the 2005 – 2014 time period (as the marketing

          document was dated October 2014). 285 Given the Challenged Claim was not introduced until

          2009, the observation of a consistent sales volume growth of Canada Dry products during the 2005

          – 2014 time period contradicts Dr. Hastak’s claim that the Challenged Claim “materially”

          impacted demand of the Challenged Products. Moreover, the same marketing document indicates

          that the increase in Canada Dry ginger ale product sales is, in large part, attributable to the general

          increase in consumer demand for ginger ale. 286

121.      The evidence discussed above indicates that other ginger ale products not carrying the Challenged

          Claim realized similar growth in demand as the Challenged Products since as far back as 2005.

          This is further evidenced by a comparison of year-over-year sales volume growth for Canada Dry


285
      2016 Canada Dry Strategic Brand Plan, October 2014.    (DPS_047779 – 840, at 781.)
286
      2016 Canada Dry Strategic Brand Plan, October 2014.    (DPS_047779 – 840, at 785, 793, and 797.)



                                                            - 105 -
           Case 5:17-cv-00564-NC                 Document 248-1               Filed 10/09/18           Page 110 of 551
  Supplemental Declaration of Keith R. Ugone, Ph.D.
  August 14, 2018
  _____________________________________________________________________________________________

           Ginger Ale and Schweppes Ginger Ale (which does not carry the Challenged Claim). Presented

           in Table 23 are sales volumes and year-over-year percentage changes for Canada Dry Ginger Ale

           and Schweppes Ginger Ale in California during the 2009 – 2017 time period. 287 (See also Exhibit

           24.) Based upon these data, the compound annual growth rate (“CAGR”) for Schweppes Ginger

           Ale (18.8%) is greater than Canada Dry Ginger Ale (12.8%), despite Dr. Hastak’s assertion that

           the “Made from Real Ginger” labeling claim materially impacted consumer demand for Canada

           Dry Ginger Ale.

                                                 Table 23
                              Yearly Sales Volumes And Growth In California
                     288-Oz. Cases Of Canada Dry Ginger Ale And Schweppes Ginger Ale
                                                                                                                                   CAGR
                  2009        2010        2011        2012          2013         2014        2015         2016        2017
                                                                                                                                (2009- 2017)
Canada Dry Ginger Ale
Total Sales
                2,397,366   2,797,158   3,553,900   4,217,190     4,560,805    4,955,701   5,541,304    5,924,906   6,261,928
Volume
Percentage
                     -        16.7%      27.1%       18.7%          8.1%         8.7%       11.8%         6.9%        5.7%         12.8%
Volume Growth
Schweppes Ginger Ale
Total Sales
                 164,376     210,767    344,064     309,463        293,806     352,911     396,096       568,254    650,540
Volume
Percentage
                     -        28.2%      63.2%       -10.1%         -5.1%       20.1%       12.2%        43.5%       14.5%         18.8%
Volume Growth


           B. Increased Sales Volume Is Attributable In Part To Canada Dry Marketing And
              Packaging Changes Unrelated To The Challenged Claim

  122.     It is my understanding that the Challenged Claim was introduced to the Challenged Products along

           with a complete redesign of the Canada Dry packaging and new marketing strategy that included

           national Canada Dry television commercials for the first time in recent history. In light of all the

           changes being made to the packaging and marketing of the Challenged Products, the increase in

           sales volume growth identified by Dr. Hastak cannot be attributed to the alleged misleading


  287
      The data are available back to 2008. It is my understanding that the data are bottler-reported sales, measured in 288-oz.
  equivalized case units. (See Exhibit 24.) The compound annual growth rate is calculated for the 2009 – 2017 time period,
  as the Challenged Claim was introduced in 2009.



                                                                - 106 -
           Case 5:17-cv-00564-NC              Document 248-1          Filed 10/09/18         Page 111 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           interpretation of the Challenged Claim without further analysis. In fact, a marketing document

           cited by Dr. Hastak identified numerous changes to the Canada Dry brand in 2009 (i.e.,

           reformulation, new graphics, and advertising) while noting “[t]hese items cannot be singled out

           without custom analysis.” 288        Despite clear evidence of significant other drivers of growth

           (including the increase in consumer demand for ginger ale products in general), Dr. Hastak and

           Plaintiffs have done no analysis to isolate the growth (if any) attributable to the Challenged Claim

           (and, in particular, the allegedly misleading interpretation of the Challenged Claim).

123.       Based upon the Defendants’ marketing documents, at least the following factors likely impacted

           the growth in sales volume of the Challenged Products (unrelated to the Challenged Claim) since

           2009 (in addition to the increase in consumer demand for ginger ale products in general).

            a. Canada Dry Packaging Design. In August 2008, a quantitative study concluded that the
               current packaging of Canada Dry products was “out-dated and unattractive to consumers.”289
               As a result, the Defendants initiated a complete redesign of Canada Dry packaging. 290 In
               addition to the introduction of the Challenged Claim on the label, the packaging of Canada
               Dry products underwent a complete redesign. A “2009 Strategy and Plans” presentation for
               Canada Dry products noted that a key marketing strategy was to “REFRESH our [i.e., the
               Defendants] packaging graphics for new Canada Dry messaging.” 291 The redesign, which
               was effective June 2009 (according to the presentation), included a new Canada Dry shield
               among other aesthetic changes to the packaging and labeling. A comparison of the old and
               new packaging for a 2-liter bottle of Canada Dry Ginger Ale is presented in Figure 14. As
               the figure shows, other labeling claims were added along with the Challenged Claim,
               including “100% Natural Flavors.”




288
    “Canada Dry Advertising, Graphics Refresh & Reformulation,” presentation, August – November 28, 2009.
(DPS_056738 – 755, at 739.)
289
      “Canada Dry Packaging Change Starting June 2009,” presentation, undated.   (DPS_168608 – 617, at 610.)
290
   See, for example, DPSG Presentation, “Canada Dry Packaging Change Starting June 2009,” undated.          (DPS_168608 –
617, at 610.)
291
      Canada Dry BMC Presentation, undated.    (DPS_070962 – 983, at 979.)   (Bracketed text added for clarification.)



                                                          - 107 -
          Case 5:17-cv-00564-NC           Document 248-1        Filed 10/09/18       Page 112 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                Figure 14
                      Before-And-After Comparison Of Canada Dry Ginger Ale Packaging
                                             2-Liter Bottles 292
                                                 Prior To 2009 Redesign




                                              2009 Redesign (Current Design)




           b. Canada Dry Advertisements And Merchandising. It is my understanding that part of the
              2009 Canada Dry “renovation” was an increase in advertisements and merchandising in order
              to improve consumer awareness. For example, a marketing document for Canada Dry
              indicated that the 2009 strategy included new national television advertising, new
              merchandising at the point of sale, and an updated website. 293 Based upon Defendants’
              media spend data, 2009 was the first year of national television advertisements for Canada
              Dry in recent history. 294 In 2009 and 2010 combined, the Defendants spent $12.9 million on
              Canada Dry national television advertisements (compared to $0 during the 2005 – 2008 time

292
   Canada Dry Ginger Ale 2-Liter Bottle Packaging Prior To 2009 Redesign (DPS_211502).   Current Canada Dry Ginger
Ale 2-Liter Bottle Packaging (DPS_000018.)
293
   Canada Dry BMC Presentation, undated. (DPS_070962 – 983, at 977.)    See also “Canada Dry Real Ginger Goodness
Restage,” presentation, July 2009. (DPS_102155 – 177, at 159.)
294
      Canada Dry Media Spend.   (DPS_211835_CONFIDENTIAL_CD.SCHW Media Spend – 8.6.18-v2.xlsx.)



                                                      - 108 -
           Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18        Page 113 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                period). 295 Since 2009, the annual spend on national television advertisements for Canada
                Dry has more than quadrupled. 296 It would not be surprising to see an increase in sales after
                introducing a national television campaign after years of no such national television
                advertising.

            c. Canada Dry Distribution And Availability. Defendants’ marketing documents produced in
               this matter indicate that, around the 2009 package redesign, the Defendants also were focused
               on securing key national accounts with retailers to “increase distribution, drive display
               activity, and encourage purchase frequency.” 297 One marketing document noted the
               objective was “Geographic Expansion” and to “Win From Coast to Coast.” 298 Mr. David
               Falk testified that Canada Dry was seen as a northeast brand in 2009, and part of the growth
               strategy for the brand was to build “distribution kind of systematically across the country over
               the years.” 299 Thus, the increase in Canada Dry sales in California and elsewhere across the
               U.S. since 2009 is attributable, in part, to greater availability in stores (as distribution and the
               number of carrying retailers increased for Canada Dry products).

            d. Diet Canada Dry Ginger Ale Reformulation. I understand that formula for Diet Canada Dry
               Ginger Ale was changed in 2009. According to a July 2009 marketing presentation,
               “Guidance Research conducted in Nov 2007 shows that there is opportunity to enhance Diet
               CD GA taste.” 300 As a result, a new formula for Diet Canada Dry Ginger Ale was developed
               and made effective as of July 31, 2009. 301 According to consumer testing, the new formula
               scored significantly better than the prior formula. 302 While the sales volume growth
               apportioned to this reformulation is not available, a 2009 Nielsen study of Canada Dry
               (focused on the July – November, 2009 time period) identified the reformulation as a relevant
               demand driver. 303

124.       Despite the numerous factors (unrelated to the Challenged Claim) that have contributed to the

           increased sales of the Challenged Products, Dr. Hastak relied upon sales figures that were not



295
      Canada Dry Media Spend.    (DPS_211835_CONFIDENTIAL_CD.SCHW Media Spend – 8.6.18-v2.xlsx.)
296
      Canada Dry Media Spend.    (DPS_211835_CONFIDENTIAL_CD.SCHW Media Spend – 8.6.18-v2.xlsx.)
297
    Canada Dry BMC Presentation, undated. (DPS_070962 – 983, at 977.)         See also “Canada Dry Real Ginger Goodness
Restage,” presentation, July 2009. (DPS_102155 – 177, at 159.)
298
      Canada Dry North America Brand Summit, April 28, 2010.    (DPS_056093 – 115, at 094.)
299
      Falk Deposition, p. 73.
300
      “Canada Dry Real Ginger Goodness Restage,” presentation, July 2009.   (DPS_102155 – 177, at 168.)
301
      “Canada Dry Real Ginger Goodness Restage,” presentation, July 2009.   (DPS_102155 – 177, at 168.)
302
      “Canada Dry Real Ginger Goodness Restage,” presentation, July 2009.   (DPS_102155 – 177, at 169.)
303
    “Canada Dry Advertising, Graphics Refresh & Reformulation,” presentation, August – November 28, 2009.
(DPS_056738 – 755, at 739 and 746.) For example, the concluding slide noted the following: “Further analysis to separate
advertising ROI, graphics influence and/or reformulation is a custom analytics project.”



                                                          - 109 -
           Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18      Page 114 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

           apportioned to the Challenged Claim (let alone the alleged misleading interpretation of the

           Challenged Claim).           For example, in his declaration, Dr. Hastak noted that Canada Dry

           experiences “+16.4% volume in Grocery” in 2009. 304 However, the source document indicates

           that the aforementioned growth primarily was attributable to in-store trade promotions and

           merchandising (e.g., temporary price reductions and more effective in-store displays). 305 As

           another example, in his declaration, Dr. Hastak noted that a 2011 marketing plans document

           concluded that “Canada Dry Real Ginger Goodness Program Drove TM Growth + 16% March –

           June 2010.” 306 However, the document indicates that the “Real Ginger Goodness Program”

           includes national media, merchandising at the point of sale, “Core 4 Mega Events,” national

           account activity, and Canada Dry Green Tea Ginger Ale account sampling. 307 By failing to

           apportion the sales volume growth of Canada Dry products to the Challenged Claim (much less

           the alleged misleading interpretation of the Challenged Claim), Dr. Hastak’s opinions (as

           contained in his declaration) are misleading and overstate the impact of the “Made from Real

           Ginger” labeling claim on consumer demand and sales.




304
      Hastak Declaration, p. 25.
305
    “Canada Dry Advertising, Graphics Refresh & Reformulation,” presentation, August – November 28, 2009.
(DPS_056738 – 755, at 740 and 755.) In addition, the source document identified (to a lesser degree) an increase in sales
volume attributable to “residual demand,” which includes advertising, couponing, and package design among other factors.
However, these residual demand factors were not independently evaluated. (DPS_065738 – 755, at 740 and 754.)
306
      Hastak Declaration, p. 25.
307
      Core 4 Marketing Plan For 2011.    (DPS_077054 – 177, at 130.)



                                                           - 110 -
       Case 5:17-cv-00564-NC          Document 248-1         Filed 10/09/18      Page 115 of 551
Supplemental Declaration of Keith R. Ugone, Ph.D.
August 14, 2018
_____________________________________________________________________________________________

                                                * * * * * *

125.   My analyses, observations, and opinions contained in this declaration are based upon information

       available to date. I reserve the ability to review documents, deposition transcripts, or other

       information still to be produced by the Parties to this dispute and to supplement my opinions based

       upon that review.


       I declare under the penalty of perjury under the laws of the United States that the foregoing is true
       and correct.

       Executed in Dallas, Texas on August 14, 2018.



       __________________
       Keith R. Ugone, Ph.D.
       August 14, 2018




                                                  - 111 -
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 116 of 551




                             Exhibit 1
       Case 5:17-cv-00564-NC            Document 248-1           Filed 10/09/18         Page 117 of 551


                                                           Main 1 214 523 1400   Fax 1 214 523 1401   www.analysisgroup.com
                                                                  2911 Turtle Creek Boulevard   Suite 600   Dallas, TX   75219


                                        KEITH R. UGONE, PH.D.
                                             Managing Principal
                                              Phone: (214) 523-1405
                                         keith.ugone@analysisgroup.com

        Dr. Keith R. Ugone has provided economic and damages consulting services in antitrust cases,
breach of contract cases, business interruption cases, class action certification matters, employment / loss of
earnings cases, intellectual property cases, lender liability cases, professional negligence cases, and
securities-related cases, among others. He specializes in the application of economic principles to complex
business disputes and is generally retained in cases requiring economic analyses and/or damages-related
analyses. Damage models constructed or evaluated by Dr. Ugone have had as components revenue analyses,
lost sales analyses, cost analyses, assessments of the capacity to produce additional units, assessments of
profitability, the competitive business environment in which the damages claim was being made, claimed
lost profits, claimed lost business value, and claimed reasonable royalties. During the course of Dr. Ugone’s
career, he has frequently evaluated lost profits and valuation-related damages using large databases of
information and complex computer models. Dr. Ugone also has performed economic liability analyses in
antitrust matters including defining relevant markets, assessing market power, and evaluating alleged
anticompetitive behavior. Dr. Ugone has testified at trial and in deposition over 400 times.
        Dr. Ugone has a PhD in Economics from Arizona State University, an MA in Economics from the
University of Southern California, and a BA in Economics from the University of Notre Dame. Subject
areas of expertise include microeconomics, macroeconomics, industrial organization, antitrust/regulation,
and econometrics.     He is a member of the American Economic Association, the American Statistical
Association, the National Association of Forensic Economists, and the Western Economics Association.

EDUCATION
1983            Ph.D., Economics, Arizona State University.
1979            M.A., Economics, University of Southern California.
1977            B.A., Economics, University of Notre Dame.

PROFESSIONAL EXPERIENCE
2004 - Present Analysis Group, Dallas, Texas – Managing Principal.
1985 – 2003    PricewaterhouseCoopers LLP (and legacy firms) – Partner (Principal) 1992 – 2003; Senior
               Manager 1989 – 1992; Manager 1987 – 1989; Senior Consultant 1985 – 1987. Member of
               United States Admissions Committee (2003). Chairman of PricewaterhouseCoopers
               Intellectual Property Leadership Forum (2000 – 2003).
1983 – 1985    California State University, Northridge - Assistant Professor/Lecturer in Department of
               Economics, Full-time: 1983 – 1985, Part-time: 1986 – 1992.
1979 – 1983    Arizona State University - Faculty Associate/Teaching Assistant in Department of
               Economics.
1977 – 1979    Jet Propulsion Laboratory - Economic/Energy Analyst.
     Case 5:17-cv-00564-NC             Document 248-1          Filed 10/09/18       Page 118 of 551
                                                                                         Keith R. Ugone, page 2

PROFESSIONAL AND BUSINESS AFFILIATIONS
American Economic Association
American Statistical Association
National Association of Forensic Economists
Western Economics Association

SELECTED LITIGATION CONSULTING EXPERIENCE (by Nature of Suit)
Securities: 10b-5 / Section 11 Cases
   Evaluated the economic damages being asserted by shareholders and debt holders of a bankrupt energy
    trading company against a brokerage firm. Plaintiffs alleged the brokerage firm recommended the stock
    and debt securities associated with the company even though it knew or should have known the
    deteriorating pre-bankruptcy financial condition of the company. Analyzed the trading patterns of the
    brokerage account customers and the stock price movements of the company upon issuance of analyst
    reports, and researched confounding events contributing to investors’ trading of the securities-in-
    question. Demonstrated an economic causal link did not exist between the alleged wrongful conduct and
    the claimed trading patterns. Also evaluated the event study conducted by Plaintiffs’ damages expert and
    the claimed inflation component embedded in the company’s stock price. Demonstrated Plaintiffs’
    damages expert failed to remove the economic impact of confounding events. Performed an alternative
    damages evaluation.
   Evaluated shareholder and debt holder claimed damages against a major accounting firm relating to the
    issuance of allegedly false and misleading financial statements that did not identify certain assets of a
    communications company as impaired. Researched industry reports and analyst reports regarding the
    company’s common stock and debt securities, evaluated an event study conducted by Plaintiff’s damages
    expert, analyzed loss causation in accordance with Dura, studied the company’s stock price movements
    before and during the claimed class period, and analyzed the company’s stock price movement on the
    day of the alleged corrective disclosure. Demonstrated Plaintiffs’ event study did not appropriately
    isolate the stock price movement associated solely with the alleged corrective disclosure as confounding
    events were not removed from the analysis. Performed an alternative damages calculation.
   Evaluated Plaintiffs’ damages claim in a shareholder suit relating to the manufacturer of decoding
    equipment used in the wireless cable industry. Analysis demonstrated Plaintiffs’ financial expert did not
    consider market speculation related to the wireless cable industry or Defendant’s higher-than-expected
    earnings when calculating claimed damages. Additional errors included aggregating into claimed
    damages stock price increases unrelated to Plaintiffs’ allegations and on “no announcement days”.
   Evaluated damages claim against a major investment banking/underwriting firm relating to an aborted
    initial public offering in the temporary staffing industry. Analysis demonstrated methodological and
    conceptual errors in Plaintiff’s econometrically-based claim that the projected post-IPO stock price of the
    company justified proceeding with the IPO. Also evaluated various components of Plaintiff’s damages
    claim, including the profitability of Plaintiff’s business, projected use of funds raised, ownership
    percentages in the company, and the funds that would have inured to the original owners of the company.
   Evaluated Plaintiffs’ damages claim in a shareholder suit involving an international airline carrier. At
    issue were alleged misrepresentations concerning the airline’s ability to reduce its maintenance costs.
    Demonstrated that the fifty percent decline in the company’s stock price over a one-month period was for
    reasons unrelated to corrective disclosures concerning maintenance costs. Also reconstructed Plaintiffs’
    trading history, comparing the trading pattern to public announcements concerning the airline, and
    demonstrating a trading pattern inconsistent with Plaintiffs’ theory of reliance on the alleged
    misrepresentations.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18       Page 119 of 551
                                                                                          Keith R. Ugone, page 3

   General Overview. Performed an “event study” and/or evaluated claimed damages in various securities
    litigation cases involving firms in industries such as: airlines, biotechnology, computer software,
    commodities, banking, real estate development, life insurance, entertainment, communications, energy
    trading, investment banking, computer printers, health care, medical equipment, hotels, non-traditional
    automotive insurance, information technology services, workmen’s compensation insurance, computer
    hardware, camera and photo finishing, intelligent disk drives, market research, trucking, temporary
    staffing, real estate investment trusts, computer networking, specialty stores, skilled nursing facilities,
    wireless cable encoding devices, the provision of software computer services to insurance companies,
    and the provision of professional services to power plants and large scale industrial facilities. Analyses
    included development of an appropriate peer group and isolation of economy-wide, industry-specific,
    and company-specific factors impacting the particular firm’s stock price. Company-specific events often
    included unfavorable news announcements unrelated to the alleged misrepresentations and the ending of
    potential takeover bids. Also involved was a comparison of the firm’s actual stock price to its “true
    value” line, the construction of a matrix to track ins-and-outs traders and retention shareholders, and an
    evaluation of damages under Section 10b-5 and Section 11 claims.
Securities: Merger/Takeover Related Cases
   Evaluated claimed damages against a major accounting firm by a transportation company that acquired
    another transportation company in alleged reliance upon the audited financial statements of the acquired
    company and its Mexican subsidiary. Plaintiff wrote down its investment in the Mexican subsidiary after
    the acquisition and based its damages claim on a subsequent decline in its stock price. Analyses included
    researching competing transportation companies, considerations associated with consummating the
    merger, analyst reports regarding the merger announcement and the investment write-down
    announcement, and earnings announcements from comparable companies. Demonstrated Plaintiff’s
    damages expert did not establish an economic causal link between the alleged wrongful conduct of the
    Defendant and the claimed economic damages suffered by the Plaintiff and that confounding events were
    not taken into account appropriately.
   Evaluated Plaintiffs’ damages claim relating to a merger in the banking industry. At issue was whether
    material adverse changes regarding loan loss reserves had occurred but were not disclosed. Analyzed
    whether the complained of events were related to conditions and circumstances in the banking industry.
    Also analyzed the value of alternative offers for the target bank and the pre-merger volatility in the
    acquiring bank’s stock price.
   Evaluated Plaintiffs’ claimed damages in a breach of contract matter involving the aborted sale of
    assisted living facilities. Analyzed current trends in the assisted living industry, the financial condition
    of the target company, the projected financial results of certain to-be-constructed properties, and the
    target company’s performance relative to projections. Also at issue was whether a material adverse
    change had occurred in the target company’s operations and business. Lost profit damages, interest-
    related damages, lost contract fees, and diminution-in-value damages were evaluated.
   Evaluated Plaintiffs’ damages claim in a merger/acquisition-for-stock litigation in the information
    technology services industry. At issue was whether material adverse changes had occurred in the
    business condition of the acquiring company prior to the closing of the merger. Damages issues included
    investigating the nature of the agreed upon warranties and representations contained in the merger
    agreement, the stock price performance of similarly-situated firms, the length of the alleged damages
    period, the appropriate length of certain event windows, industry downturns, and the failure to account
    for the proper mitigation of damages.
   Analyzed a major entertainment company’s stock price movement to determine the takeover premium
    paid by an acquiring company. Involved was quantifying the impact of takeover rumors prior to the
    takeover announcement to isolate that portion of the company’s pre-acquisition increase in stock price
    due to takeover speculation as opposed to general industry trends.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18        Page 120 of 551
                                                                                          Keith R. Ugone, page 4

   Served as financial advisor to a Special Litigation Committee (“SLC”) investigating a shareholder
    approved merger vote in the telecommunications industry. The merger was not consummated, but the
    vote triggered the acceleration of vesting of options owned by the officers and directors of the target
    company. Assisted the SLC in analyzing the acceleration of options and various alternative settlement
    strategies.
Securities/Commodities: Other Cases
   Evaluated Plaintiff’s claimed lost enterprise value damages relating to Defendants’ allegedly fraudulent
    conduct resulting in an artificial acceleration of income, restatement of income, and ultimate bankruptcy
    of a food distribution company. Analyses included isolating the dollar magnitude of the alleged artificial
    acceleration of income allegedly created by Defendant’s actions compared to other artificial accelerations
    of income, an assessment of alternative reasons for Plaintiff’s business decline and ultimate bankruptcy,
    and evaluation of Plaintiff’s valuation approaches.
   Evaluated the spot price of a base metal in a major commodities-related market manipulation matter.
    Developed an econometric model to explain the spot price movements of the base metal in an un-
    impacted period. Used the econometric model to evaluate what the spot price of the base metal would
    have been in the absence of the alleged manipulation.
   Calculated short-swing trading profits under Section 16(b) of the Securities Exchange Act of 1934
    relating to the stock trading activities of an officer of a long distance telecommunications company.
    Issues analyzed included allocating stock purchases to stock sales of differing numbers of shares and
    accounting for a 3-for-1 reverse stock split during the period under consideration.
   Evaluated damages in an alleged lack of suitability, lack of supervision, and failure to execute matter in
    the securities industry. At issue was an investment strategy of selling short the same stock in which a
    restricted long position was also held. Demonstrated errors in Plaintiff’s damages claim, including the
    failure to recognize that the financial objectives stated at the time of the development of the investment
    strategy were in fact met.
   Evaluated the stock price performance of a major distiller over a forty-year period. At issue was whether
    a portion of the increase in the stock price could be attributed to the efforts of one senior official in the
    corporation. Company-specific, industry-specific, and economy-wide factors were investigated to
    determine the reasons for the stock price performance of the distilling company.
Antitrust: Monopolization/Attempted Monopolization Cases
   Evaluated claimed antitrust damages asserted by a major airline company against a global distribution
    system (“GDS”) operator for alleged anticompetitive behavior relating to the provision of booking
    services to travel agencies. Evaluated Plaintiff’s claimed damages relating to claimed lost profits
    resulting from the Defendant’s alleged actions to impede the rollout of a competing technology for
    booking services, contractual restrictions allegedly preventing the airline from offering targeted discounts
    to price-sensitive customers, allegedly imposing retaliatory booking fee increases, and allegedly biasing
    fare search results displayed to travel agencies.
   Analyzed Plaintiff’s allegations that Defendant monopolized or attempted to monopolize the market for
    magnetic brakes for amusement park rides. Evaluated Plaintiff’s assessment of the relevant product
    market, allegations of market power, and the impact of Defendant’s alleged anti-competitive conduct.
    Also evaluated claimed damages, including assumptions underlying Plaintiff’s claimed damages model
    and economic causal connection between the alleged wrongful conduct and claimed losses. Determined
    that Plaintiff’s expert failed to account for alternative explanations for Plaintiff’s claimed losses. Also
    demonstrated that Plaintiff’s expert made inappropriate assumptions regarding growth in the claimed
    relevant product market and whether Plaintiff was damaged in perpetuity.
     Case 5:17-cv-00564-NC            Document 248-1          Filed 10/09/18       Page 121 of 551
                                                                                        Keith R. Ugone, page 5

   Evaluated Plaintiff’s economic liability arguments in an antitrust matter relating to a restriction on the
    registration of cloned American Quarter Horses with the American Quarter Horse Association.
    Evaluated Plaintiff’s expert’s theoretical economic model. Demonstrated that there was no economic
    harm to the market as a result of the at-issue registration restriction. Also identified numerous flaws in
    Plaintiff’s expert’s assumptions regarding the supply and demand of high quality American Quarter
    horses (including excess breeding capacity). Evaluated Plaintiff’s damages claim relating to lost sales of
    cloned American Quarter horses and lost breeding opportunities.
   Evaluated the claimed anticompetitive impact of an alleged conspiracy by a major oil and gas exploration
    company to monopolize the market for Helicopter Underwater Egress Training (“HUET”). Evaluated the
    relevant product and geographic markets and the alleged market power of the Defendant. Demonstrated
    that the Defendant lacked the market power necessary to monopolize the relevant market. Also
    demonstrated the flaws in Plaintiffs’ damages claim, including but not limited to, loss of Plaintiffs’
    market share for reasons other than the alleged anticompetitive acts (e.g., self-imposed price increases
    and the loss of a large customer unrelated to the alleged wrongful conduct), failure to take into account
    the general economic downturn in the U.S. economy during the relevant period, the use of an
    inappropriate discount rate for quantifying claimed future damages, and the use of an inappropriate
    assumption relating to future claimed market shares in the absence of the alleged wrongful conduct.
   Evaluated the competitive impact of certain covenants not to compete associated with restricted stock
    unit awards issued to operations management employees by a major dairy processor. Evaluated the
    relevant product and geographic markets. Concluded that the covenants not to compete were overly
    broad and restrictive, outweighing any precompetitive benefits associated with the covenants. Concluded
    that the covenants did not contain reasonable limitations as to time frame and scope of activity. The
    covenants effectively restricted competition and raised rivals’ costs in the relevant market.
   Evaluated Plaintiff’s damages claim associated with the assertion that certain freight forwarders engaged
    in bid rigging, price fixing, group boycott, and illegal tying arrangements in a traffic channel for
    transporting military household goods. Demonstrated the flaws in Plaintiff’s damages claim, including
    but not limited to, declines in revenues and profits prior to the alleged conspiracy period, alternative
    reasons for the Plaintiff’s poor performance during the claimed damages period (e.g., the closing of
    military bases and increased competition in one leg of the channel), and the use of an inappropriate
    benchmark period for quantifying claimed damages.
   Evaluated the anticompetitive impact of an alleged conspiracy between a distributor and manufacturer
    whereby the manufacturer refused to ship certain aftermarket automotive exhaust systems and catalytic
    converters to a competing distributor in Washington and Oregon. Analyses included evaluating the
    relevant product and geographic markets for aftermarket automotive exhaust products and the damages
    suffered by the competing distributor. Also evaluated the competing distributor’s direct and indirect
    price discrimination claims (including differential discounts in areas where shipments did occur) and
    associated claimed damages.
   Analyzed various monopolization allegations in an antitrust counterclaim to a patent infringement matter
    in the home lighting control systems industry. Analyzed the trade practices of the home lighting control
    system manufacturers (e.g., sales channels, advertising and promotion, etc.), product and geographical
    markets, and the potential substitutes to the products at issue. Analyses demonstrated counterclaim
    Defendant did not possess the ability to monopolize the relevant market for home lighting control
    products given the channels through which manufacturers made sales and the availability of close
    substitute products.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 122 of 551
                                                                                            Keith R. Ugone, page 6

   Evaluated Plaintiff’s economic liability arguments in an antitrust counterclaim relating to a supply
    agreement for an ingredient (i.e., larch arabinogalactan) contained in certain patented dietary and
    nutritional supplements for the promotion and maintenance of good health. Concluded that (a) the sales
    agreement in question did not constitute an unreasonable restraint on trade, (b) the Defendant did not
    possess monopoly power, and (c) the Defendant did not engaged in anticompetitive behavior in any
    properly defined relevant market. Observed that the prices of dietary supplements containing
    arabinogalactan did not increase since the signing of the sales agreement, the output of dietary
    supplements containing arabinogalactan did not decline since the signing of the sales agreement, (c) the
    capacity to produce additional arabinogalactan had been increasing, and (d) Plaintiff did not face a
    dangerous probability of being harmed by the supply agreement.
   Evaluated claimed antitrust damages asserted by the holder of certain common packet channel (“CPCH”)
    technology patents against a group of handheld mobile device hardware and infrastructure manufacturers
    for an alleged conspiracy to deprive the patent holder of the value of its patented technology in the third
    generation partnership project (“3GPP”). The patent holder’s technology had been removed as an
    optional standard. Damages-related analyses included conducting a Georgia-Pacific analysis and
    analyzing the licenses identified by Plaintiff’s expert as comparable to the patents at issue. Also
    determined that Plaintiff’s expert had not established an economic causal link between the alleged
    wrongful conduct and the damages being claimed.
   Evaluated the claimed anticompetitive activities of Defendant hospital’s alleged exclusionary
    arrangements and practices relating to managed care contracts. Evaluated the relevant antitrust markets
    (product and geographic) for primary care services provided by physicians to managed care-covered
    patients in Smith County, Texas. Also evaluated the volume of commerce impacted by the claimed
    exclusionary practices and the impact of these claimed exclusionary practices on competition in the
    relevant markets. In addition, evaluated the economic damages suffered by the Plaintiff hospital as a
    result of Defendant’s alleged anticompetitive activities.
   Evaluated Plaintiff’s claim of antitrust injury in the markets for orthodontic brackets and orthodontic
    services allegedly due to the advertising guidelines promulgated by a national orthodontic trade
    association. Analysis demonstrated the advertising guidelines were efficiency enhancing (by lowering
    consumer search costs), promoted competition, and did not stifle innovation in the relevant markets.
    Also empirically demonstrated that legitimate advertising through a variety of media was not impacted by
    the advertising guidelines.
   Evaluated distributors’ claims of past lost profits, future lost profits, and reductions in franchise values in
    a carbonated soft drink antitrust litigation. Defendants allegedly entered into a series of anti-competitive
    marketing agreements with retailers relative to the promotion and sale of national brand carbonated
    beverages. Analysis demonstrated Plaintiffs’ expert did not take into account the brand composition of
    Plaintiffs’ case sales, underestimated variable costs of distribution, did not adjust for increased
    competition from private-label brands and other drinks, and failed to account for the lack of advertising
    and other promotional support from the distributors’ parent company.
   Analyzed the impact of a proposed merger of two insurance companies on the long term care and
    medicare supplement insurance markets in the state of Oklahoma. Evaluated whether the merger would
    substantially lessen competition or have a tendency to create a monopoly. Evaluated the number of
    competitors, the reasonable interchangeability of the insurance products offered, insurance company
    sizes, ease of entry, the impact of regulation, and the ability of consumers to acquire price information in
    a low-cost manner.
   Analyzed the alleged anticompetitive impact of an exclusive provider arrangement between a hospital
    and a group of anesthesiologists on the market for anesthesia services. Analyses included determining
    inpatient services market shares, anesthesia procedures market shares, and recent entry into the hospital
    service area. Also evaluated the damages claims being alleged by a group of Certified Registered Nurse
    Anesthetists.
     Case 5:17-cv-00564-NC             Document 248-1          Filed 10/09/18       Page 123 of 551
                                                                                         Keith R. Ugone, page 7

   Conducted an economic analysis in a vertical non-price (advertising) restraint antitrust case dealing with
    tennis ball throwing machines. Analysis demonstrated the pro-competitive nature of the advertising
    restraint and that the termination of a non-complying dealer did not substantially reduce competition in
    the relevant market.
   General Overview. Provided economic analyses and developed damages models and/or critiqued the
    opposition’s damages models in various antitrust cases involving the following industries and/or markets:
    anesthesia services, printed circuit boards, nutritional supplements, carbonated soft drinks, aftermarket
    automotive exhaust systems, telecommunications switching equipment, dairy processing, radio control
    model airplanes, local area networks, entertainment lighting, integrated casino bonusing software, home
    lighting control systems, medicare supplement/long term care insurance, commercial air conditioning
    units, disposable dust/mist respirators, immunodiagnostic tests, in-patient hospital services and managed
    care contracts, PBX systems, military freight forwarding, underground storage tanks, long distance
    telephone lines, tennis ball throwing machines, check processing readers/sorters, local television
    advertising, personal watercraft, automobile refinishing paint, Christian music, subsea horizontal
    extraction wells, orthodontic braces, DRAM microcomputer chips, women’s designer clothes, single
    point of contact telecommunication services, non-prescription reading glasses, and the provision of
    temporary electrical services to convention centers. Damages models were constructed or critiqued that
    involved lost sales analyses, incremental cost analyses, and assessments of capacity increases. Also
    investigated were economic forces external to the company that may have impacted the company’s
    performance. Economic analyses included defining the relevant market, assessing the presence or
    absence of market power, evaluating whether a business activity was pro-competitive or anti-competitive,
    and/or evaluating the level of competition in a particular market.
Antitrust: Price Fixing Cases
   Evaluated Plaintiffs’ claimed damages relating to allegations of an industry-wide price fixing conspiracy
    among the defendant manufacturers of polyether polyol products. At issue were the alleged overcharges
    relating to sales of TDI, MDI, and polyether polyols during the alleged conspiracy period. Analyses
    included evaluating Direct Action Plaintiffs’ and Class Plaintiffs’ econometric pricing models which
    purported to show alleged overcharges (and the unreasonableness of the claimed overcharges in light of
    existing profitability levels). Also assessed indicators of competition in the relevant market, including
    evidence of supplier switching by Plaintiffs, changes in defendants’ market shares, and pricing patterns
    of the at-issue products.
   Evaluated allegations of price-fixing among freight companies relating to bids to ship the household
    goods of U.S. Armed Forces’ members and civilian employees of the U.S. Department of Defense
    between Germany and the U.S. Analyses included an investigation of the efficiency-enhancing
    economic benefits provided by the at-issue “landed rate” pricing system. Also evaluated Plaintiff’s
    claimed damages allegedly associated with elevated rates and alternative factors contributing to claimed
    elevated rates unrelated to claimed conspiracy. Evaluated Plaintiff’s econometric model used to
    purportedly identify claimed overcharges.
Antitrust: Predatory Pricing/Price Discrimination Cases
   Evaluated differences in prices paid by a plaintiff distributor relative to those paid by a competitor in a
    price discrimination case involving the distribution of aftermarket exhaust systems. Analyses included an
    evaluation of the relevant product and geographic market for the at-issue products as well as damages
    caused by the alleged anticompetitive behavior.
   Evaluated the relevant product and geographic markets and impact on competition in a price
    discrimination case involving a manufacturer of lighting products and the prices charged to various
    distributors. Analyses included an investigation of the primary-line market (i.e., competition among
    manufacturers of lighting products) and the secondary-line market (i.e., competition among distributors).
    The impact on competition among the distributors of lighting products was investigated (and whether a
    substantial lessening of competition occurred) given the pricing policies of the manufacturer.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 124 of 551
                                                                                           Keith R. Ugone, page 8

   Reviewed the newly proposed pricing structure of a major magazine distributor to identify the efficiency
    enhancing attributes of the proposed pricing structure as well as potential discriminatory effects. The
    proposed pricing structure was a major change from industry practices and included per copy distribution
    fees and excess return fees.
   Evaluated the economic and damages-related claims made in a major price discrimination case in the
    pharmaceutical industry. At issue were the additional sales and profits that would have been made by
    grocery drug stores and retail drug chains in the absence of the alleged price discrimination.
   Conducted various industry and firm-specific analyses in a major wholesale bread predatory pricing case.
    Bread industry studies included analyses of industry profitability rates, the changing size distribution of
    firms in the industry, and general trends in wholesale bread prices. Firm-specific studies included
    analyses of advertising rates, “cripple” (i.e., reject) rates, and “stale” (i.e., return) rates. Also involved
    was a critique of Plaintiff’s calculation of Defendant’s average variable cost of producing and
    distributing a loaf of bread.
   Calculated the average cost of servicing a three-yard bin of trash in a solid waste disposal predatory
    pricing case. Also included was an analysis of number of routes and bin pickups per route.
Antitrust: Tying Cases
   Evaluated certain economic and damages claims made by a local television station against a television
    program syndicator. At issue was an alleged unlawful tying arrangement relating to the claimed
    requirement to license Becker in order to license Judge Judy and Judge Joe Brown. Demonstrated the
    syndicator did not possess market power in a properly defined market since substitution existed between
    different genre of television programs, between different syndicators, between different demographic
    groups, and between different types of syndicated programming (i.e., first-run, off-network, and
    evergreen programming). Also demonstrated that the pricing patterns of the syndicator were inconsistent
    with the antitrust claims being made.
   Evaluated an unlawful tying claim brought by a pizza franchisee against its franchisor. Franchisees were
    required to purchase equipment and supplies from an approved supplier owned by the pizza franchisor.
    Plaintiff alleged the claimed unlawful tying arrangement was enforced through threats of termination of
    the franchise agreement. Demonstrated that the pizza franchisor did not possess market power in the
    consumer market for pizza, in the provision of equipment and supplies to franchisees, or in the market
    for pizza franchises. Also demonstrated the economic justifications for the requirement (i.e., maintaining
    quality standards, uniformity of operations, and protection of brand name).
   Critiqued Plaintiff’s damage model in an alleged tying case dealing with automotive CAD/CAM design
    software (the “tying” good) and mainframe timesharing (the “tied” good). At issue was the total size of
    the market, the likelihood of entry, and the market share of the Plaintiff in the absence of the alleged tie.
    Also investigated was the likelihood that design vendors would place the software on their own
    mainframes rather than timeshare.
   Analyzed the fast food point-of-sale (“POS”) equipment and software industry in an alleged tying case.
    Demonstrated that a particular POS product was not a relevant market based on the reasonable
    interchangeability of various brands of fast food POS equipment from the perspective of the consumer
    (fast food restaurants). Also analyzed the degree of price competition, non-price competition, ease of
    entry, and relative market shares of fast food POS equipment manufacturers.
Business Interruption/Interference Cases
   Evaluated Plaintiffs’ claimed damages in a tortious interference, business disparagement, and breach of
    contract matter dealing with the licensing of testing equipment in the petrochemical piping inspection
    industry. Demonstrated Plaintiff’s expert committed errors relating to the duration of the contracts in
    dispute, system license fees, cost of replacement systems, pricing of services, utilization of the test
    systems, and mitigation of future damages.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18        Page 125 of 551
                                                                                          Keith R. Ugone, page 9

   Evaluated Plaintiff’s claimed damages from a lost bid to retrofit a refinery in Pakistan. Analyzed
    Plaintiff’s allegations that Defendants made untrue statements to the bid evaluation team concerning
    Plaintiff’s net worth, working capital, and profitability trends. Evaluated Plaintiff’s claimed damages
    using as a benchmark prior engineering projects completed by Plaintiff.
   Calculated damages suffered by the owner of numerous mobile home parks due to the actions of a
    Defendant in a case involving alleged intentional interference with contractual relations. Involved was
    an analysis of occupancy rates, a projection of park revenues in the absence of the alleged interference,
    and an analysis of mobile home park incremental profitability rates.
   Evaluated the damages sustained by a cosmetic company as a result of defective decorated glass
    containers being furnished for its new therapy products. Evaluated and/or verified product retrieval
    costs, retrieval program administration costs, customer goodwill replacement gift costs, waste disposal
    costs, and lost profits on the therapy products. The lost profits analysis included assessing the life cycle
    sales pattern of new cosmetic products introduced by the company.
   Evaluated damages relating to the introduction of a new popcorn product line in a business interruption
    dispute. The introduction of the new popcorn product line was aborted due to defective containers.
    Analyses undertaken included determining the cost of popcorn, the cost of popcorn bags, freight costs, as
    well as the projected revenues associated with popcorn sales. An assessment was also made of the
    supermarket outlets and territories in which the popcorn would have been sold.
   Evaluated Plaintiffs’ damages claim relating to the installation of an allegedly defective computer
    software system at an automobile dealership. Plaintiffs contended the software had defects adversely
    affecting the accounting system and day-to-day operations of the dealership, and submitted an “increased
    cost” damages claim. Analysis demonstrated Plaintiffs’ expert used an inappropriate methodology for
    measuring damages and submitted cost increases unrelated to the allegedly defective software.
   Other Matters. Provided deposition questions, economic analyses, and a critique of opposing
    economists’ damage models in various business interruption cases resulting from (e.g.) fires, “lockouts”,
    electrical outages, defective products, and/or injuries to key personnel. Businesses evaluated included a
    workout facility (gym), a pediatric practice, a balloon manufacturing plant, a radiology practice, and a
    packaging machine manufacturer.
Intellectual Property: Patent Infringement and Patent-Related Cases
   Evaluated the claimed royalty damages the owners of a patent related to the processing of documents
    with arbitrary XML elements were asserting against a major software manufacturer for allegedly
    incorporating the patented technology into its software applications. Based upon an evaluation of the
    historical financial performance of the Plaintiffs before and after the time of the hypothetical negotiation,
    market demand for and supply of products similar to the allegedly embodying products, the respective
    economic contributions of the Parties to the successful commercialization of the accused products, and
    the Georgia-Pacific factors, opined to an alternative royalty damages estimate. Also evaluated the four
    factors outlined in eBay Inc. v. Mercexchange L.L.C. and opined that based upon economic
    considerations an injunction against the accused products was not warranted.
   Analyzed Plaintiff’s lost profits and reasonable royalty damages in two separate patent infringement
    matters relating to scanning, counting, and counterfeit detection technologies in currency discriminators.
    In both matters, analyzed the Panduit and Georgia-Pacific factors, constructed a hypothetical negotiation
    framework, conducted market and industry research, and compiled an accused product sales database.
    With respect to Plaintiff’s lost profits-related damages, performed incremental profit analyses on lost unit
    sales and ancillary sales. Evaluated Plaintiff’s reasonable royalty-related damages taking into account
    the economics associated with currency discriminator sales. Evaluated damages under a variety of
    scenarios based upon potential findings of infringement on patents and claims contained in these patents.
     Case 5:17-cv-00564-NC             Document 248-1          Filed 10/09/18       Page 126 of 551
                                                                                        Keith R. Ugone, page 10

   Evaluated the claimed damages of a foam ear sleeve manufacturer who brought suit against a high-
    performance professional and personal audio earphone manufacturer alleging patent infringement
    relating to ear pieces having disposable compressible polymeric foam sleeves. Evaluated Plaintiff
    claimed royalty damages using market and industry data, a Georgia-Pacific factor analysis, and the
    changing licensing policies of the patent holder over time. Provided an alternative royalty damages
    analysis. Also analyzed from an economic perspective Defendant’s countersuit of alleged patent misuse.
    Reviewed the patent holder’s licensing strategy and certain provisions contained in the licenses into
    which the patent holder entered. Analyses demonstrated the patent holder’s licensing strategy and the
    provisions contained in its licenses were consistent with the allegation of patent misuse.
   Evaluated Plaintiffs’ claimed royalty damages in two separate patent infringement matters relating to
    video game controllers. The first matter related to six degrees of freedom video controller technology;
    the second matter related to controller-to-processor voltage technology. In both matters, conducted
    market and industry research, performed a Georgia-Pacific analysis, and evaluated company-specific
    and controller-related licenses. Also evaluated the key drivers of Defendant’s sales including its brand
    name, innovative products and games, and installed base of gaming console owners. Provided an
    alternative royalty damages figure.
   Evaluated Plaintiff’s lost profits and price erosion damages in a patent infringement matter relating to a
    method for delivering internet content from a network of content delivery network (“CDN”) servers.
    The suit was brought by a CDN services provider. Evaluated Plaintiff’s lost profits-related damages
    using market share data, adjusting for customer and market segment differences and the likelihood of
    supplemental sales. Evaluated Plaintiff’s price erosion-related damages for selected customers for whom
    Plaintiff was required to lower rates and/or renegotiate contracts based upon the alleged unlawful
    competition of the Defendant.
   Analyzed Plaintiff’s lost profits and reasonable royalty damages in two separate patent infringement
    matters relating to status feedback in home lighting control systems. Performed analyses on a large
    database of invoices relating to sales of the accused products, analyzed end-user surveys, and identified
    ancillary sales based upon consumer purchasing patterns. Conducted Panduit and Georgia-Pacific
    analyses. Calculated Plaintiff’s lost sales based upon market share data reflected in industry surveys.
    Calculated Plaintiff’s royalty damages based upon comparable license analyses.
   In a patent infringement matter relating to the air interface protocol of UMTS/WCDMA cellular phone
    technology, evaluated whether the Plaintiff had offered Defendant a license to the patents-in-suit on fair,
    reasonable, and non-discriminatory (“FRAND”) terms (as required by the European
    Telecommunications Standards Institute’s intellectual property rights policy). Analyzed the economic
    benefits associated with patents, the economic benefits associated with standard setting organizations,
    and the economic evidence related to the FRAND principles. Concluded that none of Plaintiff’s
    licensing offers comported with FRAND principles.
   Evaluated Plaintiff’s claimed lost profits in a patent infringement suit against a medical device
    manufacturer producing trocars with floating septum seals. Analyzed market data relating to trocar
    products, competitors, and market share information. Also analyzed hospital data with respect to product
    use and conversion between different manufacturers. Demonstrated that Plaintiff had not demonstrated
    Defendant would have lost sales and Plaintiff would have gained sales in the absence of the alleged
    infringement. Concluded a claim for lost profits was not warranted.
   Evaluated Plaintiff’s claimed royalty damages asserted against a major software manufacturer in a patent
    infringement matter relating to a pre-fetch concept allowing for the faster loading of operating systems
    and software applications. Analyzed the financial performance of the patent holder at the time of the
    hypothetical negotiation, the drivers of demand for the products allegedly embodying the patent-in-suit,
    the Parties’ respective contributions to the successful commercialization of the accused products, the
    Parties patent licensing approaches, and the relevant Georgia-Pacific factors. Opined to an alternative
    royalty damages estimate.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18       Page 127 of 551
                                                                                        Keith R. Ugone, page 11

   Evaluated the joint venture lost profits and reasonable royalty damages in a patent infringement suit
    brought by a natural gas producer against an energy producer relating to a system for producing natural
    gas from unconventional reservoirs. Constructed an economic model incorporating complex technical
    and economic relationships to determine the value of the natural gas likely to be captured from the
    reservoirs in question. Conducted a Panduit factor and a Georgia-Pacific factor analysis.
   Evaluated claimed royalty damages in a patent infringement suit against a nutritional supplement
    manufacturer and distributor for the alleged infringement of two patents relating to hydrosoluble organic
    salts and certain compositions and methods for enhancing muscle performance and recovery from fatigue
    in humans. Concluded Plaintiff’s expert inappropriately constructed the hypothetical negotiation
    framework, failed to consider non-infringing alternative compositions, and overstated the claimed
    reasonable royalty rate in light of licensing evidence.
   Evaluated claimed damages in a patent infringement matter relating to course management system
    (“CSM”) products and services using the Internet to facilitate the interaction of students and instructors.
    Conducted a Panduit and a Georgia-Pacific factor analysis. Calculated lost profits and reasonable
    royalty damages. Also analyzed Plaintiff’s business model and revenue types, Defendant’s infringing
    sales based upon customer licensing agreements and contracts, Plaintiff’s prior relationship with
    Defendant’s customers, and Plaintiff’s incremental profitability.
   Evaluated Plaintiff’s royalty damages claim in a suit brought by a patent holding company against a
    major software manufacturer relating to certain pivot table functionalities in software. Opined to an
    alternative royalty damages figure based upon an analysis of the Georgia-Pacific factors, the demand for
    the products allegedly embodying the patent-in-suit, the failed licensing attempts by the former owners
    of the patent-in-suit, and the relative contributions of the Parties to the commercialization of the accused
    products.
   Evaluated the royalty damages allegedly suffered by a patent holder against a major internet services
    provider relating to a method for streaming media over the internet (which facilitated the transmission of
    real-time, high-quality audio information over a communications network to multiple users
    simultaneously). Demonstrated that the patent holder’s economic expert overstated the claimed
    reasonable royalty rate, overstated the claimed royalty base, and reached conclusions that failed
    numerous reliability tests. Also demonstrated that the patent holder’s economic expert failed to properly
    recognize the economics associated with internet radio, leading to an incorrect conclusion as to the
    proper royalty base that would have been agreed upon at the hypothetical negotiation.
   Evaluated claimed damages in a patent infringement matter filed by an operator of a web-based market
    place against a competing company relating to the submission of automobile purchase requests over the
    internet. Analyzed market and industry data relating to Plaintiff’s line of business, Plaintiff’s and
    Defendant’s financial performance, and Plaintiff’s and Defendant’s respective market shares. Estimated
    Plaintiff’s lost profits damages.
   Evaluated claimed reasonable royalty damages in a patent infringement matter involving 5 defendants
    relating to congestion management in ATM networks. Analysis included an assessment of sales of ATM
    network products allegedly containing the patented feature, an analysis of the price of the integrated
    circuits embodying the accused functionality relative to the price of the entire ATM product, and a
    review of industry license agreements. Provided alternative reasonable royalty damages based upon the
    Georgia-Pacific factors in addition to a determining the important negotiating points in a hypothetical
    licensor / licensee negotiation.
   Evaluated claimed reasonable royalty damages in a patent infringement matter relating to implantable
    rate responsive pacemakers and implantable cardioverter devices (“ICDs”). Analysis included an
    assessment of alleged infringing sales of pacemakers and ICDs, a review of license agreements, and an
    analysis of the defendant’s cost savings associated with the allegedly infringing technology as compared
    to its next best alternative. Determined reasonable royalty damages based upon the Georgia-Pacific
    factors, and the important negotiating points in a hypothetical licensor / licensee negotiation.
     Case 5:17-cv-00564-NC             Document 248-1          Filed 10/09/18        Page 128 of 551
                                                                                        Keith R. Ugone, page 12

   Evaluated Plaintiff’s lost profits and reasonable royalty damages in a patent infringement matter relating
    to DVR technology. Analysis included an assessment of Plaintiff’s sales of DVR products and monthly
    subscriptions in the absence of the alleged infringement and an incremental revenue and cost analysis.
    Determined reasonable royalty damages based upon the Georgia-Pacific factors and a determination of
    important negotiating points in a hypothetical licensor / licensee negotiation.
   Evaluated lost profit damages in a patent infringement matter involving blasting hole drilling rigs. At
    issue were the lost profits stemming from lost rig sales and lost replacement part sales. With respect to
    lost rig sales, evaluated the model types, geographic sales coverage, and model prices of the entities
    involved. Also evaluated the capacity of the Plaintiff to make the additional claimed sales. With respect
    to lost replacement part damages, evaluated the likely stream of replacement part sales over the life of
    the drilling rig. Royalty calculations were performed on sales not subject to lost profit calculations.
Intellectual Property: Theft of Trade Secrets Cases
   Evaluated Plaintiff’s claimed damages in a trade secret theft case in the golf equipment industry. Plaintiff
    claimed disgorgement of global profits and other unjust enrichment due to the alleged misappropriation
    of certain golf club design trade secrets through the Defendant’s sale of the company and assets to a large
    sporting goods company. Analysis included calculating net profits from the sale of the accused golf clubs
    and evaluating claimed reasonable royalty damages.
   Evaluated Defendant’s assessment of the incremental costs associated with a contract to provide
    integrated bonusing software to a casino. The contract allegedly was won through the use of
    misappropriated trade secrets from the Plaintiff. At issue was the allocation of development and common
    costs to the contract in dispute. Also evaluated Plaintiff’s antitrust counterclaim to Defendant’s patent
    infringement suit relating to the technology used as a foundation for the integrated bonusing software.
   Evaluated damages in a theft of trade secrets matter dealing with next generation switching equipment in
    the telecommunications industry. At issue was the alleged theft of trade secrets when the Defendant firm
    hired nine employees of the Plaintiff firm. Analyzed Plaintiff’s claimed inability to maintain its
    projected market share, the alleged accelerated entry of the Defendant firm into the next generation
    switching equipment market, disgorgement measures of damages, and reasonable royalty measures of
    damages.
   Evaluated damages suffered by a Plaintiff in the business of installing systems delivering ultra-high
    purity air, water, gas and chemicals to companies manufacturing integrated circuits. Plaintiff alleged a
    former managerial employee breached his fiduciary duty by engaging in wrongful use of trade secrets,
    wrongful solicitation of employees and customers, and unfair competition with the original employer.
    Analysis involved estimating the lost sales and lost profits to the original employer by estimating the
    number of bid opportunities missed because of the alleged actions of the former employee, adjusting for
    changing industry conditions.
   Critiqued Plaintiff’s damage model in a trade secrets case in the printed circuit board industry. Plaintiff
    was claiming lost profits due to the misappropriation of trade secrets through Defendant’s hiring of four
    key management personnel from the Plaintiff’s company. Issues evaluated included the appropriateness
    of the “proxy/yardstick” approach undertaken to estimate lost revenues, and the incremental profit rates
    used to translate lost revenues into lost profits.
Intellectual Property: Copyright/Trademark/Trade Dress Infringement/False Advertising Cases
   Evaluated Plaintiff’s claimed damages relating to the alleged failure of a TV station to deliver contracted
    gross rating points over a 6-year period. Plaintiff was claiming lost sales and lost profits based upon a
    regression analysis used to isolate a relationship between sales revenues and advertising. Demonstrated
    Plaintiff’s regression omitted important explanatory variables (e.g., consumer income, promotions,
    discounts, competitors’ prices, and other print and TV advertising conducted by the Plaintiff). Also
    demonstrated a failure to account for diminishing returns to advertising. Each of these errors served to
    increase the magnitude of the claimed relationship between sales revenues and advertising.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18       Page 129 of 551
                                                                                        Keith R. Ugone, page 13

   Evaluated Plaintiff’s unjust enrichment damages claims in a copyright infringement matter brought
    against a hospital and a construction company relating to a medical building design. Compared budgeted
    construction costs to actual construction costs and analyzed the revenues received by the construction
    company associated with the copyrighted attributes of the building design as opposed to unrelated
    construction costs. Also analyzed the likely demand-related reasons for revenues that would accrue to
    the hospital unrelated to the design of the hospital.
   Evaluated claimed damages in a false advertising matter involving tooth-whitening products between
    two large consumer product companies. At issue were allegedly false, misleading, and disparaging
    statements about Plaintiff’s tooth-whitening products in comparative advertisements shown on
    television. Plaintiff sought to recover lost profits damages associated with reduced sales resulting from
    the alleged false advertising. Analyses included an evaluation and critique of Plaintiff’s expert’s claimed
    damages model including analysis of A.C. Nielsen scanner data and CMR media data. Analysis
    demonstrated that Plaintiff’s expert did not measure properly the impact of the alleged misleading
    content, failed to account for alternative reasons for Plaintiff’s sales declines, and implemented an
    incorrectly specified econometric model.
   Provided economic analysis relating to claims of unfair competition and misleading advertising in the
    pizza industry. Using economic indicia such as dollar sales revenue, trends in market share, growth in
    number of stores opened, same-store sales data, and store closure rates, evaluated whether the
    commercial success of a particular pizza company was due to customer acceptance of its pizza product or
    allegedly deceptive advertising. Also investigated the buying patterns of pizza consumers with respect to
    cross-chain patronage.
   Critiqued Plaintiff’s damage claim in a matter involving alleged tortious interference with business
    relations and allegations of trade dress infringement. At issue was the projected sales and profitability of
    Plaintiff’s tape dispensing machines during a period of alleged tortious interference by the Defendant and
    Plaintiff’s simultaneous alleged trade dress infringement.
   Analyzed the lost profits of a Plaintiff in a trademark infringement case involving a law enforcement
    product sold through a mail-order catalog. Also analyzed the profits of the alleged infringer and the cost
    of remedial advertising.
   Assessed damages resulting from the alleged infringement of copyrighted training manuals. Analysis
    included identifying the corporate clients of the Plaintiff and Defendant firms and the reasons for
    customer switching unrelated to the use of the proprietary training manuals.
Intellectual Property: Commercial Success Cases
   Evaluated indicators of commercial success relating to a surgical hernia mesh fixation device employing
    a patented helical tacker design. Demonstrated that the patented device had achieved significant and
    sustained sales and sales growth. Also demonstrated that the sales of the patented device had grown
    faster than the sales of other hernia mesh fixation devices and achieved a majority share of sales when
    compared to staplers and other hernia mesh fixation products.
   Submitted a rebuttal declaration to the U.S. Patent and Trademark Office relating to the claimed
    commercial success of intrusion prevention system (“IPS”) products asserted to practice a patent
    undergoing an Inter Partes reexamination. Opined that an economic nexus had not been established
    between the claimed teachings of the patent and the commercial success of stand-alone IPS products.
    The patent holder had not demonstrated that the claimed teachings of the patent were commercially
    successful separate and apart from (a) features not claimed by the patent, (b) economic factors
    extraneous to the claimed invention, or (c) features covered by other patents present in the IPS products.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 130 of 551
                                                                                          Keith R. Ugone, page 14

   Evaluated Plaintiff’s analysis regarding the claimed nexus between a patented technology and the
    commercial success of the accused devices in this patent infringement matter relating to text messaging
    using a limited keypad such as those found on cell phones. Analyses demonstrated Plaintiff’s failed to
    consider many factors that lead to the commercial success of the accused devices unrelated to the patent
    in dispute.
Breach of Contract / Breach of Fiduciary Duty Cases
   Evaluated Counter-Plaintiff’s claimed damages arising from Counter-Defendant’s failure to honor a
    most-favored licensee provision in a licensing agreement relating to a semiconductor patent portfolio.
    Opined as to the economic interpretation of certain licensing terms and the differences and similarities
    between lump sum, per unit, and percentage of revenue royalty payments. Compared the licensing terms
    between the Counter-Defendant and another party with the licensing terms between Counter-Defendant
    and Counter-Plaintiff.
   Evaluated Plaintiffs’ claimed damages arising from an alleged breach of contract related to the sale of a
    community club house and other recreational facilities in an age-restricted residential neighborhood.
    Plaintiffs’ claimed that since they were not given the opportunity to exercise their right-of-first refusal to
    purchase the contested real estate assets, they lost the value of the equity associated with the real estate
    assets and they were required to make excessive operating expense payments. Determined that
    Plaintiffs’ expert failed to properly consider the economic factors driving the value of the real estate
    assets in question.
   Evaluated Plaintiff’s breach of contract damages claim relating to the use of a national brand name and
    other support for the development of a time share resort. Concluded Plaintiff had not demonstrated an
    economic causal link between Plaintiff’s allegations and the quantum of damages being claimed.
    Adjusted Plaintiff’s claimed damages for various conceptual and computational errors, including
    alternative actions that might have been undertaken by the Plaintiff in the absence of the alleged
    wrongful conduct.
   Evaluated claimed damages in an alleged breach of fiduciary duty matter between a franchisee and a
    major fast food franchisor relating to the development and managing of fast-food franchises. Plaintiff
    claimed economic harm due to franchisor’s refusal to grant certain additional franchisees to Plaintiff that
    Plaintiff claimed would otherwise be in competition with the Plaintiff’s existing franchises. Concluded
    Plaintiff’s impact analysis failed to take into account many factors affecting the performance of the
    Plaintiff’s existing franchises that were unrelated to the alleged wrongful conduct.
   Evaluated claimed breach of contract and misrepresentation damages in a suit brought by a global
    information technology company against a global professional services company relating to a joint
    venture agreement under which a human resources outsourcing company was formed. Analysis included
    conducting a client-by-client analysis regarding the specific wrongful conduct associated with each client
    of the joint venture and estimated the associated economic damages. Based upon certain parameters
    contained in the contract, also calculated the purchase price overpayment had certain performance issues
    come to light prior to the closing of the joint venture agreement.
   Evaluated a developer’s/franchisee’s damages claim against a major sandwich franchisor for the alleged
    breach of a five-state area development agreement. Reviewed the area development agreement, analyzed
    the revenues, costs, and profitability associated with franchised outlets, and estimated the Plaintiff’s lost
    franchise fees and lost royalty income based upon various alternative scenarios discussed by the Parties.
   Evaluated the claimed damages of a calling card distribution company due to Defendant’s alleged breach
    of a contract relating to the servicing of the calling cards. Conducted market research on the calling card
    industry, analyzed alternative reasons for the alleged decline in calling card sales, and evaluated
    Plaintiff’s damages expert’s report.
     Case 5:17-cv-00564-NC             Document 248-1          Filed 10/09/18       Page 131 of 551
                                                                                        Keith R. Ugone, page 15

   Evaluated Plaintiff’s damages claim concerning the alleged failure of a call center to properly process
    inquiries relating to the newspaper and television marketing of a collectible doll in the likeness of a
    recently deceased public figure. Analyzed advertising expenditures, response rates across cities, major
    news announcements related to the marketing of such merchandise, and contributing problems caused by
    Plaintiff’s actions. Estimated damages by comparing sales in an unimpacted period with sales in the
    alleged impacted period.
   Evaluated Plaintiffs’ damages claim relating to the underwriting and loan servicing of subprime
    automobile loans. Plaintiffs’ contended the servicing company did not properly administer the portfolio
    of subprime automobile loans thereby causing excessive loan losses. Analysis demonstrated that
    Plaintiffs’ financial experts failed to take into account alternative reasons for Plaintiffs’ performance.
    Analysis of Plaintiffs’ loan volume, interest income, loan loss rate, and deteriorating industry conditions
    also demonstrated that Plaintiffs’ business plan did not provide a reasonable basis from which to
    calculate claimed damages.
   Evaluated Plaintiff’s claim of lost profits relating to the collection of ballots for a Mexican
    telecommunication company in Mexico’s Equal Access program. Analyzed a database of telephone
    customers, including statistics such as the length of service, average monthly consumption patterns,
    current billing status, and differences between residential and commercial customers. Developed an
    alternative claimed damages model taking into account consumption patterns and the turnover rate of
    customers, among other factors.
   Evaluated Plaintiffs’ claim of lost success fees, lost closing fees, and underpayment of value relating to
    Defendant’s acquisition of an oncology laboratory and the alleged failure to consummate additional
    acquisitions. Analysis demonstrated Plaintiffs’ projections regarding the profitability of the proposed
    acquisitions were not reasonable given the historical financial performance of the targets. Also
    demonstrated Plaintiffs were not underpaid for the assets of the acquired laboratory since no investor or
    buyer was willing to provide funds to Plaintiffs pre-acquisition and since Plaintiffs in their valuation
    approach inappropriately assigned all post-acquisition synergies and gains to the Plaintiffs.
   Evaluated Plaintiff’s damage claim arising from an alleged misappropriated opportunity to develop a
    computer superstore franchise in Mexico based on the equivalent U. S. concept. Demonstrated Plaintiffs
    overstated per store revenue, understated store-level costs, and used inappropriate financial and strategic
    assumptions regarding the number of stores opened, the amount of capital required, outside investor
    contribution, equity shares, and strategic acquisitions. Plaintiffs also conducted a valuation based on
    companies bearing little or no resemblance to a computer superstore.
   Evaluated Plaintiff’s claim of lost profits arising from an alleged breach of contract involving two
    tubular inspection equipment manufacturing companies. Analyses demonstrated that Plaintiff’s expert
    overstated the projected utilization rate of the company’s equipment and associated revenue and
    understated the projected incremental costs that would have been incurred by Plaintiff. Analyses
    demonstrated market demand would not support the equipment utilization rate projected by Plaintiff’s
    expert.
   Evaluated Plaintiff’s claim of damages in a breach of contract matter in the magazine publishing and
    distribution industry. Plaintiff claimed Defendants breached a distribution agreement by suspending
    distribution pending the resolution of a trademark infringement dispute. Plaintiff abandoned the
    magazine, claiming lost profits and the estimated lost value of the magazine had it been sold after its
    fourth year of publication. Analysis demonstrated Plaintiff’s expert overstated subscription-based
    revenues, distorted the cost/revenue structure that would have existed for the magazine, and overstated
    the likelihood of success by ignoring the failure of similar genre magazines.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 132 of 551
                                                                                           Keith R. Ugone, page 16

   Evaluated the damages sustained by the public safety division of an information technology services firm
    due to the early termination a ten-year services agreement to provide enhanced 9-1-1 services to a
    governmental agency. One-time up-front implementation costs in setting up the 9-1-1 system and
    ongoing operational costs were compiled in constructing a cost reimbursement damage claim. Also
    evaluated the reasonableness of an early termination charge schedule designed to represent the one-time
    buyout total if the governmental entity opted to terminate the contract before the ten-year term expired.
   Evaluated the damage claim of a bank arising from an allegedly defective conversion of the bank’s data
    processing system. Areas investigated included the softening macroeconomic environment surrounding
    the bank during the relevant time period, the changing financial services market, internal bank ratios, and
    technical flaws contained in Plaintiff’s damage calculations.
   Estimated lost sales and lost royalty payments to a “thick” potato chip producer due to a breach of
    contract. Involved was the construction of a damage model, analyses of the market for potato chips and
    per capita potato chip consumption, and projecting the rate of introduction of a new potato chip into
    regional markets.
   Calculated damages and provided other economic analyses in a “lack of best efforts” breach of contract
    case in the carbonated soft drink industry. At issue was the impact on sales due to the “lack of best
    efforts” vs. the impact on sales from contemporaneous new entrants into the market.
   Calculated damages in a breach of contract matter involving an association of nephrologists and a
    management company operating 12 kidney dialysis clinics. Areas of investigation included the
    “profitability available for distribution” from the clinics, the projected rate of growth in patients, the rate
    of introduction of new clinics, and the costs associated with running the clinics. A damage model was
    developed which projected the profits that would have been distributed to the management company over
    the life of the contract in the absence of the breach.
   Evaluated claimed damages against a hospital for allegedly breaching a contract allowing hyperbaric
    oxygen services on hospital premises. Investigations included assessing the local market for hyperbaric
    services, evaluating Plaintiff’s business growth potential given the physical space constraints at the
    hospital, and demonstrating Plaintiff had fully mitigated claimed future damages through the
    establishment of an alter ego firm at a nearby local hospital.
Class Certification Engagements
   Evaluated Plaintiff’s position that the claimed economic injury suffered by putative Class members could
    be quantified on a Class-wide basis in a class action matter relating to anti-aging skin care products
    marketed as preventing and repairing signs of aging “in just one week.” Demonstrated that the
    approaches proposed by the opposing expert to calculate Class-wide damages would not yield reliable or
    relevant estimates of the alleged harm suffered by individual Class members. Arguments presented
    included that the large number of repeat buyers, the wide variations in the retail prices associated with
    the accused products, and the wide variations in the retail price differences relative to other anti-aging
    products would prevent a reliable calculation of putative Class members’ damages on a Class-wide basis.
   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a Class-wide basis in a matter brought by an institutional investor
    against a bank associated with the bank’s securities lending program. Demonstrated that a class-wide
    approach would obfuscate important differences among putative Class members’ individual investment
    expectations and tolerances. Differences requiring individualized inquiry included the variability in
    maturity guidelines, credit-quality guidelines, prohibited investments, and diversification requirements.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18        Page 133 of 551
                                                                                         Keith R. Ugone, page 17

   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a Class-wide basis in a matter where a beverages company marketed
    certain beverages as containing beneficial vitamins and allegedly failed to disclose the sugar content of
    the beverages. Evaluated the wide variations in the beverages’ retail prices across distribution outlets,
    across geographic areas, and across the time periods considered. A comparison of the average retail
    prices of the at-issue beverages relative to identified benchmark products did not support the allegation
    that the at-issue beverages possessed a systematic price premium as a result of the company’s allegedly
    misleading marketing campaign.
   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a class-wide basis in a matter where an automobile company allegedly
    did not inform purchasers that actual vehicle miles per gallon performance could vary from the 40 miles
    per gallon EPA estimated fuel efficiency. Demonstrated that individualized inquiry would be required to
    ascertain consumers’ valuation of vehicle characteristics (including their expected fuel economy) when
    purchasing an accused vehicle, actual prices paid, driving patterns, driving conditions, and whether
    putative Class members’ expectations were influenced by the company’s alleged wrongful conduct.
    Evaluated Plaintiffs’ class certification expert’s opinion that alleged damages could be evaluated on a
    class-wide basis using a hedonic regression methodology.
   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a class-wide basis in a matter relating to the issuance of a special
    assessment fee by a timeshare vacation club. Demonstrated that potential damages-related conflicts were
    likely to arise among putative Class members (including among the Named Plaintiffs) – making Class-
    wide proof an unreliable measure of economic injury for each putative Class member. Also
    demonstrated that evaluating claimed damages on a Class-wide basis would result in potentially
    awarding damages to putative Class members who suffered no injury.
   Evaluated Plaintiffs’ position that the economic injury allegedly suffered by putative class members
    could be quantified on a class-wide basis in a matter where a beverages company marketed certain
    beverages as “All Natural” when they contained high fructose corn syrup (“HFCS”). Demonstrated that
    wide variations existed in the beverages’ retail prices across distribution outlets, across geographic areas,
    and across the time periods considered. Also demonstrated that wide variations existed in the beverages’
    retail prices because of promotional discounts and coupons and because the company did not sell directly
    to consumers. Consequently, whether consumers paid a price premium because of the “All Natural”
    labeling (and how much, if any) could not be determined by proof common to the proposed class. A
    comparison of the average retail prices of the “All Natural” beverages in dispute to identified benchmark
    products did not support the allegation that the “All Natural” beverages possessed a systematic price
    premium as a result of the “All Natural” labeling.
   Evaluated the commonality of purchasing circumstances of proposed Class members in a class action
    matter against a national quick service restaurant (“QSR”) chain. Plaintiffs alleged the QSR
    misrepresented the trans fat levels contained in the QSR’s french fries. Plaintiffs also alleged the
    proposed Class paid a price premium for certain food products based upon the alleged
    misrepresentations. After reviewing survey data, marketing materials, and pricing data, concluded that
    individual inquiries were required to establish different customer’s awareness of the alleged
    misrepresentations, different customer’s reliance upon the alleged misrepresentations in their purchasing
    decisions, and other important economic factors impacting each customer’s purchase decision.
     Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18       Page 134 of 551
                                                                                        Keith R. Ugone, page 18

   Evaluated Plaintiffs’ claim that Class members’ alleged damages could be “mechanically calculated” in a
    class action matter against a payphone company’s auditor. The payphone company had filed bankruptcy
    and the Class members alleged the auditor misrepresented the company’s financial statements, upon
    which the Class members allegedly relied. Conducted economic and market research and identified
    factors that caused a general decline in the payphone industry which contributed to the bankruptcy of the
    company. Analyzed the claimholders’ database and identified issues relating to the database that
    precluded Plaintiffs’ expert from mechanically calculating the damages allegedly suffered by class
    members.
Lender Liability Cases
   Evaluated Plaintiff’s allegations that it was capital constrained and consequently economically damaged
    as a result of its loans being placed into the special assets department of its lender. Analyzed the
    Plaintiff’s unused cash, credit, and other available funds. Also analyzed Plaintiff’s successful access to
    the capital markets, acquisition spending, R & D spending, sales performance, and profitability relative
    to peer companies.
   Analyzed Plaintiffs’ damage claim in a lender liability suit relating to Defendant’s alleged failure to fund
    certain residential housing development and construction loans. Evaluated Plaintiffs’ changing five-year
    business plan projections, including revenue growth, geographic expansion, market share, salesmen
    coverage, cost structure, and profitability assumptions. Also evaluated Plaintiffs’ strategy for “exiting”
    the business and the alleged value of their ownership at that time.
   Evaluated damages in a lender liability case involving the bankruptcy of a gear manufacturing company.
    The bankruptcy was allegedly due to the failure of a bank to fully fund a previously committed loan.
    Investigations included researching alternative market-related reasons for the decline in the gear
    manufacturer’s business as well as evidence of internal mismanagement on the part of the company’s
    owners.
   Other Matters. Evaluated damages, causation issues, and liability issues in various lender liability cases
    involving the calling in of loans, the failure to fund previously committed loans, the failure to release
    collateral, and the misappropriation of loan payments. Cases involved firms in the wire and cable,
    drywall/construction, PVC piping, and auto dealership industries, among others.
Professional Negligence (Non-Securities / Non-Merger) Cases
   In an alleged professional negligence matter, a lender to distressed companies sought $40 million in
    damages from an auditor in connection with a $130 million credit facility extended to an HDTV
    company. The lender failed to collect when the borrower filed for bankruptcy. The auditor was alleged
    to have made negligent misrepresentations associated with the borrower’s financial statements; the
    lender asserted it had relied upon the borrower’s financial statements when entering into the credit
    facility. Performed economic causation and damages-related analyses. Identified the known or
    knowable risks associated with providing a credit facility to the borrower, including certain accounts
    receivable collection risks and market softness risks. Opined that it was the materialization of these
    known and knowable risks that caused the lender’s claimed losses.
   Evaluated claimed damages against a major law firm for alleged professional negligence when filing a
    patent for the treatment of septic shock. Researched (among other things) the FDA approval process,
    associated statistics regarding the product category allegedly covered by Plaintiff’s patent, and various
    industry projections regarding the category growth. Performed a discounted cash flow analysis, an
    incremental profitability analysis, a licensing analysis, and provided an alternative calculation of claimed
    damages.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 135 of 551
                                                                                          Keith R. Ugone, page 19

   Evaluated Plaintiffs’ claimed damages relating to an alleged failure by a law firm to properly file certain
    patent applications relating to a video processor recorder. Plaintiffs’ business opportunities and licensing
    fees in the United States and Europe were allegedly lost due to the ensuing delays. Analyzed Plaintiffs’
    causation linkages to claimed damages, length of the claimed damages period, forecasted units sold,
    forecasted market share, forecasted costs of production, and claimed licensing rate.
   Evaluated claims by a Department of Insurance appointed liquidator that alleged the auditor of a
    bankrupt insurance company breached its fiduciary duty, resulting in a $100 million deficit on the
    insurance company’s books. Conducted various analyses of a claims register database, including a
    comparison of indemnity payments and reserves per claim before and after the appointed liquidator took
    control of the liquidation process. Analyses demonstrated both the indemnity payments and reserves per
    claim were higher after the appointed liquidator took over the liquidation process, implying the liquidator
    over-paid and over-reserved claims.
Entertainment/Sports-Related Engagements
   Evaluated the claimed damages of a movie production company against a major home video rental
    company. At issue was the claim that the refusal of the home video rental company to commit to carry a
    particular movie in its stores caused the movie production company to suffer lost profits when its
    distributor then refused to release the movie theatrically. Demonstrated that Plaintiff’s methodology for
    estimating lost box office revenues was inappropriate and failed to account for important determinants of
    movie attendance.
   Analyzed Plaintiffs’ lost profits and reasonable royalty damages in a patent infringement matter relating
    to offset head lacrosse sticks. Analysis included an assessment of Plaintiffs’ sales in the absence of the
    infringement, the distribution of the lost sales to the models that would have been sold in the absence of
    the infringement, and an incremental revenue and cost analysis. Also analyzed Plaintiffs’ competitors,
    pricing patterns, productive capacity, and geographic coverage in support of the lost profits claim.
    Reasonable royalty damages were assessed using the Georgia-Pacific factors and a determination of
    important negotiating points in a hypothetical licensor / licensee negotiation.
   Estimated the diminished box office revenues suffered by a theatrical release due to the breach of a quick
    service restaurant promotional tie-in arrangement with a major pizza chain. Developed a database of
    recently released films and related film characteristics such as genre, rating, critics review, box office
    revenues, media spending, production budget, season of release, and talent. A regression model was then
    developed to quantify the relationship between media spending and box office revenue. An industry
    review of quick service restaurant promotional tie-in arrangements was also conducted.
   Evaluated Plaintiffs’ claimed damages in a breach of contract matter involving the sale of certain
    minority interests in a National Basketball Association team. At issue were Plaintiffs’ tag-along rights
    whereby limited partnership interests could be included in any sale by the general partner on the same
    terms and conditions. Damages were calculated as the difference between the formulaic value of the
    minority interests versus the market value of the minority interests when sold separately. Discounts for
    lack of control and reduced marketability were analyzed.
   Evaluated Plaintiff’s damages claim relating to a NASCAR racing team sponsorship agreement. Plaintiff
    contended the Internet service provider sponsor interfered with the racing team’s ability to sell
    advertising banners that were part of the sponsorship agreement. Analyses included assessing the
    appropriate methodology for valuing a NASCAR race team and assessing comparable transactions. Also
    analyzed the financial performance of the race team, the economic terms of the sponsorship agreement,
    and the risks associated with a barter arrangement.
   Estimated damages arising from a breach of contract claim between an electronic retailer and a local
    television station. At issue was the lost profits to the electronic retailer when the local television station
    discontinued broadcasting the electronic retailer’s programming.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 136 of 551
                                                                                          Keith R. Ugone, page 20

   Analyzed the market and evaluated damages on behalf of a television station denied access to a cable
    system. At issue was whether the cable operator was attempting to monopolize the market for local
    television advertising. Analysis included an estimation of the advertising revenues that would have been
    received by the local television station had it been allocated a channel on the cable system.
   Estimated damages arising from a breach of contract claim between a video-cassette
    manufacture/distributor and a theatrical motion picture producer/distributor. At issue was whether the
    motion picture distributor manipulated the theatrical release of certain titles distorting the films the
    video-cassette producer could distribute under the terms of the agreement.
Tax-Related Engagements
   Participated in an analysis of the impact on tax revenues to the State of Texas from a change in tax laws
    relating to pension fund managers. Helped demonstrate that changing the apportionment rule from
    “location in which the investment services were performed” to “residence of the investment
    beneficiaries” would not result in a negative fiscal impact.
   Served as consulting partner on an engagement estimating qualifying research and expenditure costs in
    response to certain expenses disallowed by the IRS. Analysis included developing a methodology to
    estimate qualifying hours and qualifying costs for groupings of employees with missing data.
   Analyzed whether the salaries paid to the owners/managers of a heavy and highway construction
    company were reasonable in a matter before the IRS. Areas investigated included the cyclical nature of
    the construction industry, the resulting cyclical nature of compensation paid to construction industry
    executives, and the 50th and 75th percentile salaries paid to various types of executives in the construction
    industry.
   Participated in an analysis of the tax benefit versus detriment to a Plaintiff as a result of ownership in
    certain partnership interests over the 1982-1998 time period. Also involved was an analysis of
    cumulative suspended tax losses, partnership income available for distribution, and changing tax rates
    over time.
   Quantified the net out-of-pocket cash position of investors who purchased limited partnership interests in
    nine real estate partnerships in an alleged non-disclosure matter. Also quantified the impact caused by
    changes in the Federal income tax laws. Supporting analyses included comparing the actual and
    projected performance of the partnerships taking into account restructurings, re-financings, and
    dissolutions.
Personal Injury and Wrongful Death Cases
   General Overview (Personal Injury). Assessed damages and lost earnings in various personal injury cases
    involving movie production workers, management consultants, financial consultants, nurses, medical
    doctors, chiropractors, secretaries, truck drivers, airline stewardesses, mechanics, engineers, maintenance
    personnel, carpenters, masonry workers, crane operators, machine operators, actresses, military aircraft
    production workers, tankermen, teachers, film editors, portfolio managers, hair stylists, automobile
    assemblers, landscape architects, sole proprietors, and real estate agents (among others). In each case,
    issues investigated included an assessment of the projected undamaged income, damaged income,
    expected work life of the individual, and appropriate discount rate to use. Assistance to the attorney
    included the preparation of deposition questions, economic analyses, and a critique of the opposing
    economist’s damage model.
   General Overview (Wrongful Death). Developed numerous damage models in wrongful death cases.
    Issues investigated included the projection of lost earnings, the projected personal consumption
    expenditures of the decedent, and projected lost pension benefits. Professions of the decedents included
    various types of entrepreneurs (e.g., boat store owners, etc.), white-collar workers (e.g. attorneys,
    architects, etc.), and blue-collar workers (e.g., demolition contractors, grocery store clerks, etc.). Ages of
    the decedents ranged from adults to teenagers to children.
     Case 5:17-cv-00564-NC            Document 248-1           Filed 10/09/18       Page 137 of 551
                                                                                       Keith R. Ugone, page 21

   Evaluated claims of damages submitted by the family members of 88 decedents from an airplane crash.
    Family members were seeking damages in state and federal courts against the airline and certain parts
    manufacturers. Most of the decedents resided and worked in Asian countries. Researched various data
    sources for information regarding social security benefits, interest rates, and the relevant economic
    statistics for workers in these countries. Evaluated four Plaintiff damages experts’ reports and
    testimonies, summarized our evaluation of these damage models, and calculated alternative damages
    figures. Analysis included evaluating lost earnings, lost business value, lost non-salary benefits, lost
    retirement funds, and lost savings.
Wrongful Termination Cases
   Evaluated Plaintiff’s alleged lost earnings and lost future earnings capacity in a matter against a major
    shipping company in which the Plaintiff claimed to have resigned his legal counsel position due to the
    Defendant’s alleged criminal conduct and its refusal to conduct an independent investigation. Analyzed
    various employee benefits offered by the Defendant including but not limited to the salaries of similarly-
    situated employees, long term incentive plans, 401(k) plan, paid vacation, stock options, and retirement
    benefits. Also analyzed promotion criteria, similar benefits received by the Plaintiff at alternative
    employment, and the lower cost of living associated with the geographical location of the alternative
    employment.
   Evaluated Plaintiff’s claimed economic harm in a wrongful termination / negligent misrepresentation
    matter. Plaintiff claimed that pre-termination certain representations by the company dissuaded him
    from resigning and selling his stock holdings, thereby causing economic harm from the subsequent
    decline in the company’s stock price. Analysis included quantifying the salary, bonuses, pension
    benefits, and severance pay the Plaintiff received during the additional time spent with the company as
    compared to the stock price declines that formed the basis of Plaintiff’s damages claim.
   Evaluated Plaintiff’s loss of earnings claim in an alleged wrongful termination matter in the long
    distance telecommunications industry. Plaintiff was an independent representative with a “downline”
    working for a company using a multilevel marketing sales approach. Analyzed the Plaintiff’s historical
    earnings, business expenses, and the earnings of Plaintiff’s peers to evaluate Plaintiff’s net earnings in
    the absence of the alleged wrongful termination.
   Evaluated Plaintiff’s damage claim in a wrongful termination matter involving an insurance
    broker/branch manager. Evaluated Plaintiff’s alleged damage period, earnings in the absence of the
    termination, fringe benefits, business expenses, and offsetting earnings. The sales patterns of the
    relevant insurance products at the state and national level were incorporated into the analysis. Also
    analyzed trends within the company with respect to branch manager positions.
   Evaluated the damages suffered by the manager of an over-the-counter trading department in an alleged
    wrongful termination action. Since the compensation of the manager was based on the profitability of
    the department, one issue investigated was the reason for the decline in the post-termination performance
    of the department.
   Other Matters. Assessed damages and lost earnings in other wrongful termination cases involving
    internal medicine specialists, neurosurgeons, anesthesiologists, entertainment company executives,
    brokers/traders, secretaries, accountants, attorneys, quality assurance managers, company presidents, real
    estate brokers, property managers, insurance brokers/managers, and military aircraft production workers.
    Areas investigated include many of the same items as described in personal injury cases.
     Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 138 of 551
                                                                                          Keith R. Ugone, page 22

Other Economic Engagements
   Conducted an economic analysis of historical and projected lost revenues due to SEC-related
    independence constraints for an information technology consulting entity. The analysis demonstrated
    that SEC rules requiring SEC registrants to disclose the amount of non-audit fees paid to its auditor, as
    well as constraints on the consulting entity’s ability to perform outsourcing or managed application
    services for audit clients significantly impacted business growth relative to the market and its closest
    competitors. The analysis also demonstrated that certain revenue projections assuming independence
    relief were appropriate in light of market conditions and the independence constraints.
   Conducted an economic cost/benefit analysis of the SEC’s proposed rule changes relating to non-audit
    services performed by auditing firms for audit clients. Analyses demonstrated that public accounting
    firms have an incentive to protect their brand name capital and that purchasers of non-audit services have
    an incentive to maintain investor confidence in the reliability of the audited financial statements.
   Performed an economic impact analysis on behalf of a major pipeline corporation seeking to gain
    regulatory approval for the construction of an oil pipeline in the Pacific Northwest. Evaluated the net
    economic impact of the project on employment, income, and consumer expenditures in the region. New
    employment opportunities resulting from construction and maintenance of the pipeline were compared to
    the potential lost jobs associated with the alternative means of transporting the petroleum.
   Participated in a major antitrust risk assessment exercise for a large industrial corporation. Work
    performed included evaluating the major litigation risks in the areas of monopolization, price
    discrimination, price fixing, illegal tying, and exclusive dealing. A detailed questionnaire designed to
    collect relevant economic data and identify potential risks was constructed and sent to the corporation’s
    division managers.
   Evaluated revenue projections relating to an electronic toll collection system. The system was designed
    to recover lost toll revenue and other administrative fees from toll violators traveling along a consortium
    of tollways in New York, New Jersey, and Delaware. Analyzed four critical revenue drivers in the
    projections (number of transactions, violation rates, citation rates, and collections rates) and the potential
    variability of certain components of the projections by compiling comparative data through interviews
    with industry participants. Analysis was used in assisting lenders evaluating the economic viability of
    the project.
   In a bankruptcy matter, analyzed the expected rate of return that could be earned on a portfolio of assets.
    Included in the analysis was determining the investment portfolio of a prudent pension fund manager and
    the historical risk premiums earned on each category of assets in the portfolio. The assets were being
    held to meet future pension plan liabilities.
   Conducted an analysis of low-cost housing in Los Angeles County (CA) to determine whether sufficient
    housing was available to house the County’s general relief recipient population. In separate
    engagements, conducted similar studies for San Bernardino County (CA) and Alameda County (CA).
    The Alameda County study also analyzed earned income incentives and food stamp allotments as a
    source of income in addition to the County’s monthly general relief assistance. An affordable housing
    analysis was also conducted for the State of New Jersey’s Department of Health relating to the state’s
    child exclusion policy and AFDC recipients.
   Conducted an economic analysis on behalf of the California Public Utilities Commission. Tasks
    included incorporating elasticities into alternative rate design and pricing models, analyzing subsidies
    accruing to various residential consumer groups under alternative rate designs, and estimating the
    relative welfare loss associated with each alternative rate design.
     Case 5:17-cv-00564-NC            Document 248-1          Filed 10/09/18       Page 139 of 551
                                                                                      Keith R. Ugone, page 23

Fraud/Criminal-Related Engagements
   Evaluated claimed damages in a suit brought by Plaintiff relators against a major information technology
    company for allegedly submitting false and fraudulent claims to the U.S. government under a Medicaid
    program providing health-cost reimbursements to school districts. Conducted various benchmarking
    analyses including analyzing a “claimed amount” versus “paid” pattern analysis and a reimbursement
    rate analysis across Defendant-administered school districts and non-Defendant-administered school
    districts. Also conducted a reimbursement rate benchmarking analysis associated with school districts
    before and after administration by the Defendant. Concluded there was no economic evidence of a
    systematic effort to defraud the U.S. government.
   Evaluated Plaintiff’s claim of damages stemming from the alleged embezzlement of funds and
    falsification of income statements by a bank official relating to a mortgage lending division of a bank.
    Analysis identified errors made by the bank in specifying the length of the damage period and not
    properly accounting for accounts receivable collections made post-discovery of the alleged illegal acts.
   Analyzed skilled nursing facility nursing ratios in a criminal health care fraud matter relating to
    Medicare reimbursements. At issue was Defendant’s ratio of skilled nursing costs to unskilled nursing
    costs alleged to be outside of governmental guidelines. Analyzed facility-level ratios by establishing
    peer groups of facilities based upon size of facility, number of participating beds, skilled utilization
    percentage, state location, average length of stay, and facilities with similar levels of acuteness.
   Estimated freight overcharge damages on behalf of a major multinational information technology
    services firm. Analysis required the utilization of a database of all freight shipments made over a five-
    year period, including incorporating subsequent credit memos, discounts, and dimensional weight
    charges. Analysis compared actual freight charges to rates charged by alternative carriers for shipments
    of identical ship method (e.g., ground, next day, two day), weight, and destination.
   Performed economic analysis relating to a health care criminal matter in which a group of doctors and a
    hospital were alleged to have conspired to receive remuneration in return for the referral of Medicare-
    eligible patients. Analyze included evaluating the savings from reduced admissions rates and from
    reduced average length of stays. Also analyzed the profitability of certain laboratory-related work.

TEACHING EXPERIENCE
Macroeconomic Principles and Intermediate Macroeconomics
Topics covered included unemployment/full employment, inflation/price stability, economic growth/gross
domestic product, determination of national income, and monetary and fiscal policies.
Microeconomic Principles and Intermediate Price Theory
Topics covered included functioning of markets (demand and supply analysis), elasticities, theory of the firm
(profit maximization), industry performance, allocation of resources, and government regulation.
Companies In Crisis
Topics covered included companies, markets, and industries in contemporary crisis situations from external
or internal changes in the operating environment or significant conflict. Topics included case studies
focusing on solutions for companies facing competitive issues, management issues, or litigation-related
issues.

PUBLICATIONS
“An Economic Framework for Analyzing Covenants Not to Compete” (with Elaine Fleming and Steven
Herscovici), Expert Witnesses, ABA Section of Litigation, Spring/Summer 2011, Vol. 7 No. 1.
“Financial Expert Witness Challenges and Exclusions: Results and Trends in Federal and State Cases Since
Kumho Tire” (with Lawrence F. Ranallo), Accountants’ Handbook, Tenth Edition 2004 Supplement, edited
by D.R. Carmichael, New York: John Wiley & Jones, Inc., 2004.
     Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18       Page 140 of 551
                                                                                     Keith R. Ugone, page 24

“Accounting for Damages in Intellectual Property Litigation” (with Tony Samuel and John Davis), Building
and Enforcing Intellectual Property Value – an International Guide for the Boardroom 2003.
“Challenges to the Admissibility of Financial Expert Witness Testimony” (with Lawrence F. Ranallo),
Litigation Services Handbook, 2002 Supplement, edited by Roman L. Weil, Michael J. Wagner, and Peter B.
Frank, 2A.1 – 2A.17, New York: John Wiley & Sons, Inc., 2001.
“Calculation of Lost Earnings” (with Carlyn R. Taylor and Randi L. Firus), Litigation Services Handbook,
edited by Roman L. Weil, Michael J. Wagner, and Peter B. Frank, 11.1 – 11.16, New York: John Wiley &
Sons, Inc., 2001.
“Preparing the Financial Expert or Economist” (with George G. Strong, Jr.), Witness Preparation, V. Hale
Starr, 13.4 – 13.4.1, New York: Aspen Law & Business, A Division of Aspen Publishers, Inc., 1998.
“The Effect of Institutional Setting on Behavior in Public Enterprises: Irrigation Districts in the Western
States” (with John M. McDowell), Arizona State Law Journal, Vol. 1982, No. 2, 453 – 496.

SELECTED CLIENTS OVER THE PAST FIVE YEARS
Selected clients over approximately the past five years (2013 - 2017) include but are not limited to: Abbott
Laboratories; Acer Inc.; Activision Blizzard, Inc.; Amazon.com, Inc.; America Online, Inc.; American
Quarter Horse Association; Apple, Inc.; AT&T Mobility, Inc.; AstraZeneca Pharmaceuticals LP; ASUS
Computer International; Barnes & Noble, Inc.; Bayer HealthCare LLC; B/E Aerospace, Inc.; Beam
Global Spirits & Wine, Inc.; Bombardier Recreational Products Inc.; Brother International Corporation;
CBS Corporation; ConAgra Foods, Inc.; Costco Wholesale Corporation; Covidien LP; The Dial
Corporation; Dow Chemical Company; Emerson Electric Co.; Fitbit, Inc.; FOX Broadcasting
Company; Game Circus LLC; Globus Medical, Inc.; Google Inc.; Johnson & Johnson Consumer
Companies, Inc.; KAYAK Software Corporation; Knauf Insulation, LLC; Kolbe & Kolbe Millwork
Co., Inc.; LG Electronics, USA, Inc.; Lincoln Wood Products, Inc.; Living Essentials, LLC (5-Hour
Energy); Marvel Semiconductor, Inc.; Maybelline, LLC; Medtronic, Inc.; Merial Inc.; Microsoft
Corporation; Mitchell International, Inc.; Motorola Mobility, Inc.; Nature’s Bounty, Inc.;
NBCUniversal Media, LLC; Neutrogena Corporation; New England Regional Council of
Carpenters; Nissan North America, Inc.; OpenTable, Inc.; Oracle Corporation; Orix USA
Corporation; Pharmavite LLC; The Priceline Group Inc.; Research in Motion, Ltd; Sabre Holdings
Corporation; Samsung Electronics Co., Ltd.; Sirius XM Radio Inc.; SIGA Technologies; SPD Swiss
Precision Diagnostics Gmbh; St. Jude Medical S.C., Inc.; Toshiba Corporation; TRIA Beauty, Inc.;
Tropicana Products, Inc.; United Services Automobile Association; Verizon Wireless.

HONORS
IAM Patent 1000 2014 – The World’s Leading Patent Practitioners. (Pages 648 and 666.)
IAM Patent 1000 2015 – The World’s Leading Patent Practitioners. (Pages 727 and 759.)
IAM Patent 1000 2016 – The World’s Leading Patent Practitioners. (Pages 740 and 762.)
IAM Patent 1000 2017 – The World’s Leading Patent Practitioners. (Pages 791, 795, and 822.)
GCR Global Competition Review Who’s Who Legal: Competition 2016 (Economists). (Page 176.)
D CEO: The Most Powerful 500 Business Leaders In Dallas – Fort Worth, 2017 Edition. (Page 152.)
D CEO: The Most Powerful 500 Business Leaders In Dallas – Fort Worth, 2018 Edition. (Page 160.)

RECENT PRESENTATIONS / PANEL DISCUSSIONS

Northern District (of California) Practice Program: Patent Program Roundtable (Recent Changes To The
Court’s Patent Local Rules) (April 2017)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 141 of 551




                             Exhibit 2
    Case 5:17-cv-00564-NC             Document 248-1           Filed 10/09/18        Page 142 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.


                               KEITH R. UGONE, PH.D.
                   TRIAL, HEARING, AND ARBITRATION TESTIMONY1

Lumileds LLC vs. Elec-Tech International Co. Ltd., Donglei Wang, Eva Chan, Gangyi Chen,
and Does 1 through 100 (Superior Court Of The State Of California For The County Of Santa
Clara, Civil Action No. 115:cv-278566) (2018)

Dependable Sales, et al. vs. TrueCar, Inc. (In The United States District Court For The
Southern District Of New York, Case No. 1:15-CV-01742-PKC) (Daubert Hearing; 2018)

Title Source, Inc. vs. HouseCanary, Inc. f/k/a Canary Analytics, Inc. (In The District Court Of
Bexar County, Texas, 73rd Judicial District, Cause No. 2016-CI-06300) (2018) (two trial
testimonies: affirmative case and counterclaim)

TicketNetwork, Inc. and Ticket Software LLC vs. CEATS, Inc. (United States District Court
For The Eastern District Of Texas, Marshall Division, Case No. 2:15-CV-1470) (2018)

Church & Dwight Co., Inc. vs. SPD Swiss Precision Diagnostics Gmbh (In The United States
District Court For The Southern District Of New York, Civil Action No. 1:14 CV 585 (AJN))
(2017)

Bombardier Recreational Products Inc. and BRP U.S. Inc. vs. Arctic Cat Inc. and Arctic Cat
Sales Inc. (United States District Court, District Of Minnesota, Case 0:12-CV-02706
(ADM/LIB) (2017)

Johns Manville Corporation and Johns Manville vs. Knauf Insulation, LLC, Walter A.
Johnson, and Knauf Insulation GMBH (In The United States District Court For The District Of
Colorado, Civil Action No. 1:15-cv-00531) (2017)

Tech Pharmacy Services, LLC vs. Alixa RX LLC, Golden Gate National Senior Care LLC
d/b/a Golden LivingCenters, Fillmore Capital Partners, LLC, Fillmore Strategic Investors, LLC,
and Fillmore Strategic Management, LLC (In The United States District Court For The Eastern
District Of Texas, Sherman Division, Civil Action No. 4:15-cv-00766-ALM) (2017)

Eidos Display, LLC and Eidos III, LLC vs. AU Optronics Corporation; AU Optronics
Corporation America; Chi Mei Innolux Corporation; Chi Mei Optoeletronics USA, Inc.;
Chunghwa Picture Tubes, LTC.; Hannstar Display Corporation; and Hannspree North America,
Inc. (United States District Court For The Eastern District Of Texas, Tyler Division, Civil
Action No. 6:11-cv-201) (2017)




1
  Trial, hearing, and arbitration testimony over the 1990-2018 time period. Case citations and dates subject to
verification. Clients bolded. Deposition testimony begins on page 12.

                                                      1
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 143 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

B/E Aerospace, Inc. vs. Zodiac Aerospace, Zodiac US Corporation, Zodiac Seats US LLC
(a/k/a Weber Aircraft LLC), Heath Tecna, Inc. (a/k/a Heath Tecna, a/k/a Zodiac Airline Cabin
Interiors, a/k/a Zodiac Airline Interior Integration), C&D Zodiac, Inc. (a/k/a C&D Aerospace,
Inc., a/k/a Zodiac Business Aircraft Interiors), and Zodia Northwest Aerospace Technologies
(a/k/a Northwest Aerospace Technologies, Inc.) (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Case No. 2:16-cv-1417) (Preliminary Injunction
Hearing; 2017)

SurgiQuest, Inc. vs. Lexion Medical, LLC (In The United States District Court, District Of
Delaware, Civil Action No. 14-382-GMS) (2017)

In Re Dial Complete Marketing and Sales Litigation (MDL No. 2263) (United States District
Court, District Of New Hampshire, MDL Docket No. 11-md-2263-SM ALL CASES) (Class
Certification Hearing; 2016)

Cornerstone Healthcare Group Holdings, Inc. vs. Reliant Hospital Partners, LLC, Nautic
Partners LLC, Michael Brohm, Patrick Ryan, Kenneth McGee, Jerry Huggler, Chad Deardorff,
et al. (In The District Court Of Dallas County, Texas, 68th Judicial District, Cause No. 11-04339)
(2016)

Arctic Cat Inc. vs. Bombardier Recreational Products Inc. and BRP U.S. Inc. (United States
District Court, Southern District Of Florida, Case No. 0:14-cv-62369-BB) (2016)

Equistar Chemicals, LP and MSI Technology L.L.C. vs. Westlake Chemical Corp. (In The
United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No:
6:14-cv-68) (2016)

Arctic Cat Inc. and Arctic Cat Sales, Inc. vs. Bombardier Recreational Products Inc. (Federal
Court, Ottawa, Canada, Court File No.: T-1353-13) (2016)

In Re: Urethanes Antitrust Litigation (Direct Action) – Carpenter Co., Woodbridge Foam
Corporation, Dash Multi-Corp, Inc., et al. vs. The Dow Chemical Company (United States
District Court, District Of New Jersey, Civil Action No. 08-5169 (WJM) (MF)) (Daubert
Hearing Testimony; 2016)

Promethean Insulation Technology LLC vs. Sealed Air Corporation; Reflectix, Inc.; The Home
Depot, Inc.; and Home Depot U.S.A., Inc. (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Cas4e No. 2:13-CV-1113) (2015)

Merial, Inc. and Merial S.A.S vs. Ceva Sante Animale S.A., Valley Generics, Inc., True
Science Holdings, LLC, and TruRX LLC (In The Middle District Of Georgia, Athens Division,
Civil Action No. 3:15-cv-00040-CDL) (injunction hearing: 2015)

Georgetown Rail Equipment Company vs. Holland L.P. (United States District Court, Eastern
District Of Texas, Tyler Division, Case No. 6:13-cv-366-MHS-JDL) (2015)

Bombardier Recreational Products Inc. vs. Arctic Cat, Inc. and Arctic Cat Sales, Inc. (Federal
Court, Montreal, Canada, Court File No.: T-2025-11) (2015)

                                                    2
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 144 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.


Masakazu Ushijima vs. Samsung Electronics Co., Ltd. and Samsung Electronics America,
Inc. (In The United States District Court For The Western District Of Texas, Austin Division,
Civil Action No. 1:12-CV00318-LY) (2015)

Jean Melchior vs. Hilite International, Inc. (United States District Court For The Northern
District Of Texas, Dallas Division, Civil Action No.: 3:11-CV-03094-M) (2015)

Kawasaki Heavy Industries, Ltd., a/k/a Kawasaki Jukogyo Kabushiki Kaisha and Kawasaki
Motors Manufacturing Corp., U.S.A. vs. Bombardier Recreational Products, Inc., BRP U.S.,
Inc., and BRP-Rotax GmbH & Co. KG a/k/a BRP-Powertrain GmbH & Co. (Private
Arbitration, Case No. 26220 CAMG) (2015)

Texas Advanced Optoelectronic Solutions, Inc. vs. Intersil Corporation (In The United States
District Court For The Eastern District Of Texas, Sherman Division, Civil Action No. 4:08-cv-
451) (2015)

Ultratec, Inc. and CapTel, Inc. vs. Sorenson Communications, Inc. and CaptionCall, LLC
(United States District Court, Western District Of Wisconsin, Case No.:3:13-cv-00346) (2014)

Personal Audio, LLC vs. CBS Corporation (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Case No. 2:13-cv-00270-JRG-RSP) (2014)

United States of America ex rel. Kurt Bunk and Daniel Heuser v. Birkart Globistics GMBH &
Co. Logistik Und Service KG, et al. and United States of America ex rel. Ray Ammons v. The
Pasha Group, Gosselin World Wide Moving, N.V., and Gosselin Group, N.V. (In The United
States District Court For The Eastern District Of Virginia, Alexandria Division, No. 1.02cv1168
(AJT/TRJ)) (2014)

NuVasive, Inc. vs. Laura Lewis (In The United States District Court For the Western District Of
Texas, Austin Division, Civil Action No. 1:12-CV-01156) (2014)

Magnum Oil Tools International, Ltd. vs. Tony D. McClinton, JayCar Energy Group. L.L.C.,
Surf Frac Wellhead Equipment Company, Inc., McClinton Energy Group, L.L.C., Motors Mills
Snubbing, L.L.C., and Stan Keeling (In The United States District Court For The Southern
District Of Texas, Corpus Christi Division, Civil Action No: 2-12-cv-00099) (2014: preliminary
injunction hearing)

NXP B.V. vs. Research In Motion, Ltd. and Research In Motion, Corp. (United States
District Court For The Middle District Of Florida, Orlando Division, Case 6:12-cv-498-ORL-
22GJK) (2014)

In The Matter Of Certain Wireless Devices With 3G And/Or 4G Capabilities And Components
Thereof (InterDigital Communications, Inc., InterDigital Technology Corporation, et al. vs.
Samsung Electronics Co., Ltd., Samsung Electronics American, Inc., and Samsung
Telecommunications America, LLC; United States International Trade Commission,
Washington, D.C., Investigation No. 337-TA-868) (2014)


                                                    3
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 145 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Sabatino Bianco, M.D. vs. Globus Medical, Inc. (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Civil Action No. 2:12-cv-147-JRG) (two
testimonies: trial (2014) and evidentiary hearing on on-going royalties (2014))

SimpleAir, Inc. vs. Microsoft Corporation, Motorola Mobility, Inc., Google Inc., et al. (In The
United States District Court For The Eastern District Of Texas, Marshall Division, Civil Action
No. 2:11-cv-00416) (two trials; 2014)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2013)

Brightstar Corp. and Flipswap Services, LLC vs. Flipswap, Inc. (Judicial Arbitration And
Mediation Services, Case No. 1460000526) (2013)

Lake Cherokee Hard Drive Technologies, L.L.C. vs. Bass Computers, Inc., LSI Corporation,
Marvell Semiconductor, Inc., Samsung Semiconductor, Inc., and Tech Data Corporation (In
The United States District Court For The Eastern District Of Texas, Marshall Division, Case No.
2:10-cv-216 (TJW-CE)) (2013)

Abraham & Veneklasen Joint Venture, Abraham Equine, Inc. and Jason Abraham vs. American
Quarter Horse Association (In The United States District Court For The Northern District Of
Texas, Amarillo Division, Civil Action No. 02:12-cv-00103-J) (2013)

Hitachi Consumer Electronics Co., Ltd. and Hitachi Advanced Digital, Inc. vs. Top Victory
Electronics (Taiwan) Co. Ltd., TPV Int’l (USA), Inc., Envision Peripherals, Inc., Top
Victory Electronics (Fujian) Co. Ltd., TPV Electronics (Fujian) Co. Ltd., TPV Technology
Ltd., and VIZIO, Inc. (United States District Court For The Eastern District Of Texas, Marshall
Division, Civil Action No. 2:10-CV-260) (2013)

ePlus Inc., vs. Lawson Software, Inc. (In The United States District Court For The Eastern
District Of Virginia, Richmond Division, Civil Action No. 3:09-CV-620 (RFP)) (2013)

Alexsam, Inc. vs. IDT Corporation (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Case No. 2:11-CV-362-RSP) (2013)

In Re: Urethanes Antitrust Litigation (Class) – Seegott Holdings, Inc., et al. vs. The Dow
Chemical Company (In The United States District Court For The District Of Kansas, MDL-04-
1616 (JWL/JPO), No. 05-2265-JWL) (2013)

FLIR Systems, Inc. vs. Sierra Media, Inc. and Fluke Corporation (The United States District
Court, District Of Oregon, Portland Division, Case No. 3:10-CV-971-HU) (2012) (two trial
testimonies: affirmative case and counterclaim)

I/P Engine, Inc. vs. AOL, Inc., Google Inc., IAC Search & Media, Inc., Gannett Company,
Inc., and Target Corporation (In The United States District Court For The Eastern District Of
Virginia, Norfolk Division, Civil Action No. 2:11-cv-512-RAJ) (2012)



                                                    4
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 146 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

DDR Holdings, LLC vs. Hotels.com, L.P.; Expedia, Inc.; Travelocity.com, L.P.; Site59.com,
LLC; Internetwork Publishing Corporation d/b/a Lodging.com; Neat Group Corporation; Orbitz
Worldwide, LLC; International Cruise & Excursion Gallery, Inc.; OurVacationStore.com,
Inc.; National Leisure Group, Inc. / World Travel Holdings, Inc.; and Digital River, Inc. (In
The United States District Court For The Eastern District Of Texas, Marshall Division, Civil
Action No. 2:06-CV-42-JRG) (2012)

Tyco Healthcare Group LP and United States Surgical Corporation vs. Ethicon Endo-
Surgery, Inc. (In The United States District Court For The District Of Connecticut, Civil Action
No: 3:10-cv-00060 (JBA)) (2012)

CardSoft, Inc. and CardSoft (Assignment For The Benefit Of Creditors), LLC vs. VeriFone
Systems Corporation; Hypercom Corporation; Ingenico S.A.; Ingenico Corp.; Ingenico
Inc.; Shera International Ltd.; and Blue Bamboo (UUSA), Inc. (United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No. 2:08-cv-00098) (2012)

Merial Limited and Merial SAS vs. Cipla Limited, Velcera, Inc., and FidoPharm, Inc. (In The
United States District Court For The Middle District Of Georgia, Athens Division, Case No.
3:07-CV-125 (CDL)) (2012; injunction hearing)

Geoffrey L. Berman, Trustee of the SB Liquidation Trust vs. Ernst & Young LLP
(International Institute For Conflict Prevention & Resolution, New York, NY) (2012)

CEATS, Inc. vs. Continental Airlines, Inc.; Ticketmaster, L.L.C.; Tickets.com, Inc.;
TicketNetwork, Inc.; TicketsNow.com, Inc.; AirTran Airways, Inc.; Alaska Airlines, Inc.;
Delta Air Lines, Inc.; Jet Blue Airways Corporation; United Air Lines, Inc.; US Airways,
Inc.; and Virgin America, Inc. (In The United States District Court For The Eastern District Of
Texas, Tyler Division, Case No. 6:10-cv-120 LED) (2012)

Halliburton Energy Services, Inc. vs. Weatherford International, Inc. and BJ Services
Company (In The United States District Court For The Northern District Of Texas, Dallas
Division, Civil Action No. 307-cv-2144-K) (2012)

Convolve, Inc. vs. Dell, Inc., Western Digital Corporation, Hitachi Global Storage
Technologies, Inc., and Hitachi, Ltd. (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Civil Action No. 2:08-cv-244) (2011)

Personal Audio, LLC vs. Apple Inc.; Sirius XM Radio, Inc.; XM Satellite Radio, Inc.; Coby
Electronics, Corp.; Archos, Inc. (United States District Court For The Eastern District Of Texas,
Lufkin Division, Case 9:09-cv-00111-RC) (2011)

Bedrock Computer Technologies LLC vs. Yahoo! Inc. (In The United States District Court For
The Eastern District Of Texas, Tyler Division, Case No. 6:09-cv-269) (2011)

Bedrock Computer Technologies LLC vs. Google Inc. (In The United States District Court For
The Eastern District Of Texas, Tyler Division, Case No. 6:09-cv-269) (2011)



                                                    5
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 147 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Cheetah Omni LLC vs. Verizon Services Corporation, Verizon Business Network Services
Inc., and Verizon Enterprise Delivery LLC (In The United States District Court For The
Eastern District Of Texas, Tyler Division, Civil Action No. 6:09-cv-260-LED) (2011)

Alexsam, Inc. vs. IDT Corporation (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Case No. 2:07-CV-420-TJW) (2011)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2011)

St. Jude Medical, Inc. and St. Jude Medical Puerto Rico LLC vs. Access Closure, Inc. (In
The United States District Court For The Western District Of Arkansas, Texarkana Division,
Case No. 4:08-cv-04101-HFB) (2010)

Affinity Labs of Texas, LLC vs. BMW North America, LLC; BMW Manufacturing Co., LLC;
Hyundai Motor America, Inc.; Hyundia Motor Manufacturing Alabama, LLC; Kia Motors
America, Inc.; Mercedes-Benz USA, LLC; Mercedes-Benz U.S. International, Inc.; Volkswagen
Group of America, Inc. (In The United States District Court For The Eastern District Of Texas,
Lufkin Division, Civil Action No. 9:08-cv-164-RC) (2010)

Mirror Worlds, LLC vs. Apple, Inc. (United States District Court For The Eastern District Of
Texas, Tyler Division, Civil Action No. 6:08-CV-88-LED) (2010)

VirnetX Inc. and Science Applications International Corporation vs. Microsoft Corporation (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 607CV80 (LED)) (2010)

Carpathia Hosting, Inc., Carpathia Hosting, Inc. as nominee and trustee, for Triumviri, Inc., and
Triumviri, Inc. vs. Electronic Data Systems, LLC (JAMS Arbitration, Washington, D.C., No.
1410005118) (2010)

Cummins-Allison Corp. vs. Shinwoo Information & Telecommunications Co., Ltd., n/k/a SBM
Co., Ltd., and Amro-Asian Trade, Inc. (In The United States District Court For The Eastern
District Of Texas, Lufkin Division, Civil Action No. 9:07cv196 and Civil Action No. 9:07cv228,
Consolidated) (2009)

i4i Limited Partnership and Infrastructures for Information Inc. vs. Microsoft Corporation (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:07-CV-113-LED) (2009)

Paradox Security Systems, Ltd., Shmuel Hershkovitz, and Pinhas Shpater vs. ADT Security
Services, Inc., Digital Security Controls, Ltd., Monitronics International, Inc., and Protection
One, Inc. (In The United States District Court For The Eastern District Of Texas, Marshall
Division, C. A. No. 2:06-CV-462 (TJW)) (2009)

Hearing Components, Inc. vs. Shure, Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Civil Action No. 9:07-cv-104 (RHC)) (2009)


                                                    6
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 148 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Rambus, Inc. vs. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
Samsung Semiconductor, Inc., and Samsung Austin Semiconductor, L.P. (United States
District Court, Northern District Of California – San Jose Division, Case No. 05 02298 RMW)
(2008)

Abbott Laboratories and TheraSense, Inc. vs. Becton, Dickinson and Company and Nova
Biomedical Corp. (In The United States District Court, Northern District of California, Civil
Action No. C04-2123 WHA) (2008)

In the Matter of Certain 3G Wideband Code Division Multiple Access (WCDMA) Handsets and
Components Thereof (InterDigital Communications Corporation and InterDigital Technology
Corporation vs. Samsung Electronics Co., Ltd, Samsung Electronics America, Inc., and
Samsung Telecommunications America LLC; The United States International Trade
Commission, Washington, D.C., Investigation No. 337-TA-601) (2008)

Bueno Conato, LLC vs. Bajio LLC, Bajio National LLC, Bajio Franchising LLC, and Doctor’s
Associates, Inc. (American Arbitration Association, Western Case Management Center, Case
No. 77 114 Y 00254 06 WYGI) (2008)

Akamai Technologies, Inc. and Massachusetts Institute of Technology vs. Limelight
Networks, Inc. (In The United States District Court, District of Massachusetts, Civil Action No.
06 CA 11109 RWZ and Civil Action No. 06 CA 11585 RWZ) (2008)

Blackboard Inc. vs. Desire2Learn Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Case No 9:06CV155) (2008; trial and injunction hearing)

Applied Medical Resources Corp. vs. United States Surgical Corporation (In The United
States District Court For The Central District Of California, Southern Division, Case No. SACV
03-1267 CJC (MLGx)) (2008)

Electronic Data Systems Corporation vs. Towers, Perrin, Forster & Crosby, Inc. (American
Arbitration Association Northeast Case Management Center, Case No. 13 489 Y 00146 07)
(2007)

Computer Acceleration Corporation vs. Microsoft Corporation (In the United States District
Court for the Eastern District of Texas, Lufkin Division, Civil Action No. 9:06-CV-140-RHC)
(2007)

YC Partners, LTD. d/b/a Yantis Company vs. Zach Hall; Rodman Excavation, Inc. d/b/a
Rodman Companies, San Antonio Division; Rodman Utilities, L.P.; Rodman Power &
Communications, LLC; Rodman Natural Resources, Inc.; Rodman Paving, Inc. (In The
District Court, Bexar County, Texas, 285th Judicial District, No. 2007-CI-03027). (2007;
hearing regarding Motion to Compel Plaintiff’s Documents)

QPSX Developments 5 Pty Ltd vs. Nortel Networks Inc. (In the United States District Court for
the Eastern District of Texas, Marshall Division, Civil Action No. 2:05CV-268) (2007)



                                                    7
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 149 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

AVID Identification Systems, Inc. vs. Philips Electronics North America Corporation,
Koninklijke Philips Electronics N.V., The Crystal Import Corporation, Medical Management
International, Inc., and Datamars SA (In The Eastern District of Texas, Marshall Division, Case
No. 2:04-CV-183) (2006)

TiVo Inc. vs. EchoStar Communications Corporation, EchoStar DBS Corporation, EchoStar
Technologies, and Echosphere Limited Liability Company (United States District Court for the
Eastern District of Texas, Marshall Division, Case No. 2 – 04CV01 DF) (2006)

William Ziegler and DenLou, Inc. vs. Synergistic International, LLC (American Arbitration
Association, Dallas, Case No.: 71 114 E 00733 04) (2005)

Dr. Phillips, Inc. vs. Control Laser Corporation and Excel Technology, Inc. (In the Circuit
Court of the Ninth Judicial Circuit in and for Orange County, Florida, Case No. 02-CA-000075,
Division: 32, Business Court) (2005)

William A. Wise vs. El Paso Corporation (American Arbitration Association, Houston, Case
No. 70-Y-116-00327-04) (2005)

Aviall Services, Inc. vs. Honeywell International, Inc. and Kelly Aerospace, Inc. (American
Arbitration Association, Los Angeles, Arbitration No. 71 Y 181 00717 03) (2005)

MCI Worldcom Network Services, Inc. vs. Twister Communications Network, Inc. (In the
District Court of Montgomery County, Texas, 221st Judicial District, Civil Action No. 00-05-
03124CV) (2005)

Kathleen C. Cailloux, Kenneth F. Cailloux, Paula L. Heilman, and Robert Stephen Andresakis
vs. Baker Botts, L.L.P., Wells Fargo Bank Texas, N.A., William R. Goertz, S. Stacy Eastland,
and Stephen T. Dyer (In the 198th Judicial District Court of Kerr County, Texas, Civil Action
No. 03-603-B) (2005)

Brooktrout, Inc. vs. Eicon Networks Corporation, Eicon Networks, Inc. (In the United States
District Court for the Eastern District of Texas, Marshall Division, Case Number 03-CV-59)
(2004)

Colgate-Palmolive Company vs. The Procter & Gamble Company (In the United States
District Court for the Southern District of New York, 03 Civ. 9348 (LLS) (DFE)) (2004)

Electronic Data Systems Corp. vs. Aspect Communications Corp. (American Arbitration
Association, San Francisco, Case No. 74 Y 117 00586 03 GAP) (2004)

PK Ventures, Inc. and Subsidiaries, PK Ventures Limited Partnership, and Robert M. Rose
and Alice N. Rose vs. Commissioner of Internal Revenue (United States Tax Court, Jacksonville,
Florida, Docket Nos. 005836-99, 006395-99, and 10154-99) (2004)

Brine, Inc. and Sports Licensing, Inc. vs. STX, Inc. and STX, LLC (In the United States
District Court for the District Massachusetts, Worchester Division, Civil Action No. 99-40167)
(2003)

                                                    8
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 150 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.


Teleplus, Inc., vs. Avantel, S.A. (In the United States District Court Western District of Texas,
San Antonio Division, Civil Action No. SA-98-CA-0849 FB) (2003)

Cavalry Investments, L.L.C. vs. Sunstar Acceptance Corporation and NationsCredit
Commercial Corporation (County Court at Law, Number 4, Dallas County, Texas, Cause No.
99-02296-D) (2003)

Steven R. Keene d/b/a Pagers Plus vs. AT&T Wireless, Inc., a/k/a AWS National Accounts,
L.L.C., and First Cellular Group of Shreveport, Inc. d/b/a AT&T Wireless Services (Judicial
Arbitration and Administration Services, Inc.) (2003)

Poly-America, Inc. vs. Serrot International, Inc. (In the United States District Court for the
Northern District of Texas, Dallas Division, Civil Action No. 3:00CV1457-D) (2002)

Morgan Howard, L.L.C. vs. Immedient, Inc. (In the County Court at Law No. 3, Dallas County,
Texas, Cause No. 01-899-C) (2002)

Andrew Cumming vs. J. C. Penney Company, Inc. (In the District Court of Dallas County,
Texas, 160th Judicial District, Civil Action No. 71-160-00077-01) (2002)

Inter-Tel, Incorporated vs. Bank of America, Arizona (In the Superior Court of the State of
Arizona in and for the County of Maricopa, Case No. CV 96-00867) (2002)

COC Services, Ltd. vs. CompUSA, Inc., Grupo Carso S.A. de C.V., Grupo Sanborns S.A. de
C.V., TPC Acquisition Corp., Carlos Slim Helu and James Halpin (In the District Court 116th
Judicial District of Dallas County, Texas, Case No. 0000023) (2001)

United States of America vs. Dan Anderson (In the United States District Court for the District
of Kansas, Civil Action No. 2:99mc205 and 2:99mc207) (2000)

Scott K. Ginsburg vs. Goldman, Sachs & Co. (Before the National Association of Securities
Dealers, Inc., Dallas) (2000)

TCP Holdings, LLC, Robert Neely, and David Thomas vs. Tim Kirk (Before the American
Arbitration Association, Dallas, Case No. 71 18000564 98) (2000)

United States of America vs. Dan Anderson and Baptist Medical Center (In the United States
District Court for the District of Kansas, Civil Action No. 2:99mc205 and 2:99mc207) (1999;
Sentencing Hearing)

In the Matter of Application No. 96-1, Olympic Pipe Line Company: Cross Cascade Pipeline
Project (Before the State of Washington Energy Facility Site Evaluation Council) (1999)

Magnetic Technologies, S.P.R.L. vs. Connectware, Inc. (In the District Court Dallas County,
Texas, 68th Judicial District) (1998; Daubert/Robinson Hearing Testimony and Trial Testimony)



                                                    9
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 151 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Jeannean Heller, CRNA; Joanne Lewis, CRNA; Harold Newsom, CRNA; and Lola H. Wright,
CRNA vs. Raymond M. Dunning, Jr. and Columbia Medical Center of Lewisville
Subsidiary L.P., d/b/a Columbia Medical Center of Lewisville, Dallas, Texas (American
Arbitration Association, Dallas, Texas Region) (1998)

Proposed Form A Acquisition of Control of Universal Fidelity Life Insurance Company, an
Oklahoma Domestic stock insurer, by Conseco, Inc., A Delaware Corporation (Before the
Insurance Commissioner of the State of Oklahoma, Case No. 97-207-TRN) (1998)

Sledge W. Killion vs. Metropolitan Life Insurance Company, et al. (Before the National
Association of Securities Dealers, Inc., Dallas, NASD Arbitration No. 95-05997) (1997)

Reedrill Corporation vs. Driltech, Inc. (U.S. District Court for the Eastern District of Texas,
Sherman Division, Civil Action No. 4:95CV189) (1997)

Robert Tuck vs. Westec Security, Inc. (Superior Court of the State of California for the County
of Los Angeles, Case No. BC131221) (1996)

Exar Corporation vs. SGS-Thomson Microelectronics Srl (Court of International Arbitration of
the International Chamber of Commerce, New York) (1996)

Nationwide Business Telephones and Team Centrex vs. Introlink Communications System,
Inc. and Pacific Bell, Inc. (Superior Court of the State of California for the County of Los
Angeles, Case No. BC009783) (1996)

TriCom, Inc. vs. Electronic Data Systems Corporation (U.S. District Court for the Eastern
District of Michigan, Southern Division, Civil Action No. 2:92CV76374) (1995)

Rauscher, Pierce, Refsnes, Inc. vs. Alfred W. Anderson, Jr. (Before the National Association of
Securities Dealers, Inc., Dallas) (1995)

Ivy Goth vs. City of Los Angeles and Department of Water and Power (Superior Court of the
State of California for the County of Los Angeles, Case No. SC013502) (1995)

Bio-Medical Applications Management Company, Inc. vs. Dallas Nephrology Associates
(U.S. District Court for the Eastern District of Texas, Sherman Division, Civil Action No.
4:94CV37) (1995)

Cybor Corporation vs. FAS Technologies, Inc. (U.S. District Court for the Northern District of
California, San Jose, Civil Action No. 5:93CV20712) (1995)

Phillips Petroleum Company vs. Rexene Corporation (U.S. District Court for the District of
Delaware, Civil Action No. 1:90CV208) (1994)

Donald J. Dougher, et al. vs. Gerard J. Dougher, Sr., et al. (Superior Court of the State of
California for the County of Orange, Case No. 677451) (1994)



                                                   10
    Case 5:17-cv-00564-NC            Document 248-1         Filed 10/09/18   Page 152 of 551
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Texas State Bank, et al. vs. Electronic Data Systems Corporation (206th District Court of
Hidalgo County, Texas) (1994)

Union Oil Company of California vs. International Insurance Company, et al. (Superior Court
of the State of California) (1993)

Chroma Lighting and Charles T. Von Der Ahe vs. GTE Products Corporation and Sylvania
Lighting Services Corporation (U.S. District Court for the Central District of California, Civil
Case No. 2:91CV6424) (1993)

Arley Del Gado vs. County of Los Angeles (Superior Court of the State of California for the
County of Los Angeles) (1993)

Villarreal vs. East Union High School District (Superior Court of the State of California) (1993)

Sunbelt Television, Inc. vs. Jones Intercable, Inc. (U.S. District Court for the Central District of
California, Civil Case No. 2:91CV3506) (1992)

Clayton Jacobson vs. Kawasaki Heavy Industries, Ltd., Japan; Kawasaki Motors Corporation,
USA; and Kawasaki Motors Manufacturing Corporation, USA (U.S. District Court for the
Central District of California) (1991)

Advanced Building Maintenance, Inc. vs. Premier Ventures, Inc., dba Premier Building
Maintenance (Superior Court of the State of California for the County of Los Angeles) (1990)

Southwest Tank Liners vs. Joor Manufacturing, Inc. (U.S. District Court for the Central District
of California) (1990)




                                                   11
    Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18        Page 153 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

                                       KEITH R. UGONE, PH.D.
                                      DEPOSITION TESTIMONY2

Implicit, LLC vs. Palo Alto Networks, Inc. (United States District Court, Eastern District Of
Texas, Tyler Division, Civil Action No. 6:17-cv-336) (2018)

Fundamental Innovation Systems International LLC vs. LG Electronics, Inc., LG Electronics
U.S.A., Inc., LG Electronics Mobilecomm U.S.A., Inc., LG Electronics Mobile Research
U.S.A. LLC and LG Electronics Alabama, Inc. (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Civil Action No. 16-CV-1425) (2018)

Rail Solutions of Louisiana, LLC vs. Genesis Rail Services, LLC, Genesis Energy, L.P., and
Genesis Energy, LLC (In The District Court Of Harris County, Texas, 190th Judicial District,
Cause No. 2017-23480) (2018)

In Re: Dollar General Corp Motor Oil Marketing And Sales Practices Litigation (United States
District Court, Western District Of Missouri, Western Division, MDL No. 2709, Master Case
No. 6-02709-MD-W-GAF) (2018)

Arconic Inc. (f/k/a Alcoa Inc.) vs. Universal Alloy Corporation (In The United States District
Court For The Northern District Of Georgia, Case No. 1:15-cv-01466-ELR) (2018)

Toby Schechner, Barbara Barnes, Laura Bliss, Kathleen Jordan, Kathryn Limpede, Louise
Miljenovic, Candace Oliarny, Beverly Simmons, Richard Thome and Mary Ellen Thome,
individually and on behalf of all others similarly situated vs. Whirlpool Corporation (United
States District Court, Eastern District Of Michigan, Case No. 2:16-cv-12409-SJM-RSW) (2018:
two depositions)

In Re: Ameranth Patent Litigation Cases (United States District Court, Southern District Of
California, Lead Case No. 3:11-cv-01810-DMS-WVG) (Ameranth, Inc. vs. Papa John’s USA,
Inc. (Case No. 3:12-cv-00729)) (2018)

Jackie Fitzhenry-Russell, Robin Dale, and Gegham Margaryan, as individuals, on behalf of
themselves, the general public and those similarly situated vs. Dr. Pepper Snapple Group, Inc.,
Dr. Pepper/Seven Up, Inc., and Does 1-50 (United States District Court For The Northern
District Of California, Case Nos. 5:17-cv-00564-NC (lead); 5:17-02341-NC (consolidated);
5:17-cv-04435-NC (consolidated)) (2018)

Lumileds LLC vs. Elec-Tech International Co. Ltd., Donglei Wang, Eva Chan, Gangyi Chen,
and Does 1 through 100 (Superior Court Of The State Of California For The County Of Santa
Clara, Civil Action No. 115:cv-278566) (2018)

Jennifer Beardsall, et al., individually and on behalf of all others similarly situated vs. CVS
Pharmacy, Inc., Target Corporation, Walgreen Co., Wal-Mart Stores, Inc., and Fruit of
the Earth, Inc. (United States District Court, Northern District Of Illinois, Case No. 1:16-cv-
06103) (2018)




2
 Deposition testimony over the 1990-2018 time period. Case citations and dates are subject to verification. Clients
bolded.

                                                        12
    Case 5:17-cv-00564-NC           Document 248-1    Filed 10/09/18     Page 154 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Jim and Becky McGaffin; Rachale and Nathan LaVoie; and Daniel and Stefanie Nunn vs.
Cementos Argos S.A.; Argos USA Corp.; Argos Cement, LLC; and Argos Ready Mix LLC
(In The United States District Court For The Southern District Of Georgia, Savannah Division,
Case No. 4:16-cv-00104-LGW-GRS) (2018)

Archer and White Sales, Inc. vs. Henry Schein, Inc., Danaher Corporation, Instrumentarium
Dental, Inc., Dental Equipment, LLC, KaVo Dental Technologies, LLC, and Dental
Imaging Technologies Corporation (In The United States District Court For The Eastern
District of Texas, Marshall Division, Civil Action No. 2:12-CV-00572-JRG) (2018)

Brandi Price and Christine Chadwick, on behalf of themselves and all others similarly situated
vs. L’Oreal USA, Inc. and Matrix Essentials, LLC (United States District Court, Southern
District Of New York, No. 1:17-cv-00614-LGS) (2018)

Amdocs (Israel) Limited, an Israeli Corporation vs. Openet Telecom, Inc., a Delaware
Corporation, and Openet Telecom Ltd., an Irish Corporation (United States District Court,
Eastern District Of Virginia, Alexandria Division, Case No. 1:10cv910 (LMB/TRJ)) (2017)

Title Source, Inc. vs. HouseCanary, Inc. f/k/a Canary Analytics, Inc. (In The District Court Of
Bexar County, Texas, 73rd Judicial District, Cause No. 2016-CI-06300) (2017)

TicketNetwork, Inc. and Ticket Software LLC vs. CEATS, Inc. (United States District Court
For The Eastern District Of Texas, Marshall Division, Case No. 2:15-CV-1470) (2017)

Team Express Distributing LLC vs. Junction Solutions, Inc., Microsoft Corp., et al. (In The
United States District Court For The Western District Of Texas, San Antonio Division, Civil
Action No. 5:15-cv-00994-DAE) (2017)

Post Consumer Brands, LLC vs. General Mills, Inc. and General Mills Sales, Inc. (United
States District Court, District Of Minnesota, Civil Action No. 17-cv-04915 (JNE-TNL)) (2017)

Dependable Sales, et al. vs. TrueCar, Inc. (In The United States District Court For The
Southern District Of New York, Case No. 1:15-CV-01742-PKC) (2017)

Lianna Kabbash, on behalf of herself and all others similarly situated vs. The Jewelry Channel,
Inc. USA d/b/a Liquidation Channel (United States District Court For The Western District Of
Texas, Austin Division, Case No. 1-16-CV-212-SS) (2017)

Brian Flynn, George and Kelly Brown, and Michael Keith, on behalf of themselves and all
others similarly situated vs. FCA US LLC f/k/a Chrysler Group LLC and Harmon
International Industries, Incorporated (In The United States District Court For The Southern
District Of Illinois, Case No. 3:15-CV-855-NJR-DGW) (2017)

Sycamore IP Holdings LLC vs. Verizon Business Global, LLC and Verizon Services
Corporation (In The United States District Court, Eastern District Of Texas, Marshall Division,
Case No. 2:16-cv-591) (2017)



                                                13
    Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18     Page 155 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Sunoco Partners Marketing & Terminal L.P. vs. U.S. Venture, Inc., U.S. Oil, and Technics,
Inc. (In The United States District Court For The Northern District Of Illinois, Eastern Division,
Civil Action No. 1:15-CV-8178) (2017)

Virginia Innovation Sciences, Inc. vs. Amazon.com, Inc. (In The United States District Court
For The Eastern District Of Virginia, Civil Action No. 1:16-cv-00861 (LO-MSN)) (2017)

Covidien Sales LLC, Covidien LP, and Covidien Inc. vs. Ethicon Endo-Surgery, Inc. and
Ethicon Endo-Surgery, LLC (In The United States District Court For The Southern District Of
Ohio, Western Division, Civil Case No.: 1:11-cv-871) (2017)

Ethicon Endo-Surgery, Inc. and Ethicon Endo-Surgery, LLC vs. Covidien LP, Covidien Sales
LLC, and Covidien AG (United States District Court, District Of Massachusetts, Civil Action
No. 1:16-cv-12556-LTS) (2017)

The State Of Texas, ex rel. Allison Zayas and Tracy Miksell-Branch vs. AstraZeneca LP and
AstraZeneca Pharmaceuticals LP (In The District Court, 353rd Judicial District, Travis
County, Texas, Cause No. D-1-GN-13-003530) (2017)

YKK Corporation and YKK (U.S.A.) Inc. vs. Velcro USA Inc. and Velcro Canada Inc. (In
The United States District Court For The Middle District Of Georgia, Macon Division, Case No.
5:13-CV-306-LJA) (2017)

Church & Dwight Co., Inc. vs. SPD Swiss Precision Diagnostics Gmbh (In The United States
District Court For The Southern District Of New York, Civil Action No. 1:14 CV 585 (AJN))
(2017)

Clarke C. Coll, Trustee of the Bankruptcy Estate of Wayne Kenneth Auge, II, M.D. vs.
Stryker Corporation and Howmedica Osteonics Corp. (In The United States District Court For
The District of New Mexico, Santa Fe Division, Case No. 1:14-CV-01089-KG-SMV) (2017)

Johns Manville Corporation and Johns Manville vs. Knauf Insulation, LLC, Walter A.
Johnson, and Knauf Insulation GMBH (In The United States District Court For The District Of
Colorado, Civil Action No. 1:15-cv-00531) (2017)

James P. Brickman, et al., individually and as a representative of all persons similarly situated
vs. Fitbit, Inc. (United States District Court, Northern District Of California, Case No. 3:15-cv-
02077-JD) (2017)

Scott Koller, an individual, on behalf of himself, the general public and those similarly situated
vs. Deoleo USA, Inc. and Med Foods, Inc. (United States District Court, Northern District Of
California, Case No. 3:14-cv-02400-RS) (2017)




                                                14
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 156 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

B/E Aerospace, Inc. vs. Zodiac Aerospace, Zodiac US Corporation, Zodiac Seats US LLC
(a/k/a Weber Aircraft LLC), Heath Tecna, Inc. (a/k/a Heath Tecna, a/k/a Zodiac Airline Cabin
Interiors, a/k/a Zodiac Airline Interior Integration), C&D Zodiac, Inc. (a/k/a C&D Aerospace,
Inc., a/k/a Zodiac Business Aircraft Interiors), and Zodia Northwest Aerospace Technologies
(a/k/a Northwest Aerospace Technologies, Inc.) (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Case No. 2:16-cv-1417) (2017)

Tech Pharmacy Services, LLC vs. Alixa RX LLC, Golden Gate National Senior Care LLC
d/b/a Golden LivingCenters, Fillmore Capital Partners, LLC, Fillmore Strategic Investors, LLC,
and Fillmore Strategic Management, LLC (In The United States District Court For The Eastern
District Of Texas, Sherman Division, Civil Action No. 4:15-cv-00766-ALM) (2017)

Eidos Display, LLC and Eidos III, LLC vs. AU Optronics Corporation; AU Optronics
Corporation America; Chi Mei Innolux Corporation; Chi Mei Optoeletronics USA, Inc.;
Chunghwa Picture Tubes, LTC.; Hannstar Display Corporation; and Hannspree North America,
Inc. (United States District Court For The Eastern District Of Texas, Tyler Division, Civil
Action No. 6:11-cv-201) (2017)

International Business Machines Corporation vs. The Priceline Group Inc.; KAYAK Software
Corporation; OpenTable, Inc.; and priceline.com LLC (In The United States District Court
For The District Of Delaware, Case No. 1:15cv-00137) (2017)

511 Innovations vs. Samsung Telecommunications America, LLC; Samsung Electronics
America, Inc.; Samsung Electronics Co., Ltd.; Huawei Technologies USA Inc.; Huawei
Device USE Inc.; Huawei Technologies Co., Ltd; ZTE (USA) Inc.; ZTE Corporation; AMSA-
TAOS USA Inc.; and AMS AG (In The United States District Court For The Eastern District
Of Texas, Marshall Division, Civil Action No. 2:15-cv-1526) (2017)

Tatiana Korolshteyn, et al. vs. Costco Wholesale Corporation and NBTY, Inc. (United States
District Court, Southern District Of California, Case No. 3:15-cv-0709-CAB-RBB) and Paige
Petkevicius, et al. vs. NBTY, Inc., Nature’s Bounty, Inc., and Rexall Sundown, Inc. (United
States District Court, Southern District Of California, Case No. 14-cv-02616-CAB-RBB) (2016)

In re: 5-Hour Energy Marketing And Sales Practices Litigation (United States District Court,
Central District Of California, Case No. 2:13-ml-02438 PSG (PLAx)) (2016)

SurgiQuest, Inc. vs. Lexion Medical, LLC (In The United States District Court, District Of
Delaware, Civil Action No. 14-382-GMS) (2016)

Flo & Eddie, Inc., a California corporation, individually and on behalf of all others similarly
situated vs. Sirius XM Radio Inc. (United States District Court, Central District Of California,
Case No. 13-CV-5693 PSG-GJS) (2016; see also 2015 citation)

Rudolph Technologies, Inc. vs. Camtek Ltd. (United States District Court, District Of
Minnesota, Case No.: 0:15-cv-01246) (2016)




                                                15
    Case 5:17-cv-00564-NC             Document 248-1          Filed 10/09/18        Page 157 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

In Re Dial Complete Marketing and Sales Litigation (MDL No. 2263) (United States District
Court, District Of New Hampshire, MDL Docket No. 11-md-2263-SM ALL CASES) (2016; see
also 2013 citation)

Cornerstone Healthcare Group Holdings, Inc. vs. Reliant Hospital Partners, LLC, Nautic
Partners LLC, Michael Brohm, Patrick Ryan, Kenneth McGee, Jerry Huggler, Chad Deardorff,
et al. (In The District Court Of Dallas County, Texas, 68th Judicial District, Cause No. 11-04339)
(2016)

James R. Thompson vs. Orix USA Corporation and Orix Capital Markets, LLC (Cause No.
DC-14-12769) and Clifford Weiner vs. Orix USA Corporation and Orix Capital Markets,
LLC (Cause No. DC-15-08989) (In The District Court Dallas County, Texas, 298th Judicial
District) (2016)

Odyssey Wireless, Inc. vs. LG Electronics U.S.A., Inc. and LG Electronics MobileComm
U.S.A., Inc. (United States District Court, Southern District Of California, San Diego Division,
Civil Action No. 3:15-CV-01743) (2016)

Cellular Communications Equipment LLC vs. HTC Corporation, HTC America, Inc., Exedea,
Inc., AT&T Mobility, Inc., Cellco Partnership Inc. D/B/A Verizon Wireless, Sprint Solutions,
Inc., Sprint Spectrum L.P., Boost Mobile LLC, T-Mobile USA, Inc., and T-Mobile US, Inc. (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:13-cv-507) (2016) 3

Kenneth Hobbs, on behalf of himself and all others similarly situated vs. Brother International
Corporation (United States District Court, Central District Of California, Case No. 2:15-cv-
01866-PSG-VBK) (2016)

In Re Petrobras Securities Litigation: Universities Superannuation Scheme Limited vs.
Petrobras, Maria das Gracas Silver Foster, Jose Sergio Gabrielli, Almir Guilherme
Barbassa, et al. and Discovery Global Citizens Master Fund, LTD., et al. vs. Petrobras, Maria
das Gracas Silver Foster, et al. (United States District Court For The Southern District Of New
York, Case No. 14-cv-9662 (JSR) and Case No. 15-cv-9126 (JSR)) (2016)

Vehicle IP, LLC vs. AT&T Mobility LLC, Cellco Partnership d/b/a Verizon Wireless,
Networks In Motion, Inc., Telecommunications Systems, Inc., and TeleNav, Inc. (In The
United States District Court For The District Of Delaware, Case No. 09-1007-LPS) (2016)

Distributional International Southwest, Inc. vs. John Bertsch, Todd George, Bay Insulation of
Texas, Inc., and Bay Industries, Inc. (In The District Court Of Tarrant County, Texas 236th
Judicial District, Cause No. 236-276832-15) (2016)



3
 Three lawsuits: (a) Cellular Communications Equipment LLC v. HTC Corporation, AT&T Mobility LLC, et al.; (b)
Cellular Communications Equipment LLC v. ZTE Corporation, AT&T Mobility LLC, et al.; and (c) Cellular
Communications Equipment LLC v. Apple Inc, AT&T Mobility LLC, et al. Deposition was with respect to the CCE
vs. Apple / ATT matter.

                                                     16
    Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18     Page 158 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Stacy Pierce-Nunes and Aurelio Diaz, on behalf of themselves and all others similarly situated
vs. Toshiba America Information Systems, Inc.; Toshiba Corporation; Toshiba Lifestyle
Products & Services Corporation (United States District Court For The Central District Of
California, Case No. 2:14-cv-07242-DMG-KSx) (2016)

Rohini Kumar, an individual, on behalf of herself, the general public and those similarly situated
vs. SALOV North America Corp. (United States District Court, Northern District Of
California, Oakland Division, Case No. 4:14-cv-02411) (2016)

In Re Bayer Phillips Colon Health Probiotic Sales Practice Litigation (United States District
Court, District Of New Jersey, Civil Action No. 11-3017 (JLL) (JAD)) (2016)

In re: Tropicana Orange Juice Marketing And Sales Practices Litigation (United States District
Court, District Of New Jersey, No. 12-cv-7382-WJM-JBC) (2016)

Bombardier Recreational Products Inc. and BRP U.S. Inc. vs. Arctic Cat Inc. and Arctic Cat
Sales Inc. (United States District Court, District Of Minnesota, Case 0:12-CV-02706
(ADM/LIB) (2016)

Thought, Inc. vs. Oracle Corporation, Oracle America, Inc., and Oracle International
Corporation (In The United States District Court For The Northern District Of California, Civil
Action No. 3:12-cv-05601-WHO) (2016)

Arctic Cat Inc. vs. Bombardier Recreational Products Inc. and BRP U.S. Inc. (United States
District Court, Southern District Of Florida, Case No. 0:14-cv-62369-BB) (2016)

Hitachi Maxell, Ltd. vs. Top Victory Electronics (Taiwan) Co. Ltd., TPV Int’l (USA), Inc.,
Envision Peripherals, Inc., Top Victory Electronics (Fujian) Co. Ltd., TPV Electronics
(Fujian) Co. Ltd., TPV Technology Ltd., and TPV Display Technology (Xiamen) Co., Ltd.
(In The United States District Court For The Eastern District Of Texas, Marshall Division, Civil
Action No. 2:14-cv-01121) (2016)

Signal IP, Inc. vs. Nissan North America, Inc. (In The United States District Court For The
Central District Of California, Western Division, Civil Action No. 2:14-cv-02962 JAK (JEM))
(2016)

Michael Goldemberg, Annie Le, and Howard Petlack, on behalf of themselves and all others
similarly situated vs. Johnson & Johnson Consumer Companies, Inc. (United States District
Court, Southern District Of New York, No. 7:13-cv-03073-NSR-LMS) (2015)

Lorean Barrera, On Behalf Of Herself And All Others Similarly Situated And The General
Public vs. Pharmavite LLC (United States District Court, Central District Of California, Case
No. CV-11-4153 (AGRx) (2015)

Scott Miller, An Individual, On Behalf Of Himself, The General Public And Those Similarly
Situated vs. Fuhu, Inc. And Fuhu Holdings, Inc. (United States District Court, Central District
Of California, Western Division, Case No. 14-cv-6119 CAS (ASx)) (2015)


                                                17
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 159 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Heidi Langan, On Behalf Of Herself And All Others Similarly Situated vs. Johnson & Johnson
Consumer Companies, Inc. (United States District Court, District Of Connecticut, Case No.
3:13-cv-01471-cv-RNC) (2015)

Mary Haley and Michael Haley, Leslie Banks and James Hal Banks, Annie Buinewicz and Brian
Buinewicz, Terrence McIver and Jean Ann McIver, Susan Senyk and Christian Senyk, Mathew
Deller and Renee Deller, Patricia Groome, Gary Samuels, and Marie Lohr On Behalf Of
Themselves And All Others Similarly Situated vs. Kolbe & Kolbe Millwork Co., Inc. (United
States District Court, Western District Of Wisconsin, Case Number: 14:-CV-99) (2015)

Equistar Chemicals, LP and MSI Technology L.L.C. vs. Westlake Chemical Corp. (In The
United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No:
6:14-cv-68) (2015)

ZiiLabs Inc., Ltd vs. Samsung Electronics Co. Ltd., Samsung Electronics America, LLC,
Samsung Telecommunications America, LLC, Samsung Austin Semiconductor, LLC, and
Apple Inc. (In The United States District Court For The Eastern District Of Texas, Marshall
Division, Case No. 2:14-cv-00203) (2015)

Martin D. Schussel, Individually And On Behalf Of All Others Similarly Situated vs. Lincoln
Wood Products, Inc. (In The United States District Court, District Of South Carolina,
Charleston Division, Case No. 2:14-cv-01788-SB) (2015)

Noah Bradach, On Behalf Of Himself And All Others Similarly Situated vs. Pharmavite LLC
(United States District Court, Central District Of California, Case No. 2:14-cv-03218-GHK
(AGRx)) (2015)

ContentGuard Holdings, Inc. vs. Amazon.com, Inc.; Apple Inc.; Blackberry Limited (fka
Research In Motion Corporation); Blackberry Corporation (fka Research In Motion
Corporation); HTC Corporation; HTC America, Inc.; Huawei Technologies Co., Ltd.; Huawei
Devices USA, Inc.; Motorola Mobility LLC; Samsung Electronics Co., Ltd.; Samsung
Electronics America, Inc.; Samsung Telecommunications America, LLC (In The United States
District Court For The Eastern District Of Texas, Marshall Division, Civil Action No. 2:13-cv-
01112-JRG) (2015)

Nathan Dapeer, on Behalf of Himself and All Others Similarly Situated vs. Neutrogena
Corporation (United States District Court, Southern District Of Florida, No. 1:14-cv-22113-
MGC) (2015)

Promethean Insulation Technology LLC vs. Sealed Air Corporation; Reflectix, Inc.; The Home
Depot, Inc.; and Home Depot U.S.A., Inc. (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Cas4e No. 2:13-CV-1113) (2015)

Cardone Industries, Inc. vs. Joel Farina and BBB Industries, LLC (In The District Court Of
Tarrant County, Texas, 17th Judicial District, Cause No. 017-271617-14) (2015)

Flo & Eddie, Inc. vs. Sirius XM Radio Inc. (United States District Court, Central District Of
California, Case No. CV 13-05693 PSG (RZx)) (2015; see also 2016 citation)

                                                18
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 160 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.


Commonwealth Scientific and Industrial Research Organisation vs. Mediatek, Inc.; Mediatek
USA Inc.; Ralink Technology Corp. (USA); Ralink Technology Corp. (Taiwan); Realtek
Semiconductor Corp.; Texas Instruments Inc.; Amazon.com, Inc.; Barnes & Noble, Inc.; Nokia
Corp.; Nokia, Inc.; Samsung Electronics Co. Ltd.; Samsung Electronics America, LLC; Samsung
Telecommunications America, LLC (In The United States District Court For The Eastern
District Of Texas, Tyler Division, Case No. 6:12-cv-00578) (2015)

Audatex North America, Inc. vs. Mitchell International, Inc. (In The United States District
Court For The Southern District Of California, Civil Action No. 3:13-cv-01523) (2015)

Invensys Systems, Inc. vs. Emerson Electric Co. and Micro Motion, Inc. (United States
District Court, Eastern District Of Texas, Tyler Division, Case No.: 6:12-cv-00799-LED) (2015)

National Oilwell Varco, L.P. vs. Omron Oilfield and Marine, Inc. (In The United States
District Court For The Western District Of Texas, Austin Division, Civil Action No. 1:12-cv-
00773) (2014)

Kawasaki Heavy Industries, Ltd., a/k/a Kawasaki Jukogyo Kabushiki Kaisha and Kawasaki
Motors Manufacturing Corp., U.S.A. vs. Bombardier Recreational Products, Inc., BRP U.S.,
Inc., and BRP-Rotax GmbH & Co. KG a/k/a BRP-Powertrain GmbH & Co. (Private
Arbitration, Case No. 26220 CAMG) (2014)

Spherix Incorporated vs. Verizon Services Corp.; Verizon South Inc.; Verizon Virginia LLC;
Verizon Communications Inc.; Verizon Federal Inc.; Verizon Business Network Services
Inc.; and MCI Communications Services, Inc. (In The United States District Court For The
Eastern District Of Virginia, Alexandria Division, Civil Action No. 1:14-cv-721-GBL-TCB)
(2014)

Invue Security Products, Inc. vs. Hangzhou Langhong Technology Co., Ltd. and Langhong
Technology USA, Inc. (In The United States District Court For The Northern District Of Texas,
Fort Worth Division, Civil Action No.: 4:13-cv-457) (2014)

Smartflash LLC and Smartflash Technologies Limited vs. Apple Inc., Robot Entertainment, Inc.,
KingsIsle Entertainment, Inc., HTC Corporation, and Game Circus LLC (In The United States
District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:13-CV-
447); Smartflash LLC and Smartflash Technologies Limited vs. Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung Telecommunications America, LLC,
HTC Corporation, HTC America, Inc., Exedea, Inc., and Game Circus LLC (In The United
States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:13-
CV-448) (2014)

Adaptix, Inc. vs, Alcatel-Lucent USA, Inc. and Cellco Partnership d/b/a Verizon Wireless (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:12-cv-00122) (2014)




                                                19
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 161 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Adaptix, Inc. vs, Apple Inc. and Cellco Partnership d/b/a Verizon Wireless (In The United
States District Court For The Northern District Of California, San Jose Division, Civil Action
No. 5:13-cv-01776-PSG); Adaptix, Inc. vs, HTC Corporation, HTC America, Inc., and Cellco
Partnership d/b/a Verizon Wireless (In The United States District Court For The Northern
District Of California, San Jose Division, Civil Action No. 5:13-cv-01844-(PSG)); Adaptix, Inc.
vs, LG Electronics, Inc., LG Electronics USA, Inc., and Cellco Partnership d/b/a Verizon
Wireless (In The United States District Court For The Eastern District Of Texas, Tyler Division,
Civil Action No. 6:13-cv-00120); Adaptix, Inc. vs, Pantech Wireless, Inc. and Cellco
Partnership d/b/a Verizon Wireless (In The United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:13-cv-00020) (2014)

Transcenic, Inc. vs. Google Inc., Microsoft Corporation, America Online, Inc., MapQuest, Inc.
(In The United States District Court For The District Of Delaware, C.A. No. 11-582-LPS) (2014)

Georgetown Rail Equipment Company vs. Holland L.P. (United States District Court, Eastern
District Of Texas, Tyler Division, Case No. 6:13-cv-366-MHS-JDL) (2014)

Uniloc USA, Inc. and Uniloc Luxembourg S.A. vs. Activision Blizzard, Inc. (In The United
States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:13-
cv-00256) (2014)

Ultratec, Inc. and CapTel, Inc. vs. Sorenson Communications, Inc. and CaptionCall, LLC
(United States District Court, Western District Of Wisconsin, Case No.:3:13-cv-00346) (2014)

Personal Audio, LLC vs. CBS Corporation, NBCUniversal Media, LLC, FOX Broadcasting
Company, FOX Networks Group, Inc., Lotzi Digital, Inc. et al. (In The United States District
Court For The Eastern District Of Texas, Marshall Division, Case No. 2:13-cv-00270-JRG-RSP,
2:13-cv-00271-JRG-RSP, 2:13-cv-577-JRG-RSP, 2:13-cv-00014-JRG-RSP) (2014)

In Re ConAgra Foods, Inc. (Wesson Oil) (United States District Court, Central District Of
California, Western District, Case No. CV 11-05379-MMM, MDL No. 2291) (2014: two
depositions)

Optimize Technology Solutions, LLC vs. Staples, Inc., Dillard’s, Inc., HSN, Inc., J.C.Penney
Corporation, Inc., and Recreational Equipment, Inc. (In The United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No. 2:11-CV-00419-JRG) (2014)

NuVasive, Inc. vs. Laura Lewis (In The United States District Court For the Western District Of
Texas, Austin Division, Civil Action No. 1:12-CV-01156) (2014)

Connecticut Ironworkers Employers Association, Inc., et al. vs. New England Regional
Council of Carpenters (United States District Court, District Of Connecticut, Docket No. 3:10-
CV-165-SRU) (2014)

United Services Automobile Association vs. Mitek Systems, Inc. (In The United States District
Court For The Western District Of Texas, San Antonio Division, Case No. 5:12-cv-00282-FB)
(2014)


                                                20
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18      Page 162 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Florida Atlantic University Research Corporation and Domaine Associates, LLC vs. Acer Inc.,
ASUS Computer International, and TPV Technology Limited, et al. (United States District
Court, Southern District Of Florida, Case No.: 9:12-cv-80694-PAS, Case No.: 9:12-cv-80697,
and Case No.: 9:12-cv-80701-PAS, respectively) (2014)

In Re: Urethanes Antitrust Litigation (Direct Action) – Carpenter Co., Woodbridge Foam
Corporation, Dash Multi-Corp, Inc., et al. vs. Bayer AG, The Dow Chemical Company,
Huntsman International LLC, Lyondell Chemical Company, BASF Corporation, et al. (In The
United States District Court For The District Of Kansas, 04-MD-1616 (JWL), No. 08-2617, No.
09-2026, No. 10-2077) (2014)

Brightstar Corp. and Brightstar, US, Inc. vs. e-Recycling, LLC (In The Circuit Of The 11th
Judicial Circuit In And For Miami-Date County, Florida, Case No. 12-08985 CA 40) (2014)

US Airways, Inc. vs. Sabre Holdings Corporation, Sabre Inc., and Sabre Travel
International Limited (United States District Court, Southern District Of New York, Civil
Action No. 1:11-cv-02725-MGC) (2014)

ASUS Computer International vs. Round Rock Research, LLC (United States District Court,
Northern District Of California, Civil Action No. 3:12-CV-02099-JST) (2014)

Yanira Algarin and Patsy Murdock, on behalf of themselves and all others similarly situated vs.
Maybelline, LLC d/b/a Maybelline New York (United States District Court, Southern District
of California, Case No. 12CV3000 AJB DHB) (2014)

Jean Melchior vs. Hilite International, Inc. (United States District Court For The Northern
District Of Texas, Dallas Division, Civil Action No.: 3:11-CV-03094-M) (2014)

Becton, Dickinson and Company vs. Insulet Corporation (In The United States District Court
For The District Of New Jersey, Case No. 2:10-cv-04371-PGS-ES) (2014)

NuVasive, Inc. vs. Globus Medical, Inc. (In The District Court Of Travis County, Texas, Cause
No. D-1-GN-11-002134) (2013)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2013)

SimpleAir, Inc. vs. Microsoft Corporation, Motorola Mobility, Inc., Google Inc., et al. (In The
United States District Court For The Eastern District Of Texas, Marshall Division, Civil Action
No. 2:11-cv-00416) (2013)

Ethicon Endo-Surgery, Inc. and Ethicon Endo-Surgery, LLC vs. Covidien, Inc. and Covidien,
LP (In The United States District Court For The Southern District Of Ohio, Western Division,
Civil Case No.: 1:11-cv-871) (2013)

Applied Medical Resources Corporation vs. Tyco Healthcare Group LP d/b/a Covidien (In
The United States District Court For The Central District of California, Southern Division, Civil
Action No.: SACV11-01406JVS (ANx)) (2013)

                                                21
    Case 5:17-cv-00564-NC           Document 248-1    Filed 10/09/18     Page 163 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.


Microsoft Corporation vs. LBS Innovations LLC and LBS Innovations LLC, a Texas LLC (In
the United States District Court For The Eastern District Of Texas, Marshall Division, Case No.
2:12-cv-759-JRG) (2013)

Magnum Oil Tools International, Ltd. vs. Tony D. McClinton, JayCar Energy Group. L.L.C.,
Surf Frac Wellhead Equipment Company, Inc., McClinton Energy Group, L.L.C., Motors Mills
Snubbing, L.L.C., and Stan Keeling (In The United States District Court For The Southern
District Of Texas, Corpus Christi Division, Civil Action No: 2-12-cv-00099) (2013: two
damages depositions; 2014: preliminary injunction deposition and damages deposition)

NeuStar, Inc. and Quova, Inc. vs. F5 Networks, Inc. (In The United States District Court For
The Northern District Of California, San Jose Division, Case No. CV12-02574) (2013)

Sabatino Bianco, M.D. vs. Globus Medical, Inc. (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Civil Action No. 2:12-cv-147-JRG) (2013)

Swivelpole Group Pty Ltd. and Swivelpole Patent Pty Ltd vs. Swivelpole USA, Ltd.,
Swivelpole Holdings, LLC, Swivelpole Canada Holdings, Inc., ILS Products, LLC, ILS Products
Holdings, LLC, ILS Manufacturing, LLC, and Andrew Grant (In The District Court Of Harris
County, Texas, 164th Judicial District, Cause No. 2012-42402) (2013)

In The Matter Of Certain Wireless Devices With 3G And/Or 4G Capabilities And Components
Thereof (InterDigital Communications, Inc., InterDigital Technology Corporation, et al. vs.
Samsung Electronics Co., Ltd., Samsung Electronics American, Inc., and Samsung
Telecommunications America, LLC; United States International Trade Commission,
Washington, D.C., Investigation No. 337-TA-868) (2013)

Lodsys, LLC, et al. vs. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
Samsung Telecommunications America, LLC, et al. (In The United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No.: 2:11-CV-90) (2013)

One Technologies, L.P. vs. Profinity, LLC and Chad D. Ertel (In The District Court Dallas
County, Texas, 14th Judicial District, Cause No. 12-03980-A) (2013)

Eidos Display, LLC and Eidos III, LLC vs. AuOptronics Corporation, AU Optronics
Corporation America, Chimei Innolux Corporation, Chi Mei Optoelectronics USA, Inc.,
Chunghwa Picture Tubes, Ltd., Hannstar Display Corporation, and Hannspree North America,
Inc. (United States District Court For The Eastern District Of Texas, Tyler Division, Civil
Action No. 6:11-cv-201) (2013)

Brightstar Corp. and Flipswap Services, LLC vs. Flipswap, Inc. (Judicial Arbitration And
Mediation Services, Case No. 1460000526) (2013; three depositions)

SFA Systems, LLC vs. Amazon.com, Inc. (In The United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:11-cv-00052) (2013)



                                                22
    Case 5:17-cv-00564-NC           Document 248-1    Filed 10/09/18     Page 164 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Palomar Medical Technologies, Inc. and The General Hospital Corporation vs. TRIA Beauty,
Inc. (In The United States District Court, District Of Massachusetts, Civil Action No. 09-CV-
11081-RWZ) (2013)

Maureen Stewart, Kelly Lamicella, and Nicole Bello vs. Beam Global Spirits & Wine, Inc.,
Jim Beam Brands Co., SGC Global, L.L.C., Skinny Girl Cocktails, L.L.C., and Bethenny
Frankel (United States District Court For The District Of New Jersey, Civil Action No. 1:11-cv-
05149 (NLH) (KMW) (2013)

Securities and Exchange Commission vs. Life Partners Holdings, Inc., Brian Pardo, R. Scott
Peden, and David M. Martin (The United States District Court For The Western District of
Texas, Austin Division, Civil Action No.: 1-12-cv-00033-JRN) (2013)

St. Jude Medical, Cardiology Division, Inc., St. Jude Medical Systems AB, and St. Jude
Medical S.C., Inc. vs. Volcano Corporation (In The United States District Court For The
District Of Delaware, C.A. No. 10-631-RGA) (2013)

In Re Dial Complete Marketing and Sales Litigation (MDL No. 2263) (United States District
Court, District of New Hampshire, MDL Docket No. 11-md-2263-SM ALL CASES) (2013; see
also 2016 citation)

Sound Design Technologies, Ltd. vs. Oticon, Inc., SeboTech Hearing Systems, LLC, and
Gennum Corp. (The United States District Court For The District Of Arizona, No. CV11-1375-
PHX-SRB) (2013)

Lake Cherokee Hard Drive Technologies, L.L.C. vs. Bass Computers, Inc., LSI Corporation,
Marvell Semiconductor, Inc., Samsung Semiconductor, Inc., and Tech Data Corporation (In
The United States District Court For The Eastern District Of Texas, Marshall Division, Case No.
2:10-cv-216 (TJW-CE)) (2013)

Abraham & Veneklasen Joint Venture, Abraham Equine, Inc. and Jason Abraham vs. American
Quarter Horse Association (In The United States District Court For The Northern District Of
Texas, Amarillo Division, Civil Action No. 02:12-cv-00103-J) (2013)

Hitachi Consumer Electronics Co., Ltd. and Hitachi Advanced Digital, Inc. vs. Top Victory
Electronics (Taiwan) Co. Ltd., TPV Int’l (USA), Inc., Envision Peripherals, Inc., Top
Victory Electronics (Fujian) Co. Ltd., TPV Electronics (Fujian) Co. Ltd., TPV Technology
Ltd., and VIZIO, Inc. (United States District Court For The Eastern District Of Texas, Marshall
Division, Civil Action No. 2:10-CV-260) (2013)

SmartPhone Technologies, LLC vs. Research In Motion, Corp., Apple, Inc., et al. (The United
States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:10-
CV-74-LED) (2013)

Lutron Electronics Co., Inc. vs. Crestron Electronics, Inc., Face Group, Inc. d/b/a Lifestyle
Electronics, Lava Corp., Audio Vision Systems, LLC (In The United States District Court,
District Of Utah, Central Division, Case: 2:09-cv-707) (2012)


                                                23
    Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18     Page 165 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Oasis Research, LLC vs. AT&T Corp., Carbonite, Inc., EMC Corp., Decho Corp., IOMEGA
Corp., GoDaddy.com, Inc., Iron Mountain Incorporated, Iron Mountain Information
Management, Inc., Pro Softnet Corp., et al. (In The United States District Court For The
Eastern District Of Texas, Sherman Division, Civil Action No. 4:10-cv-00435-MHS-ALM) (two
depositions: 2012 and 2015)

Secure Axcess, LLC vs. Bank of America Corp., Arvest Bank, Bank of the Ozarks, Inc.,
Compass Bancshares, Inc., First National Bank Texas, First National Bank of Omaha,
Zions Bancorporation, et al. (In The United States District Court For The Eastern District Of
Texas, Tyler Division, Case No. 6:10-cv-00670) (2012)

Kehlie R. Espinosa, Lillian E. Levoff, Thomas Ganin, and Daniel Baldeschi vs. Hyundai Motor
America (United States District Court, Central District Of California, Case No. 2:12-cv-00800
GW (FFMx)) (2012)

Axcess International, Inc. vs. Savi Technology, Inc. (In The United States District Court For
The Northern District Of Texas, Dallas Division, Case No. 3:10-cv-01033-F) (2012)

American Airlines, Inc. vs. Sabre Inc., et al. (In The Judicial District Of Tarrant County, Texas,
67th Judicial District, No. 067-249214-10) (2012)

I/P Engine, Inc. vs. AOL, Inc.; Google Inc.; IAC Search & Media, Inc.; Gannett Company, Inc.;
and Target Corporation (In The United States District Court For The Eastern District Of
Virginia, Norfolk Division, Civil Action No. 2:11-cv-512-RAJ) (2012)

Realtime Data, LLC d/b/a IXO vs. MetroPCS Texas, LLC; MetroPCS Communications, Inc.;
MetroPCS Wireless, Inc.; AT&T, Inc.; AT&T Mobility LLC; Cellco Partnership d/b/a
Verizon Wireless International, Inc.; Leap Wireless International, Inc.; Cricket
Communications, Inc. a/k/a Cricket Wireless, Inc.; Sprint Nextel Corp.; and T-Mobile USA, Inc.
(United States District Court, Eastern District of Texas, Tyler Division, Case No. 6:10-cv-00493-
LED) (2012)

Realtime Data, LLC d/b/a IXO vs. MetroPCS Texas, LLC; MetroPCS Communications, Inc.;
MetroPCS Wireless, Inc.; AT&T, Inc.; AT&T Mobility LLC; Cellco Partnership d/b/a Verizon
Wireless International, Inc.; Leap Wireless International, Inc.; Cricket Communications, Inc.
a/k/a Cricket Wireless, Inc.; Sprint Nextel Corp.; and T-Mobile USA, Inc. (United States
District Court, Eastern District of Texas, Tyler Division, Case No. 6:10-cv-00493-LED) (two
depositions: 2012 and 2013)

Technical Resource Services, Inc., et al. vs. Shell Exploration & Production, Company (In
The United States District Court For The Eastern District Of Louisiana, Civil Action No. 09-
7339) (2012)

U.S. Bank National Association, Litigation Trustee of the Idearc Inc. et al. Litigation Trust vs.
Verizon Communications Inc., Verizon Financial Services, LLC, GTE Corporation, and
John W. Diercksen (In The United States District Court For The Northern District Of Texas, No.
3:10-CV-1842-G) (2012)


                                                24
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 166 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Eon Corp. IP Holdings, LLC vs. T-Mobile USA, Inc., Research In Motion Corporation, Cellco
Partnership d/b/a Verizon Wireless, et al. (United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:10-cv-00379-LED) (2012)

My485, Inc. vs. Riverside Partners, LLC, d/b/a The Riverside Company and
HealthcareFirst, Inc. (In The District Court, 67th Judicial District, Tarrant County, Texas,
Cause No. 067 251767 11) (2012)

In Re Glaceau Vitamin Water Marketing and Sales Practice Litigation (No. II): The Coca Cola
Company and Energy Brands, Inc. (In The United States District Court, Eastern District Of
New York, Case No. 1:11-md-02215-DLI-RML) (2012)

FLIR Systems, Inc. vs. Sierra Media, Inc. and Fluke Corporation (The United States District
Court, District of Oregon, Portland Division, Case No. 3:10-CV-971-HU) (2012; two
depositions)

In Re: Urethanes Antitrust Litigation (Direct Action) – Carpenter Co., Woodbridge Foam
Corporation, Dash Multi-Corp, Inc., et al. vs. Bayer AG, The Dow Chemical Company,
Huntsman International LLC, Lyondell Chemical Company, BASF Corporation, et al. (In
The United States District Court For The District Of Kansas, 04-MD-1616 (JWL), No. 08-2617,
No. 09-2026, No. 10-2077) (2012)

In Re: Urethanes Antitrust Litigation (Class) – Seegott Holdings, Inc., et al. vs. Bayer AG, The
Dow Chemical Company, Huntsman International LLC, Lyondell Chemical Company,
BASF Corporation, et al. (In The United States District Court For The District Of Kansas,
MDL-04-1616 (JWL/JPO), No. 05-2265-JWL) (2012)

LSQ Funding Group, L.C. vs. EDS Field Services n/k/a HP Enterprise Services, LLC (United
States District Court, Middle District Of Florida, Orlando Division, Case No.: 6:10-CV-1246-
ORL-ACC-DAB) (2012)

ePlus Inc., vs. Lawson Software, Inc. (In The United States District Court For The Eastern
District Of Virginia, Richmond Division, Civil Action No. 3:09-CV-620 (RFP)) (2012)

CardSoft, Inc. and CardSoft (Assignment For The Benefit Of Creditors), LLC vs. VeriFone
Systems Corporation; Hypercom Corporation; Ingenico S.A.; Ingenico Corp.; Ingenico
Inc.; Shera International Ltd.; and Blue Bamboo (UUSA), Inc. (United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No. 2:08-cv-00098) (2012)

Mitsubishi Heavy Industries, Ltd. vs. General Electric Co. (In The United States District
Court, Middle District Of Florida, Orlando Division, Civil Action No. 6:10-cv-812) (2012)

CEATS, Inc. vs. Continental Airlines, Inc.; Ticketmaster, L.L.C.; Tickets.com, Inc.;
TicketNetwork, Inc.; TicketsNow.com, Inc.; AirTran Airways, Inc.; Alaska Airlines, Inc.;
Delta Air Lines, Inc.; Jet Blue Airways Corporation; United Air Lines, Inc.; US Airways,
Inc.; and Virgin America, Inc. (In The United States District Court For The Eastern District Of
Texas, Tyler Division, Case No. 6:10-cv-120 LED) (2012)


                                                25
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18      Page 167 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

W.L. Gore & Associates, Inc. vs. GI Dynamics, Inc. (United States District Court, District Of
Arizona, No. CV 10-8088 PCT GMS) (2011)

LML Patent Corp. vs. JPMorgan Chase & Co.; Wells Fargo Bank, N.A.; Wachovia Bank,
N.A.; Citigroup, Inc.; HSBC Bank USA, N.A.; Capital One National Association; Northern
Trust Company; Deutsche Bank Trust Company; PayPal, Inc. (In The United States District
Court For The Eastern District Of Texas, Marshall Division, Case No. 2:08-cv-448 DF) (2011)

Halliburton Energy Services, Inc. vs. Weatherford International, Inc. and BJ Services
Company (In The United States District Court For The Northern District Of Texas, Dallas
Division, Civil Action No. 307-cv-2144-K) (2011; two depositions)

Tyco Healthcare Group LP and United States Surgical Corporation vs. Ethicon Endo-
Surgery, Inc. (In The United States District Court For The District Of Connecticut, Civil Action
No: 3:10-cv-00060 (JBA)) (2011 and 2012; two depositions)

Curtis Berrien; Rose Huerta; Tina Musharbash; Fern Prosnitz; Michael Andler; Marcus Boness;
Timothy Bonnell; Richard Buford; Elaine Cefola; Kenneth Davis; Jerome Garoutte vs. New
Raintree Resorts International, LLC; RVC Members, LLC; Douglas Y. Bech (In The
United States District Court For The Northern District Of California, Oakland Division, Case
No. CV10-3125 CW) (2011)

Convolve, Inc. vs. Dell, Inc., Western Digital Corporation, Hitachi Global Storage
Technologies, Inc., and Hitachi, Ltd. (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Civil Action No. 2:08-cv-244) (2011)

United States of America ex rel. Kurt Bunk and Daniel Heuser v. Birkart Globistics GMBH &
Co. Logistik Und Service KG, et al. and United States of America ex rel. Ray Ammons v. The
Pasha Group, Gosselin World Wide Moving, N.V., and Gosselin Group, N.V. (In The United
States District Court For The Eastern District Of Virginia, Alexandria Division, No. 1.02cv1168
(AJT/TRJ)) (2011)

Cheetah Omni LLC vs. Verizon Services Corporation, Verizon Business Network Services
Inc., and Verizon Enterprise Delivery LLC (In The United States District Court For The
Eastern District Of Texas, Tyler Division, Civil Action No. 6:09-cv-260-LED) (2011)

Eon Corp. IP Holdings, LLC vs. Sensus USA Inc. (United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:09-cv-00116) (2011)

Bedrock Computer Technologies LLC vs. SoftLayer Technologies, Inc.; CitiWare
Technology Solutions, LLC; Google Inc.; Yahoo! Inc.; MySpace Inc.; Amazon.com Inc.;
PayPal Inc.; Match.com, LLC; and AOL Inc. (In The United States District Court For The
Eastern District Of Texas, Tyler Division, Case No. 6:09-cv-269) (2011)

Personal Audio, LLC vs. Apple Inc.; Sirius XM Radio, Inc.; XM Satellite Radio, Inc.; Coby
Electronics, Corp.; Archos, Inc. (United States District Court For The Eastern District Of Texas,
Lufkin Division, Case 9:09-cv-00111-RC) (2011)


                                                26
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 168 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Beneficial Innovations, Inc. vs. Blockdot, Inc.; CareerBuilder, LLC; CNET Networks, Inc.;
Digg, Inc.; Ebaums’s World, Inc.; Jabez Network, Inc.; The New York Times Company; The
Washington Post Company; and The Weather Channel Interactive, Inc. (United States District
Court For The Eastern District Of Texas, Marshall Division, Case No. 2:07-CV-263-TJW-CE)
(2010)

St. Jude Medical, Inc. and St. Jude Medical Puerto Rico LLC vs. Access Closure, Inc. (In
The United States District Court For The Western District Of Arkansas, Texarkana Division,
Case No. 4:08-cv-04101-HFB) (2010)

Eon Corp. IP Holdings, LLC vs. Verizon Clinton Center Drive Corp. (United States District
Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:08-cv-00385)
(2010)

Tyco Healthcare Group LP vs. C.R. Bard, Inc. and Davol, Inc. (In The United States District
Court For The District Of Delaware, C.A. No. 09-264 (SLR)(MPT)) (2010)

Affinity Labs of Texas, LLC vs. BMW North America, LLC; BMW Manufacturing Co., LLC;
Hyundai Motor America, Inc.; Hyundia Motor Manufacturing Alabama, LLC; Kia Motors
America, Inc.; Mercedes-Benz USA, LLC; Mercedes-Benz U.S. International, Inc.; and
Volkswagen Group of America, Inc. (In The United States District Court For The Eastern
District Of Texas, Lufkin Division, Civil Action No. 9:08-cv-164-RC) (2010)

Mirror Worlds, LLC vs. Apple Inc. (United States District Court For The Eastern District Of
Texas, Tyler Division, Civil Action No. 6:08-CV-88-LED) (2010)

SP Syntax LLC and SP3 Syntax LLC vs. James Ching Hua Li, Man Kit (Thomas) Chow,
Michael K. Chan, Vincent F. Sollitto, Jr, Wayne A. Pratt, John S. Hodgson, David P.
Chavoustie, Christopher C. L. Liu, Alice Phang, Ernst & Young LLP, and Grobstein, Horwath
& Company LLP (Superior Court Of The State Of California, County Of Los Angeles, Case No.
BC402910) (2010)

Gorlick Distribution Centers, LLC vs. Car Sound Exhaust System, Inc. and Allied Exhaust
Systems, Inc. (United States District Court, Western District of Washington at Seattle, Case No.
C07-1076 RAJ) (2010)

Stacy Holk, on behalf of Herself and all others similarly situated vs. Snapple Beverage
Corporation (United States District Court, District of New Jersey, Civil Action No. 3:07-cv-
03018-MJC-JJH) and Evan Weiner and Timothy McCausland on behalf of themselves and all
others similarly situated vs. Snapple Beverage Corporation (United States District Court For The
Southern District Of New York, Civil Action No. 07-cv-08742) (2010)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2010; two depositions)

Good Sportsman Marketing, LLC and IP Holdings, Inc. vs. Non Typical, Inc., Mark
Cuddeback, and Richard Scales Advertising Associates, Inc. (In The United States District
Court For The Eastern District Of Texas, Tyler Division, Case No. 06:07-cv-00177-LED) (2010)

                                                27
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18      Page 169 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.


DataTreasury Corporation vs. Wachovia Corporation, Wachovia Bank National Association,
et al. (In The United States District Court For The Eastern District Of Texas, Marshall Division,
Civil Action No. 2-06CV-072) (2009)

DataTreasury Corporation vs. Wells Fargo & Company, Wells Fargo Bank, National
Association, et al. (In The United States District Court For The Eastern District Of Texas,
Marshall Division, Civil Action No. 2-06CV-072) (2009)

Carpathia Hosting, Inc., Carpathia Hosting, Inc. as nominee and trustee, for Triumviri, Inc., and
Triumviri, Inc. vs. Brookshire Enterprises, LLC, Custom Computer Cable, Inc., Jackson Browne,
LLC, Courtney Matthews, and Electronic Data Systems, LLC (Virginia: In The Circuit Court
For Loudoun County, Civil Case No. CL 46964) (2009)

MHL Tek, LLC vs. Nissan Motor Co., Nissan North America, Inc., Nissan Technical Center
North America, Inc., Hyundai Motor Co., Hyundai Motor America, Hyundai Motor
Manufacturing Alabama, LLC, Kia Motors Corporation, Kia Motors America, Inc., Dr. Ing.
H.C.F. Porsche AG, Porsche Cars North America, Inc., Bayerische Motoren Werke AG, BMW
of North America LLC, BMW Manufacturing Co., LLC, Isuzu Motors Ltd., Isuzu Motors
America, Inc., Subaru of America, Inc., Subaru of Indiana Automotive, Inc., Audi AG,
Volkswagen AG, and Volkswagen Group of America, Inc. (In The United States District
Court For The Eastern District of Texas, Marshall Division, Civil Action No. 2:07-cv-289-TJW)
(2009)

Crane Co. and Dixie-Narco Inc. vs. SandenVendo America, Inc. and Royal Vendors, Inc. (In
The United States District Court For The Eastern District of Texas, Marshall Division, Civil
Action No. 2:07-cv-42) (2009)

LG Electronics Inc. vs. Hitachi, Ltd., Hitachi Automotive Products (USA), Inc., Clarion Co.
Ltd., Clarion Corporation of America and Xanavi Informatics Corporation. (In The United
States District Court, Eastern District Of Texas, Texarkana Division, Civil Action No. 5:07-CV-
90) (2009)

Paradox Security Systems, Ltd., Shmuel Hershkovitz, and Pinhas Shpater vs. ADT Security
Services, Inc., Digital Security Controls, Ltd., Monitronics International, Inc., and Protection
One, Inc. (In The United States District Court For The Eastern District Of Texas, Marshall
Division, C. A. No. 2:06-CV-462 (TJW)) (2009)

i4i Limited Partnership and Infrastructures for Information Inc. vs. Microsoft Corporation (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:07-CV-113-LED) (2009)

The Compliance Source, Inc. and Digital Docs, Inc. vs. GreenPoint Mortgage Funding, Inc.
(In The United States District Court, Northern District Of Texas, Dallas Division, Civil Action
No. 3-06-cv1057-L (ECF)) (2008)

Hearing Components, Inc. vs. Shure, Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Civil Action No. 9:07-cv-104 (RHC)) (2008)

                                                28
    Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18      Page 170 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.


Lutron Electronics Co. Inc. vs. Control4 Corporation (In The United States District Court For
The District Of Utah, Central Division, Civil Action No. 2-03-CV-00401 DAK) (2008)

ELB Enterprises of Dallas, L.P. and Bai-Mac, Inc. vs. McDonald’s Corporation, McDonald’s
USA, LLC, and Golden Arch of Texas, Inc., and Ricardo Colon (In The Court At Law, Court
No. 4, Dallas County, Texas, Cause No. CC-06-17226-D) (2008)

Rambus, Inc. vs. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
Samsung Semiconductor, Inc., and Samsung Austin Semiconductor, L.P. (United States
District Court, Northern District Of California – San Jose Division, Case No. 05 02298 RMW)
(2008)

TiVo Inc. vs. EchoStar Communications Corporation, EchoStar DBS Corporation, EchoStar
Technologies, and Echosphere Limited Liability Company (United States District Court for the
Eastern District of Texas, Marshall Division, Case No. 2 – 04CV01 DF) (2008)

Iovate Health Sciences, Inc., University of Florida Research Foundation, Inc. and Flamma SpA
vs. Bio-Engineered Supplements & Nutrition, Inc., d/b/a BSN, Inc. and Medical Research
Institute (In The United States District Court For The Eastern District Of Texas, Lufkin Division,
Case No. 9:07-cv-46) (2008)

Ronald A. Katz Technology Licensing, L.P. vs. The DIRECTV Group, Inc., DIRECTV, Inc.,
DIRECTV Holdings, LLC, DIRECTV Enterprises, LLC, and DIRECTV Customer
Services, Inc. (In The United States District Court, Central District of California, Case No. 2:07-
CV2322 RGK (FFMx) and Case No. 2:07-ML-1816-B RGK (FFMx), originally filed in the
Eastern District of Texas as Case No. 9:06-CV-00193-RHC) (2008)

Quantum Unlimited, LLC, Quantum of Troon North, LLC, and Redsky Resorts of Troon North,
LLC n/k/a Redsky Resorts, LLC vs. Wyndham International, Inc., Tempus Resorts
International, Ltd, The Blackstone Group L.P., et al. (In The District Court Of Dallas County,
Texas, 298th Judicial District) (2008)

In the Matter of Certain 3G Wideband Code Division Multiple Access (WCDMA) Handsets and
Components Thereof (InterDigital Communications Corporation and InterDigital Technology
Corporation vs. Samsung Electronics Co., Ltd, Samsung Electronics America, Inc., and
Samsung Telecommunications America LLC; The United States International Trade
Commission, Washington, D.C., Investigation No. 337-TA-601) (2008; two depositions)

Bueno Conato, LLC vs. Bajio LLC, Bajio National LLC, Bajio Franchising LLC, and Doctor’s
Associates, Inc. (American Arbitration Association, Western Case Management Center, Case
No. 77 114 Y 00254 06 WYGI) (2008)

O2Micro International Limited vs. Rohm Co. Ltd., Sony Corporation, Sony EMCS Corporation,
Sony Corporation of America, and Sony Electronics Inc. (In The United States District Court For
The Eastern District of Texas, Marshall Division, Case No. 2-05-CV-00211-TJW) (2008)



                                                29
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18      Page 171 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Blackboard Inc. vs. Desire2Learn Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Case No 9:06CV155) (2008)

Abbott Laboratories and Abbott Diabetes Care Inc. vs. Roche Diagnostics Corporation,
Roche Diagnostics Operations, Inc., and Bayer Healthcare LLC; Abbott Laboratories and
TheraSense, Inc. vs. Becton, Dickinson and Company and Nova Biomedical Corp. (In The
United States District Court, Northern District of California, Civil Action No. C04-2123 MJJ,
Civil Action No. C04-3327 MJJ, Civil Action No. C04-3732 MJJ, and Civil Action No. C05-
3117 MJJ) (2008; two depositions)

United States of America, ex rel Toni R. Barron and Vicky J. Scheel vs. Deloitte & Touche,
LLP, Deloitte Touche Consulting Group, LLC, Deloitte & Touche Consulting Group Holding,
LLC, Medicaid Solutions of Texas, and National Heritage Insurance Company (In The United
States District Court, Western District of Texas, Civil Action No. SA-99-CV-1093FB) (2007)

Akamai Technologies, Inc. and Massachusetts Institute of Technology vs. Limelight
Networks, Inc. (In The United States District Court, District of Massachusetts, Civil Action No.
06 CA 11109 RWZ and Civil Action No. 06 CA 11585 RWZ) (2007)

Electronic Data Systems Corporation vs. Towers, Perrin, Forster & Crosby, Inc. (American
Arbitration Association Northeast Case Management Center, Case No. 13 489 Y 00146 07)
(2007)

Computer Acceleration Corporation vs. Microsoft Corporation (In The United States District
Court For The Eastern District of Texas, Lufkin Division, Civil Action No. 9:06CV140-RHC)
(2007)

Tinkers & Chance vs. LeapFrog Enterprises, Inc. (In The United States District Court, Eastern
District of Texas, Marshall Division, Civil Action No. 2-05cv-349-TJW) (2007)

DEJ Productions, Inc., Blockbuster Inc., and First Look Studios, Inc. vs. Media 8
Entertainment and MDP Distribution, Inc. (In The District Court of Dallas County, Texas, M-
298th Judicial District, Cause No. 06-01887) (2007)

Art International Forwarding, Inc. vs. The Pasha Group and Gosselin Worldwide Moving,
N.V. (In The United States District Court, Eastern District of Missouri, Eastern Division, Case
No. 4:05-CV-01410-RWS) (2007)

Applied Medical Resources Corp. vs. United States Surgical Corporation (In The United
States District Court For The Central District Of California, Southern Division, Case No. SACV
03-1267 CJC (MLGx)) (2007)

Nike, Inc. vs. adidas Salomon North America, Inc., adidas America Inc. d/b/a adidas
International, and adidas Promotional Retail Operations Inc. (In The United States District Court
For The Eastern District of Texas, Lufkin Division, Case No. 9:06-cv-43-RHC) (2007)




                                                30
    Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18     Page 172 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

BIAX Corporation vs. Intel Corporation and Analog Devices, Inc. (In The United States
District Court For The Eastern District of Texas, Marshall Division, Civil Action No. 2-05cv-
184-TJW) (2007)

Two-Way Media, LLC vs. America Online, Inc. (In The United States District Court For The
Southern District of Texas, Corpus Christi Division, Civil Action No. C-04-089) (2007)

In re Enron Corporation Securities Litigation; Kevin Lamkin, Janice Schuette, Robert Ferrell and
Stephen Miller vs. UBS Financial Services, Inc. and UBS Securities LLC (Civil Action No.
H:02-CV-0851; Consolidated MDL) and Samuel Giancarlo vs. UBS Financial Services, Inc.,
UBS Securities LLC., and UBS AG (Civil Action No. H-03-4359; Consolidated MDL) (In The
United States District Court For The Southern District of Texas, Houston Division) (2007)

O2Micro International Limited vs. Samsung Electronics Co., Ltd. and Samsung Electronics
America, Inc. (In The United States District Court For The Eastern District of Texas, Marshall
Division, Case No. 2:04-CV-323 (Ward)) (2007)

CNX Gas Corporation and CNX Gas Company LLC vs. CDX Gas Company LLC vs.
CONSOL Energy, Inc. (In The United States District Court For The Western District of
Pennsylvania, Civil Action No. 05-CV-1574) (2007)

Parkade Center, Inc. vs. Simon Property Group (Texas), L.P. and Simon Property Group
(Delaware), Inc. (In The District Court 398th Judicial District of Hildalgo County, Texas, Cause
No. C-2584-06-1) (2007)

The Post Confirmation Trust (The Fleming Companies) vs. Digital Exchange Systems, Inc. (In
The United States District Court for the Eastern District of Texas, Texarkana Division, No. 5:05-
CV-165(TJW)) (2007)

Golden Bridge Technology, Inc. vs. Nokia, Inc., Motorola, Inc., T-Mobile USA, Inc.,
Ericsson, Inc., Qualcomm Incorporated, and Lucent Technologies, Inc. (In The United
States District Court for the Eastern District of Texas, Tyler Division, Civil Action No: 6:06-cv-
00163-LED) (2006)

John P. Rochon, Nick G. Bouras, Nu-Kote International, Inc., J.R. Investment Corporation,
Richmont Corporation and Nu-Kote Acquisition Corporation vs. Akin Gump Strauss Hauer &
Feld, LLP and Alan Feld (In The District Court of Dallas County, Texas, 192nd Judicial
District, Cause No. 04-03311-K) (2006)

Autobytel Inc. vs. Dealix Corporation (United States District Court Eastern District of Texas,
Marshall Division, Case No. 2:04-cv-338-LED) (2006)

Electronic Data Systems Corporation and EDS Information Systems, L.L.C. vs. MCI
Communications Services, Inc. (Before the American Arbitration Association, Arbitration No.
13 181 00976 06) (2006)

Jeffrey A. Kozak vs. Medtronic Sofamor Danek (In The United States District Court for the
Southern District of Texas, Houston Division, Civil Action Number H-03-4400) (2006)

                                                31
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18     Page 173 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.


Alcon Manufacturing, Ltd. and Alcon Laboratories, Inc. v. Advanced Medical Optics, Inc. (In
The United States District Court for the Northern District of Texas, Fort Worth Division, Civil
Action No. 4-05CV-496-A) (2006)

Eckhard U. Alt, MD vs. Medtronic, Inc. (In The United States District Court for the Eastern
District of Texas, Marshall Division, Civil Action No. 2:04CV370) (2006)

AVID Identification Systems, Inc. vs. Philips Electronics North America Corporation,
Koninklijke Philips Electronics N.V., The Crystal Import Corporation, Medical Management
International, Inc., and Datamars SA (In The Eastern District of Texas, Marshall Division, Case
No. 2:04-CV-183) (2006)

In re: Williams Securities Litigation (WCG Subclass) (In The United States District Court for
the Northern District of Oklahoma, Case No. 02-CV-72H(M)) (2006)

Immunocept, LLC, Patrice Anne Lee, and James Reese Matson vs. Fulbright & Jaworski, LLP
(United States District Court Western District of Texas, Austin Division, Cause No. A 05 CA
334 SS) (2006)

Children’s Medical Center of Dallas vs. Columbia Hospital at Medical Center Dallas
Subsidiary L.P. (In The United States District Court Northern District Of Texas, Dallas
Division, Civil Action No. 3:04-CV-2436-BD) (2006)

Vantage Controls, Inc. vs. Lutron Electronics Co., Inc. (In The United States District Court for
the District of Utah, Central Division, Case No. 2:03-CV-00488TC) (2006)

Blueberry Sales, L.P., f/k/a Blueberry Confections, Inc. vs. ED&F Man Sugar, Inc. (United
States District Court for the Western District of Texas, El Paso Division, EP-04-CA0193) (2005)

Cummins-Allison Corp. vs. Glory LTD., Glory Shoji Co., LTD., and Glory (U.S.A.), Inc.
(United States District Court for the Eastern District of Texas, Marshall Division, Civil Action
No. 2-03-CV-358 (TJW)) (2005)

Gilbert R. Sada and Victor L. Hernandez vs. Jack In The Box Inc. (United States District Court
for the Western District of Texas, San Antonio Division. Civil Action No. SA04CA0541 (OG))
(2005)

Trinity Mother Frances Health System and Mother Frances Hospital vs. East Texas Medical
Center Regional Healthcare System and East Texas Medical Center (United States District
Court for the Eastern District of Texas, Marshall Division, Civil Action No. 2:03CV464) (2005)

TiVo Inc. vs. EchoStar Communications Corporation, EchoStar DBS Corporation, EchoStar
Technologies, and Echosphere Limited Liability Company (United States District Court for the
Eastern District of Texas, Marshall Division, Case No. 2 – 04CV01 DF) (2005; two depositions)




                                                32
    Case 5:17-cv-00564-NC           Document 248-1    Filed 10/09/18     Page 174 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

William Rutledge Scott, Individually and as Independent Executor of the Estate of Mozelle
Rutledge Scott, Deceased vs. Hughes & Luce, L.L.P., Kathryn G. Henkel, and Laurel
Stephenson (In the County Court of Tom Green County, Texas, Cause No. 02P211-L) (2005)

Junitha Bee, et al. vs. Kavilico Corporation, ITT Neodyne, Parker Hannifin, and the Boeing
Company (Superior Court of the State of California, County of Los Angeles, Case No. C99-
589C) (2005)

William A. Wise vs. El Paso Corporation (American Arbitration Association, Houston, Case
No. 70-Y-116-00327-04) (2005)

Dr. Phillips, Inc. vs. Control Laser Corporation and Excel Technology, Inc. (In the Circuit
Court of the Ninth Judicial Circuit in and for Orange County, Florida, Case No. 02-CA-000075,
Division: 32, Business Court) (2005)

MOSAID Technologies Incorporated vs. Samsung Electronics Co., Ltd., Samsung Electronics
America, Inc., Samsung Semiconductor, Inc., and Samsung Austin Semiconductor, L.P. (In
the United States District Court for the District of New Jersey, Civil Action No. 01-4340
(WJM)) (2004)

Kathleen C. Cailloux, Kenneth F. Cailloux, Paula L. Heilman, and Robert Stephen Andresakis
vs. Baker Botts, L.L.P., Wells Fargo Bank Texas, N.A., William R. Goertz, S. Stacy Eastland,
and Stephen T. Dyer (In the 198th Judicial District Court of Kerr County, Texas, Civil Action
No. 03-603-B) (2004)

Brooktrout, Inc. vs. Eicon Networks Corporation, Eicon Networks, Inc. (In the United States
District Court for the Eastern District of Texas, Marshall Division, Case Number 03-CV-59)
(2004)

MCI Worldcom Network Services, Inc. vs. Twister Communications Network, Inc. (In the
District Court of Montgomery County, Texas, 221st Judicial District, Civil Action No. 00-05-
03124CV) (2004)

Colgate-Palmolive Company vs. The Procter & Gamble Company (In the United States
District Court for the Southern District of New York, 03 Civ. 9348 (LLS) (DFE)) (2004)

Airbel Wireless, Inc. and JAVS Telecom, Inc. vs. AT&T Wireless Services, Inc. (American
Arbitration Association, New York, Case No. 13 Y 199 00709 03) (2004)

Electronic Data Systems Corp. vs. Aspect Communications Corp. (American Arbitration
Association, San Francisco, Case No. 74 Y 117 00586 03 GAP) (2003 and 2004; two
depositions)

Anthony Stella and Mary S. Stella, Individually and on Behalf of all Persons Similarly Situated
in the State of Texas vs. Grant Thorton, L.L.P. (In the District Court of Galveston County,
212th Judicial District) (2003)



                                                33
    Case 5:17-cv-00564-NC           Document 248-1    Filed 10/09/18     Page 175 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Administaff, Inc. and Administaff of Texas, Inc. vs. Aetna Life Insurance Company (In the
United States District Court for the Southern District of Texas, Houston Division, Civil Action
No. 4:01CV3802) (2003)

GATT Trading, Inc. vs. Sears, Roebuck and Co. (In the United States District Court for the
Eastern District of Texas, Marshall Division, Civil Action No. 2:01CV260) (2003)

IEX Corporation vs. Blue Pumpkin Software, Inc. (In the United States District Court for the
Eastern District of Texas, Sherman Division, Civil Action No. 4:01CV16) (2003 and 2005; two
depositions)

Steven R. Keene d/b/a Pagers Plus vs. AT&T Wireless, Inc., a/k/a AWS National Accounts,
L.L.C., and First Cellular Group of Shreveport, Inc. d/b/a AT&T Wireless Services
(Judicial Arbitration and Administration Services, Inc.) (2003)

Teleplus, Inc., vs. MCI Telecommunications Corporation, MCI International
Telecommunications Corporation, MCI International Inc., MCI Communications
Corporation, MCI Worldcom, Inc., MCI Global Support Corporation, MCI Global Access
Corporation, and Avantel, S.A. (In the United States District Court Western District of Texas,
San Antonio Division, Civil Action No. SA-98-CA-0849 FB) (2003)

Cavalry Investments, L.L.C. vs. Sunstar Acceptance Corporation and NationsCredit
Commercial Corporation (County Court at Law, Number 4, Dallas County, Texas, Cause No.
99-02296-D) (2002)

Customedia Technologies, LLC and William H. Lewis vs. Joby Hughes, Felsman, Bradley,
Gunter & Dillon, Stephen Perkins, Sidley & Austin, Litigation Risk Management, Inc., and
Granite Ventures, Inc. (In the District Court of Harris County, Texas, 125th Judicial District,
Case No. 2000-26667) (2002 and 2003; two depositions)

Edward Ahearn vs. Ernst & Young, L.L.P. (Before the American Arbitration Association, Case
No. 13-107-00136-01) (2002)

John H. Houser and Frederick A. Raffa vs. Wachovia Corporation (In the United States District
Court, Middle District of Florida, Tampa Division, Case No. 8:01-CV1041-T-17MSS) (2002)

Brine, Inc. and Sports Licensing, Inc. vs. STX, Inc. and STX, LLC (In the United States
District Court for the District Massachusetts, Worchester Division, Civil Action No. 99-40167)
(2002 and 2003; two depositions)

Morgan Howard, L.L.C. vs. Immedient, Inc. (In the County Court at Law No. 3, Dallas County,
Texas, Cause No. 01-899-C) (2002)

Poly-America, Inc. vs. Serrot International, Inc. (In the United States District Court for the
Northern District of Texas, Dallas Division, Civil Action No. 3:00CV1457-D) (2002)




                                                34
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18      Page 176 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Andrew Cumming vs. J. C. Penney Company, Inc. (In the District Court of Dallas County,
Texas, 160th Judicial District, Civil Action No. 71-160-00077-01) (2002)

Inter-Tel, Incorporated vs. Bank of America, Arizona (In the Superior Court of the State of
Arizona in and for the County of Maricopa, Case No. CV 96-00867) (2002)

Tyler Jet, L.L.C., TeamXtreme Racing, L.L.C., and Burl Outlaw vs. Lycos, Inc. (In the United
States District Court for the Eastern District of Texas, Lufkin Division, Civil Action No.
9:00CV-179) (2001)

EPI Environmental Products, Inc. vs. In-Line Plastics, L.C. (In the United States District Court
for the Southern District of Texas, Houston Division, Civil Action No. 4:98CV4209) (2001)

Health Laboratories of North America, Inc., et al. vs. Neodata Services, Inc. (In the Superior
Court of the State of Arizona In and For the County of Maricopa, Civil Action No. CV1998-
008143) (2001)

Acres Gaming Inc. vs. Mikohn Gaming Corporation and Casino Data Systems (In the United
States District Court District of Nevada, Civil Action No. CV-S-01462-PMP (RJJ)) (2000)

COC Services, Ltd. vs. CompUSA, Inc., Grupo Carso S.A. de C.V., Grupo Sanborns S.A. de
C.V., et. al. (In the District Court 116th Judicial District of Dallas County, Texas, Case No.
0000023) (2000)

Healthtech Diagnostics, Corporation and Oncogenetics, Inc. vs. Impath, Inc. and Impath-
HDC, Inc. (In the District Court of Dallas County, Texas, L-193rd Judicial District, Case No. 97-
08552) (2000)

Pacific Southwest Bank and NAFCO Holding Company, LLC vs. Electronic Data Systems
Corporation (In the District Court of Dallas County, Texas, 191st Judicial District, Cause No.
98-5954) (2000)

Anthony D. Viazis, et. al. vs. American Association of Orthodontists, et. al. (In the United
States District Court for the Eastern District of Texas, Sherman Division, Civil Action No. 4:98-
CV-245) (2000)

Kvaerner Oilfield Products, Inc. vs. Cooper Cameron Corp. (In the United States District
Court for the Southern District of Texas, Houston Division, Civil Action No. H-98-3369) (2000)

J.V. Smith, et al. vs. Randyl Louis Harrell, Enterprise Products Company, et. al. (In the
District Court of Liberty County, Texas, 75th Judicial District) (2000)

Norman Yourish, et. al. vs. California Amplifier, et. al. (Superior Court of the State of
California for the County of Ventura, Civil Action No. CIV173569) (2000)




                                                35
    Case 5:17-cv-00564-NC           Document 248-1      Filed 10/09/18      Page 177 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

David Kimberly Hackett, individually and Samuel G. Swope, individually and as Assignees of
Courtesy Auto Group, Inc. vs. Electronic Data Systems, Inc. (In the United States District
Court for the Northern District of Illinois, Eastern Division, Civil Action No. 98-1065-CIV-19-
A) (2000)

County Council of Northampton County vs. SHL Systemhouse Corp. vs. Northampton County
(In the United States District Court for the Eastern District of Pennsylvania, Civil Action No. 98-
CV-0088) (1999)

Natural Reserves Group, Inc. vs. Baker Hughes, Inc., et. al. (In the United States District Court
for the Southern District of Texas, Harris County Division, Civil Action No. 96-31380) (1999)

BeautiControl, Inc. vs. Ryco Packaging Corp. vs. Arrowpak, Inc. and Custom Decorative
Systems, Inc. (In the United States District Court for the Northern District of Texas, Dallas
Division, Civil Action No. 3-98CV1775-H) (1999)

Peoples National Bank, Peoples National Mortgage Corp., and Texas Peoples National
Bancshares, Inc. vs. Russell A. McClendon, St. Paul Mercury Insurance Company, Smith-
Reagan Life and Health Insurance Agency, Inc. and Gary Robertson (In the District Court Lamar
County, Texas, 62nd Judicial District) (1999)

In the Matter of Application No. 96-1, Olympic Pipe Line Company: Cross Cascade Pipeline
Project (Before the State of Washington Energy Facility Site Evaluation Council) (1999)

Petrofac, Inc. and Petrofac International, Ltd. vs. Howe-Baker Engineers, Inc. and Omar J.
Ghalayini (In the County Court at Law; Smith County, Texas, Cause No. 39,839) (1998)

L & S Concrete Company, Inc., Gilliam Brothers, Inc., Webco, Inc., Charles T. Weaver, Gus
Blass, III, Bob Townsell, Alex Lieblong, and Dr. Thomas Robinson vs. Trans World Airlines,
Inc. (In the United States District Court for the Eastern District of Arkansas Western Division,
Case No. Civ-97-378) (1998)

Magnetic Technologies, S.P.R.L. vs. Connectware, Inc. (In the District Court Dallas County,
Texas, 68th Judicial District) (1998)

Jeannean Heller, CRNA; Joanne Lewis, CRNA; Harold Newsom, CRNA; and Lola H. Wright,
CRNA vs. Raymond M. Dunning, Jr. and Columbia Medical Center of Lewisville
Subsidiary L.P., d/b/a Columbia Medical Center of Lewisville, Dallas, Texas (American
Arbitration Association, Dallas, Texas Region) (1998)

Proposed Form A Acquisition of Control of Universal Fidelity Life Insurance Company, an
Oklahoma Domestic stock insurer, by Conseco, Inc., A Delaware Corporation (Before the
Insurance Commissioner of the State of Oklahoma, Case No. 97-207-TRN) (1997)

Excel Telecommunications, Inc., Excel Communications, Inc., Steve Smith, and Kenny
Troutt vs. Linden Wood, Brad Campbell, Candy Campbell, Jerry Szeszulski, and Team Excel of
Independent Representatives (American Arbitration Association, Dallas, Texas Region) (1997)


                                                36
    Case 5:17-cv-00564-NC           Document 248-1     Filed 10/09/18      Page 178 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Gourmet Award Foods vs. Continental Extrusion, Genpak Corporation, and Heartland
Packaging Corporation (Judicial District Court of Dallas County, Texas, D-95th Judicial District)
(1997)

L. Anne H. Frazier vs. Owsley Brown Frazier (Jefferson Family Court, Division Eight;
Louisville, Kentucky, Case No. 94-FD-01957) (1997)

Dodee Frost Crockett vs. Randy Miller and Gina Kaiser (In the District Court of Dallas
County, Texas; 192nd Judicial District) (1996)

Reedrill Corporation vs. Driltech, Inc. (U.S. District Court for the Eastern District of Texas,
Sherman Division, Civil Action No. 4:95CV189) (1996)

Robert Tuck vs. Westec Security, Inc. (Superior Court of the State of California for the County
of Los Angeles, Case No. BC131221) (1996)

James Hylsky and Terri Hylsky vs. Fruehauf Trailer Corporation, et. al. (In the Circuit Court
Twentieth Judicial Circuit St. Clair County, Illinois) (1996)

In Re: CSC Industries, Inc. and In Re: Copperweld Steel Company (In the United States
Bankruptcy Court for the Northern District of Ohio, Eastern Division, Civil Case No.
4:93bk41898) (1996)

Nationwide Business Telephones and Team Centrex vs. Introlink Communications System,
Inc. and Pacific Bell, Inc. (Superior Court of the State of California for the County of Los
Angeles, Case No. BC009783) (1996)

TriCom, Inc. vs. Electronic Data Systems Corporation (U.S. District Court for the Eastern
District of Michigan, Southern Division, Civil Action No. 2:92CV76374) (1995)

Lacerta Enterprises, Inc. dba Frontline Systems, Inc. vs. Geac Computers, Inc. and Fasfax
Corporation (U.S. District Court for the District of Arizona, Case No. CIV 95-0649 PHX
(ROS)) (1995)

Bluebonnet Savings Bank, et. al. vs. Federal Deposit Insurance Corporation, et. al. (U.S.
District Court for the Northern District of Texas, Dallas, Civil Action No. 3:91CV1066) (1995)

Circo Craft Company, Inc. vs. AMP-AKZO Corporation, et. al. (Superior Court of the State of
California for the County of San Diego, North County District) (1995)

BancTec USA, Inc. vs. Advanced Financial Solutions, et. al. (U.S. District Court for the
Northern District of Texas, Dallas Division, Civil Action No. 3:93CV1277) (1994)

Ivy Goth vs. Datsun-Nissan Motor Company, Ltd., et. al. (Superior Court of the State of
California for the County of Los Angeles, Case No. SC013502) (1994)

Cybor Corporation vs. FAS Technologies and FAStar Ltd. (U.S. District Court for the
Northern District of California, San Jose, Civil Action No. 5:93CV20712) (1994)

                                                37
    Case 5:17-cv-00564-NC           Document 248-1       Filed 10/09/18      Page 179 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.


Texas State Bank, et. al. vs. Electronic Data Systems Corporation (206th District Court of
Hidalgo County, Texas) (1994; two depositions)

Auto Color Specialists, Inc. and Polly Chen vs. BASF (Superior Court of the State of California
for the County of Orange, Case No. 677861) (1994)

Tactical Edge, Inc. vs. Gall’s, Inc. (District Court of the Fourth Judicial District of the State of
Idaho in and for the County of Ada) (1994)

Arley Del Gado vs. County of Los Angeles (Superior Court of the State of California for the
County of Los Angeles) (1993)

Dominquez vs. Holy Cross Hospital (Superior Court of the State of California for the County of
Los Angeles) (1993)

Union Oil Company of California vs. International Insurance Company, et. al. (Superior Court
of the State of California) (1993)

Maranatha Music! vs. Capital Cities, Inc./ABC, Inc., and Word, Inc. (U.S. District Court for
the Western District of Texas, Waco Division) (1993)

Villarreal vs. East Side Union High School District (Superior Court of the State of California)
(1993)

Official Committee of Creditors Holding Unsecured Claims on behalf of First Capital Holdings
Corporation vs. Shearson Lehman Brothers Holdings Inc., et. al. (U.S. District Court for the
Central District of California) (1993)

Chroma Lighting and Charles T. Von Der Ahe vs. GTE Products Corporation and Sylvania
Lighting Services Corporation (U.S. District Court for the Central District of California, Civil
Case No. 2:91CV6424) (1993; three depositions)

Sunbelt Television, Inc. vs. Jones Intercable, Inc. (U.S. District Court for the Central District of
California, Civil Case No. 2:91CV3506) (1992)

Holabird Sports Discounters vs. Tennis Tutor, Inc. (U.S. District Court for the District of
Maryland, Civil Action No. 1:91CV2208) (1992)

Expo-Tech Electrical & Plumbing Services vs. Greyhound Exposition Services (1992)

De Laurentiis Entertainment Group, Inc. Securities Litigation; De Laurentiis Film Partners
Securities Litigation (U.S. District Court for the Central District of California) (1991; two
depositions)

James T. Ryan vs. Crowley Towing and Transportation and Shell Oil Company (Superior
Court of the State of California for the County of Los Angeles) (1991)


                                                38
    Case 5:17-cv-00564-NC           Document 248-1   Filed 10/09/18    Page 180 of 551
Deposition Testimony of Keith R. Ugone, Ph.D.

Clayton Jacobson vs. Kawasaki Heavy Industries, Ltd., Japan; Kawasaki Motors Corporation,
USA; and Kawasaki Motors Manufacturing Corporation, USA (U.S. District Court for the
Central District of California) (1991)

Advanced Building Maintenance, Inc., vs. Premier Ventures, Inc., dba Premier Building
Maintenance (Superior Court of the State of California for the County of Los Angeles) (1990)

Frank V. and Gloria Lumbert vs. Robert C. Skinner and Lillian R. Skinner, et. al. (Superior
Court of the State of California for the County of Los Angeles) (1990)

Plaintiff vs. Valley Hunt Club, Tournament of Roses, et. al. (Superior Court of the State of
California) (1990)

Kippy Thomas vs. Mary Lendo and Circle K, (Superior Court of the State of California for the
County of Riverside) (1990)




                                                39
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 181 of 551




                             Exhibit 3
                                    Case 5:17-cv-00564-NC                         Document 248-1                  Filed 10/09/18                Page 182 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                          Bates Prefix   Start   End


Legal Documents
August 18, 2017 Letter from Baker Botts LLP to Gutride Safier LLP regarding Fitzhenry-Russell, et al. v. Dr. Pepper Snapple Group, Inc.; Case
No. 5:17-cv-00564-NC
Certificate of Service of Court's Order (EDF140) on Plaintiff Gegham Margaryan filed March 26, 2018
Certificate of Service of Defendants' Administrative Motion to File Under Seal dated May 18, 2018
Class Action Complaint filed July 14, 2017
Consolidated Second Amended Class Action Complaint for Violation of the California Consumers Legal Remedies Act; False Advertising Law;
Unfair Competition Law; and Common Law Fraud, Deceit, and/or Misrepresentation Filed October 31, 2017 i
Declaration of Adam Gutride in Support of Plaintiffs' Opposition to Defendants' Motion to Exclude the Expert Declarations and Testimony of
Michael Dennis and Colin Weir in Support of Plaintiffs' Motion or Class Certification dated June 8, 2018 and Associated Exhibits
Declaration of Colin B. Weir dated April 9, 2018 and Associated Documentation i
Declaration of Hovanes Margarian in Support of Appointment as Class Counsel Filed April 9, 2018
Declaration of Jessica Underwood in Support of Defendants' Administrative Motion to Seal Portions of Opposition to Plaintiffs' Motion for
Class Certification and Supporting Documents dated May 18, 2018
Declaration of Keith R. Ugone, Ph.D. dated May 18, 2018
Declaration of Matthew T. McCrary in Support of Plaintiffs' Motion for Class Certification and Associated Documentation dated April 9, 2018
Declaration of Matthew T. McCrary in Support of Plaintiffs' Reply in Support of Their Motion for Class Certification and Associated Exhibits
dated June 6, 2018
Declaration of Monica Smith in Support of Defendants Dr Pepper Snapple Group, Inc. and Dr Pepper/Seven Up., Inc.'s Opposition to Plaintiffs'
Motion for Class Certification dated May 18, 2018
Declaration of Monica Smith in Support of Defendants' Motion to Exclude the Expert Declarations and Testimony of Michael Dennis and Colin
Weir in Support of Plaintiffs' Motion for Class Certification filed May 18, 2018
Declaration of Seth Safier in Support of Appointment as Class Counsel dated April 9, 2018
Defendant Dr. Pepper Snapple Group, Inc.'s Responses and Objections to Plaintiffs' First Requests for Production of Documents and Things
(Amended Per Court Order Dated September 21, 2017) dated September 26, 2017
Defendant Dr. Pepper Snapple Group, Inc.'s Responses and Objections to Plaintiffs' First Requests for Production of Documents and Things
dated July 31, 2017
Defendant Dr. Pepper/Seven Up, Inc.'s Responses and Objections to Plaintiffs' First Requests for Production of Documents and Things
(Amended Per Court Order Dated September 21, 2017) dated September 26, 2017
Defendant Dr. Pepper/Seven Up, Inc.'s Responses and Objections to Plaintiffs' First Requests for Production of Documents and Things dated
September 5, 2017
Defendants' Administrative Motion to seal Opposition to Class Certification Documents; Memorandum of Points and Authorities in Support
Thereof dated May 18, 2018


                                                                                                                                                                            Page 1 of 17
                                    Case 5:17-cv-00564-NC                         Document 248-1                    Filed 10/09/18                Page 183 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                            Bates Prefix   Start   End


Defendants' Amended Notice of Subpoena to Givaudan Flavors Corporation dated April 25, 2018
Defendants Dr Pepper Snapple Group, Inc. and Dr Pepper/Seven Up., Inc.'s Notice of Motion and Motion to Exclude the Expert Declarations
and Testimony of Michael Dennis and Colin Weir in Support of Plaintiffs' Motion for Class Certificiation dated May 18, 2018
Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc. Amended Responses to Plaintiffs' First Set of Interrogatories dated
June 29, 2019 (sic)
Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc. Responses to Plaintiffs' First Set of Interrogatories dated October 12,
2017
Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc. Responses to Plaintiffs' First Set of Interrogatories dated October 13,
2017
Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s First Requests for Production of Documents and Things to Gegham
Margaryan dated August 18, 2017
Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s First Requests for Production of Documents and Things to Jackie
Fitzhenry-Russell dated August 18, 2017
Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s First Requests for Production of Documents and Things to Robin
Dale dated August 18, 2017
Defendants' First Amended Initial Disclosures dated November 3, 2017
Defendants' Initial Disclosures dated September 6, 2017
Defendants' Second Amended Initial Disclosures dated May 18, 2018
Defendants' Third Amended Initial Disclosures dated June 29, 2018
Discovery Statement regarding Objections and Instructions at Depositions
First Amended Complaint for Violation of the California Consumers Legal Remedies Act; False Advertising; Fraud, Deceit, and/or
Misrepresentation; and Unfair Business Practices dated January 5, 2018
Initial Disclosures of Plaintiff Gegham Margaryan, Pursuant to Fed. R. of Civ. Proc.26(A) dated November 7, 2017
July 12, 2017 Letter from Gutride Safier LLP to Baker Botts LLP regarding Plaintiff's Requests for Production of Documents to Defendants
July 18, 2017 Letter from Baker Botts LLP to Gutride Safier LLP regarding Fitzhenry-Russell, et al. v. Dr. Pepper Snapple Group, Inc.; Case
No. 5:17-cv-00564-NC: Requests for Production of Documents
Memorandum of Points and Authorities in Support of Defendants Dr Pepper Snapple Group, Inc. and Dr Pepper/Seven Up., Inc.' Opposition to
Plaintiffs' Motion for Class Certification dated May 18, 2018
Order Denying Plaintiffs' Motion for Class Certification dated May 18, 2018
Order Denying Stipulation to Stay Case Pending Federal Rule of Civil Procedure 23(f) Petition dated June 29, 2018
Order Granting Class Certification; Order Denying Motion to Exclude; Order Granting in Part and Denying in Part Dr. Pepper's Motion to Seal
dated June 26, 2018



                                                                                                                                                                              Page 2 of 17
                                      Case 5:17-cv-00564-NC                       Document 248-1                 Filed 10/09/18                Page 184 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                         Bates Prefix   Start   End


Order Granting Defendants'[ Motion to Exclude the Expert Declarations and Testimony of Michael Dennis and Colin Weir in Support of
Plaintiffs' Motion for Class Certification dated May 18, 2018
Order on Administrative Motion to Seal Portions of Defendants' Opposition to Class Certification and Supporting Documents dated May 18,
2018
Order on Deposition Discovery Letter Briefs, and Order Denying Motions To Seal Without Prejudice filed March 22, 2018
Plaintiff Gegham Margaryan's Objections and Responses to Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s First
Interrogatories dated June 29, 2018
Plaintiff Gegham Margaryan's Objections and Responses to Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s First
Requests for Production of Documents and Things dated September 18, 2017
Plaintiff Jackie Fitzhenry-Russell's Objections and Responses to Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s
First Requests for Production of Documents and Things dated September 18, 2017
Plaintiff Jackie-Fitzhenry-Russell's Objections and Responses to Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.
First Set of Interrogatories dated July 2, 2018
Plaintiff Robin Dale's Objections and Responses to Defendants Dr. Pepper Snapple Group, Inc. and Dr. Pepper/Seven Up, Inc.'s First Requests
for Production of Documents and Things dated September 18, 2017
Plaintiffs' Amended Initial Disclosures dated September 7, 2017
Plaintiffs' Amended Initial Disclosures dated September 7, 2017
Plaintiff's First Set of Interrogatories dated September 5, 2017
Plaintiff's First Set of Requests for Production dated May 30, 2017
Plaintiffs' Initial Disclosures dated June 28, 2017
Plaintiffs' Memorandum of Law in Opposition to Defendants' Motion to Exclude the Expert Declarations and Testimony of Michael Dennis and
Colin Weir in Support of Plaintiffs' Motion or Class Certification dated June 8, 2018
Plaintiff's Notice of 30(b)(6) Deposition of Dr. Pepper Snapple Group, Inc. dated February 28, 2018
Plaintiffs' Notice of 30(b)(6) Deposition of Dr. Pepper/Seven Up, Inc. dated January 28, 201
Plaintiffs' Notice of Depositions dated January 29, 2018
Plaintiffs' Notice of Motion and Motion for Class Certification; Memorandum of Points and Authorities in Support Thereof dated April 9, 2018
Plaintiffs' Reply in Support of Class Certification dated June 6, 2018
Rebuttal Declaration and Expert Report of Randolph Culp, Ph.D. dated June 6, 2018
Response to Court's Order to Show Cause Regarding Margarian Law Firm filed March 14, 2018
Supplemental Declaration of Seth A. Safier in Support of Alphacap's Motions and In Opposition to Gust's Motion to Lift Stay
Third Party Givaudan Flavors Corporation's Responses and Objections to Defendants' Notice of Subpoena



                                                                                                                                                                           Page 3 of 17
                                    Case 5:17-cv-00564-NC                       Document 248-1                  Filed 10/09/18                 Page 185 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                         Bates Prefix   Start   End


Deposition Transcripts and Associated Exhibits
Caccavale Deposition Exhibit 35: Carmen Caccavale LinkedIn Page
Caccavale Deposition Exhibit 37: Contact Us: Dr. Pepper Snapple Group (www.drpeppersnapplegroup.com)
Caccavale Deposition Exhibit 38: January 25, 2017 Email from Sandra Suggs to Carmen Caccavale regarding Ginger Ale and Attached Product
Inquiry List
Caccavale Deposition Exhibit 39: May 13, 2009 Email from Craig Marshall to Deena Rembert regarding CR Information and Attached Core
CSD's - Q1 2009
Caccavale Deposition Exhibit 40: November 13, 2009 Email from Craig Marshall to Various regarding Q3 Core Four Insights and Attached
Core Four, Q3 2009
Caccavale Deposition Exhibit 41: October 25, 2010 Email from Craig Marshall to Various regarding Q3 Core Four - 2nd Trimester Overview
and Attached Tri Core Four Overview, 2nd Trimester, May through August 2010 Presentation
Caccavale Deposition Exhibit 42: Canada Dry Business Review & 2012 Planning Presentation dated March 8, 2011
Caccavale Deposition Exhibit 43: November 20, 2015 Email from Sherry Walter to Consumer Relations regarding Your Recent Contact to Dr.
Pepper Snapple Consumer Relations
Caccavale Deposition Exhibit 44: June 12, 2009 Email from Carmen Caccavale to Laura Gschwind regarding CD Made from Real Ginger FAQs
and Attached FAQs
Caccavale Deposition Exhibit 45: Search Results for Real Ginger
Caccavale Deposition Exhibit 46: March 11, 2016 Email from Candi Magritz to Various regarding Can Someone Send Me Our "Real Ginger"
Approved Responses
Caccavale Deposition Exhibit 47: January 6, 2012 Email from Chris Barnes to Carmen Caccavale regarding Consumer Reponses and Attached
2011 Paragraph Usage Report
Caccavale Deposition Exhibit 48: February 17, 2014 Email from Carmen Caccavale to Various regarding 2-2014 Paragraph Detail List and
Attached Paragraphs List, 02/17/2014
Caccavale Deposition Exhibit 50: Canada Dry Moderation Guidelines, May 2016 by The Richards Group
Dale Deposition Exhibit 14: Robin Dale LinkedIn Page
Dale Deposition Exhibit 15: Robin Dale Facebook Page
Dennis Deposition Exhibit 201: April 9, 2018 Email from Monica Smith to Various regarding Fitzhenry-Russell v. Dr. Pepper - Expert Materials
Dennis Deposition Exhibit 207: Ginger Processing to Oleoresin - An Industry Wide Study Report, April 2017
Dennis Deposition Exhibit 208: Does Living In California Make People Happy? September 1998 Research Article by Psychological Science
Dennis Deposition Exhibit 214: 2-Liter Ginger Ale Consumer Survey - Market Simulator Table
Dennis Deposition Exhibit 215: 2-Liter Ginger Ale Consumer Survey - Market Simulator Table
Deposition of Carmen Caccavale taken March 8, 2018 and Associated Exhibits (Listed Separately)

                                                                                                                                                                           Page 4 of 17
                                       Case 5:17-cv-00564-NC                      Document 248-1                   Filed 10/09/18           Page 186 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                      Bates Prefix   Start   End


Deposition of Colin B. Weir taken April 19, 2018 and Associated Exhibits (Listed Separately)
Deposition of David Falk taken February 23, 2018 and Associated Exhibits (Listed Separately)
Deposition of Gegham Margaryan taken February 14, 2018
Deposition of Gegham Margaryan taken February 14, 2018 and Associated Exhibits (Listed Separately) (Redacted for Plaintiffs' Confidential
Information)
Deposition of Gegham Margaryan, Volume 2 taken March 29, 2018
Deposition of Gegham Margaryan, Volume II taken March 29, 2018 and Associated Exhibits (Listed Separately)
Deposition of Jackie Fitzhenry-Russell taken February 16, 2018 and Associated Exhibits (Listed Separately) (Redacted for Plaintiffs'
Confidential Information)
Deposition of James E. Hassel taken May 1, 2018
Deposition of James E. Hassel taken May 1, 2018 and Associated Exhibits (Listed Separately)
Deposition of Keith R. Ugone taken May 24, 2018
Deposition of Linda M. Jorritsma taken May 1, 2018
Deposition of Michael Dennis taken April 13, 2018 and Associated Exhibits (Listed Separately)
Deposition of Robin Dale taken February 15, 2018
Deposition of Robin Dale taken February 15, 2018 and Associated Exhibits (Listed Separately) (Redacted for Plaintiffs' Confidential
Information)
Deposition of Steve Kramer taken February 22, 2018
Deposition of Steve Kramer taken February 22, 2018 and Associated Exhibits (Listed Separately)
Errata to the Deposition of Gegham Margaryan taken February 14, 2018
Falk Deposition Ex. 20: Product List
Hassel Deposition Exhibit 402: Jim Hassel Resume
Hassel Deposition Exhibit 403: Photograph of Ginger Root
Hassel Deposition Exhibit 407: Plastic Bag Labeled "Dried Extracted Ginger Root"
Kramer Deposition Exhibit 13: Reed's Original Ginger Brew Image
Kramer Deposition Exhibit 8: Rank by Volume
Margaryan Deposition Exhibit 1: Color Photograph from Instagram
Margaryan Deposition Exhibit 2: Facebook Pages
Margaryan Deposition Exhibit 30: March 26, 2018 Email from Adam Gutride to Van Beckwith regarding Fitzhenry-Russell v. Dr Pepper:
Margaryan and Dale Depositions


                                                                                                                                                                        Page 5 of 17
                                    Case 5:17-cv-00564-NC                        Document 248-1              Filed 10/09/18          Page 187 of 551



Facts, Data, and Other Information Received
Description                                                                                                                               Bates Prefix   Start       End


McCrary Exhibit 67: Reed's Original Ginger Brew Image
Russell Deposition Exhibit 21: Jackie Ann Fitzhenry-Russell Facebook Page
Russell Deposition Exhibit 22: Jackie Ann Fitzhenry-Russell's Campaigns-Causes
Russell Deposition Exhibit 24: Exhibit 24 Was Not Provided at the Time of Production
Signed Errata of Gegham Margaryan dated March 19, 2018
Weir Deposition Exhibit 302: Statement of Qualifications by Colin B. Weir
Hassel Deposition Exhibit 405: Shipments of Natural Ginger                                                                                 GIV              000001      000002
Hassel Deposition Exhibit 404: Formula Report - Batch (Redacted)                                                                           GIV              000003      000006
Hassel Deposition Exhibit 406: Ingredient Information Request Form by Dr. Pepper Snapple Group                                             GIV              000007      000041

Expert Reports and Associated Documentation
Declaration and Expert Report of Dana Krueger dated May 18, 2018
Declaration and Expert Report of J. Michael Dennis, Ph.D. dated April 9, 2018 and Associated Documentation
Declaration and Expert Report of Manoj Hastak, Ph.D., dated July 27, 2018
Expert Rebuttal Report of Rene Befurt, Ph.D. dated May 18, 2018
Expert Report of Colin B. Weir dated April 9, 2018 and Associated Documentation
Reply Declaration of Colin B. Weir dated June 6, 2018
Reply Declaration of J. Michael Dennis, Ph.D. dated June 6, 2018

Documents Produced by Plaintiffs
Vons Receipt                                                                                                                               GM               000001      000001
May 18, 2017 Letter from The Margarian Law Firm to Dr. Pepper Snapple Group, Inc. regarding Gegham Margaryan v. Dr. Pepper Snapple         GM               000002      000004
Group, Inc. Canada Dry Ginger Ale, CA170426-1771
ChromaDex Sales Order dated May 5, 2017                                                                                                    GM               000005      000008
Agreement for Services of Attorneys dated April 26, 2017 between Gegham Margaryan and The Margarian Law Firm                               GM               000009      000014
ChromaDex Analytical Test Report dated May 9, 2017                                                                                         GM               000018      000023
Facebook Ad                                                                                                                                 PL              000461      000461
Ginger Ale False Advertising                                                                                                                PL              000462      000463
2-Liter Ginger Ale Consumer Survey - Market Simulator (PL_000577.xlsm)                                                                      PL              000577      000577




                                                                                                                                                                     Page 6 of 17
                                     Case 5:17-cv-00564-NC                        Document 248-1                   Filed 10/09/18                 Page 188 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                            Bates Prefix   Start       End


March 3, 2018 Letter from JMDSTAT Consulting, Inc. to Gutride Safier LLP regarding Invoice Reference #1179 Invoice Under Consultant                      PL              000688      000689
Agreement with Gutride Safier LLP in the Ginger Ale Litigation
April 10, 2018 Letter from JMDSTAT Consulting, Inc. to Gutride Safier LLP regarding Invoice Reference #1185 Invoice Under Consultant                     PL              000690      000691
Agreement with Gutride Safier LLP in the Ginger Ale Litigation
Statement of Qualifications by Colin B. Weir                                                                                                             PL              000692      000702
J. Michael Dennis Resume                                                                                                                                 PL              000704      000712
December 13, 2017 Letter from Gutride Safier LLP to JMDSTAT Consulting, Inc. regarding Expert Retention Letter re: Fitzhenry-Russell et al.              PL              000713      000714
v. Dr. Pepper Snapple Group Inc., et al., 5:17-cv-00564-NC (N.D. Cal); and Fitzhenry-Russell v. The Coca-Cola Company, 5:17-cv-000603-
EJD (N.D. Cal)
November 3, 2017 Letter from Economics and Technology, Inc. to Gutride Safier LLP regarding Engagement Agreement Ginger Ale Litigations                  PL              000715      000718
Qualitative Research Respondent 1 Presentation dated March 11, 2018                                                                                      PL              000719      000728
Qualitative Research Respondent 2 Presentation dated March 11, 2018                                                                                      PL              000729      000738
Qualitative Research Respondent 3 Presentation dated March 11, 2018                                                                                      PL              000739      000748
Qualitative Research Respondent 4 Presentation dated March 11, 2018                                                                                      PL              000749      000758
Qualitative Research Respondent 5 Presentation dated March 11, 2018                                                                                      PL              000759      000768
Qualitative Research Respondent 6 Presentation dated March 11, 2018                                                                                      PL              000769      000778
December 31, 2017 Letter from Economics and Technology, Inc. to Gutride Safier LLP regarding Ginger Ale Litigation, Invoice #201706898,                  PL              000779      000779
Account #2207.43071
January 31, 2017 Letter from Economics and Technology, Inc. to Gutride Safier LLP regarding Ginger Ale Litigation, Invoice #201806926,                   PL              000780      000780
Account #2207.43071
February 28, 2017 Letter from Economics and Technology, Inc. to Gutride Safier LLP regarding Ginger Ale Litigation, Invoice #201806954,                  PL              000781      000781
Account #2207.43071
March 31, 2017 Letter from Economics and Technology, Inc. to Gutride Safier LLP regarding Ginger Ale Litigation, Invoice #201806979,                     PL              000782      000782
Account #2207.43071
Mike Dennis Ginger Ale Local Market Scan Pricing, San Francisco Bay Area                                                                                 PL              000783      000783
January 22, 2018 Email from Marie McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.                PL_IRI            000464      000464
January 29, 2018 Email from Marie McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.                PL_IRI            000465      000465
February 13, 2018 Email from David Becker to Marie McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.               PL_IRI            000466      000467
February 13, 2018 Letter from Freeborn & Peters to Gutride Safier LLP regarding Fitzhenry-Russell, et al. v. Dr. Pepper Snapple Group, Inc., et        PL_IRI            000468      000470
al., U.S. District Court for the Northern District of California: Subpoena to Information Resources, Inc.
February 13, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.                PL_IRI            000471      000473
February 13, 2018 Email from David Becker to Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.                PL_IRI            000474      000476


                                                                                                                                                                                  Page 7 of 17
                                    Case 5:17-cv-00564-NC                       Document 248-1                 Filed 10/09/18               Page 189 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                      Bates Prefix   Start       End


February 13, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000477      000479
February 14, 2018 Email from David Becker to Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000480      000483
IRI Proposal for Infoscan Services dated February 14, 2018 in the Fitzhenry-Russell v. Dr. Pepper Snapple Group, Civil Action 17-CV-00564        PL_IRI            000484      000487
Matter
February 14, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000488      000492
February 15, 2018 Email from David Becker Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.             PL_IRI            000493      000497
IRI Proposal for Infoscan Services dated February 14, 2018 in the Fitzhenry-Russell v. Dr. Pepper Snapple Group, Civil Action 17-CV-00564        PL_IRI            000498      000501
Matter
February 16, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000502      000506
February 16, 2018 Email from David Becker to Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000507      000512
February 16, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000513      000518
February 16, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000519      000524
February 16, 2018 Email from David Becker to Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000525      000530
February 26, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000531      000536
February 26, 2018 Email from David Becker to Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000537      000544
IRI Proposal for Infoscan Services dated February 14, 2018 in the Fitzhenry-Russell v. Dr. Pepper Snapple Group, Civil Action 17-CV-00564        PL_IRI            000545      000548
Matter
February 26, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000549      000556
February 27, 2018 Email from David Becker to Matt McCrary regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000557      000565
IRI Data (PL_IRI000566 AEO.xlsx)                                                                                                                 PL_IRI            000566      000566
IRI Data (PL_IRI000567 AEO.xlsx)                                                                                                                 PL_IRI            000567      000567
February 27, 2018 Email from Matt McCrary to David Becker regarding IRI Subpoena -- Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc.          PL_IRI            000568      000576
DirecTV Account Activity                                                                                                                         PL_JFR            000194      000194
Jackie Russell Resume                                                                                                                            PL_JFR            000195      000196
November 7, 2016 Letter from Gutride Safier LLP to Robin Dale regarding Ginger Ale Litigation                                                    PL_RD             000201      000204
Safeway Club Card                                                                                                                                PL_RD             000205      000205
October 16, 2017 Email from Robin Ursenbach to marie@gutridesafier.com regarding Jackie Fitzhenry-Russell v. Dr. Pepper Snapple Group -        PL_SAFEWAY          000214      000217
Subpoena - DUE DATE: 10/20/17
October 3, 2017 Letter from CT Corporation to Safeway, Inc. regarding Process Served in California                                             PL_SAFEWAY          000218      000225
All Transaction Detail Linked to Club Card #41010477628 and 4103793181 Robin Dale for the Dates 12/28/2012 to Present Day (10/13/2017)         PL_SAFEWAY          000226      000418


                                                                                                                                                                            Page 8 of 17
                                     Case 5:17-cv-00564-NC                   Document 248-1                 Filed 10/09/18               Page 190 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                   Bates Prefix   Start       End


All Transaction Detail Linked to Club Card #41010477628 and 4103793181 Robin Dale for the Dates 12/28/2012 to Present Day (10/13/2017)      PL_SAFEWAY          000419      000455

Documents Produced by Defendant
Canada Dry Concentrate Pricing effective January 1, 2012                                                                                       DPS              000001      000002
Canada Dry Concentrate Pricing effective January 1, 2013                                                                                       DPS              000003      000004
Canada Dry Concentrate Pricing effective January 1, 2014                                                                                       DPS              000005      000006
Canada Dry Concentrate Pricing effective January 1, 2015                                                                                       DPS              000007      000008
Canada Dry Concentrate Pricing effective January 1, 2016                                                                                       DPS              000009      000010
Canada Dry Concentrate Pricing effective January 1, 2017                                                                                       DPS              000011      000012
Blackberry Canada Dry Ginger Ale Label                                                                                                         DPS              000014      000014
Cranberry Canada Dry Ginger Ale Label                                                                                                          DPS              000015      000015
Diet Cranberry Canada Dry Ginger Ale Label                                                                                                     DPS              000016      000016
Diet Canada Dry Ginger Ale Label                                                                                                               DPS              000017      000017
Canada Dry Ginger Ale Label                                                                                                                    DPS              000018      000018
Canada Dry Ginger Ale Label (12oz)                                                                                                             DPS              000025      000025
Canada Dry Ginger Ale Label                                                                                                                    DPS              000026      000026
Blackberry Canada Dry Ginger Ale Label                                                                                                         DPS              000027      000027
Blackberry Canada Dry Ginger Ale Label                                                                                                         DPS              000028      000028
Cranberry Canada Dry Ginger Ale Label                                                                                                          DPS              000029      000029
Cranberry Canada Dry Ginger Ale Label                                                                                                          DPS              000030      000030
Diet Cranberry Canada Dry Ginger Ale Label                                                                                                     DPS              000031      000031
Diet Canada Dry Diet Ginger Ale Label                                                                                                          DPS              000032      000032
Diet Canada Dry Ginger Ale Label                                                                                                               DPS              000033      000033
Canada Dry Ginger Ale Invoice dated March 28, 2013                                                                                             DPS              000049      000049
Canada Dry Invoice dated March 19, 2002                                                                                                        DPS              000076      000076
Canada Dry Ginger Ale Invoice dated November 13, 2015                                                                                          DPS              000078      000079
Canada Dry Ginger Ale Invoice dated September 7, 2016                                                                                          DPS              000080      000081
Ingredient Data Sheet by Dr. Pepper Snapple Group                                                                                              DPS              000082      000083
Safety Data Sheet, Ginger Oleoresin dated May 18, 2015                                                                                         DPS              000134      000144


                                                                                                                                                                         Page 9 of 17
                                   Case 5:17-cv-00564-NC                       Document 248-1                  Filed 10/09/18   Page 191 of 551



Facts, Data, and Other Information Received
Description                                                                                                                          Bates Prefix   Start       End


Canada Dry 2017 Style Guide Presentation                                                                                              DPS              000216        000240
DPS_000251_CONFIDENTIAL.xlsx                                                                                                          DPS              000251        000251
DPS_000252_CONFIDENTIAL.xlsx                                                                                                          DPS              000252        000252
DPS_000253_CONFIDENTIAL.xlsx                                                                                                          DPS              000253        000253
DPS_000254_CONFIDENTIAL.xlsx                                                                                                          DPS              000254        000254
Ginger Trends in Food & Beverages January 2008 Presentation by Cadbury Schweppes                                                      DPS              000255        000261
DPSG Mid Year Reports: Canada Dry August 2016 Presentation by Dr. Pepper Snapple Group                                                DPS              000262        000312
2013 Canada Dry Q1.Q2 National Media & Merchandising                                                                                  DPS              000345        000345
2015 Canada Dry Ginger Ale & Mixers Simple Celebrations Program Presentation dated October 15, 2014                                   DPS              000431        000463
DPS_000588_CONFIDENTIAL.xlsx                                                                                                          DPS              000588        000588
Barriers & Usage Work Session: Ginger Ale/Sparkling Water Presentation by Dr. Pepper Snapple Group dated January 4, 2013              DPS              000589        000694
DPS_000938_CONFIDENTIAL.xlsx                                                                                                          DPS              000938        000938
DPS_000939_CONFIDENTIAL.xlsx                                                                                                          DPS              000939        000939
Brand Health & Equity Tracking: Canada Dry and Schweppes TM - YE 2014 Presentation by Dr. Pepper Snapple Group                        DPS              000940        000979
Canada Dry Positioning May 2009 Presentation                                                                                          DPS              001101        001117
Canada Dry - Master Brand Creative Brief Dr. Pepper Snapple                                                                           DPS              001116        001116
Strategic Brand Positioning (SBP) Presentation by Dr. Pepper Snapple Group dated October 7, 2011                                      DPS              001118        001145
Canada Dry 2014 Final Program Check In Presentation dated April 12, 2013                                                              DPS              001181        001251
2014 Planning: Initial Concepts: Canada Dry Presentation by Dr. Pepper Snapple Group dated December 18, 2012                          DPS              001252        001266
2015 Canada Dry Strategic Brand Positioning, October 2013 Presentation                                                                DPS              001343        001389
2017 Canada Dry Plan Review Presentation dated April 21, 2016                                                                         DPS              001483        001521
2017 Canada Dry Brand Calendar                                                                                                        DPS              001509        001509
Drinking Ginger Ale Topline Results January 2008, Project #08-001 Presentation by Cadbury Schweppes                                   DPS              001588        001591
Canada Dry North America Toolbox Development Worksession #1 Presentation by Market Data Corporation dated December 9, 2009            DPS              001592        001630
Canada Dry Ginger Ale Semiotic Exploration, January 2014 Presentation by Kelton                                                       DPS              001631        001689
Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success May 2014 Presentation by Kelton                             DPS              001716        001800
Canada Dry Ad Testing Results: Hammock & Robot Service, December 2016 Presentation                                                    DPS              001877        001906
Canada Dry Ad Testing Results Farm: May 30, 2016 Presentation                                                                         DPS              001907        001955



                                                                                                                                                                Page 10 of 17
                                   Case 5:17-cv-00564-NC                        Document 248-1               Filed 10/09/18            Page 192 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                 Bates Prefix   Start       End


Ginger Ethnography Immersion Report, November 2007 Presentation by Cadbury Schweppes                                                         DPS              002192        002209
Brand Health & Equity Tracking: Canada Dry and Schweppes TM - Q2'13 Presentation by Dr. Pepper Snapple Group                                 DPS              002210        002245
Brand Health & Equity Tracking: Canada Dry and Schweppes TM (Including Sparkling Waters) - 1st Halt 2014 Presentation by Dr. Pepper          DPS              002246        002284
Snapple Group
Brand Health & Equity Tracking: Canada Dry and Schweppes TM - YE 2013 Presentation by Dr. Pepper Snapple Group                               DPS              002285        002326
Canada Dry Agency Pitch Presentation dated March 20, 2017                                                                                    DPS              002364        002450
Canada Dry Trademark Base Campaign Brief dated March 17, 2017                                                                                DPS              008270        008270
2013 - 2016 Canada Dry California Outlet Sales                                                                                               DPS              008272        008272
Canada Dry Ginger Ale: Atlanta, GA Outlet Sales for Week Ending January 15, 2012                                                             DPS              008273        012903
Redacted Document                                                                                                                            DPS              012904        012904
Report Summary for CDGA Ginger Claim dated September 13, 2017                                                                                DPS              012905        012910
Canada Dry Ginger Ale: California Outlet Sales for Years 2013, 2014, 2015, 2016, 2017                                                        DPS              012911        012911
Four Flavor Materials Comprising Canada Dry Flavor 3 Graph                                                                                   DPS              012913        012913
Dr. Pepper Snapple: Dr. Pepper, Core 4 and Other Carbonated Soft Drinks Presentation                                                         DPS              017921        017940
Sunkist Presentation by Dr. Pepper Snapple Group                                                                                             DPS              017941        017967
June 12, 2009 Email from Carmen Caccavale to Laura Gschwind regarding CD Made from Real Ginger FAQs with Attached Real Ginger 2009           DPS              018376        018379
Communication Plan FAQs Final
Brand Health & Equity Tracking: Ginger Ale - Q2'12 Presentation by Dr. Pepper Snapple Group                                                  DPS              044843        044882
Consumer-Centric Strategy February SCM: The Market, February 2015 Presentation by Dr. Pepper Snapple Group                                   DPS              045022        045140
Consumer-Centric Strategy February SCM: Marketing Leadership Update Follow-UP Presentation by Dr. Pepper Snapple Group dated May 29,         DPS              045141        045435
2015
Understanding Ginger Ale and How Canada Dry Can Capitalize on Its Success May 2014 Presentation                                              DPS              045765        045849
DPS_045872.XLSX                                                                                                                              DPS              045872        045872
Canada Dry Tools Pre-Read, June 17th Presentation by Dr. Pepper Snapple Group                                                                DPS              046240        046290
2015 Canada Dry Brand Pyramid                                                                                                                DPS              046263        046263
2016 Canada Dry Brand Pyramid                                                                                                                DPS              046264        046264
Canada Dry Organizing Idea Briefing Presentation                                                                                             DPS              046325        046440
Canada Dry Brand Pyramid                                                                                                                     DPS              046394        046394
Global Marketing Summit Briefs and Agencies Presentation by Dr. Pepper Snapple Group                                                         DPS              047022        047308
2016 Canada Dry Brand Tools & Big Idea Breif Review Presentation dated October 31, 2014                                                      DPS              047458        047499

                                                                                                                                                                       Page 11 of 17
                                   Case 5:17-cv-00564-NC                       Document 248-1                   Filed 10/09/18   Page 193 of 551



Facts, Data, and Other Information Received
Description                                                                                                                           Bates Prefix   Start       End


Creative Brief Summary: 2016 Canada Dry Big Idea                                                                                       DPS              047461        047461
2016 Canada Dry Initial Concepts Presentation                                                                                          DPS              047708        047749
2016 Canada Dry Strategic Brand Plan, October 2014 Presentation                                                                        DPS              047779        047840
Canada Dry 2018 Brand Plan, October 2016 Presentation                                                                                  DPS              051581        051610
Canada Dry 2019 Plans Review Trademark Approach Presentation                                                                           DPS              051907        051976
Canada Dry: 2019 Ales Calendar                                                                                                         DPS              051948        051948
IBP Steering Committee Meeting Discussion Document, October 11-12, 2016 Presentation by Dr. Pepper Snapple Group                       DPS              052253        052397
November 2016 7UP BA/BMC Meeting, November 8, 2016 Presentation                                                                        DPS              054582        054870
August 2017 7UP BA/BMC Meeting, August 25, 2017 Presentation                                                                           DPS              055814        055885
Canada Dry North America Brand Summit, April 28, 2010 Presentation                                                                     DPS              056093        056115
Canada Dry 2011 Brand Strategy Presentation by Dr. Pepper Snapple Group                                                                DPS              056215        056243
2011 Canada Dry Calendar                                                                                                               DPS              056221        056221
DPS_056255.XLS                                                                                                                         DPS              056255        056255
Canada Dry Business Review & 2012 Planning Presentation dated March 8, 2011                                                            DPS              056303        056330
Canada Dry Ginger Ale 2014/5 Master Creative Brief Proposed for 2016                                                                   DPS              056344        056344
2009 Canada Dry Ginger Ale Ad Layout                                                                                                   DPS              056601        056601
Creative Platform Discover Ginger by Canada Dry                                                                                        DPS              056602        056602
Canada Dry Ginger Ale Creative Diagnostics Management Summary April 2009 Presentation by Dr. Pepper Snapple Group                      DPS              056603        056640
Canada Dry Advertising, Graphics Refresh & Reformulation, August - November 28, 2009 Presentation by Nielsen                           DPS              056738        056755
Canada Dry Advertising, Graphics Refresh & Reformulation, August - November 28, 2009 Presentation by Nielson                           DPS              056740        056740
Canada Dry "The Mission" :15 TV Ad Details and Script                                                                                  DPS              056756        056779
April 18, 2009 Memo from Robin Falkoff to Various regarding Canada Dry Creative Diagnostic Research - Summary                          DPS              056780        056785
Canada Dry Ginger Ale Creative Presentation dated October 19, 2011                                                                     DPS              056820        056872
Canada Dry Ginger Ale Creative Qualitative Research Report, October 2010 Presentation                                                  DPS              056909        056933
Dr. Pepper Snapple Group Canada Dry 'Real Ginger' Analysis (August'11 - October'11) Presentation by Ipsos ASI                          DPS              056983        056996
Canada Dry Strategic Discussion & Masterbranding Review Presentation by Dr. Pepper Snapple Group dated February 5, 2013                DPS              057042        057062
Canada Dry Ad Qual Research Topline, February 2106 Presentation                                                                        DPS              057192        057205
Canada Dry Tissue Session Presentation by McGarryBowen dated December 1, 2015                                                          DPS              057335        057366



                                                                                                                                                                 Page 12 of 17
                                   Case 5:17-cv-00564-NC                         Document 248-1               Filed 10/09/18                Page 194 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                      Bates Prefix   Start       End


Canada Dry North America Toolbox Development Workshop #2 Presentation by Market Data Corporation dated February 2, 2010                           DPS              058045        058134
Canada Dry North America Toolbox Development Management Briefing Presentation dated April 7, 2010                                                 DPS              058344        058379
Canada Dry 2011 Brand Positioning Presentation dated July 1, 2010                                                                                 DPS              058520        058536
Canada Dry Purpose: Synthesis of Luminary Insights and Canada Dry's Purpose Articulation Presentation by BrightHouse dated August 7, 2015         DPS              060333        060407
Canada Dry Team Onboarding, 10/18 - 10/19 Presentation                                                                                            DPS              061151        061259
Canada Dry Brand Overview Presentation                                                                                                            DPS              061310        061342
Dr. Pepper Snapple Group Insight & Strategy, January 2013 Presentation                                                                            DPS              061766        062039
2011 Canada Dry Grab Some Ginger Copy Test Executive Report, March 2011 Presentation                                                              DPS              064356        064388
Canada Dry Ginger Ale TVLink Advertising Evaluation Presentation by MillwardBrown dated August 17, 2009                                           DPS              064422        064450
7UP & Flavors BA/BMC Presentation, October 1, 2014                                                                                                DPS              066378        066654
2017 Dr. Pepper Planning Presentation dated August 18, 2016                                                                                       DPS              066658        066717
Canada Dry Continues Strong Momentum                                                                                                              DPS              067109        067146
Canada Dry: Future Proofing Our Point of Difference                                                                                               DPS              067524        067524
2015 Canada Dry Calendar                                                                                                                          DPS              068427        068427
2015 Commercial Planning Core 5/Snapple Wiring Team Update Presentation by Dr. Pepper Snapple Group dated February 24, 2013                       DPS              068462        068586
2014 Commercial Planning Core 5/Snapple Wiring Team Update Presentation by Dr Pepper Snapple Group dated November 11, 2013                        DPS              069077        069187
Core Flavors & Snapple 2016 Brand Strategies November 2014 Presentation by Dr. Pepper Snapple Group                                               DPS              069505        069640
CSD & Snapple 2014 Brand Strategy Review February 2013 Presentation                                                                               DPS              070160        070160
2014 Planning Initial Concepts for Wiring Team, Canada Dry Presentation by Dr. Pepper Snapple Group dated February 7, 2013                        DPS              070221        070223
Ginger Ale Relevance Situation Presentation                                                                                                       DPS              070231        070234
2014 Category and Brand Strategies Presentation by Dr. Pepper Snapple Group dated December 7, 2012                                                DPS              070458        070541
2014 Initial Brand Plans and Programs Presentation by Dr. Pepper Snapple Group                                                                    DPS              070639        070756
February 20, 2009 Email from Dave Falk to Various regarding CD BMC Meeting Presentation                                                           DPS              070961        070982
Diet Canada Dry Ginger Ale Reformulation Presentation                                                                                             DPS              070983        070983
March 4, 2009 Email from Dave Falk to Shaun Nichols regarding Feedback for JWT Canada Dry Creative                                                DPS              071029        071030
March 9, 2009 Email from Dave Falk to Tony Jacobs regarding CD/A&W T1 T2 2010 Concepts -- Next Steps with Attached AW 2010                        DPS              071039        071040
Planning Internal Briefing 03092009; Canada Dry 2010 Planning Internal Briefing and 3092009
Canada Dry 2010 Brand Planning Objectives and Program Brief Presentation                                                                          DPS              071054        071065
April 23, 2009 Email from Dave Falk to Various regarding Canada Dry TV Creative Update                                                            DPS              071482        071482

                                                                                                                                                                            Page 13 of 17
                                    Case 5:17-cv-00564-NC                     Document 248-1                   Filed 10/09/18           Page 195 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                  Bates Prefix   Start       End


Email from Sharon Morgan to Various regarding 2009 Year to Date Performance and Key Updates                                                   DPS              071532        071534
7UP/Flavors BMC Call Presentation by Dr. Pepper Snapple Group dated July 31, 2009                                                             DPS              071847        071860
August 20, 2009 Email from Dave Falk to Grace Kim regarding Canada Dry Millward Brown LINK Results                                            DPS              071917        071918
CDNY Meeting: Canada Dry 2010 Strategy and Plans Presentation                                                                                 DPS              071940        071970
Canada Dry 2011 Planning NBD and Pyramid Presentation                                                                                         DPS              072168        072202
Canada Dry Brand Health, Equity, and Market Communications Tracker Q4 2009 (October - December 2009) Presentation by Dr. Pepper               DPS              074874        074903
Snapple
2011 Canada Dry Ad Qualitative Executive Summary, October 2010 Presentation                                                                   DPS              076656        076664
January 10, 2011 Email from Dave Falk to Christopher Rivera regarding 2012 Core 4 Briefing - Going 4 Gold with Attached Combined PreRead      DPS              077052        077053
7UP 2012 Planning Partner Briefing, Pre-Read Presentation by Dr. Pepper Snapple Group dated January 11, 2011                                  DPS              077054        077177
Canada Dry 2011 Plan Dr. Pepper Snapple                                                                                                       DPS              077059        077060
2012 Briefing PreRead January 2011 Presentation by Dr. Pepper Snapple                                                                         DPS              077124        077131
Consumer and Shopper Behavior Consumer Profile Presentation by Dr. Pepper Snapple                                                             DPS              077133        077141
2012 Brand Tools Presentation by Dr. Pepper Snapple                                                                                           DPS              077143        077148
May 4, 2017 Email from Blaise Dsylva to Dave Falk regarding The Table - Follow Up                                                             DPS              079182        079203
Hello, The Table Follow Up - DPSG Presentation dated April 25, 2017                                                                           DPS              079185        079187
Canada Dry Ginger Ale: The Table Presentation                                                                                                 DPS              079188        079204
Canada Dry Ginger Ale Invoice dated July 17, 2007                                                                                             DPS              090165        090168
Carbonated Soft Drinks - U.S., June 2013 Publication by Mintel                                                                                DPS              096419        096444
Canada Dry Ginger Ale Invoice                                                                                                                 DPS              096947        096948
Canada Dry Real Ginger Goodness Restage, July 2009 Presentation                                                                               DPS              102155        102177
December 16, 2009 Email from Kim Grace to Robin Utay regarding Yesterday's Briefing with Attached Canada Dry 2011 Agency Briefing and         DPS              143298        143329
A&W 2011 Agency Briefing
Canada Dry 2011 Agency Briefing Presentation by Dr. Pepper Snapple Group dated December 15, 2009                                              DPS              143306        143329
2010 Canada Dry Activation Calendar by Dr. Pepper Snapple                                                                                     DPS              143310        143310
Core 4 Mega Events Pre-Read 2011 Planning Presentation by Dr. Pepper Snapple Group                                                            DPS              147780        147901
April 26, 2016 Email from Steve Kramer to James Hassel regarding Ginger Question for CDGA (regulatory in nature)                              DPS              160934        160935
2013 Planning November Briefing: Core 5 Presentation                                                                                          DPS              164197        164438
2013 Canada Dry TM Brand Pyramid                                                                                                              DPS              164415        164415


                                                                                                                                                                        Page 14 of 17
                                   Case 5:17-cv-00564-NC                       Document 248-1            Filed 10/09/18         Page 196 of 551



Facts, Data, and Other Information Received
Description                                                                                                                          Bates Prefix   Start       End


2013 Canada Dry Ginger Ale Master Creative Brief by Dr. Pepper Snapple                                                                DPS              164418        164418
2013 Canada Dry Calendar by Dr. Pepper Snapple                                                                                        DPS              164419        164419
Calculations and Assumptions by Steve Kramer                                                                                          DPS              164689        164689
DPS_164690_CONFIDENTIAL.XLSX                                                                                                          DPS              164690        164690
DPS_164691_CONFIDENTIAL.XLSX                                                                                                          DPS              164691        164691
DPS_164692_CONFIDENTIAL.XLSX                                                                                                          DPS              164692        164692
Procurement Business Services Schedule of Terms dated January 1, 2016                                                                 DPS              164693        164719
Canada Dry Base Reformulation InnoScreen Final Report CSAB Project #08-002, March 2008 Presentation by Cadbury Schweppes              DPS              164720        164757
Understanding of Relaxation Occasions Presentation                                                                                    DPS              164761        164806
Project Canada Dry Ginger Ale Packaging Summary Report, November 2008 by Ipsos Camelford Graham                                       DPS              164818        164851
Regional Growth Meeting Canada Dry Pre-Read Presentation dated June 29, 2006                                                          DPS              164870        164890
May 17, 2007 Email from Courtney Bono to Various regarding CB7UP BMC with Attached CB7UP May BMC Presentation Deck Final 2008         DPS              165398        165399
Plans
2008 Annual Brand Plans Presentation by Cadbury Schweppes                                                                             DPS              165399        165490
Canada Dry 2008 Annual Brand Plan Presentation by Cadbury Schweppes                                                                   DPS              165462        165478
CB7UP 2008 Activation Details Presentation by Cadbury Schweppes dated June 13, 2007                                                   DPS              165499        165571
DPS_165898-160825-29-001906-024-CARB 8-25-16.XLSX                                                                                     DPS              165898        165898
DPS_165899-160826-25-001906-012-CARB 8-25-16.XLSX                                                                                     DPS              165899        165899
DPS_165900-170303-29-001906-024-CARB.XLSX                                                                                             DPS              165900        195900
DPS_165901-170829-25-001906-012-CARB.XLSX                                                                                             DPS              165901        165901
DPS_165902-2754456 Week 23 2016 2 Liter Scan NOPA.pdf                                                                                 DPS              165902        165915
DPS_165916-2822523 Week 33 2016 12 Packs Scan NOPA.pdf                                                                                DPS              165916        165929
DPS_165930-3159524 Week 26 2017 12 Pack Scan NOPA.pdf                                                                                 DPS              165930        165941
DPS_165942-3159567 Week 26 2017 2 Liter Scan NOPA.pdf                                                                                 DPS              165942        165953
DPS_165954-CD Green Tea Ginger Ale 12pk - 2012.pdf                                                                                    DPS              165954        165954
DPS_165955-Concentrate_Prices_Trend.XLSX                                                                                              DPS              165955        165955
DPS_165956-Copy of CDGA and Schweppes Data - by UPC.XLSX                                                                              DPS              165956        165956
DPS_165957-SW 12pk Ginger Ale - Nov 2012.pdf                                                                                          DPS              165957        165957
DPS_165958-Vons 12pks_wk 25_2017.pdf                                                                                                  DPS              165958        165960

                                                                                                                                                                Page 15 of 17
                                      Case 5:17-cv-00564-NC                         Document 248-1                    Filed 10/09/18          Page 197 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                        Bates Prefix   Start       End


DPS_165961-Vons 12pks_wk.14_2016.pdf                                                                                                                DPS              165961        165962
DPS_165963-Vons 2 Liters_wk.33_2016.pdf                                                                                                             DPS              165963        165964
DPS_165965-Vons 2 Liters_wk.46_2017.pdf                                                                                                             DPS              165965        165966
Various Products Concentrate Pricing effective January 1, 2012 - January 1, 2018                                                                    DPS              168543        168586
DPS_168587_CONFIDENTIAL__2006 BC_FC PRICING DATABASE - w Ongoing Changes.XLS                                                                        DPS              168587        168587
DPS_168588_CONFIDENTIAL__2008 BC_FC PRICING DATABASE.XLS                                                                                            DPS              168588        168588
DPS_168589_CONFIDENTIAL__2010 BC_FC PRICING DATABASE.xls.XLS                                                                                        DPS              168589        168589
DPS_168590_CONFIDENTIAL__2012 BC_FC PRICING DATABASE (Ongoing Updates).XLS                                                                          DPS              168590        168590
DPS_168591_CONFIDENTIAL__2014 BC_FC PRICING DATABASE FINAL.XLS                                                                                      DPS              168591        168591
DPS_168592_CONFIDENTIAL__2016 BC_FC PRICING FINAL 11.20.15.XLSX                                                                                     DPS              168592        168592
DPS_168593_CONFIDENTIAL__2018 BC_FC PRICING WORKING.XLSX                                                                                            DPS              168593        168593
DPS_168594_CONFIDENTIAL__2015 Pricing Architecture DSD.XLSX                                                                                         DPS              168594        168594
DPS_168595_CONFIDENTIAL__2016 Pricing Architecture-Guardrail DSD 11-13-2015.XLSM                                                                    DPS              168595        168595
DPS_168596_CONFIDENTIAL__2017 Pricing Architecture-Guardrail DSD MASTER 1-4-2017.XLSM                                                               DPS              168596        168596
DPS_168597_CONFIDENTIAL__2018 Pricing Architecture-Guardrail DSD MASTER 5-16-2018.XLSM                                                              DPS              168597        168597
DPS_168598_CONFIDENTIAL__Margin Miner-Cali-2L&12pk-Total.XLSX                                                                                       DPS              168598        168598
DPS_168599_CONFIDENTIAL__2013 Pricing Architecture DSD 08 26 13.XLSX                                                                                DPS              168599        168599
DPS_168600_CONFIDENTIAL__2014 Pricing Architecture DSD 02 26 14.XLSX                                                                                DPS              168600        168600
Canada Dry Packaging Change Starting June 2009 Presentation by Dr. Pepper Snapple Group                                                             DPS              168608        168617
Canada Dry Packaging Layout (2L 2007)                                                                                                               DPS              211502        211502
DPS_211835_CONFIDENTIAL_CD.SCHW Media spend - 8.6.18-v2                                                                                             DPS              211835        211835
DPS_211836_CONFIDENTIAL_(BEX) Harold B. - CD & SW Ales BCP (US & California) PROV_PROV_AZCP_M04 as of 7-6-18.xlsm                                   DPS              211836        211836

Documents Independently Obtained
In-store prices of Canada Dry and Schweppes soda products observed at a Rite Aid located at 2140 Contra Costa Blvd, Pleasant Hill, CA 94523
on April 11, 2018.
In-store prices of Canada Dry and Schweppes soda products observed at a Safeway located at 1978 Contra Costa Blvd, Pleasant Hill, CA 94523
on April 11, 2018.
In-store prices of soft drink products observed at retailers located in the Los Angeles area during July 2018
In-store prices of soft drink products observed at retailers located in the San Francisco Bay area during July 2018


                                                                                                                                                                              Page 16 of 17
                                    Case 5:17-cv-00564-NC                       Document 248-1                  Filed 10/09/18              Page 198 of 551



Facts, Data, and Other Information Received
Description                                                                                                                                      Bates Prefix   Start   End


Online prices of Canada Dry, Schweppes, Seagram's, and Vernors ginger ale products viewed on https://www.ralphs.com/ for a Ralphs located
at 2600 S. Vermont Ave., Los Angeles, CA 90007 on April 23, 2018.
Online prices of Canada Dry, Schweppes, Seagram's, and Vernors ginger ale products viewed on https://www.target.com/ on April 25, 2018.
Online prices of Canada Dry, Schweppes, Vernors, and smaller brand ginger ale products viewed on https://express.google.com for zip code
94117 on August 13, 2018
Amazon, "Canada Dry Ginger Ale Soda, 12 Ounce (12 Cans)." (https://www.amazon.com/Canada-Dry-Ginger-Soda-
Ounce/dp/B008CPWCEM/ref=sr_1_1_s_it?s=grocery&ie=UTF8&qid=1524770317&sr=1-1&keywords=canada+dry+ginger +ale+12+pack,
viewed on April 26, 2018.)
Amazon, "Canada Dry Green Tea Ginger Ale, 12pk, 12 oz Cans." (https://www.amazon.com/Canada-Dry-Green-Ginger-12pk/dp/B0029XB9XI,
viewed on April 26, 2018.)
Amazon, "Schweppes Ginger Ale Caffeine Free 12 Oz 12 Cans." (https://www.amazon.com/Schweppes-Ginger-Caffeine-Free-
Cans/dp/B00BUSYRAK/ref=sr_1_fkmr0_1_a_it?ie=UTF8&qi d=1524770718&sr=8-1-fkmr0&keywords=schweppes+ginger+ale+12+pack,
viewed on April 26, 2018.)
Dr Pepper Snapple Group 2016 10-K
Dr Pepper Snapple Group, "Our Company: History." (https://www.drpeppersnapplegroup.com/company/history, viewed on April 25, 2018.)
Dr Pepper Snapple Group, "Our Company: Operations." (https://www.drpeppersnapplegroup.com/company/operations, viewed on April 25,
2018.)
Orme, Bryna K. and Keith Chrzan (2017), "Becoming An Expert In Conjoint Analysis – Choice Modelling for Pros," Sawtooth Software, Inc.
Principles of Microeconomics, Fifth Edition, N. Gregory Mankiw
Proceedings of Sawtooth Software Conference, October 2013. (https://www.sawtoothsoftware.com/download /techpap/2013Proceedings.pdf
viewed on April 20, 2018.)




                                                                                                                                                                        Page 17 of 17
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 199 of 551




                             Exhibit 4
Case 5:17-cv-00564-NC                                     Document 248-1                             Filed 10/09/18                             Page 200 of 551


                                          Deponents Cited In The Supplemental Declaration Of Keith R. Ugone

                 Deponent               Deposition Date                                                Context Of Reference In Report

DPSU Personnel
 David Falk                             February 23, 2018   • Canada Dry ginger ale products are known for have a "great tasting, refreshing product."
 (Vice President of Brand and Content                       • Canada Dry Ginger Ale has a "health halo," meaning people tend to drink ginger ale when they are not feeling well.
 Marketing )                                                • Caffeine-free is a key attribute of Canada Dry Ginger Ale that drives consumer demand.
                                                            • The quality of its ingredients is key attribute of Canada Dry Ginger Ale.
                                                            • Canada Dry was seen as a northeast brand in 2009, and part of the growth strategy for the brand was to build
                                                            "distribution kind of systematically across the country over the years."


 Carmen Caccavale                        March 8, 2018      • There are numerous ways for a consumer to contact defendants with questions about products.
 (Director of Consumer Relations )                          • Defendants' "public ingredient fact website called dpsgproductfacts.com" is a channel used by defendants for
                                                            communicating product facts to consumers.
                                                            • The dpsgproductfacts.com website has helped "tremendously with ingredient inquiries overall" for defendants'
                                                            products.


Named Plaintiffs
 Gegham Margaryan                       February 14, 2018   • Lives in Los Angeles County and purchased Canada Dry Ginger Ale from a Vons supermarket in Glendale, CA.
                                         March 29, 2018     • Purchased one 8 pack of 12-oz. bottles of Canada Dry Ginger Ale on April 24, 2017 for $5.99.
                                                            • Did not purchase Canada Dry Ginger Ale under a promotion.
                                                            • His reasons for purchasing Canada Dry Ginger Ale were taste and made from real ginger.
                                                            • He "liked the tasted of the ginger" in Canada Dry Ginger Ale at first and continued to drink two of the eight bottles
                                                            the evening he bought it, but he did not "like its sting" and could tell it "didn't have the natural taste of ginger."


 Jackie Fitzhenry-Russell               February 16, 2018   • Lives in Santa Cruz, CA.
                                                            • She has purchased Canada Dry Ginger Ale for over 40 years.
                                                            • She has purchased various package types/sizes of Canada Dry Ginger Ale, including 12 packs of 12-oz. cans, 6
                                                            packs of 8-oz. cans, 6 packs of 7.5-oz. cans and 2-liter bottles).
                                                            • The prices she paid for Canada Dry Ginger Ale varied depending upon package type/size, date, and promotional
                                                            status.
                                                            • She confirmed that the prices she paid for Canada Dry Ginger Ale did not differ from the prices she paid for
                                                            competing soft drinks.
                                                            • She has used a Safeway Club Card to purchase Canada Dry Ginger Ale at a discounted price.
                                                            • Her reasons for purchasing Canada Dry Ginger Ale include thirst, taste, refreshment, and health benefits.


Plaintiffs' Experts
  Michael Dennis                         April 13, 2018     • He acknowledged that his understanding is that a 2-liter bottle of carbonated soft drink typically costs around $1.50
                                                            to $2.00 and a 12 pack of cans usually costs between $3.50 and $5.00.
                                                            • He did not test the market simulator's (used to obtain the claimed percentage price premiums) capability to simulate
                                                            results for any real world products.
                                                            • He claimed his market simulator calculated the "marketplace clearing price," and thus, includes the "suppliers'
                                                            willingness to sell the product at certain prices."
                                                            • He acknowledged that his analysis assumed that "the price points in the actual marketplace include the cost of goods
                                                            sold."
                                                            • The "None of these" option in his conjoint survey represent the choice to not buy anything at all and walk away.
                                                            • The claimed price premium calculated using his market simulation is the result of having equal share of preference
                                                            for the two products (i.e., a product with the Challenged Claim and an identical product without the Challenged
                                                            Claim).
                                                            • He acknowledged that it is possible for consumers to view the Challenged Claim differently in 2018 than in 2012.
                                                            • He testified that his simulator indicated that "there's a price premium on regular compared to diet."


 Colin B. Weir                           April 19, 2018     • Line pricing is defined as "two or more products from the same line are priced at the same price."
                                                            • He identified Schweppes and Seagram's as the primary competitors of Canada Dry.
                                                            • Schweppes does not use a claim similar to the "Made from Real Ginger" labeling claim, while Seagram's does.
                                                            • The point of Dr. Dennis' range of prices in his conjoint survey is to "encapsulate the range of prices that are actually
                                                            evident in the marketplace."
                                                            • He agreed that diet and regular Canada Dry products have the same retail prices.
                                                            • He testified, "through the measurement of actual marketplace prices that took place during the class period and the
                                                            incorporation of that data, both in the Dennis survey, and the market simulator, and in the application of that
                                                            information that comes from the market simulator back to the retail sales data that has already been set by the
                                                            interaction of supply and demand, including cost of production."
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 201 of 551




                             Exhibit 5
                                                                        Case 5:17-cv-00564-NC        Document 248-1          Filed 10/09/18    Page 202 of 551




                                                               Retail Prices Of Canada Dry And Seagram's Ginger Ale Products By Dr. Dennis At California Stores


                                        Target                    Pak N Save                 S&M Market                      Walmart                       Safeway             Nob Hill Grocery Store     Dallaq's Corner Store
                                                   (a)                         (a)                      (a)                             (b)                           (b)                        (b)                     (b)
                                Emeryville, CA                 Emeryville, CA               Oakland, CA              San Leandro, CA               San Leandro, CA              Redwood City, CA             Oakland, CA
                            Canada Dry     Seagram's       Canada Dry     Seagram's    Canada Dry     Seagram's   Canada Dry    Seagram's       Canada Dry    Seagram's      Canada Dry    Seagram's    Canada Dry     Seagram's

2-Liter Bottles

Ginger Ale                      $1.89              $1.89      $1.99            $1.99      $3.00                      $1.38                         $1.99             $1.99      $1.99          $1.99

Diet Ginger Ale                 $1.89                         $1.99                                                  $1.38                         $1.99                        $1.99          $1.99



12 Packs of 12-Oz. Cans

Ginger Ale                      $5.99              $4.99      $6.99            $6.99                                 $3.33                         $6.99             $6.99      $6.99          $6.99

Diet Ginger Ale                 $5.99                         $6.99                                                  $3.33                         $6.99                        $6.99          $6.99



Single 12-Oz. Cans

Ginger Ale                                                                                                                                                                                                 $1.00



6 Packs of 7.5-Oz. Cans

Ginger Ale                                                                                                                             $2.50

Notes:
(a) These stores were visited on March 14, 2018.
(b) These stores were visited on March 15, 2018.

Source:
[1] PL000783 - 785.
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 203 of 551




                             Exhibit 6
                                                                   Case 5:17-cv-00564-NC                                         Document 248-1                              Filed 10/09/18                         Page 204 of 551


                                                              Summary Of Observed Retail Prices For DPSU Soft Drinks In Select San Francisco Bay Area Drug Stores, Grocery Stores, And Mass Merchandisers

                                                                                                                                                           (a)
      Store Name                Store Address               Store Type             Date Of Visit          Line Pricing Observed For DPSU Soft Drinks                                  Stores With Regular And Diet Canada Dry Ginger Ale                                 Stores With Canada Dry Green Tea Ginger Ale
                                                                                                            2-Liter Bottles       12 Packs Of 12-Oz. Cans                          2-Liter Bottles                       12 Packs Of 12-Oz. Cans                                    12 Packs Of 12-Oz. Cans
                                                                                                                                                                                                                                                                                                      Priced The Same As
                                                                                                                                                                                               Both Priced The                                    Both Priced The                                     Canada Dry Ginger
                                                                                                         All Priced The Same?           All Priced The Same?         Both In The Store?            Same?               Both In The Store?             Same?                  In The Store?                   Ale?


                         601 Mission St
CVS                                                    Drug                        July 13, 2018                    X                             X
                         San Francisco, CA 94105

                         3158 Danville Blvd
CVS                                                    Drug                        July 17, 2018                    X                             X
                         Alamo, CA 94507

                         2140 Contra Costa Blvd
Rite Aid                                               Drug                        July 12, 2018                    X                           X, (b)                        X                        X                        X                        X
                         Pleasant Hill, CA 94523

                         45 Murchison Dr
Lucky                                                  Grocery                     July 14, 2018                    X                             X                           X                        X                        X                        X
                         Millbrae, CA 94030

                         1600 Palos Verdes Mall
Lunardi's Market                                       Grocery                     July 12, 2018                    X                             X                           X                        X                        X                        X
                         Walnut Creek, CA 94597

                         1825 El Camino Real
Lunardi's Market                                       Grocery                     July 14, 2018                    X                             X                           X                        X                        X                        X                          X                          X
                         Burlingame, CA 94010

                         2666 S Bascom Ave
Lunardi's Market                                       Grocery                     July 14, 2018                    X                             X                           X                        X                        X                        X                          X                          X
                         San Jose, CA 95124

                         635 Portola Dr
Mollie Stone's Market                                  Grocery                     July 14, 2018                    X                             X                           X                        X                                                                            X                          X
                         San Francisco, CA 94127

                         130 Market Pl
Nob Hill Foods                                         Grocery                     July 17, 2018                    X                             X                           X                        X                        X                        X
                         San Ramon, CA 94583

                         3889 San Pablo Ave
Pak N Save                                             Grocery                     July 14, 2018                    X                             X                           X                        X                        X                        X
                         Emeryville, CA 94608

                         150 E El Camino Real
Safeway                                                Grocery                     July 14, 2018                    X                             X                           X                        X                        X                        X                          X                          X
                         Sunnyvale, CA 94087

                         1978 Contra Costa Blvd
Safeway                                                Grocery                     July 12, 2018                    X                             X                           X                        X                        X                        X
                         Pleasant Hill, CA 94523

                         460 Diablo Rd
Smart & Final Extra!                                   Grocery                     July 17, 2018                    X                             X                           X                        X                        X                        X
                         Danville, CA 94526

                         1871 N Main St
Target                                                 Mass Merchandiser           July 14, 2018                    X                             X                           X                        X                        X                        X
                         Walnut Creek, CA 94596

                         1021 Arnold Dr
Walmart                                                Mass Merchandiser           July 12, 2018                   (c)                            (c)                         X                        X                        X                        X
                         Martinez, CA 94553


Notes:
(a) For the purpose of this analysis, prices of DPSU soft drink products primarily distributed by DPSG-affiliated bottlers are considered (i.e., 7UP, A&W, Canada Dry, Diet Rite, RC Cola, Sunkist, and Vernors products). Omitted from this analysis are DPSU brands that are (at least sometimes) distributed by Coke-
affiliated or Pepsi-affiliated bottlers (i.e., Cactus Cooler, Crush, Dr Pepper, Hawaiian Punch, and Schweppes). Because these brands are sometimes (if not always) distributed by Coke-affiliated or Pepsi-affiliated bottlers, these products are line priced with Coke or Pepsi products in some of the visited retail stores.
(b) For 12 packs of 12-oz. cans, the regular price of A&W Root Beer differed from other DPSU products.
(c) As discussed in the narrative to my declaration, Walmart's pricing strategy differs from other retailers. As such, line pricing by distributors generally was not observed in Walmart stores (particularly for 2-liter bottles). However, for this Walmart store, the DPSU soft drinks primarily distributed by DPSG-
affiliated bottlers were priced the same (except for 2-liter bottles of RC Cola).

Source:
[1] See supporting schedules.
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 205 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                                                         Case 5:17-cv-00564-NC                               Document 248-1                     Filed 10/09/18                   Page 206 of 551


                                                Summary Of Observed Retail Prices For DPSU Soft Drinks In Select San Francisco Area Drug Stores, Grocery Stores, And Mass Merchandisers

      Store Name                Store Address             Store Type         Date Of Visit                                                                   Stores With Schweppes Ginger Ale Products
                                                                                                                                  2-Liter Bottles                                                                12 Packs Of 12-Oz. Cans
                                                                                                                      Priced The Same       Priced Higher                                                  Priced The Same       Priced Higher
                                                                                                                      As Canada Dry        Than Canada Dry       Line Priced With                          As Canada Dry        Than Canada Dry   Line Priced With
                                                                                                   In The Store?        Ginger Ale?          Ginger Ale?         Pepsi Products?        In The Store?        Ginger Ale?          Ginger Ale?     Pepsi Products?


                        601 Mission St
CVS                                                   Drug                    July 13, 2018
                        San Francisco, CA 94105

                        3158 Danville Blvd
CVS                                                   Drug                    July 17, 2018              X                    X
                        Alamo, CA 94507

                        2140 Contra Costa Blvd
Rite Aid                                              Drug                    July 12, 2018              X                                          (a)                 X
                        Pleasant Hill, CA 94523

                        45 Murchison Dr
Lucky                                                 Grocery                 July 14, 2018
                        Millbrae, CA 94030

                        1600 Palos Verdes Mall
Lunardi's Market                                      Grocery                 July 12, 2018
                        Walnut Creek, CA 94597

                        1825 El Camino Real
Lunardi's Market                                      Grocery                 July 14, 2018
                        Burlingame, CA 94010

                        2666 S Bascom Ave
Lunardi's Market                                      Grocery                 July 14, 2018
                        San Jose, CA 95124

                        635 Portola Dr
Mollie Stone's Market                                 Grocery                 July 14, 2018
                        San Francisco, CA 94127

                        130 Market Pl
Nob Hill Foods                                        Grocery                 July 17, 2018                                                                                                  X                                            X              X
                        San Ramon, CA 94583

                        3889 San Pablo Ave
Pak N Save                                            Grocery                 July 14, 2018              X                                          X                   X                    X                                            X              X
                        Emeryville, CA 94608

                        150 E El Camino Real
Safeway                                               Grocery                 July 14, 2018              X                                          X                   X
                        Sunnyvale, CA 94087

                        1978 Contra Costa Blvd
Safeway                                               Grocery                 July 12, 2018              X                                          X                   X
                        Pleasant Hill, CA 94523

                        460 Diablo Rd
Smart & Final Extra!                                  Grocery                 July 17, 2018
                        Danville, CA 94526

                        1871 N Main St
Target                                                Mass Merchandiser       July 14, 2018              X                    X                                         X                    X                     X                                     X
                        Walnut Creek, CA 94596

                        1021 Arnold Dr
Walmart                                               Mass Merchandiser       July 12, 2018
                        Martinez, CA 94553


Note:
(a) Schweppes Ginger Ale regular price was higher than Canada Dry Ginger Ale. However, Schweppes Ginger Ale had an active promotion, while Canada Dry Ginger Ale did not, resulting in Schweppes Ginger Ale having a lower sales price.

Source:
[1] See supporting schedules.
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 207 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 208 of 551


                                                                 Observed Retail Prices
                                                      CVS At 601 Mission St, San Francisco, CA 94105
                                                               Observed On July 13, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.89                               $2.09                          $7.49                                  $4.99
 Diet Canada Dry Ginger Ale
 Canada Dry Ginger Ale And Lemonade           $2.89             (a)               $2.09                          $7.49                 (a)              $4.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $2.89                               $2.09                          $7.49                                  $4.99
 Diet 7UP                                     $2.89                               $2.09                          $7.49                                  $4.99
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $2.89                               $2.09                          $7.49                                  $4.99
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.89                               $0.99                          $7.49                                  $4.99
 Diet Dr Pepper                               $2.89                               $0.99                          $7.49                                  $4.99
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt                                       $2.89                                (b)                           $7.49                                  $4.99
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $2.89                               $2.09                          $7.49                                  $4.99
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 209 of 551


                                                                     Observed Retail Prices
                                                          CVS At 601 Mission St, San Francisco, CA 94105
                                                                   Observed On July 13, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                          $2.99                                                              $7.69                                  $4.99
 Diet Mtn Dew
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                                                                                               $7.69                                  $4.99
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                       $2.99                               $0.99                          $7.69                                  $4.99
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                $2.99                               $0.99                          $6.69                                  $4.99
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                        $2.99                               $2.09                          $7.49                                  $4.99
 Caffeine Free Coca-Cola
 Diet Coke                                        $2.99                               $2.09                          $7.49                                  $4.99
 Caffeine Free Diet Coke                          $2.99                                                              $7.49                                  $4.99
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $2.99                               $2.09                          $7.49                                  $4.99
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                                                                                                    $7.49                                  $4.99
 Coca-Cola Cherry Zero                                                                                               $7.49                                  $4.99
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                     Case 5:17-cv-00564-NC                         Document 248-1                   Filed 10/09/18               Page 210 of 551


                                                                                    Observed Retail Prices
                                                                         CVS At 601 Mission St, San Francisco, CA 94105
                                                                                  Observed On July 13, 2018

                                                                               2-Liter Bottles                                                              12 Packs of 12-Oz. Cans
                                                           Regular Price                         Promotional Price                          Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                   $2.19                                                                            $7.49                                 $4.99
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                         $2.99                                                                            $7.49                                 $4.99
 Sprite Zero                                                                                                                                     $7.49                                 $4.99
 TaB

Notes:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.
(b) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 211 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC            Document 248-1                Filed 10/09/18       Page 212 of 551


                                                                    Observed Retail Prices
                                                          CVS At 3158 Danville Blvd, Alamo, CA 94507
                                                                  Observed On July 17, 2018

                                                            2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                       Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.27                                                                $5.99
 Diet Canada Dry Ginger Ale
 Canada Dry Ginger Ale And Lemonade           $2.27               (a)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $2.27                                                                $5.99
 Diet 7UP                                     $2.27                                                                $5.99
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $2.27                                                                $5.99
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.27                                                                $5.99
 Diet Dr Pepper                               $2.27                                                                $5.99
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $2.27
 Squirt                                       $2.27                                                                $5.99
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $2.27                                                                $5.99
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                        Page 1 of 3
                                   Case 5:17-cv-00564-NC            Document 248-1                Filed 10/09/18       Page 213 of 551


                                                                        Observed Retail Prices
                                                              CVS At 3158 Danville Blvd, Alamo, CA 94507
                                                                      Observed On July 17, 2018

                                                                2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                       Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $2.19
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $2.27
 Diet Mist TWST
 Mtn Dew                                          $2.19                                                                $6.19
 Diet Mtn Dew                                                                                                          $6.19
 Mtn Dew Code Red
 Mtn Dew ICE                                                                                                           $6.19                 (a)
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                            $2.19                                                                $6.19
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                       $2.19                                                                $6.19
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                $2.19
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                        $2.19                                 $1.64                          $5.99                                  $3.99
 Caffeine Free Coca-Cola                          $2.19                                 $1.64
 Diet Coke                                                                                                             $5.99                                  $3.99
 Caffeine Free Diet Coke                                                                                               $5.99                                  $3.99
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $2.19                                 $1.64                          $5.99                                  $3.99
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry
 Coca-Cola Cherry Zero                                                                                                 $5.99                                  $3.99
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life



                                                                                                                                                                            Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 214 of 551


                                                                                        Observed Retail Prices
                                                                              CVS At 3158 Danville Blvd, Alamo, CA 94507
                                                                                      Observed On July 17, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                   $5.99
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.19
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.19                                                                         $5.99
 Sprite Zero                                                                                                                                    $5.99
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 215 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 216 of 551


                                                                  Observed Retail Prices
                                                Rite Aid At 2140 Contra Costa Blvd, Pleasant Hill, CA 94523
                                                                Observed On July 12, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                                                              $5.99
 Diet Canada Dry Ginger Ale                   $1.99             (a)                                              $5.99                 (a)
 Canada Dry Ginger Ale And Lemonade                                                                              $5.99                 (a)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                                                              $5.99
 Diet 7UP                                     $1.99             (a)
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.99             (a)                                              $5.69
 A&W Diet Root Beer                                                                                              $5.99                 (a)
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.09                               $1.67                          $6.29
 Diet Dr Pepper                               $2.09                               $1.67                          $6.29
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $2.09                               $1.67
 Squirt
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $1.99                                                              $5.99
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 217 of 551


                                                                      Observed Retail Prices
                                                    Rite Aid At 2140 Contra Costa Blvd, Pleasant Hill, CA 94523
                                                                    Observed On July 12, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                          $2.09                               $1.67                          $6.29
 Diet Mtn Dew                                                                                                        $6.29
 Mtn Dew Code Red
 Mtn Dew ICE                                      $2.09                               $1.67
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                            $2.09                               $1.67                          $5.99
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                       $2.09                               $1.67                          $6.29
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                        $2.19                                                              $6.49
 Caffeine Free Coca-Cola
 Diet Coke                                        $2.19                                                              $6.49
 Caffeine Free Diet Coke
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $2.19                                                              $6.49
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                                                                                                    $6.49
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 218 of 551


                                                                                      Observed Retail Prices
                                                                    Rite Aid At 2140 Contra Costa Blvd, Pleasant Hill, CA 94523
                                                                                    Observed On July 12, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                   $6.49
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                           $6.49
 Sprite                                                                                                                                         $6.49
 Sprite Zero
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 219 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 220 of 551


                                                                  Observed Retail Prices
                                                      Lucky At 45 Murchison Drive, Millbrae, CA 94030
                                                                 Observed On July 14, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                               $1.33                          $6.99                                  $2.99
 Diet Canada Dry Ginger Ale                   $1.99                               $1.33                          $6.99                                  $2.99
 Canada Dry Ginger Ale And Lemonade           $1.99                               $1.33                          $6.99                                   (a)
 Canada Dry Cranberry Ginger Ale              $1.99                               $1.33
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                                                                                             $6.99                                  $2.99
 Diet 7UP                                                                                                        $6.99                                  $2.99
 7UP Cherry                                   $1.99                               $1.33                          $6.99                                  $2.99
 Diet 7UP Cherry                              $1.99                               $1.33                          $6.99                                  $2.99
 A&W Root Beer                                $1.99                               $1.33                          $6.99                                  $2.99
 A&W Diet Root Beer                           $1.99                               $1.33                          $6.99                                  $2.99
 A&W Cream Soda                                                                                                  $6.99                                  $2.99
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                 $1.99                               $1.33                          $6.99                                  $5.99
 Diet Orange Crush
 Crush Grape                                  $1.99                               $1.33
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                               $1.33                          $6.99                                  $5.99
 Diet Dr Pepper                               $1.99                               $1.33                          $6.99                                  $5.99
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                               $1.33                          $6.99                                  $5.99
 Diet Dr Pepper Cherry                        $1.99                               $1.33                          $6.99                                  $5.99
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                               $1.33                          $6.99                                  $2.99
 RC Cola                                      $1.99                               $1.33
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt                                       $1.99                               $1.33                          $6.99                                  $2.99
 Squirt Diet                                  $1.99                               $1.33                          $6.99                                  $2.99
 Squirt Ruby Red                                                                                                 $6.99                                  $2.99
 Sunkist Orange                               $1.99                               $1.33                          $6.99                                  $2.99
 Diet Sunkist                                 $1.99                               $1.33                          $6.99                                  $2.99
 Sunkist Lemonade                             $1.99                               $1.33                          $6.99                                  $2.99
 Sunkist Grape                                $1.99                               $1.33                          $6.99                                  $2.99
 Sunkist Strawberry                           $1.99                               $1.33                          $6.99                                  $2.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 221 of 551


                                                                      Observed Retail Prices
                                                          Lucky At 45 Murchison Drive, Millbrae, CA 94030
                                                                     Observed On July 14, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $1.99                               $1.33                          $6.99                                  $5.99
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $1.99                               $1.33                          $6.99                                  $5.99
 Diet Mist TWST                                                                                                      $6.99                                  $5.99
 Mtn Dew                                          $1.99                               $1.33                          $6.99                                  $5.99
 Diet Mtn Dew                                     $1.99                               $1.33                          $6.99                                  $5.99
 Mtn Dew Code Red                                                                                                    $6.99                                  $5.99
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                            $1.99                               $1.33                          $6.99                                  $5.99
 Pepsi-Cola Made With Real Sugar                  $1.99                               $1.33                          $6.99                                  $5.99
 Caffeine Free Pepsi                                                                                                 $6.99                                  $5.99
 Diet Pepsi                                       $1.99                               $1.33                          $6.99                                  $5.99
 Caffeine Free Diet Pepsi                         $1.99                               $1.33                          $6.99                                  $5.99
 Pepsi Zero Sugar                                 $1.99                               $1.33                          $6.99                                  $5.99
 Pepsi Wild Cherry                                $1.99                               $1.33                          $6.99                                  $5.99
 Diet Pepsi Wild Cherry                                                                                              $6.99                                  $5.99
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla                                                                                                $6.99                                  $5.99

The Coca-Cola Company
 Barq's Root Beer                                 $1.89                               $0.99                          $6.99
 Diet Barq's Root Beer                                                                                               $6.99
 Coca-Cola                                        $1.99                               $1.33
 Caffeine Free Coca-Cola                                                                                             $6.99
 Diet Coke                                        $1.99                               $1.33                          $6.99
 Caffeine Free Diet Coke                          $1.99                               $1.33                          $6.99
 Diet Coke With Splenda                                                                                              $6.99
 Coca-Cola Zero Sugar                             $1.99                               $1.33                          $6.99
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $6.99
 Coca-Cola Cherry                                 $1.99                               $1.33                          $6.99
 Coca-Cola Cherry Zero                                                                                               $6.99
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.99
 Coca-Cola Vanilla Zero                                                                                              $6.99
 Coca-Cola Life                                                                                                      $6.99



                                                                                                                                                                          Page 2 of 3
                                     Case 5:17-cv-00564-NC                         Document 248-1                   Filed 10/09/18               Page 222 of 551


                                                                                    Observed Retail Prices
                                                                        Lucky At 45 Murchison Drive, Millbrae, CA 94030
                                                                                   Observed On July 14, 2018

                                                                               2-Liter Bottles                                                              12 Packs of 12-Oz. Cans
                                                           Regular Price                         Promotional Price                          Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                         $6.99
 Diet Coke Ginger Lime                                                                                                                           $6.99
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                   $1.89                                    $0.99                                   $6.99
 Fanta Zero Sugar Orange                                        $1.89                                    $0.99                                   $6.99
 Fanta Berry                                                    $1.89                                    $0.99                                   $6.99
 Fanta Grape                                                    $1.89                                    $0.99
 Fanta Strawberry                                               $1.89                                    $0.99
 Fanta Pineapple                                                $1.89                                    $0.99
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                                                                                                          $6.99
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                           $1.89                                    $0.99                                   $6.99
 Minute Maid Light Lemonade                                                                                                                      $6.99
 Minute Maid Pink Lemonade                                      $1.89                                    $0.99                                   $6.99
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra                                                                                                                                       $6.99
 Seagram's Ginger Ale                                           $1.89                                    $0.99                                   $6.99
 Sprite                                                                                                                                          $6.99
 Sprite Zero                                                                                                                                     $6.99
 TaB

Note:
(a) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 223 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 224 of 551


                                                                Observed Retail Prices
                                          Lunardi's Market At 1600 Palos Verdes Mall, Walnut Creek, CA 94597
                                                               Observed On July 12, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                                                              $5.99
 Diet Canada Dry Ginger Ale                   $1.99                                                              $5.99
 Canada Dry Ginger Ale And Lemonade           $1.99                                                              $5.99
 Canada Dry Cranberry Ginger Ale              $1.99
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                                                              $5.99
 Diet 7UP                                     $1.99                                                              $5.99
 7UP Cherry                                   $1.99                                                              $5.99
 Diet 7UP Cherry                              $1.99                                                              $5.99
 A&W Root Beer                                $1.99                                                              $5.99
 A&W Diet Root Beer                           $1.99                                                              $5.99
 A&W Cream Soda                                                                                                  $5.99
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                                                              $6.19
 Diet Dr Pepper                               $1.99                                                              $6.19
 Caffeine Free Diet Dr Pepper                                                                                    $6.19
 Dr Pepper Cherry
 Diet Dr Pepper Cherry                                                                                           $6.19
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                                                              $5.99
 RC Cola                                      $1.99                                                              $5.99
 Diet Rite Cola                                                                                                  $5.99
 Schweppes Ginger Ale
 Squirt                                       $1.99                                                              $5.99
 Squirt Diet                                  $1.99                                                              $5.99
 Squirt Ruby Red                                                                                                 $5.99
 Sunkist Orange                               $1.99                                                              $5.99
 Diet Sunkist                                 $1.99                                                              $5.99                 (a)
 Sunkist Lemonade                             $1.99                                                              $5.99
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 225 of 551


                                                                    Observed Retail Prices
                                              Lunardi's Market At 1600 Palos Verdes Mall, Walnut Creek, CA 94597
                                                                   Observed On July 12, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                          $1.99                                                              $6.19
 Diet Mtn Dew                                                                                                        $6.19                 (a)
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast                                                                                                  $6.19                 (a)
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                            $1.99                                                              $6.19
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                       $1.99                                                              $6.19
 Caffeine Free Diet Pepsi                                                                                            $6.19
 Pepsi Zero Sugar                                                                                                    $6.19                 (a)
 Pepsi Wild Cherry                                                                                                   $6.19
 Diet Pepsi Wild Cherry                                                                                              $6.19
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $7.29                                  $4.99
 Diet Barq's Root Beer                                                                                               $7.29                                  $4.99
 Coca-Cola                                        $2.29                                                              $7.29                                  $4.99
 Caffeine Free Coca-Cola                                                                                             $7.29                                  $4.99
 Diet Coke                                        $2.29                                                              $7.29                                  $4.99
 Caffeine Free Diet Coke                          $2.29                                                              $7.29                                  $4.99
 Diet Coke With Splenda                                                                                              $7.29                                  $4.99
 Coca-Cola Zero Sugar                             $2.29                                                              $7.29                                  $4.99
 Caffeine Free Coca-Cola Zero Sugar               $2.29                                                              $7.29                                  $4.99
 Coca-Cola Cherry                                 $2.29                                                              $7.29                                  $4.99
 Coca-Cola Cherry Zero                                                                                               $7.29                                  $4.99
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $7.29                                  $4.99
 Coca-Cola Vanilla Zero                                                                                              $7.29                                  $4.99
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 226 of 551


                                                                                   Observed Retail Prices
                                                             Lunardi's Market At 1600 Palos Verdes Mall, Walnut Creek, CA 94597
                                                                                  Observed On July 12, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                                                                         $7.29                                  $4.99
 Fresca Peach Citrus                                                                                                                            $7.29                                  $4.99
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                                                                         $7.29                                  $4.99
 Minute Maid Light Lemonade                                                                                                                     $7.29                                  $4.99
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.29                                                                         $7.29                                  $4.99
 Sprite Zero                                                      $2.29                                                                         $7.29                                  $4.99
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 227 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 228 of 551


                                                                Observed Retail Prices
                                            Lunardi's Market At 1825 El Camino Real, Burlingame, CA 94010
                                                              Observed On July 14, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                                                              $5.99
 Diet Canada Dry Ginger Ale                   $1.99                                                              $5.99
 Canada Dry Ginger Ale And Lemonade           $1.99             (a)                                              $5.99
 Canada Dry Cranberry Ginger Ale              $1.99
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                 $5.99
 7UP                                          $1.99                                                              $5.99
 Diet 7UP                                     $1.99                                                              $5.99
 7UP Cherry                                   $1.99                                                              $5.99
 Diet 7UP Cherry                              $1.99                                                              $5.99
 A&W Root Beer                                $1.99                                                              $5.99
 A&W Diet Root Beer                           $1.99                                                              $5.99
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper
 Diet Dr Pepper
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99
 RC Cola                                      $1.99                                                              $5.99
 Diet Rite Cola                                                                                                  $5.99
 Schweppes Ginger Ale
 Squirt                                       $1.99                                                              $5.99
 Squirt Diet                                  $1.99                                                              $5.99
 Squirt Ruby Red
 Sunkist Orange                               $1.99                                                              $5.99                 (a)
 Diet Sunkist                                 $1.99                                                              $5.99
 Sunkist Lemonade                             $1.99
 Sunkist Grape
 Sunkist Strawberry                           $1.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 229 of 551


                                                                    Observed Retail Prices
                                                Lunardi's Market At 1825 El Camino Real, Burlingame, CA 94010
                                                                  Observed On July 14, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew
 Diet Mtn Dew
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $7.29                                  $4.99
 Diet Barq's Root Beer                                                                                               $7.29                                  $4.99
 Coca-Cola                                        $2.29                                                              $7.29                                  $4.99
 Caffeine Free Coca-Cola                                                                                             $7.29                                  $4.99
 Diet Coke                                        $2.29                                                              $7.29                                  $4.99
 Caffeine Free Diet Coke                          $2.29                                                              $7.29                                  $4.99
 Diet Coke With Splenda                                                                                              $7.29                                  $4.99
 Coca-Cola Zero Sugar                                                                                                $7.29                                  $4.99
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                                                                                                    $7.29                                  $4.99
 Coca-Cola Cherry Zero                                                                                               $7.29                                  $4.99
 Diet Coke Cherry                                                                                                    $7.29                                  $4.99
 Coca-Cola Vanilla                                                                                                   $7.29                                  $4.99
 Coca-Cola Vanilla Zero
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 230 of 551


                                                                                    Observed Retail Prices
                                                                Lunardi's Market At 1825 El Camino Real, Burlingame, CA 94010
                                                                                  Observed On July 14, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29                                                                         $7.29                                  $4.99
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                                                                         $7.29                                  $4.99
 Fresca Peach Citrus                                                                                                                            $7.29                                  $4.99
 Fresca Black Cherry Citrus                                                                                                                     $7.29                                  $4.99
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                                                                                                           $7.29                                  $4.99
 Minute Maid Light Lemonade                                                                                                                     $7.29                                  $4.99
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.29                                                                         $7.29                                  $4.99
 Sprite Zero                                                      $2.29                                                                         $7.29                                  $4.99
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 231 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 232 of 551


                                                                 Observed Retail Prices
                                               Lunardi's Market At 2666 S Bascom Ave, San Jose, CA 95124
                                                              Observed On July 14, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                                                              $5.99
 Diet Canada Dry Ginger Ale                   $1.99                                                              $5.99                 (a)
 Canada Dry Ginger Ale And Lemonade                                                                              $5.99                 (a)
 Canada Dry Cranberry Ginger Ale              $1.99
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                 $5.99
 7UP                                          $1.99                                                              $5.99
 Diet 7UP                                     $1.99                                                              $5.99
 7UP Cherry                                   $1.99                                                              $5.99
 Diet 7UP Cherry                              $1.99                                                              $5.99
 A&W Root Beer                                $1.99                                                              $5.99
 A&W Diet Root Beer                           $1.99                                                              $5.99
 A&W Cream Soda                                                                                                  $5.99
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                 $1.99                                                              $6.19
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                                                              $6.19
 Diet Dr Pepper                                                                                                  $6.19
 Caffeine Free Diet Dr Pepper                                                                                    $6.19
 Dr Pepper Cherry                             $1.99                                                              $6.19
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                                                              $5.99
 RC Cola                                      $1.99                                                              $5.99
 Diet Rite Cola                                                                                                  $5.99
 Schweppes Ginger Ale
 Squirt                                       $1.99                                                              $5.99
 Squirt Diet                                  $1.99                                                              $5.99
 Squirt Ruby Red
 Sunkist Orange                               $1.99                                                              $5.99
 Diet Sunkist                                 $1.99                                                              $5.99
 Sunkist Lemonade                                                                                                $5.99
 Sunkist Grape                                $1.99                                                              $5.99
 Sunkist Strawberry                           $1.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 233 of 551


                                                                     Observed Retail Prices
                                                   Lunardi's Market At 2666 S Bascom Ave, San Jose, CA 95124
                                                                  Observed On July 14, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew
 Diet Mtn Dew                                     $1.99                                                              $6.19
 Mtn Dew Code Red
 Mtn Dew ICE                                      $1.99                                                              $6.19
 Mtn Dew Baja Blast                                                                                                  $6.19
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                    $1.99                                                              $6.19
 Diet Mug Root Beer                                                                                                  $6.19
 Pepsi                                                                                                               $6.19
 Pepsi-Cola Made With Real Sugar                                                                                     $6.19
 Caffeine Free Pepsi
 Diet Pepsi                                       $1.99                                                              $6.19
 Caffeine Free Diet Pepsi                                                                                            $6.19
 Pepsi Zero Sugar                                                                                                    $6.19                 (a)
 Pepsi Wild Cherry                                $1.99                                                              $6.19
 Diet Pepsi Wild Cherry                                                                                              $6.19
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $7.29                                  $4.99
 Diet Barq's Root Beer                                                                                               $7.29                                  $4.99
 Coca-Cola                                        $2.29                                                              $7.29                                  $4.99
 Caffeine Free Coca-Cola                                                                                             $7.29                                  $4.99
 Diet Coke                                        $2.29                                                              $7.29                                  $4.99
 Caffeine Free Diet Coke                                                                                             $7.29                                  $4.99
 Diet Coke With Splenda                                                                                              $7.29                                  $4.99
 Coca-Cola Zero Sugar                             $2.29                                                              $7.29                                  $4.99
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $7.29                                  $4.99
 Coca-Cola Cherry                                 $2.29                                                              $7.29                                  $4.99
 Coca-Cola Cherry Zero                                                                                               $7.29                                  $4.99
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero                                                                                              $7.29                                  $4.99
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 234 of 551


                                                                                      Observed Retail Prices
                                                                    Lunardi's Market At 2666 S Bascom Ave, San Jose, CA 95124
                                                                                   Observed On July 14, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $7.29                                  $4.99
 Diet Coke Ginger Lime                                                                                                                          $7.29                                  $4.99
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29                                                                         $7.29                                  $4.99
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape                                                                                                                                    $7.29                                  $4.99
 Fanta Strawberry                                                                                                                               $7.29                                  $4.99
 Fanta Pineapple                                                                                                                                $7.29                                  $4.99
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                                                                         $7.29                                  $4.99
 Fresca Peach Citrus                                                                                                                            $7.29                                  $4.99
 Fresca Black Cherry Citrus                                                                                                                     $7.29                                  $4.99
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                                                                         $7.29                                  $4.99
 Minute Maid Light Lemonade                                                                                                                     $7.29                                  $4.99
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra                                                                                                                                      $7.29                                  $4.99
 Seagram's Ginger Ale
 Sprite                                                           $2.29                                                                         $7.29                                  $4.99
 Sprite Zero                                                      $2.29                                                                         $7.29                                  $4.99
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 235 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 236 of 551


                                                                 Observed Retail Prices
                                            Mollie Stone's Market At 635 Portola Dr, San Francisco, CA 94127
                                                               Observed On July 14, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                                                              $5.99
 Diet Canada Dry Ginger Ale                   $1.99
 Canada Dry Ginger Ale And Lemonade                                                                              $5.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                 $5.99                 (a)
 7UP                                          $1.99                                                              $5.99
 Diet 7UP                                     $1.99                                                              $5.99
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.99
 A&W Diet Root Beer                           $1.99                                                              $5.99
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.39
 Diet Dr Pepper                               $2.39                                                              $6.89
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola                                                                                                  $5.99
 Schweppes Ginger Ale
 Squirt
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange
 Diet Sunkist                                                                                                    $5.99
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 237 of 551


                                                                     Observed Retail Prices
                                                Mollie Stone's Market At 635 Portola Dr, San Francisco, CA 94127
                                                                   Observed On July 14, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew
 Diet Mtn Dew
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                            $2.39                                                              $6.89
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi
 Caffeine Free Diet Pepsi                                                                                            $6.89
 Pepsi Zero Sugar
 Pepsi Wild Cherry
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                        $2.99                                                              $8.99                                  $4.50
 Caffeine Free Coca-Cola                                                                                             $8.99                                  $4.50
 Diet Coke                                        $2.99                                                              $8.99                                  $4.50
 Caffeine Free Diet Coke                          $2.99                                                              $8.99                                  $4.50
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $2.99                                                              $8.99                                  $4.50
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 238 of 551


                                                                                     Observed Retail Prices
                                                                Mollie Stone's Market At 635 Portola Dr, San Francisco, CA 94127
                                                                                   Observed On July 14, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                   $8.99                                  $4.50
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.99
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.99                                                                         $8.99                                  $4.50
 Sprite Zero                                                                                                                                    $8.99                                  $4.50
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 239 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 240 of 551


                                                                  Observed Retail Prices
                                                  Nob Hill Foods At 130 Market Pl, San Ramon, CA 94583
                                                                Observed On July 17, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                               $1.25                          $6.99                                  $2.99
 Diet Canada Dry Ginger Ale                   $1.99                               $1.25                          $6.99                                  $2.99
 Canada Dry Ginger Ale And Lemonade                                                                              $6.99                                  $2.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                               $1.25                          $6.99                                  $2.99
 Diet 7UP                                     $1.99                               $1.25                          $6.99                                  $2.99
 7UP Cherry                                                                                                      $6.99                                  $2.99
 Diet 7UP Cherry                              $1.99                               $1.25                          $6.99                                  $2.99
 A&W Root Beer                                $1.99                               $1.25                          $6.99                                  $2.99
 A&W Diet Root Beer                           $1.99                               $1.25                          $6.99                                  $2.99
 A&W Cream Soda                                                                                                  $6.99                                  $2.99
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                                                                                    $6.99                                  $4.99
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                               $1.50                          $6.99                                  $4.99
 Diet Dr Pepper                               $1.99                               $1.50                          $6.99                                  $4.99
 Caffeine Free Diet Dr Pepper                                                                                    $6.99                                  $4.99
 Dr Pepper Cherry
 Diet Dr Pepper Cherry                                                                                           $6.99                                  $4.99
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola                                                                                                         $6.99                                  $2.99
 Diet Rite Cola                                                                                                  $6.99                                  $2.99
 Schweppes Ginger Ale                                                                                            $6.99                                  $4.99
 Squirt                                       $1.99             (a)               $1.25                          $6.99                                  $2.99
 Squirt Diet                                                                                                     $6.99                                  $2.99
 Squirt Ruby Red                                                                                                 $6.99                                  $2.99
 Sunkist Orange                               $1.99                               $1.25                          $6.99                                  $2.99
 Diet Sunkist                                                                                                    $6.99                                  $2.99
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 241 of 551


                                                                      Observed Retail Prices
                                                      Nob Hill Foods At 130 Market Pl, San Ramon, CA 94583
                                                                    Observed On July 17, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                                                                                           $6.99                                  $4.99
 Diet Mist TWST                                                                                                      $6.99                                  $4.99
 Mtn Dew
 Diet Mtn Dew                                                                                                        $6.99                                  $4.99
 Mtn Dew Code Red
 Mtn Dew ICE                                                                                                         $6.99                                  $4.99
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                                                                                       $6.99                                  $4.99
 Diet Mug Root Beer
 Pepsi                                            $1.99                               $1.50                          $6.99                                  $4.99
 Pepsi-Cola Made With Real Sugar                                                                                     $6.99                                  $4.99
 Caffeine Free Pepsi                                                                                                 $6.99                                  $4.99
 Diet Pepsi                                       $1.99                               $1.50                          $6.99                                  $4.99
 Caffeine Free Diet Pepsi                                                                                            $6.99                                  $4.99
 Pepsi Zero Sugar                                 $1.99                               $1.50                          $6.99                                  $4.99
 Pepsi Wild Cherry                                $1.99                               $1.50                          $6.99                                  $4.99
 Diet Pepsi Wild Cherry                                                                                              $6.99                                  $4.99
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $6.99                                  $3.50
 Diet Barq's Root Beer                                                                                               $6.99                                  $3.50
 Coca-Cola                                        $1.99                               $1.69                          $6.99                                  $3.50
 Caffeine Free Coca-Cola                                                                                             $6.99                                  $3.50
 Diet Coke                                        $1.99                               $1.69                          $6.99                                  $3.50
 Caffeine Free Diet Coke                          $1.99                               $1.69                          $6.99                                  $3.50
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $1.99                               $1.69                          $6.99                                  $3.50
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $6.99                                  $3.50
 Coca-Cola Cherry                                                                                                    $6.99                                  $3.50
 Coca-Cola Cherry Zero                                                                                               $6.99                                  $3.50
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.99                                  $3.50
 Coca-Cola Vanilla Zero                                                                                              $6.99                                  $3.50
 Coca-Cola Life                                                                                                      $6.99                                  $3.50



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 242 of 551


                                                                                       Observed Retail Prices
                                                                       Nob Hill Foods At 130 Market Pl, San Ramon, CA 94583
                                                                                     Observed On July 17, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $6.99                                  $3.50
 Diet Coke Ginger Lime                                                                                                                          $6.99                                  $3.50
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                   $6.99                                  $3.50
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                                                                                                         $6.99                                  $3.50
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                                                                                                           $6.99                                  $3.50
 Minute Maid Light Lemonade                                                                                                                     $6.99                                  $3.50
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $1.99                                      $1.69                              $6.99                                  $3.50
 Sprite Zero                                                                                                                                    $6.99                                  $3.50
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 243 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 244 of 551


                                                                 Observed Retail Prices
                                                 Pak N Save At 3889 San Pablo Ave, Emeryville, CA 94608
                                                               Observed On July 14, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                               $1.25                          $6.99                                  $3.50
 Diet Canada Dry Ginger Ale                   $1.99                               $1.25          (a)             $6.99                                  $3.50
 Canada Dry Ginger Ale And Lemonade           $1.99                               $1.25                          $6.99                                  $3.50
 Canada Dry Cranberry Ginger Ale              $1.99                               $1.25                          $6.99                                  $3.50
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                               $1.25                          $6.99                                  $3.50
 Diet 7UP                                     $1.99                               $1.25                          $6.99                                  $3.50
 7UP Cherry                                   $1.99                               $1.25                          $6.99                                  $3.50
 Diet 7UP Cherry                              $1.99                               $1.25                          $6.99                                  $3.50
 A&W Root Beer                                $1.99                               $1.25                          $6.99                                  $3.50
 A&W Diet Root Beer                           $1.99                               $1.25                          $6.99                                  $3.50
 A&W Cream Soda                               $1.99                               $1.25                          $6.99                                  $3.50
 A&W Diet Cream Soda                                                                                             $6.99                                  $3.50
 Cactus Cooler
 Crush Orange                                 $1.99                                                              $6.99                                  $5.49
 Diet Orange Crush                                                                                               $6.99                                  $5.49
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                                                              $6.99                                  $5.49
 Diet Dr Pepper                               $1.99                                                              $6.99                                  $5.49
 Caffeine Free Diet Dr Pepper                                                                                    $6.99                                  $5.49
 Dr Pepper Cherry                             $1.99                                                              $6.99                                  $5.49
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                               $1.25
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99                                                              $6.99                                  $5.49
 Squirt                                       $1.99                               $1.25                          $6.99                                  $3.50
 Squirt Diet                                  $1.99                               $1.25                          $6.99                                  $3.50
 Squirt Ruby Red                              $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Orange                                                                                                  $6.99                                  $3.50
 Diet Sunkist                                                                                                    $6.99                                  $3.50
 Sunkist Lemonade
 Sunkist Grape                                                                                                   $6.99                                  $3.50
 Sunkist Strawberry                                                                                              $6.99                                  $3.50
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 245 of 551


                                                                     Observed Retail Prices
                                                     Pak N Save At 3889 San Pablo Ave, Emeryville, CA 94608
                                                                   Observed On July 14, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $1.99                                                              $6.99                                  $5.49
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $1.99                                                              $6.99                                  $5.49
 Diet Mist TWST                                                                                                      $6.99                                  $5.49
 Mtn Dew                                          $1.99                                                              $6.99                                  $5.49
 Diet Mtn Dew                                     $1.99                                                              $6.99                                  $5.49
 Mtn Dew Code Red                                                                                                    $6.99                                  $5.49
 Mtn Dew ICE                                      $1.99                                                              $6.99                                  $5.49
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                   $6.99                                  $5.49
 Mtn Dew Voltage                                                                                                     $6.99                                  $5.49              (a)
 Mug Root Beer                                    $1.99                                                              $6.99                                  $5.49
 Diet Mug Root Beer                                                                                                  $6.99                                  $5.49
 Pepsi                                            $1.99                                                              $6.99                                  $5.49
 Pepsi-Cola Made With Real Sugar                  $1.99                                                              $6.99                                  $5.49
 Caffeine Free Pepsi                                                                                                 $6.99                                  $5.49
 Diet Pepsi                                       $1.99                                                              $6.99                                  $5.49
 Caffeine Free Diet Pepsi                         $1.99                                                              $6.99                                  $5.49
 Pepsi Zero Sugar                                 $1.99                                                              $6.99                                  $5.49
 Pepsi Wild Cherry                                $1.99                                                              $6.99                                  $5.49
 Diet Pepsi Wild Cherry                           $1.99                                                              $6.99                                  $5.49
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                 $1.99                                                              $6.99                                  $3.50
 Diet Barq's Root Beer                                                                                               $6.99                                  $3.50
 Coca-Cola                                        $1.99                                                              $6.99                                  $3.50
 Caffeine Free Coca-Cola                                                                                             $6.99                                  $3.50
 Diet Coke                                        $1.99                                                              $6.99                                  $3.50
 Caffeine Free Diet Coke                          $1.99                                                              $6.99                                  $3.50
 Diet Coke With Splenda                                                                                              $6.99                                  $3.50
 Coca-Cola Zero Sugar                             $1.99                                                              $6.99                                  $3.50
 Caffeine Free Coca-Cola Zero Sugar               $1.99                                                              $6.99                                  $3.50
 Coca-Cola Cherry                                 $1.99                                                              $6.99                                  $3.50
 Coca-Cola Cherry Zero                                                                                               $6.99                                  $3.50
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.99                                  $3.50
 Coca-Cola Vanilla Zero                                                                                              $6.99                                  $3.50
 Coca-Cola Life                                                                                                      $6.99                                  $3.50



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 246 of 551


                                                                                      Observed Retail Prices
                                                                      Pak N Save At 3889 San Pablo Ave, Emeryville, CA 94608
                                                                                    Observed On July 14, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $6.99                                  $3.50
 Diet Coke Ginger Lime                                                                                                                          $6.99                                  $3.50
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                                                         $6.99                                  $3.50
 Fanta Zero Sugar Orange                                          $1.99
 Fanta Berry
 Fanta Grape                                                                                                                                    $6.99                                  $3.50
 Fanta Strawberry                                                 $1.99                                                                         $6.99                                  $3.50
 Fanta Pineapple                                                  $1.99
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                                                                         $6.99                                  $3.50
 Fresca Peach Citrus                                                                                                                            $6.99                                  $3.50
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                                                         $6.99                                  $3.50
 Minute Maid Light Lemonade                                                                                                                     $6.99                                  $3.50
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra                                                                                                                                      $6.99                                  $3.50
 Seagram's Ginger Ale                                             $1.99                                                                         $6.99                                  $3.50
 Sprite                                                           $1.99                                                                         $6.99                                  $3.50
 Sprite Zero                                                      $1.99                                                                         $6.99                                  $3.50
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 247 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 248 of 551


                                                                  Observed Retail Prices
                                                  Safeway At 150 E El Camino Real, Sunnyvale, CA 94087
                                                               Observed On July 14, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                               $1.25                          $6.99                                  $3.50
 Diet Canada Dry Ginger Ale                   $1.99                               $1.25                          $6.99                                  $3.50
 Canada Dry Ginger Ale And Lemonade           $1.99                               $1.25                          $6.99                                  $3.50
 Canada Dry Cranberry Ginger Ale              $1.99                               $1.25
 Canada Dry Blackberry Ginger Ale             $1.99                               $1.25
 Canada Dry Green Tea Ginger Ale                                                                                 $6.99                                  $3.50
 7UP                                          $1.99                               $1.25                          $6.99                                  $3.50
 Diet 7UP                                     $1.99                               $1.25                          $6.99                                  $3.50
 7UP Cherry                                   $1.99                               $1.25                          $6.99                                  $3.50
 Diet 7UP Cherry                              $1.99                               $1.25                          $6.99                                  $3.50
 A&W Root Beer                                $1.99                               $1.25                          $6.99                                  $3.50
 A&W Diet Root Beer                           $1.99                               $1.25                          $6.99                                  $3.50
 A&W Cream Soda                               $1.99                               $1.25                          $6.99                                  $3.50
 A&W Diet Cream Soda                                                                                             $6.99                                  $3.50
 Cactus Cooler
 Crush Orange                                 $1.99                                                              $6.99                                  $5.49
 Diet Orange Crush                                                                                               $6.99                                  $5.49
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                                                              $6.99                                  $5.49
 Diet Dr Pepper                               $1.99                                                              $6.99                                  $5.49
 Caffeine Free Diet Dr Pepper                                                                                    $6.99                                  $5.49
 Dr Pepper Cherry                             $1.99                                                              $6.99                                  $5.49
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                               $1.79
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99
 Squirt                                       $1.99                               $1.25                          $6.99                                  $3.50
 Squirt Diet                                  $1.99                               $1.25                          $6.99                                  $3.50
 Squirt Ruby Red                              $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Orange                               $1.99                               $1.25                          $6.99                                  $3.50
 Diet Sunkist                                 $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Lemonade
 Sunkist Grape                                $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Strawberry                           $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 249 of 551


                                                                      Observed Retail Prices
                                                      Safeway At 150 E El Camino Real, Sunnyvale, CA 94087
                                                                   Observed On July 14, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $1.99                                                              $6.99                                  $5.49
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $1.99                                                              $6.99                                  $5.49
 Diet Mist TWST                                                                                                      $6.99                                  $5.49
 Mtn Dew                                          $1.99                                                              $6.99                                  $5.49
 Diet Mtn Dew                                     $1.99                                                              $6.99                                  $5.49
 Mtn Dew Code Red                                                                                                    $6.99                                  $5.49
 Mtn Dew ICE                                      $1.99                                                              $6.99                                  $5.49
 Mtn Dew Baja Blast                                                                                                  $6.99                                  $5.49
 Mtn Dew Throwback                                                                                                   $6.99                                  $5.49
 Mtn Dew Voltage
 Mug Root Beer                                    $1.99                                                              $6.99                                  $5.49
 Diet Mug Root Beer                                                                                                  $6.99                                  $5.49
 Pepsi                                            $1.99                                                              $6.99                                  $5.49
 Pepsi-Cola Made With Real Sugar                  $1.99                                                              $6.99                                  $5.49
 Caffeine Free Pepsi                                                                                                 $6.99                                  $5.49
 Diet Pepsi                                       $1.99                                                              $6.99                                  $5.49
 Caffeine Free Diet Pepsi                         $1.99                                                              $6.99                                  $5.49
 Pepsi Zero Sugar                                 $1.99                                                              $6.99                                  $5.49
 Pepsi Wild Cherry                                $1.99                                                              $6.99                                  $5.49
 Diet Pepsi Wild Cherry                           $1.99                                                              $6.99                                  $5.49
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                 $1.99                                                              $6.99                                  $3.50
 Diet Barq's Root Beer                                                                                               $6.99                                  $3.50
 Coca-Cola                                        $1.99                                                              $6.99                                  $3.50
 Caffeine Free Coca-Cola
 Diet Coke                                        $1.99                                                              $6.99                                  $3.50
 Caffeine Free Diet Coke                          $1.99                                                              $6.99                                  $3.50
 Diet Coke With Splenda                                                                                              $6.99                                  $3.50
 Coca-Cola Zero Sugar                             $1.99                                                              $6.99                                  $3.50
 Caffeine Free Coca-Cola Zero Sugar               $1.99                                                              $6.99                                  $3.50
 Coca-Cola Cherry                                 $1.99                                                              $6.99                                  $3.50
 Coca-Cola Cherry Zero                                                                                               $6.99                                  $3.50
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.99                                  $3.50
 Coca-Cola Vanilla Zero                                                                                              $6.99                                  $3.50
 Coca-Cola Life                                                                                                      $6.99                                  $3.50



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 250 of 551


                                                                                       Observed Retail Prices
                                                                       Safeway At 150 E El Camino Real, Sunnyvale, CA 94087
                                                                                    Observed On July 14, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $6.99                                  $3.50
 Diet Coke Ginger Lime                                                                                                                          $6.99                                  $3.50
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                                                         $6.99                                  $3.50
 Fanta Zero Sugar Orange                                          $1.99                                                                         $6.99                                  $3.50
 Fanta Berry
 Fanta Grape                                                      $1.99                                                                         $6.99                                  $3.50
 Fanta Strawberry                                                 $1.99                                                                         $6.99                                  $3.50
 Fanta Pineapple                                                  $1.99
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                                                                         $6.99                                  $3.50
 Fresca Peach Citrus                                                                                                                            $6.99                                  $3.50              (a)
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                                                         $6.99                                  $3.50
 Minute Maid Light Lemonade                                                                                                                     $6.99                                  $3.50
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra                                                                                                                                      $6.99                                  $5.99
 Seagram's Ginger Ale                                             $1.99                                                                         $6.99                                  $3.50              (a)
 Sprite                                                           $1.99                                                                         $6.99                                  $3.50
 Sprite Zero                                                      $1.99                                                                         $6.99                                  $3.50
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 251 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 252 of 551


                                                                 Observed Retail Prices
                                                Safeway At 1978 Contra Costa Blvd, Pleasant Hill, CA 94523
                                                                Observed On July 12, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                               $1.25                          $6.99                                  $3.50
 Diet Canada Dry Ginger Ale                   $1.99                               $1.25                          $6.99                                  $3.50
 Canada Dry Ginger Ale And Lemonade           $1.99                               $1.25                          $6.99                                  $3.50
 Canada Dry Cranberry Ginger Ale              $1.99                               $1.25
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                               $1.25                          $6.99                                  $3.50
 Diet 7UP                                     $1.99                               $1.25                          $6.99                                  $3.50
 7UP Cherry                                   $1.99                               $1.25                          $6.99                                  $3.50
 Diet 7UP Cherry                                                                                                 $6.99                                  $3.50
 A&W Root Beer                                $1.99                               $1.25                          $6.99                                  $3.50
 A&W Diet Root Beer                           $1.99                               $1.25                          $6.99                                  $3.50
 A&W Cream Soda                               $1.99                               $1.25                          $6.99                                  $3.50
 A&W Diet Cream Soda                                                                                             $6.99                                  $3.50
 Cactus Cooler
 Crush Orange                                 $1.99                                                              $6.99                                  $5.49
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                                                              $6.99                                  $5.49
 Diet Dr Pepper                               $1.99                                                              $6.99                                  $5.49
 Caffeine Free Diet Dr Pepper                                                                                    $6.99                                  $5.49
 Dr Pepper Cherry                             $1.99                                                              $6.99                                  $5.49
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                               $1.25
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99
 Squirt                                       $1.99                               $1.25                          $6.99                                  $3.50
 Squirt Diet                                  $1.99                               $1.25                          $6.99                                  $3.50
 Squirt Ruby Red                              $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Orange                               $1.99                               $1.25                          $6.99                                  $3.50
 Diet Sunkist                                 $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Lemonade
 Sunkist Grape                                                                                                   $6.99                                  $3.50
 Sunkist Strawberry                           $1.99                               $1.25                          $6.99                                  $3.50
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 253 of 551


                                                                     Observed Retail Prices
                                                    Safeway At 1978 Contra Costa Blvd, Pleasant Hill, CA 94523
                                                                    Observed On July 12, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $1.99                                                              $6.99                                  $5.49
 Diet Mist TWST
 Mtn Dew                                          $1.99                                                              $6.99                                  $5.49
 Diet Mtn Dew                                     $1.99                                                              $6.99                                  $5.49
 Mtn Dew Code Red                                                                                                    $6.99                                  $5.49
 Mtn Dew ICE                                      $1.99                                                              $6.99                                  $5.49
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                   $6.99                                  $5.49
 Mtn Dew Voltage
 Mug Root Beer                                    $1.99                                                              $6.99                                  $5.49
 Diet Mug Root Beer                                                                                                  $6.99                                  $5.49
 Pepsi                                            $1.99                                                              $6.99                                  $5.49
 Pepsi-Cola Made With Real Sugar                  $1.99                                                              $6.99                                  $5.49
 Caffeine Free Pepsi                                                                                                 $6.99                                  $5.49
 Diet Pepsi                                       $1.99                                                              $6.99                                  $5.49
 Caffeine Free Diet Pepsi                         $1.99                                                              $6.99                                  $5.49
 Pepsi Zero Sugar                                 $1.99                                                              $6.99                                  $5.49
 Pepsi Wild Cherry                                $1.99                                                              $6.99                                  $5.49
 Diet Pepsi Wild Cherry                           $1.99             (a)                                              $6.99                                  $5.49
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                 $1.99                                                              $6.99                                  $3.50
 Diet Barq's Root Beer                                                                                               $6.99                                  $3.50
 Coca-Cola                                        $1.99                                                              $6.99                                  $3.50
 Caffeine Free Coca-Cola                                                                                             $6.99                                  $3.50
 Diet Coke                                        $1.99                                                              $6.99                                  $3.50
 Caffeine Free Diet Coke                          $1.99                                                              $6.99                                  $3.50
 Diet Coke With Splenda                                                                                              $6.99                                  $3.50
 Coca-Cola Zero Sugar                             $1.99                                                              $6.99                                  $3.50
 Caffeine Free Coca-Cola Zero Sugar               $1.99                                                              $6.99                                  $3.50
 Coca-Cola Cherry                                 $1.99                                                              $6.99                                  $3.50
 Coca-Cola Cherry Zero                                                                                               $6.99                                  $3.50
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.99                                  $3.50
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                      $6.99                                  $3.50



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 254 of 551


                                                                                     Observed Retail Prices
                                                                    Safeway At 1978 Contra Costa Blvd, Pleasant Hill, CA 94523
                                                                                    Observed On July 12, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $6.99                                  $3.50
 Diet Coke Ginger Lime                                                                                                                          $6.99                                  $3.50
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                                                         $6.99                                  $3.50
 Fanta Zero Sugar Orange                                          $1.99                                                                         $6.99                                  $3.50
 Fanta Berry
 Fanta Grape                                                      $1.99                                                                         $6.99                                  $3.50
 Fanta Strawberry                                                 $1.99                                                                         $6.99                                  $3.50
 Fanta Pineapple                                                  $1.99
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                                                                         $6.99                                  $3.50
 Fresca Peach Citrus                                                                                                                            $6.99                                  $3.50
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                                                         $6.99                                  $3.50
 Minute Maid Light Lemonade                                                                                                                     $6.99                                  $3.50
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra                                                                                                                                      $6.99                                  $3.50
 Seagram's Ginger Ale                                             $1.99                                                                         $6.99                                  $3.50
 Sprite                                                           $1.99                                                                         $6.99                                  $3.50
 Sprite Zero                                                      $1.99                                                                         $6.99                                  $3.50
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 255 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 256 of 551


                                                                 Observed Retail Prices
                                                Smart & Final Extra! At 460 Diablo Rd, Danville, CA 94526
                                                               Observed On July 17, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                                                              $5.89
 Diet Canada Dry Ginger Ale                   $1.79                                                              $5.89
 Canada Dry Ginger Ale And Lemonade           $1.79                                                              $5.89
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                                                              $5.89
 Diet 7UP                                     $1.79                                                              $5.89
 7UP Cherry                                   $1.79                                                              $5.89
 Diet 7UP Cherry                              $1.79
 A&W Root Beer                                $1.79                                                              $5.89
 A&W Diet Root Beer                           $1.79                                                              $5.89
 A&W Cream Soda                                                                                                  $5.89
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                 $1.89                               $1.66                          $5.89                                  $3.66
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                               $1.66                          $5.89                                  $3.66
 Diet Dr Pepper                               $1.99                               $1.66                          $5.89                                  $3.66
 Caffeine Free Diet Dr Pepper                                                                                    $5.89                                  $3.66
 Dr Pepper Cherry                                                                                                $5.89                                  $3.66
 Diet Dr Pepper Cherry                                                                                           $5.89                                  $3.66
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.79
 RC Cola                                      $1.79
 Diet Rite Cola                                                                                                  $5.89
 Schweppes Ginger Ale
 Squirt                                       $1.79                                                              $5.89
 Squirt Diet                                                                                                     $5.89
 Squirt Ruby Red
 Sunkist Orange                               $1.79                                                              $5.89
 Diet Sunkist                                 $1.79                                                              $5.89
 Sunkist Lemonade
 Sunkist Grape                                $1.79
 Sunkist Strawberry                           $1.79                                                              $5.89
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 257 of 551


                                                                     Observed Retail Prices
                                                    Smart & Final Extra! At 460 Diablo Rd, Danville, CA 94526
                                                                   Observed On July 17, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $1.89                               $1.66                          $5.89                                  $3.66
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $1.89                               $1.66
 Diet Mist TWST
 Mtn Dew                                          $1.89                               $1.66                          $5.89                                  $3.66
 Diet Mtn Dew                                     $1.89                               $1.66                          $5.89                                  $3.66
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                    $1.89                               $1.66                          $5.89                                  $3.66
 Diet Mug Root Beer
 Pepsi                                            $1.89                               $1.66                          $5.89                                  $3.66
 Pepsi-Cola Made With Real Sugar                                                                                     $5.89                                  $3.66
 Caffeine Free Pepsi
 Diet Pepsi                                       $1.89                               $1.66                          $5.89                                  $3.66
 Caffeine Free Diet Pepsi                                                                                            $5.89                                  $3.66
 Pepsi Zero Sugar                                                                                                    $5.89                                  $3.66
 Pepsi Wild Cherry                                $1.89                               $1.66                          $5.89                                  $3.66
 Diet Pepsi Wild Cherry                           $1.89                               $1.66                          $5.89                                  $3.66
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $6.39                                  $2.99
 Diet Barq's Root Beer                                                                                               $6.39                                  $2.99
 Coca-Cola                                        $1.99                               $1.66                          $6.39                                  $2.99
 Caffeine Free Coca-Cola                                                                                             $6.39                                  $2.99
 Diet Coke                                        $1.99                               $1.66                          $6.39                                  $2.99
 Caffeine Free Diet Coke                          $1.99                               $1.66                          $6.39                                  $2.99
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $1.99             (a)               $1.66                          $6.39                 (a)              $2.99
 Caffeine Free Coca-Cola Zero Sugar               $1.99                               $1.66                          $6.39                                  $2.99              (a)
 Coca-Cola Cherry                                 $1.99                               $1.66                          $6.39                                  $2.99
 Coca-Cola Cherry Zero                                                                                               $6.39                                  $2.99
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.39                                  $2.99
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                      $6.39                                  $2.99



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 258 of 551


                                                                                      Observed Retail Prices
                                                                     Smart & Final Extra! At 460 Diablo Rd, Danville, CA 94526
                                                                                    Observed On July 17, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                      $1.50                              $6.39                                  $2.99
 Fanta Zero Sugar Orange
 Fanta Berry                                                      $1.99                                      $1.50                              $6.39                                  $2.99
 Fanta Grape                                                      $1.99                                      $1.50                              $6.39                                  $2.99
 Fanta Strawberry                                                 $1.99                                      $1.50                              $6.39                                  $2.99
 Fanta Pineapple                                                  $1.99                                      $1.50                              $6.39                                  $2.99
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                                      $1.66                              $6.39                                  $2.99
 Fresca Peach Citrus                                                                                                                            $6.39                                  $2.99
 Fresca Black Cherry Citrus                                                                                                                     $6.39                                  $2.99
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                      $1.39                              $6.39                                  $2.99
 Minute Maid Light Lemonade                                                                                                                     $6.39                                  $2.99
 Minute Maid Pink Lemonade                                                                                                                      $6.39                                  $2.99
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                             $1.99                                      $1.39                              $6.39                                  $2.99
 Sprite                                                           $1.99                                      $1.66                              $6.39                                  $2.99
 Sprite Zero                                                      $1.99                                      $1.66                              $6.39                                  $2.99
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 259 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC           Document 248-1                Filed 10/09/18       Page 260 of 551


                                                                    Observed Retail Prices
                                                      Target At 1871 N Main St, Walnut Creek, CA 94596
                                                                  Observed On July 14, 2018

                                                           2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.89                                $1.67                          $6.99
 Diet Canada Dry Ginger Ale                   $1.89                                $1.67                          $6.99
 Canada Dry Ginger Ale And Lemonade           $1.89                                $1.67                          $6.99
 Canada Dry Cranberry Ginger Ale              $1.89                                $1.67
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.89                                $1.67                          $6.99
 Diet 7UP                                     $1.89                                $1.67                          $6.99
 7UP Cherry                                   $1.89                                $1.67                          $6.99
 Diet 7UP Cherry                              $1.89                                $1.67                          $6.99
 A&W Root Beer                                $1.89                                $1.67                          $6.99
 A&W Diet Root Beer                           $1.89                                $1.67                          $6.99
 A&W Cream Soda                                                                                                   $6.99
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                 $1.89                                $1.67                          $6.99
 Diet Orange Crush
 Crush Grape                                  $1.89                                $1.67
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.89                                $1.67                          $6.99
 Diet Dr Pepper                               $1.89                                $1.67                          $6.99
 Caffeine Free Diet Dr Pepper                                                                                     $6.99
 Dr Pepper Cherry                             $1.89                                $1.67                          $6.99
 Diet Dr Pepper Cherry                        $1.89                                $1.67                          $6.99
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola                                                                                                   $6.99
 Schweppes Ginger Ale                         $1.89                                $1.67                          $6.99
 Squirt                                       $1.89                                $1.67                          $6.99
 Squirt Diet                                                                                                      $6.99
 Squirt Ruby Red
 Sunkist Orange                               $1.89                                $1.67                          $6.99
 Diet Sunkist                                 $1.89                                $1.67                          $6.99
 Sunkist Lemonade
 Sunkist Grape                                                                                                    $6.99
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                       Page 1 of 3
                                   Case 5:17-cv-00564-NC           Document 248-1                Filed 10/09/18       Page 261 of 551


                                                                        Observed Retail Prices
                                                          Target At 1871 N Main St, Walnut Creek, CA 94596
                                                                      Observed On July 14, 2018

                                                               2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                      Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                                 $6.99
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                        $1.89                                $1.67                          $6.99
 Diet Mist TWST                                                                                                       $6.99
 Mtn Dew                                          $1.89                                $1.67                          $6.99
 Diet Mtn Dew                                     $1.89                                $1.67                          $6.99
 Mtn Dew Code Red                                 $1.89                                $1.67                          $6.99
 Mtn Dew ICE                                                                                                          $6.99
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                    $1.89                                $1.67                          $6.99
 Diet Mug Root Beer                                                                                                   $6.99
 Pepsi                                            $1.89                                $1.67                          $6.99
 Pepsi-Cola Made With Real Sugar                                                                                      $6.99
 Caffeine Free Pepsi                                                                                                  $6.99
 Diet Pepsi                                       $1.89                                $1.67                          $6.99
 Caffeine Free Diet Pepsi                         $1.89                                $1.67                          $6.99
 Pepsi Zero Sugar                                 $1.89                                $1.67                          $6.99
 Pepsi Wild Cherry                                $1.89                                $1.67                          $6.99
 Diet Pepsi Wild Cherry                                                                                               $6.99
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla                                                                                                 $6.99

The Coca-Cola Company
 Barq's Root Beer                                 $1.89                                                               $6.99                                  $4.50
 Diet Barq's Root Beer                                                                                                $6.99                                  $4.50
 Coca-Cola                                        $1.89                                                               $6.99                                  $4.50
 Caffeine Free Coca-Cola                                                                                              $6.99                                  $4.50
 Diet Coke                                        $1.89                                                               $6.99                                  $4.50
 Caffeine Free Diet Coke                          $1.89                                                               $6.99                                  $4.50
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $1.89                                                               $6.99                                  $4.50
 Caffeine Free Coca-Cola Zero Sugar                                                                                   $6.99                                  $4.50
 Coca-Cola Cherry                                 $1.89                                                               $6.99                                  $4.50
 Coca-Cola Cherry Zero                                                                                                $6.99                                  $4.50
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                    $6.99                                  $4.50
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                       $6.99                                  $4.50



                                                                                                                                                                           Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 262 of 551


                                                                                        Observed Retail Prices
                                                                          Target At 1871 N Main St, Walnut Creek, CA 94596
                                                                                      Observed On July 14, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $6.99                                  $4.50
 Diet Coke Ginger Lime                                                                                                                          $6.99                                  $4.50
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.89                 (a)                                                     $6.99                                  $4.50
 Fanta Zero Sugar Orange                                                                                                                        $6.99                                  $4.50
 Fanta Berry
 Fanta Grape                                                                                                                                    $6.99                                  $4.50
 Fanta Strawberry                                                                                                                               $6.99                                  $4.50
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.89                                                                         $6.99                                  $4.50
 Fresca Peach Citrus                                                                                                                            $6.99                                  $4.50
 Fresca Black Cherry Citrus                                                                                                                     $6.99                                  $4.50
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                                                                                                           $6.99                                  $4.50
 Minute Maid Light Lemonade                                                                                                                     $6.99                                  $4.50
 Minute Maid Pink Lemonade                                                                                                                      $6.99                                  $4.50
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                           $6.99                                  $4.50
 Sprite                                                           $1.89                                                                         $6.99                                  $4.50
 Sprite Zero                                                      $1.89                                                                         $6.99                                  $4.50
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 263 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 264 of 551


                                                                  Observed Retail Prices
                                                      Walmart At 1021 Arnold Dr, Martinez, CA 94553
                                                               Observed On July 12, 2018

                                                          2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.38                                                              $4.48
 Diet Canada Dry Ginger Ale                   $1.38                                                              $4.48
 Canada Dry Ginger Ale And Lemonade           $1.38                                                              $4.48
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.38                                                              $4.48
 Diet 7UP                                     $1.38                                                              $4.48
 7UP Cherry                                   $1.38                                                              $4.48                 (a)
 Diet 7UP Cherry
 A&W Root Beer                                $1.38                                                              $4.48
 A&W Diet Root Beer                           $1.38                                                              $4.48
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                 $1.58
 Diet Orange Crush
 Crush Grape
 Crush Pineapple                              $1.24
 Crush Strawberry
 Dr Pepper                                    $1.58                                                              $4.68
 Diet Dr Pepper                               $1.58
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola                                      $1.00
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt                                                                                                          $4.48
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                                                                                                  $4.48
 Diet Sunkist                                                                                                    $4.48
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                      Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                Filed 10/09/18       Page 265 of 551


                                                                      Observed Retail Prices
                                                          Walmart At 1021 Arnold Dr, Martinez, CA 94553
                                                                   Observed On July 12, 2018

                                                              2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $1.25
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                          $1.58                                                              $4.68
 Diet Mtn Dew                                     $1.58                                                              $4.68
 Mtn Dew Code Red
 Mtn Dew ICE                                      $1.58
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                    $1.25                                                              $4.68
 Diet Mug Root Beer
 Pepsi                                            $1.58                                                              $4.68
 Pepsi-Cola Made With Real Sugar                                                                                     $4.68
 Caffeine Free Pepsi
 Diet Pepsi                                       $1.58                                                              $4.68
 Caffeine Free Diet Pepsi                         $1.58                                                              $4.68
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                $1.58
 Diet Pepsi Wild Cherry                           $1.58
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                        $1.70                                                              $3.50
 Caffeine Free Coca-Cola
 Diet Coke                                        $1.70                                                              $3.50
 Caffeine Free Diet Coke                          $1.70                                                              $3.50
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $1.70                                                              $3.50
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                                 $1.70
 Coca-Cola Cherry Zero                                                                                               $3.50
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life



                                                                                                                                                                          Page 2 of 3
                                       Case 5:17-cv-00564-NC                          Document 248-1                     Filed 10/09/18         Page 266 of 551


                                                                                        Observed Retail Prices
                                                                            Walmart At 1021 Arnold Dr, Martinez, CA 94553
                                                                                     Observed On July 12, 2018

                                                                                  2-Liter Bottles                                                           12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                      Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime                                                                                                                          $3.50
 Diet Coke Twisted Mango                                                                                                                        $3.50
 Diet Coke Zesty Blood Orange                                                                                                                   $3.50
 Fanta Orange                                                     $1.00                                                                         $3.50
 Fanta Zero Sugar Orange
 Fanta Berry                                                      $1.00
 Fanta Grape                                                      $1.00
 Fanta Strawberry                                                 $1.00
 Fanta Pineapple                                                  $1.00
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $1.70
 Sprite Zero
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 267 of 551




                             Exhibit 7
                                               Case 5:17-cv-00564-NC                    Document 248-1                     Filed 10/09/18                Page 268 of 551


                                         Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

                                                                                                                            (a)
      Store Name         Store Address           Store Type      Date Of Visit    Line Pricing Observed For DPSU Soft Drinks                                Stores With Regular And Diet Canada Dry Ginger Ale
                                                                                    2-Liter Bottles       12 Packs Of 12-Oz. Cans                   2-Liter Bottles                                12 Packs Of 12-Oz. Cans



                                                                                 All Priced The Same?      All Priced The Same?     Both In The Store?       Both Priced The Same?       Both In The Store?     Both Priced The Same?


                   3010 S Sepulveda Blvd
CVS                                          Drug                July 18, 2018            X                         X
                   Los Angeles, CA 90034

                   11321 National Blvd
Rite Aid                                     Drug                July 19, 2018            X                         X
                   Los Angeles, CA 90064

                   2035 Hillhurst Ave
Albertsons                                   Grocery             July 24, 2018          X, (b)                      X                       X                         X                          X                           X
                   Los Angeles, CA 90027

                   5610 York Blvd
El Super                                     Grocery             July 26, 2018            X                         X
                   Los Angeles, CA 90042

                   5100 N Figueroa St
Food 4 Less                                  Grocery             July 25, 2018            X                         X                       X                         X
                   Los Angeles, CA 90042

                   10250 CA-2
Gelson's                                     Grocery             July 19, 2018           (c)                        X                                                                            X                           X
                   Los Angeles, CA 90067

                   645 W 9th St
Ralphs                                       Grocery             July 16, 2018            X                         X                                                                            X                           X
                   Los Angeles, CA 90015

                   1200 N Central Ave
Ralphs                                       Grocery             July 26, 2018            X                         X                       X                         X                          X                           X
                   Glendale, CA 91202

                   1416 E Colorado St
Ralphs                                       Grocery             July 26, 2018            X                         X                       X                         X                          X                           X
                   Glendale, CA 91205

                   8626 Firestone Blvd
Ralphs                                       Grocery             July 16, 2018            X                         X                       X                         X                          X                           X
                   Downey, CA 90241

                   9200 Lakewood Blvd
Ralphs                                       Grocery             July 16, 2018            X                         X                       X                         X                          X                           X
                   Downey, CA 90240

                   10861 Weyburn Ave
Ralphs                                       Grocery             July 18, 2018            X                         X                       X                         X                          X                           X
                   Los Angeles, CA 90024

                   11361 National Blvd
Ralphs                                       Grocery             July 18, 2018            X                         X                       X                         X                          X                           X
                   Los Angeles, CA 90064

                   11727 W Olympic Blvd
Ralphs                                       Grocery             July 18, 2018            X                         X                                                                            X                           X
                   Los Angeles, CA 90064

                   6060 N Figueroa St
Smart & Final                                Grocery             July 25, 2018            X                         X                                                                            X                           X
                   Los Angeles, CA 90042




                                                                                                                                                                                                                                 Page 1 of 3
                                               Case 5:17-cv-00564-NC                    Document 248-1                     Filed 10/09/18                Page 269 of 551


                                         Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

                                                                                                                            (a)
     Store Name         Store Address            Store Type      Date Of Visit    Line Pricing Observed For DPSU Soft Drinks                                Stores With Regular And Diet Canada Dry Ginger Ale
                                                                                    2-Liter Bottles       12 Packs Of 12-Oz. Cans                   2-Liter Bottles                                12 Packs Of 12-Oz. Cans



                                                                                 All Priced The Same?      All Priced The Same?     Both In The Store?       Both Priced The Same?       Both In The Store?     Both Priced The Same?


                  7814 Firestone Blvd
Stater Bros                                  Grocery             July 24, 2018            X                         X                       X                         X                          X                           X
                  Downey, CA 90241

                  2925 Division St
Super A Foods                                Grocery             July 25, 2018            X                         X                       X                         X
                  Los Angeles, CA 90065

                  311 W Los Feliz Rd
Vons                                         Grocery             July 26, 2018            X                         X                       X                         X                          X                           X
                  Glendale, CA 91204

                  561 N Glendale Ave
Vons                                         Grocery             July 26, 2018            X                         X                       X                         X                          X                           X
                  Glendale, CA 91206

                  1342 N Alvarado St
Vons                                         Grocery             July 16, 2018            X                         X                       X                         X                          X                           X
                  Los Angeles, CA 90026

                  3118 S Sepulveda Blvd
Vons                                         Grocery             July 18, 2018          X, (b)                      X                       X                         X                          X                           X
                  Los Angeles, CA 90034

                  3461 W 3rd St
Vons                                         Grocery             July 19, 2018          X, (d)                      X                       X                         X                          X                           X
                  Los Angeles, CA 90020

                  4520 Sunset Blvd
Vons                                         Grocery             July 16, 2018            X                         X                       X                         X                          X                           X
                  Los Angeles, CA 90027

                  7311 N Figueroa St
Vons                                         Grocery             July 25, 2018          X, (b)                      X                       X                         X                          X                           X
                  Los Angeles, CA 90041

                  735 S Figueroa St
Target                                       Mass Merchandiser   July 24, 2018            X                         X                       X                         X                          X                           X
                  Los Angeles, CA 90017

                  2195 Galleria Way
Target                                       Mass Merchandiser   July 26, 2018            X                         X                       X                         X                          X                           X
                  Glendale, CA 91210

                  2626 Colorado Blvd
Target                                       Mass Merchandiser   July 26, 2018            X                         X                       X                         X                          X                           X
                  Los Angeles, CA 90041

                  3535 S La Cienega Blvd
Target                                       Mass Merchandiser   July 19, 2018            X                         X                       X                         X                          X                           X
                  Los Angeles, CA 90016

                  4211 Eagle Rock Blvd
Target                                       Mass Merchandiser   July 26, 2018            X                         X                                                                            X                           X
                  Los Angeles, CA 90065

                  5700 Firestone Blvd
Target                                       Mass Merchandiser   July 16, 2018            X                         X                       X                         X                          X                           X
                  South Gate, CA 90280




                                                                                                                                                                                                                                 Page 2 of 3
                                                         Case 5:17-cv-00564-NC                                    Document 248-1                           Filed 10/09/18                      Page 270 of 551


                                                 Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

                                                                                                                                                           (a)
     Store Name                 Store Address              Store Type             Date Of Visit            Line Pricing Observed For DPSU Soft Drinks                                             Stores With Regular And Diet Canada Dry Ginger Ale
                                                                                                             2-Liter Bottles       12 Packs Of 12-Oz. Cans                                2-Liter Bottles                                12 Packs Of 12-Oz. Cans



                                                                                                         All Priced The Same?            All Priced The Same?            Both In The Store?         Both Priced The Same?            Both In The Store?         Both Priced The Same?


                        10861 Weyburn Ave
Target                                                Mass Merchandiser           July 18, 2018                     X                              X                              X                             X                             X                             X
                        Los Angeles, CA 90024

                        4651 Firestone Blvd
Walmart                                               Mass Merchandiser           July 24, 2018                    (e)                            (e)                                                                                         X                            (f)
                        South Gate, CA 90280

                        8500 Washington Blvd
Walmart                                               Mass Merchandiser           July 24, 2018                    (e)                            (e)                             X                             X                             X                             X
                        Pico Rivera, CA 90660

                        9001 Apollo Way
Walmart                                               Mass Merchandiser           July 24, 2018                    (e)                            (e)                             X                             X                             X                             X
                        Downey, CA 90242


Notes:
(a) For the purpose of this analysis, prices of DPSU soft drink products primarily distributed by DPSG-affiliated bottlers are considered (i.e., 7UP, A&W, Canada Dry, Diet Rite, RC Cola, Sunkist, and Vernors products). Omitted from this analysis are DPSU brands that are (at
least sometimes) distributed by Coke-affiliated or Pepsi-affiliated bottlers (i.e., Cactus Cooler, Crush, Dr Pepper, Hawaiian Punch, and Schweppes). Because these brands are sometimes (if not always) distributed by Coke-affiliated or Pepsi-affiliated bottlers, these products are
line priced with Coke or Pepsi products in some of the visited retail stores.
(b) Vernors regular prices were slightly higher than other DPSU brands. However, Vernors promotional prices were line priced with other DPSU brands.
(c) Vernors regular prices were slightly higher than other DPSU brands. No promotional prices were advertised in this store.
(d) For 2-liter bottles, the promotional price of Diet 7UP Cherry differed from other DPSU products. However, the regular price of Diet 7UP Cherry was line priced with other DPSU products. Vernors regular prices were slightly higher than other DPSU brands. However,
Vernors promotional prices were line priced with other DPSU brands.
(e) As discussed in the narrative to my declaration, Walmart's pricing strategy differs from other retailers. As such, line pricing by distributors generally was not observed in Walmart stores (particularly for 2-liter bottles).
(f) For 12 packs of 12-oz. cans, the regular prices of regular and diet Canada Dry Ginger Ale were the same. However, Canada Dry Ginger Ale had a promotional price (i.e., $3.33 instead of $4.48), while no such promotion was observed for Diet Canada Dry Ginger Ale.


Source:
[1] See supporting schedules.




                                                                                                                                                                                                                                                                                    Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 271 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                                           Case 5:17-cv-00564-NC                Document 248-1                  Filed 10/09/18     Page 272 of 551


                                Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

      Store Name         Store Address         Store Type      Date Of Visit     Stores With Canada Dry Green Tea Ginger Ale                       Stores With Vernors Products
                                                                                            12 Packs Of 12-Oz. Cans                                       2-Liter Bottles

                                                                                                            Priced The Same As                      Priced The Same As Canada     Priced Higher Than Canada
                                                                                   In The Store?          Canada Dry Ginger Ale?   In The Store?         Dry Ginger Ale?               Dry Ginger Ale?


                   3010 S Sepulveda Blvd
CVS                                        Drug                July 18, 2018
                   Los Angeles, CA 90034

                   11321 National Blvd
Rite Aid                                   Drug                July 19, 2018
                   Los Angeles, CA 90064

                   2035 Hillhurst Ave
Albertsons                                 Grocery             July 24, 2018            X                             X                 X                     X, (a)
                   Los Angeles, CA 90027

                   5610 York Blvd
El Super                                   Grocery             July 26, 2018
                   Los Angeles, CA 90042

                   5100 N Figueroa St
Food 4 Less                                Grocery             July 25, 2018
                   Los Angeles, CA 90042

                   10250 CA-2
Gelson's                                   Grocery             July 19, 2018                                                            X                                                     X
                   Los Angeles, CA 90067

                   645 W 9th St
Ralphs                                     Grocery             July 16, 2018
                   Los Angeles, CA 90015

                   1200 N Central Ave
Ralphs                                     Grocery             July 26, 2018            X                             X                 X                       X
                   Glendale, CA 91202

                   1416 E Colorado St
Ralphs                                     Grocery             July 26, 2018            X                             X                 X                       X
                   Glendale, CA 91205

                   8626 Firestone Blvd
Ralphs                                     Grocery             July 16, 2018            X                             X                 X                       X
                   Downey, CA 90241

                   9200 Lakewood Blvd
Ralphs                                     Grocery             July 16, 2018            X                             X                 X                       X
                   Downey, CA 90240

                   10861 Weyburn Ave
Ralphs                                     Grocery             July 18, 2018            X                             X                 X                       X
                   Los Angeles, CA 90024

                   11361 National Blvd
Ralphs                                     Grocery             July 18, 2018                                                            X                       X
                   Los Angeles, CA 90064

                   11727 W Olympic Blvd
Ralphs                                     Grocery             July 18, 2018            X                             X                 X                       X
                   Los Angeles, CA 90064

                   6060 N Figueroa St
Smart & Final                              Grocery             July 25, 2018
                   Los Angeles, CA 90042




                                                                                                                                                                                                  Page 1 of 3
                                           Case 5:17-cv-00564-NC               Document 248-1                  Filed 10/09/18     Page 273 of 551


                               Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

     Store Name         Store Address          Store Type      Date Of Visit    Stores With Canada Dry Green Tea Ginger Ale                       Stores With Vernors Products
                                                                                           12 Packs Of 12-Oz. Cans                                       2-Liter Bottles

                                                                                                           Priced The Same As                      Priced The Same As Canada     Priced Higher Than Canada
                                                                                  In The Store?          Canada Dry Ginger Ale?   In The Store?         Dry Ginger Ale?               Dry Ginger Ale?


                  7814 Firestone Blvd
Stater Bros                                Grocery             July 24, 2018           X                             X
                  Downey, CA 90241

                  2925 Division St
Super A Foods                              Grocery             July 25, 2018
                  Los Angeles, CA 90065

                  311 W Los Feliz Rd
Vons                                       Grocery             July 26, 2018           X                             X
                  Glendale, CA 91204

                  561 N Glendale Ave
Vons                                       Grocery             July 26, 2018           X                             X
                  Glendale, CA 91206

                  1342 N Alvarado St
Vons                                       Grocery             July 16, 2018           X                             X
                  Los Angeles, CA 90026

                  3118 S Sepulveda Blvd
Vons                                       Grocery             July 18, 2018                                                           X                     X, (a)
                  Los Angeles, CA 90034

                  3461 W 3rd St
Vons                                       Grocery             July 19, 2018           X                             X                 X                     X, (a)
                  Los Angeles, CA 90020

                  4520 Sunset Blvd
Vons                                       Grocery             July 16, 2018           X                             X
                  Los Angeles, CA 90027

                  7311 N Figueroa St
Vons                                       Grocery             July 25, 2018           X                             X                 X                     X, (a)
                  Los Angeles, CA 90041

                  735 S Figueroa St
Target                                     Mass Merchandiser   July 24, 2018
                  Los Angeles, CA 90017

                  2195 Galleria Way
Target                                     Mass Merchandiser   July 26, 2018
                  Glendale, CA 91210

                  2626 Colorado Blvd
Target                                     Mass Merchandiser   July 26, 2018
                  Los Angeles, CA 90041

                  3535 S La Cienega Blvd
Target                                     Mass Merchandiser   July 19, 2018
                  Los Angeles, CA 90016

                  4211 Eagle Rock Blvd
Target                                     Mass Merchandiser   July 26, 2018
                  Los Angeles, CA 90065

                  5700 Firestone Blvd
Target                                     Mass Merchandiser   July 16, 2018
                  South Gate, CA 90280




                                                                                                                                                                                                 Page 2 of 3
                                                       Case 5:17-cv-00564-NC                              Document 248-1                       Filed 10/09/18                  Page 274 of 551


                                       Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

     Store Name                 Store Address              Store Type             Date Of Visit             Stores With Canada Dry Green Tea Ginger Ale                                               Stores With Vernors Products
                                                                                                                        12 Packs Of 12-Oz. Cans                                                                2-Liter Bottles

                                                                                                                                          Priced The Same As                                            Priced The Same As Canada       Priced Higher Than Canada
                                                                                                              In The Store?             Canada Dry Ginger Ale?                 In The Store?                 Dry Ginger Ale?                 Dry Ginger Ale?


                        10861 Weyburn Ave
Target                                                Mass Merchandiser           July 18, 2018
                        Los Angeles, CA 90024

                        4651 Firestone Blvd
Walmart                                               Mass Merchandiser           July 24, 2018                                                                                     (b)
                        South Gate, CA 90280

                        8500 Washington Blvd
Walmart                                               Mass Merchandiser           July 24, 2018
                        Pico Rivera, CA 90660

                        9001 Apollo Way
Walmart                                               Mass Merchandiser           July 24, 2018
                        Downey, CA 90242


Notes:
(a) Vernors regular prices were slightly higher than Canada Dry Ginger Ale. However, Vernors promotional prices were line priced with Canada Dry Ginger Ale.
(b) The only observed prices for Vernors in this store were for Vernors Diet Ginger Soda in 2-liter bottles (regular price of $1.25, no active promotion). The only observed prices for 2-liter bottles of Canada Dry in this store were for Canada Dry Cranberry
Ginger Ale (regular price of $1.38, no active promotion).

Source:
[1] See supporting schedules.




                                                                                                                                                                                                                                                           Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 275 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                                                 Case 5:17-cv-00564-NC                     Document 248-1                     Filed 10/09/18                 Page 276 of 551


                                         Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

      Store Name        Store Address             Store Type     Date Of Visit                                                             Stores With Schweppes Ginger Ale Products
                                                                                                                2-Liter Bottles                                                             12 Packs Of 12-Oz. Cans
                                                                                                  Priced The Same         Priced Higher                                                Priced The Same    Priced Higher
                                                                                                  As Canada Dry          Than Canada Dry      Line Priced With                         As Canada Dry     Than Canada Dry   Line Priced With
                                                                                  In The Store?     Ginger Ale?            Ginger Ale?        Pepsi Products?      In The Store?         Ginger Ale?       Ginger Ale?     Pepsi Products?


                   3010 S Sepulveda Blvd
CVS                                           Drug                July 18, 2018
                   Los Angeles, CA 90034

                   11321 National Blvd
Rite Aid                                      Drug                July 19, 2018        X                                          (a)                X                  X                                       X                 X
                   Los Angeles, CA 90064

                   2035 Hillhurst Ave
Albertsons                                    Grocery             July 24, 2018        X               X, (b)                                        X                  X                                       X                 X
                   Los Angeles, CA 90027

                   5610 York Blvd
El Super                                      Grocery             July 26, 2018
                   Los Angeles, CA 90042

                   5100 N Figueroa St
Food 4 Less                                   Grocery             July 25, 2018        X                (c)                                          X
                   Los Angeles, CA 90042

                   10250 CA-2
Gelson's                                      Grocery             July 19, 2018
                   Los Angeles, CA 90067

                   645 W 9th St
Ralphs                                        Grocery             July 16, 2018        X                 X                                           X
                   Los Angeles, CA 90015

                   1200 N Central Ave
Ralphs                                        Grocery             July 26, 2018
                   Glendale, CA 91202

                   1416 E Colorado St
Ralphs                                        Grocery             July 26, 2018        X                 X                                           X
                   Glendale, CA 91205

                   8626 Firestone Blvd
Ralphs                                        Grocery             July 16, 2018        X                 X                                           X
                   Downey, CA 90241

                   9200 Lakewood Blvd
Ralphs                                        Grocery             July 16, 2018        X                 X                                           X
                   Downey, CA 90240

                   10861 Weyburn Ave
Ralphs                                        Grocery             July 18, 2018        X                 X                                           X
                   Los Angeles, CA 90024

                   11361 National Blvd
Ralphs                                        Grocery             July 18, 2018        X                 X                                           X
                   Los Angeles, CA 90064

                   11727 W Olympic Blvd
Ralphs                                        Grocery             July 18, 2018        X                 X                                           X
                   Los Angeles, CA 90064

                   6060 N Figueroa St
Smart & Final                                 Grocery             July 25, 2018
                   Los Angeles, CA 90042




                                                                                                                                                                                                                                   Page 1 of 3
                                                 Case 5:17-cv-00564-NC                     Document 248-1                     Filed 10/09/18                 Page 277 of 551


                                         Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

     Store Name        Store Address              Store Type      Date Of Visit                                                            Stores With Schweppes Ginger Ale Products
                                                                                                                2-Liter Bottles                                                             12 Packs Of 12-Oz. Cans
                                                                                                  Priced The Same         Priced Higher                                                Priced The Same    Priced Higher
                                                                                                  As Canada Dry          Than Canada Dry      Line Priced With                         As Canada Dry     Than Canada Dry   Line Priced With
                                                                                  In The Store?     Ginger Ale?            Ginger Ale?        Pepsi Products?      In The Store?         Ginger Ale?       Ginger Ale?     Pepsi Products?


                  7814 Firestone Blvd
Stater Bros                                   Grocery             July 24, 2018        X                (c)                                          X                  X                    X                                    X
                  Downey, CA 90241

                  2925 Division St
Super A Foods                                 Grocery             July 25, 2018        X                 X                                           X                  X                                       X                 X
                  Los Angeles, CA 90065

                  311 W Los Feliz Rd
Vons                                          Grocery             July 26, 2018        X                                          X                  X                  X                                       X                 X
                  Glendale, CA 91204

                  561 N Glendale Ave
Vons                                          Grocery             July 26, 2018        X                                          X                  X                  X                                       X                 X
                  Glendale, CA 91206

                  1342 N Alvarado St
Vons                                          Grocery             July 16, 2018        X                                          X                  X                  X                                       X                 X
                  Los Angeles, CA 90026

                  3118 S Sepulveda Blvd
Vons                                          Grocery             July 18, 2018                                                                                         X                                       X                 X
                  Los Angeles, CA 90034

                  3461 W 3rd St
Vons                                          Grocery             July 19, 2018        X               X, (b)                                        X                  X                                       X                 X
                  Los Angeles, CA 90020

                  4520 Sunset Blvd
Vons                                          Grocery             July 16, 2018        X                                          X                  X                  X                                       X                 X
                  Los Angeles, CA 90027

                  7311 N Figueroa St
Vons                                          Grocery             July 25, 2018        X                                          X                  X                  X                                       X                 X
                  Los Angeles, CA 90041

                  735 S Figueroa St
Target                                        Mass Merchandiser   July 24, 2018        X                 X                                           X                  X                    X                                    X
                  Los Angeles, CA 90017

                  2195 Galleria Way
Target                                        Mass Merchandiser   July 26, 2018        X                 X                                           X                  X                    X                                    X
                  Glendale, CA 91210

                  2626 Colorado Blvd
Target                                        Mass Merchandiser   July 26, 2018        X                 X                                           X                  X                    (e)                                  X
                  Los Angeles, CA 90041

                  3535 S La Cienega Blvd
Target                                        Mass Merchandiser   July 19, 2018        X                 X                                           X                  X                    X                                    X
                  Los Angeles, CA 90016

                  4211 Eagle Rock Blvd
Target                                        Mass Merchandiser   July 26, 2018        X               X, (d)                                        X                  X                    (e)                                  X
                  Los Angeles, CA 90065

                  5700 Firestone Blvd
Target                                        Mass Merchandiser   July 16, 2018        X                 X                                           X
                  South Gate, CA 90280




                                                                                                                                                                                                                                   Page 2 of 3
                                                         Case 5:17-cv-00564-NC                                  Document 248-1                      Filed 10/09/18                   Page 278 of 551


                                                Summary Of Observed Retail Prices For DPSU Soft Drinks In Select Los Angeles Area Drug Stores, Grocery Stores, And Mass Merchandisers

     Store Name                 Store Address             Store Type           Date Of Visit                                                                     Stores With Schweppes Ginger Ale Products
                                                                                                                                     2-Liter Bottles                                                                   12 Packs Of 12-Oz. Cans
                                                                                                                          Priced The Same       Priced Higher                                                   Priced The Same        Priced Higher
                                                                                                                          As Canada Dry        Than Canada Dry       Line Priced With                           As Canada Dry         Than Canada Dry       Line Priced With
                                                                                                      In The Store?         Ginger Ale?          Ginger Ale?         Pepsi Products?         In The Store?        Ginger Ale?           Ginger Ale?         Pepsi Products?


                        10861 Weyburn Ave
Target                                               Mass Merchandiser          July 18, 2018               X                                          X                     X                     X                                                              X, (f)
                        Los Angeles, CA 90024

                        4651 Firestone Blvd
Walmart                                              Mass Merchandiser          July 24, 2018               X                                                               (g)
                        South Gate, CA 90280

                        8500 Washington Blvd
Walmart                                              Mass Merchandiser          July 24, 2018               X                                                               (g)
                        Pico Rivera, CA 90660

                        9001 Apollo Way
Walmart                                              Mass Merchandiser          July 24, 2018               X                                                               (g)
                        Downey, CA 90242


Notes:
(a) Schweppes Ginger Ale regular price was higher than Canada Dry Ginger Ale. However, Schweppes Ginger Ale had an active promotion, while Canada Dry Ginger Ale did not, resulting in Schweppes Ginger Ale having a lower sales price.
(b) Schweppes Ginger Ale and Canada Dry Ginger Ale had the same regular price of $2.29 and the same promotional price of $0.89 (if buy 5). However, Canada Dry Ginger Ale had an additional promotion that yielded a sales price of $1.99 (if buy less than 5).
(c) Schweppes Ginger Ale and Canada Dry Ginger Ale had the same regular price. However, an active promotion for Schweppes Ginger Ale yielded a lower sales price than the Canada Dry Ginger Ale promotional price.
(d) Schweppes Ginger Ale regular price was higher than Canada Dry Ginger Ale. However, an active promotion for Schweppes Ginger Ale yielded the same sales price as the Canada Dry Ginger Ale promotional price.
(e) Schweppes Ginger Ale regular price was the same as Canada Dry Ginger Ale. However, Schweppes Ginger Ale had an active promotion, while Canada Dry Ginger Ale did not, resulting in Schweppes Ginger Ale having a lower sales price.
(f) Schweppes Ginger Ale is line priced with Brisk, Mountain Dew, and Mug Root Beer, not Pepsi (and varieties of Pepsi).
(g) As discussed in the narrative to my declaration, Walmart's pricing strategy differs from other retailers. As such, line pricing by distributors generally was not observed in Walmart stores (particularly for 2-liter bottles).

Source:
[1] See supporting schedules.




                                                                                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 279 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                      Filed 10/09/18      Page 280 of 551


                                                                 Observed Retail Prices
                                                  CVS At 3010 S Sepulveda Blvd, Los Angeles, CA 90034
                                                              Observed On July 18, 2018

                                                          2-Liter Bottles                                                        12 Packs of 12-Oz. Cans
                                          Regular Price                        Promotional Price                 Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                                                                                               $6.79
 Diet Canada Dry Ginger Ale
 Canada Dry Ginger Ale And Lemonade
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $2.39                                                                  $6.79
 Diet 7UP                                     $2.39                                                                  $6.79
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $2.39                                                                  $6.79
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.39                         2 for $3.50 (or $2.09 each)              $6.79                        2 for $10.00 (or $5.69 each)
 Diet Dr Pepper                               $2.39                                     (a)                           (b)                         2 for $10.00 (or $5.69 each)
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt                                       $2.39                                                                  $6.79
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $2.39                                                                  $6.79
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                             Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                      Filed 10/09/18      Page 281 of 551


                                                                   Observed Retail Prices
                                                    CVS At 3010 S Sepulveda Blvd, Los Angeles, CA 90034
                                                                Observed On July 18, 2018

                                                            2-Liter Bottles                                                        12 Packs of 12-Oz. Cans
                                            Regular Price                        Promotional Price                 Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                                                                                             $6.49
 Diet Mist TWST
 Mtn Dew                                        $2.39                                                                  $6.49
 Diet Mtn Dew                                   $2.39                                                                  $6.49
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                          $2.39                         2 for $3.50 (or $2.09 each)              $6.49                        2 for $10.00 (or $5.69 each)
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                     $2.39                         2 for $3.50 (or $2.09 each)              $6.49                        2 for $10.00 (or $5.69 each)
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry                              $2.39
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                                                                                             $6.49
 Caffeine Free Coca-Cola
 Diet Coke                                      $2.39                         2 for $2.50 (or $1.87 each)              $6.49                        3 for $10.00 (or $4.99 each)
 Caffeine Free Diet Coke                        $2.39
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $2.39
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                                                                                                      $6.49                        3 for $10.00 (or $4.99 each)
 Coca-Cola Cherry Zero                                                                                                 $6.49                        3 for $10.00 (or $4.99 each)
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                               Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                     Filed 10/09/18                Page 282 of 551


                                                                                      Observed Retail Prices
                                                                       CVS At 3010 S Sepulveda Blvd, Los Angeles, CA 90034
                                                                                   Observed On July 18, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.39                                                                                $6.49
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.39
 Sprite Zero
 TaB

Notes:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.
(b) The regular price of this product was covered by the sales price tag.




                                                                                                                                                                                                           Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 283 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC            Document 248-1                   Filed 10/09/18       Page 284 of 551


                                                                      Observed Retail Prices
                                                      Rite Aid At 11321 National Blvd, Los Angeles, CA 90064
                                                                    Observed On July 19, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                        Promotional Price                  Regular Price                       Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                                                                   $5.99                       3 for $10.99 (or $5.49 each)       (b)
 Diet Canada Dry Ginger Ale
 Canada Dry Ginger Ale And Lemonade           $1.99                                                                   $5.99                       3 for $10.99 (or $5.49 each)       (b)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                                                                   $5.99                       3 for $10.99 (or $5.49 each)
 Diet 7UP
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.99                                                                   $5.99                       3 for $10.99 (or $5.49 each)       (b)
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                                                                                            $6.89                       3 for $10.99 (or $5.49 each)       (b)
 Diet Dr Pepper                               $2.19
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $2.09                                3 for $5.00                        $6.29
 Squirt
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $1.99                                                                   $5.99                       3 for $10.99 (or $5.49 each)       (b)
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                                 Page 1 of 3
                                   Case 5:17-cv-00564-NC            Document 248-1                   Filed 10/09/18       Page 285 of 551


                                                                          Observed Retail Prices
                                                          Rite Aid At 11321 National Blvd, Los Angeles, CA 90064
                                                                        Observed On July 19, 2018

                                                                 2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                              Regular Price                        Promotional Price                  Regular Price                       Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                          $2.09                                3 for $5.00                        $6.29
 Diet Mtn Dew                                                                                                             $6.29
 Mtn Dew Code Red
 Mtn Dew ICE                                                                                                              $6.29
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                            $2.09                                3 for $5.00                        $6.29
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                       $2.09                                3 for $5.00                        $6.29
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                                                                                        $6.29
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                         $6.89
 Diet Barq's Root Beer
 Coca-Cola                                        $2.19                                                                    (a)                        3 for $10.99 (or $5.49 each)
 Caffeine Free Coca-Cola
 Diet Coke                                        $2.19                                                                   $6.89                       3 for $10.99 (or $5.49 each)
 Caffeine Free Diet Coke
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $2.19                                                                   $6.89                       3 for $10.99 (or $5.49 each)
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                                     Page 2 of 3
                                      Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 286 of 551


                                                                                          Observed Retail Prices
                                                                          Rite Aid At 11321 National Blvd, Los Angeles, CA 90064
                                                                                        Observed On July 19, 2018

                                                                                  2-Liter Bottles                                                                  12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                           Regular Price                         Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.19                                                                                 (a)                          3 for $10.99 (or $5.49 each)       (b)
 Sprite Zero
 TaB

Notes:
(a) No regular price for this product was displayed.
(b) A promotional display specified that all Coca-Cola and 7UP products were subject to the sales price of 3 for $10.99, or $5.49 each. It is reasonable to assume that this promotion applied to these products.




                                                                                                                                                                                                                    Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 287 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                   Filed 10/09/18      Page 288 of 551


                                                                  Observed Retail Prices
                                                 Albertsons At 2035 Hillhurst Ave, Los Angeles, CA 90027
                                                                Observed On July 24, 2018

                                                          2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                 Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Canada Dry Ginger Ale                   $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Ginger Ale And Lemonade           $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                  $6.49                         3 for $9.99 (or $4.49 each)
 7UP                                                                                                              $6.49                         3 for $9.99 (or $4.49 each)
 Diet 7UP                                                                                                         $6.49                         3 for $9.99 (or $4.49 each)
 7UP Cherry                                                                                                       $6.49                         3 for $9.99 (or $4.49 each)
 Diet 7UP Cherry                                                                                                  $6.49                         3 for $9.99 (or $4.49 each)
 A&W Root Beer                                $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 A&W Diet Root Beer                                                                                               $6.49                         3 for $9.99 (or $4.49 each)
 A&W Cream Soda                               $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 A&W Diet Cream Soda                                                                                              $6.49                         3 for $9.99 (or $4.49 each)
 Cactus Cooler                                                                                                    $6.49                         3 for $9.99 (or $4.49 each)
 Crush Orange                                 $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Orange Crush                                                                                                $6.49                        3 for $12.00 (or $5.49 each)
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Diet Dr Pepper                               $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Caffeine Free Diet Dr Pepper                                                                                     $6.99                                3 for $14.00
 Dr Pepper Cherry                             $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Diet Dr Pepper Cherry                        $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                                     (a)
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red                                                                                   $6.49                        3 for $9.99 (or $4.49 each)
 RC Cola                                      $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Rite Cola                                                                                                   $6.49                        3 for $9.99 (or $4.49 each)
 Schweppes Ginger Ale                         $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Squirt                                       $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Squirt Diet                                  $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Squirt Ruby Red                              $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Orange                               $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Sunkist                                 $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Lemonade                             $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Grape                                $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Strawberry                           $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                        3 for $9.99 (or $4.49 each)
 Sunkist Pineapple
 Vernors Ginger Soda                          $2.49                  $0.89 each if buy 5 (or $1.99 each)
 Vernors Diet Ginger Soda                     $2.49                  $0.89 each if buy 5 (or $1.99 each)




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                   Filed 10/09/18      Page 289 of 551


                                                                    Observed Retail Prices
                                                   Albertsons At 2035 Hillhurst Ave, Los Angeles, CA 90027
                                                                  Observed On July 24, 2018

                                                            2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                 Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                      $6.49                        3 for $12.00 (or $5.49 each)
 Mist TWST                                      $2.29                         $0.89 each if buy 5
 Diet Mist TWST
 Mtn Dew                                        $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mtn Dew                                   $2.29                         $0.89 each if buy 5
 Mtn Dew Code Red                                                                                                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew ICE                                    $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                  $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Voltage
 Mug Root Beer                                                                                                      $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mug Root Beer                                                                                                 $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi                                          $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi-Cola Made With Real Sugar                $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Pepsi                                                                                                $6.49                                     (a)
 Diet Pepsi                                     $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Diet Pepsi                       $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar                               $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Wild Cherry                              $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi Wild Cherry                         $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar Wild Cherry                   $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                   $6.99                               3 for $14.00
 Diet Barq's Root Beer                                                                                              $6.99                               3 for $14.00
 Coca-Cola                                      $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola                                                                                            $6.99                               3 for $14.00
 Diet Coke                                      $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Diet Coke                        $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Diet Coke With Splenda                                                                                             $6.99                               3 for $14.00
 Coca-Cola Zero Sugar                           $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                                    (a)
 Caffeine Free Coca-Cola Zero Sugar             $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Coca-Cola Cherry                               $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Coca-Cola Cherry Zero                                                                                              $6.99                               3 for $14.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                  $6.99                               3 for $14.00
 Coca-Cola Vanilla Zero                                                                                             $6.99                               3 for $14.00
 Coca-Cola Life                                                                                                     $6.99                               3 for $14.00



                                                                                                                                                                           Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                     Filed 10/09/18                Page 290 of 551


                                                                                       Observed Retail Prices
                                                                      Albertsons At 2035 Hillhurst Ave, Los Angeles, CA 90027
                                                                                     Observed On July 24, 2018

                                                                                  2-Liter Bottles                                                                  12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                         Promotional Price

 Diet Coke Feisty Cherry                                                                                                                               $6.99                               3 for $14.00
 Diet Coke Ginger Lime                                                                                                                                 $6.99                               3 for $14.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                          $6.99                               3 for $14.00
 Fanta Zero Sugar Orange                                          $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 Fanta Berry
 Fanta Grape                                                      $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 Fanta Strawberry                                                 $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 Fanta Pineapple                                                                                                                                       $6.99                               3 for $14.00
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 Fresca Peach Citrus                                                                                                                                   $6.99                               3 for $14.00
 Fresca Black Cherry Citrus                                                                                                                            $6.99                               3 for $14.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 Minute Maid Light Lemonade                                                                                                                            $6.99                               3 for $14.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                $2.29                       $0.89 each if buy 5 (or $1.79 each)
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 Sprite Zero                                                      $2.29                       $0.89 each if buy 5 (or $1.79 each)                      $6.99                               3 for $14.00
 TaB                                                                                                                                                   $6.99                               3 for $14.00

Note:
(a) This product's sales price tag appeared to be ripped off. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                            Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 291 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC           Document 248-1                    Filed 10/09/18      Page 292 of 551


                                                                    Observed Retail Prices
                                                      El Super At 5610 York Blvd, Los Angeles, CA 90042
                                                                  Observed On July 26, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                       Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Diet Canada Dry Ginger Ale
 Canada Dry Ginger Ale And Lemonade           $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Diet 7UP                                     $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler                                $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Crush Orange                                 $0.99                                                                  $3.87                               3 for $10.97
 Diet Orange Crush
 Crush Grape                                  $0.99
 Crush Pineapple
 Crush Strawberry                             $0.99
 Dr Pepper                                    $1.99                               5 for $5.00                        $6.49                               3 for $12.97
 Diet Dr Pepper                                                                                                      $6.49                               3 for $12.97
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 RC Cola                                      $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt                                       $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Squirt Diet                                                                                                         $3.87                                3 for $9.99
 Squirt Ruby Red
 Sunkist Orange                               $1.39                               4 for $5.00                        $3.87                                3 for $9.99
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape                                                                                                       $3.87                                3 for $9.99
 Sunkist Strawberry                                                                                                  $3.87                                3 for $9.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda
                                Case 5:17-cv-00564-NC           Document 248-1                    Filed 10/09/18      Page 293 of 551


                                                                      Observed Retail Prices
                                                        El Super At 5610 York Blvd, Los Angeles, CA 90042
                                                                    Observed On July 26, 2018

                                                              2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                       Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $0.99
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                  $0.99                                                                  $3.87                               3 for $10.97
 Mist TWST                                      $0.99
 Diet Mist TWST
 Mtn Dew                                        $0.99
 Diet Mtn Dew
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                          $0.99                                                                  $3.87                               3 for $10.97
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                     $0.99
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                                                                                     $3.87                               3 for $10.97
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                      $1.99                               5 for $5.00                        $6.49                               3 for $12.97
 Caffeine Free Coca-Cola
 Diet Coke                                      $1.99                               5 for $5.00                        $6.49                               3 for $12.97
 Caffeine Free Diet Coke
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                               5 for $5.00                        $6.49                               3 for $12.97
 Caffeine Free Coca-Cola Zero Sugar                                                                                    $6.49                               3 for $12.97
 Coca-Cola Cherry                               $1.99                               5 for $5.00                        $6.49                               3 for $12.97
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life
                               Case 5:17-cv-00564-NC           Document 248-1                    Filed 10/09/18      Page 294 of 551


                                                                     Observed Retail Prices
                                                       El Super At 5610 York Blvd, Los Angeles, CA 90042
                                                                   Observed On July 26, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                           Regular Price                       Promotional Price                  Regular Price                        Promotional Price

Diet Coke Feisty Cherry
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                               4 for $5.00                        $6.49                               3 for $12.97
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape                                                                                                           $6.49                               3 for $12.97
Fanta Strawberry                               $1.99                               4 for $5.00
Fanta Pineapple                                $1.99                               4 for $5.00                        $6.49                               3 for $12.97
Fanta Grapefruit
Fanta Mango
Fresca Original Citrus
Fresca Peach Citrus
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade                           $1.99                               4 for $5.00                        $6.49                               3 for $12.97
Minute Maid Light Lemonade
Minute Maid Pink Lemonade                      $1.99                               4 for $5.00
Minute Maid Peach
Minute Maid Fruit Punch                        $1.99                               4 for $5.00
Pibb Xtra
Seagram's Ginger Ale                           $1.99                               4 for $5.00                        $6.49                               3 for $12.97
Sprite                                         $1.99                               5 for $5.00                        $6.49                               3 for $12.97
Sprite Zero
TaB
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 295 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 296 of 551


                                                                 Observed Retail Prices
                                                Food 4 Less At 5100 N Figueroa St, Los Angeles, CA 90042
                                                               Observed On July 25, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Diet Canada Dry Ginger Ale                   $1.99                             3 for $5.00
 Canada Dry Ginger Ale And Lemonade           $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Diet 7UP                                     $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 A&W Diet Root Beer                           $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 A&W Cream Soda                                                                                                    $6.49                            $2.77 each if buy 4
 A&W Diet Cream Soda
 Cactus Cooler                                $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Crush Orange                                 $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Diet Orange Crush                                                                                                 $4.99                            $2.77 each if buy 4
 Crush Grape                                  $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Crush Pineapple                              $1.99                             4 for $5.00
 Crush Strawberry                             $1.99                             4 for $5.00
 Dr Pepper                                    $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Diet Dr Pepper                               $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Diet Dr Pepper Cherry                        $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 RC Cola                                      $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99                             4 for $5.00
 Squirt                                       $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Squirt Diet                                  $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Squirt Ruby Red                              $1.99                             3 for $5.00                        $6.49                            $2.77 each if buy 4
 Sunkist Orange
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 297 of 551


                                                                   Observed Retail Prices
                                                  Food 4 Less At 5100 N Figueroa St, Los Angeles, CA 90042
                                                                 Observed On July 25, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Brisk Raspberry Iced Tea                                                                                            $4.99                            $2.77 each if buy 4
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                       $4.99                            $2.77 each if buy 4
 Mist TWST                                      $1.99                             4 for $5.00
 Diet Mist TWST
 Mtn Dew                                        $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Diet Mtn Dew                                   $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Diet Mug Root Beer
 Pepsi                                          $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Pepsi-Cola Made With Real Sugar                $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar                               $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Pepsi Wild Cherry                              $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Diet Pepsi Wild Cherry                         $1.99                             4 for $5.00                        $4.99                            $2.77 each if buy 4
 Pepsi Zero Sugar Wild Cherry                   $1.99                             4 for $5.00
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                      $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Caffeine Free Coca-Cola
 Diet Coke                                      $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Caffeine Free Diet Coke                        $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                            Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 298 of 551


                                                                  Observed Retail Prices
                                                 Food 4 Less At 5100 N Figueroa St, Los Angeles, CA 90042
                                                                Observed On July 25, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price                  Regular Price                        Promotional Price

Diet Coke Feisty Cherry
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                                                     4 for $5.00                        $5.79                            $4.79 each if buy 3
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape                                                                                                         $5.79                            $4.79 each if buy 3
Fanta Strawberry                                                                 4 for $5.00                        $5.79                            $4.79 each if buy 3
Fanta Pineapple                                                                  4 for $5.00                        $5.79                            $4.79 each if buy 3
Fanta Grapefruit
Fanta Mango                                                                      4 for $5.00
Fresca Original Citrus                         $1.99                         $0.99 each if buy 5
Fresca Peach Citrus
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon                                                                                         $5.79                            $4.79 each if buy 3
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade                           $1.99                         $0.99 each if buy 5
Minute Maid Light Lemonade
Minute Maid Pink Lemonade                      $1.99                         $0.99 each if buy 5
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale
Sprite                                         $1.99                         $0.99 each if buy 5                    $5.79                            $4.79 each if buy 3
Sprite Zero                                                                                                         $5.79                            $4.79 each if buy 3
TaB




                                                                                                                                                                           Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 299 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 300 of 551


                                                                  Observed Retail Prices
                                                      Gelson's At 10250 CA-2, Los Angeles, CA 90067
                                                                Observed On July 19, 2018

                                                          2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                                                                                          $6.49
 Diet Canada Dry Ginger Ale                                                                                     $6.49
 Canada Dry Ginger Ale And Lemonade           $2.29                                                             $6.49
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $2.29
 Diet 7UP                                                                                                       $6.49
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $2.29                                                             $6.49
 A&W Diet Root Beer                                                                                             $6.49
 A&W Cream Soda                                                                                                 $6.49
 A&W Diet Cream Soda                                                                                            $6.49
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                                                                                      $6.49
 Diet Dr Pepper                                                                                                 $6.49
 Caffeine Free Diet Dr Pepper                                                                                   $6.49
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $2.29                                                             $6.49
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda                          $2.59
 Vernors Diet Ginger Soda




                                                                                                                                                                     Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 301 of 551


                                                                    Observed Retail Prices
                                                        Gelson's At 10250 CA-2, Los Angeles, CA 90067
                                                                  Observed On July 19, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew
 Diet Mtn Dew                                                                                                     $6.49
 Mtn Dew Code Red
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi
 Pepsi-Cola Made With Real Sugar                                                                                  $6.49
 Caffeine Free Pepsi
 Diet Pepsi                                                                                                       $6.49
 Caffeine Free Diet Pepsi                                                                                         $6.49
 Pepsi Zero Sugar
 Pepsi Wild Cherry
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                 $6.49
 Diet Barq's Root Beer
 Coca-Cola                                      $2.39                                                             $6.49
 Caffeine Free Coca-Cola
 Diet Coke                                      $2.39
 Caffeine Free Diet Coke                        $2.39                                                             $6.49
 Diet Coke With Splenda                                                                                           $6.49
 Coca-Cola Zero Sugar                           $2.39                                                             $6.49
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                       Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 302 of 551


                                                                   Observed Retail Prices
                                                       Gelson's At 10250 CA-2, Los Angeles, CA 90067
                                                                 Observed On July 19, 2018

                                                           2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price               Regular Price                        Promotional Price

Diet Coke Feisty Cherry                                                                                          $6.49
Diet Coke Ginger Lime                                                                                            $6.49
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape
Fanta Strawberry
Fanta Pineapple
Fanta Grapefruit
Fanta Mango
Fresca Original Citrus                         $2.39                                                             $6.49
Fresca Peach Citrus
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade
Minute Maid Light Lemonade
Minute Maid Pink Lemonade
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale
Sprite                                         $2.39                                                             $6.49
Sprite Zero                                    $2.39                                                             $6.49
TaB                                                                                                              $6.49




                                                                                                                                                                      Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 303 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 304 of 551


                                                                  Observed Retail Prices
                                                      Ralphs At 645 W 9th St, Los Angeles, CA 90015
                                                                Observed On July 16, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Canada Dry Ginger Ale                                                                                        $5.99                            $2.99 each if buy 4
 Canada Dry Ginger Ale And Lemonade                                                                                $5.99                                    (a)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet 7UP                                     $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 7UP Cherry                                                                                                        $5.99                            $2.99 each if buy 4
 Diet 7UP Cherry                                                                                                   $5.99                            $2.99 each if buy 4
 A&W Root Beer                                                                                                     $5.99                            $2.99 each if buy 4
 A&W Diet Root Beer                           $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Cream Soda
 A&W Diet Cream Soda                                                                                               $5.99                            $2.99 each if buy 4
 Cactus Cooler
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper                               $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper Cherry                                                                                             $5.99                            $4.99 each if buy 3
 Dr Pepper TEN                                                                                                     $5.99                            $4.99 each if buy 3
 Hawaiian Punch Fruit Juicy Red               $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 RC Cola                                                                                                           $5.99                                    (a)
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99                             4 for $5.00
 Squirt                                                                                                            $5.99                            $2.99 each if buy 4
 Squirt Diet                                  $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Ruby Red
 Sunkist Orange
 Diet Sunkist                                 $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Lemonade
 Sunkist Grape                                                                                                     $5.99                            $2.99 each if buy 4
 Sunkist Strawberry                                                                                                $5.99                            $2.99 each if buy 4
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 305 of 551


                                                                    Observed Retail Prices
                                                        Ralphs At 645 W 9th St, Los Angeles, CA 90015
                                                                  Observed On July 16, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                       $5.99                            $2.99 each if buy 4
 Mist TWST                                                                                                           $5.99                            $2.99 each if buy 4
 Diet Mist TWST                                 $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Mtn Dew                                                                                                             $5.99                            $2.99 each if buy 4
 Diet Mtn Dew                                   $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Mtn Dew Code Red                                                                                                    $5.99                            $2.99 each if buy 4
 Mtn Dew ICE                                                                                                         $5.99                            $2.99 each if buy 4
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                          $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi-Cola Made With Real Sugar                $1.99                             4 for $5.00
 Caffeine Free Pepsi
 Diet Pepsi                                                                                                          $5.99                            $2.99 each if buy 4
 Caffeine Free Diet Pepsi                                                                                            $5.99                            $2.99 each if buy 4
 Pepsi Zero Sugar                                                                                                    $5.99                            $2.99 each if buy 4
 Pepsi Wild Cherry                              $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Pepsi Wild Cherry                         $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi Zero Sugar Wild Cherry                                                                                        $5.99                            $2.99 each if buy 4
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $5.99                            $4.99 each if buy 3
 Diet Barq's Root Beer                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola                                                                                             $5.99                            $4.99 each if buy 3
 Diet Coke                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Coke                                                                                             $5.99                            $4.99 each if buy 3
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry                                                                                                    $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry Zero                                                                                               $5.99                            $4.99 each if buy 3
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $5.99                            $4.99 each if buy 3
 Coca-Cola Vanilla Zero                                                                                              $5.99                            $4.99 each if buy 3
 Coca-Cola Life                                                                                                      $5.99                            $4.99 each if buy 3




                                                                                                                                                                            Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                      Filed 10/09/18               Page 306 of 551


                                                                                        Observed Retail Prices
                                                                            Ralphs At 645 W 9th St, Los Angeles, CA 90015
                                                                                      Observed On July 16, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                          $5.99                           $4.99 each if buy 3
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry                                                                                                                                      $5.99                           $4.99 each if buy 3
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fresca Peach Citrus                                                                                                                                   $5.99                           $4.99 each if buy 3
 Fresca Black Cherry Citrus                                                                                                                            $5.99                           $4.99 each if buy 3
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                   3 for $5.00                                  $5.99                                   (a)
 Minute Maid Light Lemonade                                                                                                                            $5.99                           $4.99 each if buy 3
 Minute Maid Pink Lemonade                                        $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Peach
 Minute Maid Fruit Punch                                          $1.99                                   3 for $5.00
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                  $5.99                           $4.99 each if buy 3
 Sprite                                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Sprite Zero                                                      $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 TaB                                                                                                                                                   $5.99                           $4.99 each if buy 3

Note:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                             Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 307 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 308 of 551


                                                                   Observed Retail Prices
                                                      Ralphs At 1200 N Central Ave, Glendale, CA 91202
                                                                 Observed On July 26, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Canada Dry Ginger Ale                   $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Canada Dry Ginger Ale And Lemonade                                                                                 $5.99                            $2.77 each if buy 4
 Canada Dry Cranberry Ginger Ale              $1.99                              4 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                    $5.99                            $2.77 each if buy 4
 7UP                                          $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet 7UP                                     $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 7UP Cherry                                                                                                         $5.99                            $2.77 each if buy 4
 Diet 7UP Cherry                              $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 A&W Root Beer                                $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 A&W Diet Root Beer                           $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 A&W Cream Soda                                                                                                     $5.99                            $2.77 each if buy 4
 A&W Diet Cream Soda                                                                                                $5.99                            $2.77 each if buy 4
 Cactus Cooler                                $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Diet Dr Pepper                                                                                                     $5.99                               3 for $11.00
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Diet Dr Pepper Cherry                                                                                              $5.99                               3 for $11.00
 Dr Pepper TEN                                                                                                      $5.99                               3 for $11.00
 Hawaiian Punch Fruit Juicy Red               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 RC Cola                                                                                                            $5.99                            $2.77 each if buy 4
 Diet Rite Cola                                                                                                     $5.99                            $2.77 each if buy 4
 Schweppes Ginger Ale
 Squirt                                       $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Squirt Diet                                  $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Squirt Ruby Red                              $1.99                              4 for $5.00
 Sunkist Orange                               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Sunkist                                 $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda                          $1.99                              4 for $5.00
 Vernors Diet Ginger Soda




                                                                                                                                                                           Page 1 of 3
                                Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 309 of 551


                                                                     Observed Retail Prices
                                                        Ralphs At 1200 N Central Ave, Glendale, CA 91202
                                                                   Observed On July 26, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                      Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                      $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Mist TWST                                 $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Mtn Dew                                        $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Mtn Dew                                   $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Mtn Dew Code Red
 Mtn Dew ICE                                    $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                              4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Caffeine Free Diet Pepsi                       $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi Zero Sugar                               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi Wild Cherry                                                                                                    $5.99                            $2.77 each if buy 4
 Diet Pepsi Wild Cherry                         $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi Zero Sugar Wild Cherry                   $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                     $5.99                               3 for $11.00
 Diet Barq's Root Beer                                                                                                $5.99                               3 for $11.00
 Coca-Cola                                      $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Coca-Cola                                                                                              $5.99                               3 for $11.00
 Diet Coke                                      $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Diet Coke                        $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Diet Coke With Splenda                                                                                               $5.99                               3 for $11.00
 Coca-Cola Zero Sugar                           $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Coca-Cola Zero Sugar                                                                                   $5.99                               3 for $11.00
 Coca-Cola Cherry                               $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Coca-Cola Cherry Zero                                                                                                $5.99                               3 for $11.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                    $5.99                               3 for $11.00
 Coca-Cola Vanilla Zero                                                                                               $5.99                               3 for $11.00
 Coca-Cola Life                                                                                                       $5.99                               3 for $11.00




                                                                                                                                                                             Page 2 of 3
                               Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 310 of 551


                                                                    Observed Retail Prices
                                                       Ralphs At 1200 N Central Ave, Glendale, CA 91202
                                                                  Observed On July 26, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                           Regular Price                      Promotional Price                  Regular Price                        Promotional Price

Diet Coke Feisty Cherry
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                              4 for $5.00                        $5.99                               3 for $11.00
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape
Fanta Strawberry                               $1.99                              4 for $5.00
Fanta Pineapple                                $1.99                              4 for $5.00
Fanta Grapefruit                               $1.99                              4 for $5.00
Fanta Mango                                    $1.99                              4 for $5.00
Fresca Original Citrus                         $1.99                              4 for $5.00                        $5.99                               3 for $11.00
Fresca Peach Citrus                                                                                                  $5.99                               3 for $11.00
Fresca Black Cherry Citrus                                                                                           $5.99                               3 for $11.00
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade                           $1.99                              4 for $5.00                        $5.99                               3 for $11.00
Minute Maid Light Lemonade                                                                                           $5.99                               3 for $11.00
Minute Maid Pink Lemonade                      $1.99                              4 for $5.00                        $5.99                               3 for $11.00
Minute Maid Peach
Minute Maid Fruit Punch                        $1.99                              4 for $5.00
Pibb Xtra
Seagram's Ginger Ale                                                                                                 $5.99                               3 for $11.00
Sprite                                         $1.99                              4 for $5.00                        $5.99                               3 for $11.00
Sprite Zero                                    $1.99                              4 for $5.00                        $5.99                               3 for $11.00
TaB                                                                                                                  $5.99                               3 for $11.00




                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 311 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 312 of 551


                                                                   Observed Retail Prices
                                                      Ralphs At 1416 E Colorado St, Glendale, CA 91205
                                                                 Observed On July 26, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Canada Dry Ginger Ale                   $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Canada Dry Ginger Ale And Lemonade           $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Canada Dry Cranberry Ginger Ale              $1.99                              4 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                    $5.99                            $2.77 each if buy 4
 7UP                                          $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet 7UP                                                                                                           $5.99                            $2.77 each if buy 4
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 A&W Diet Root Beer                           $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 A&W Cream Soda                               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 A&W Diet Cream Soda                                                                                                $5.99                            $2.77 each if buy 4
 Cactus Cooler                                $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Diet Dr Pepper                               $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Diet Dr Pepper Cherry                                                                                              $5.99                               3 for $11.00
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 RC Cola                                      $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Rite Cola                                                                                                     $5.99                            $2.77 each if buy 4
 Schweppes Ginger Ale                         $1.99                              4 for $5.00
 Squirt                                       $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Squirt Diet                                  $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Squirt Ruby Red                              $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Sunkist Orange                               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Sunkist                                 $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Sunkist Lemonade
 Sunkist Grape                                $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Sunkist Strawberry                           $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Sunkist Pineapple
 Vernors Ginger Soda                          $1.99                              4 for $5.00
 Vernors Diet Ginger Soda                     $1.99                              4 for $5.00




                                                                                                                                                                           Page 1 of 3
                                Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 313 of 551


                                                                     Observed Retail Prices
                                                        Ralphs At 1416 E Colorado St, Glendale, CA 91205
                                                                   Observed On July 26, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                      Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                      $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Mist TWST                                 $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Mtn Dew                                        $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Mtn Dew                                   $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Mtn Dew Code Red                                                                                                     $5.99                            $2.77 each if buy 4
 Mtn Dew ICE                                    $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                              4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi-Cola Made With Real Sugar                $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Caffeine Free Diet Pepsi                       $1.99                                  (a)                            $5.99                            $2.77 each if buy 4
 Pepsi Zero Sugar                               $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi Wild Cherry                              $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Diet Pepsi Wild Cherry                         $1.99                              4 for $5.00                        $5.99                            $2.77 each if buy 4
 Pepsi Zero Sugar Wild Cherry                                                                                         $5.99                            $2.77 each if buy 4
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                      $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Coca-Cola                                                                                              $5.99                               3 for $11.00
 Diet Coke                                      $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Diet Coke                        $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Diet Coke With Splenda                                                                                               $5.99                               3 for $11.00
 Coca-Cola Zero Sugar                           $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Caffeine Free Coca-Cola Zero Sugar                                                                                   $5.99                               3 for $11.00
 Coca-Cola Cherry                               $1.99                              4 for $5.00                        $5.99                               3 for $11.00
 Coca-Cola Cherry Zero                                                                                                $5.99                               3 for $11.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                    $5.99                               3 for $11.00
 Coca-Cola Vanilla Zero                                                                                               $5.99                               3 for $11.00
 Coca-Cola Life                                                                                                       $5.99                               3 for $11.00




                                                                                                                                                                             Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                     Filed 10/09/18               Page 314 of 551


                                                                                       Observed Retail Prices
                                                                          Ralphs At 1416 E Colorado St, Glendale, CA 91205
                                                                                     Observed On July 26, 2018

                                                                                 2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry                                                 $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 Fanta Pineapple                                                  $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 Fanta Grapefruit                                                 $1.99                                  4 for $5.00
 Fanta Mango                                                      $1.99                                  4 for $5.00
 Fresca Original Citrus                                           $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 Fresca Peach Citrus                                                                                                                                  $5.99                              3 for $11.00
 Fresca Black Cherry Citrus                                                                                                                           $5.99                              3 for $11.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 Minute Maid Light Lemonade                                                                                                                           $5.99                              3 for $11.00
 Minute Maid Pink Lemonade                                                                                                                            $5.99                              3 for $11.00
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 Sprite Zero                                                      $1.99                                  4 for $5.00                                  $5.99                              3 for $11.00
 TaB                                                                                                                                                  $5.99                              3 for $11.00

Note:
(a) This product's sales price tag appeared to be ripped off. However, other Pepsi products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 315 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 316 of 551


                                                                   Observed Retail Prices
                                                      Ralphs At 8626 Firestone Blvd, Downey, CA 90241
                                                                 Observed On July 16, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Canada Dry Ginger Ale                   $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Canada Dry Ginger Ale And Lemonade           $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                    $5.99                            $2.99 each if buy 4
 7UP                                          $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet 7UP                                     $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 7UP Cherry                                   $1.99                              4 for $5.00                        $5.99                                    (a)
 Diet 7UP Cherry                              $1.99                              4 for $5.00                        $5.99                                    (a)
 A&W Root Beer                                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Diet Root Beer                                                                                                 $5.99                            $2.99 each if buy 4
 A&W Cream Soda                               $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Diet Cream Soda                                                                                                $5.99                                    (a)
 Cactus Cooler                                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper                               $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper Cherry                                                                                              $5.99                            $4.99 each if buy 3
 Dr Pepper TEN                                                                                                      $5.99                            $4.99 each if buy 3
 Hawaiian Punch Fruit Juicy Red               $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 RC Cola                                      $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Rite Cola                                                                                                     $5.99                            $2.99 each if buy 4
 Schweppes Ginger Ale                         $1.99                              4 for $5.00
 Squirt                                       $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Diet                                  $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Ruby Red                              $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Orange                               $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Sunkist                                 $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Lemonade
 Sunkist Grape                                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Strawberry                           $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Pineapple
 Vernors Ginger Soda                          $1.99                              4 for $5.00
 Vernors Diet Ginger Soda                     $1.99                              4 for $5.00




                                                                                                                                                                           Page 1 of 3
                                Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 317 of 551


                                                                     Observed Retail Prices
                                                        Ralphs At 8626 Firestone Blvd, Downey, CA 90241
                                                                   Observed On July 16, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                      Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                              4 for $5.00
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                      $1.99                              4 for $5.00
 Diet Mist TWST                                 $1.99                              4 for $5.00
 Mtn Dew                                        $1.99                              4 for $5.00
 Diet Mtn Dew                                   $1.99                              4 for $5.00
 Mtn Dew Code Red
 Mtn Dew ICE                                    $1.99                              4 for $5.00
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                              4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                              4 for $5.00
 Pepsi-Cola Made With Real Sugar                $1.99                              4 for $5.00
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                              4 for $5.00
 Caffeine Free Diet Pepsi                       $1.99                              4 for $5.00
 Pepsi Zero Sugar                               $1.99                              4 for $5.00
 Pepsi Wild Cherry                              $1.99                              4 for $5.00
 Diet Pepsi Wild Cherry                         $1.99                              4 for $5.00
 Pepsi Zero Sugar Wild Cherry                   $1.99                              4 for $5.00
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                     $5.99                            $4.99 each if buy 3
 Diet Barq's Root Beer                                                                                                $5.99                            $4.99 each if buy 3
 Coca-Cola                                      $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola                                                                                              $5.99                            $4.99 each if buy 3
 Diet Coke                                      $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Coke                        $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Coke With Splenda                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola Zero Sugar                           $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar                                                                                   $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry                               $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry Zero                                                                                                $5.99                            $4.99 each if buy 3
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola Life                                                                                                       $5.99                            $4.99 each if buy 3




                                                                                                                                                                             Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                      Filed 10/09/18               Page 318 of 551


                                                                                       Observed Retail Prices
                                                                          Ralphs At 8626 Firestone Blvd, Downey, CA 90241
                                                                                     Observed On July 16, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry                                                 $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Pineapple                                                  $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Grapefruit                                                 $1.99                                   3 for $5.00
 Fanta Mango                                                      $1.99                                   3 for $5.00
 Fresca Original Citrus                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fresca Peach Citrus                                                                                                                                   $5.99                           $4.99 each if buy 3
 Fresca Black Cherry Citrus                                                                                                                            $5.99                           $4.99 each if buy 3
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Light Lemonade                                                                                                                            $5.99                           $4.99 each if buy 3
 Minute Maid Pink Lemonade                                        $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Peach
 Minute Maid Fruit Punch                                          $1.99                                   3 for $5.00
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Sprite Zero                                                      $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 TaB                                                                                                                                                   $5.99                           $4.99 each if buy 3

Note:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                             Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 319 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 320 of 551


                                                                   Observed Retail Prices
                                                      Ralphs At 9200 Lakewood Blvd, Downey, CA 90240
                                                                  Observed On July 16, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Canada Dry Ginger Ale                   $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Canada Dry Ginger Ale And Lemonade           $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Canada Dry Cranberry Ginger Ale              $1.99                              4 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                    $5.99                            $2.99 each if buy 4
 7UP                                          $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet 7UP                                     $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 7UP Cherry                                   $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet 7UP Cherry                              $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Root Beer                                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Diet Root Beer                           $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Cream Soda                               $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Diet Cream Soda                                                                                                $5.99                            $2.99 each if buy 4
 Cactus Cooler                                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                              3 for $5.00
 Diet Dr Pepper                               $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper Cherry                                                                                              $5.99                            $4.99 each if buy 3
 Dr Pepper TEN                                                                                                      $5.99                            $4.99 each if buy 3
 Hawaiian Punch Fruit Juicy Red               $1.99                              4 for $5.00                        $5.99                                    (a)
 RC Cola                                      $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Rite Cola                                                                                                     $5.99                            $2.99 each if buy 4
 Schweppes Ginger Ale                         $1.99                              4 for $5.00
 Squirt                                       $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Diet                                  $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Ruby Red                              $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Orange                               $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Sunkist                                 $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Lemonade
 Sunkist Grape                                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Strawberry                           $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Pineapple
 Vernors Ginger Soda                          $1.99                              4 for $5.00
 Vernors Diet Ginger Soda                     $1.99                              4 for $5.00




                                                                                                                                                                           Page 1 of 3
                                Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 321 of 551


                                                                     Observed Retail Prices
                                                        Ralphs At 9200 Lakewood Blvd, Downey, CA 90240
                                                                    Observed On July 16, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                      Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Brisk Raspberry Iced Tea                                                                                             $5.99                            $2.99 each if buy 4
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                        $5.99                            $2.99 each if buy 4
 Mist TWST                                      $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Mist TWST                                 $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Mtn Dew                                        $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Mtn Dew                                   $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Mtn Dew Code Red                                                                                                     $5.99                            $2.99 each if buy 4
 Mtn Dew ICE                                    $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                              4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi-Cola Made With Real Sugar                $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Caffeine Free Diet Pepsi                       $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi Zero Sugar                               $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi Wild Cherry                              $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Pepsi Wild Cherry                         $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi Zero Sugar Wild Cherry                   $1.99                              4 for $5.00                        $5.99                            $2.99 each if buy 4
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                     $5.99                            $4.99 each if buy 3
 Diet Barq's Root Beer                                                                                                $5.99                            $4.99 each if buy 3
 Coca-Cola                                      $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola                                                                                              $5.99                            $4.99 each if buy 3
 Diet Coke                                      $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Coke                        $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Coke With Splenda                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola Zero Sugar                           $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar                                                                                   $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry                               $1.99                              3 for $5.00                        $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry Zero                                                                                                $5.99                            $4.99 each if buy 3
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                    $5.99                            $4.99 each if buy 3
 Coca-Cola Vanilla Zero                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola Life                                                                                                       $5.99                            $4.99 each if buy 3




                                                                                                                                                                             Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                      Filed 10/09/18               Page 322 of 551


                                                                                       Observed Retail Prices
                                                                          Ralphs At 9200 Lakewood Blvd, Downey, CA 90240
                                                                                      Observed On July 16, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry                                                 $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Pineapple                                                  $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Grapefruit                                                 $1.99                                   3 for $5.00
 Fanta Mango                                                      $1.99                                   3 for $5.00
 Fresca Original Citrus                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fresca Peach Citrus                                                                                                                                   $5.99                           $4.99 each if buy 3
 Fresca Black Cherry Citrus                                                                                                                            $5.99                           $4.99 each if buy 3
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade                                        $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Peach
 Minute Maid Fruit Punch                                          $1.99                                   3 for $5.00
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                  $5.99                           $4.99 each if buy 3
 Sprite                                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Sprite Zero                                                      $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 TaB                                                                                                                                                   $5.99                           $4.99 each if buy 3

Note:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                             Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 323 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 324 of 551


                                                                 Observed Retail Prices
                                                  Ralphs At 10861 Weyburn Ave, Los Angeles, CA 90024
                                                               Observed On July 18, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Canada Dry Ginger Ale                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Canada Dry Ginger Ale And Lemonade                                                                                $5.99                            $4.99 each if buy 3
 Canada Dry Cranberry Ginger Ale              $1.99                             4 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                   $5.99                            $4.99 each if buy 3
 7UP                                          $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet 7UP                                                                                                          $5.99                            $4.99 each if buy 3
 7UP Cherry                                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet 7UP Cherry                              $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Root Beer                                $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Diet Root Beer                           $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Cream Soda                               $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Diet Cream Soda                                                                                               $5.99                            $4.99 each if buy 3
 Cactus Cooler                                                                                                     $5.99                            $4.99 each if buy 3
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                             3 for $5.00
 Diet Dr Pepper                               $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper Cherry                                                                                             $5.99                            $4.99 each if buy 3
 Dr Pepper TEN                                                                                                     $5.99                            $4.99 each if buy 3
 Hawaiian Punch Fruit Juicy Red                                                                                    $5.99                            $4.99 each if buy 3
 RC Cola                                                                                                           $5.99                            $4.99 each if buy 3
 Diet Rite Cola                                                                                                    $5.99                            $4.99 each if buy 3
 Schweppes Ginger Ale                         $1.99                             4 for $5.00
 Squirt                                       $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Squirt Diet                                  $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Squirt Ruby Red                              $1.99                             4 for $5.00
 Sunkist Orange                               $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Sunkist                                 $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Sunkist Lemonade
 Sunkist Grape                                                                                                     $5.99                            $4.99 each if buy 3
 Sunkist Strawberry                                                                                                $5.99                            $4.99 each if buy 3
 Sunkist Pineapple
 Vernors Ginger Soda                          $1.99                             4 for $5.00
 Vernors Diet Ginger Soda




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 325 of 551


                                                                   Observed Retail Prices
                                                    Ralphs At 10861 Weyburn Ave, Los Angeles, CA 90024
                                                                 Observed On July 18, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Brisk Raspberry Iced Tea                                                                                            $5.99                            $4.99 each if buy 3
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                      $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Mist TWST                                 $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew                                        $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Mtn Dew                                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew Code Red                                                                                                    $5.99                            $4.99 each if buy 3
 Mtn Dew ICE                                    $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                   $5.99                            $4.99 each if buy 3
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                             4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi-Cola Made With Real Sugar                $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                             4 for $5.00                        $5.99
 Caffeine Free Diet Pepsi                       $1.99                             4 for $5.00                        $5.99
 Pepsi Zero Sugar                               $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Wild Cherry                              $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Pepsi Wild Cherry                         $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Zero Sugar Wild Cherry                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $5.99                            $4.99 each if buy 3
 Diet Barq's Root Beer                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola                                                                                             $5.99                            $4.99 each if buy 3
 Diet Coke                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Coke                        $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Coke With Splenda                                                                                              $5.99                            $4.99 each if buy 3
 Coca-Cola Zero Sugar                           $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry                               $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry Zero                                                                                               $5.99                            $4.99 each if buy 3
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $5.99                            $4.99 each if buy 3
 Coca-Cola Vanilla Zero                                                                                              $5.99                            $4.99 each if buy 3
 Coca-Cola Life                                                                                                      $5.99                            $4.99 each if buy 3




                                                                                                                                                                            Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                      Filed 10/09/18               Page 326 of 551


                                                                                      Observed Retail Prices
                                                                       Ralphs At 10861 Weyburn Ave, Los Angeles, CA 90024
                                                                                    Observed On July 18, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry                                                 $1.99                                   3 for $5.00
 Fanta Pineapple                                                  $1.99                                       (a)                                      $5.99                           $4.99 each if buy 3
 Fanta Grapefruit                                                 $1.99                                   3 for $5.00
 Fanta Mango                                                      $1.99                                   3 for $5.00
 Fresca Original Citrus                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fresca Peach Citrus                                                                                                                                   $5.99                           $4.99 each if buy 3
 Fresca Black Cherry Citrus                                                                                                                            $5.99                           $4.99 each if buy 3
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Light Lemonade                                                                                                                            $5.99                           $4.99 each if buy 3
 Minute Maid Pink Lemonade                                        $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Peach
 Minute Maid Fruit Punch                                          $1.99                                   3 for $5.00
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                  $5.99                           $4.99 each if buy 3
 Sprite                                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Sprite Zero                                                      $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 TaB                                                                                                                                                   $5.99                           $4.99 each if buy 3

Note:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                             Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 327 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 328 of 551


                                                                 Observed Retail Prices
                                                  Ralphs At 11361 National Blvd, Los Angeles, CA 90064
                                                               Observed On July 18, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Canada Dry Ginger Ale                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Canada Dry Ginger Ale And Lemonade           $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Canada Dry Cranberry Ginger Ale              $1.99                             4 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet 7UP                                     $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 7UP Cherry                                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet 7UP Cherry                              $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Root Beer                                $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Diet Root Beer                           $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Cream Soda                                                                                                    $5.99                            $4.99 each if buy 3
 A&W Diet Cream Soda                                                                                               $5.99                            $4.99 each if buy 3
 Cactus Cooler                                $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                                                                                         $5.99                            $4.99 each if buy 3
 Diet Dr Pepper                               $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                                                                                                  $5.99                            $4.99 each if buy 3
 Diet Dr Pepper Cherry                                                                                             $5.99                            $4.99 each if buy 3
 Dr Pepper TEN                                                                                                     $5.99                            $4.99 each if buy 3
 Hawaiian Punch Fruit Juicy Red               $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 RC Cola                                      $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Rite Cola                                                                                                    $5.99                            $4.99 each if buy 3
 Schweppes Ginger Ale                         $1.99                             4 for $5.00
 Squirt                                       $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Squirt Diet                                  $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Squirt Ruby Red
 Sunkist Orange                               $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Sunkist                                 $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda                          $1.99                             4 for $5.00
 Vernors Diet Ginger Soda                     $1.99                             4 for $5.00




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 329 of 551


                                                                   Observed Retail Prices
                                                    Ralphs At 11361 National Blvd, Los Angeles, CA 90064
                                                                 Observed On July 18, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                             4 for $5.00
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                       $5.99                            $4.99 each if buy 3
 Mist TWST                                      $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Mist TWST                                 $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew                                        $1.99                             4 for $5.00
 Diet Mtn Dew                                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew Code Red                                                                                                    $5.99                            $4.99 each if buy 3
 Mtn Dew ICE                                    $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                             4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi-Cola Made With Real Sugar                $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Pepsi                                                                                            $5.99                            $4.99 each if buy 3
 Pepsi Zero Sugar                               $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Wild Cherry                              $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Pepsi Wild Cherry                         $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Zero Sugar Wild Cherry                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $5.99                            $4.99 each if buy 3
 Diet Barq's Root Beer                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola                                                                                             $5.99                            $4.99 each if buy 3
 Diet Coke                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Coke                        $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Coke With Splenda                                                                                              $5.99                            $4.99 each if buy 3
 Coca-Cola Zero Sugar                           $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry                               $1.99                             3 for $5.00
 Coca-Cola Cherry Zero                                                                                               $5.99                            $4.99 each if buy 3
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $5.99                            $4.99 each if buy 3
 Coca-Cola Vanilla Zero                                                                                              $5.99                            $4.99 each if buy 3
 Coca-Cola Life                                                                                                      $5.99                            $4.99 each if buy 3




                                                                                                                                                                            Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 330 of 551


                                                                  Observed Retail Prices
                                                   Ralphs At 11361 National Blvd, Los Angeles, CA 90064
                                                                Observed On July 18, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price                  Regular Price                        Promotional Price

Diet Coke Feisty Cherry
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape
Fanta Strawberry                               $1.99                             3 for $5.00
Fanta Pineapple                                $1.99                             3 for $5.00
Fanta Grapefruit                               $1.99                             3 for $5.00
Fanta Mango                                    $1.99                             3 for $5.00
Fresca Original Citrus                         $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
Fresca Peach Citrus                                                                                                 $5.99                            $4.99 each if buy 3
Fresca Black Cherry Citrus                                                                                          $5.99                            $4.99 each if buy 3
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade                           $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
Minute Maid Light Lemonade                                                                                          $5.99                            $4.99 each if buy 3
Minute Maid Pink Lemonade                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale                                                                                                $5.99                            $4.99 each if buy 3
Sprite                                         $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
Sprite Zero                                    $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
TaB




                                                                                                                                                                           Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 331 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 332 of 551


                                                                 Observed Retail Prices
                                                 Ralphs At 11727 W Olympic Blvd, Los Angeles, CA 90064
                                                               Observed On July 18, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                                                                                             $5.99                            $4.99 each if buy 3
 Diet Canada Dry Ginger Ale                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Canada Dry Ginger Ale And Lemonade           $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                   $5.99                            $4.99 each if buy 3
 7UP                                          $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet 7UP                                     $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                                                                                     $5.99                            $4.99 each if buy 3
 A&W Diet Root Beer                           $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 A&W Cream Soda                               $1.99                             4 for $5.00
 A&W Diet Cream Soda
 Cactus Cooler                                                                                                     $5.99                            $4.99 each if buy 3
 Crush Orange
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Dr Pepper                                                                                                    $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN                                                                                                     $5.99                            $4.99 each if buy 3
 Hawaiian Punch Fruit Juicy Red                                                                                    $5.99                            $4.99 each if buy 3
 RC Cola                                      $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99                             4 for $5.00
 Squirt                                       $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Squirt Diet                                                                                                       $5.99                            $4.99 each if buy 3
 Squirt Ruby Red
 Sunkist Orange
 Diet Sunkist                                 $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda                     $1.99                             4 for $5.00




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 333 of 551


                                                                   Observed Retail Prices
                                                   Ralphs At 11727 W Olympic Blvd, Los Angeles, CA 90064
                                                                 Observed On July 18, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                             4 for $5.00
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                                                                                             $5.99                            $4.99 each if buy 3
 Diet Mtn Dew                                                                                                        $5.99                            $4.99 each if buy 3
 Mtn Dew Code Red                                                                                                    $5.99                            $4.99 each if buy 3
 Mtn Dew ICE                                    $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                             4 for $5.00
 Diet Mug Root Beer
 Pepsi                                          $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi-Cola Made With Real Sugar                $1.99                                 (a)                            $5.99                            $4.99 each if buy 3
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                             4 for $5.00                        $5.99
 Caffeine Free Diet Pepsi                       $1.99                             4 for $5.00                        $5.99
 Pepsi Zero Sugar                                                                                                    $5.99                            $4.99 each if buy 3
 Pepsi Wild Cherry                              $1.99                                 (a)                            $5.99                                    (a)
 Diet Pepsi Wild Cherry                                                                                              $5.99
 Pepsi Zero Sugar Wild Cherry                   $1.99                             4 for $5.00                        $5.99                            $4.99 each if buy 3
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $5.99                            $4.99 each if buy 3
 Diet Barq's Root Beer                                                                                               $5.99                            $4.99 each if buy 3
 Coca-Cola                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola                                                                                             $5.99                            $4.99 each if buy 3
 Diet Coke                                      $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Diet Coke                        $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                             3 for $5.00                        $5.99                            $4.99 each if buy 3
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $5.99                            $4.99 each if buy 3
 Coca-Cola Cherry                               $1.99                             3 for $5.00
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                      $5.99                            $4.99 each if buy 3




                                                                                                                                                                            Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                      Filed 10/09/18               Page 334 of 551


                                                                                     Observed Retail Prices
                                                                     Ralphs At 11727 W Olympic Blvd, Los Angeles, CA 90064
                                                                                   Observed On July 18, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                                                                                                          $5.99                           $4.99 each if buy 3
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape
 Fanta Strawberry                                                 $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Pineapple                                                  $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Fanta Grapefruit                                                 $1.99                                   3 for $5.00
 Fanta Mango                                                      $1.99                                   3 for $5.00
 Fresca Original Citrus                                           $1.99                                   3 for $5.00
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Minute Maid Light Lemonade                                                                                                                            $5.99                           $4.99 each if buy 3
 Minute Maid Pink Lemonade                                                                                                                             $5.99                           $4.99 each if buy 3
 Minute Maid Peach
 Minute Maid Fruit Punch                                          $1.99                                   3 for $5.00
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 Sprite Zero                                                      $1.99                                   3 for $5.00                                  $5.99                           $4.99 each if buy 3
 TaB

Note:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                             Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 335 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 336 of 551


                                                                 Observed Retail Prices
                                               Smart & Final At 6060 N Figueroa St, Los Angeles, CA 90042
                                                               Observed On July 25, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                         $0.79 each if buy 4                    $5.89
 Diet Canada Dry Ginger Ale                                                                                        $5.89
 Canada Dry Ginger Ale And Lemonade                                                                                $5.89
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                         $0.79 each if buy 4                    $5.89
 Diet 7UP                                     $1.79                         $0.79 each if buy 4                    $5.89
 7UP Cherry                                                                                                        $5.89
 Diet 7UP Cherry
 A&W Root Beer                                                                                                     $5.89
 A&W Diet Root Beer                                                                                                $5.89
 A&W Cream Soda                               $1.79                         $0.79 each if buy 4                    $5.89
 A&W Diet Cream Soda                                                                                               $5.89
 Cactus Cooler                                $1.79                         $0.79 each if buy 4                    $5.89
 Crush Orange                                 $1.89                                                                $5.89                               3 for $10.98
 Diet Orange Crush
 Crush Grape                                                                                                       $5.89                               3 for $10.98
 Crush Pineapple
 Crush Strawberry                             $1.89                                                                $5.89                               3 for $10.98
 Dr Pepper                                    $1.99                             3 for $4.98                        $6.39
 Diet Dr Pepper                               $1.99                             3 for $4.98                        $6.39
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry                                                                                             $6.39
 Dr Pepper TEN                                                                                                     $6.39
 Hawaiian Punch Fruit Juicy Red               $1.79                         $0.79 each if buy 4                    $5.89
 RC Cola                                      $1.79                         $0.79 each if buy 4                    $5.89
 Diet Rite Cola
 Schweppes Ginger Ale
 Squirt                                       $1.79                         $0.79 each if buy 4
 Squirt Diet                                                                                                       $5.89
 Squirt Ruby Red
 Sunkist Orange                               $1.79                         $0.79 each if buy 4                    $5.89
 Diet Sunkist                                                                                                      $5.89
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                        Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 337 of 551


                                                                   Observed Retail Prices
                                                 Smart & Final At 6060 N Figueroa St, Los Angeles, CA 90042
                                                                 Observed On July 25, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.89                                                                $5.89                               3 for $10.98
 Brisk Raspberry Iced Tea                                                                                            $5.89                               3 for $10.98
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.89                                                                $5.89                               3 for $10.98
 Mist TWST                                      $1.89                                                                $5.89                               3 for $10.98
 Diet Mist TWST
 Mtn Dew                                        $1.89                                                                $5.89                               3 for $10.98
 Diet Mtn Dew                                   $1.89                                                                $5.89                               3 for $10.98
 Mtn Dew Code Red
 Mtn Dew ICE                                                                                                         $5.89                               3 for $10.98
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.89                                                                $5.89                               3 for $10.98
 Diet Mug Root Beer
 Pepsi                                          $1.89                                                                $5.89                               3 for $10.98
 Pepsi-Cola Made With Real Sugar                                                                                     $5.89                               3 for $10.98
 Caffeine Free Pepsi                                                                                                 $5.89                               3 for $10.98
 Diet Pepsi                                     $1.89                                                                $5.89                               3 for $10.98
 Caffeine Free Diet Pepsi                                                                                            $5.89                               3 for $10.98
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                                                                                   $5.89                               3 for $10.98
 Diet Pepsi Wild Cherry                         $1.89                                                                $5.89                               3 for $10.98
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $6.39
 Diet Barq's Root Beer                                                                                               $6.39
 Coca-Cola                                      $1.99                             3 for $4.98                        $6.39                               3 for $12.99
 Caffeine Free Coca-Cola                                                                                             $6.39
 Diet Coke                                                                                                           $6.39
 Caffeine Free Diet Coke                        $1.99                             3 for $4.98                        $6.39
 Diet Coke With Splenda                                                                                              $6.39
 Coca-Cola Zero Sugar                           $1.99                             3 for $4.98
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $6.39
 Coca-Cola Cherry                                                                                                    $6.39
 Coca-Cola Cherry Zero                                                                                               $6.39
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.39
 Coca-Cola Vanilla Zero                                                                                              $6.39
 Coca-Cola Life




                                                                                                                                                                          Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 338 of 551


                                                                  Observed Retail Prices
                                                Smart & Final At 6060 N Figueroa St, Los Angeles, CA 90042
                                                                Observed On July 25, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price                  Regular Price                        Promotional Price

Diet Coke Feisty Cherry
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                             2 for $3.00                        $6.39
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape                                    $1.99                             2 for $3.00                        $6.39
Fanta Strawberry                                                                                                    $6.39
Fanta Pineapple                                $1.99                             2 for $3.00                        $6.39
Fanta Grapefruit                               $1.99                             2 for $3.00
Fanta Mango
Fresca Original Citrus                                                                                              $6.39
Fresca Peach Citrus                                                                                                 $6.39
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon                                                                                         $6.39
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade                           $1.99                               $1.39                            $6.39
Minute Maid Light Lemonade                                                                                          $6.39
Minute Maid Pink Lemonade                                                                                           $6.39
Minute Maid Peach
Minute Maid Fruit Punch                                                                                             $6.39
Pibb Xtra
Seagram's Ginger Ale                                                                                                $6.39
Sprite                                         $1.99                             3 for $4.98                        $6.39
Sprite Zero                                                                                                         $6.39
TaB                                                                                                                 $6.39




                                                                                                                                                                         Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 339 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 340 of 551


                                                                  Observed Retail Prices
                                                  Stater Bros At 7814 Firestone Blvd, Downey, CA 90241
                                                                Observed On July 24, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Canada Dry Ginger Ale                   $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Canada Dry Ginger Ale And Lemonade           $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                   $5.99                            $2.99 each if buy 4
 7UP                                          $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet 7UP                                     $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 7UP Cherry                                   $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet 7UP Cherry                              $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Root Beer                                                                                                     $5.99                            $2.99 each if buy 4
 A&W Diet Root Beer                           $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 A&W Cream Soda                               $1.99                             4 for $5.00
 A&W Diet Cream Soda                                                                                               $5.99                            $2.99 each if buy 4
 Cactus Cooler                                $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Crush Orange                                 $1.99                         $0.88 each if buy 4                    $5.99                            $2.99 each if buy 4
 Diet Orange Crush                                                                                                 $5.99                            $2.99 each if buy 4
 Crush Grape                                  $1.99                         $0.88 each if buy 4                    $5.99                            $2.99 each if buy 4
 Crush Pineapple                              $1.99                         $0.88 each if buy 4
 Crush Strawberry                             $1.99                         $0.88 each if buy 4
 Dr Pepper                                    $1.99                         $0.99 each if buy 4                    $6.49                            $3.69 each if buy 4
 Diet Dr Pepper                               $1.99                         $0.99 each if buy 4                    $6.49                            $3.69 each if buy 4
 Caffeine Free Diet Dr Pepper                                                                                      $6.49                            $3.69 each if buy 4
 Dr Pepper Cherry                             $1.99                         $0.99 each if buy 4                    $6.49                            $3.69 each if buy 4
 Diet Dr Pepper Cherry                        $1.99                         $0.99 each if buy 4                    $6.49                            $3.69 each if buy 4
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 RC Cola                                      $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Rite Cola                                                                                                    $5.99                            $2.99 each if buy 4
 Schweppes Ginger Ale                         $1.99                         $0.88 each if buy 4                    $5.99                            $2.99 each if buy 4
 Squirt                                       $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Diet                                  $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Squirt Ruby Red                              $1.99                             4 for $5.00
 Sunkist Orange                               $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Diet Sunkist                                 $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Lemonade                             $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Grape                                $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Strawberry                           $1.99                             4 for $5.00                        $5.99                            $2.99 each if buy 4
 Sunkist Pineapple                            $1.99                             4 for $5.00
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                  Filed 10/09/18      Page 341 of 551


                                                                    Observed Retail Prices
                                                    Stater Bros At 7814 Firestone Blvd, Downey, CA 90241
                                                                  Observed On July 24, 2018

                                                            2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Brisk Raspberry Iced Tea                                                                                          $5.99                            $2.99 each if buy 4
 Brisk Strawberry Melon                         $1.99                         $0.88 each if buy 4
 Manzanita Sol                                  $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Mist TWST                                      $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Diet Mist TWST                                 $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Mtn Dew                                        $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Diet Mtn Dew                                   $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Mtn Dew Code Red                                                                                                  $5.99                            $2.99 each if buy 4
 Mtn Dew ICE                                    $1.99                         $0.88 each if buy 4
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Diet Mug Root Beer                                                                                                $5.99                            $2.99 each if buy 4
 Pepsi                                          $1.99                         $0.88 each if buy 4
 Pepsi-Cola Made With Real Sugar                $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Caffeine Free Pepsi                                                                                               $5.99                            $2.99 each if buy 4
 Diet Pepsi                                     $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Caffeine Free Diet Pepsi                       $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Pepsi Zero Sugar                               $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Pepsi Wild Cherry                              $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Diet Pepsi Wild Cherry                         $1.99                         $0.88 each if buy 4                  $5.99                            $2.99 each if buy 4
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla                                                                                              $5.99                            $2.99 each if buy 4

The Coca-Cola Company
 Barq's Root Beer                               $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Diet Barq's Root Beer
 Coca-Cola                                      $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Caffeine Free Coca-Cola                                                                                           $6.49                            $3.69 each if buy 4
 Diet Coke                                      $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Caffeine Free Diet Coke                        $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Diet Coke With Splenda                                                                                            $6.49                            $3.69 each if buy 4
 Coca-Cola Zero Sugar                           $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Caffeine Free Coca-Cola Zero Sugar             $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Coca-Cola Cherry                               $1.99                         $0.99 each if buy 4                  $6.49                            $3.69 each if buy 4
 Coca-Cola Cherry Zero                                                                                             $6.49                            $3.69 each if buy 4
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                 $6.49                            $3.69 each if buy 4
 Coca-Cola Vanilla Zero                                                                                            $6.49                            $3.69 each if buy 4
 Coca-Cola Life                                                                                                    $6.49                            $3.69 each if buy 4




                                                                                                                                                                          Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 342 of 551


                                                                                       Observed Retail Prices
                                                                       Stater Bros At 7814 Firestone Blvd, Downey, CA 90241
                                                                                     Observed On July 24, 2018

                                                                                 2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                              $6.49                           $3.69 each if buy 4
 Diet Coke Ginger Lime                                                                                                                                $6.49                           $3.69 each if buy 4
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                      (a)                                      $6.49                           $3.69 each if buy 4
 Fanta Zero Sugar Orange                                                                                                                              $6.49                           $3.69 each if buy 4
 Fanta Berry                                                      $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Fanta Grape                                                      $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Fanta Strawberry                                                 $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Fanta Pineapple                                                  $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Fresca Peach Citrus                                                                                                                                  $6.49                           $3.69 each if buy 4
 Fresca Black Cherry Citrus                                                                                                                           $6.49                           $3.69 each if buy 4
 FUZE Fusions Iced Tea Lemon                                                                                                                          $6.49                           $3.69 each if buy 4
 FUZE Fusions Diet Lemon                                                                                                                              $6.49                           $3.69 each if buy 4
 Mello Yello                                                                                                                                          $6.49                           $3.69 each if buy 4
 Minute Maid Lemonade                                             $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade                                        $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Minute Maid Peach                                                $1.99                              $0.99 each if buy 4
 Minute Maid Fruit Punch                                          $1.99                              $0.99 each if buy 4
 Pibb Xtra
 Seagram's Ginger Ale                                             $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Sprite                                                           $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 Sprite Zero                                                      $1.99                              $0.99 each if buy 4                              $6.49                           $3.69 each if buy 4
 TaB                                                                                                                                                  $6.49                           $3.69 each if buy 4

Note:
(a) This product's sales price tag appeared to be ripped off. However, other Fanta products with the same regular price were observed with a sales price.




                                                                                                                                                                                                            Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 343 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC        Document 248-1                  Filed 10/09/18      Page 344 of 551


                                                                Observed Retail Prices
                                                Super A Foods At 2925 Division St, Los Angeles, CA 90065
                                                              Observed On July 25, 2018

                                                          2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.99                               $0.99                         $4.99                               3 for $10.00
 Diet Canada Dry Ginger Ale                   $1.99                               $0.99
 Canada Dry Ginger Ale And Lemonade           $1.99                               $0.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.99                               $0.99                         $4.99                               3 for $10.00
 Diet 7UP                                     $1.99                               $0.99                         $4.99                               3 for $10.00
 7UP Cherry                                   $1.99                               $0.99                         $4.99                               3 for $10.00
 Diet 7UP Cherry
 A&W Root Beer                                $1.99                               $0.99                         $4.99                               3 for $10.00
 A&W Diet Root Beer                           $1.99                               $0.99                         $4.99                               3 for $10.00
 A&W Cream Soda                               $1.99                               $0.99                         $4.99                               3 for $10.00
 A&W Diet Cream Soda
 Cactus Cooler                                $1.99                               $0.99                         $4.99                               3 for $10.00
 Crush Orange                                 $1.99                               $0.99                         $4.99
 Diet Orange Crush
 Crush Grape                                  $1.99                               $0.99                         $4.99
 Crush Pineapple                                                                  $0.99
 Crush Strawberry                                                                 $0.99                         $4.99
 Dr Pepper                                    $1.99                                                             $6.39                                2 for $9.00
 Diet Dr Pepper                               $1.99                                                             $6.39                                2 for $9.00
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                                                                                               $6.39                                2 for $9.00
 Diet Dr Pepper Cherry                        $1.99                                                             $6.39                                2 for $9.00
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.99                               $0.99                         $4.99                               3 for $10.00
 RC Cola                                      $1.99                               $0.99                         $4.99                               3 for $10.00
 Diet Rite Cola                                                                                                 $4.99                               3 for $10.00
 Schweppes Ginger Ale                          (a)                                $0.99                         $4.99
 Squirt                                       $1.99                               $0.99                         $4.99                               3 for $10.00
 Squirt Diet                                   (a)                                $0.99                         $4.99                               3 for $10.00
 Squirt Ruby Red
 Sunkist Orange                               $1.99                               $0.99                         $4.99                               3 for $10.00
 Diet Sunkist                                 $1.99                               $0.99                         $4.99                               3 for $10.00
 Sunkist Lemonade
 Sunkist Grape                                $1.99                               $0.99                         $4.99                               3 for $10.00
 Sunkist Strawberry                           $1.99                               $0.99                         $4.99                               3 for $10.00
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                     Page 1 of 3
                                Case 5:17-cv-00564-NC        Document 248-1                  Filed 10/09/18      Page 345 of 551


                                                                  Observed Retail Prices
                                                  Super A Foods At 2925 Division St, Los Angeles, CA 90065
                                                                Observed On July 25, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.99                               $0.99                         $4.99
 Brisk Raspberry Iced Tea                                                                                         $4.99
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.99                               $0.99                         $4.99
 Mist TWST                                      $1.99                               $0.99                         $4.99
 Diet Mist TWST
 Mtn Dew                                        $1.99                               $0.99                         $4.99
 Diet Mtn Dew                                   $1.99                               $0.99
 Mtn Dew Code Red                               $1.99                               $0.99
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                               $0.99                         $4.99
 Diet Mug Root Beer
 Pepsi                                          $1.99                               $0.99                         $4.99
 Pepsi-Cola Made With Real Sugar                $1.99                               $0.99                         $4.99
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.99                               $0.99                         $4.99
 Caffeine Free Diet Pepsi                       $1.99                                (b)
 Pepsi Zero Sugar                               $1.99                                (b)
 Pepsi Wild Cherry                              $1.99                               $0.99                         $4.99
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                               $1.99
 Diet Barq's Root Beer
 Coca-Cola                                      $1.99                                                             $6.39                                2 for $9.00
 Caffeine Free Coca-Cola
 Diet Coke                                                                                                        $6.39                                2 for $9.00
 Caffeine Free Diet Coke                                                                                          $6.39                                2 for $9.00
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.99                                                             $6.39                                2 for $9.00
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                    (a)                                 2 for $9.00




                                                                                                                                                                       Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 346 of 551


                                                                                    Observed Retail Prices
                                                                    Super A Foods At 2925 Division St, Los Angeles, CA 90065
                                                                                  Observed On July 25, 2018

                                                                                   2-Liter Bottles                                                               12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                           Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                                                               $6.39                               2 for $9.00
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape                                                      $1.99
 Fanta Strawberry                                                 $1.99                                                                               $6.39                               2 for $9.00
 Fanta Pineapple                                                                                                                                      $6.39                               2 for $9.00
 Fanta Grapefruit                                                 $1.99
 Fanta Mango
 Fresca Original Citrus                                           $1.99
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.99
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade                                        $1.99
 Minute Maid Peach                                                $1.99
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale
 Sprite                                                           $1.99                                                                               $6.39                               2 for $9.00
 Sprite Zero
 TaB

Notes:
(a) The regular price of this product was not displayed.
(b) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 347 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC            Document 248-1                   Filed 10/09/18       Page 348 of 551


                                                                      Observed Retail Prices
                                                          Vons At 311 W Los Feliz Rd, Glendale, CA 91204
                                                                    Observed On July 26, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                        Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Canada Dry Ginger Ale                   $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Canada Dry Ginger Ale And Lemonade           $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                      $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 7UP                                          $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet 7UP                                     $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 7UP Cherry                                   $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet 7UP Cherry                              $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Root Beer                                $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Diet Root Beer                           $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Cream Soda                               $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Diet Cream Soda                                                                                                  $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Cactus Cooler                                $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Crush Orange                                 $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Orange Crush                                                                                                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Crush Grape                                                                                                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Crush Pineapple
 Crush Strawberry                                                                                                     $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Dr Pepper                                    $2.29                                  $1.79                            $6.99                                4 for $13.00
 Diet Dr Pepper                               $2.29                                  $1.79                            $6.99                                4 for $13.00
 Caffeine Free Diet Dr Pepper                                                                                         $6.99                                4 for $13.00
 Dr Pepper Cherry                             $2.29                                  $1.79                            $6.99                                4 for $13.00
 Diet Dr Pepper Cherry                        $2.29                                  $1.79                            $6.99                                4 for $13.00
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $2.29                                3 for $3.99
 RC Cola                                      $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Rite Cola                                                                                                       $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Schweppes Ginger Ale                         $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Squirt                                       $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Squirt Diet                                  $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Squirt Ruby Red                              $2.29                                3 for $3.99
 Sunkist Orange                               $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Sunkist                                 $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Lemonade                             $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Grape                                $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Strawberry                           $2.29                                3 for $3.99                        $6.49                                     (b)
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                               Page 1 of 3
                                   Case 5:17-cv-00564-NC            Document 248-1                   Filed 10/09/18       Page 349 of 551


                                                                          Observed Retail Prices
                                                              Vons At 311 W Los Feliz Rd, Glendale, CA 91204
                                                                        Observed On July 26, 2018

                                                                 2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                              Regular Price                        Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                    $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mist TWST                                                                                                                $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mist TWST                                                                                                           $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew                                          $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mtn Dew                                                                                                             $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Code Red
 Mtn Dew ICE                                                                                                              $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                        $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Voltage
 Mug Root Beer                                    $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mug Root Beer                                                                                                       $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi                                            $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi-Cola Made With Real Sugar                  $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Caffeine Free Pepsi                                                                                                      $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Pepsi                                       $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Caffeine Free Diet Pepsi                         $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Zero Sugar                                 $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Wild Cherry                                $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Pepsi Wild Cherry                           $2.29                            $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Zero Sugar Wild Cherry                                                                                             $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer                                                                                                    $6.99                                4 for $13.00
 Coca-Cola                                        $2.29                                  $1.79                            $6.99                                4 for $13.00
 Caffeine Free Coca-Cola                                                                                                  $6.99                                4 for $13.00
 Diet Coke                                        $2.29                                  $1.79                            $6.99                                4 for $13.00
 Caffeine Free Diet Coke                          $2.29                                  $1.79                            $6.99                                4 for $13.00
 Diet Coke With Splenda                                                                                                   $6.99                                4 for $13.00
 Coca-Cola Zero Sugar                             $2.29                                  $1.79                            $6.99                                4 for $13.00
 Caffeine Free Coca-Cola Zero Sugar               $2.29                                  $1.79                            $6.99                                4 for $13.00
 Coca-Cola Cherry                                 $2.29                                  $1.79                            $6.99                                4 for $13.00
 Coca-Cola Cherry Zero                                                                                                    $6.99                                4 for $13.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                        $6.99                                4 for $13.00
 Coca-Cola Vanilla Zero                                                                                                   $6.99                                4 for $13.00
 Coca-Cola Life




                                                                                                                                                                                   Page 2 of 3
                                     Case 5:17-cv-00564-NC                           Document 248-1                     Filed 10/09/18                Page 350 of 551


                                                                                         Observed Retail Prices
                                                                             Vons At 311 W Los Feliz Rd, Glendale, CA 91204
                                                                                       Observed On July 26, 2018

                                                                                 2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                              $6.99                              4 for $13.00
 Diet Coke Ginger Lime                                                                                                                                $6.99                              4 for $13.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Fanta Zero Sugar Orange                                          $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Fanta Berry
 Fanta Grape                                                      $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Fanta Strawberry                                                 $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Fanta Pineapple                                                                                                                                      $6.99                              4 for $13.00
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Fresca Peach Citrus                                                                                                                                  $6.99                              4 for $13.00
 Fresca Black Cherry Citrus                                                                                                                           $6.99                              4 for $13.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Minute Maid Light Lemonade                                                                                                                           $6.99                              4 for $13.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                $2.29                                     $1.79
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                 $6.99                              4 for $13.00
 Sprite                                                           $2.29                                     $1.79                                     $6.99                              4 for $13.00
 Sprite Zero                                                      $2.29                                     $1.79                                     $6.99                              4 for $13.00
 TaB                                                                                                                                                  $6.99                              4 for $13.00

Notes:
(a) For this product, there also was a digital coupon of $0.50 off if 4 or more were purchased.
(b) This product's sales price tag appeared to be ripped off. However, other Sunkist products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 351 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC            Document 248-1                   Filed 10/09/18       Page 352 of 551


                                                                      Observed Retail Prices
                                                          Vons At 561 N Glendale Ave, Glendale, CA 91206
                                                                    Observed On July 26, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                        Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Canada Dry Ginger Ale                   $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Canada Dry Ginger Ale And Lemonade           $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                      $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 7UP                                                                                                                  $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet 7UP                                     $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 7UP Cherry                                                                                                           $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet 7UP Cherry                              $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Root Beer                                $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Diet Root Beer                           $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Cream Soda                               $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Diet Cream Soda                                                                                                  $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Cactus Cooler                                $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Crush Orange                                 $2.29                                   $1.49                           $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Orange Crush                                                                                                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $2.29                                  $1.79                            $6.99                                4 for $13.00
 Diet Dr Pepper                               $2.29                                  $1.79                            $6.99                                4 for $13.00
 Caffeine Free Diet Dr Pepper                                                                                         $6.99                                4 for $13.00
 Dr Pepper Cherry                             $2.29                                  $1.79                            $6.99                                4 for $13.00
 Diet Dr Pepper Cherry                        $2.29                                  $1.79                            $6.99                                4 for $13.00
 Dr Pepper TEN                                                                                                        $6.99                                4 for $13.00
 Hawaiian Punch Fruit Juicy Red               $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 RC Cola                                      $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Rite Cola                                                                                                       $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Schweppes Ginger Ale                         $2.29                                   $1.49                           $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Squirt                                       $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Squirt Diet                                  $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Squirt Ruby Red                              $2.29                                3 for $3.99
 Sunkist Orange                               $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Sunkist                                 $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Lemonade                             $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Grape                                $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Strawberry                           $2.29                                3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                               Page 1 of 3
                                   Case 5:17-cv-00564-NC            Document 248-1                 Filed 10/09/18       Page 353 of 551


                                                                          Observed Retail Prices
                                                              Vons At 561 N Glendale Ave, Glendale, CA 91206
                                                                        Observed On July 26, 2018

                                                                 2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                              Regular Price                        Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                          $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mtn Dew                                     $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Code Red                                                                                                       $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew ICE                                      $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                      $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Voltage
 Mug Root Beer                                    $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mug Root Beer                                                                                                     $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi                                            $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi-Cola Made With Real Sugar                  $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Caffeine Free Pepsi                                                                                                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Pepsi                                       $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Caffeine Free Diet Pepsi                         $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Zero Sugar                                 $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Wild Cherry                                $2.29                                  $1.49
 Diet Pepsi Wild Cherry                           $2.29                                  $1.49                          $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Zero Sugar Wild Cherry                     $2.29                                  $1.49
 Pepsi Cherry Vanilla                                                                                                   $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)

The Coca-Cola Company
 Barq's Root Beer                                                                                                       $6.99                                4 for $13.00
 Diet Barq's Root Beer                                                                                                  $6.99                                4 for $13.00
 Coca-Cola                                        $2.29                                  $1.79                          $6.99                                4 for $13.00
 Caffeine Free Coca-Cola
 Diet Coke                                        $2.29                                  $1.79                          $6.99                                4 for $13.00
 Caffeine Free Diet Coke                          $2.29                                  $1.79                          $6.99                                4 for $13.00
 Diet Coke With Splenda                                                                                                 $6.99                                4 for $13.00
 Coca-Cola Zero Sugar                             $2.29                                  $1.79                          $6.99                                4 for $13.00
 Caffeine Free Coca-Cola Zero Sugar               $2.29                                  $1.79                          $6.99                                4 for $13.00
 Coca-Cola Cherry                                 $2.29                                  $1.79                          $6.99                                4 for $13.00
 Coca-Cola Cherry Zero                                                                                                  $6.99                                4 for $13.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                      $6.99                                4 for $13.00
 Coca-Cola Vanilla Zero                                                                                                 $6.99                                4 for $13.00
 Coca-Cola Life                                                                                                         $6.99                                4 for $13.00




                                                                                                                                                                                 Page 2 of 3
                                      Case 5:17-cv-00564-NC                           Document 248-1                Filed 10/09/18       Page 354 of 551


                                                                                         Observed Retail Prices
                                                                             Vons At 561 N Glendale Ave, Glendale, CA 91206
                                                                                       Observed On July 26, 2018

                                                                                  2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                 $6.99                               4 for $13.00
 Diet Coke Ginger Lime                                                                                                                   $6.99                               4 for $13.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                      $2.29                                  $1.79                          $6.99                               4 for $13.00
 Fanta Zero Sugar Orange                                           $2.29                                  $1.79                          $6.99                               4 for $13.00
 Fanta Berry
 Fanta Grape                                                       $2.29                                  $1.79                          $6.99                               4 for $13.00
 Fanta Strawberry                                                  $2.29                                  $1.79                          $6.99                               4 for $13.00
 Fanta Pineapple                                                                                                                         $6.99                               4 for $13.00
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                            $2.29                                  $1.79                          $6.99                               4 for $13.00
 Fresca Peach Citrus                                                                                                                     $6.99                               4 for $13.00
 Fresca Black Cherry Citrus                                                                                                              $6.99                               4 for $13.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                              $2.29                                  $1.79                          $6.99                               4 for $13.00
 Minute Maid Light Lemonade                                                                                                              $6.99                               4 for $13.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                 $2.29                                  $1.79                          $6.99                               4 for $13.00
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                    $6.99                               4 for $13.00
 Sprite                                                            $2.29                                  $1.79                          $6.99                               4 for $13.00
 Sprite Zero                                                       $2.29                                  $1.79                          $6.99                               4 for $13.00
 TaB                                                                                                                                     $6.99                               4 for $13.00

Note:
(a) For this product, there also was a digital coupon of $0.50 off if 4 or more were purchased.




                                                                                                                                                                                              Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 355 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC           Document 248-1                    Filed 10/09/18      Page 356 of 551


                                                                    Observed Retail Prices
                                                      Vons At 1342 N Alvarado St, Los Angeles, CA 90026
                                                                 Observed On July 16, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                       Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Diet Canada Dry Ginger Ale                   $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Ginger Ale And Lemonade           $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                     $6.49                        3 for $9.99 (or $4.49 each)
 7UP                                          $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Diet 7UP                                     $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 7UP Cherry                                   $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Diet 7UP Cherry                                                                                                     $6.49                        3 for $9.99 (or $4.49 each)
 A&W Root Beer                                $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 A&W Diet Root Beer                           $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 A&W Cream Soda                               $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 A&W Diet Cream Soda                                                                                                 $6.49                                     (a)
 Cactus Cooler                                $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Crush Orange                                 $2.29                            1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Diet Orange Crush                                                                                                   $6.49                        3 for $12.00 (or $5.49 each)
 Crush Grape
 Crush Pineapple
 Crush Strawberry                             $2.29                            1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Dr Pepper                                    $2.29                                  $1.79                           $6.99                                3 for $14.00
 Diet Dr Pepper                               $2.29                                  $1.79                           $6.99                                3 for $14.00
 Caffeine Free Diet Dr Pepper                                                                                        $6.99                                3 for $14.00
 Dr Pepper Cherry                             $2.29                                  $1.79                           $6.99                                3 for $14.00
 Diet Dr Pepper Cherry                        $2.29                                  $1.79                           $6.99                                3 for $14.00
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 RC Cola                                      $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Diet Rite Cola
 Schweppes Ginger Ale                         $2.29                            1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Squirt                                       $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Squirt Diet                                  $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Squirt Ruby Red                                                                                                     $6.49                        3 for $9.99 (or $4.49 each)
 Sunkist Orange                               $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Diet Sunkist                                 $2.29                               3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Sunkist Lemonade                             $2.29                               3 for $3.99
 Sunkist Grape                                $2.29                               3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Strawberry                                                                                                  $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                             Page 1 of 3
                                Case 5:17-cv-00564-NC           Document 248-1                   Filed 10/09/18      Page 357 of 551


                                                                      Observed Retail Prices
                                                        Vons At 1342 N Alvarado St, Los Angeles, CA 90026
                                                                   Observed On July 16, 2018

                                                              2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                            Regular Price                       Promotional Price                 Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                                 $6.49                        3 for $12.00 (or $5.49 each)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                  $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Mist TWST                                      $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mist TWST                                                                                                       $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew                                        $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mtn Dew                                   $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Code Red                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew ICE                                    $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Baja Blast                                                                                                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mug Root Beer
 Pepsi                                          $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi-Cola Made With Real Sugar                $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Pepsi                                                                                                  $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi                                     $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Diet Pepsi                                                                                             $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Wild Cherry                              $2.29                            1.49 each if buy 3                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi Wild Cherry                                                                                               $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                     $6.99                               3 for $14.00
 Diet Barq's Root Beer                                                                                                $6.99                               3 for $14.00
 Coca-Cola                                      $2.29                                  $1.79                          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola
 Diet Coke                                      $2.29                                  $1.79                          $6.99                               3 for $14.00
 Caffeine Free Diet Coke                        $2.29                                  $1.79                          $6.99                               3 for $14.00
 Diet Coke With Splenda                                                                                               $6.99                               3 for $14.00
 Coca-Cola Zero Sugar                           $2.29                                  $1.79                          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola Zero Sugar             $2.29                                  $1.79                          $6.99                               3 for $14.00
 Coca-Cola Cherry                               $2.29                                  $1.79                          $6.99                               3 for $14.00
 Coca-Cola Cherry Zero                                                                                                $6.99                               3 for $14.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                    $6.99                               3 for $14.00
 Coca-Cola Vanilla Zero                                                                                               $6.99                               3 for $14.00
 Coca-Cola Life




                                                                                                                                                                              Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                     Filed 10/09/18                Page 358 of 551


                                                                                        Observed Retail Prices
                                                                          Vons At 1342 N Alvarado St, Los Angeles, CA 90026
                                                                                     Observed On July 16, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                               $6.99                                   (b)
 Diet Coke Ginger Lime                                                                                                                                 $6.99                              3 for $14.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29                                      $1.79
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape                                                      $2.29                                      $1.79
 Fanta Strawberry                                                 $2.29                                      $1.79
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                                      $1.79                                     $6.99                              3 for $14.00
 Fresca Peach Citrus                                                                                                                                   $6.99                              3 for $14.00
 Fresca Black Cherry Citrus                                                                                                                            $6.99                              3 for $14.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                                      $1.79                                     $6.99                              3 for $14.00
 Minute Maid Light Lemonade                                                                                                                            $6.99                              3 for $14.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                $2.29                                      $1.79
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                  $6.99                              3 for $14.00
 Sprite                                                           $2.29                                      $1.79                                     $6.99                              3 for $14.00
 Sprite Zero                                                      $2.29                                      $1.79                                     $6.99                              3 for $14.00
 TaB

Notes:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.
(b) This product's sales price tag appeared to be ripped off. However, other Coca-Cola products with the same regular price were observed with a sales price.




                                                                                                                                                                                                           Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 359 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                   Filed 10/09/18      Page 360 of 551


                                                                 Observed Retail Prices
                                                  Vons At 3118 S Sepulveda Blvd, Los Angeles, CA 90034
                                                               Observed On July 18, 2018

                                                          2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                 Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Canada Dry Ginger Ale                   $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Ginger Ale And Lemonade           $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet 7UP                                     $2.29                  $0.89 each if buy 5 (or $1.99 each)
 7UP Cherry                                                                                                       $6.49                         3 for $9.99 (or $4.49 each)
 Diet 7UP Cherry                                                                                                  $6.49                         3 for $9.99 (or $4.49 each)
 A&W Root Beer                                $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 A&W Diet Root Beer                           $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 A&W Cream Soda
 A&W Diet Cream Soda                                                                                              $6.49                         3 for $9.99 (or $4.49 each)
 Cactus Cooler
 Crush Orange                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Diet Orange Crush                                                                                                $6.49                        3 for $12.00 (or $5.49 each)
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                                                                                        $6.99                                3 for $14.00
 Diet Dr Pepper                               $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola                                      $2.29                  $0.89 each if buy 5 (or $1.99 each)
 Diet Rite Cola
 Schweppes Ginger Ale                                                                                             $6.49                        3 for $12.00 (or $5.49 each)
 Squirt                                       $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Sunkist                                 $2.29                  $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Lemonade                                                                                                 $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda                     $2.49                  $0.89 each if buy 5 (or $1.99 each)




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                   Filed 10/09/18      Page 361 of 551


                                                                   Observed Retail Prices
                                                    Vons At 3118 S Sepulveda Blvd, Los Angeles, CA 90034
                                                                 Observed On July 18, 2018

                                                            2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                 Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                               $6.49                        3 for $12.00 (or $5.49 each)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                        $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mtn Dew                                   $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Code Red
 Mtn Dew ICE                                    $2.29                         $0.89 each if buy 5
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                                                                                      $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mug Root Beer
 Pepsi                                          $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi-Cola Made With Real Sugar
 Caffeine Free Pepsi                                                                                                $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi                                     $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Diet Pepsi                       $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar                                                                                                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Wild Cherry                                                                                                  $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi Wild Cherry                         $2.29                         $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar Wild Cherry                                                                                       $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                   $6.99                               3 for $14.00
 Diet Barq's Root Beer
 Coca-Cola                                      $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola
 Diet Coke                                      $2.29                  $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Diet Coke                        $2.29                  $0.89 each if buy 5 (or $1.79 each)
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                                                                                               $6.99                               3 for $14.00
 Caffeine Free Coca-Cola Zero Sugar                                                                                 $6.99                               3 for $14.00
 Coca-Cola Cherry
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                  $6.99                               3 for $14.00
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                            Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                   Filed 10/09/18      Page 362 of 551


                                                                  Observed Retail Prices
                                                   Vons At 3118 S Sepulveda Blvd, Los Angeles, CA 90034
                                                                Observed On July 18, 2018

                                                           2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price                 Regular Price                        Promotional Price

Diet Coke Feisty Cherry                                                                                            $6.99                               3 for $14.00
Diet Coke Ginger Lime                                                                                              $6.99                               3 for $14.00
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $2.29                  $0.89 each if buy 5 (or $1.79 each)
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape
Fanta Strawberry
Fanta Pineapple
Fanta Grapefruit
Fanta Mango
Fresca Original Citrus                                                                                             $6.99                               3 for $14.00
Fresca Peach Citrus                                                                                                $6.99                               3 for $14.00
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade
Minute Maid Light Lemonade
Minute Maid Pink Lemonade
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale                                                                                               $6.99                               3 for $14.00
Sprite                                                                                                             $6.99                               3 for $14.00
Sprite Zero                                                                                                        $6.99                               3 for $14.00
TaB




                                                                                                                                                                        Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 363 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC             Document 248-1                   Filed 10/09/18      Page 364 of 551


                                                                     Observed Retail Prices
                                                          Vons At 3461 W 3rd St, Los Angeles, CA 90020
                                                                   Observed On July 19, 2018

                                                              2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                          Regular Price                         Promotional Price                 Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Canada Dry Ginger Ale                   $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Ginger Ale And Lemonade           $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                      $6.49                         3 for $9.99 (or $4.49 each)
 7UP                                          $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet 7UP                                     $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 7UP Cherry                                   $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet 7UP Cherry                              $2.29                                  3 for $3.99                      $6.49                         3 for $9.99 (or $4.49 each)
 A&W Root Beer                                $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 A&W Diet Root Beer                           $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 A&W Cream Soda                               $2.29                      $0.89 each if buy 5 (or $1.99 each)
 A&W Diet Cream Soda                                                                                                  $6.49                                     (a)
 Cactus Cooler                                $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Crush Orange                                 $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Orange Crush                                                                                                    $6.49                        3 for $12.00 (or $5.49 each)
 Crush Grape                                                                                                          $6.49                        3 for $12.00 (or $5.49 each)
 Crush Pineapple
 Crush Strawberry                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Dr Pepper                                    $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Diet Dr Pepper                               $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Caffeine Free Diet Dr Pepper                                                                                         $6.99                                3 for $14.00
 Dr Pepper Cherry                             $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Diet Dr Pepper Cherry                        $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                                3 for $14.00
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                        3 for $9.99 (or $4.49 each)
 RC Cola                                      $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Rite Cola                                                                                                       $6.49                        3 for $9.99 (or $4.49 each)
 Schweppes Ginger Ale                         $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Squirt                                       $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Squirt Diet                                  $2.29                      $0.89 each if buy 5 (or $1.99 each)
 Squirt Ruby Red
 Sunkist Orange                               $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Diet Sunkist                                 $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Lemonade                             $2.29                      $0.89 each if buy 5 (or $1.99 each)
 Sunkist Grape                                $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Strawberry                           $2.29                      $0.89 each if buy 5 (or $1.99 each)          $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Pineapple
 Vernors Ginger Soda                          $2.49                      $0.89 each if buy 5 (or $1.99 each)
 Vernors Diet Ginger Soda                     $2.49                      $0.89 each if buy 5 (or $1.99 each)




                                                                                                                                                                              Page 1 of 3
                                Case 5:17-cv-00564-NC             Document 248-1                   Filed 10/09/18      Page 365 of 551


                                                                       Observed Retail Prices
                                                            Vons At 3461 W 3rd St, Los Angeles, CA 90020
                                                                     Observed On July 19, 2018

                                                                2-Liter Bottles                                                     12 Packs of 12-Oz. Cans
                                            Regular Price                         Promotional Price                 Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                  $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Mist TWST                                                                                                              $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mist TWST
 Mtn Dew                                        $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mtn Dew                                   $2.29                             $0.89 each if buy 5
 Mtn Dew Code Red                                                                                                       $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew ICE                                    $2.29                             $0.89 each if buy 5
 Mtn Dew Baja Blast                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Throwback                                                                                                      $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Voltage
 Mug Root Beer                                  $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mug Root Beer                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi                                          $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi-Cola Made With Real Sugar                $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Pepsi
 Diet Pepsi                                     $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Diet Pepsi                                                                                               $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar                                                                                                       $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Wild Cherry                              $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi Wild Cherry                                                                                                 $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar Wild Cherry                   $2.29                             $0.89 each if buy 5                   $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                                                                                                       $6.99                               3 for $14.00
 Diet Barq's Root Beer                                                                                                  $6.99                               3 for $14.00
 Coca-Cola                                      $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola
 Diet Coke                                      $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Diet Coke                        $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola Zero Sugar             $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Coca-Cola Cherry                               $2.29                      $0.89 each if buy 5 (or $1.79 each)          $6.99                               3 for $14.00
 Coca-Cola Cherry Zero                                                                                                  $6.99                               3 for $14.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                      $6.99                               3 for $14.00
 Coca-Cola Vanilla Zero                                                                                                 $6.99                               3 for $14.00
 Coca-Cola Life



                                                                                                                                                                               Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 366 of 551


                                                                                        Observed Retail Prices
                                                                             Vons At 3461 W 3rd St, Los Angeles, CA 90020
                                                                                      Observed On July 19, 2018

                                                                                  2-Liter Bottles                                                                12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                              $6.99                              3 for $14.00
 Diet Coke Ginger Lime                                                                                                                                $6.99                              3 for $14.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29                      $0.89 each if buy 5 (or $1.79 each)                      $6.99                              3 for $14.00
 Fanta Zero Sugar Orange                                          $2.29                      $0.89 each if buy 5 (or $1.79 each)                      $6.99                              3 for $14.00
 Fanta Berry
 Fanta Grape                                                      $2.29                      $0.89 each if buy 5 (or $1.79 each)                      $6.99                              3 for $14.00
 Fanta Strawberry                                                                                                                                     $6.99                              3 for $14.00
 Fanta Pineapple                                                                                                                                      $6.99                              3 for $14.00
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $2.29                      $0.89 each if buy 5 (or $1.79 each)
 Fresca Peach Citrus                                                                                                                                  $6.99                              3 for $14.00
 Fresca Black Cherry Citrus                                                                                                                           $6.99                              3 for $14.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                      $0.89 each if buy 5 (or $1.79 each)                      $6.99                              3 for $14.00
 Minute Maid Light Lemonade                                                                                                                           $6.99                              3 for $14.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                $2.29                      $0.89 each if buy 5 (or $1.79 each)
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                 $6.99                              3 for $14.00
 Sprite                                                           $2.29                      $0.89 each if buy 5 (or $1.79 each)                      $6.99                              3 for $14.00
 Sprite Zero                                                      $2.29                      $0.89 each if buy 5 (or $1.79 each)                      $6.99                              3 for $14.00
 TaB                                                                                                                                                  $6.99                              3 for $14.00

Note:
(a) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 367 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 368 of 551


                                                                  Observed Retail Prices
                                                      Vons At 4520 Sunset Blvd, Los Angeles, CA 90027
                                                                Observed On July 16, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Diet Canada Dry Ginger Ale                   $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Ginger Ale And Lemonade           $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                    $6.49                        3 for $9.99 (or $4.49 each)
 7UP                                          $2.29                              3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Diet 7UP                                     $2.29                              3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 7UP Cherry                                   $2.29                              3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Diet 7UP Cherry                              $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 A&W Root Beer                                                                                                      $6.49                        3 for $9.99 (or $4.49 each)
 A&W Diet Root Beer                                                                                                 $6.49                        3 for $9.99 (or $4.49 each)
 A&W Cream Soda                                                                                                     $6.49                        3 for $9.99 (or $4.49 each)
 A&W Diet Cream Soda                                                                                                $6.49                        3 for $9.99 (or $4.49 each)
 Cactus Cooler                                $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Crush Orange                                 $2.29                          $1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Diet Orange Crush                                                                                                  $6.49                        3 for $12.00 (or $5.49 each)
 Crush Grape                                  $2.29                          $1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Crush Pineapple
 Crush Strawberry                             $2.29                          $1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Dr Pepper                                    $2.29                                $1.79                            $6.99                                3 for $14.00
 Diet Dr Pepper                               $2.29                                $1.79                            $6.99                                3 for $14.00
 Caffeine Free Diet Dr Pepper                                                                                       $6.99                                3 for $14.00
 Dr Pepper Cherry                             $2.29                                $1.79                            $6.99                                3 for $14.00
 Diet Dr Pepper Cherry                        $2.29                                $1.79                            $6.99
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $2.29                              3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 RC Cola                                      $2.29                              3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Diet Rite Cola                                                                                                     $6.49                        3 for $9.99 (or $4.49 each)
 Schweppes Ginger Ale                         $2.29                          $1.49 each if buy 3                    $6.49                        3 for $12.00 (or $5.49 each)
 Squirt                                       $2.29                              3 for $3.99                        $6.49                        3 for $9.99 (or $4.49 each)
 Squirt Diet                                  $2.29                              3 for $3.99
 Squirt Ruby Red                              $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Orange                               $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Diet Sunkist                                 $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Lemonade                             $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Grape                                $2.29                              3 for $3.99
 Sunkist Strawberry                           $2.29                              3 for $3.99                        $6.49                         3 for $9.99 (or $4.49 each)
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                            Page 1 of 3
                                Case 5:17-cv-00564-NC          Document 248-1                  Filed 10/09/18      Page 369 of 551


                                                                    Observed Retail Prices
                                                        Vons At 4520 Sunset Blvd, Los Angeles, CA 90027
                                                                  Observed On July 16, 2018

                                                             2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                            Regular Price                      Promotional Price                Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                               $6.49                        3 for $12.00 (or $5.49 each)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                  $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Mist TWST                                                                                                          $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mist TWST                                                                                                     $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew                                        $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mtn Dew                                   $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Code Red                                                                                                   $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew ICE                                    $2.29                          $1.49 each if buy 3
 Mtn Dew Baja Blast                                                                                                 $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Throwback                                                                                                  $6.49                        3 for $12.00 (or $5.49 each)
 Mtn Dew Voltage
 Mug Root Beer                                  $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Diet Mug Root Beer                                                                                                 $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi                                          $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi-Cola Made With Real Sugar                $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Pepsi                                                                                                $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi                                     $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Caffeine Free Diet Pepsi                       $2.29                          $1.49 each if buy 3
 Pepsi Zero Sugar                               $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Wild Cherry                              $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Diet Pepsi Wild Cherry                         $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Zero Sugar Wild Cherry                   $2.29                          $1.49 each if buy 3                  $6.49                        3 for $12.00 (or $5.49 each)
 Pepsi Cherry Vanilla                                                                                               $6.49                        3 for $12.00 (or $5.49 each)

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer                                                                                              $6.99                               3 for $14.00
 Coca-Cola                                      $2.29                                $1.79                          $6.99                               3 for $14.00
 Caffeine Free Coca-Cola                                                                                            $6.99                               3 for $14.00
 Diet Coke                                      $2.29                                $1.79                          $6.99                               3 for $14.00
 Caffeine Free Diet Coke                        $2.29                                $1.79                          $6.99                               3 for $14.00
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $2.29                                 (a)                           $6.99                               3 for $14.00
 Caffeine Free Coca-Cola Zero Sugar             $2.29                                $1.79                          $6.99                               3 for $14.00
 Coca-Cola Cherry                               $2.29                                $1.79                          $6.99                               3 for $14.00
 Coca-Cola Cherry Zero                                                                                              $6.99                               3 for $14.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                  $6.99                               3 for $14.00
 Coca-Cola Vanilla Zero                                                                                             $6.99                               3 for $14.00
 Coca-Cola Life




                                                                                                                                                                            Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 370 of 551


                                                                                      Observed Retail Prices
                                                                          Vons At 4520 Sunset Blvd, Los Angeles, CA 90027
                                                                                    Observed On July 16, 2018

                                                                                 2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                              $6.99                              3 for $14.00
 Diet Coke Ginger Lime                                                                                                                                $6.99                              3 for $14.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $2.29                                     $1.79
 Fanta Zero Sugar Orange                                          $2.29                                     $1.79
 Fanta Berry
 Fanta Grape                                                      $2.29                                     $1.79
 Fanta Strawberry                                                 $2.29                                     $1.79
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                                                                                                               $6.99                              3 for $14.00
 Fresca Peach Citrus                                                                                                                                  $6.99                              3 for $14.00
 Fresca Black Cherry Citrus                                                                                                                           $6.99                              3 for $14.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $2.29                                     $1.79                                     $6.99                              3 for $14.00
 Minute Maid Light Lemonade                                                                                                                           $6.99                              3 for $14.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                $2.29                                     $1.79
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                                 $6.99                              3 for $14.00
 Sprite                                                           $2.29                                     $1.79                                     $6.99                              3 for $14.00
 Sprite Zero                                                      $2.29                                     $1.79                                     $6.99                              3 for $14.00
 TaB                                                                                                                                                  $6.99                              3 for $14.00

Note:
(a) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 371 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                               Case 5:17-cv-00564-NC          Document 248-1                   Filed 10/09/18       Page 372 of 551


                                                                   Observed Retail Prices
                                                      Vons At 7311 N Figueroa St, Los Angeles, CA 90041
                                                                 Observed On July 25, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Canada Dry Ginger Ale                   $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Canada Dry Ginger Ale And Lemonade           $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale                                                                                    $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 7UP                                          $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet 7UP                                     $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 7UP Cherry                                   $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet 7UP Cherry                              $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Root Beer                                $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Diet Root Beer                           $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Cream Soda                               $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 A&W Diet Cream Soda                                                                                                $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Cactus Cooler                                $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Crush Orange                                 $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Orange Crush                                                                                                  $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Crush Grape                                  $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Crush Pineapple
 Crush Strawberry                                                                                                   $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Dr Pepper                                    $2.29                                $1.79                            $6.99                                4 for $13.00
 Diet Dr Pepper                               $2.29                                $1.79                            $6.99                                4 for $13.00
 Caffeine Free Diet Dr Pepper                                                                                       $6.99                                4 for $13.00
 Dr Pepper Cherry                             $2.29                                $1.79                            $6.99                                4 for $13.00
 Diet Dr Pepper Cherry                                                                                              $6.99                                4 for $13.00
 Dr Pepper TEN                                                                                                      $6.99                                4 for $13.00
 Hawaiian Punch Fruit Juicy Red                                                                                     $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 RC Cola                                      $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Rite Cola                                                                                                     $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Schweppes Ginger Ale                         $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Squirt                                       $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Squirt Diet                                  $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Squirt Ruby Red                                                                                                    $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Orange                               $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Diet Sunkist                                 $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Lemonade                             $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Grape                                $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Strawberry                           $2.29                              3 for $3.99                        $6.49                     $2.99 each if buy 4 (or $4.49 each) (a)
 Sunkist Pineapple
 Vernors Ginger Soda                          $2.49                              3 for $3.99
 Vernors Diet Ginger Soda                     $2.49                              3 for $3.99




                                                                                                                                                                             Page 1 of 3
                                   Case 5:17-cv-00564-NC          Document 248-1                   Filed 10/09/18       Page 373 of 551


                                                                       Observed Retail Prices
                                                          Vons At 7311 N Figueroa St, Los Angeles, CA 90041
                                                                     Observed On July 25, 2018

                                                               2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                              Regular Price                      Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                             $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                    $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mist TWST                                                                                                              $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mist TWST                                                                                                         $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew                                          $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mtn Dew                                     $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Code Red                                                                                                       $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew ICE                                                                                                            $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Baja Blast                                                                                                     $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Throwback                                                                                                      $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Mtn Dew Voltage
 Mug Root Beer                                    $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Mug Root Beer                                                                                                     $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi                                            $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi-Cola Made With Real Sugar                  $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Caffeine Free Pepsi                                                                                                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Pepsi                                       $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Caffeine Free Diet Pepsi                         $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Zero Sugar                                 $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Wild Cherry                                $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Diet Pepsi Wild Cherry                           $2.29                          $1.49 each if buy 3                    $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Zero Sugar Wild Cherry                                                                                           $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)
 Pepsi Cherry Vanilla                                                                                                   $6.49                     $2.99 each if buy 4 (or $5.49 each) (a)

The Coca-Cola Company
 Barq's Root Beer                                                                                                       $6.99                                4 for $13.00
 Diet Barq's Root Beer                                                                                                  $6.99                                4 for $13.00
 Coca-Cola                                        $2.29                                $1.79                            $6.99                                4 for $13.00
 Caffeine Free Coca-Cola                                                                                                $6.99                                4 for $13.00
 Diet Coke                                        $2.29                                $1.79                            $6.99                                4 for $13.00
 Caffeine Free Diet Coke                          $2.29                                $1.79                            $6.99                                4 for $13.00
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                             $2.29                                $1.79                            $6.99                                4 for $13.00
 Caffeine Free Coca-Cola Zero Sugar               $2.29                                $1.79                            $6.99                                4 for $13.00
 Coca-Cola Cherry                                 $2.29                                $1.79                            $6.99                                4 for $13.00
 Coca-Cola Cherry Zero                                                                                                  $6.99                                4 for $13.00
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                      $6.99                                4 for $13.00
 Coca-Cola Vanilla Zero                                                                                                 $6.99                                4 for $13.00
 Coca-Cola Life




                                                                                                                                                                                 Page 2 of 3
                                      Case 5:17-cv-00564-NC                           Document 248-1                Filed 10/09/18       Page 374 of 551


                                                                                        Observed Retail Prices
                                                                           Vons At 7311 N Figueroa St, Los Angeles, CA 90041
                                                                                      Observed On July 25, 2018

                                                                                  2-Liter Bottles                                                    12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                 $6.99                               4 for $13.00
 Diet Coke Ginger Lime                                                                                                                   $6.99                               4 for $13.00
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                      $2.29                                  $1.79
 Fanta Zero Sugar Orange                                           $2.29                                  $1.79
 Fanta Berry
 Fanta Grape                                                       $2.29                                  $1.79
 Fanta Strawberry                                                  $2.29                                  $1.79
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                            $2.29                                  $1.79                          $6.99                               4 for $13.00
 Fresca Peach Citrus                                                                                                                     $6.99                               4 for $13.00
 Fresca Black Cherry Citrus                                                                                                              $6.99                               4 for $13.00
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                              $2.29                                  $1.79                          $6.99                               4 for $13.00
 Minute Maid Light Lemonade                                                                                                              $6.99                               4 for $13.00
 Minute Maid Pink Lemonade
 Minute Maid Peach                                                 $2.29                                  $1.79
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                                                                                                    $6.99                               4 for $13.00
 Sprite                                                            $2.29                                  $1.79                          $6.99                               4 for $13.00
 Sprite Zero                                                       $2.29                                  $1.79                          $6.99                               4 for $13.00
 TaB                                                                                                                                     $6.99                               4 for $13.00

Note:
(a) For this product, there also was a digital coupon of $0.50 off if 4 or more were purchased.




                                                                                                                                                                                              Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 375 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC           Document 248-1                    Filed 10/09/18      Page 376 of 551


                                                                    Observed Retail Prices
                                                      Target At 735 S Figueroa St, Los Angeles, CA 90017
                                                                  Observed On July 24, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                       Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                                                                  $5.99
 Diet Canada Dry Ginger Ale                   $1.79                                                                  $5.99
 Canada Dry Ginger Ale And Lemonade           $1.79                                                                  $5.99
 Canada Dry Cranberry Ginger Ale              $1.79
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                                                                  $5.99
 Diet 7UP                                     $1.79                                                                  $5.99
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer                                $1.79                                                                  $5.99
 A&W Diet Root Beer                           $1.79                                                                  $5.99
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler                                                                                                       $5.99
 Crush Orange                                 $1.79                                                                  $5.99
 Diet Orange Crush
 Crush Grape                                  $1.79
 Crush Pineapple                              $1.79
 Crush Strawberry
 Dr Pepper                                    $1.79                               3 for $5.00                        $5.99
 Diet Dr Pepper                               $1.79                               3 for $5.00                        $5.99
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.79                               3 for $5.00                        $5.99
 Diet Dr Pepper Cherry                        $1.79                               3 for $5.00
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.79                                                                  $5.99
 Squirt                                       $1.79                                                                  $5.99
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange                               $1.79                                                                  $5.99
 Diet Sunkist                                 $1.79                                                                  $5.99
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                          Page 1 of 3
                                Case 5:17-cv-00564-NC           Document 248-1                 Filed 10/09/18      Page 377 of 551


                                                                      Observed Retail Prices
                                                        Target At 735 S Figueroa St, Los Angeles, CA 90017
                                                                    Observed On July 24, 2018

                                                              2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                       Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                               $5.49
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                      $1.79
 Diet Mist TWST                                 $1.79
 Mtn Dew                                        $1.79
 Diet Mtn Dew                                   $1.79                                                               $5.99
 Mtn Dew Code Red                               $1.79
 Mtn Dew ICE                                    $1.79
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage                                $1.79
 Mug Root Beer                                  $1.79
 Diet Mug Root Beer
 Pepsi                                          $1.79                                                               $5.99
 Pepsi-Cola Made With Real Sugar                                                                                    $5.99
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.79                                                               $5.99
 Caffeine Free Diet Pepsi                       $1.79
 Pepsi Zero Sugar                                                                                                   $5.99
 Pepsi Wild Cherry                              $1.79
 Diet Pepsi Wild Cherry                         $1.79
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                               $1.99
 Diet Barq's Root Beer                                                                                              $6.29
 Coca-Cola                                      $1.99                                                               $6.29
 Caffeine Free Coca-Cola                                                                                            $6.29
 Diet Coke                                      $1.99                                                               $6.29
 Caffeine Free Diet Coke                        $1.99
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                                                               $6.29
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.99                                                               $6.29
 Coca-Cola Cherry Zero                                                                                              $6.29
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                  $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                     $6.29




                                                                                                                                                                         Page 2 of 3
                               Case 5:17-cv-00564-NC           Document 248-1                 Filed 10/09/18      Page 378 of 551


                                                                     Observed Retail Prices
                                                       Target At 735 S Figueroa St, Los Angeles, CA 90017
                                                                   Observed On July 24, 2018

                                                             2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                           Regular Price                       Promotional Price               Regular Price                        Promotional Price

Diet Coke Feisty Cherry                                                                                            $6.29
Diet Coke Ginger Lime                                                                                              $6.29
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                                                               $6.29
Fanta Zero Sugar Orange
Fanta Berry
Fanta Grape                                    $1.99
Fanta Strawberry                               $1.99                                                               $6.29
Fanta Pineapple                                $1.99
Fanta Grapefruit
Fanta Mango
Fresca Original Citrus                         $1.99                                                               $6.29
Fresca Peach Citrus                                                                                                $6.29
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade                           $1.99                                                               $6.29
Minute Maid Light Lemonade                                                                                         $6.29
Minute Maid Pink Lemonade                      $1.99                                                               $6.29
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale                           $1.99                                                               $6.29
Sprite                                         $1.99                                                               $6.29
Sprite Zero                                    $1.99                                                               $6.29
TaB




                                                                                                                                                                        Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 379 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 380 of 551


                                                                   Observed Retail Prices
                                                      Target At 2195 Galleria Way, Glendale, CA 91210
                                                                 Observed On July 26, 2018

                                                           2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                      Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                              3 for $5.00                        $5.99
 Diet Canada Dry Ginger Ale                   $1.79                              3 for $5.00                        $5.99
 Canada Dry Ginger Ale And Lemonade           $1.79                              3 for $5.00                        $5.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                              3 for $5.00                        $5.99
 Diet 7UP                                     $1.79                              3 for $5.00                        $5.99
 7UP Cherry                                   $1.79                              3 for $5.00                        $5.99
 Diet 7UP Cherry                                                                                                    $5.99
 A&W Root Beer                                $1.79                              3 for $5.00                        $5.99
 A&W Diet Root Beer                           $1.79                              3 for $5.00                        $5.99
 A&W Cream Soda                                                                                                     $5.99
 A&W Diet Cream Soda                                                                                                $5.99
 Cactus Cooler                                $1.79                              3 for $5.00                        $5.99
 Crush Orange                                 $1.79                                  (a)                            $5.99
 Diet Orange Crush                                                                                                  $5.99
 Crush Grape                                  $1.79                              3 for $5.00
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.89                                                                 $6.29
 Diet Dr Pepper                               $1.89                                                                 $6.29
 Caffeine Free Diet Dr Pepper                                                                                       $6.29
 Dr Pepper Cherry                             $1.89                                                                 $6.29
 Diet Dr Pepper Cherry                                                                                              $6.29
 Dr Pepper TEN                                                                                                      $6.29
 Hawaiian Punch Fruit Juicy Red               $1.79                              3 for $5.00                        $5.99
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.79                              3 for $5.00                        $5.99
 Squirt                                       $1.79                              3 for $5.00                        $5.99
 Squirt Diet                                                                                                        $5.99
 Squirt Ruby Red                                                                                                    $5.99
 Sunkist Orange                               $1.79                              3 for $5.00                        $5.99
 Diet Sunkist                                 $1.79                              3 for $5.00                        $5.99
 Sunkist Lemonade
 Sunkist Grape                                                                                                      $5.99
 Sunkist Strawberry                                                                                                 $5.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                         Page 1 of 3
                                Case 5:17-cv-00564-NC          Document 248-1                    Filed 10/09/18      Page 381 of 551


                                                                     Observed Retail Prices
                                                        Target At 2195 Galleria Way, Glendale, CA 91210
                                                                   Observed On July 26, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                      Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.09                                                                 $5.49
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.79                                  (a)                            $5.99
 Mist TWST                                                                                                            $5.99
 Diet Mist TWST                                                                                                       $5.99
 Mtn Dew                                        $1.79                              3 for $5.00                        $5.99
 Diet Mtn Dew                                   $1.79                              3 for $5.00                        $5.99
 Mtn Dew Code Red                               $1.79                              3 for $5.00                        $5.99
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                    $5.99
 Mtn Dew Voltage                                $1.79                              3 for $5.00
 Mug Root Beer                                  $1.79                              3 for $5.00                        $5.99
 Diet Mug Root Beer
 Pepsi                                          $1.79                              3 for $5.00                        $5.99
 Pepsi-Cola Made With Real Sugar                $1.79                              3 for $5.00                        $5.99
 Caffeine Free Pepsi                                                                                                  $5.99
 Diet Pepsi                                     $1.79                              3 for $5.00                        $5.99
 Caffeine Free Diet Pepsi                       $1.79                              3 for $5.00                        $5.99
 Pepsi Zero Sugar                               $1.79                              3 for $5.00                        $5.99
 Pepsi Wild Cherry                              $1.79                              3 for $5.00                        $5.99
 Diet Pepsi Wild Cherry                                                                                               $5.99
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla                                                                                                 $5.99

The Coca-Cola Company
 Barq's Root Beer                                                                                                     $6.29
 Diet Barq's Root Beer
 Coca-Cola                                                                                                            $6.29
 Caffeine Free Coca-Cola                                                                                              $6.29
 Diet Coke                                      $1.99                                                                 $6.29
 Caffeine Free Diet Coke                        $1.99                                                                 $6.29
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                                                                                                 $6.29
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.99                                                                 $6.29
 Coca-Cola Cherry Zero                                                                                                $6.29
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                    $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                       $6.29




                                                                                                                                                                           Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 382 of 551


                                                                                       Observed Retail Prices
                                                                          Target At 2195 Galleria Way, Glendale, CA 91210
                                                                                     Observed On July 26, 2018

                                                                                 2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                              $6.29
 Diet Coke Ginger Lime                                                                                                                                $6.29
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.99                                                                               $6.29
 Fanta Zero Sugar Orange                                                                                                                              $6.29
 Fanta Berry
 Fanta Grape                                                                                                                                          $6.29
 Fanta Strawberry                                                 $1.99                                                                               $6.29
 Fanta Pineapple
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.99                                                                               $6.29
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello                                                                                                                                          $6.29
 Minute Maid Lemonade                                                                                                                                 $6.29
 Minute Maid Light Lemonade                                                                                                                           $6.29
 Minute Maid Pink Lemonade                                                                                                                            $6.29
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                             $1.99                                                                               $6.29
 Sprite                                                           $1.99                                                                               $6.29
 Sprite Zero                                                      $1.99                                                                               $6.29
 TaB

Note:
(a) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 383 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 384 of 551


                                                                  Observed Retail Prices
                                                   Target At 2626 Colorado Blvd, Los Angeles, CA 90041
                                                                Observed On July 26, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                             3 for $5.00                        $5.99
 Diet Canada Dry Ginger Ale                   $1.79                             3 for $5.00                        $5.99
 Canada Dry Ginger Ale And Lemonade           $1.79                             3 for $5.00                        $5.99
 Canada Dry Cranberry Ginger Ale              $1.79                             3 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                             3 for $5.00                        $5.99
 Diet 7UP                                     $1.79                             3 for $5.00                        $5.99
 7UP Cherry                                   $1.79                             3 for $5.00                        $5.99
 Diet 7UP Cherry                              $1.79                             3 for $5.00                        $5.99
 A&W Root Beer                                $1.79                             3 for $5.00                        $5.99
 A&W Diet Root Beer                           $1.79                             3 for $5.00                        $5.99
 A&W Cream Soda                                                                                                    $5.99
 A&W Diet Cream Soda                                                                                               $5.99
 Cactus Cooler                                $1.79                             3 for $5.00                        $5.99
 Crush Orange                                 $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Diet Orange Crush                                                                                                 $5.99                        4 for $12.00 (or $3.99 each)
 Crush Grape                                                                                                       $5.99                        4 for $12.00 (or $3.99 each)
 Crush Pineapple
 Crush Strawberry                                                                                                  $5.99                        4 for $12.00 (or $3.99 each)
 Dr Pepper                                    $1.89                                                                $6.29
 Diet Dr Pepper                               $1.89                                                                $6.29
 Caffeine Free Diet Dr Pepper                                                                                      $6.29
 Dr Pepper Cherry                                                                                                  $6.29
 Diet Dr Pepper Cherry                                                                                             $6.29
 Dr Pepper TEN                                                                                                     $6.29
 Hawaiian Punch Fruit Juicy Red               $1.79                             3 for $5.00                        $5.99
 RC Cola                                                                                                           $5.99
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Squirt                                       $1.79                             3 for $5.00                        $5.99
 Squirt Diet                                                                                                       $5.99
 Squirt Ruby Red
 Sunkist Orange                               $1.79                             3 for $5.00                        $5.99
 Diet Sunkist                                 $1.79                             3 for $5.00                        $5.99
 Sunkist Lemonade
 Sunkist Grape                                                                                                     $5.99
 Sunkist Strawberry                                                                                                $5.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                           Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 385 of 551


                                                                    Observed Retail Prices
                                                     Target At 2626 Colorado Blvd, Los Angeles, CA 90041
                                                                  Observed On July 26, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.09                                                                $5.99                        4 for $12.00 (or $3.99 each)
 Brisk Raspberry Iced Tea                                                                                            $5.99                        4 for $12.00 (or $3.99 each)
 Brisk Strawberry Melon
 Manzanita Sol                                                                       $1.66            (a)            $5.99                        4 for $12.00 (or $3.99 each)
 Mist TWST                                      $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Diet Mist TWST                                                                                                      $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew                                        $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Diet Mtn Dew                                   $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew Code Red                                                                                                    $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew ICE                                                                                                         $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                   $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew Voltage
 Mug Root Beer                                  $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Diet Mug Root Beer                                                                                                  $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi                                          $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi-Cola Made With Real Sugar                $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Caffeine Free Pepsi                                                                                                 $5.99                        4 for $12.00 (or $3.99 each)
 Diet Pepsi                                     $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Caffeine Free Diet Pepsi                       $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Zero Sugar                               $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Wild Cherry                              $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Diet Pepsi Wild Cherry                         $1.79                             3 for $5.00                        $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Zero Sugar Wild Cherry                                                                                        $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Cherry Vanilla                                                                                                $5.99                        4 for $12.00 (or $3.99 each)

The Coca-Cola Company
 Barq's Root Beer                                                                                                    $6.29
 Diet Barq's Root Beer
 Coca-Cola                                                                                                           $6.29
 Caffeine Free Coca-Cola                                                                                             $6.29
 Diet Coke                                      $1.99                                                                $6.29
 Caffeine Free Diet Coke                        $1.99                                                                $6.29
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                                                                $6.29
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.99                                                                $6.29
 Coca-Cola Cherry Zero                                                                                               $6.29
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                      $6.29




                                                                                                                                                                             Page 2 of 3
                                     Case 5:17-cv-00564-NC                             Document 248-1                      Filed 10/09/18      Page 386 of 551


                                                                                         Observed Retail Prices
                                                                          Target At 2626 Colorado Blvd, Los Angeles, CA 90041
                                                                                       Observed On July 26, 2018

                                                                                     2-Liter Bottles                                                        12 Packs of 12-Oz. Cans
                                                               Regular Price                            Promotional Price                   Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                        $6.29
 Diet Coke Ginger Lime                                                                                                                          $6.29
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                       $1.99                                                                       $6.29
 Fanta Zero Sugar Orange                                                                                                                        $6.29
 Fanta Berry
 Fanta Grape                                                                                                                                    $6.29
 Fanta Strawberry                                                                                                                               $6.29
 Fanta Pineapple                                                    $1.99                  (a)
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                                                                                                         $6.29
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello                                                        $1.99                  (a)                                                  $6.29
 Minute Maid Lemonade                                                                                                                           $6.29
 Minute Maid Light Lemonade                                                                                                                     $6.29
 Minute Maid Pink Lemonade                                                                                                                      $6.29
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                               $1.99                  (a)                                                  $6.29
 Sprite                                                             $1.99                                                                       $6.29
 Sprite Zero                                                                                                                                    $6.29
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 387 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 388 of 551


                                                                  Observed Retail Prices
                                                 Target At 3535 S La Cienega Blvd, Los Angeles, CA 90016
                                                                Observed On July 19, 2018

                                                          2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                             3 for $5.00                        $5.99
 Diet Canada Dry Ginger Ale                   $1.79                             3 for $5.00                        $5.99
 Canada Dry Ginger Ale And Lemonade           $1.79                             3 for $5.00                        $5.99
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                             3 for $5.00                        $5.99
 Diet 7UP                                     $1.79                             3 for $5.00                        $5.99
 7UP Cherry                                   $1.79                             3 for $5.00                        $5.99
 Diet 7UP Cherry                              $1.79                             3 for $5.00                        $5.99
 A&W Root Beer                                $1.79                                 (a)                            $5.99
 A&W Diet Root Beer                           $1.79                                 (a)                            $5.99
 A&W Cream Soda                                                                                                    $5.99
 A&W Diet Cream Soda
 Cactus Cooler                                $1.79                             3 for $5.00                        $5.99
 Crush Orange                                 $1.79                             3 for $5.00                        $5.99
 Diet Orange Crush                                                                                                 $5.99
 Crush Grape                                  $1.79                             3 for $5.00                        $5.99
 Crush Pineapple
 Crush Strawberry                             $1.79                                 (a)                            $5.99
 Dr Pepper                                    $1.89                                                                $6.29
 Diet Dr Pepper                               $1.89                                                                $6.29
 Caffeine Free Diet Dr Pepper                                                                                      $6.29
 Dr Pepper Cherry                             $1.89                                                                $6.29
 Diet Dr Pepper Cherry                        $1.89                                                                $6.29
 Dr Pepper TEN                                                                                                     $6.29
 Hawaiian Punch Fruit Juicy Red               $1.79                             3 for $5.00                        $5.99
 RC Cola                                                                                                           $5.99
 Diet Rite Cola                                                                                                    $5.99
 Schweppes Ginger Ale                         $1.79                             3 for $5.00                        $5.99
 Squirt                                       $1.79                             3 for $5.00                        $5.99
 Squirt Diet                                  $1.79                             3 for $5.00                        $5.99
 Squirt Ruby Red                                                                                                   $5.99
 Sunkist Orange                               $1.79                                 (a)                            $5.99
 Diet Sunkist                                 $1.79                                 (a)
 Sunkist Lemonade
 Sunkist Grape                                $1.79                             3 for $5.00                        $5.99
 Sunkist Strawberry                           $1.79                             3 for $5.00                        $5.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                        Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                    Filed 10/09/18      Page 389 of 551


                                                                    Observed Retail Prices
                                                   Target At 3535 S La Cienega Blvd, Los Angeles, CA 90016
                                                                  Observed On July 19, 2018

                                                            2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                                $5.49
 Brisk Raspberry Iced Tea                                                                                            $5.99
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.79                             3 for $5.00                        $5.99
 Mist TWST                                      $1.79                             3 for $5.00                        $5.99
 Diet Mist TWST                                 $1.79                             3 for $5.00                        $5.99
 Mtn Dew                                        $1.79                             3 for $5.00                        $5.99
 Diet Mtn Dew                                   $1.79                             3 for $5.00                        $5.99
 Mtn Dew Code Red
 Mtn Dew ICE                                    $1.79                             3 for $5.00
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                   $5.99
 Mtn Dew Voltage
 Mug Root Beer                                  $1.79                                 (a)                            $5.99
 Diet Mug Root Beer                                                                                                  $5.99
 Pepsi                                          $1.79                             3 for $5.00                        $5.99
 Pepsi-Cola Made With Real Sugar                $1.79                             3 for $5.00                        $5.99
 Caffeine Free Pepsi                                                                                                 $5.99
 Diet Pepsi                                     $1.79                             3 for $5.00                        $5.99
 Caffeine Free Diet Pepsi                       $1.79                             3 for $5.00                        $5.99
 Pepsi Zero Sugar                               $1.79                                 (a)                            $5.99
 Pepsi Wild Cherry                              $1.79                             3 for $5.00                        $5.99
 Diet Pepsi Wild Cherry                         $1.79                             3 for $5.00                        $5.99
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla                                                                                                $5.99

The Coca-Cola Company
 Barq's Root Beer                               $1.89                                                                $6.29
 Diet Barq's Root Beer                                                                                               $6.29
 Coca-Cola                                      $1.89                                                                $6.29
 Caffeine Free Coca-Cola                                                                                             $6.29
 Diet Coke                                      $1.89                                                                $6.29
 Caffeine Free Diet Coke                        $1.89                                                                $6.29
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                                                                                                $6.29
 Caffeine Free Coca-Cola Zero Sugar                                                                                  $6.29
 Coca-Cola Cherry                               $1.89                                                                $6.29
 Coca-Cola Cherry Zero                                                                                               $6.29
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                   $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                      $6.29




                                                                                                                                                                          Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                     Filed 10/09/18                Page 390 of 551


                                                                                      Observed Retail Prices
                                                                     Target At 3535 S La Cienega Blvd, Los Angeles, CA 90016
                                                                                    Observed On July 19, 2018

                                                                                  2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                           Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                               $6.29
 Diet Coke Ginger Lime                                                                                                                                 $6.29
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.89                                                                                $6.29
 Fanta Zero Sugar Orange                                                                                                                               $6.29
 Fanta Berry
 Fanta Grape                                                                                                                                           $6.29
 Fanta Strawberry                                                 $1.89                                                                                $6.29
 Fanta Pineapple                                                                                                                                       $6.29
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                           $1.89                                                                                $6.29
 Fresca Peach Citrus                                                                                                                                   $6.29
 Fresca Black Cherry Citrus                                                                                                                            $6.29
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello                                                                                                                                           $6.29
 Minute Maid Lemonade                                                                                                                                  $6.29
 Minute Maid Light Lemonade                                                                                                                            $6.29
 Minute Maid Pink Lemonade                                                                                                                             $6.29
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                             $1.89                                                                                $6.29
 Sprite                                                           $1.89                                                                                $6.29
 Sprite Zero                                                      $1.89                                                                                $6.29
 TaB

Note:
(a) The sales price tag of this product was bent and therefore not visible. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                           Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 391 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 392 of 551


                                                                  Observed Retail Prices
                                                  Target At 4211 Eagle Rock Blvd, Los Angeles, CA 90065
                                                                Observed On July 26, 2018

                                                          2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                                                             $5.99
 Diet Canada Dry Ginger Ale                                                                                     $5.99
 Canada Dry Ginger Ale And Lemonade
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                                                             $5.99
 Diet 7UP                                                                                                       $5.99
 7UP Cherry                                                                                                     $5.99
 Diet 7UP Cherry                                                                                                $5.99
 A&W Root Beer                                $1.79                                                             $5.99
 A&W Diet Root Beer                                                                                             $5.99
 A&W Cream Soda                                                                                                 $5.99
 A&W Diet Cream Soda                                                                                            $5.99
 Cactus Cooler                                                                                                  $5.99
 Crush Orange                                 $1.99                               $1.79                         $5.99                        4 for $12.00 (or $3.99 each)
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.99                                                             $5.49                                   $4.99
 Diet Dr Pepper                               $1.99                                                             $5.49                                   $4.99
 Caffeine Free Diet Dr Pepper                                                                                   $5.49                                   $4.99
 Dr Pepper Cherry                                                                                               $5.49                                   $4.99
 Diet Dr Pepper Cherry                                                                                          $5.49                                   $4.99
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red                                                                                 $5.99
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99                               $1.79                         $5.99                        4 for $12.00 (or $3.99 each)
 Squirt                                       $1.79                                                             $5.99
 Squirt Diet                                                                                                    $5.99
 Squirt Ruby Red
 Sunkist Orange                               $1.79                                                             $5.99
 Diet Sunkist                                                                                                   $5.99
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                        Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 393 of 551


                                                                    Observed Retail Prices
                                                    Target At 4211 Eagle Rock Blvd, Los Angeles, CA 90065
                                                                  Observed On July 26, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                             $5.99                        4 for $12.00 (or $3.99 each)
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                    $5.99                        4 for $12.00 (or $3.99 each)
 Mist TWST
 Diet Mist TWST
 Mtn Dew                                        $1.99                               $1.79                         $5.99                        4 for $12.00 (or $3.99 each)
 Diet Mtn Dew                                                                                                     $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew Code Red
 Mtn Dew ICE                                                                                                      $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                $5.99                        4 for $12.00 (or $3.99 each)
 Mtn Dew Voltage
 Mug Root Beer                                                                                                    $5.99                        4 for $12.00 (or $3.99 each)
 Diet Mug Root Beer
 Pepsi                                          $1.99                               $1.79                         $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi-Cola Made With Real Sugar                                                                                  $5.99                        4 for $12.00 (or $3.99 each)
 Caffeine Free Pepsi                                                                                              $5.99                        4 for $12.00 (or $3.99 each)
 Diet Pepsi                                     $1.99                               $1.79                         $5.99                        4 for $12.00 (or $3.99 each)
 Caffeine Free Diet Pepsi                                                                                         $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Zero Sugar
 Pepsi Wild Cherry                                                                                                $5.99                        4 for $12.00 (or $3.99 each)
 Diet Pepsi Wild Cherry                                                                                           $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Zero Sugar Wild Cherry                                                                                     $5.99                        4 for $12.00 (or $3.99 each)
 Pepsi Cherry Vanilla                                                                                             $5.99                        4 for $12.00 (or $3.99 each)

The Coca-Cola Company
 Barq's Root Beer                                                                                                 $6.29
 Diet Barq's Root Beer
 Coca-Cola                                      $1.99                                                             $6.29
 Caffeine Free Coca-Cola                                                                                          $6.29
 Diet Coke                                      $1.99                                                             $6.29
 Caffeine Free Diet Coke                        $1.99                                                             $6.29
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                                                             $6.29
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.99                                                             $6.29
 Coca-Cola Cherry Zero                                                                                            $6.29
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                   $6.29




                                                                                                                                                                          Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 394 of 551


                                                                   Observed Retail Prices
                                                   Target At 4211 Eagle Rock Blvd, Los Angeles, CA 90065
                                                                 Observed On July 26, 2018

                                                           2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price               Regular Price                        Promotional Price

Diet Coke Feisty Cherry                                                                                          $6.29
Diet Coke Ginger Lime                                                                                            $6.29
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                                                             $6.29
Fanta Zero Sugar Orange                                                                                          $6.29
Fanta Berry
Fanta Grape
Fanta Strawberry                                                                                                 $6.29
Fanta Pineapple
Fanta Grapefruit
Fanta Mango
Fresca Original Citrus                                                                                           $6.29
Fresca Peach Citrus
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello
Minute Maid Lemonade
Minute Maid Light Lemonade
Minute Maid Pink Lemonade                                                                                        $6.29
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale                           $1.99                                                             $6.29
Sprite                                         $1.99                                                             $6.29
Sprite Zero                                                                                                      $6.29
TaB




                                                                                                                                                                      Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 395 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC            Document 248-1                    Filed 10/09/18      Page 396 of 551


                                                                     Observed Retail Prices
                                                      Target At 5700 Firestone Blvd, South Gate, CA 90280
                                                                   Observed On July 16, 2018

                                                             2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                          Regular Price                        Promotional Price                  Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Diet Canada Dry Ginger Ale                   $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Canada Dry Ginger Ale And Lemonade           $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Canada Dry Cranberry Ginger Ale              $1.79                                3 for $5.00
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Diet 7UP                                                                                                             $5.99                         3 for $10 (or $4.99 each)
 7UP Cherry                                   $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Diet 7UP Cherry                                                                                                      $5.99                         3 for $10 (or $4.99 each)
 A&W Root Beer                                $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 A&W Diet Root Beer                           $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 A&W Cream Soda                                                                                                       $5.99                         3 for $10 (or $4.99 each)
 A&W Diet Cream Soda                                                                                                  $5.99                         3 for $10 (or $4.99 each)
 Cactus Cooler                                $1.79                                3 for $5.00                        $5.99                                    (a)
 Crush Orange                                 $1.79                                3 for $5.00
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.89
 Diet Dr Pepper                               $1.89
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.89
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.79                                3 for $5.00
 RC Cola                                      $1.79                                3 for $5.00                        $5.99                                    (a)
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.79                                3 for $5.00
 Squirt                                       $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Squirt Diet                                                                                                          $5.99                         3 for $10 (or $4.99 each)
 Squirt Ruby Red                                                                                                      $5.99                         3 for $10 (or $4.99 each)
 Sunkist Orange                               $1.79                                3 for $5.00
 Diet Sunkist                                 $1.79                                3 for $5.00
 Sunkist Lemonade
 Sunkist Grape                                $1.79                                3 for $5.00
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                                Page 1 of 3
                                Case 5:17-cv-00564-NC            Document 248-1                    Filed 10/09/18      Page 397 of 551


                                                                       Observed Retail Prices
                                                        Target At 5700 Firestone Blvd, South Gate, CA 90280
                                                                     Observed On July 16, 2018

                                                               2-Liter Bottles                                                      12 Packs of 12-Oz. Cans
                                            Regular Price                        Promotional Price                  Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                                                                                          $5.99                         3 for $10 (or $4.99 each)
 Mist TWST                                      $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Diet Mist TWST                                                                                                         $5.99                         3 for $10 (or $4.99 each)
 Mtn Dew                                        $1.79                                3 for $5.00
 Diet Mtn Dew                                   $1.79                                3 for $5.00
 Mtn Dew Code Red                                                                                                       $5.99                         3 for $10 (or $4.99 each)
 Mtn Dew ICE                                                                                                            $5.99                         3 for $10 (or $4.99 each)
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                      $5.99                         3 for $10 (or $4.99 each)
 Mtn Dew Voltage
 Mug Root Beer                                                                                                          $5.99                         3 for $10 (or $4.99 each)
 Diet Mug Root Beer
 Pepsi                                          $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Pepsi-Cola Made With Real Sugar                $1.79                                3 for $5.00
 Caffeine Free Pepsi                                                                                                    $5.99                         3 for $10 (or $4.99 each)
 Diet Pepsi                                     $1.79                                3 for $5.00
 Caffeine Free Diet Pepsi                       $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Pepsi Zero Sugar                               $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Pepsi Wild Cherry                              $1.79                                3 for $5.00                        $5.99                         3 for $10 (or $4.99 each)
 Diet Pepsi Wild Cherry                                                                                                 $5.99                         3 for $10 (or $4.99 each)
 Pepsi Zero Sugar Wild Cherry                                                                                           $5.99                         3 for $10 (or $4.99 each)
 Pepsi Cherry Vanilla                                                                                                   $5.99                         3 for $10 (or $4.99 each)

The Coca-Cola Company
 Barq's Root Beer                               $1.89                                                                   $6.29
 Diet Barq's Root Beer
 Coca-Cola                                      $1.89                                                                   $6.29
 Caffeine Free Coca-Cola                                                                                                $6.29
 Diet Coke                                      $1.89
 Caffeine Free Diet Coke                        $1.89                                                                   $6.29
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.89                                                                   $6.29
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.89                                                                   $6.29
 Coca-Cola Cherry Zero                                                                                                  $6.29
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                      $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                                  Page 2 of 3
                                    Case 5:17-cv-00564-NC                           Document 248-1                    Filed 10/09/18                Page 398 of 551


                                                                                         Observed Retail Prices
                                                                          Target At 5700 Firestone Blvd, South Gate, CA 90280
                                                                                       Observed On July 16, 2018

                                                                                 2-Liter Bottles                                                                 12 Packs of 12-Oz. Cans
                                                             Regular Price                          Promotional Price                            Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                                              $6.29
 Diet Coke Ginger Lime                                                                                                                                $6.29
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.89                                                                               $6.29
 Fanta Zero Sugar Orange
 Fanta Berry
 Fanta Grape                                                                                                                                          $6.29
 Fanta Strawberry                                                                                                                                     $6.29
 Fanta Pineapple                                                                                                                                      $6.29
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus                                                                                                                               $6.29
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello                                                                                                                                          $6.29
 Minute Maid Lemonade                                                                                                                                 $6.29
 Minute Maid Light Lemonade                                                                                                                           $6.29
 Minute Maid Pink Lemonade                                                                                                                            $6.29
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                             $1.89                                                                               $6.29
 Sprite                                                           $1.89                                                                               $6.29
 Sprite Zero                                                      $1.89                                                                               $6.29
 TaB

Note:
(a) This product did not have a sales price tag displayed. However, similarly situated products with the same regular price were observed with a sales price.




                                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 399 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 400 of 551


                                                                 Observed Retail Prices
                                                  Target At 10861 Weyburn Ave, Los Angeles, CA 90024
                                                               Observed On July 18, 2018

                                                          2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.79                                                             $5.99
 Diet Canada Dry Ginger Ale                   $1.79                                                             $5.99
 Canada Dry Ginger Ale And Lemonade
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                                                                                            $5.99
 Diet 7UP                                                                                                       $5.99
 7UP Cherry                                   $1.79                                                             $5.99
 Diet 7UP Cherry                              $1.79                                                             $5.99
 A&W Root Beer                                $1.79                                                             $5.99
 A&W Diet Root Beer                           $1.79                                                             $5.99
 A&W Cream Soda                                                                                                 $5.99
 A&W Diet Cream Soda                                                                                            $5.99
 Cactus Cooler                                $1.79                                                             $5.99
 Crush Orange                                 $1.99                                                             $5.99
 Diet Orange Crush                                                                                              $5.99
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.89                                                             $6.29
 Diet Dr Pepper                               $1.89                                                             $6.29
 Caffeine Free Diet Dr Pepper                                                                                   $6.29
 Dr Pepper Cherry                             $1.89                                                             $6.29
 Diet Dr Pepper Cherry
 Dr Pepper TEN                                                                                                  $6.29
 Hawaiian Punch Fruit Juicy Red
 RC Cola
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.99                                                             $5.49
 Squirt                                       $1.79                                                             $5.99
 Squirt Diet                                  $1.79                                                             $5.99
 Squirt Ruby Red                                                                                                $5.99
 Sunkist Orange                               $1.79                                                             $5.99
 Diet Sunkist                                 $1.79                                                             $5.99
 Sunkist Lemonade
 Sunkist Grape                                                                                                  $5.99
 Sunkist Strawberry                                                                                             $5.99
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                     Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 401 of 551


                                                                   Observed Retail Prices
                                                    Target At 10861 Weyburn Ave, Los Angeles, CA 90024
                                                                 Observed On July 18, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                                                                                             $5.49
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol
 Mist TWST                                      $1.99                                                             $5.49
 Diet Mist TWST                                                                                                   $5.49
 Mtn Dew                                        $1.99                                                             $5.49
 Diet Mtn Dew                                   $1.99                                                             $5.49
 Mtn Dew Code Red                               $1.99
 Mtn Dew ICE
 Mtn Dew Baja Blast
 Mtn Dew Throwback                                                                                                $5.49
 Mtn Dew Voltage
 Mug Root Beer                                  $1.99                                                             $5.99
 Diet Mug Root Beer
 Pepsi                                          $1.99                                                             $5.99
 Pepsi-Cola Made With Real Sugar                                                                                  $5.99
 Caffeine Free Pepsi                                                                                              $5.99
 Diet Pepsi                                     $1.99                                                             $5.99
 Caffeine Free Diet Pepsi                       $1.99                                                             $5.99
 Pepsi Zero Sugar                               $1.99                                                             $5.99
 Pepsi Wild Cherry                              $1.99                                                             $5.99
 Diet Pepsi Wild Cherry                         $1.99                                                             $5.99
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla                                                                                             $5.99

The Coca-Cola Company
 Barq's Root Beer                               $1.99                                                             $6.29
 Diet Barq's Root Beer                                                                                            $6.29
 Coca-Cola                                      $1.99                                                             $6.29
 Caffeine Free Coca-Cola                                                                                          $6.29
 Diet Coke                                                                                                        $6.29
 Caffeine Free Diet Coke                        $1.99                                                             $6.29
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.99                                                             $6.29
 Caffeine Free Coca-Cola Zero Sugar                                                                               $6.29
 Coca-Cola Cherry                               $1.99                                                             $6.29
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                $6.29
 Coca-Cola Vanilla Zero
 Coca-Cola Life                                                                                                   $6.29




                                                                                                                                                                       Page 2 of 3
                               Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 402 of 551


                                                                  Observed Retail Prices
                                                   Target At 10861 Weyburn Ave, Los Angeles, CA 90024
                                                                Observed On July 18, 2018

                                                           2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                           Regular Price                     Promotional Price               Regular Price                        Promotional Price

Diet Coke Feisty Cherry
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.99                                                             $6.29
Fanta Zero Sugar Orange                                                                                          $6.29
Fanta Berry
Fanta Grape                                                                                                      $6.29
Fanta Strawberry                                                                                                 $6.29
Fanta Pineapple
Fanta Grapefruit
Fanta Mango
Fresca Original Citrus                         $1.99                                                             $6.29
Fresca Peach Citrus
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello                                                                                                      $6.29
Minute Maid Lemonade                                                                                             $6.29
Minute Maid Light Lemonade                                                                                       $6.29
Minute Maid Pink Lemonade                                                                                        $6.29
Minute Maid Peach
Minute Maid Fruit Punch
Pibb Xtra
Seagram's Ginger Ale                           $1.99                                                             $6.29
Sprite                                         $1.99                                                             $6.29
Sprite Zero                                    $1.99                                                             $6.29
TaB




                                                                                                                                                                      Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 403 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 404 of 551


                                                                Observed Retail Prices
                                                  Walmart At 4651 Firestone Blvd, South Gate, CA 90280
                                                               Observed On July 24, 2018

                                                          2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                                                                                          $4.48                                  $3.33
 Diet Canada Dry Ginger Ale                                                                                     $4.48
 Canada Dry Ginger Ale And Lemonade
 Canada Dry Cranberry Ginger Ale              $1.38
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.38             (a)                                             $4.48                 (a)
 Diet 7UP                                     $1.38             (a)                                             $4.48                                  $3.33
 7UP Cherry
 Diet 7UP Cherry
 A&W Root Beer
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler
 Crush Orange                                 $1.00                                                             $3.33
 Diet Orange Crush
 Crush Grape                                  $1.00                                                             $4.68
 Crush Pineapple
 Crush Strawberry                             $1.25
 Dr Pepper                                    $1.00                                                             $4.98
 Diet Dr Pepper                               $1.60                                                             $4.98
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.60
 Diet Dr Pepper Cherry                        $1.60
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.00                                                             $4.48
 RC Cola                                      $1.00             (a)                                             $4.48                                  $3.33
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.24             (a)
 Squirt                                       $1.38                                                             $4.48                                  $3.33
 Squirt Diet                                  $1.38
 Squirt Ruby Red
 Sunkist Orange                                                                                                 $4.48
 Diet Sunkist
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda                     $1.25             (a)




                                                                                                                                                                     Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 405 of 551


                                                                  Observed Retail Prices
                                                    Walmart At 4651 Firestone Blvd, South Gate, CA 90280
                                                                 Observed On July 24, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.00
 Brisk Raspberry Iced Tea
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.00
 Mist TWST                                      $1.58                               $1.25
 Diet Mist TWST
 Mtn Dew                                        $1.58                                                             $3.33
 Diet Mtn Dew                                   $1.58
 Mtn Dew Code Red                               $1.58
 Mtn Dew ICE                                    $1.00                                                             $3.33
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage                                $1.58
 Mug Root Beer
 Diet Mug Root Beer
 Pepsi                                          $1.58                                                             $3.33
 Pepsi-Cola Made With Real Sugar                                                                                  $3.33
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.58
 Caffeine Free Diet Pepsi
 Pepsi Zero Sugar
 Pepsi Wild Cherry                              $1.58
 Diet Pepsi Wild Cherry
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer
 Diet Barq's Root Beer
 Coca-Cola                                      $1.60                                                             $4.98
 Caffeine Free Coca-Cola
 Diet Coke                                      $1.70                                                             $4.98                 (a)
 Caffeine Free Diet Coke
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.70                                                             $4.98                 (a)
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                               $1.70                                                             $4.98                 (a)
 Coca-Cola Cherry Zero
 Diet Coke Cherry
 Coca-Cola Vanilla
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                       Page 2 of 3
                                     Case 5:17-cv-00564-NC                             Document 248-1                      Filed 10/09/18      Page 406 of 551


                                                                                       Observed Retail Prices
                                                                         Walmart At 4651 Firestone Blvd, South Gate, CA 90280
                                                                                      Observed On July 24, 2018

                                                                                     2-Liter Bottles                                                        12 Packs of 12-Oz. Cans
                                                               Regular Price                            Promotional Price                   Regular Price                        Promotional Price

 Diet Coke Feisty Cherry
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                       $1.25
 Fanta Zero Sugar Orange
 Fanta Berry                                                        $1.25                                                                       $4.98
 Fanta Grape                                                                                                                                    $4.98                 (a)
 Fanta Strawberry                                                   $1.25                                                                       $4.98
 Fanta Pineapple                                                    $1.25                                                                       $4.98
 Fanta Grapefruit
 Fanta Mango                                                        $1.25
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                               $1.25
 Minute Maid Light Lemonade
 Minute Maid Pink Lemonade                                          $1.25
 Minute Maid Peach
 Minute Maid Fruit Punch                                            $1.25                                       $1.00
 Pibb Xtra
 Seagram's Ginger Ale                                               $1.25                  (a)
 Sprite                                                                                                                                         $4.98                 (a)
 Sprite Zero
 TaB

Note:
(a) This product's price was not listed on the shelf but was confirmed at the cash register, in store scanner, or with a store associate.




                                                                                                                                                                                                     Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 407 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 408 of 551


                                                                Observed Retail Prices
                                                Walmart At 8500 Washington Blvd, Pico Rivera, CA 90660
                                                              Observed On July 24, 2018

                                                          2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                     Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.38                                                             $4.48
 Diet Canada Dry Ginger Ale                   $1.38                                                             $4.48
 Canada Dry Ginger Ale And Lemonade           $1.38                                                             $4.48
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.38                                                             $4.48
 Diet 7UP                                     $1.38                                                             $4.48
 7UP Cherry                                   $1.38                                                             $4.48
 Diet 7UP Cherry
 A&W Root Beer                                $1.38
 A&W Diet Root Beer
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler                                $1.25                                                             $4.48
 Crush Orange                                 $1.00                                                             $3.33
 Diet Orange Crush
 Crush Grape                                                                                                    $3.33
 Crush Pineapple
 Crush Strawberry                             $1.00
 Dr Pepper                                    $1.00                                                              (a)
 Diet Dr Pepper                               $1.00                                                             $4.98
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.00
 Diet Dr Pepper Cherry                        $1.00                                                              (b)                                   $3.50
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red
 RC Cola                                      $1.00                                                             $4.48
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.25
 Squirt
 Squirt Diet
 Squirt Ruby Red
 Sunkist Orange
 Diet Sunkist                                 $1.00
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                     Page 1 of 3
                                Case 5:17-cv-00564-NC         Document 248-1                 Filed 10/09/18      Page 409 of 551


                                                                  Observed Retail Prices
                                                  Walmart At 8500 Washington Blvd, Pico Rivera, CA 90660
                                                                Observed On July 24, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                     Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.00                                                             $3.33
 Brisk Raspberry Iced Tea                                                                                         $3.33
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.00                                                             $4.68
 Mist TWST                                      $1.00                                                             $3.33
 Diet Mist TWST
 Mtn Dew                                        $1.58                                                             $3.33
 Diet Mtn Dew                                   $1.58                                                             $3.33
 Mtn Dew Code Red                               $1.58
 Mtn Dew ICE                                    $1.00                                                              (c)
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage                                $1.58
 Mug Root Beer                                  $1.00
 Diet Mug Root Beer
 Pepsi                                          $1.58
 Pepsi-Cola Made With Real Sugar                $1.58
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.58
 Caffeine Free Diet Pepsi                       $1.58
 Pepsi Zero Sugar                               $1.58
 Pepsi Wild Cherry                              $1.58
 Diet Pepsi Wild Cherry                         $1.58
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                               $1.25
 Diet Barq's Root Beer
 Coca-Cola                                      $1.70                                                             $4.88
 Caffeine Free Coca-Cola
 Diet Coke                                      $1.70                                                             $4.98
 Caffeine Free Diet Coke                        $1.70
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                           $1.70                                                             $4.98
 Caffeine Free Coca-Cola Zero Sugar                                                                               $4.98
 Coca-Cola Cherry                               $1.70                                                             $4.98
 Coca-Cola Cherry Zero                                                                                            $4.98
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                $4.98
 Coca-Cola Vanilla Zero
 Coca-Cola Life




                                                                                                                                                                       Page 2 of 3
                                    Case 5:17-cv-00564-NC                        Document 248-1                 Filed 10/09/18      Page 410 of 551


                                                                                    Observed Retail Prices
                                                                    Walmart At 8500 Washington Blvd, Pico Rivera, CA 90660
                                                                                  Observed On July 24, 2018

                                                                               2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                                             Regular Price                       Promotional Price               Regular Price                        Promotional Price

 Diet Coke Feisty Cherry                                                                                                             $4.88
 Diet Coke Ginger Lime
 Diet Coke Twisted Mango
 Diet Coke Zesty Blood Orange
 Fanta Orange                                                     $1.25                                                              $4.98
 Fanta Zero Sugar Orange
 Fanta Berry                                                      $1.25
 Fanta Grape                                                      $1.25                                                              $4.98
 Fanta Strawberry                                                 $1.25                                                              $4.98
 Fanta Pineapple                                                  $1.25
 Fanta Grapefruit
 Fanta Mango
 Fresca Original Citrus
 Fresca Peach Citrus
 Fresca Black Cherry Citrus
 FUZE Fusions Iced Tea Lemon
 FUZE Fusions Diet Lemon
 Mello Yello
 Minute Maid Lemonade                                             $1.25                                                              $4.98
 Minute Maid Light Lemonade                                                                                                          $4.98
 Minute Maid Pink Lemonade                                        $1.25                                                              $4.98
 Minute Maid Peach
 Minute Maid Fruit Punch
 Pibb Xtra
 Seagram's Ginger Ale                                             $1.25
 Sprite                                                           $1.70                                                              $4.98
 Sprite Zero
 TaB

Notes:
(a) This product appeared to have two different price tags: $4.98 and $4.78.
(b) The regular price of this product was not visible.
(c) This product appeared to have two different price tags: $3.33 and $4.68.




                                                                                                                                                                                          Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 411 of 551




  - THIS PAGE INTENTIONALLY LEFT BLANK -
                              Case 5:17-cv-00564-NC           Document 248-1                 Filed 10/09/18      Page 412 of 551


                                                                   Observed Retail Prices
                                                      Walmart At 9001 Apollo Way, Los Angeles, CA 90242
                                                                  Observed On July 24, 2018

                                                            2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                          Regular Price                       Promotional Price               Regular Price                        Promotional Price

DPSU
 Canada Dry Ginger Ale                        $1.38                                                               $4.48
 Diet Canada Dry Ginger Ale                   $1.38                                                               $4.48
 Canada Dry Ginger Ale And Lemonade           $1.38                                                               $4.48
 Canada Dry Cranberry Ginger Ale
 Canada Dry Blackberry Ginger Ale
 Canada Dry Green Tea Ginger Ale
 7UP                                          $1.38                                                               $4.48
 Diet 7UP                                     $1.38                                                               $4.48
 7UP Cherry
 Diet 7UP Cherry                                                                                                  $4.48
 A&W Root Beer                                $1.38                                                               $4.48
 A&W Diet Root Beer                           $1.38
 A&W Cream Soda
 A&W Diet Cream Soda
 Cactus Cooler                                $1.25                                                               $4.48
 Crush Orange                                 $1.24
 Diet Orange Crush
 Crush Grape
 Crush Pineapple
 Crush Strawberry
 Dr Pepper                                    $1.60                                                               $4.98
 Diet Dr Pepper                               $1.60                                                               $4.98
 Caffeine Free Diet Dr Pepper
 Dr Pepper Cherry                             $1.60
 Diet Dr Pepper Cherry
 Dr Pepper TEN
 Hawaiian Punch Fruit Juicy Red               $1.00
 RC Cola                                      $1.00                                                               $4.48
 Diet Rite Cola
 Schweppes Ginger Ale                         $1.24                                 $1.00
 Squirt                                       $1.38                                                               $4.48                                  $3.33
 Squirt Diet                                  $1.38                                                               $4.48                                  $3.33
 Squirt Ruby Red
 Sunkist Orange                               $1.00                                                               $4.48
 Diet Sunkist                                 $1.00
 Sunkist Lemonade
 Sunkist Grape
 Sunkist Strawberry
 Sunkist Pineapple
 Vernors Ginger Soda
 Vernors Diet Ginger Soda




                                                                                                                                                                       Page 1 of 3
                                Case 5:17-cv-00564-NC           Document 248-1                 Filed 10/09/18      Page 413 of 551


                                                                     Observed Retail Prices
                                                        Walmart At 9001 Apollo Way, Los Angeles, CA 90242
                                                                    Observed On July 24, 2018

                                                              2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                            Regular Price                       Promotional Price               Regular Price                        Promotional Price

PepsiCo
 Brisk Lemon Iced Tea                           $1.25                                 $1.00                         $4.68                                  $3.33
 Brisk Raspberry Iced Tea                                                                                           $4.68                                  $3.33
 Brisk Strawberry Melon
 Manzanita Sol                                  $1.25                                 $1.00
 Mist TWST                                      $1.25                                 $1.24
 Diet Mist TWST
 Mtn Dew                                        $1.58                                                               $4.68                                  $3.33
 Diet Mtn Dew                                   $1.58                                                               $4.68                                  $3.33
 Mtn Dew Code Red                               $1.58
 Mtn Dew ICE                                    $1.25
 Mtn Dew Baja Blast
 Mtn Dew Throwback
 Mtn Dew Voltage
 Mug Root Beer                                  $1.25                                 $1.00
 Diet Mug Root Beer
 Pepsi                                          $1.58                                                               $4.68                                  $3.33
 Pepsi-Cola Made With Real Sugar                                                                                    $4.68                                  $3.33
 Caffeine Free Pepsi
 Diet Pepsi                                     $1.58                                                               $4.68                                  $3.33
 Caffeine Free Diet Pepsi                                                                                           $4.68                                  $3.33
 Pepsi Zero Sugar                                                                                                   $4.68                                  $3.33
 Pepsi Wild Cherry                              $1.58                                                               $4.68                                  $3.33
 Diet Pepsi Wild Cherry                         $1.58                                                               $4.68                                  $3.33
 Pepsi Zero Sugar Wild Cherry
 Pepsi Cherry Vanilla

The Coca-Cola Company
 Barq's Root Beer                               $1.25
 Diet Barq's Root Beer
 Coca-Cola                                      $1.70                                                               $4.88
 Caffeine Free Coca-Cola                                                                                            $4.98
 Diet Coke                                      $1.70                                                               $4.98
 Caffeine Free Diet Coke                        $1.70                                                               $4.98
 Diet Coke With Splenda
 Coca-Cola Zero Sugar                                                                                               $4.98
 Caffeine Free Coca-Cola Zero Sugar
 Coca-Cola Cherry                                                                                                   $4.98
 Coca-Cola Cherry Zero                                                                                              $4.98
 Diet Coke Cherry
 Coca-Cola Vanilla                                                                                                  $4.98
 Coca-Cola Vanilla Zero                                                                                             $4.98
 Coca-Cola Life                                                                                                     $4.98




                                                                                                                                                                         Page 2 of 3
                               Case 5:17-cv-00564-NC           Document 248-1                 Filed 10/09/18      Page 414 of 551


                                                                    Observed Retail Prices
                                                       Walmart At 9001 Apollo Way, Los Angeles, CA 90242
                                                                   Observed On July 24, 2018

                                                             2-Liter Bottles                                                   12 Packs of 12-Oz. Cans
                                           Regular Price                       Promotional Price               Regular Price                        Promotional Price

Diet Coke Feisty Cherry                                                                                            $4.98
Diet Coke Ginger Lime
Diet Coke Twisted Mango
Diet Coke Zesty Blood Orange
Fanta Orange                                   $1.25                                                               $4.98
Fanta Zero Sugar Orange
Fanta Berry                                    $1.25
Fanta Grape                                    $1.25                                                               $4.98
Fanta Strawberry                               $1.25                                                               $4.98
Fanta Pineapple                                $1.25
Fanta Grapefruit                               $1.25
Fanta Mango
Fresca Original Citrus
Fresca Peach Citrus
Fresca Black Cherry Citrus
FUZE Fusions Iced Tea Lemon
FUZE Fusions Diet Lemon
Mello Yello                                                                                                        $4.98
Minute Maid Lemonade                           $1.25
Minute Maid Light Lemonade
Minute Maid Pink Lemonade
Minute Maid Peach
Minute Maid Fruit Punch                        $1.25
Pibb Xtra
Seagram's Ginger Ale                           $1.25                                                               $4.98
Sprite                                         $1.70                                                               $4.98
Sprite Zero                                    $1.70                                                               $4.98
TaB




                                                                                                                                                                        Page 3 of 3
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 415 of 551




                             Exhibit 8
                      Case 5:17-cv-00564-NC      Document 248-1     Filed 10/09/18     Page 416 of 551




                                                 DPSU Regular Products
                                               Concentrate Price Per 288 Oz.
                                                       2005 - 2018
$4.50



$4.00



$3.50



$3.00

                                  2009: Challenged
                                 Claim Introduced On
$2.50
                                Canada Dry Ginger Ale


$2.00


                                                                                                    Canada Dry Tonic Water
$1.50
                                                                                                    A&W
                                                                                                    Schweppes Ginger Ale

$1.00                                                                                               Canada Dry Ginger Ale
                                                                                                    Canada Dry Club Soda
                                                                                                    Dr Pepper
$0.50                                                                                               Crush
                                                                                                    Sunkist
                                                                                                    7UP
$0.00
        2005   2006     2007   2008    2009      2010   2011    2012    2013    2014      2015    2016        2017   2018
                      Case 5:17-cv-00564-NC      Document 248-1      Filed 10/09/18     Page 417 of 551




                                                    DPSU Diet Products
                                                Concentrate Price Per 288 Oz.
                                                        2005 - 2018
$4.50



$4.00



$3.50



$3.00
                                2009: Challenged Claim
                                 Introduced On Canada
                                  Dry Diet Ginger Ale
$2.50



$2.00


                                                                                                  Diet Canada Dry Tonic Water
$1.50
                                                                                                  Diet Crush
                                                                                                  Diet A&W
$1.00                                                                                             Diet Schweppes Ginger Ale
                                                                                                  Diet Canada Dry Ginger Ale

$0.50                                                                                             Diet Sunkist
                                                                                                  Diet Dr Pepper
                                                                                                  Diet 7UP
$0.00
        2005   2006     2007   2008    2009      2010    2011    2012    2013    2014      2015    2016        2017    2018
                      Case 5:17-cv-00564-NC      Document 248-1    Filed 10/09/18     Page 418 of 551




                                                DPSU Regular Products
                         Canada Dry Ginger Ale To Schweppes Ginger Ale Concentrate Price Ratio
                                                     2005 - 2018
0.980


0.978


0.976

                                   2009: Challenged
                                  Claim Introduced On
0.974                            Canada Dry Ginger Ale


0.972


0.970


0.968


0.966



0.964


0.962


0.960
        2005   2006     2007   2008     2009     2010    2011   2012   2013    2014      2015    2016   2017   2018
                                      Case 5:17-cv-00564-NC                           Document 248-1            Filed 10/09/18             Page 419 of 551


                                                                              DPSU Regular Products Concentrate Price Per 288 Oz.
                                                                                  Year Over Year Percentage Change In Price
                                                                                                 2005 - 2018

                                         2005         2006          2007       2008       2009       2010      2011       2012      2013      2014      2015     2016     2017     2018
Concentrate Price Per 288 Oz.
 Canada Dry Ginger Ale                      $1.52       $1.56         $1.63      $1.67      $1.74     $1.79      $1.83     $1.90     $1.96      $2.01    $2.05    $2.10    $2.15    $2.22
 Canada Dry Club Soda                       $1.51       $1.55         $1.62      $1.66      $1.73     $1.77      $1.82     $1.89     $1.94      $1.99    $2.04    $2.09    $2.14    $2.20
 Canada Dry Tonic Water                     $2.90       $2.98         $3.11      $3.19      $3.32     $3.40      $3.49     $3.63     $3.73      $3.82    $3.91    $4.00    $4.10    $4.23
 A&W                                        $1.63       $1.68         $1.75      $1.79      $1.87     $1.91      $1.96     $2.04     $2.10      $2.15    $2.20    $2.25    $2.31    $2.38
 Dr Pepper                                  $1.51       $1.54         $1.61      $1.65      $1.71     $1.75      $1.80     $1.87     $1.92      $1.97    $2.01    $2.06    $2.11    $2.17
 7UP                                        $1.41       $1.45         $1.52      $1.55      $1.62     $1.66      $1.70     $1.77     $1.82      $1.86    $1.90    $1.95    $1.96    $2.02
 Sunkist                                    $1.40       $1.44         $1.51      $1.55      $1.61     $1.65      $1.69     $1.76     $1.81      $1.85    $1.89    $1.94    $1.99    $2.05
 Crush                                      $1.48       $1.52         $1.59      $1.63      $1.70     $1.74      $1.78     $1.85     $1.91      $1.95    $2.00    $2.05    $2.10    $2.16
 Schweppes Ginger Ale                       $1.57       $1.61         $1.68      $1.73      $1.80     $1.84      $1.89     $1.96     $2.02      $2.07    $2.11    $2.17    $2.22    $2.29


Year Over Year Percentage Change In Price
 Canada Dry Ginger Ale                                   2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     2.5%     3.0%
 Canada Dry Club Soda                                    2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     2.5%     3.0%
 Canada Dry Tonic Water                                  2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     2.5%     3.0%
 A&W                                                     2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     2.5%     3.0%
 Dr Pepper                                               2.3%         4.0%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.0%     2.5%     2.5%     3.0%
 7UP                                                     2.9%         4.8%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     0.4%     3.0%
 Sunkist                                                 2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     2.5%     3.0%
 Crush                                                   2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.1%     2.5%     2.5%     3.0%
 Schweppes Ginger Ale                                    2.9%         4.5%       2.5%       4.0%       2.5%      2.5%       4.0%      2.8%      2.5%      2.2%     2.5%     2.5%     3.0%


Canada Dry To Schweppes Ginger
                                          0.9698       0.9698        0.9698     0.9698     0.9698    0.9698     0.9698    0.9698    0.9698     0.9698   0.9698   0.9698   0.9698   0.9698
Ale Price Ratio

Source:
[1] Concentrate Prices Data. (DPS_165955-Concentrate_Prices_Trend.xlsx)
                                      Case 5:17-cv-00564-NC                          Document 248-1            Filed 10/09/18            Page 420 of 551


                                                                              DPSU Diet Products Concentrate Price Per 288 Oz.
                                                                                Year Over Year Percentage Change In Price
                                                                                                2005 - 2018

                                         2005         2006          2007      2008      2009       2010       2011      2012      2013      2014      2015     2016     2017     2018
Concentrate Price Per 288 Oz.
 Diet Canada Dry Ginger Ale                 $1.88       $1.91         $1.97    $2.02      $2.10      $2.16     $2.21      $2.29    $2.33      $2.38    $2.42    $2.46    $2.50    $2.56
 Diet Canada Dry Tonic Water                $2.76       $2.80         $2.90    $2.97      $3.09      $3.17     $3.25      $3.36    $3.43      $3.51    $3.58    $3.63    $3.69    $3.78
 Diet A&W                                   $2.01       $2.04         $2.11    $2.17      $2.25      $2.31     $2.37      $2.45    $2.50      $2.55    $2.60    $2.64    $2.67    $2.74
 Diet Dr Pepper                             $1.90       $1.93         $1.99    $2.04      $2.12      $2.18     $2.22      $2.30    $2.33      $2.37    $2.41    $2.44    $2.48    $2.54
 Diet 7UP                                   $1.75       $1.78         $1.84    $1.88      $1.96      $2.01     $2.06      $2.13    $2.17      $2.22    $2.26    $2.29    $2.32    $2.38
 Diet Sunkist                               $1.87       $1.90         $1.96    $2.01      $2.09      $2.14     $2.20      $2.28    $2.33      $2.37    $2.41    $2.45    $2.49    $2.55
 Diet Crush                                 $2.01       $2.07         $2.14    $2.19      $2.28      $2.34     $2.40      $2.48    $2.53      $2.58    $2.63    $2.67    $2.71    $2.78
 Diet Schweppes Ginger Ale                  $1.90       $1.93         $1.99    $2.04      $2.12      $2.18     $2.23      $2.32    $2.36      $2.41    $2.46    $2.49    $2.53    $2.59


Year Over Year Percentage Change In Price
 Diet Canada Dry Ginger Ale                              1.5%         3.5%      2.5%      4.0%       2.5%       2.5%      3.5%      2.0%      2.0%      1.8%     1.5%     1.5%     2.5%
 Diet Canada Dry Tonic Water                             1.5%         3.5%      2.5%      4.0%       2.5%       2.5%      3.5%      2.0%      2.5%      1.8%     1.5%     1.5%     2.5%
 Diet A&W                                                1.5%         3.5%      2.5%      4.0%       2.5%       2.5%      3.5%      2.0%      2.0%      1.8%     1.5%     1.5%     2.5%
 Diet Dr Pepper                                          1.5%         3.0%      2.5%      4.0%       2.5%       2.0%      3.5%      1.5%      1.8%      1.5%     1.5%     1.5%     2.5%
 Diet 7UP                                                1.5%         3.6%      2.5%      4.0%       2.5%       2.5%      3.4%      2.0%      2.0%      1.8%     1.5%     1.5%     2.5%
 Diet Sunkist                                            1.5%         3.5%      2.5%      4.0%       2.5%       2.5%      3.7%      2.0%      2.0%      1.8%     1.5%     1.5%     2.5%
 Diet Crush                                              2.9%         3.5%      2.5%      4.0%       2.5%       2.5%      3.5%      2.1%      2.0%      1.8%     1.5%     1.5%     2.5%
 Diet Schweppes Ginger Ale                               1.5%         3.5%      2.5%      4.0%       2.5%       2.4%      4.0%      2.0%      2.0%      1.8%     1.5%     1.5%     2.5%


Canada Dry To Schweppes Ginger
                                          0.9901       0.9901        0.9903   0.9903     0.9903     0.9903    0.9916     0.9868   0.9868     0.9868   0.9866   0.9866   0.9866   0.9866
Ale Price Ratio


Source:
[1] Concentrate Prices Data. (DPS_165955-Concentrate_Prices_Trend.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 421 of 551




                             Exhibit 9
               Case 5:17-cv-00564-NC         Document 248-1   Filed 10/09/18   Page 422 of 551




        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In Los Angeles Food Channel
                           Week Ending January 15, 2012 - Week Ending April 8, 2018
$8.00



$7.00



$6.00



$5.00



$4.00



$3.00



$2.00

           Diet Canada Dry Ginger Ale

$1.00      Canada Dry Ginger Ale
           Canada Dry Green Tea Ginger Ale


$0.00
              Case 5:17-cv-00564-NC     Document 248-1    Filed 10/09/18   Page 423 of 551



       12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                   Canada Dry Ginger Ale To Canada Dry Green Tea Ginger Ale Price Ratio
                           Weekly Average Retail Price In Los Angeles Food Channel
                          Week Ending January 15, 2012 - Week Ending April 8, 2018
1.20




1.00




0.80




0.60




0.40




0.20




0.00
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 424 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

 1/15/2012       7,592              $3.83          18,435              $3.81              2,125               $3.74                     1.02
 1/22/2012       8,505              $3.97          21,369              $3.90              2,039               $3.92                     0.99
 1/29/2012       8,107              $3.75          19,266              $3.69              2,017               $3.63                     1.02
  2/5/2012      11,826              $3.57          27,526              $3.59              3,100               $3.53                     1.02
 2/12/2012       8,227              $3.84          22,138              $3.69              2,310               $3.71                     0.99
 2/19/2012       7,593              $3.82          18,546              $3.73              2,091               $3.77                     0.99
 2/26/2012       7,923              $3.79          18,146              $3.75              2,151               $3.72                     1.01
  3/4/2012       8,670              $3.73          20,197              $3.69              2,347               $3.64                     1.02
 3/11/2012       9,440              $3.78          24,418              $3.77              2,837               $3.67                     1.03
 3/18/2012       8,441              $3.83          20,099              $3.78              2,282               $3.69                     1.02
 3/25/2012       8,576              $3.70          19,957              $3.69              2,046               $3.69                     1.00
  4/1/2012      12,493              $3.46          35,808              $3.31              3,436               $3.34                     0.99
  4/8/2012      15,239              $3.31          47,130              $3.15              4,468               $3.13                     1.01
 4/15/2012       8,704              $3.65          24,115              $3.39              2,532               $3.50                     0.97
 4/22/2012       8,209              $3.86          19,335              $3.81              2,266               $3.86                     0.99
 4/29/2012       8,749              $3.93          21,117              $3.88              2,245               $3.94                     0.98
  5/6/2012       7,966              $3.81          20,078              $3.71              2,428               $3.65                     1.02
 5/13/2012       8,687              $3.74          20,628              $3.74              2,402               $3.72                     1.01
 5/20/2012       8,841              $3.62          21,425              $3.54              2,451               $3.47                     1.02
 5/27/2012      12,435              $3.30          33,309              $3.15              3,649               $3.18                     0.99
  6/3/2012       9,317              $3.62          23,923              $3.56              2,784               $3.57                     1.00
 6/10/2012       7,541              $3.83          18,466              $3.74              2,078               $3.71                     1.01
 6/17/2012       7,746              $3.87          17,635              $3.77              2,192               $3.74                     1.01
 6/24/2012       7,484              $3.89          17,525              $3.78              2,194               $3.74                     1.01
  7/1/2012      12,273              $3.34          31,165              $3.24              3,590               $3.29                     0.98
  7/8/2012      12,888              $3.22          37,543              $3.11              4,235               $3.14                     0.99
 7/15/2012       7,342              $3.76          19,436              $3.65              2,119               $3.64                     1.00
 7/22/2012       7,692              $4.00          18,572              $3.87              2,158               $3.93                     0.99
 7/29/2012       7,331              $3.83          16,858              $3.75              1,993               $3.76                     1.00
  8/5/2012       7,728              $3.80          18,865              $3.74              2,426               $3.71                     1.01
 8/12/2012       8,187              $3.80          19,522              $3.83              2,444               $3.77                     1.01
 8/19/2012       8,651              $4.05          20,869              $4.01              2,532               $4.00                     1.00
 8/26/2012       7,339              $3.86          18,184              $3.79              2,139               $3.75                     1.01
  9/2/2012      10,668              $3.70          25,947              $3.63              3,141               $3.70                     0.98
  9/9/2012       9,397              $3.75          24,310              $3.68              2,793               $3.72                     0.99
 9/16/2012       8,404              $3.78          19,128              $3.80              2,458               $3.68                     1.03


                                                                                                                                            Page 1 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 425 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

  9/23/2012      7,968              $3.80          18,459              $3.79              2,211               $3.74                     1.01
  9/30/2012      8,264              $4.03          20,864              $3.97              2,317               $3.98                     1.00
  10/7/2012      8,594              $3.73          21,582              $3.65              2,483               $3.65                     1.00
 10/14/2012      7,485              $3.83          18,831              $3.78              2,236               $3.78                     1.00
 10/21/2012      8,124              $3.85          18,647              $3.81              2,245               $3.72                     1.03
 10/28/2012      7,280              $4.01          15,691              $4.00              1,775               $4.02                     0.99
  11/4/2012      7,841              $3.84          18,733              $3.82              2,155               $3.84                     1.00
 11/11/2012      8,264              $3.84          20,683              $3.82              2,418               $3.79                     1.01
 11/18/2012     10,441              $3.73          27,096              $3.69              2,917               $3.58                     1.03
 11/25/2012     10,333              $3.66          33,154              $3.57              3,169               $3.53                     1.01
  12/2/2012      8,384              $3.93          21,940              $3.85              1,994               $3.91                     0.98
  12/9/2012      8,496              $3.88          23,640              $3.87              2,185               $3.81                     1.02
 12/16/2012      8,078              $3.97          19,600              $3.96              2,036               $3.97                     1.00
 12/23/2012      9,961              $3.82          27,841              $3.77              2,617               $3.84                     0.98
 12/30/2012      9,285              $3.88          27,510              $3.77              2,486               $3.79                     0.99
   1/6/2013      8,707              $3.68          23,994              $3.70              2,525               $3.57                     1.03
  1/13/2013      7,544              $3.89          20,316              $3.81              2,069               $3.81                     1.00
  1/20/2013      7,854              $3.86          20,306              $3.83              2,069               $3.77                     1.02
  1/27/2013      8,713              $3.81          20,010              $3.87              2,089               $3.81                     1.02
   2/3/2013     11,166              $3.65          26,277              $3.66              2,882               $3.63                     1.01
  2/10/2013      8,009              $3.69          24,104              $3.61              2,351               $3.57                     1.01
  2/17/2013      7,417              $3.89          19,094              $3.84              1,904               $3.82                     1.01
  2/24/2013      7,406              $3.96          16,891              $3.99              1,951               $3.86                     1.04
   3/3/2013      8,463              $3.89          21,174              $3.82              2,327               $3.81                     1.00
  3/10/2013      8,669              $3.88          25,072              $3.67              2,361               $3.66                     1.00
  3/17/2013      9,253              $3.69          24,702              $3.61              2,505               $3.57                     1.01
  3/24/2013      8,942              $3.74          21,045              $3.68              2,349               $3.59                     1.03
  3/31/2013     12,613              $3.75          33,087              $3.75              3,286               $3.78                     0.99
   4/7/2013     10,452              $3.86          29,316              $3.83              3,062               $3.80                     1.01
  4/14/2013      8,040              $3.66          23,648              $3.52              2,231               $3.52                     1.00
  4/21/2013      8,643              $3.68          23,112              $3.60              2,185               $3.65                     0.99
  4/28/2013      8,888              $3.76          20,581              $3.71              2,236               $3.63                     1.02
   5/5/2013      8,758              $3.68          22,492              $3.63              2,399               $3.62                     1.00
  5/12/2013     10,478              $3.34          30,887              $3.25              3,204               $3.24                     1.00
  5/19/2013      9,968              $4.19          27,156              $4.07              2,744               $4.18                     0.97
  5/26/2013     12,346              $3.67          33,993              $3.55              3,515               $3.51                     1.01


                                                                                                                                            Page 2 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 426 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

   6/2/2013     10,977              $3.32          33,951              $3.08              3,334               $3.18                     0.97
   6/9/2013      8,352              $3.62          23,871              $3.41              2,462               $3.50                     0.98
  6/16/2013      8,082              $4.50          23,837              $4.31              2,309               $4.54                     0.95
  6/23/2013      7,097              $3.98          19,446              $3.79              1,886               $3.92                     0.97
  6/30/2013     11,091              $3.89          30,971              $3.81              3,081               $3.83                     1.00
   7/7/2013     12,925              $3.14          43,992              $3.02              3,654               $2.98                     1.01
  7/14/2013      8,332              $3.47          24,720              $3.32              2,359               $3.30                     1.01
  7/21/2013      7,416              $4.06          18,731              $3.96              1,848               $4.04                     0.98
  7/28/2013      6,591              $4.24          18,988              $4.05              1,653               $4.27                     0.95
   8/4/2013      8,905              $4.36          24,268              $4.25              2,300               $4.42                     0.96
  8/11/2013      7,885              $3.96          21,876              $3.79              2,090               $4.05                     0.93
  8/18/2013      8,984              $4.18          28,626              $4.05              2,511               $4.21                     0.96
  8/25/2013      8,388              $3.76          24,387              $3.51              2,111               $3.73                     0.94
   9/1/2013     11,599              $3.79          34,682              $3.65              3,151               $3.86                     0.95
   9/8/2013      7,614              $4.16          21,850              $3.99              2,056               $4.15                     0.96
  9/15/2013      7,336              $4.19          20,140              $4.01              1,886               $4.27                     0.94
  9/22/2013      6,815              $4.25          17,764              $4.08              1,612               $4.29                     0.95
  9/29/2013      7,232              $4.21          16,872              $4.19              1,768               $4.26                     0.98
  10/6/2013      7,511              $4.16          21,555              $3.98              1,930               $4.28                     0.93
 10/13/2013      7,600              $3.97          22,818              $3.76              2,061               $3.97                     0.95
 10/20/2013      8,226              $3.76          23,528              $3.62              2,265               $3.72                     0.97
 10/27/2013      6,739              $4.31          16,823              $4.20              1,574               $4.29                     0.98
  11/3/2013      9,160              $4.22          26,353              $4.09              2,169               $4.18                     0.98
 11/10/2013      8,361              $3.96          25,447              $3.83              2,148               $4.04                     0.95
 11/17/2013      7,658              $3.94          20,473              $3.96              1,966               $3.99                     0.99
 11/24/2013      9,691              $3.92          28,363              $3.84              2,651               $3.86                     1.00
  12/1/2013      8,269              $3.78          30,962              $3.67              2,502               $3.73                     0.99
  12/8/2013      6,413              $4.04          16,825              $4.02              1,583               $4.07                     0.99
 12/15/2013      7,649              $4.14          23,231              $4.12              1,712               $4.17                     0.99
 12/22/2013      9,729              $3.98          31,925              $3.97              2,445               $3.79                     1.05
 12/29/2013      8,448              $3.70          28,165              $3.64              2,100               $3.53                     1.03
   1/5/2014      7,528              $4.09          23,024              $3.99              1,538               $4.06                     0.99
  1/12/2014      6,956              $4.14          21,481              $4.02              1,501               $4.09                     0.98
  1/19/2014      7,546              $4.14          22,404              $4.08              1,682               $4.03                     1.01
  1/26/2014      9,098              $4.13          25,455              $4.13              1,874               $4.20                     0.98
   2/2/2014      9,661              $3.98          28,774              $3.93              2,231               $3.74                     1.05


                                                                                                                                            Page 3 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 427 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

   2/9/2014      7,401              $3.84          22,849              $3.73              1,705               $3.74                     1.00
  2/16/2014      7,587              $4.07          21,849              $4.01              1,691               $3.95                     1.02
  2/23/2014      7,911              $4.01          21,418              $3.93              1,547               $3.98                     0.99
   3/2/2014      8,154              $4.09          23,200              $4.10              1,749               $4.11                     1.00
   3/9/2014      8,567              $4.06          26,651              $4.02              1,784               $3.99                     1.01
  3/16/2014      8,212              $3.97          23,434              $3.88              1,868               $3.96                     0.98
  3/23/2014      8,045              $3.99          21,903              $4.00              1,502               $4.00                     1.00
  3/30/2014      8,169              $3.86          21,897              $3.82              1,756               $3.74                     1.02
   4/6/2014      7,886              $3.96          23,336              $3.85              1,731               $3.85                     1.00
  4/13/2014      8,682              $4.18          25,353              $4.03              1,794               $4.12                     0.98
  4/20/2014     10,482              $3.72          32,779              $3.72              2,543               $3.51                     1.06
  4/27/2014      6,995              $4.03          22,453              $3.88              1,532               $3.95                     0.98
   5/4/2014      8,350              $3.95          25,266              $3.89              1,840               $3.87                     1.01
  5/11/2014      6,744              $4.23          21,282              $4.01              1,483               $4.16                     0.97
  5/18/2014      9,449              $3.92          30,347              $3.94              2,006               $4.17                     0.95
  5/25/2014     12,380              $3.44          40,785              $3.35              2,996               $3.23                     1.04
   6/1/2014      8,289              $3.73          25,653              $3.57              1,914               $3.45                     1.04
   6/8/2014      6,928              $4.04          20,659              $4.03              1,609               $4.09                     0.98
  6/15/2014      7,677              $3.97          22,604              $4.01              1,579               $4.11                     0.97
  6/22/2014      7,334              $4.09          24,145              $3.84              1,431               $4.00                     0.96
  6/29/2014      8,713              $4.10          26,372              $4.00              1,810               $4.21                     0.95
   7/6/2014     10,614              $3.98          37,936              $3.95              2,642               $3.86                     1.02
  7/13/2014      7,248              $4.18          26,421              $3.84              1,593               $4.11                     0.93
  7/20/2014      6,610              $4.29          22,220              $4.02              1,252               $4.16                     0.97
  7/27/2014      7,416              $3.97          21,762              $3.95              1,495               $4.07                     0.97
   8/3/2014      6,923              $4.32          20,872              $4.20              1,526               $4.09                     1.03
  8/10/2014      7,382              $4.33          24,029              $4.21              1,780               $4.19                     1.00
  8/17/2014      8,053              $4.12          24,860              $4.09              1,775               $4.10                     1.00
  8/24/2014      6,608              $4.12          18,831              $4.08              1,389               $4.15                     0.98
  8/31/2014     10,233              $3.91          31,599              $3.93              2,354               $3.74                     1.05
   9/7/2014      7,957              $4.26          26,937              $4.11              1,978               $4.15                     0.99
  9/14/2014      7,116              $4.33          22,236              $4.12              1,662               $4.29                     0.96
  9/21/2014      7,784              $3.97          25,162              $3.86              1,739               $4.14                     0.93
  9/28/2014      6,829              $4.29          21,898              $4.09              1,403               $4.28                     0.95
  10/5/2014      7,186              $4.25          22,102              $4.20              1,804               $4.21                     1.00
 10/12/2014      6,976              $4.28          22,592              $4.04              1,504               $4.21                     0.96


                                                                                                                                            Page 4 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 428 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

 10/19/2014      6,969              $4.04          21,310              $4.01              1,514               $4.14                     0.97
 10/26/2014      7,530              $4.22          24,320              $4.14              1,734               $4.16                     0.99
  11/2/2014      7,332              $4.02          25,554              $3.68              1,678               $3.81                     0.97
  11/9/2014      7,190              $4.14          23,343              $3.98              1,655               $4.06                     0.98
 11/16/2014      6,874              $4.34          24,713              $4.05              1,500               $4.15                     0.97
 11/23/2014      9,883              $4.00          34,672              $3.91              2,262               $3.92                     1.00
 11/30/2014      8,647              $4.09          36,028              $3.94              2,301               $3.93                     1.00
  12/7/2014      6,253              $4.14          24,055              $3.77              1,302               $4.04                     0.93
 12/14/2014      7,368              $3.93          27,048              $3.74              1,562               $3.87                     0.97
 12/21/2014      9,556              $3.64          32,895              $3.69              2,093               $3.56                     1.04
 12/28/2014      7,849              $3.95          32,876              $3.81              1,849               $3.69                     1.03
   1/4/2015      7,363              $4.09          25,929              $4.02              1,492               $4.04                     1.00
  1/11/2015      7,053              $4.04          22,995              $3.93              1,418               $3.95                     1.00
  1/18/2015      7,112              $4.08          21,864              $3.95              1,481               $3.94                     1.00
  1/25/2015      7,501              $3.89          23,245              $3.86              1,557               $3.86                     1.00
   2/1/2015      9,957              $3.79          30,362              $3.82              1,958               $3.73                     1.03
   2/8/2015      8,016              $4.00          28,186              $3.79              1,782               $3.85                     0.99
  2/15/2015      7,269              $4.13          24,350              $3.94              1,488               $4.12                     0.96
  2/22/2015      6,786              $4.30          19,470              $4.19              1,487               $4.17                     1.01
   3/1/2015      8,375              $3.88          26,861              $3.77              1,679               $3.77                     1.00
   3/8/2015      8,716              $3.85          29,309              $3.78              1,750               $3.82                     0.99
  3/15/2015      7,274              $4.24          23,019              $4.07              1,701               $4.03                     1.01
  3/22/2015      8,248              $3.81          25,535              $3.74              1,785               $3.82                     0.98
  3/29/2015      7,771              $3.91          25,412              $3.78              1,580               $3.88                     0.97
   4/5/2015     10,105              $3.73          36,835              $3.65              2,323               $3.68                     0.99
  4/12/2015      7,425              $4.00          25,848              $3.82              1,741               $3.80                     1.01
  4/19/2015      7,713              $3.87          27,797              $3.72              1,807               $3.74                     0.99
  4/26/2015      7,342              $3.80          24,361              $3.73              1,619               $3.73                     1.00
   5/3/2015      8,835              $3.71          29,673              $3.61              2,012               $3.54                     1.02
  5/10/2015      7,516              $3.87          26,014              $3.66              1,799               $3.75                     0.98
  5/17/2015      7,322              $3.89          23,314              $3.82              1,599               $3.85                     0.99
  5/24/2015      8,519              $3.68          28,641              $3.60              1,962               $3.57                     1.01
  5/31/2015      7,912              $3.76          25,602              $3.62              1,840               $3.53                     1.03
   6/7/2015      6,986              $3.89          23,791              $3.75              1,803               $3.70                     1.01
  6/14/2015      7,247              $3.84          25,132              $3.74              1,714               $3.77                     0.99
  6/21/2015      6,991              $4.00          26,319              $3.75              1,807               $3.83                     0.98


                                                                                                                                            Page 5 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 429 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

  6/28/2015      7,055              $3.93          23,313              $3.76              1,690               $3.96                     0.95
   7/5/2015     10,408              $3.71          40,284              $3.63              2,694               $3.62                     1.00
  7/12/2015      7,069              $3.64          27,818              $3.53              1,693               $3.63                     0.97
  7/19/2015      6,372              $3.84          22,524              $3.63              1,538               $3.78                     0.96
  7/26/2015      6,866              $3.86          24,653              $3.67              1,688               $3.81                     0.96
   8/2/2015      6,955              $3.84          24,091              $3.73              1,731               $3.83                     0.97
   8/9/2015      7,036              $3.90          28,237              $3.65              1,725               $3.87                     0.94
  8/16/2015      7,176              $3.88          26,529              $3.68              1,587               $3.89                     0.95
  8/23/2015      7,057              $3.77          22,336              $3.70              1,723               $3.76                     0.99
  8/30/2015      7,333              $3.82          25,283              $3.65              1,749               $3.78                     0.97
   9/6/2015     10,024              $3.61          36,394              $3.53              2,403               $3.66                     0.97
  9/13/2015      7,748              $3.79          30,108              $3.64              1,998               $3.72                     0.98
  9/20/2015      7,070              $3.81          23,713              $3.68              1,660               $3.85                     0.95
  9/27/2015      7,104              $3.87          26,155              $3.62              1,667               $3.80                     0.95
  10/4/2015      6,849              $3.87          26,720              $3.69              1,686               $3.80                     0.97
 10/11/2015      7,586              $3.84          29,006              $3.73              1,979               $3.82                     0.98
 10/18/2015      7,236              $3.90          25,133              $3.76              1,580               $3.97                     0.95
 10/25/2015      7,011              $3.88          25,961              $3.67              1,597               $3.92                     0.93
  11/1/2015      8,403              $3.52          28,800              $3.45              1,963               $3.57                     0.97
  11/8/2015      6,832              $4.02          25,552              $3.72              1,594               $3.99                     0.93
 11/15/2015      7,200              $3.94          24,178              $3.78              1,533               $3.97                     0.95
 11/22/2015     10,284              $3.62          35,180              $3.58              2,369               $3.64                     0.98
 11/29/2015      8,885              $3.80          37,374              $3.67              2,452               $3.61                     1.01
  12/6/2015      6,588              $3.99          25,666              $3.66              1,460               $3.97                     0.92
 12/13/2015      7,518              $3.93          30,415              $3.66              1,697               $3.89                     0.94
 12/20/2015      8,466              $3.80          31,040              $3.71              1,873               $3.74                     0.99
 12/27/2015      9,202              $3.96          41,305              $3.75              2,230               $3.73                     1.00
   1/3/2016      7,586              $4.11          28,888              $4.08              1,580               $4.11                     0.99
  1/10/2016      7,087              $3.97          25,027              $3.90              1,637               $4.01                     0.97
  1/17/2016      6,985              $3.94          23,687              $3.91              1,448               $3.92                     1.00
  1/24/2016      7,342              $3.97          22,741              $4.00              1,443               $4.01                     1.00
  1/31/2016      7,130              $3.95          20,717              $4.03              1,474               $3.98                     1.01
   2/7/2016      9,780              $3.69          39,842              $3.58              2,137               $3.67                     0.98
  2/14/2016      7,908              $3.87          32,227              $3.71              1,932               $3.88                     0.95
  2/21/2016      7,911              $3.86          25,138              $3.90              1,774               $3.84                     1.01
  2/28/2016      7,884              $3.89          24,138              $3.87              1,774               $3.95                     0.98


                                                                                                                                            Page 6 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 430 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

   3/6/2016     8,122               $3.93          27,367              $3.87              2,028               $3.88                     1.00
  3/13/2016     7,649               $3.95          23,410              $3.89              1,631               $3.99                     0.98
  3/20/2016     7,439               $3.95          21,817              $3.95              1,718               $3.94                     1.00
  3/27/2016     8,933               $3.73          35,621              $3.60              2,202               $3.69                     0.98
   4/3/2016     7,482               $3.81          28,205              $3.68              1,881               $3.76                     0.98
  4/10/2016     6,911               $3.96          21,502              $4.03              1,699               $3.98                     1.01
  4/17/2016     7,345               $3.93          20,574              $4.08              1,616               $3.91                     1.04
  4/24/2016     7,550               $3.95          24,118              $3.89              1,675               $3.98                     0.98
   5/1/2016     7,117               $3.90          25,196              $3.90              1,768               $3.89                     1.00
   5/8/2016     7,567               $3.91          25,471              $3.85              1,618               $3.88                     0.99
  5/15/2016     7,029               $3.84          23,265              $3.83              1,485               $3.83                     1.00
  5/22/2016     6,213               $3.90          19,289              $3.91              1,562               $3.96                     0.99
  5/29/2016     8,376               $3.83          30,583              $3.73              2,169               $3.78                     0.99
   6/5/2016     7,101               $3.81          25,728              $3.70              1,887               $3.70                     1.00
  6/12/2016     7,401               $3.86          25,492              $3.69              1,943               $3.86                     0.96
  6/19/2016     7,609               $3.85          28,623              $3.65              1,980               $3.81                     0.96
  6/26/2016     7,620               $3.85          24,343              $3.82              1,908               $3.80                     1.01
   7/3/2016     9,399               $3.84          33,701              $3.94              2,654               $3.68                     1.07
  7/10/2016     7,647               $3.70          27,424              $3.67              2,100               $3.65                     1.01
  7/17/2016     6,796               $3.90          23,722              $3.83              1,624               $3.87                     0.99
  7/24/2016     7,401               $3.90          24,501              $3.85              1,729               $3.85                     1.00
  7/31/2016     7,385               $3.98          23,132              $3.91              1,665               $3.94                     0.99
   8/7/2016     7,532               $3.90          26,961              $3.76              2,001               $3.84                     0.98
  8/14/2016     7,468               $3.84          28,118              $3.80              1,800               $3.80                     1.00
  8/21/2016     7,291               $3.78          26,496              $3.81              1,854               $3.74                     1.02
  8/28/2016     7,250               $3.86          27,974              $3.68              1,732               $3.80                     0.97
   9/4/2016     8,361               $3.80          36,611              $3.63              2,434               $3.73                     0.97
  9/11/2016     7,570               $3.77          30,935              $3.61              2,236               $3.64                     0.99
  9/18/2016     7,132               $3.79          27,265              $3.68              1,812               $3.75                     0.98
  9/25/2016     6,870               $3.94          24,151              $3.80              1,712               $3.87                     0.98
  10/2/2016     7,619               $3.94          25,232              $3.80              1,805               $3.99                     0.95
  10/9/2016     6,948               $4.03          25,419              $3.88              1,749               $4.01                     0.97
 10/16/2016     7,454               $3.92          30,306              $3.73              1,928               $3.85                     0.97
 10/23/2016     7,218               $3.91          26,920              $3.76              1,722               $3.95                     0.95
 10/30/2016     8,000               $3.94          27,186              $3.78              1,934               $3.86                     0.98
  11/6/2016     7,164               $4.02          23,004              $3.99              1,784               $4.04                     0.99


                                                                                                                                            Page 7 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 431 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

 11/13/2016     8,083               $3.96          26,917              $3.91              2,296               $3.91                     1.00
 11/20/2016     9,285               $3.98          35,930              $3.73              2,501               $3.87                     0.96
 11/27/2016     8,173               $3.90          44,175              $3.62              2,539               $3.90                     0.93
  12/4/2016     6,333               $4.01          21,816              $3.91              1,660               $4.13                     0.95
 12/11/2016     7,055               $4.00          26,670              $3.94              2,036               $3.93                     1.00
 12/18/2016     7,851               $3.98          28,136              $3.90              2,057               $3.87                     1.01
 12/25/2016     9,112               $4.09          47,077              $3.85              2,674               $3.97                     0.97
   1/1/2017     7,464               $4.24          26,259              $4.16              1,891               $4.18                     0.99
   1/8/2017     6,632               $4.29          21,356              $4.22              1,623               $4.35                     0.97
  1/15/2017     7,155               $4.31          25,207              $3.91              1,663               $4.37                     0.89
  1/22/2017     7,446               $4.21          26,382              $3.93              1,808               $4.17                     0.94
  1/29/2017     7,116               $4.13          20,577              $4.05              1,636               $4.09                     0.99
   2/5/2017     9,533               $3.98          35,313              $3.78              2,536               $3.96                     0.95
  2/12/2017     7,032               $4.24          24,538              $3.99              1,823               $4.22                     0.95
  2/19/2017     8,411               $4.27          24,086              $4.20              1,933               $4.22                     0.99
  2/26/2017     6,695               $4.27          18,964              $4.21              1,608               $4.28                     0.98
   3/5/2017     8,584               $4.11          27,297              $4.06              2,213               $4.01                     1.01
  3/12/2017     7,812               $4.18          26,972              $3.94              2,018               $4.18                     0.94
  3/19/2017     8,212               $4.20          29,557              $4.03              2,104               $4.21                     0.96
  3/26/2017     7,499               $4.18          22,083              $4.04              1,825               $4.09                     0.99
   4/2/2017     7,663               $4.22          22,099              $4.14              1,895               $4.28                     0.97
   4/9/2017     7,698               $4.19          24,950              $4.07              1,893               $4.28                     0.95
  4/16/2017     9,379               $4.03          34,783              $3.94              2,511               $4.07                     0.97
  4/23/2017     7,480               $4.17          27,524              $3.99              2,033               $4.16                     0.96
  4/30/2017     7,009               $4.21          24,102              $4.11              1,861               $4.25                     0.97
   5/7/2017     7,312               $4.13          28,340              $3.89              1,973               $4.17                     0.93
  5/14/2017     6,927               $4.23          27,573              $3.82              1,883               $4.25                     0.90
  5/21/2017     7,110               $4.25          22,746              $4.00              1,977               $4.24                     0.94
  5/28/2017     9,373               $4.13          35,461              $3.89              2,469               $4.13                     0.94
   6/4/2017     7,023               $4.19          25,897              $4.04              1,931               $4.24                     0.95
  6/11/2017     7,086               $4.26          23,297              $4.03              1,776               $4.35                     0.93
  6/18/2017     7,186               $4.26          23,657              $4.20              2,005               $4.27                     0.98
  6/25/2017     7,142               $4.21          23,110              $4.21              1,963               $4.35                     0.97
   7/2/2017     9,226               $4.20          35,132              $4.06              2,480               $4.17                     0.97
   7/9/2017     7,303               $4.24          40,367              $3.72              2,201               $4.27                     0.87
  7/16/2017     7,908               $4.20          25,512              $4.10              1,947               $4.27                     0.96


                                                                                                                                            Page 8 of 10
                  Case 5:17-cv-00564-NC          Document 248-1           Filed 10/09/18       Page 432 of 551


                12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                   Weekly Average Retail Prices In Los Angeles Food Channel
                                   Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                          (a)
               Diet (With Challenged Claim)      Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                     Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price    Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

  7/23/2017      7,187              $4.13          24,226              $4.10              1,733               $4.22                     0.97
  7/30/2017      6,354              $4.19          24,758              $4.01              1,737               $4.23                     0.95
   8/6/2017      6,633              $4.16          27,008              $4.01              2,063               $4.24                     0.95
  8/13/2017      6,703              $4.25          28,841              $4.06              1,857               $4.26                     0.95
  8/20/2017      6,895              $4.13          26,378              $3.99              1,759               $4.33                     0.92
  8/27/2017      7,275              $4.27          25,500              $3.92              1,795               $4.32                     0.91
   9/3/2017      9,043              $4.11          33,048              $3.99              2,423               $4.25                     0.94
  9/10/2017      7,302              $4.22          28,937              $4.03              2,041               $4.20                     0.96
  9/17/2017      6,957              $4.19          25,058              $4.02              1,667               $4.26                     0.94
  9/24/2017      6,684              $4.29          21,875              $4.09              1,542               $4.33                     0.94
  10/1/2017      7,412              $4.20          24,005              $4.09              1,993               $4.23                     0.97
  10/8/2017      7,334              $4.22          30,391              $3.95              1,921               $4.26                     0.93
 10/15/2017      7,460              $4.25          24,851              $4.12              1,820               $4.32                     0.95
 10/22/2017      7,981              $4.28          25,721              $4.08              1,915               $4.35                     0.94
 10/29/2017      7,759              $4.19          26,111              $4.04              1,750               $4.29                     0.94
  11/5/2017      7,695              $4.12          26,819              $3.85              1,885               $4.16                     0.92
 11/12/2017      7,734              $4.15          25,668              $3.89              1,931               $4.16                     0.94
 11/19/2017     11,554              $3.94          42,093              $3.87              3,091               $3.91                     0.99
 11/26/2017      8,984              $4.21          46,042              $3.91              2,733               $4.11                     0.95
  12/3/2017      6,626              $4.29          22,994              $3.89              1,420               $4.44                     0.88
 12/10/2017      8,221              $3.90          27,831              $3.72              1,770               $4.09                     0.91
 12/17/2017      9,069              $4.17          28,718              $4.12              1,977               $4.20                     0.98
 12/24/2017     11,197              $3.87          48,360              $3.78              2,585               $3.87                     0.98
 12/31/2017      8,410              $4.01          34,885              $3.98              2,151               $4.02                     0.99
   1/7/2018      7,435              $4.39          25,215              $4.33              1,807               $4.31                     1.00
  1/14/2018      8,313              $4.26          22,508              $4.29              1,741               $4.42                     0.97
  1/21/2018      7,923              $4.31          23,730              $4.15              1,713               $4.34                     0.96
  1/28/2018      8,033              $4.29          22,563              $4.19              1,583               $4.34                     0.97
   2/4/2018     10,795              $4.01          36,446              $3.86              2,628               $4.09                     0.94
  2/11/2018      7,913              $4.16          25,173              $3.94              1,836               $4.26                     0.92
  2/18/2018      8,135              $4.32          25,279              $4.09              1,684               $4.32                     0.95
  2/25/2018      7,654              $4.34          24,675              $3.98              1,565               $4.34                     0.92
   3/4/2018      8,316              $4.19          25,085              $4.04              1,819               $4.21                     0.96
  3/11/2018      8,375              $4.30          25,111              $4.13              1,819               $4.36                     0.95
  3/18/2018      7,602              $4.38          21,652              $4.17              1,564               $4.40                     0.95
  3/25/2018      7,986              $4.21          21,415              $4.13              1,544               $4.32                     0.96


                                                                                                                                            Page 9 of 10
                                    Case 5:17-cv-00564-NC                     Document 248-1                 Filed 10/09/18             Page 433 of 551


                                  12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                                     Weekly Average Retail Prices In Los Angeles Food Channel
                                                     Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                                                     (a)
                                 Diet (With Challenged Claim)                  Regular (With Challenged Claim)            Green Tea (Without Challenged Claim)
                                                  Weekly Average                                 Weekly Average                                Weekly Average               Regular To Green Tea
    Week Ending                Unit Sales             Retail Price             Unit Sales             Retail Price             Unit Sales             Retail Price                Price Ratio

       4/1/2018                   9,653                   $4.03                   32,985                  $3.84                   2,059                   $4.12                       0.93
       4/8/2018                   8,130                   $4.25                   24,165                  $4.03                   1,657                   $4.22                       0.95

Note:
(a) For this sales channel, location, and package type/size (i.e., 12 packs of 12-oz. cans), sales data are only available for Canada Dry Green Tea Ginger Ale (and not Diet Canada Dry Green Tea
Ginger Ale).

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                                         Page 10 of 10
               Case 5:17-cv-00564-NC         Document 248-1   Filed 10/09/18   Page 434 of 551




        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                     Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                           Week Ending January 15, 2012 - Week Ending April 8, 2018
$8.00



$7.00



$6.00



$5.00



$4.00



$3.00



$2.00

           Diet Canada Dry Ginger Ale

$1.00      Canada Dry Ginger Ale
           Canada Dry Green Tea Ginger Ale


$0.00
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 435 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

 1/15/2012              3,529              $4.54             5,641              $4.57               832                $4.30
 1/22/2012              3,908              $4.61             6,441              $4.55               889                $4.64
 1/29/2012              3,396              $4.57             5,779              $4.49               794                $4.16
  2/5/2012              5,884              $3.72             9,563              $3.76              1,455               $3.49
 2/12/2012              3,679              $4.57             6,805              $4.31              1,150               $4.11
 2/19/2012              3,799              $4.29             6,448              $4.37               888                $4.23
 2/26/2012              3,897              $4.28             6,339              $4.39               847                $4.04
  3/4/2012              4,199              $4.16             7,149              $4.08              1,014               $3.68
 3/11/2012              4,449              $3.85             8,110              $3.76              1,334               $3.41
 3/18/2012              3,980              $4.08             7,048              $4.13               981                $3.90
 3/25/2012              4,292              $3.98             6,896              $4.03              1,006               $3.90
  4/1/2012              4,639              $3.94             7,461              $3.95              1,161               $3.75
  4/8/2012              5,310              $3.68             9,451              $3.65              1,513               $3.50
 4/15/2012              3,383              $4.55             6,236              $4.30               837                $4.35
 4/22/2012              4,056              $4.36             6,201              $4.36               920                $4.23
 4/29/2012              3,972              $4.22             5,951              $4.14               863                $4.03
  5/6/2012              4,855              $3.85             8,090              $3.78              1,290               $3.65
 5/13/2012              6,245              $3.78             9,757              $3.70              1,742               $3.43
 5/20/2012              4,011              $4.23             6,624              $4.07              1,160               $3.83
 5/27/2012              4,933              $3.82             9,156              $3.71              1,390               $3.59
  6/3/2012              5,384              $3.71             9,501              $3.58              1,347               $3.50
 6/10/2012              3,536              $4.47             6,196              $4.38               741                $4.26
 6/17/2012              3,497              $5.02             5,205              $5.00               706                $4.92
 6/24/2012              4,011              $4.69             5,502              $4.79               783                $4.61
  7/1/2012              5,714              $3.76             8,786              $3.74              1,391               $3.51
  7/8/2012              6,570              $3.64            11,517              $3.57              1,908               $3.37
 7/15/2012              3,834              $4.70             5,424              $4.69               657                $4.52
 7/22/2012              3,989              $4.61             5,665              $4.65               762                $4.43
 7/29/2012              4,005              $4.69             5,662              $4.64               829                $4.48
  8/5/2012              4,366              $4.57             6,365              $4.51               807                $4.31
 8/12/2012              4,537              $4.44             6,707              $4.53              1,048               $4.12
 8/19/2012              4,099              $4.44             6,238              $4.53               836                $4.30
 8/26/2012              3,573              $4.52             5,211              $4.43               725                $4.33
  9/2/2012              4,867              $4.13             7,629              $4.07              1,020               $3.83



                                                                                                                                         Page 1 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 436 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

   9/9/2012             4,668              $4.23             7,505              $4.29              1,049               $4.00
  9/16/2012             4,167              $4.49             6,312              $4.54               871                $4.14
  9/23/2012             4,434              $4.12             7,141              $4.10              1,003               $3.92
  9/30/2012             4,635              $4.29             6,722              $4.37               925                $4.14
  10/7/2012             5,454              $4.06             9,191              $4.00              1,182               $3.81
 10/14/2012             4,323              $4.50             6,472              $4.48               744                $4.41
 10/21/2012             3,936              $4.51             5,898              $4.56               765                $4.20
 10/28/2012             4,105              $4.40             5,824              $4.48               683                $4.25
  11/4/2012             4,668              $3.96             6,727              $4.06               838                $3.80
 11/11/2012             4,819              $3.80             8,075              $3.82               993                $3.40
 11/18/2012             4,647              $4.38             7,458              $4.41               785                $4.17
 11/25/2012             5,159              $4.35             9,666              $4.39              1,114               $3.94
  12/2/2012             4,493              $4.10             7,453              $4.14               841                $3.71
  12/9/2012             5,135              $3.84             9,154              $3.81               975                $3.48
 12/16/2012             4,635              $4.24             7,976              $4.34               888                $4.01
 12/23/2012             5,251              $4.22             9,538              $4.29               949                $3.91
 12/30/2012             4,177              $4.38             8,369              $4.46               769                $4.10
   1/6/2013             5,018              $4.06             8,413              $4.21               989                $3.62
  1/13/2013             3,926              $4.64             6,351              $4.77               582                $4.33
  1/20/2013             4,711              $4.57             7,057              $4.73               783                $4.23
  1/27/2013             4,686              $4.57             7,341              $4.72               892                $4.04
   2/3/2013             5,404              $3.63             8,879              $3.69               928                $3.48
  2/10/2013             4,432              $3.73             7,325              $3.87               774                $3.59
  2/17/2013             3,824              $4.67             6,077              $4.67               642                $4.62
  2/24/2013             4,113              $4.66             6,049              $4.74               653                $4.64
   3/3/2013             4,278              $4.35             6,442              $4.37               744                $4.22
  3/10/2013             4,658              $4.45             7,159              $4.42               851                $4.37
  3/17/2013             5,123              $3.86             7,855              $3.90              1,082               $3.65
  3/24/2013             4,196              $4.06             6,151              $4.09               762                $3.82
  3/31/2013             4,552              $3.88             7,003              $3.94               850                $3.65
   4/7/2013             4,877              $3.66             7,569              $3.68               909                $3.38
  4/14/2013             4,654              $4.24             6,865              $4.20               771                $4.10
  4/21/2013             5,294              $3.81             8,562              $3.74              1,010               $3.42
  4/28/2013             4,567              $4.09             6,498              $4.18               656                $3.96



                                                                                                                                         Page 2 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 437 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

   5/5/2013             4,954              $3.85             7,730              $3.84               647                $3.58
  5/12/2013             5,935              $3.88             9,905              $3.90               491                $3.81
  5/19/2013             4,583              $4.17             6,781              $4.10               316                $3.70
  5/26/2013             4,961              $3.86             8,136              $3.84               237                $3.73
   6/2/2013             4,851              $3.79             8,688              $3.74               246                $3.67
   6/9/2013             4,577              $4.43             6,743              $4.35               252                $4.07
  6/16/2013             4,347              $4.53             6,413              $4.54               179                $4.18
  6/23/2013             3,663              $4.64             5,619              $4.58               163                $4.99
  6/30/2013             5,005              $3.86             7,506              $3.91               172                $3.49
   7/7/2013             5,748              $3.61            10,053              $3.61               193                $3.80
  7/14/2013             4,432              $3.83             6,962              $3.83               227                $3.96
  7/21/2013             4,128              $4.25             6,005              $4.25               192                $3.98
  7/28/2013             4,263              $4.08             6,850              $4.03               193                $3.29
   8/4/2013             4,499              $4.08             7,486              $4.09               283                $3.37
  8/11/2013             5,290              $3.93             9,581              $3.89               298                $3.76
  8/18/2013             4,469              $4.15             7,455              $4.11               257                $4.17
  8/25/2013             4,101              $4.15             5,854              $4.23               183                $4.07
   9/1/2013             4,167              $4.01             6,512              $4.10               258                $3.69
   9/8/2013             3,935              $4.53             6,290              $4.56               201                $3.98
  9/15/2013             4,091              $4.21             6,900              $3.98               185                $3.74
  9/22/2013             3,628              $4.34             5,444              $4.33                88                $4.22
  9/29/2013             4,155              $4.20             5,758              $4.28               128                $3.81
  10/6/2013             4,421              $4.05             7,465              $3.92               228                $3.80
 10/13/2013             3,494              $4.21             5,776              $4.28               149                $4.00
 10/20/2013             4,006              $4.01             5,813              $4.13               169                $3.89
 10/27/2013             4,838              $4.43             8,478              $4.48               174                $4.31
  11/3/2013             4,140              $4.29             6,313              $4.31               141                $3.75
 11/10/2013             4,170              $3.90             7,370              $3.82               193                $3.38
 11/17/2013             4,412              $3.64             6,834              $3.74               205                $3.20
 11/24/2013             4,431              $4.20             7,111              $4.30               228                $4.50
  12/1/2013             3,794              $3.97             7,367              $4.11               249                $3.41
  12/8/2013             3,776              $3.89             6,192              $3.95               161                $3.41
 12/15/2013             4,818              $3.87             8,558              $3.86               261                $3.58
 12/22/2013             6,113              $3.99            10,968              $3.99               355                $3.93



                                                                                                                                         Page 3 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 438 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

 12/29/2013             3,927              $3.84             7,645              $3.96               265                $3.57
   1/5/2014             4,316              $4.19             7,400              $4.22               206                $4.09
  1/12/2014             4,056              $3.78             6,562              $3.96               232                $3.63
  1/19/2014             3,946              $3.98             6,634              $4.06               158                $3.85
  1/26/2014             4,619              $4.23             7,030              $4.39               232                $3.73
   2/2/2014             4,713              $3.99             8,229              $4.05               243                $3.96
   2/9/2014             4,054              $3.67             7,273              $3.69               294                $3.29
  2/16/2014             4,382              $3.81             7,345              $3.91               256                $3.52
  2/23/2014             4,498              $3.93             8,083              $3.88               170                $3.87
   3/2/2014             4,005              $3.82             5,888              $3.95               184                $3.59
   3/9/2014             3,756              $3.90             6,231              $3.92               267                $3.33
  3/16/2014             4,487              $3.90             8,225              $3.75               245                $3.57
  3/23/2014             5,530              $3.83             8,967              $3.81               267                $3.40
  3/30/2014             4,173              $3.94             6,383              $4.11               215                $3.57
   4/6/2014             3,795              $4.19             6,430              $4.13               270                $4.13
  4/13/2014             4,948              $3.96             7,883              $3.97               193                $3.55
  4/20/2014             4,484              $3.84             7,537              $3.92               196                $4.27
  4/27/2014             4,096              $4.11             7,045              $4.20               173                $3.70
   5/4/2014             4,349              $4.10             7,756              $4.04               185                $4.04
  5/11/2014             3,351              $4.17             5,695              $4.16                72                $4.21
  5/18/2014             5,092              $3.32             9,309              $3.41               148                $2.69
  5/25/2014             5,745              $3.57            10,282              $3.60               287                $3.82
   6/1/2014             4,157              $3.85             6,788              $3.92               215                $4.25
   6/8/2014             4,358              $4.04             6,744              $4.12               129                $4.05
  6/15/2014             4,662              $3.68             8,425              $3.73               172                $4.27
  6/22/2014             4,499              $4.04             7,076              $4.05               123                $4.11
  6/29/2014             4,948              $3.62             9,127              $3.56               145                $3.73
   7/6/2014             5,390              $3.66            10,676              $3.52               161                $3.42
  7/13/2014             3,655              $4.22             6,865              $3.92               104                $4.53
  7/20/2014             3,510              $4.75             5,928              $4.75               150                $4.40
  7/27/2014             5,758              $3.53             9,610              $3.60               243                $4.15
   8/3/2014             3,361              $4.82             5,153              $4.81               211                $4.80
  8/10/2014             3,432              $4.57             5,794              $4.53               108                $4.53
  8/17/2014             5,340              $3.68             9,064              $3.78               250                $3.42



                                                                                                                                         Page 4 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 439 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

  8/24/2014             4,228              $3.88             6,768              $3.95               135                $4.11
  8/31/2014             4,255              $3.83             7,128              $3.94               210                $3.86
   9/7/2014             3,273              $4.62             5,837              $4.59               122                $4.30
  9/14/2014             3,825              $4.10             6,850              $3.95               175                $4.72
  9/21/2014             5,772              $3.53             9,525              $3.42               183                $3.67
  9/28/2014             4,084              $4.04             6,275              $4.05               166                $4.00
  10/5/2014             4,548              $4.21             6,723              $4.37               148                $3.99
 10/12/2014             3,844              $4.35             6,268              $4.18               155                $4.01
 10/19/2014             5,182              $3.43             9,048              $3.58               226                $4.58
 10/26/2014             4,273              $3.95             7,160              $3.94                79                $4.03
  11/2/2014             3,889              $4.24             6,530              $4.29               179                $4.26
  11/9/2014             3,728              $4.28             6,339              $4.42               119                $3.56
 11/16/2014             3,254              $4.76             5,780              $4.53               154                $4.80
 11/23/2014             5,850              $3.66            10,187              $3.68               230                $3.77
 11/30/2014             4,342              $3.97             8,727              $3.95               188                $3.69
  12/7/2014             4,040              $4.15             7,846              $3.98               137                $3.57
 12/14/2014             3,795              $4.16             7,298              $4.17               149                $4.22
 12/21/2014             4,356              $4.10             7,889              $4.13               121                $4.24
 12/28/2014             3,323              $4.52             7,037              $4.47               141                $4.73
   1/4/2015             5,363              $3.95            10,460              $4.12               185                $3.25
  1/11/2015             4,583              $4.08             7,914              $4.30               156                $4.45
  1/18/2015             3,797              $5.01             7,335              $5.10                89                $4.72
  1/25/2015             4,509              $4.09             7,111              $4.23               147                $3.95
   2/1/2015             4,868              $4.00             8,149              $3.96               138                $3.88
   2/8/2015             3,823              $4.37             7,166              $4.29               160                $4.41
  2/15/2015             4,329              $4.05             7,622              $4.13               155                $3.86
  2/22/2015             3,311              $4.91             5,179              $4.93                81                $4.53
   3/1/2015             4,357              $4.32             6,904              $4.48               150                $3.80
   3/8/2015             4,777              $4.08             7,957              $4.09               142                $3.45
  3/15/2015             6,044              $3.70            10,225              $3.75               228                $3.78
  3/22/2015             5,128              $3.77             8,575              $3.84               131                $3.28
  3/29/2015             4,559              $4.14             8,204              $4.24               105                $3.75
   4/5/2015             5,012              $3.62             9,242              $3.67               149                $3.01
  4/12/2015             5,033              $3.71             8,644              $3.71               170                $3.53



                                                                                                                                         Page 5 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 440 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

  4/19/2015             3,661              $4.58             6,712              $4.19               131                $4.07
  4/26/2015             4,514              $4.19             7,332              $4.26               118                $3.42
   5/3/2015             4,372              $4.00             7,318              $4.12               204                $3.97
  5/10/2015             4,145              $4.03             7,810              $3.92               198                $3.49
  5/17/2015             5,119              $3.84             9,516              $3.86               148                $3.65
  5/24/2015             4,545              $3.77             7,757              $3.80               150                $3.78
  5/31/2015             4,425              $3.97             6,983              $3.96               217                $4.57
   6/7/2015             5,873              $3.62             9,892              $3.68               203                $3.44
  6/14/2015             4,818              $3.90             8,936              $3.80               191                $3.55
  6/21/2015             3,837              $4.27             6,147              $4.25               155                $3.66
  6/28/2015             4,696              $3.80             7,071              $3.85               173                $3.31
   7/5/2015             6,162              $3.35            11,540              $3.27               164                $3.41
  7/12/2015             3,199              $4.75             5,314              $4.62               106                $4.72
  7/19/2015             5,163              $3.80             8,738              $3.88               186                $3.51
  7/26/2015             4,397              $4.25             7,469              $4.10               130                $3.81
   8/2/2015             4,295              $3.99             7,278              $3.94                84                $3.75
   8/9/2015             3,460              $4.28             5,922              $4.15               110                $4.35
  8/16/2015             5,278              $3.50             9,356              $3.53                96                $4.40
  8/23/2015             4,310              $4.06             6,493              $4.21                57                $3.83
  8/30/2015             4,700              $4.03             7,588              $4.08                59                $3.91
   9/6/2015             4,699              $4.51             8,142              $4.50               161                $5.12
  9/13/2015             4,283              $4.49             7,159              $4.43                64                $4.06
  9/20/2015             5,197              $4.14             8,861              $4.10                53                $2.92
  9/27/2015             3,423              $5.36             5,682              $5.11                69                $4.24
  10/4/2015             4,310              $4.56             6,591              $4.61                70                $3.98
 10/11/2015             4,196              $4.69             7,149              $4.85                71                $3.98
 10/18/2015             5,667              $4.12             8,738              $4.17               108                $3.69
 10/25/2015             4,011              $4.62             6,243              $4.74                55                $4.14
  11/1/2015             4,082              $4.59             6,774              $4.69                62                $4.72
  11/8/2015             3,770              $4.44             6,033              $4.38               132                $4.53
 11/15/2015             3,973              $4.63             6,049              $4.73                47                $4.06
 11/22/2015             5,043              $4.31             7,772              $4.33                64                $3.58
 11/29/2015             3,490              $4.68             7,810              $4.40                87                $4.59
  12/6/2015             4,250              $4.19             6,695              $4.24                68                $3.70



                                                                                                                                         Page 6 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 441 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

 12/13/2015             4,165              $4.31             6,765              $4.27                56                $4.31
 12/20/2015             4,394              $4.24             6,860              $4.36                72                $4.27
 12/27/2015             4,035              $4.34             7,992              $4.42                52                $3.95
   1/3/2016             4,340              $4.26             7,951              $4.42                78                $3.68
  1/10/2016             4,231              $4.58             6,174              $4.70                57                $3.57
  1/17/2016             4,239              $4.39             6,841              $4.45                85                $4.62
  1/24/2016             4,208              $4.55             5,997              $4.63                70                $4.97
  1/31/2016             4,244              $4.69             5,587              $4.92                45                $4.54
   2/7/2016             4,536              $4.46             7,658              $4.37                55                $3.93
  2/14/2016             4,067              $4.25             6,269              $4.37                55                $4.67
  2/21/2016             4,231              $4.34             5,837              $4.53                71                $4.59
  2/28/2016             4,261              $4.38             6,625              $4.43                62                $3.65
   3/6/2016             4,056              $4.46             6,557              $4.53               121                $5.07
  3/13/2016             3,838              $4.42             5,912              $4.54                48                $4.04
  3/20/2016             4,128              $4.53             5,707              $4.63                41                $4.41
  3/27/2016             4,236              $4.64             6,776              $4.67                79                $4.27
   4/3/2016             3,977              $4.54             6,126              $4.65                28                $4.46
  4/10/2016             4,059              $4.39             6,611              $4.40                77                $3.85
  4/17/2016             4,233              $4.30             6,816              $4.30               113                $4.25
  4/24/2016             3,928              $4.38             5,920              $4.48                83                $4.27
   5/1/2016             3,571              $4.88             5,178              $5.05               192                $5.86
   5/8/2016             4,003              $4.48             5,696              $4.52                44                $3.33
  5/15/2016             3,926              $4.45             5,263              $4.50                47                $3.64
  5/22/2016             3,733              $4.53             4,882              $4.37                23                $3.66
  5/29/2016             4,464              $4.66             7,156              $4.57                49                $3.52
   6/5/2016             4,015              $4.49             5,989              $4.53                36                $3.93
  6/12/2016             3,955              $4.50             5,498              $4.44                35                $4.24
  6/19/2016             4,038              $4.45             5,543              $4.27               106                $4.92
  6/26/2016             3,953              $4.38             5,873              $4.22                43                $3.79
   7/3/2016             4,618              $4.58             7,119              $4.46                60                $3.82
  7/10/2016             3,511              $4.70             5,501              $4.71                43                $3.92
  7/17/2016             3,764              $4.78             4,754              $4.98                63                $4.25
  7/24/2016             3,781              $4.41             6,105              $4.37                92                $4.87
  7/31/2016             4,019              $4.37             5,713              $4.30                48                $4.09



                                                                                                                                         Page 7 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 442 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

   8/7/2016             4,226              $4.03             6,021              $3.99                61                $4.80
  8/14/2016             3,661              $4.62             5,208              $4.60                96                $4.68
  8/21/2016             4,115              $4.37             5,983              $4.35                47                $3.44
  8/28/2016             4,036              $4.55             6,211              $4.41                67                $4.48
   9/4/2016             4,162              $4.64             6,444              $4.54                35                $4.51
  9/11/2016             3,201              $5.44             4,864              $5.17                22                $5.22
  9/18/2016             3,653              $4.53             5,140              $4.38                13                $3.84
  9/25/2016             3,801              $4.49             5,078              $4.45                37                $5.03
  10/2/2016             4,169              $4.91             5,399              $4.90                24                $4.90
  10/9/2016             3,527              $5.35             5,973              $4.96                27                $5.20
 10/16/2016             3,509              $5.45             5,824              $4.99                23                $4.34
 10/23/2016             4,219              $4.69             5,642              $4.75                26                $4.22
 10/30/2016             3,719              $4.75             4,922              $4.91                16                $5.00
  11/6/2016             3,272              $5.42             4,133              $5.58                 5                $6.99
 11/13/2016             3,959              $4.76             4,905              $4.86               111                $5.96
 11/20/2016             4,182              $4.79             6,957              $4.54                67                $4.15
 11/27/2016             3,345              $5.12             6,957              $4.80                40                $5.96
  12/4/2016             3,165              $5.34             4,241              $5.31                25                $4.31
 12/11/2016             3,725              $4.34             4,893              $4.43                79                $4.39
 12/18/2016             3,585              $4.36             5,504              $4.40                35                $4.04
 12/25/2016             4,088              $4.38             7,963              $4.30                26                $3.77
   1/1/2017             3,999              $4.31             6,474              $4.40                28                $3.97
   1/8/2017             3,343              $5.62             4,243              $5.69                51                $5.01
  1/15/2017             4,234              $4.84             5,364              $5.00                34                $5.27
  1/22/2017             4,044              $4.77             5,650              $4.81                52                $4.55
  1/29/2017             3,330              $5.40             4,082              $5.48                16                $5.49
   2/5/2017             5,101              $4.26             7,946              $4.39                56                $3.29
  2/12/2017             3,509              $5.24             4,769              $5.31                25                $5.63
  2/19/2017             4,525              $4.77             6,642              $4.74                40                $4.40
  2/26/2017             3,666              $5.09             5,108              $5.05                76                $5.97
   3/5/2017             4,140              $4.88             5,506              $4.84                35                $4.51
  3/12/2017             3,739              $5.41             5,354              $5.24               125                $5.58
  3/19/2017             3,803              $5.60             5,315              $5.49                39                $5.28
  3/26/2017             3,221              $5.49             4,514              $5.30                 8                $5.99



                                                                                                                                         Page 8 of 10
                Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18        Page 443 of 551


              12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                           Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                 Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                   (a)
                      Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                       Weekly Average                       Weekly Average                        Weekly Average
Week Ending          Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price

   4/2/2017             4,056              $4.91             5,187              $4.96                85                $4.94
   4/9/2017             3,197              $5.52             4,278              $5.47                18                $4.80
  4/16/2017             5,382              $4.28             8,709              $4.22                88                $5.01
  4/23/2017             2,872              $5.56             4,361              $5.32                13                $5.72
  4/30/2017             3,680              $4.55             5,474              $4.50                74                $5.05
   5/7/2017             3,888              $4.99             6,532              $4.78                68                $4.09
  5/14/2017             3,084              $5.43             5,197              $4.99                62                $6.28
  5/21/2017             4,364              $4.74             5,684              $4.70                19                $4.94
  5/28/2017             3,892              $4.49             6,583              $4.40                78                $5.19
   6/4/2017             3,276              $5.46             5,196              $5.42                20                $5.88
  6/11/2017             3,709              $5.10             5,769              $5.15               101                $5.77
  6/18/2017             3,274              $5.62             5,057              $5.64                59                $5.34
  6/25/2017             3,052              $5.64             4,437              $5.67                78                $6.09
   7/2/2017             4,049              $4.45             7,726              $4.32                48                $3.97
   7/9/2017             3,691              $5.44             5,958              $5.09               124                $5.49
  7/16/2017             4,234              $4.82             5,715              $5.02                29                $4.93
  7/23/2017             3,315              $5.56             4,548              $5.64                19                $5.84
  7/30/2017             3,409              $5.48             4,836              $5.25                87                $6.44
   8/6/2017             2,952              $5.84             4,544              $5.61                59                $5.33
  8/13/2017             3,291              $5.47             4,792              $5.49                35                $6.55
  8/20/2017             3,797              $4.93             5,544              $5.26                38                $3.92
  8/27/2017             3,665              $5.61             5,346              $5.58                 9                $5.60
   9/3/2017             4,301              $4.83             7,080              $4.90                38                $4.83
  9/10/2017             3,212              $4.81             4,898              $5.05                25                $4.00
  9/17/2017             3,652              $4.20             4,879              $4.57                32                $2.68
  9/24/2017             3,180              $4.61             4,316              $4.89                34                $3.45
  10/1/2017             4,004              $4.25             5,438              $4.64                21                $4.43
  10/8/2017             3,140              $4.68             4,439              $5.12               159                $4.66
 10/15/2017             3,371              $4.89             4,711              $5.16                18                $5.20
 10/22/2017             3,615              $5.56             4,945              $5.50                27                $6.12
 10/29/2017             3,773              $4.87             5,443              $5.04                28                $4.78
  11/5/2017             3,334              $5.44             4,354              $5.55                58                $5.71
 11/12/2017             3,925              $4.93             5,384              $5.17                38                $4.17
 11/19/2017             4,216              $4.83             6,677              $4.99                38                $4.50



                                                                                                                                         Page 9 of 10
                        Case 5:17-cv-00564-NC                      Document 248-1               Filed 10/09/18             Page 444 of 551


                    12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                 Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                       Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                                                        (a)
                                 Diet (With Challenged Claim)                   Regular (With Challenged Claim)             Green Tea (Without Challenged Claim)
                                                  Weekly Average                                  Weekly Average                                 Weekly Average
    Week Ending                 Unit Sales             Retail Price             Unit Sales              Retail Price             Unit Sales              Retail Price

     11/26/2017                    3,468                   $5.27                    7,255                   $5.29                     30                     $6.03
      12/3/2017                    3,116                   $5.50                    4,368                   $5.34                     25                     $5.43
     12/10/2017                    3,679                   $4.66                    5,412                   $4.75                     42                     $5.34
     12/17/2017                    5,157                   $4.16                    9,258                   $3.97                     40                     $3.95
     12/24/2017                    5,203                   $4.34                   12,146                   $4.34                     43                     $3.12
     12/31/2017                    3,526                   $5.39                    7,061                   $5.45                     10                     $6.89
       1/7/2018                    3,431                   $5.62                    5,431                   $5.48                     14                     $5.83
      1/14/2018                    4,269                   $4.96                    6,474                   $4.98                     33                     $5.06
      1/21/2018                    3,766                   $4.95                    5,765                   $4.96                     22                     $3.73
      1/28/2018                    3,312                   $5.65                    5,221                   $5.40                     25                     $6.04
       2/4/2018                    5,366                   $4.38                    9,904                   $4.27                     42                     $3.61
      2/11/2018                    4,120                   $5.11                    6,206                   $5.21                     35                     $4.82
      2/18/2018                    3,935                   $4.75                    5,831                   $4.93                     45                     $4.73
      2/25/2018                    3,999                   $5.03                    6,127                   $5.14                     27                     $4.73
       3/4/2018                    3,659                   $5.60                    5,237                   $5.62                     39                     $5.27
      3/11/2018                    4,196                   $5.09                    6,851                   $5.10                     17                     $4.86
      3/18/2018                    3,942                   $5.12                    5,824                   $5.33                     55                     $4.11
      3/25/2018                    4,213                   $5.07                    6,117                   $5.25                     51                     $6.16
       4/1/2018                    4,829                   $4.50                    8,805                   $4.51                     39                     $3.73
       4/8/2018                    3,379                   $5.52                    5,250                   $5.45                     28                     $5.80

Note:
(a) For this sales channel, location, and package type/size (i.e., 12 packs of 12-oz. cans), sales data are available for two Canada Dry Green Tea ginger ale products:
Canada Dry Green Tea Ginger Ale and Diet Canada Dry Green Tea Ginger Ale. The data include sales of 12 packs of 12-oz. cans of Diet Canada Dry Green Tea
Ginger Ale in only 23 of the 326 available weeks with a total of 1,362 units sold. Therefore, for the purpose of this analysis, only sales of 12 packs of 12-oz. cans of
Canada Dry Green Tea Ginger Ale are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                              Page 10 of 10
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 445 of 551




                            Exhibit 10
                          Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 446 of 551




                        2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                        Weekly Average Retail Prices In Los Angeles Food Channel
                                     Week Ending January 15, 2012 - Week Ending January 13, 2013
$2.50




$2.00




$1.50




$1.00




$0.50
                      Diet Canada Dry Ginger Ale
                      Canada Dry Ginger Ale
                      Canada Dry Green Tea Ginger Ale

$0.00




        Note:
        Starting from Week Ending January 20, 2013, the Unit Sales for Canada Dry Green Tea Ginger Ale started to drop below 100 each week, and
        eventually became 0. Therefore, only sales from Week Ending January 15, 2012 to January 13, 2013 are used.
                         Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 447 of 551



                       2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                               Canada Dry Ginger Ale To Canada Dry Green Tea Ginger Ale Price Ratio
                                       Weekly Average Retail Price In Los Angeles Food Channel
                                    Week Ending January 15, 2012 - Week Ending January 13, 2013
1.20




1.00




0.80




0.60




0.40




0.20




0.00




       Note:
       Starting from Week Ending January 20, 2013, the Unit Sales for Canada Dry Green Tea Ginger Ale started to drop below 100 each week, and
       eventually became 0. Therefore, only sales from Week Ending January 15, 2012 to January 13, 2013 are used.
                  Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18       Page 448 of 551


                        2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                        Weekly Average Retail Prices In Los Angeles Food Channel
                                     Week Ending January 15, 2012 - Week Ending January 13, 2013

                                                                                                                            (a)
               Diet (With Challenged Claim)        Regular (With Challenged Claim)    Green Tea (Without Challenged Claim)
                                Weekly Average                       Weekly Average                        Weekly Average         Regular To Green Tea
Week Ending   Unit Sales         Retail Price      Unit Sales         Retail Price        Unit Sales         Retail Price              Price Ratio

 1/15/2012      6,672               $1.44            60,638              $1.28              3,302               $1.37                     0.93
 1/22/2012      3,038               $1.21            47,250              $1.10              2,420               $1.12                     0.98
 1/29/2012      2,880               $1.26            38,759              $1.11              2,631               $1.15                     0.96
  2/5/2012      6,824               $1.42            70,297              $1.21              3,768               $1.35                     0.89
 2/12/2012      5,621               $1.49            58,385              $1.27              4,155               $1.22                     1.04
 2/19/2012      4,485               $1.45            49,953              $1.28              3,321               $1.27                     1.01
 2/26/2012      4,597               $1.42            50,519              $1.24              3,282               $1.27                     0.98
  3/4/2012      4,743               $1.44            53,669              $1.25              3,225               $1.27                     0.99
 3/11/2012      4,542               $1.44            52,321              $1.23              2,792               $1.29                     0.96
 3/18/2012      4,773               $1.44            54,339              $1.25              3,221               $1.27                     0.98
 3/25/2012      5,001               $1.36            53,830              $1.14              3,673               $1.13                     1.01
  4/1/2012      5,243               $1.36            54,875              $1.14              3,313               $1.17                     0.97
  4/8/2012      5,257               $1.33            71,582              $1.15              3,424               $1.13                     1.02
 4/15/2012      4,863               $1.37            58,700              $1.24              2,354               $1.31                     0.94
 4/22/2012      5,343               $1.39            52,639              $1.25              1,701               $1.31                     0.96
 4/29/2012      4,355               $1.49            39,792              $1.29              1,819               $1.38                     0.94
  5/6/2012      5,333               $1.35            54,861              $1.15              2,517               $1.34                     0.86
 5/13/2012      4,886               $1.41            65,193              $1.18              3,154               $1.37                     0.86
 5/20/2012      4,920               $1.46            50,129              $1.37              2,963               $1.49                     0.92
 5/27/2012      5,223               $1.42            51,125              $1.36              2,968               $1.43                     0.96
  6/3/2012      5,067               $1.44            48,757              $1.38              2,556               $1.46                     0.95
 6/10/2012      5,871               $1.38            54,255              $1.36              2,839               $1.44                     0.95
 6/17/2012      5,860               $1.42            56,112              $1.33              3,075               $1.43                     0.93
 6/24/2012      6,383               $1.32            49,014              $1.35              3,440               $1.17                     1.15
  7/1/2012      6,569               $1.40            49,516              $1.33              2,966               $1.40                     0.95
  7/8/2012      6,060               $1.37            54,716              $1.27              3,419               $1.29                     0.99
 7/15/2012      5,785               $1.40            41,160              $1.37              2,574               $1.46                     0.94
 7/22/2012      5,976               $1.40            49,606              $1.33              2,713               $1.43                     0.93
 7/29/2012      6,484               $1.42            48,529              $1.37              2,756               $1.46                     0.94
  8/5/2012      8,158               $1.30            55,858              $1.24              3,499               $1.32                     0.94
 8/12/2012      7,978               $1.42            58,484              $1.30              3,173               $1.43                     0.90
 8/19/2012      7,336               $1.44            46,260              $1.38              2,824               $1.45                     0.95
 8/26/2012      7,277               $1.39            42,885              $1.32              2,740               $1.45                     0.91
  9/2/2012      8,613               $1.41            55,946              $1.30              3,329               $1.44                     0.90
  9/9/2012      9,150               $1.40            58,086              $1.29              3,095               $1.41                     0.91
 9/16/2012      9,176               $1.37            56,481              $1.32              3,305               $1.36                     0.97


                                                                                                                                                 Page 1 of 2
                                    Case 5:17-cv-00564-NC                      Document 248-1                 Filed 10/09/18             Page 449 of 551


                                           2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                                        Week Ending January 15, 2012 - Week Ending January 13, 2013

                                                                                                                                                                       (a)
                                 Diet (With Challenged Claim)                  Regular (With Challenged Claim)              Green Tea (Without Challenged Claim)
                                                  Weekly Average                                 Weekly Average                                  Weekly Average               Regular To Green Tea
    Week Ending                Unit Sales              Retail Price             Unit Sales             Retail Price              Unit Sales             Retail Price                Price Ratio

      9/23/2012                    9,762                   $1.32                  59,968                   $1.22                    3,226                   $1.34                       0.91
      9/30/2012                    9,422                   $1.35                  54,233                   $1.25                    3,368                   $1.35                       0.93
      10/7/2012                    9,492                   $1.37                  61,966                   $1.25                    3,221                   $1.31                       0.96
     10/14/2012                    9,177                   $1.35                  59,794                   $1.32                    3,095                   $1.37                       0.96
     10/21/2012                    9,257                   $1.32                  57,262                   $1.30                    3,011                   $1.36                       0.96
     10/28/2012                    9,119                   $1.29                  64,383                   $1.26                    2,946                   $1.37                       0.92
      11/4/2012                    9,953                   $1.27                  59,846                   $1.22                    3,246                   $1.31                       0.93
     11/11/2012                    9,127                   $1.34                  58,824                   $1.27                    3,076                   $1.32                       0.96
     11/18/2012                   10,218                   $1.34                  68,329                   $1.28                    3,512                   $1.42                       0.90
     11/25/2012                   10,557                   $1.34                  87,177                   $1.27                    3,669                   $1.43                       0.89
      12/2/2012                    8,679                   $1.31                  52,556                   $1.30                    2,878                   $1.43                       0.91
      12/9/2012                    8,900                   $1.32                  51,536                   $1.29                    2,402                   $1.40                       0.92
     12/16/2012                   11,966                   $1.26                  74,731                   $1.26                    1,372                   $1.38                       0.91
     12/23/2012                   13,984                   $1.23                  99,911                   $1.22                     663                    $1.39                       0.88
     12/30/2012                   11,632                   $1.27                  91,565                   $1.26                     389                    $1.47                       0.86
       1/6/2013                   10,598                   $1.32                  68,692                   $1.33                     149                    $1.53                       0.87
      1/13/2013                   10,769                   $1.31                  53,961                   $1.34                     115                    $1.27                       1.05

Note:
(a) For this sales channel, location, and package type/size (i.e., 2-liter bottles), sales data are only available for Canada Dry Green Tea Ginger Ale (and not Diet Canada Dry Green Tea Ginger Ale).
Further, starting from Week Ending January 20, 2013, the Unit Sales of Canada Dry Green Tea Ginger Ale started to drop below 100 each week, and eventually became 0. Therefore, for the
purpose of this analysis, only sales of 2-liter bottles of Canada Dry Green Tea Ginger Ale from Week Ending January 15, 2012 to January 13, 2013 are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                                               Page 2 of 2
                         Case 5:17-cv-00564-NC              Document 248-1           Filed 10/09/18        Page 450 of 551




                       2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                  Week Ending January 15, 2012 - Week Ending September 16, 2012
$2.50




$2.00




$1.50




$1.00




$0.50
                     Diet Canada Dry Ginger Ale
                     Canada Dry Ginger Ale
                     Canada Dry Green Tea Ginger Ale

$0.00



        Note:
        Starting from Week Ending September 23, 2012, the Unit Sales for Canada Dry Green Tea Ginger Ale started to drop below 100 each week, and
        eventually became 0. Therefore, only data from Week Ending January 15, 2012 to September 16, 2012 are used.
                Case 5:17-cv-00564-NC             Document 248-1      Filed 10/09/18       Page 451 of 551


              2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                         Week Ending January 15, 2012 - Week Ending September 16, 2012

                                                                                                                                    (a)
                 Diet (With Challenged Claim)            Regular (With Challenged Claim)      Green Tea (Without Challenged Claim)
                                  Weekly Average                           Weekly Average                          Weekly Average
Week Ending     Unit Sales         Retail Price          Unit Sales         Retail Price          Unit Sales         Retail Price

 1/15/2012        8,256               $1.21                19,207              $1.24                1,940               $1.17
 1/22/2012        8,148               $1.25                19,789              $1.23                2,203               $1.22
 1/29/2012        7,710               $1.25                16,812              $1.21                1,944               $1.17
  2/5/2012        7,807               $1.34                17,250              $1.36                1,768               $1.24
 2/12/2012        5,769               $1.54                12,714              $1.56                1,257               $1.59
 2/19/2012        6,305               $1.42                13,655              $1.40                1,500               $1.42
 2/26/2012        5,923               $1.47                12,960              $1.42                1,332               $1.45
  3/4/2012        6,707               $1.39                13,392              $1.42                1,348               $1.40
 3/11/2012        6,416               $1.38                13,087              $1.43                1,445               $1.42
 3/18/2012        8,045               $1.18                18,103              $1.18                1,951               $1.15
 3/25/2012        8,254               $1.11                17,537              $1.08                2,113               $1.02
  4/1/2012        7,223               $1.27                15,419              $1.23                1,639               $1.23
  4/8/2012        5,764               $1.52                16,171              $1.36                1,284               $1.45
 4/15/2012        7,239               $1.19                16,002              $1.18                1,844               $1.15
 4/22/2012        7,302               $1.24                14,084              $1.28                1,702               $1.23
 4/29/2012        6,066               $1.43                11,089              $1.47                1,132               $1.48
  5/6/2012        7,321               $1.25                14,630              $1.20                1,746               $1.13
 5/13/2012        8,847               $1.08                18,839              $1.06                2,332               $1.01
 5/20/2012        6,206               $1.29                13,883              $1.27                1,543               $1.24
 5/27/2012        7,033               $1.29                14,626              $1.37                1,339               $1.38
  6/3/2012        6,841               $1.37                12,935              $1.42                1,356               $1.43
 6/10/2012        5,727               $1.41                13,393              $1.40                1,249               $1.46
 6/17/2012        8,748               $1.18                18,301              $1.18                2,113               $1.14
 6/24/2012        6,651               $1.35                13,526              $1.38                1,361               $1.34
  7/1/2012        6,464               $1.39                13,503              $1.41                1,168               $1.50
  7/8/2012        6,210               $1.45                15,505              $1.39                1,423               $1.47
 7/15/2012        6,809               $1.25                13,602              $1.21                1,648               $1.15
 7/22/2012        7,251               $1.29                13,241              $1.29                1,526               $1.24
 7/29/2012        7,049               $1.23                13,451              $1.22                1,512               $1.19
  8/5/2012        7,957               $1.13                16,379              $1.07                2,039               $1.02


                                                                                                                             Page 1 of 2
                               Case 5:17-cv-00564-NC                  Document 248-1           Filed 10/09/18          Page 452 of 551


                            2-Liter Bottles Of Canada Dry Ginger Ale Products With And Without Challenged Claim
                                     Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                       Week Ending January 15, 2012 - Week Ending September 16, 2012

                                                                                                                                                                       (a)
                                 Diet (With Challenged Claim)                   Regular (With Challenged Claim)             Green Tea (Without Challenged Claim)
                                                  Weekly Average                                  Weekly Average                                 Weekly Average
    Week Ending                 Unit Sales             Retail Price             Unit Sales              Retail Price             Unit Sales             Retail Price

      8/12/2012                    7,789                   $1.28                   15,747                   $1.23                   1,650                   $1.17
      8/19/2012                    5,994                   $1.42                   12,755                   $1.38                    783                    $1.41
      8/26/2012                    6,854                   $1.25                   12,884                   $1.24                    582                    $1.29
       9/2/2012                    7,791                   $1.21                   15,520                   $1.18                    467                    $1.13
       9/9/2012                    6,555                   $1.34                   15,237                   $1.29                    197                    $1.33
      9/16/2012                    6,210                   $1.30                   14,070                   $1.26                    134                    $1.19

Note:
(a) For this sales channel, location, and package type/size (i.e., 2-liter bottles), sales data are available for two Canada Dry Green Tea ginger ale products: Canada Dry
Green Tea Ginger Ale and Diet Canada Dry Green Tea Ginger Ale. The data include sales of 2-liter bottles of Diet Canada Dry Green Tea Ginger Ale in only 1 of the
326 available weeks with a total of 1 unit sold. Further, starting from Week Ending September 23, 2012, the Unit Sales of Canada Dry Green Tea Ginger Ale started to
drop below 100 each week, and eventually became 0. Therefore, for the purpose of this analysis, only sales of 2-liter bottles of Canada Dry Green Tea Ginger Ale from
Week Ending January 15, 2012 to September 16, 2012 are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                 Page 2 of 2
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 453 of 551




                            Exhibit 11
         Case 5:17-cv-00564-NC       Document 248-1   Filed 10/09/18   Page 454 of 551




        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                      Weekly Average Retail Prices In Los Angeles Food Channel
                      Week Ending January 15, 2012 - Week Ending April 8, 2018
$7.00




$6.00




$5.00




$4.00




$3.00




$2.00


        Diet Canada Dry Ginger Ale
$1.00   Canada Dry Ginger Ale
        Schweppes Ginger Ale


$0.00
         Case 5:17-cv-00564-NC     Document 248-1     Filed 10/09/18   Page 455 of 551



       12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                    Canada Dry Ginger Ale To Schweppes Ginger Ale Price Ratio
                     Weekly Average Retail Prices In Los Angeles Food Channel
                     Week Ending January 15, 2012 - Week Ending April 8, 2018
1.60



1.40



1.20



1.00



0.80



0.60



0.40



0.20



0.00
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 456 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 1/15/2012      7,592                  $3.83           18,435                $3.81              2,388                    $3.61            1.06
 1/22/2012      8,505                  $3.97           21,369                $3.90              1,914                    $3.76            1.04
 1/29/2012      8,107                  $3.75           19,266                $3.69              1,983                    $3.61            1.02
  2/5/2012      11,826                 $3.57           27,526                $3.59              3,736                    $3.22            1.12
 2/12/2012      8,227                  $3.84           22,138                $3.69              2,716                    $3.44            1.07
 2/19/2012      7,593                  $3.82           18,546                $3.73              1,906                    $3.71            1.01
 2/26/2012      7,923                  $3.79           18,146                $3.75              2,084                    $3.70            1.01
  3/4/2012      8,670                  $3.73           20,197                $3.69              2,040                    $3.71            0.99
 3/11/2012      9,440                  $3.78           24,418                $3.77              2,185                    $3.67            1.03
 3/18/2012      8,441                  $3.83           20,099                $3.78              2,094                    $3.67            1.03
 3/25/2012      8,576                  $3.70           19,957                $3.69              1,797                    $3.69            1.00
  4/1/2012      12,493                 $3.46           35,808                $3.31              4,132                    $3.06            1.08
  4/8/2012      15,239                 $3.31           47,130                $3.15              5,886                    $2.81            1.12
 4/15/2012      8,704                  $3.65           24,115                $3.39              2,551                    $3.06            1.11
 4/22/2012      8,209                  $3.86           19,335                $3.81              1,642                    $3.75            1.02
 4/29/2012      8,749                  $3.93           21,117                $3.88              1,652                    $3.71            1.05
  5/6/2012      7,966                  $3.81           20,078                $3.71              1,630                    $3.63            1.02
 5/13/2012      8,687                  $3.74           20,628                $3.74              1,878                    $3.62            1.03
 5/20/2012      8,841                  $3.62           21,425                $3.54              1,855                    $3.37            1.05
 5/27/2012      12,435                 $3.30           33,309                $3.15              4,304                    $2.99            1.05
  6/3/2012      9,317                  $3.62           23,923                $3.56              2,880                    $3.40            1.05
 6/10/2012      7,541                  $3.83           18,466                $3.74              1,800                    $3.55            1.05
 6/17/2012      7,746                  $3.87           17,635                $3.77              1,839                    $3.56            1.06
 6/24/2012      7,484                  $3.89           17,525                $3.78              1,559                    $3.62            1.04
  7/1/2012      12,273                 $3.34           31,165                $3.24              4,206                    $3.08            1.05
  7/8/2012      12,888                 $3.22           37,543                $3.11              4,819                    $2.96            1.05
 7/15/2012      7,342                  $3.76           19,436                $3.65              1,769                    $3.47            1.05
 7/22/2012      7,692                  $4.00           18,572                $3.87              1,594                    $3.61            1.07
 7/29/2012      7,331                  $3.83           16,858                $3.75              1,539                    $3.61            1.04
  8/5/2012      7,728                  $3.80           18,865                $3.74              1,660                    $3.60            1.04
 8/12/2012      8,187                  $3.80           19,522                $3.83              1,761                    $3.57            1.07
 8/19/2012      8,651                  $4.05           20,869                $4.01              1,691                    $3.59            1.12
 8/26/2012      7,339                  $3.86           18,184                $3.79              1,411                    $3.63            1.04
  9/2/2012      10,668                 $3.70           25,947                $3.63              3,743                    $3.32            1.09
  9/9/2012      9,397                  $3.75           24,310                $3.68              3,496                    $3.19            1.15




                                                                                                                                                      Page 1 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 457 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 9/16/2012      8,404                  $3.78           19,128                $3.80              1,655                    $3.93            0.97
 9/23/2012      7,968                  $3.80           18,459                $3.79              1,463                    $3.97            0.95
 9/30/2012      8,264                  $4.03           20,864                $3.97              1,594                    $3.96            1.00
 10/7/2012      8,594                  $3.73           21,582                $3.65              1,598                    $3.93            0.93
 10/14/2012     7,485                  $3.83           18,831                $3.78              1,476                    $3.88            0.97
 10/21/2012     8,124                  $3.85           18,647                $3.81              1,480                    $3.90            0.98
 10/28/2012     7,280                  $4.01           15,691                $4.00              1,576                    $3.95            1.01
 11/4/2012      7,841                  $3.84           18,733                $3.82              1,513                    $3.96            0.97
 11/11/2012     8,264                  $3.84           20,683                $3.82              1,976                    $3.97            0.96
 11/18/2012     10,441                 $3.73           27,096                $3.69              3,545                    $3.79            0.97
 11/25/2012     10,333                 $3.66           33,154                $3.57              2,882                    $3.68            0.97
 12/2/2012      8,384                  $3.93           21,940                $3.85              1,219                    $3.97            0.97
 12/9/2012      8,496                  $3.88           23,640                $3.87              1,236                    $4.02            0.96
 12/16/2012     8,078                  $3.97           19,600                $3.96              1,522                    $3.98            1.00
 12/23/2012     9,961                  $3.82           27,841                $3.77              2,764                    $3.89            0.97
 12/30/2012     9,285                  $3.88           27,510                $3.77              1,512                    $3.74            1.01
  1/6/2013      8,707                  $3.68           23,994                $3.70              1,205                    $4.00            0.92
 1/13/2013      7,544                  $3.89           20,316                $3.81              1,187                    $3.97            0.96
 1/20/2013      7,854                  $3.86           20,306                $3.83              1,209                    $3.94            0.97
 1/27/2013      8,713                  $3.81           20,010                $3.87              1,202                    $3.97            0.97
  2/3/2013      11,166                 $3.65           26,277                $3.66              1,918                    $3.63            1.01
 2/10/2013      8,009                  $3.69           24,104                $3.61              1,361                    $3.70            0.98
 2/17/2013      7,417                  $3.89           19,094                $3.84               967                     $3.68            1.04
 2/24/2013      7,406                  $3.96           16,891                $3.99              1,067                    $3.67            1.09
  3/3/2013      8,463                  $3.89           21,174                $3.82              1,092                    $3.70            1.03
 3/10/2013      8,669                  $3.88           25,072                $3.67              1,209                    $3.69            1.00
 3/17/2013      9,253                  $3.69           24,702                $3.61              1,225                    $3.67            0.98
 3/24/2013      8,942                  $3.74           21,045                $3.68              1,063                    $3.61            1.02
 3/31/2013      12,613                 $3.75           33,087                $3.75              1,975                    $3.85            0.97
  4/7/2013      10,452                 $3.86           29,316                $3.83              1,765                    $4.05            0.94
 4/14/2013      8,040                  $3.66           23,648                $3.52              1,248                    $3.41            1.03
 4/21/2013      8,643                  $3.68           23,112                $3.60               978                     $3.71            0.97
 4/28/2013      8,888                  $3.76           20,581                $3.71              1,078                    $3.67            1.01
  5/5/2013      8,758                  $3.68           22,492                $3.63              1,187                    $3.67            0.99
 5/12/2013      10,478                 $3.34           30,887                $3.25              1,239                    $3.66            0.89




                                                                                                                                                      Page 2 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 458 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 5/19/2013      9,968                  $4.19           27,156                $4.07              1,445                    $3.57            1.14
 5/26/2013      12,346                 $3.67           33,993                $3.55              2,543                    $3.25            1.09
  6/2/2013      10,977                 $3.32           33,951                $3.08              2,393                    $3.35            0.92
  6/9/2013      8,352                  $3.62           23,871                $3.41              1,335                    $4.03            0.85
 6/16/2013      8,082                  $4.50           23,837                $4.31              1,622                    $3.61            1.19
 6/23/2013      7,097                  $3.98           19,446                $3.79              1,228                    $3.94            0.96
 6/30/2013      11,091                 $3.89           30,971                $3.81              2,946                    $3.93            0.97
  7/7/2013      12,925                 $3.14           43,992                $3.02              3,975                    $3.87            0.78
 7/14/2013      8,332                  $3.47           24,720                $3.32              1,541                    $4.03            0.82
 7/21/2013      7,416                  $4.06           18,731                $3.96              1,685                    $4.10            0.97
 7/28/2013      6,591                  $4.24           18,988                $4.05              1,585                    $4.37            0.93
  8/4/2013      8,905                  $4.36           24,268                $4.25              1,629                    $4.36            0.98
 8/11/2013      7,885                  $3.96           21,876                $3.79              2,093                    $4.02            0.94
 8/18/2013      8,984                  $4.18           28,626                $4.05              1,726                    $4.13            0.98
 8/25/2013      8,388                  $3.76           24,387                $3.51              2,331                    $3.83            0.92
  9/1/2013      11,599                 $3.79           34,682                $3.65              4,855                    $3.32            1.10
  9/8/2013      7,614                  $4.16           21,850                $3.99              3,646                    $3.88            1.03
 9/15/2013      7,336                  $4.19           20,140                $4.01              1,782                    $4.44            0.90
 9/22/2013      6,815                  $4.25           17,764                $4.08              1,579                    $4.40            0.93
 9/29/2013      7,232                  $4.21           16,872                $4.19              1,672                    $4.45            0.94
 10/6/2013      7,511                  $4.16           21,555                $3.98              1,630                    $4.40            0.91
 10/13/2013     7,600                  $3.97           22,818                $3.76              1,919                    $4.13            0.91
 10/20/2013     8,226                  $3.76           23,528                $3.62              1,936                    $4.07            0.89
 10/27/2013     6,739                  $4.31           16,823                $4.20              1,594                    $4.51            0.93
 11/3/2013      9,160                  $4.22           26,353                $4.09              1,699                    $4.22            0.97
 11/10/2013     8,361                  $3.96           25,447                $3.83              2,020                    $4.13            0.93
 11/17/2013     7,658                  $3.94           20,473                $3.96              1,971                    $4.46            0.89
 11/24/2013     9,691                  $3.92           28,363                $3.84              2,825                    $4.39            0.87
 12/1/2013      8,269                  $3.78           30,962                $3.67              2,774                    $4.20            0.87
 12/8/2013      6,413                  $4.04           16,825                $4.02              1,701                    $4.18            0.96
 12/15/2013     7,649                  $4.14           23,231                $4.12              2,441                    $4.66            0.88
 12/22/2013     9,729                  $3.98           31,925                $3.97              3,942                    $4.29            0.93
 12/29/2013     8,448                  $3.70           28,165                $3.64              2,582                    $3.93            0.93
  1/5/2014      7,528                  $4.09           23,024                $3.99              2,060                    $4.37            0.91
 1/12/2014      6,956                  $4.14           21,481                $4.02              1,907                    $4.42            0.91




                                                                                                                                                      Page 3 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 459 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 1/19/2014      7,546                  $4.14           22,404                $4.08              2,016                    $4.45            0.92
 1/26/2014      9,098                  $4.13           25,455                $4.13              1,930                    $4.21            0.98
  2/2/2014      9,661                  $3.98           28,774                $3.93              3,346                    $3.97            0.99
  2/9/2014      7,401                  $3.84           22,849                $3.73              1,912                    $4.23            0.88
 2/16/2014      7,587                  $4.07           21,849                $4.01              1,685                    $4.46            0.90
 2/23/2014      7,911                  $4.01           21,418                $3.93              2,097                    $4.06            0.97
  3/2/2014      8,154                  $4.09           23,200                $4.10              1,524                    $4.33            0.95
  3/9/2014      8,567                  $4.06           26,651                $4.02              1,623                    $4.39            0.92
 3/16/2014      8,212                  $3.97           23,434                $3.88              1,915                    $4.38            0.88
 3/23/2014      8,045                  $3.99           21,903                $4.00              1,648                    $4.18            0.96
 3/30/2014      8,169                  $3.86           21,897                $3.82              2,311                    $4.18            0.91
  4/6/2014      7,886                  $3.96           23,336                $3.85              1,776                    $4.16            0.93
 4/13/2014      8,682                  $4.18           25,353                $4.03              1,560                    $4.44            0.91
 4/20/2014      10,482                 $3.72           32,779                $3.72              2,962                    $4.13            0.90
 4/27/2014      6,995                  $4.03           22,453                $3.88              1,182                    $4.48            0.87
  5/4/2014      8,350                  $3.95           25,266                $3.89              1,498                    $4.33            0.90
 5/11/2014      6,744                  $4.23           21,282                $4.01              1,368                    $4.53            0.89
 5/18/2014      9,449                  $3.92           30,347                $3.94              1,355                    $4.64            0.85
 5/25/2014      12,380                 $3.44           40,785                $3.35              2,515                    $4.22            0.80
  6/1/2014      8,289                  $3.73           25,653                $3.57              1,903                    $4.82            0.74
  6/8/2014      6,928                  $4.04           20,659                $4.03              1,292                    $4.48            0.90
 6/15/2014      7,677                  $3.97           22,604                $4.01              1,494                    $4.72            0.85
 6/22/2014      7,334                  $4.09           24,145                $3.84              1,535                    $4.44            0.87
 6/29/2014      8,713                  $4.10           26,372                $4.00              1,941                    $4.63            0.86
  7/6/2014      10,614                 $3.98           37,936                $3.95              3,392                    $4.31            0.92
 7/13/2014      7,248                  $4.18           26,421                $3.84              1,218                    $4.75            0.81
 7/20/2014      6,610                  $4.29           22,220                $4.02              1,357                    $4.32            0.93
 7/27/2014      7,416                  $3.97           21,762                $3.95              1,078                    $4.63            0.85
  8/3/2014      6,923                  $4.32           20,872                $4.20              1,507                    $4.58            0.92
 8/10/2014      7,382                  $4.33           24,029                $4.21              1,241                    $4.84            0.87
 8/17/2014      8,053                  $4.12           24,860                $4.09              1,472                    $4.55            0.90
 8/24/2014      6,608                  $4.12           18,831                $4.08              1,185                    $4.63            0.88
 8/31/2014      10,233                 $3.91           31,599                $3.93              2,860                    $4.08            0.96
  9/7/2014      7,957                  $4.26           26,937                $4.11              1,509                    $4.66            0.88
 9/14/2014      7,116                  $4.33           22,236                $4.12              1,577                    $4.86            0.85




                                                                                                                                                      Page 4 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 460 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 9/21/2014      7,784                  $3.97           25,162                $3.86              1,220                    $4.72            0.82
 9/28/2014      6,829                  $4.29           21,898                $4.09              1,202                    $4.75            0.86
 10/5/2014      7,186                  $4.25           22,102                $4.20              1,196                    $4.74            0.89
 10/12/2014     6,976                  $4.28           22,592                $4.04              1,456                    $4.74            0.85
 10/19/2014     6,969                  $4.04           21,310                $4.01              1,349                    $4.54            0.88
 10/26/2014     7,530                  $4.22           24,320                $4.14              1,126                    $4.65            0.89
 11/2/2014      7,332                  $4.02           25,554                $3.68              1,428                    $4.60            0.80
 11/9/2014      7,190                  $4.14           23,343                $3.98              1,376                    $4.65            0.86
 11/16/2014     6,874                  $4.34           24,713                $4.05              1,422                    $4.74            0.85
 11/23/2014     9,883                  $4.00           34,672                $3.91              2,432                    $4.79            0.82
 11/30/2014     8,647                  $4.09           36,028                $3.94              2,184                    $4.88            0.81
 12/7/2014      6,253                  $4.14           24,055                $3.77              1,322                    $3.79            1.00
 12/14/2014     7,368                  $3.93           27,048                $3.74              1,476                    $4.19            0.89
 12/21/2014     9,556                  $3.64           32,895                $3.69              1,845                    $4.25            0.87
 12/28/2014     7,849                  $3.95           32,876                $3.81              1,674                    $4.17            0.91
  1/4/2015      7,363                  $4.09           25,929                $4.02              1,602                    $4.49            0.90
 1/11/2015      7,053                  $4.04           22,995                $3.93              1,244                    $4.08            0.96
 1/18/2015      7,112                  $4.08           21,864                $3.95              1,272                    $3.95            1.00
 1/25/2015      7,501                  $3.89           23,245                $3.86              1,233                    $3.72            1.04
  2/1/2015      9,957                  $3.79           30,362                $3.82              1,767                    $4.09            0.93
  2/8/2015      8,016                  $4.00           28,186                $3.79              1,131                    $4.00            0.95
 2/15/2015      7,269                  $4.13           24,350                $3.94              1,264                    $3.99            0.99
 2/22/2015      6,786                  $4.30           19,470                $4.19              1,060                    $3.96            1.06
  3/1/2015      8,375                  $3.88           26,861                $3.77              1,209                    $3.76            1.00
  3/8/2015      8,716                  $3.85           29,309                $3.78              1,162                    $3.89            0.97
 3/15/2015      7,274                  $4.24           23,019                $4.07              1,387                    $4.61            0.88
 3/22/2015      8,248                  $3.81           25,535                $3.74              1,212                    $4.02            0.93
 3/29/2015      7,771                  $3.91           25,412                $3.78              1,200                    $3.82            0.99
  4/5/2015      10,105                 $3.73           36,835                $3.65              2,484                    $3.85            0.95
 4/12/2015      7,425                  $4.00           25,848                $3.82              1,222                    $4.45            0.86
 4/19/2015      7,713                  $3.87           27,797                $3.72              1,309                    $4.14            0.90
 4/26/2015      7,342                  $3.80           24,361                $3.73              1,127                    $3.98            0.94
  5/3/2015      8,835                  $3.71           29,673                $3.61              1,364                    $4.10            0.88
 5/10/2015      7,516                  $3.87           26,014                $3.66              1,219                    $4.15            0.88
 5/17/2015      7,322                  $3.89           23,314                $3.82              1,055                    $4.33            0.88




                                                                                                                                                      Page 5 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 461 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 5/24/2015      8,519                  $3.68           28,641                $3.60              1,769                    $3.96            0.91
 5/31/2015      7,912                  $3.76           25,602                $3.62              1,173                    $4.29            0.85
  6/7/2015      6,986                  $3.89           23,791                $3.75              1,141                    $4.38            0.86
 6/14/2015      7,247                  $3.84           25,132                $3.74              1,416                    $4.31            0.87
 6/21/2015      6,991                  $4.00           26,319                $3.75              1,819                    $3.86            0.97
 6/28/2015      7,055                  $3.93           23,313                $3.76              1,986                    $3.96            0.95
  7/5/2015      10,408                 $3.71           40,284                $3.63              2,844                    $3.92            0.92
 7/12/2015      7,069                  $3.64           27,818                $3.53              1,264                    $4.06            0.87
 7/19/2015      6,372                  $3.84           22,524                $3.63              1,748                    $3.87            0.94
 7/26/2015      6,866                  $3.86           24,653                $3.67              1,407                    $3.99            0.92
  8/2/2015      6,955                  $3.84           24,091                $3.73              1,886                    $4.19            0.89
  8/9/2015      7,036                  $3.90           28,237                $3.65              2,000                    $3.85            0.95
 8/16/2015      7,176                  $3.88           26,529                $3.68              1,568                    $4.46            0.83
 8/23/2015      7,057                  $3.77           22,336                $3.70              1,705                    $3.99            0.93
 8/30/2015      7,333                  $3.82           25,283                $3.65              1,402                    $4.25            0.86
  9/6/2015      10,024                 $3.61           36,394                $3.53              2,499                    $3.96            0.89
 9/13/2015      7,748                  $3.79           30,108                $3.64              1,395                    $4.37            0.83
 9/20/2015      7,070                  $3.81           23,713                $3.68              1,252                    $4.00            0.92
 9/27/2015      7,104                  $3.87           26,155                $3.62              1,397                    $3.76            0.96
 10/4/2015      6,849                  $3.87           26,720                $3.69              1,367                    $3.83            0.96
 10/11/2015     7,586                  $3.84           29,006                $3.73              1,440                    $4.02            0.93
 10/18/2015     7,236                  $3.90           25,133                $3.76              1,372                    $3.86            0.97
 10/25/2015     7,011                  $3.88           25,961                $3.67              1,317                    $3.94            0.93
 11/1/2015      8,403                  $3.52           28,800                $3.45              1,923                    $4.28            0.81
 11/8/2015      6,832                  $4.02           25,552                $3.72              1,251                    $4.02            0.93
 11/15/2015     7,200                  $3.94           24,178                $3.78              1,990                    $4.29            0.88
 11/22/2015     10,284                 $3.62           35,180                $3.58              3,311                    $4.16            0.86
 11/29/2015     8,885                  $3.80           37,374                $3.67              2,604                    $4.28            0.86
 12/6/2015      6,588                  $3.99           25,666                $3.66              1,478                    $4.00            0.91
 12/13/2015     7,518                  $3.93           30,415                $3.66              1,561                    $4.47            0.82
 12/20/2015     8,466                  $3.80           31,040                $3.71              1,825                    $4.61            0.80
 12/27/2015     9,202                  $3.96           41,305                $3.75              2,404                    $4.48            0.84
  1/3/2016      7,586                  $4.11           28,888                $4.08              1,835                    $4.52            0.90
 1/10/2016      7,087                  $3.97           25,027                $3.90              1,539                    $4.08            0.95
 1/17/2016      6,985                  $3.94           23,687                $3.91              1,556                    $4.66            0.84




                                                                                                                                                      Page 6 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 462 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 1/24/2016      7,342                  $3.97           22,741                $4.00              1,320                    $4.15            0.96
 1/31/2016      7,130                  $3.95           20,717                $4.03              1,170                    $4.10            0.98
  2/7/2016      9,780                  $3.69           39,842                $3.58              1,959                    $4.36            0.82
 2/14/2016      7,908                  $3.87           32,227                $3.71              1,143                    $4.53            0.82
 2/21/2016      7,911                  $3.86           25,138                $3.90              1,206                    $4.75            0.82
 2/28/2016      7,884                  $3.89           24,138                $3.87              1,067                    $4.40            0.88
  3/6/2016      8,122                  $3.93           27,367                $3.87               950                     $4.32            0.90
 3/13/2016      7,649                  $3.95           23,410                $3.89              1,179                    $4.68            0.83
 3/20/2016      7,439                  $3.95           21,817                $3.95              1,210                    $4.02            0.98
 3/27/2016      8,933                  $3.73           35,621                $3.60              2,032                    $4.22            0.85
  4/3/2016      7,482                  $3.81           28,205                $3.68              1,116                    $4.53            0.81
 4/10/2016      6,911                  $3.96           21,502                $4.03              1,139                    $4.37            0.92
 4/17/2016      7,345                  $3.93           20,574                $4.08              1,435                    $4.53            0.90
 4/24/2016      7,550                  $3.95           24,118                $3.89              1,332                    $4.30            0.91
  5/1/2016      7,117                  $3.90           25,196                $3.90               999                     $4.47            0.87
  5/8/2016      7,567                  $3.91           25,471                $3.85              1,246                    $4.57            0.84
 5/15/2016      7,029                  $3.84           23,265                $3.83              1,171                    $4.19            0.91
 5/22/2016      6,213                  $3.90           19,289                $3.91              1,294                    $4.56            0.86
 5/29/2016      8,376                  $3.83           30,583                $3.73              2,305                    $4.07            0.92
  6/5/2016      7,101                  $3.81           25,728                $3.70              1,306                    $4.37            0.85
 6/12/2016      7,401                  $3.86           25,492                $3.69              1,803                    $4.35            0.85
 6/19/2016      7,609                  $3.85           28,623                $3.65              2,009                    $4.35            0.84
 6/26/2016      7,620                  $3.85           24,343                $3.82              1,491                    $4.58            0.83
  7/3/2016      9,399                  $3.84           33,701                $3.94              3,077                    $4.16            0.95
 7/10/2016      7,647                  $3.70           27,424                $3.67              2,065                    $4.23            0.87
 7/17/2016      6,796                  $3.90           23,722                $3.83              1,564                    $4.46            0.86
 7/24/2016      7,401                  $3.90           24,501                $3.85              1,400                    $4.25            0.90
 7/31/2016      7,385                  $3.98           23,132                $3.91              1,531                    $4.00            0.98
  8/7/2016      7,532                  $3.90           26,961                $3.76              2,193                    $4.12            0.91
 8/14/2016      7,468                  $3.84           28,118                $3.80              1,338                    $4.20            0.90
 8/21/2016      7,291                  $3.78           26,496                $3.81              1,577                    $4.48            0.85
 8/28/2016      7,250                  $3.86           27,974                $3.68              1,412                    $3.96            0.93
  9/4/2016      8,361                  $3.80           36,611                $3.63              2,696                    $4.12            0.88
 9/11/2016      7,570                  $3.77           30,935                $3.61              1,395                    $4.30            0.84
 9/18/2016      7,132                  $3.79           27,265                $3.68              1,609                    $4.02            0.92




                                                                                                                                                      Page 7 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 463 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 9/25/2016      6,870                  $3.94           24,151                $3.80              1,775                    $3.98            0.95
 10/2/2016      7,619                  $3.94           25,232                $3.80              1,254                    $4.40            0.86
 10/9/2016      6,948                  $4.03           25,419                $3.88              1,763                    $4.44            0.88
 10/16/2016     7,454                  $3.92           30,306                $3.73              2,321                    $3.68            1.01
 10/23/2016     7,218                  $3.91           26,920                $3.76              1,849                    $3.87            0.97
 10/30/2016     8,000                  $3.94           27,186                $3.78              4,375                    $3.37            1.12
 11/6/2016      7,164                  $4.02           23,004                $3.99              1,923                    $4.23            0.94
 11/13/2016     8,083                  $3.96           26,917                $3.91              1,965                    $3.98            0.98
 11/20/2016     9,285                  $3.98           35,930                $3.73              3,276                    $3.94            0.95
 11/27/2016     8,173                  $3.90           44,175                $3.62              2,656                    $4.17            0.87
 12/4/2016      6,333                  $4.01           21,816                $3.91              1,532                    $4.63            0.84
 12/11/2016     7,055                  $4.00           26,670                $3.94              1,386                    $4.41            0.89
 12/18/2016     7,851                  $3.98           28,136                $3.90              1,606                    $4.41            0.88
 12/25/2016     9,112                  $4.09           47,077                $3.85              2,151                    $4.55            0.85
  1/1/2017      7,464                  $4.24           26,259                $4.16              1,888                    $4.48            0.93
  1/8/2017      6,632                  $4.29           21,356                $4.22              1,959                    $4.05            1.04
 1/15/2017      7,155                  $4.31           25,207                $3.91              1,418                    $4.58            0.85
 1/22/2017      7,446                  $4.21           26,382                $3.93              1,141                    $4.57            0.86
 1/29/2017      7,116                  $4.13           20,577                $4.05              1,083                    $4.61            0.88
  2/5/2017      9,533                  $3.98           35,313                $3.78              1,763                    $4.52            0.84
 2/12/2017      7,032                  $4.24           24,538                $3.99              1,229                    $4.52            0.88
 2/19/2017      8,411                  $4.27           24,086                $4.20              1,138                    $4.54            0.93
 2/26/2017      6,695                  $4.27           18,964                $4.21              1,930                    $3.81            1.11
  3/5/2017      8,584                  $4.11           27,297                $4.06              1,992                    $4.06            1.00
 3/12/2017      7,812                  $4.18           26,972                $3.94              2,233                    $3.79            1.04
 3/19/2017      8,212                  $4.20           29,557                $4.03              2,075                    $4.12            0.98
 3/26/2017      7,499                  $4.18           22,083                $4.04              1,183                    $4.41            0.92
  4/2/2017      7,663                  $4.22           22,099                $4.14              1,051                    $4.62            0.90
  4/9/2017      7,698                  $4.19           24,950                $4.07              3,233                    $3.15            1.29
 4/16/2017      9,379                  $4.03           34,783                $3.94              2,141                    $4.16            0.95
 4/23/2017      7,480                  $4.17           27,524                $3.99              1,495                    $4.54            0.88
 4/30/2017      7,009                  $4.21           24,102                $4.11              1,437                    $4.54            0.90
  5/7/2017      7,312                  $4.13           28,340                $3.89              1,627                    $4.49            0.87
 5/14/2017      6,927                  $4.23           27,573                $3.82              1,253                    $4.64            0.82
 5/21/2017      7,110                  $4.25           22,746                $4.00              1,385                    $4.62            0.87




                                                                                                                                                      Page 8 of 10
                     Case 5:17-cv-00564-NC           Document 248-1            Filed 10/09/18     Page 464 of 551


                           12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                         Weekly Average Retail Prices In Los Angeles Food Channel
                                         Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale               Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                 Canada Dry Ginger Ale
                                 Weekly Average                         Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price      Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 5/28/2017      9,373                  $4.13           35,461                $3.89              1,822                    $4.50            0.87
  6/4/2017      7,023                  $4.19           25,897                $4.04              1,336                    $4.54            0.89
 6/11/2017      7,086                  $4.26           23,297                $4.03              1,264                    $4.58            0.88
 6/18/2017      7,186                  $4.26           23,657                $4.20              1,642                    $4.48            0.94
 6/25/2017      7,142                  $4.21           23,110                $4.21              1,618                    $4.37            0.96
  7/2/2017      9,226                  $4.20           35,132                $4.06              2,262                    $4.36            0.93
  7/9/2017      7,303                  $4.24           40,367                $3.72              1,604                    $4.31            0.86
 7/16/2017      7,908                  $4.20           25,512                $4.10              1,203                    $4.55            0.90
 7/23/2017      7,187                  $4.13           24,226                $4.10              1,160                    $4.55            0.90
 7/30/2017      6,354                  $4.19           24,758                $4.01              1,364                    $4.19            0.96
  8/6/2017      6,633                  $4.16           27,008                $4.01              1,515                    $4.36            0.92
 8/13/2017      6,703                  $4.25           28,841                $4.06              1,665                    $4.21            0.97
 8/20/2017      6,895                  $4.13           26,378                $3.99              1,130                    $4.51            0.88
 8/27/2017      7,275                  $4.27           25,500                $3.92              1,367                    $4.46            0.88
  9/3/2017      9,043                  $4.11           33,048                $3.99              1,755                    $4.32            0.92
 9/10/2017      7,302                  $4.22           28,937                $4.03              1,380                    $4.29            0.94
 9/17/2017      6,957                  $4.19           25,058                $4.02              1,258                    $4.31            0.93
 9/24/2017      6,684                  $4.29           21,875                $4.09              1,045                    $4.70            0.87
 10/1/2017      7,412                  $4.20           24,005                $4.09              1,220                    $4.30            0.95
 10/8/2017      7,334                  $4.22           30,391                $3.95              5,202                    $2.59            1.52
 10/15/2017     7,460                  $4.25           24,851                $4.12              2,469                    $3.68            1.12
 10/22/2017     7,981                  $4.28           25,721                $4.08              1,061                    $4.52            0.90
 10/29/2017     7,759                  $4.19           26,111                $4.04              1,367                    $4.45            0.91
 11/5/2017      7,695                  $4.12           26,819                $3.85              1,293                    $4.53            0.85
 11/12/2017     7,734                  $4.15           25,668                $3.89              1,195                    $4.37            0.89
 11/19/2017     11,554                 $3.94           42,093                $3.87              3,934                    $3.98            0.97
 11/26/2017     8,984                  $4.21           46,042                $3.91              2,374                    $4.33            0.90
 12/3/2017      6,626                  $4.29           22,994                $3.89              1,096                    $4.67            0.83
 12/10/2017     8,221                  $3.90           27,831                $3.72              1,112                    $4.67            0.80
 12/17/2017     9,069                  $4.17           28,718                $4.12              1,829                    $4.36            0.95
 12/24/2017     11,197                 $3.87           48,360                $3.78              2,919                    $4.03            0.94
 12/31/2017     8,410                  $4.01           34,885                $3.98              2,213                    $4.21            0.95
  1/7/2018      7,435                  $4.39           25,215                $4.33              1,258                    $4.81            0.90
 1/14/2018      8,313                  $4.26           22,508                $4.29              1,371                    $4.72            0.91
 1/21/2018      7,923                  $4.31           23,730                $4.15              1,070                    $4.57            0.91




                                                                                                                                                      Page 9 of 10
                                        Case 5:17-cv-00564-NC                       Document 248-1                 Filed 10/09/18              Page 465 of 551


                                               12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                                             Weekly Average Retail Prices In Los Angeles Food Channel
                                                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                                                      (a)
                                   Diet Canada Dry Ginger Ale                             Canada Dry Ginger Ale                               Schweppes Ginger Ale

                                                                                                                                                                                        Canada Dry Ginger Ale
                                                       Weekly Average                                      Weekly Average                                       Weekly Average           To Schweppes Ginger
    Week Ending                 Unit Sales               Retail Price               Unit Sales                Retail Price               Unit Sales               Retail Price               Ale Price Ratio

      1/28/2018                   8,033                      $4.29                     22,563                     $4.19                     1,006                     $4.78                        0.88
       2/4/2018                   10,795                     $4.01                     36,446                     $3.86                     2,245                     $4.00                        0.97
      2/11/2018                   7,913                      $4.16                     25,173                     $3.94                     1,241                     $4.76                        0.83
      2/18/2018                   8,135                      $4.32                     25,279                     $4.09                     1,082                     $4.70                        0.87
      2/25/2018                   7,654                      $4.34                     24,675                     $3.98                     1,110                     $4.78                        0.83
       3/4/2018                   8,316                      $4.19                     25,085                     $4.04                      982                      $4.55                        0.89
      3/11/2018                   8,375                      $4.30                     25,111                     $4.13                     1,208                     $4.59                        0.90
      3/18/2018                   7,602                      $4.38                     21,652                     $4.17                     1,004                     $4.82                        0.87
      3/25/2018                   7,986                      $4.21                     21,415                     $4.13                     1,082                     $4.41                        0.94
       4/1/2018                   9,653                      $4.03                     32,985                     $3.84                     1,887                     $4.23                        0.91
       4/8/2018                   8,130                      $4.25                     24,165                     $4.03                     1,230                     $4.72                        0.85

Note:
(a) For this sales channel, location, and package type/size (i.e., 12 packs of 12-oz. cans), sales data are available for two Schweppes ginger ale products: Schweppes Ginger Ale and Schweppes Diet Ginger Ale.
The data include sales of 12 packs of 12-oz. cans of Schweppes Diet Ginger Ale in only 7 of the 326 available weeks with a total of 10 units sold. Therefore, for the purpose of this analysis, only sales of 12
packs of 12-oz. cans of Schweppes Ginger Ale are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                                                            Page 10 of 10
           Case 5:17-cv-00564-NC       Document 248-1   Filed 10/09/18   Page 466 of 551




        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                      Week Ending January 15, 2012 - Week Ending April 8, 2018
$7.00




$6.00




$5.00




$4.00




$3.00




$2.00


          Diet Canada Dry Ginger Ale
$1.00     Canada Dry Ginger Ale
          Schweppes Ginger Ale


$0.00
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 467 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

 1/15/2012      3,529                 $4.54                5,641                $4.57                185                 $5.57
 1/22/2012      3,908                 $4.61                6,441                $4.55                162                 $4.65
 1/29/2012      3,396                 $4.57                5,779                $4.49                144                 $5.69
  2/5/2012      5,884                 $3.72                9,563                $3.76                273                 $5.68
 2/12/2012      3,679                 $4.57                6,805                $4.31                123                 $5.55
 2/19/2012      3,799                 $4.29                6,448                $4.37                104                 $5.19
 2/26/2012      3,897                 $4.28                6,339                $4.39                109                 $5.07
  3/4/2012      4,199                 $4.16                7,149                $4.08                188                 $5.73
 3/11/2012      4,449                 $3.85                8,110                $3.76                151                 $5.47
 3/18/2012      3,980                 $4.08                7,048                $4.13                154                 $5.23
 3/25/2012      4,292                 $3.98                6,896                $4.03                110                 $5.73
  4/1/2012      4,639                 $3.94                7,461                $3.95                 97                 $5.43
  4/8/2012      5,310                 $3.68                9,451                $3.65                179                 $5.45
 4/15/2012      3,383                 $4.55                6,236                $4.30                121                 $4.80
 4/22/2012      4,056                 $4.36                6,201                $4.36                 62                 $5.09
 4/29/2012      3,972                 $4.22                5,951                $4.14                 75                 $4.73
  5/6/2012      4,855                 $3.85                8,090                $3.78                 72                 $4.40
 5/13/2012      6,245                 $3.78                9,757                $3.70                151                 $3.87
 5/20/2012      4,011                 $4.23                6,624                $4.07                 66                 $4.03
 5/27/2012      4,933                 $3.82                9,156                $3.71                 67                 $4.50
  6/3/2012      5,384                 $3.71                9,501                $3.58                 87                 $3.92
 6/10/2012      3,536                 $4.47                6,196                $4.38                112                 $3.58
 6/17/2012      3,497                 $5.02                5,205                $5.00                 67                 $4.44
 6/24/2012      4,011                 $4.69                5,502                $4.79                 83                 $4.40
  7/1/2012      5,714                 $3.76                8,786                $3.74                 78                 $4.55
  7/8/2012      6,570                 $3.64               11,517                $3.57                112                 $3.75
 7/15/2012      3,834                 $4.70                5,424                $4.69                122                 $3.86
 7/22/2012      3,989                 $4.61                5,665                $4.65                109                 $3.64
 7/29/2012      4,005                 $4.69                5,662                $4.64                129                 $3.59
  8/5/2012      4,366                 $4.57                6,365                $4.51                130                 $3.54
 8/12/2012      4,537                 $4.44                6,707                $4.53                127                 $3.49
 8/19/2012      4,099                 $4.44                6,238                $4.53                136                 $3.51
 8/26/2012      3,573                 $4.52                5,211                $4.43                123                 $3.62
  9/2/2012      4,867                 $4.13                7,629                $4.07                109                 $3.85



                                                                                                                                     Page 1 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 468 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   9/9/2012     4,668                 $4.23               7,505                 $4.29                110                 $3.45
  9/16/2012     4,167                 $4.49               6,312                 $4.54                151                 $3.92
  9/23/2012     4,434                 $4.12               7,141                 $4.10                107                 $3.53
  9/30/2012     4,635                 $4.29               6,722                 $4.37                121                 $3.71
  10/7/2012     5,454                 $4.06               9,191                 $4.00                 96                 $3.61
 10/14/2012     4,323                 $4.50               6,472                 $4.48                109                 $3.48
 10/21/2012     3,936                 $4.51               5,898                 $4.56                 98                 $3.26
 10/28/2012     4,105                 $4.40               5,824                 $4.48                105                 $3.62
  11/4/2012     4,668                 $3.96               6,727                 $4.06                100                 $3.50
 11/11/2012     4,819                 $3.80               8,075                 $3.82                 85                 $3.47
 11/18/2012     4,647                 $4.38               7,458                 $4.41                154                 $4.00
 11/25/2012     5,159                 $4.35               9,666                 $4.39                136                 $3.67
  12/2/2012     4,493                 $4.10               7,453                 $4.14                113                 $3.68
  12/9/2012     5,135                 $3.84               9,154                 $3.81                 51                 $4.57
 12/16/2012     4,635                 $4.24               7,976                 $4.34                 82                 $4.09
 12/23/2012     5,251                 $4.22               9,538                 $4.29                 92                 $4.93
 12/30/2012     4,177                 $4.38               8,369                 $4.46                 60                 $4.98
   1/6/2013     5,018                 $4.06               8,413                 $4.21                 56                 $4.70
  1/13/2013     3,926                 $4.64               6,351                 $4.77                 60                 $4.53
  1/20/2013     4,711                 $4.57               7,057                 $4.73                 46                 $5.07
  1/27/2013     4,686                 $4.57               7,341                 $4.72                 39                 $5.25
   2/3/2013     5,404                 $3.63               8,879                 $3.69                 82                 $5.37
  2/10/2013     4,432                 $3.73               7,325                 $3.87                 52                 $5.08
  2/17/2013     3,824                 $4.67               6,077                 $4.67                 46                 $4.66
  2/24/2013     4,113                 $4.66               6,049                 $4.74                 62                 $4.68
   3/3/2013     4,278                 $4.35               6,442                 $4.37                 46                 $4.85
  3/10/2013     4,658                 $4.45               7,159                 $4.42                 58                 $4.62
  3/17/2013     5,123                 $3.86               7,855                 $3.90                 50                 $4.26
  3/24/2013     4,196                 $4.06               6,151                 $4.09                 42                 $4.48
  3/31/2013     4,552                 $3.88               7,003                 $3.94                 57                 $4.72
   4/7/2013     4,877                 $3.66               7,569                 $3.68                 63                 $4.58
  4/14/2013     4,654                 $4.24               6,865                 $4.20                 58                 $4.76
  4/21/2013     5,294                 $3.81               8,562                 $3.74                 52                 $4.65
  4/28/2013     4,567                 $4.09               6,498                 $4.18                 89                 $3.95



                                                                                                                                     Page 2 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 469 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   5/5/2013     4,954                 $3.85                7,730                $3.84                194                 $3.63
  5/12/2013     5,935                 $3.88                9,905                $3.90                259                 $4.36
  5/19/2013     4,583                 $4.17                6,781                $4.10                240                 $4.52
  5/26/2013     4,961                 $3.86                8,136                $3.84                377                 $4.24
   6/2/2013     4,851                 $3.79                8,688                $3.74                421                 $4.35
   6/9/2013     4,577                 $4.43                6,743                $4.35                312                 $4.62
  6/16/2013     4,347                 $4.53                6,413                $4.54                217                 $4.65
  6/23/2013     3,663                 $4.64                5,619                $4.58                346                 $3.84
  6/30/2013     5,005                 $3.86                7,506                $3.91                551                 $3.47
   7/7/2013     5,748                 $3.61               10,053                $3.61                550                 $3.82
  7/14/2013     4,432                 $3.83                6,962                $3.83                328                 $4.28
  7/21/2013     4,128                 $4.25                6,005                $4.25                266                 $4.13
  7/28/2013     4,263                 $4.08                6,850                $4.03                293                 $4.01
   8/4/2013     4,499                 $4.08                7,486                $4.09                302                 $4.30
  8/11/2013     5,290                 $3.93                9,581                $3.89                250                 $4.60
  8/18/2013     4,469                 $4.15                7,455                $4.11                294                 $4.54
  8/25/2013     4,101                 $4.15                5,854                $4.23                314                 $4.02
   9/1/2013     4,167                 $4.01                6,512                $4.10                782                 $3.03
   9/8/2013     3,935                 $4.53                6,290                $4.56                696                 $3.24
  9/15/2013     4,091                 $4.21                6,900                $3.98                311                 $4.53
  9/22/2013     3,628                 $4.34                5,444                $4.33                269                 $4.28
  9/29/2013     4,155                 $4.20                5,758                $4.28                275                 $4.51
  10/6/2013     4,421                 $4.05                7,465                $3.92                322                 $4.71
 10/13/2013     3,494                 $4.21                5,776                $4.28                325                 $4.63
 10/20/2013     4,006                 $4.01                5,813                $4.13                299                 $4.51
 10/27/2013     4,838                 $4.43                8,478                $4.48                314                 $4.67
  11/3/2013     4,140                 $4.29                6,313                $4.31                323                 $4.58
 11/10/2013     4,170                 $3.90                7,370                $3.82                314                 $4.50
 11/17/2013     4,412                 $3.64                6,834                $3.74                265                 $4.70
 11/24/2013     4,431                 $4.20                7,111                $4.30                465                 $4.73
  12/1/2013     3,794                 $3.97                7,367                $4.11                489                 $4.82
  12/8/2013     3,776                 $3.89                6,192                $3.95                322                 $4.37
 12/15/2013     4,818                 $3.87                8,558                $3.86                380                 $4.50
 12/22/2013     6,113                 $3.99               10,968                $3.99                720                 $4.27



                                                                                                                                     Page 3 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 470 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

 12/29/2013     3,927                 $3.84                7,645                $3.96                474                 $4.75
   1/5/2014     4,316                 $4.19                7,400                $4.22                432                 $4.39
  1/12/2014     4,056                 $3.78                6,562                $3.96                300                 $4.65
  1/19/2014     3,946                 $3.98                6,634                $4.06                347                 $4.47
  1/26/2014     4,619                 $4.23                7,030                $4.39                444                 $3.90
   2/2/2014     4,713                 $3.99                8,229                $4.05                615                 $3.65
   2/9/2014     4,054                 $3.67                7,273                $3.69                358                 $4.14
  2/16/2014     4,382                 $3.81                7,345                $3.91                406                 $3.90
  2/23/2014     4,498                 $3.93                8,083                $3.88                779                 $3.31
   3/2/2014     4,005                 $3.82                5,888                $3.95                535                 $3.61
   3/9/2014     3,756                 $3.90                6,231                $3.92                408                 $3.77
  3/16/2014     4,487                 $3.90                8,225                $3.75                535                 $4.24
  3/23/2014     5,530                 $3.83                8,967                $3.81                419                 $4.14
  3/30/2014     4,173                 $3.94                6,383                $4.11                428                 $4.39
   4/6/2014     3,795                 $4.19                6,430                $4.13                377                 $4.23
  4/13/2014     4,948                 $3.96                7,883                $3.97                744                 $3.70
  4/20/2014     4,484                 $3.84                7,537                $3.92                719                 $3.66
  4/27/2014     4,096                 $4.11                7,045                $4.20                392                 $4.31
   5/4/2014     4,349                 $4.10                7,756                $4.04                784                 $3.77
  5/11/2014     3,351                 $4.17                5,695                $4.16                360                 $4.14
  5/18/2014     5,092                 $3.32                9,309                $3.41                700                 $3.86
  5/25/2014     5,745                 $3.57               10,282                $3.60                674                 $4.12
   6/1/2014     4,157                 $3.85                6,788                $3.92                361                 $4.61
   6/8/2014     4,358                 $4.04                6,744                $4.12                559                 $3.99
  6/15/2014     4,662                 $3.68                8,425                $3.73                432                 $4.54
  6/22/2014     4,499                 $4.04                7,076                $4.05                427                 $4.22
  6/29/2014     4,948                 $3.62                9,127                $3.56                510                 $4.11
   7/6/2014     5,390                 $3.66               10,676                $3.52                727                 $3.92
  7/13/2014     3,655                 $4.22                6,865                $3.92                398                 $4.37
  7/20/2014     3,510                 $4.75                5,928                $4.75                460                 $4.26
  7/27/2014     5,758                 $3.53                9,610                $3.60                491                 $4.27
   8/3/2014     3,361                 $4.82                5,153                $4.81                385                 $4.84
  8/10/2014     3,432                 $4.57                5,794                $4.53                490                 $4.79
  8/17/2014     5,340                 $3.68                9,064                $3.78                421                 $4.85



                                                                                                                                     Page 4 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 471 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

  8/24/2014     4,228                 $3.88                6,768                $3.95                481                 $4.65
  8/31/2014     4,255                 $3.83                7,128                $3.94                632                 $3.92
   9/7/2014     3,273                 $4.62                5,837                $4.59                710                 $3.88
  9/14/2014     3,825                 $4.10                6,850                $3.95                400                 $4.53
  9/21/2014     5,772                 $3.53                9,525                $3.42                448                 $4.29
  9/28/2014     4,084                 $4.04                6,275                $4.05                303                 $4.59
  10/5/2014     4,548                 $4.21                6,723                $4.37                462                 $4.43
 10/12/2014     3,844                 $4.35                6,268                $4.18                502                 $4.44
 10/19/2014     5,182                 $3.43                9,048                $3.58                667                 $3.96
 10/26/2014     4,273                 $3.95                7,160                $3.94                562                 $3.81
  11/2/2014     3,889                 $4.24                6,530                $4.29                554                 $4.16
  11/9/2014     3,728                 $4.28                6,339                $4.42                341                 $4.79
 11/16/2014     3,254                 $4.76                5,780                $4.53                320                 $5.23
 11/23/2014     5,850                 $3.66               10,187                $3.68                501                 $4.01
 11/30/2014     4,342                 $3.97                8,727                $3.95                473                 $4.47
  12/7/2014     4,040                 $4.15                7,846                $3.98                491                 $4.58
 12/14/2014     3,795                 $4.16                7,298                $4.17                394                 $4.70
 12/21/2014     4,356                 $4.10                7,889                $4.13                734                 $4.13
 12/28/2014     3,323                 $4.52                7,037                $4.47                540                 $4.64
   1/4/2015     5,363                 $3.95               10,460                $4.12                613                 $4.73
  1/11/2015     4,583                 $4.08                7,914                $4.30                334                 $5.41
  1/18/2015     3,797                 $5.01                7,335                $5.10                474                 $4.95
  1/25/2015     4,509                 $4.09                7,111                $4.23                548                 $4.39
   2/1/2015     4,868                 $4.00                8,149                $3.96                604                 $4.51
   2/8/2015     3,823                 $4.37                7,166                $4.29                407                 $4.95
  2/15/2015     4,329                 $4.05                7,622                $4.13                354                 $4.87
  2/22/2015     3,311                 $4.91                5,179                $4.93               1,075                $3.27
   3/1/2015     4,357                 $4.32                6,904                $4.48                355                 $4.99
   3/8/2015     4,777                 $4.08                7,957                $4.09                356                 $5.27
  3/15/2015     6,044                 $3.70               10,225                $3.75                472                 $5.13
  3/22/2015     5,128                 $3.77                8,575                $3.84                415                 $5.23
  3/29/2015     4,559                 $4.14                8,204                $4.24                422                 $4.81
   4/5/2015     5,012                 $3.62                9,242                $3.67                494                 $4.72
  4/12/2015     5,033                 $3.71                8,644                $3.71                567                 $4.12



                                                                                                                                     Page 5 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 472 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

  4/19/2015     3,661                 $4.58                6,712                $4.19                669                 $3.74
  4/26/2015     4,514                 $4.19                7,332                $4.26                412                 $4.07
   5/3/2015     4,372                 $4.00                7,318                $4.12                579                 $4.02
  5/10/2015     4,145                 $4.03                7,810                $3.92                323                 $5.04
  5/17/2015     5,119                 $3.84                9,516                $3.86                483                 $4.39
  5/24/2015     4,545                 $3.77                7,757                $3.80                538                 $4.40
  5/31/2015     4,425                 $3.97                6,983                $3.96                356                 $4.94
   6/7/2015     5,873                 $3.62                9,892                $3.68                667                 $3.74
  6/14/2015     4,818                 $3.90                8,936                $3.80                673                 $3.87
  6/21/2015     3,837                 $4.27                6,147                $4.25                362                 $4.79
  6/28/2015     4,696                 $3.80                7,071                $3.85                561                 $4.10
   7/5/2015     6,162                 $3.35               11,540                $3.27               1,014                $3.57
  7/12/2015     3,199                 $4.75                5,314                $4.62                393                 $4.55
  7/19/2015     5,163                 $3.80                8,738                $3.88                467                 $4.26
  7/26/2015     4,397                 $4.25                7,469                $4.10                479                 $4.37
   8/2/2015     4,295                 $3.99                7,278                $3.94                597                 $4.01
   8/9/2015     3,460                 $4.28                5,922                $4.15                412                 $4.67
  8/16/2015     5,278                 $3.50                9,356                $3.53                559                 $4.63
  8/23/2015     4,310                 $4.06                6,493                $4.21                447                 $4.45
  8/30/2015     4,700                 $4.03                7,588                $4.08                449                 $5.49
   9/6/2015     4,699                 $4.51                8,142                $4.50                700                 $5.09
  9/13/2015     4,283                 $4.49                7,159                $4.43                405                 $5.69
  9/20/2015     5,197                 $4.14                8,861                $4.10                561                 $4.81
  9/27/2015     3,423                 $5.36                5,682                $5.11                428                 $5.55
  10/4/2015     4,310                 $4.56                6,591                $4.61                448                 $5.38
 10/11/2015     4,196                 $4.69                7,149                $4.85                600                 $4.87
 10/18/2015     5,667                 $4.12                8,738                $4.17                388                 $5.71
 10/25/2015     4,011                 $4.62                6,243                $4.74                571                 $4.63
  11/1/2015     4,082                 $4.59                6,774                $4.69                416                 $5.72
  11/8/2015     3,770                 $4.44                6,033                $4.38                415                 $5.57
 11/15/2015     3,973                 $4.63                6,049                $4.73                484                 $4.87
 11/22/2015     5,043                 $4.31                7,772                $4.33                619                 $4.67
 11/29/2015     3,490                 $4.68                7,810                $4.40                541                 $5.29
  12/6/2015     4,250                 $4.19                6,695                $4.24                509                 $4.83



                                                                                                                                     Page 6 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 473 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

 12/13/2015     4,165                 $4.31               6,765                 $4.27                572                 $4.84
 12/20/2015     4,394                 $4.24               6,860                 $4.36                529                 $5.42
 12/27/2015     4,035                 $4.34               7,992                 $4.42                638                 $5.27
   1/3/2016     4,340                 $4.26               7,951                 $4.42                738                 $4.97
  1/10/2016     4,231                 $4.58               6,174                 $4.70                540                 $4.88
  1/17/2016     4,239                 $4.39               6,841                 $4.45                397                 $5.73
  1/24/2016     4,208                 $4.55               5,997                 $4.63                412                 $5.66
  1/31/2016     4,244                 $4.69               5,587                 $4.92                502                 $4.95
   2/7/2016     4,536                 $4.46               7,658                 $4.37                744                 $5.07
  2/14/2016     4,067                 $4.25               6,269                 $4.37                325                 $5.80
  2/21/2016     4,231                 $4.34               5,837                 $4.53                482                 $4.87
  2/28/2016     4,261                 $4.38               6,625                 $4.43                434                 $4.93
   3/6/2016     4,056                 $4.46               6,557                 $4.53                646                 $4.52
  3/13/2016     3,838                 $4.42               5,912                 $4.54                476                 $4.70
  3/20/2016     4,128                 $4.53               5,707                 $4.63                615                 $4.31
  3/27/2016     4,236                 $4.64               6,776                 $4.67                621                 $4.42
   4/3/2016     3,977                 $4.54               6,126                 $4.65                476                 $5.40
  4/10/2016     4,059                 $4.39               6,611                 $4.40                514                 $5.13
  4/17/2016     4,233                 $4.30               6,816                 $4.30                403                 $5.58
  4/24/2016     3,928                 $4.38               5,920                 $4.48                611                 $4.84
   5/1/2016     3,571                 $4.88               5,178                 $5.05                784                 $4.47
   5/8/2016     4,003                 $4.48               5,696                 $4.52                580                 $4.86
  5/15/2016     3,926                 $4.45               5,263                 $4.50                770                 $4.51
  5/22/2016     3,733                 $4.53               4,882                 $4.37                592                 $4.45
  5/29/2016     4,464                 $4.66               7,156                 $4.57                767                 $4.76
   6/5/2016     4,015                 $4.49               5,989                 $4.53                584                 $5.93
  6/12/2016     3,955                 $4.50               5,498                 $4.44                516                 $5.66
  6/19/2016     4,038                 $4.45               5,543                 $4.27                644                 $4.91
  6/26/2016     3,953                 $4.38               5,873                 $4.22                483                 $4.97
   7/3/2016     4,618                 $4.58               7,119                 $4.46                794                 $4.87
  7/10/2016     3,511                 $4.70               5,501                 $4.71                480                 $5.84
  7/17/2016     3,764                 $4.78               4,754                 $4.98                434                 $5.31
  7/24/2016     3,781                 $4.41               6,105                 $4.37                509                 $5.78
  7/31/2016     4,019                 $4.37               5,713                 $4.30                562                 $5.55



                                                                                                                                     Page 7 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 474 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   8/7/2016     4,226                 $4.03               6,021                 $3.99                734                 $4.74
  8/14/2016     3,661                 $4.62               5,208                 $4.60                816                 $4.81
  8/21/2016     4,115                 $4.37               5,983                 $4.35                470                 $5.52
  8/28/2016     4,036                 $4.55               6,211                 $4.41                522                 $5.14
   9/4/2016     4,162                 $4.64               6,444                 $4.54                651                 $4.73
  9/11/2016     3,201                 $5.44               4,864                 $5.17                464                 $5.00
  9/18/2016     3,653                 $4.53               5,140                 $4.38                732                 $4.33
  9/25/2016     3,801                 $4.49               5,078                 $4.45                575                 $4.82
  10/2/2016     4,169                 $4.91               5,399                 $4.90                638                 $4.95
  10/9/2016     3,527                 $5.35               5,973                 $4.96                427                 $5.95
 10/16/2016     3,509                 $5.45               5,824                 $4.99                354                 $6.13
 10/23/2016     4,219                 $4.69               5,642                 $4.75               1,024                $4.13
 10/30/2016     3,719                 $4.75               4,922                 $4.91                622                 $5.16
  11/6/2016     3,272                 $5.42               4,133                 $5.58                422                 $5.84
 11/13/2016     3,959                 $4.76               4,905                 $4.86                531                 $5.06
 11/20/2016     4,182                 $4.79               6,957                 $4.54                627                 $5.23
 11/27/2016     3,345                 $5.12               6,957                 $4.80                734                 $4.97
  12/4/2016     3,165                 $5.34               4,241                 $5.31                490                 $5.25
 12/11/2016     3,725                 $4.34               4,893                 $4.43                403                 $5.66
 12/18/2016     3,585                 $4.36               5,504                 $4.40                411                 $5.17
 12/25/2016     4,088                 $4.38               7,963                 $4.30                568                 $5.12
   1/1/2017     3,999                 $4.31               6,474                 $4.40                712                 $4.99
   1/8/2017     3,343                 $5.62               4,243                 $5.69                672                 $4.67
  1/15/2017     4,234                 $4.84               5,364                 $5.00                541                 $5.29
  1/22/2017     4,044                 $4.77               5,650                 $4.81                365                 $5.88
  1/29/2017     3,330                 $5.40               4,082                 $5.48                550                 $4.49
   2/5/2017     5,101                 $4.26               7,946                 $4.39                510                 $6.21
  2/12/2017     3,509                 $5.24               4,769                 $5.31                221                 $6.37
  2/19/2017     4,525                 $4.77               6,642                 $4.74                264                 $6.19
  2/26/2017     3,666                 $5.09               5,108                 $5.05                424                 $4.92
   3/5/2017     4,140                 $4.88               5,506                 $4.84                315                 $5.81
  3/12/2017     3,739                 $5.41               5,354                 $5.24                559                 $4.74
  3/19/2017     3,803                 $5.60               5,315                 $5.49                412                 $5.05
  3/26/2017     3,221                 $5.49               4,514                 $5.30                473                 $4.95



                                                                                                                                     Page 8 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 475 of 551


               12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                       Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                             Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   4/2/2017     4,056                 $4.91               5,187                 $4.96                418                 $5.17
   4/9/2017     3,197                 $5.52               4,278                 $5.47                292                 $5.90
  4/16/2017     5,382                 $4.28               8,709                 $4.22                562                 $4.40
  4/23/2017     2,872                 $5.56               4,361                 $5.32                259                 $5.99
  4/30/2017     3,680                 $4.55               5,474                 $4.50                400                 $4.68
   5/7/2017     3,888                 $4.99               6,532                 $4.78                253                 $6.05
  5/14/2017     3,084                 $5.43               5,197                 $4.99                466                 $5.04
  5/21/2017     4,364                 $4.74               5,684                 $4.70                313                 $5.59
  5/28/2017     3,892                 $4.49               6,583                 $4.40                387                 $4.81
   6/4/2017     3,276                 $5.46               5,196                 $5.42                238                 $5.57
  6/11/2017     3,709                 $5.10               5,769                 $5.15                234                 $5.55
  6/18/2017     3,274                 $5.62               5,057                 $5.64                279                 $4.81
  6/25/2017     3,052                 $5.64               4,437                 $5.67                292                 $3.81
   7/2/2017     4,049                 $4.45               7,726                 $4.32                253                 $4.16
   7/9/2017     3,691                 $5.44               5,958                 $5.09                234                 $4.66
  7/16/2017     4,234                 $4.82               5,715                 $5.02                172                 $4.74
  7/23/2017     3,315                 $5.56               4,548                 $5.64                196                 $5.02
  7/30/2017     3,409                 $5.48               4,836                 $5.25                154                 $5.71
   8/6/2017     2,952                 $5.84               4,544                 $5.61                168                 $4.87
  8/13/2017     3,291                 $5.47               4,792                 $5.49                184                 $4.88
  8/20/2017     3,797                 $4.93               5,544                 $5.26                194                 $5.02
  8/27/2017     3,665                 $5.61               5,346                 $5.58                197                 $4.94
   9/3/2017     4,301                 $4.83               7,080                 $4.90                274                 $4.68
  9/10/2017     3,212                 $4.81               4,898                 $5.05                243                 $4.46
  9/17/2017     3,652                 $4.20               4,879                 $4.57                252                 $5.46
  9/24/2017     3,180                 $4.61               4,316                 $4.89                166                 $5.81
  10/1/2017     4,004                 $4.25               5,438                 $4.64                173                 $4.58
  10/8/2017     3,140                 $4.68               4,439                 $5.12                207                 $4.85
 10/15/2017     3,371                 $4.89               4,711                 $5.16                209                 $4.41
 10/22/2017     3,615                 $5.56               4,945                 $5.50                203                 $4.34
 10/29/2017     3,773                 $4.87               5,443                 $5.04                179                 $4.76
  11/5/2017     3,334                 $5.44               4,354                 $5.55                169                 $4.78
 11/12/2017     3,925                 $4.93               5,384                 $5.17                173                 $4.96
 11/19/2017     4,216                 $4.83               6,677                 $4.99                231                 $4.64



                                                                                                                                     Page 9 of 10
                               Case 5:17-cv-00564-NC                     Document 248-1               Filed 10/09/18             Page 476 of 551


                                  12 Packs Of 12 Oz. Cans Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                          Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                                Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                                                        (a)
                                    Diet Canada Dry Ginger Ale                             Canada Dry Ginger Ale                                Schweppes Ginger Ale
                                                    Weekly Average                                       Weekly Average                                       Weekly Average
    Week Ending                 Unit Sales                Retail Price               Unit Sales                Retail Price                Unit Sales               Retail Price

     11/26/2017                    3,468                      $5.27                      7,255                     $5.29                       221                      $4.16
      12/3/2017                    3,116                      $5.50                      4,368                     $5.34                       155                      $4.22
     12/10/2017                    3,679                      $4.66                      5,412                     $4.75                       146                      $4.82
     12/17/2017                    5,157                      $4.16                      9,258                     $3.97                       195                      $4.61
     12/24/2017                    5,203                      $4.34                     12,146                     $4.34                       258                      $4.72
     12/31/2017                    3,526                      $5.39                      7,061                     $5.45                       169                      $4.92
       1/7/2018                    3,431                      $5.62                      5,431                     $5.48                       139                      $4.26
      1/14/2018                    4,269                      $4.96                      6,474                     $4.98                       111                      $5.70
      1/21/2018                    3,766                      $4.95                      5,765                     $4.96                        91                      $5.52
      1/28/2018                    3,312                      $5.65                      5,221                     $5.40                       133                      $4.62
       2/4/2018                    5,366                      $4.38                      9,904                     $4.27                       139                      $4.76
      2/11/2018                    4,120                      $5.11                      6,206                     $5.21                        89                      $5.57
      2/18/2018                    3,935                      $4.75                      5,831                     $4.93                        94                      $5.06
      2/25/2018                    3,999                      $5.03                      6,127                     $5.14                       101                      $5.41
       3/4/2018                    3,659                      $5.60                      5,237                     $5.62                        75                      $5.55
      3/11/2018                    4,196                      $5.09                      6,851                     $5.10                       119                      $5.15
      3/18/2018                    3,942                      $5.12                      5,824                     $5.33                        60                      $5.79
      3/25/2018                    4,213                      $5.07                      6,117                     $5.25                        91                      $5.02
       4/1/2018                    4,829                      $4.50                      8,805                     $4.51                       147                      $4.42
       4/8/2018                    3,379                      $5.52                      5,250                     $5.45                        99                      $5.06

Note:
(a) For this sales channel, location, and package type/size (i.e., 12 packs of 12-oz. cans), sales data are available for two Schweppes ginger ale products: Schweppes Ginger Ale and
Schweppes Diet Ginger Ale. The data include sales of 12 packs of 12-oz. cans of Schweppes Diet Ginger Ale in only 4 of the 326 available weeks with a total of 8 units sold.
Therefore, for the purpose of this analysis, only sales of 12 packs of 12-oz. cans of Schweppes Ginger Ale are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                                Page 10 of 10
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 477 of 551




                            Exhibit 12
            Case 5:17-cv-00564-NC     Document 248-1     Filed 10/09/18   Page 478 of 551




              2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                        Weekly Average Retail Prices In Los Angeles Food Channel
                       Week Ending January 15, 2012 - Week Ending April 8, 2018
$2.00


$1.80


$1.60


$1.40


$1.20


$1.00


$0.80


$0.60


        Diet Canada Dry Ginger Ale
$0.40
        Canada Dry Ginger Ale
        Schweppes Ginger Ale
$0.20


$0.00
       Case 5:17-cv-00564-NC    Document 248-1     Filed 10/09/18   Page 479 of 551



        2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                 Canada Dry Ginger Ale To Schweppes Ginger Ale Price Ratio
                  Weekly Average Retail Prices In Los Angeles Food Channel
                  Week Ending January 15, 2012 - Week Ending April 8, 2018
1.40




1.20




1.00




0.80




0.60




0.40




0.20




0.00
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 480 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 1/15/2012      6,672                  $1.44             60,638                $1.28              5,824                    $1.44            0.89
 1/22/2012      3,038                  $1.21             47,250                $1.10              9,185                    $1.29            0.86
 1/29/2012      2,880                  $1.26             38,759                $1.11              6,017                    $1.36            0.82
  2/5/2012      6,824                  $1.42             70,297                $1.21              5,853                    $1.38            0.88
 2/12/2012      5,621                  $1.49             58,385                $1.27              6,947                    $1.44            0.88
 2/19/2012      4,485                  $1.45             49,953                $1.28              7,071                    $1.45            0.88
 2/26/2012      4,597                  $1.42             50,519                $1.24              7,441                    $1.42            0.87
  3/4/2012      4,743                  $1.44             53,669                $1.25              6,517                    $1.38            0.90
 3/11/2012      4,542                  $1.44             52,321                $1.23              6,073                    $1.37            0.90
 3/18/2012      4,773                  $1.44             54,339                $1.25              7,719                    $1.30            0.96
 3/25/2012      5,001                  $1.36             53,830                $1.14              6,837                    $1.40            0.82
  4/1/2012      5,243                  $1.36             54,875                $1.14              5,520                    $1.45            0.78
  4/8/2012      5,257                  $1.33             71,582                $1.15              5,860                    $1.51            0.76
 4/15/2012      4,863                  $1.37             58,700                $1.24              5,997                    $1.45            0.86
 4/22/2012      5,343                  $1.39             52,639                $1.25              6,139                    $1.43            0.87
 4/29/2012      4,355                  $1.49             39,792                $1.29              5,393                    $1.43            0.91
  5/6/2012      5,333                  $1.35             54,861                $1.15              4,905                    $1.48            0.78
 5/13/2012      4,886                  $1.41             65,193                $1.18              5,819                    $1.42            0.83
 5/20/2012      4,920                  $1.46             50,129                $1.37              6,186                    $1.33            1.03
 5/27/2012      5,223                  $1.42             51,125                $1.36              5,558                    $1.44            0.95
  6/3/2012      5,067                  $1.44             48,757                $1.38              5,128                    $1.50            0.92
 6/10/2012      5,871                  $1.38             54,255                $1.36              4,541                    $1.51            0.90
 6/17/2012      5,860                  $1.42             56,112                $1.33              5,943                    $1.39            0.96
 6/24/2012      6,383                  $1.32             49,014                $1.35              5,480                    $1.34            1.00
  7/1/2012      6,569                  $1.40             49,516                $1.33              5,349                    $1.38            0.97
  7/8/2012      6,060                  $1.37             54,716                $1.27              5,633                    $1.46            0.87
 7/15/2012      5,785                  $1.40             41,160                $1.37              5,407                    $1.19            1.15
 7/22/2012      5,976                  $1.40             49,606                $1.33              5,956                    $1.12            1.19
 7/29/2012      6,484                  $1.42             48,529                $1.37              5,390                    $1.42            0.96
  8/5/2012      8,158                  $1.30             55,858                $1.24              5,094                    $1.48            0.84
 8/12/2012      7,978                  $1.42             58,484                $1.30              4,846                    $1.49            0.87
 8/19/2012      7,336                  $1.44             46,260                $1.38              5,973                    $1.30            1.06
 8/26/2012      7,277                  $1.39             42,885                $1.32              5,233                    $1.32            1.00
  9/2/2012      8,613                  $1.41             55,946                $1.30              6,063                    $1.36            0.95
  9/9/2012      9,150                  $1.40             58,086                $1.29              5,242                    $1.40            0.92




                                                                                                                                                        Page 1 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 481 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 9/16/2012      9,176                  $1.37             56,481                $1.32              4,665                    $1.46            0.91
 9/23/2012      9,762                  $1.32             59,968                $1.22              4,622                    $1.38            0.89
 9/30/2012      9,422                  $1.35             54,233                $1.25              4,896                    $1.40            0.89
 10/7/2012      9,492                  $1.37             61,966                $1.25              4,942                    $1.48            0.84
 10/14/2012     9,177                  $1.35             59,794                $1.32              4,651                    $1.34            0.98
 10/21/2012     9,257                  $1.32             57,262                $1.30              5,344                    $1.23            1.06
 10/28/2012     9,119                  $1.29             64,383                $1.26              4,436                    $1.43            0.88
 11/4/2012      9,953                  $1.27             59,846                $1.22              5,333                    $1.47            0.83
 11/11/2012     9,127                  $1.34             58,824                $1.27              6,021                    $1.38            0.92
 11/18/2012     10,218                 $1.34             68,329                $1.28              6,210                    $1.49            0.85
 11/25/2012     10,557                 $1.34             87,177                $1.27              6,889                    $1.62            0.78
 12/2/2012      8,679                  $1.31             52,556                $1.30              4,595                    $1.58            0.83
 12/9/2012      8,900                  $1.32             51,536                $1.29              5,327                    $1.57            0.82
 12/16/2012     11,966                 $1.26             74,731                $1.26              5,722                    $1.55            0.81
 12/23/2012     13,984                 $1.23             99,911                $1.22              8,036                    $1.42            0.86
 12/30/2012     11,632                 $1.27             91,565                $1.26              7,127                    $1.58            0.80
  1/6/2013      10,598                 $1.32             68,692                $1.33              6,521                    $1.46            0.91
 1/13/2013      10,769                 $1.31             53,961                $1.34              5,348                    $1.57            0.85
 1/20/2013      12,100                 $1.30             54,861                $1.31              5,225                    $1.55            0.84
 1/27/2013      12,656                 $1.30             57,327                $1.27              5,016                    $1.60            0.80
  2/3/2013      13,705                 $1.37             71,556                $1.30              5,021                    $1.62            0.80
 2/10/2013      10,301                 $1.42             53,802                $1.41              4,634                    $1.62            0.87
 2/17/2013      10,860                 $1.40             56,132                $1.36              4,278                    $1.62            0.84
 2/24/2013      10,726                 $1.37             59,996                $1.33              4,311                    $1.60            0.83
  3/3/2013      11,988                 $1.34             56,456                $1.34              4,565                    $1.62            0.82
 3/10/2013      12,105                 $1.32             52,318                $1.34              4,433                    $1.61            0.83
 3/17/2013      13,025                 $1.33             58,263                $1.33              4,813                    $1.61            0.82
 3/24/2013      11,960                 $1.33             63,242                $1.28              4,263                    $1.59            0.80
 3/31/2013      12,723                 $1.33             65,350                $1.29              4,979                    $1.62            0.80
  4/7/2013      11,793                 $1.34             58,848                $1.32              4,543                    $1.60            0.82
 4/14/2013      11,362                 $1.29             49,534                $1.33              4,183                    $1.59            0.83
 4/21/2013      11,403                 $1.30             55,490                $1.28              4,034                    $1.61            0.80
 4/28/2013      11,655                 $1.29             63,047                $1.27              4,023                    $1.58            0.80
  5/5/2013      11,610                 $1.32             55,475                $1.29              4,425                    $1.58            0.82
 5/12/2013      11,581                 $1.34             49,565                $1.32              4,460                    $1.60            0.83




                                                                                                                                                        Page 2 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 482 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 5/19/2013      11,410                 $1.33             51,790                $1.30              4,182                    $1.60            0.81
 5/26/2013      10,930                 $1.33             58,864                $1.26              4,252                    $1.61            0.78
  6/2/2013      11,356                 $1.32             53,128                $1.29              4,335                    $1.60            0.81
  6/9/2013      13,662                 $1.17             66,240                $1.15              4,132                    $1.57            0.73
 6/16/2013      16,592                 $1.06             79,711                $1.03              3,873                    $1.61            0.64
 6/23/2013      12,681                 $1.21             61,276                $1.20              3,916                    $1.59            0.75
 6/30/2013      10,754                 $1.34             53,280                $1.29              4,336                    $1.58            0.82
  7/7/2013      12,411                 $1.31             64,949                $1.25              5,167                    $1.60            0.78
 7/14/2013      9,989                  $1.33             47,378                $1.33              4,360                    $1.53            0.87
 7/21/2013      11,967                 $1.32             57,832                $1.33              4,574                    $1.50            0.89
 7/28/2013      10,835                 $1.29             49,899                $1.28              4,492                    $1.50            0.85
  8/4/2013      10,015                 $1.33             50,807                $1.31              4,479                    $1.59            0.83
 8/11/2013      10,271                 $1.32             52,151                $1.34              5,587                    $1.58            0.85
 8/18/2013      10,361                 $1.33             41,616                $1.36              4,998                    $1.48            0.92
 8/25/2013      10,588                 $1.32             45,319                $1.33              4,478                    $1.55            0.86
  9/1/2013      11,615                 $1.33             53,262                $1.29              5,189                    $1.57            0.82
  9/8/2013      11,477                 $1.36             53,820                $1.37              5,579                    $1.55            0.88
 9/15/2013      10,260                 $1.41             45,061                $1.41              4,801                    $1.55            0.91
 9/22/2013      10,072                 $1.38             43,688                $1.37              4,429                    $1.57            0.87
 9/29/2013      10,044                 $1.38             48,207                $1.36              4,131                    $1.58            0.86
 10/6/2013      11,097                 $1.36             45,423                $1.37              4,633                    $1.60            0.86
 10/13/2013     9,788                  $1.37             42,955                $1.43              4,545                    $1.57            0.91
 10/20/2013     10,552                 $1.39             47,512                $1.40              4,776                    $1.56            0.90
 10/27/2013     11,102                 $1.35             56,536                $1.33              5,057                    $1.57            0.85
 11/3/2013      9,038                  $1.40             42,301                $1.33              5,530                    $1.53            0.87
 11/10/2013     9,452                  $1.31             42,819                $1.29              5,041                    $1.58            0.82
 11/17/2013     10,233                 $1.40             44,899                $1.39              5,009                    $1.58            0.88
 11/24/2013     11,208                 $1.39             58,702                $1.32              6,301                    $1.59            0.83
 12/1/2013      11,648                 $1.40             77,284                $1.31              8,455                    $1.58            0.83
 12/8/2013      10,488                 $1.37             55,751                $1.36              5,111                    $1.54            0.88
 12/15/2013     10,273                 $1.32             48,060                $1.32              6,181                    $1.57            0.84
 12/22/2013     13,089                 $1.44             70,340                $1.40              9,475                    $1.55            0.90
 12/29/2013     13,021                 $1.44             91,683                $1.33              8,011                    $1.50            0.89
  1/5/2014      11,542                 $1.36             73,856                $1.31              7,045                    $1.45            0.90
 1/12/2014      10,485                 $1.37             50,402                $1.38              6,992                    $1.45            0.96




                                                                                                                                                        Page 3 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 483 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 1/19/2014      11,067                 $1.37             44,336                $1.40              7,062                    $1.44            0.98
 1/26/2014      11,538                 $1.35             52,725                $1.34              6,190                    $1.43            0.94
  2/2/2014      10,100                 $1.45             56,521                $1.35              7,345                    $1.41            0.96
  2/9/2014      10,837                 $1.46             56,160                $1.45              5,844                    $1.44            1.01
 2/16/2014      9,541                  $1.42             44,794                $1.40              6,227                    $1.44            0.97
 2/23/2014      11,167                 $1.41             52,374                $1.41              5,544                    $1.44            0.98
  3/2/2014      10,350                 $1.31             53,054                $1.28              5,460                    $1.44            0.89
  3/9/2014      9,838                  $1.33             44,657                $1.34              5,500                    $1.46            0.92
 3/16/2014      11,471                 $1.46             55,138                $1.43              5,650                    $1.41            1.02
 3/23/2014      9,506                  $1.37             53,128                $1.27              5,716                    $1.42            0.90
 3/30/2014      11,693                 $1.32             57,023                $1.34              4,850                    $1.45            0.92
  4/6/2014      9,953                  $1.41             46,334                $1.36              5,600                    $1.50            0.91
 4/13/2014      10,543                 $1.54             52,628                $1.52              6,047                    $1.52            1.00
 4/20/2014      10,318                 $1.53             60,847                $1.42              6,441                    $1.53            0.93
 4/27/2014      9,512                  $1.53             46,482                $1.47              5,370                    $1.49            0.98
  5/4/2014      10,627                 $1.54             57,142                $1.45              6,128                    $1.47            0.99
 5/11/2014      10,831                 $1.47             57,416                $1.47              5,857                    $1.44            1.02
 5/18/2014      10,225                 $1.51             56,067                $1.45              6,188                    $1.47            0.99
 5/25/2014      9,535                  $1.56             55,877                $1.43              5,697                    $1.50            0.95
  6/1/2014      9,916                  $1.55             52,266                $1.50              5,505                    $1.48            1.01
  6/8/2014      9,896                  $1.52             53,910                $1.45              5,980                    $1.49            0.97
 6/15/2014      10,173                 $1.50             53,696                $1.43              5,872                    $1.51            0.95
 6/22/2014      13,340                 $1.49             66,134                $1.54              5,901                    $1.46            1.05
 6/29/2014      10,940                 $1.47             59,501                $1.40              5,537                    $1.48            0.94
  7/6/2014      16,487                 $1.29             97,107                $1.20              7,022                    $1.54            0.78
 7/13/2014      10,467                 $1.48             54,622                $1.36              6,256                    $1.47            0.92
 7/20/2014      9,429                  $1.55             45,261                $1.50              5,796                    $1.48            1.02
 7/27/2014      13,355                 $1.51             70,472                $1.51              4,969                    $1.51            1.00
  8/3/2014      10,520                 $1.48             54,301                $1.37              5,725                    $1.51            0.91
 8/10/2014      10,268                 $1.50             49,492                $1.46              5,712                    $1.49            0.98
 8/17/2014      9,566                  $1.57             54,815                $1.40              5,750                    $1.50            0.94
 8/24/2014      11,339                 $1.64             60,070                $1.57              5,558                    $1.47            1.07
 8/31/2014      9,805                  $1.53             53,693                $1.47              6,908                    $1.50            0.98
  9/7/2014      9,640                  $1.58             49,827                $1.47              6,794                    $1.48            0.99
 9/14/2014      12,333                 $1.60             66,602                $1.52              5,934                    $1.57            0.97




                                                                                                                                                        Page 4 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 484 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 9/21/2014      11,021                 $1.59             58,445                $1.51              5,490                    $1.57            0.96
 9/28/2014      9,385                  $1.60             45,466                $1.51              5,436                    $1.58            0.96
 10/5/2014      10,872                 $1.53             53,342                $1.42              6,603                    $1.59            0.89
 10/12/2014     9,944                  $1.56             49,228                $1.49              5,494                    $1.62            0.92
 10/19/2014     10,416                 $1.52             56,956                $1.40              5,187                    $1.64            0.85
 10/26/2014     10,172                 $1.49             49,771                $1.46              5,542                    $1.58            0.92
 11/2/2014      11,491                 $1.59             61,862                $1.57              5,945                    $1.60            0.98
 11/9/2014      10,195                 $1.56             58,750                $1.45              5,330                    $1.62            0.90
 11/16/2014     10,375                 $1.49             51,672                $1.40              5,906                    $1.62            0.87
 11/23/2014     11,841                 $1.52             65,402                $1.38              7,081                    $1.65            0.84
 11/30/2014     12,359                 $1.53             89,166                $1.39              9,602                    $1.63            0.86
 12/7/2014      10,367                 $1.24             51,988                $1.25              5,651                    $1.44            0.87
 12/14/2014     10,958                 $1.24             56,477                $1.27              7,115                    $1.44            0.88
 12/21/2014     12,458                 $1.22             70,471                $1.26              8,018                    $1.45            0.87
 12/28/2014     13,601                 $1.24             98,298                $1.20              9,438                    $1.48            0.81
  1/4/2015      13,485                 $1.21             84,085                $1.25              8,495                    $1.48            0.84
 1/11/2015      11,703                 $1.22             58,934                $1.30              6,581                    $1.46            0.90
 1/18/2015      11,652                 $1.22             59,242                $1.24              5,967                    $1.45            0.85
 1/25/2015      11,878                 $1.14             59,152                $1.20              5,535                    $1.49            0.81
  2/1/2015      12,791                 $1.14             67,488                $1.20              6,629                    $1.44            0.84
  2/8/2015      11,616                 $1.21             58,585                $1.27              6,158                    $1.45            0.87
 2/15/2015      11,691                 $1.22             57,275                $1.27              6,193                    $1.43            0.89
 2/22/2015      11,323                 $1.15             61,139                $1.15              4,968                    $1.47            0.78
  3/1/2015      10,480                 $1.27             50,177                $1.23              5,547                    $1.44            0.85
  3/8/2015      10,927                 $1.23             51,888                $1.25              5,376                    $1.46            0.85
 3/15/2015      14,170                 $1.16             71,818                $1.20              6,598                    $1.36            0.88
 3/22/2015      12,010                 $1.15             67,121                $1.20              5,402                    $1.47            0.81
 3/29/2015      11,551                 $1.20             58,066                $1.24              4,964                    $1.46            0.85
  4/5/2015      11,675                 $1.21             65,142                $1.20              6,225                    $1.44            0.83
 4/12/2015      10,088                 $1.25             57,088                $1.24              5,515                    $1.44            0.86
 4/19/2015      10,506                 $1.22             49,621                $1.27              5,368                    $1.45            0.88
 4/26/2015      10,117                 $1.22             50,666                $1.24              4,912                    $1.48            0.84
  5/3/2015      12,721                 $1.14             67,156                $1.18              6,130                    $1.45            0.82
 5/10/2015      10,101                 $1.18             53,461                $1.24              5,219                    $1.44            0.86
 5/17/2015      9,489                  $1.22             52,246                $1.27              4,798                    $1.42            0.89




                                                                                                                                                        Page 5 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 485 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 5/24/2015      9,919                  $1.24             53,762                $1.24              5,071                    $1.42            0.87
 5/31/2015      9,296                  $1.27             49,195                $1.28              4,839                    $1.43            0.89
  6/7/2015      9,699                  $1.23             51,268                $1.26              4,430                    $1.45            0.87
 6/14/2015      11,405                 $1.14             66,496                $1.16              4,945                    $1.45            0.80
 6/21/2015      10,412                 $1.23             52,895                $1.25              5,606                    $1.38            0.90
 6/28/2015      11,360                 $1.07             54,639                $1.19              4,561                    $1.42            0.84
  7/5/2015      12,081                 $1.16             76,446                $1.17              6,214                    $1.45            0.81
 7/12/2015      9,209                  $1.18             49,883                $1.18              5,442                    $1.40            0.84
 7/19/2015      10,845                 $1.13             52,030                $1.19              5,221                    $1.41            0.84
 7/26/2015      9,205                  $1.20             40,440                $1.30              4,821                    $1.45            0.90
  8/2/2015      9,587                  $1.22             51,817                $1.24              5,644                    $1.37            0.90
  8/9/2015      9,752                  $1.20             47,108                $1.27              5,400                    $1.43            0.89
 8/16/2015      9,493                  $1.21             49,239                $1.26              5,814                    $1.41            0.90
 8/23/2015      11,617                 $1.12             65,064                $1.14              4,992                    $1.44            0.79
 8/30/2015      10,365                 $1.19             50,876                $1.23              5,643                    $1.42            0.87
  9/6/2015      10,683                 $1.18             60,887                $1.16              5,431                    $1.48            0.79
 9/13/2015      10,046                 $1.21             58,318                $1.20              6,078                    $1.46            0.83
 9/20/2015      11,305                 $1.13             65,112                $1.13              4,699                    $1.50            0.75
 9/27/2015      11,648                 $1.13             60,220                $1.16              4,678                    $1.47            0.79
 10/4/2015      9,151                  $1.22             45,099                $1.25              6,866                    $1.41            0.89
 10/11/2015     9,325                  $1.24             56,774                $1.20              5,677                    $1.46            0.82
 10/18/2015     9,740                  $1.24             55,248                $1.24              5,184                    $1.45            0.85
 10/25/2015     9,191                  $1.24             49,239                $1.28              4,210                    $1.54            0.83
 11/1/2015      11,725                 $1.17             68,407                $1.19              5,159                    $1.58            0.75
 11/8/2015      9,175                  $1.22             52,822                $1.25              6,282                    $1.47            0.85
 11/15/2015     9,316                  $1.23             55,026                $1.24              5,963                    $1.45            0.86
 11/22/2015     10,816                 $1.24             74,799                $1.16              5,436                    $1.58            0.73
 11/29/2015     11,773                 $1.30             96,137                $1.22              7,679                    $1.64            0.75
 12/6/2015      11,173                 $1.19             61,723                $1.23              4,991                    $1.56            0.79
 12/13/2015     10,564                 $1.21             67,554                $1.21              6,106                    $1.56            0.78
 12/20/2015     11,798                 $1.23             78,561                $1.23              5,704                    $1.63            0.75
 12/27/2015     13,578                 $1.25            101,062                $1.23              8,180                    $1.61            0.76
  1/3/2016      14,031                 $1.24             99,409                $1.29              7,654                    $1.61            0.80
 1/10/2016      10,389                 $1.23             57,101                $1.30              4,406                    $1.63            0.80
 1/17/2016      9,857                  $1.25             61,193                $1.23              4,038                    $1.63            0.76




                                                                                                                                                        Page 6 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 486 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 1/24/2016      9,634                  $1.26             54,574                $1.23              6,544                    $1.47            0.84
 1/31/2016      11,451                 $1.17             55,945                $1.23              5,514                    $1.48            0.83
  2/7/2016      11,168                 $1.18             66,747                $1.18              5,566                    $1.53            0.77
 2/14/2016      10,638                 $1.24             65,486                $1.21              5,999                    $1.55            0.79
 2/21/2016      10,128                 $1.27             63,652                $1.22              3,874                    $1.64            0.75
 2/28/2016      11,269                 $1.20             67,495                $1.16              4,882                    $1.56            0.75
  3/6/2016      10,131                 $1.25             50,572                $1.30              4,436                    $1.60            0.81
 3/13/2016      9,839                  $1.22             63,137                $1.19              3,488                    $1.65            0.72
 3/20/2016      10,702                 $1.18             66,981                $1.24              4,311                    $1.62            0.76
 3/27/2016      11,205                 $1.14             62,409                $1.26              4,758                    $1.54            0.82
  4/3/2016      9,168                  $1.22             57,597                $1.22              6,526                    $1.47            0.83
 4/10/2016      9,339                  $1.25             61,039                $1.23              4,304                    $1.59            0.78
 4/17/2016      10,377                 $1.15             61,224                $1.18              3,933                    $1.59            0.74
 4/24/2016      11,029                 $1.12             67,816                $1.11              3,784                    $1.61            0.69
  5/1/2016      9,148                  $1.20             49,863                $1.24              5,332                    $1.51            0.82
  5/8/2016      8,801                  $1.25             58,533                $1.24              4,219                    $1.59            0.78
 5/15/2016      8,811                  $1.26             47,477                $1.32              4,326                    $1.55            0.85
 5/22/2016      10,058                 $1.19             49,671                $1.28              4,153                    $1.54            0.83
 5/29/2016      10,279                 $1.26             53,145                $1.28              4,300                    $1.55            0.82
  6/5/2016      10,828                 $1.22             54,587                $1.28              6,047                    $1.48            0.86
 6/12/2016      9,524                  $1.26             47,292                $1.32              4,690                    $1.54            0.85
 6/19/2016      10,287                 $1.21             55,544                $1.20              4,501                    $1.55            0.78
 6/26/2016      11,639                 $1.13             57,885                $1.20              3,971                    $1.59            0.75
  7/3/2016      10,768                 $1.26             71,564                $1.21              4,530                    $1.59            0.76
 7/10/2016      10,256                 $1.23             59,984                $1.28              4,453                    $1.51            0.85
 7/17/2016      9,250                  $1.23             54,022                $1.13              4,694                    $1.50            0.75
 7/24/2016      9,721                  $1.24             50,897                $1.20              4,296                    $1.58            0.76
 7/31/2016      10,711                 $1.21             58,637                $1.22              4,308                    $1.55            0.79
  8/7/2016      9,982                  $1.22             55,980                $1.17              4,503                    $1.52            0.77
 8/14/2016      10,229                 $1.22             54,105                $1.24              4,761                    $1.49            0.83
 8/21/2016      10,164                 $1.20             57,881                $1.23              3,947                    $1.61            0.77
 8/28/2016      9,707                  $1.23             50,881                $1.23              4,413                    $1.50            0.82
  9/4/2016      10,664                 $1.24             59,549                $1.20              4,621                    $1.54            0.78
 9/11/2016      9,277                  $1.28             52,303                $1.24              4,261                    $1.56            0.79
 9/18/2016      9,398                  $1.22             46,039                $1.23              4,520                    $1.49            0.82




                                                                                                                                                        Page 7 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18     Page 487 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 9/25/2016      11,272                 $1.15             65,050                $1.17              3,716                    $1.56            0.75
 10/2/2016      9,303                  $1.19             65,926                $1.16              4,988                    $1.52            0.76
 10/9/2016      10,038                 $1.18             54,663                $1.24              4,237                    $1.59            0.78
 10/16/2016     9,823                  $1.19             54,150                $1.16              4,210                    $1.56            0.75
 10/23/2016     10,202                 $1.20             52,805                $1.23              4,356                    $1.54            0.80
 10/30/2016     10,326                 $1.15             62,385                $1.15              6,786                    $1.39            0.83
 11/6/2016      9,990                  $1.21             58,157                $1.13              6,312                    $1.33            0.85
 11/13/2016     10,153                 $1.19             59,075                $1.14              6,353                    $1.47            0.78
 11/20/2016     11,297                 $1.16             69,502                $1.10              6,016                    $1.57            0.70
 11/27/2016     11,105                 $1.25             87,898                $1.14              8,512                    $1.61            0.70
 12/4/2016      10,514                 $1.16             57,316                $1.22              4,821                    $1.57            0.77
 12/11/2016     9,088                  $1.24             56,310                $1.21              6,470                    $1.53            0.80
 12/18/2016     10,438                 $1.21             61,421                $1.22              6,333                    $1.57            0.78
 12/25/2016     13,129                 $1.22             92,749                $1.18              9,398                    $1.55            0.76
  1/1/2017      12,643                 $1.18             95,595                $1.10              7,470                    $1.54            0.71
  1/8/2017      9,811                  $1.32             61,006                $1.26              4,911                    $1.51            0.83
 1/15/2017      9,720                  $1.41             52,730                $1.32              5,235                    $1.50            0.88
 1/22/2017      9,458                  $1.28             51,418                $1.24              5,997                    $1.48            0.84
 1/29/2017      10,906                 $1.20             59,130                $1.24              4,677                    $1.51            0.82
  2/5/2017      10,929                 $1.26             59,152                $1.23              6,860                    $1.47            0.84
 2/12/2017      10,610                 $1.28             56,264                $1.22              6,152                    $1.44            0.85
 2/19/2017      9,076                  $1.31             48,859                $1.28              7,506                    $1.42            0.90
 2/26/2017      10,113                 $1.26             54,178                $1.27              5,162                    $1.53            0.83
  3/5/2017      8,245                  $1.45             43,504                $1.37              6,009                    $1.54            0.89
 3/12/2017      8,872                  $1.46             42,928                $1.39              8,536                    $1.38            1.01
 3/19/2017      10,562                 $1.32             49,651                $1.32              5,882                    $1.53            0.86
 3/26/2017      10,947                 $1.25             60,262                $1.17              6,349                    $1.37            0.85
  4/2/2017      10,072                 $1.39             53,545                $1.27              5,718                    $1.51            0.84
  4/9/2017      10,059                 $1.36             42,986                $1.41              6,508                    $1.44            0.98
 4/16/2017      10,409                 $1.28             52,422                $1.21              7,294                    $1.43            0.84
 4/23/2017      8,045                  $1.39             51,916                $1.20              7,379                    $1.34            0.90
 4/30/2017      8,847                  $1.41             50,456                $1.28              6,259                    $1.46            0.88
  5/7/2017      10,617                 $1.33             65,554                $1.25              6,642                    $1.40            0.89
 5/14/2017      9,291                  $1.38             54,246                $1.20              7,874                    $1.36            0.89
 5/21/2017      9,583                  $1.38             62,573                $1.22              5,517                    $1.56            0.78




                                                                                                                                                        Page 8 of 10
                     Case 5:17-cv-00564-NC            Document 248-1             Filed 10/09/18      Page 488 of 551


                                 2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                           Weekly Average Retail Prices In Los Angeles Food Channel
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                           (a)
                 Diet Canada Dry Ginger Ale                 Canada Dry Ginger Ale                   Schweppes Ginger Ale

                                                                                                                                   Canada Dry Ginger Ale
                                 Weekly Average                           Weekly Average                          Weekly Average   To Schweppes Ginger
Week Ending   Unit Sales           Retail Price        Unit Sales           Retail Price      Unit Sales            Retail Price      Ale Price Ratio

 5/28/2017      8,835                  $1.47             48,995                $1.35              6,907                    $1.44            0.94
  6/4/2017      9,449                  $1.38             51,138                $1.32              6,391                    $1.49            0.88
 6/11/2017      9,739                  $1.37             55,109                $1.28              6,343                    $1.41            0.91
 6/18/2017      11,006                 $1.33             62,257                $1.27              5,736                    $1.54            0.82
 6/25/2017      9,008                  $1.37             52,850                $1.30              6,159                    $1.42            0.91
  7/2/2017      9,785                  $1.43             52,548                $1.37              7,956                    $1.37            1.00
  7/9/2017      10,866                 $1.29             56,146                $1.29              7,275                    $1.40            0.92
 7/16/2017      9,728                  $1.39             49,941                $1.30              6,288                    $1.48            0.88
 7/23/2017      8,410                  $1.42             50,335                $1.26              7,511                    $1.40            0.90
 7/30/2017      9,191                  $1.38             49,884                $1.29              6,095                    $1.47            0.88
  8/6/2017      8,755                  $1.43             43,080                $1.40              7,774                    $1.39            1.01
 8/13/2017      7,876                  $1.34             43,019                $1.14              8,314                    $1.37            0.83
 8/20/2017      9,334                  $1.30             57,264                $1.19              5,231                    $1.48            0.80
 8/27/2017      10,426                 $1.19             54,004                $1.24              4,915                    $1.52            0.82
  9/3/2017      10,047                 $1.35             55,327                $1.30              6,942                    $1.42            0.92
 9/10/2017      9,112                  $1.30             47,447                $1.25              6,971                    $1.38            0.90
 9/17/2017      10,002                 $1.36             54,540                $1.32              4,813                    $1.57            0.84
 9/24/2017      9,448                  $1.36             52,625                $1.32              4,802                    $1.47            0.89
 10/1/2017      9,457                  $1.33             52,323                $1.22              5,415                    $1.44            0.85
 10/8/2017      9,749                  $1.26             48,185                $1.22              5,674                    $1.46            0.84
 10/15/2017     9,293                  $1.36             49,005                $1.22              6,180                    $1.36            0.89
 10/22/2017     9,561                  $1.50             45,113                $1.42              7,328                    $1.29            1.10
 10/29/2017     11,126                 $1.36             57,519                $1.31              7,514                    $1.32            0.99
 11/5/2017      11,237                 $1.26             52,103                $1.20              7,993                    $1.23            0.97
 11/12/2017     9,874                  $1.36             49,558                $1.36              6,764                    $1.36            1.00
 11/19/2017     11,610                 $1.28             60,161                $1.28              8,684                    $1.26            1.02
 11/26/2017     11,784                 $1.41             86,047                $1.33              11,789                   $1.25            1.06
 12/3/2017      11,416                 $1.32             51,443                $1.34              6,608                    $1.25            1.07
 12/10/2017     12,905                 $1.23             67,861                $1.26              6,643                    $1.31            0.96
 12/17/2017     10,465                 $1.46             55,466                $1.39              7,456                    $1.48            0.94
 12/24/2017     13,981                 $1.40             80,471                $1.34              11,334                   $1.50            0.90
 12/31/2017     15,522                 $1.30             95,311                $1.25              9,487                    $1.53            0.82
  1/7/2018      10,582                 $1.41             61,809                $1.40              8,177                    $1.52            0.92
 1/14/2018      11,289                 $1.38             60,696                $1.29              5,785                    $1.57            0.82
 1/21/2018      10,858                 $1.35             54,250                $1.35              5,779                    $1.51            0.89




                                                                                                                                                        Page 9 of 10
                                        Case 5:17-cv-00564-NC                        Document 248-1                  Filed 10/09/18              Page 489 of 551


                                                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                                                Weekly Average Retail Prices In Los Angeles Food Channel
                                                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                                                        (a)
                                   Diet Canada Dry Ginger Ale                              Canada Dry Ginger Ale                                Schweppes Ginger Ale

                                                                                                                                                                                          Canada Dry Ginger Ale
                                                       Weekly Average                                       Weekly Average                                       Weekly Average            To Schweppes Ginger
    Week Ending                 Unit Sales                Retail Price               Unit Sales                Retail Price               Unit Sales                Retail Price               Ale Price Ratio

      1/28/2018                    9,956                      $1.32                     46,597                     $1.28                     4,604                      $1.53                        0.84
       2/4/2018                    10,600                     $1.36                     56,708                     $1.21                     7,281                      $1.47                        0.82
      2/11/2018                    15,754                     $1.07                     77,115                     $1.10                     6,161                      $1.48                        0.75
      2/18/2018                    11,624                     $1.25                     55,552                     $1.19                     6,750                      $1.48                        0.80
      2/25/2018                    10,835                     $1.28                     51,886                     $1.19                     5,718                      $1.46                        0.81
       3/4/2018                    10,135                     $1.39                     50,063                     $1.35                     6,161                      $1.53                        0.88
      3/11/2018                    11,638                     $1.28                     60,668                     $1.24                     5,904                      $1.43                        0.86
      3/18/2018                    14,687                     $1.10                     78,926                     $1.09                     4,636                      $1.64                        0.67
      3/25/2018                    10,500                     $1.20                     56,173                     $1.18                     5,919                      $1.40                        0.84
       4/1/2018                    11,567                     $1.33                     58,184                     $1.22                     6,287                      $1.37                        0.89
       4/8/2018                    10,893                     $1.35                     57,696                     $1.27                     6,415                      $1.35                        0.94

Note:
(a) For this sales channel, location, and package type/size (i.e., 2-liter bottles), sales data are available for three Schweppes ginger ale products: Schweppes Ginger Ale; Schweppes Black Cherry Ginger Ale; and
Schweppes Raspberry Ginger Ale. The data include sales of 2-liter bottles of (i) Schweppes Black Cherry Ginger Ale in only 14 of the 326 available weeks with a total of 1,295 units sold and (ii) Schweppes
Raspberry Ginger Ale in only 34 of the 326 available weeks with a total of 3,798 units sold. Therefore, for the purpose of this analysis, only sales of 2-liter bottles of Schweppes Ginger Ale are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                                                              Page 10 of 10
            Case 5:17-cv-00564-NC     Document 248-1     Filed 10/09/18   Page 490 of 551




               2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                  Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                        Week Ending January 15, 2012 - Week Ending April 8, 2018
$2.00


$1.80


$1.60


$1.40


$1.20


$1.00


$0.80


$0.60


        Diet Canada Dry Ginger Ale
$0.40
        Canada Dry Ginger Ale
        Schweppes Ginger Ale
$0.20


$0.00
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 491 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

 1/15/2012      8,256                 $1.21               19,207                $1.24                522                 $1.64
 1/22/2012      8,148                 $1.25               19,789                $1.23                944                 $1.60
 1/29/2012      7,710                 $1.25               16,812                $1.21                565                 $1.56
  2/5/2012      7,807                 $1.34               17,250                $1.36                447                 $1.51
 2/12/2012      5,769                 $1.54               12,714                $1.56                453                 $1.49
 2/19/2012      6,305                 $1.42               13,655                $1.40                478                 $1.49
 2/26/2012      5,923                 $1.47               12,960                $1.42                510                 $1.39
  3/4/2012      6,707                 $1.39               13,392                $1.42                405                 $1.50
 3/11/2012      6,416                 $1.38               13,087                $1.43                376                 $1.63
 3/18/2012      8,045                 $1.18               18,103                $1.18                492                 $1.34
 3/25/2012      8,254                 $1.11               17,537                $1.08                495                 $1.29
  4/1/2012      7,223                 $1.27               15,419                $1.23                466                 $1.26
  4/8/2012      5,764                 $1.52               16,171                $1.36                363                 $1.47
 4/15/2012      7,239                 $1.19               16,002                $1.18                342                 $1.48
 4/22/2012      7,302                 $1.24               14,084                $1.28                222                 $1.61
 4/29/2012      6,066                 $1.43               11,089                $1.47                252                 $1.35
  5/6/2012      7,321                 $1.25               14,630                $1.20                203                 $1.53
 5/13/2012      8,847                 $1.08               18,839                $1.06                199                 $1.51
 5/20/2012      6,206                 $1.29               13,883                $1.27                139                 $1.60
 5/27/2012      7,033                 $1.29               14,626                $1.37                237                 $1.36
  6/3/2012      6,841                 $1.37               12,935                $1.42                195                 $1.46
 6/10/2012      5,727                 $1.41               13,393                $1.40                198                 $1.41
 6/17/2012      8,748                 $1.18               18,301                $1.18                202                 $1.49
 6/24/2012      6,651                 $1.35               13,526                $1.38                219                 $1.45
  7/1/2012      6,464                 $1.39               13,503                $1.41                169                 $1.54
  7/8/2012      6,210                 $1.45               15,505                $1.39                221                 $1.51
 7/15/2012      6,809                 $1.25               13,602                $1.21                140                 $1.51
 7/22/2012      7,251                 $1.29               13,241                $1.29                151                 $1.46
 7/29/2012      7,049                 $1.23               13,451                $1.22                150                 $1.54
  8/5/2012      7,957                 $1.13               16,379                $1.07                170                 $1.48
 8/12/2012      7,789                 $1.28               15,747                $1.23                169                 $1.48
 8/19/2012      5,994                 $1.42               12,755                $1.38                179                 $1.45
 8/26/2012      6,854                 $1.25               12,884                $1.24                277                 $1.22
  9/2/2012      7,791                 $1.21               15,520                $1.18                280                 $1.28



                                                                                                                                     Page 1 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 492 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   9/9/2012      6,555                $1.34               15,237                $1.29                234                 $1.47
  9/16/2012      6,210                $1.30               14,070                $1.26                275                 $1.23
  9/23/2012      7,588                $1.21               14,402                $1.18                300                 $1.20
  9/30/2012      6,880                $1.19               15,359                $1.18                332                 $1.20
  10/7/2012      6,328                $1.39               14,245                $1.33                270                 $1.22
 10/14/2012      7,059                $1.23               16,085                $1.17                282                 $1.05
 10/21/2012      7,399                $1.19               15,790                $1.21                283                 $1.06
 10/28/2012      7,727                $1.20               18,147                $1.19                359                 $1.03
  11/4/2012      7,867                $1.10               17,322                $1.09                303                 $1.00
 11/11/2012      7,525                $1.11               16,615                $1.24                404                 $0.99
 11/18/2012      8,835                $1.07               22,961                $1.12                309                 $1.04
 11/25/2012     10,220                $1.12               32,518                $1.09                460                 $1.09
  12/2/2012      7,966                $1.19               15,844                $1.21                445                 $1.00
  12/9/2012      7,270                $1.22               16,886                $1.24                345                 $1.12
 12/16/2012      9,732                $1.08               23,114                $1.11                329                 $1.13
 12/23/2012     12,779                $0.97               35,636                $1.02                371                 $1.18
 12/30/2012     11,233                $1.03               33,494                $1.05                336                 $1.17
   1/6/2013      8,538                $1.22               22,524                $1.25                334                 $1.16
  1/13/2013      6,662                $1.35               15,022                $1.39                257                 $1.59
  1/20/2013      8,312                $1.17               17,500                $1.17                264                 $1.49
  1/27/2013      9,658                $1.11               22,424                $1.08                224                 $1.53
   2/3/2013      9,217                $1.35               23,254                $1.33                265                 $1.56
  2/10/2013      6,007                $1.68               15,944                $1.68                220                 $1.52
  2/17/2013      5,744                $1.68               13,963                $1.66                194                 $1.39
  2/24/2013      7,853                $1.40               17,609                $1.39                165                 $1.52
   3/3/2013      6,452                $1.42               15,591                $1.38                173                 $1.53
  3/10/2013      7,549                $1.27               15,100                $1.27                177                 $1.69
  3/17/2013      7,746                $1.20               15,399                $1.26                158                 $1.70
  3/24/2013      7,434                $1.19               16,383                $1.20                226                 $1.48
  3/31/2013      8,584                $1.19               19,850                $1.24                206                 $1.74
   4/7/2013      6,414                $1.33               14,001                $1.34                197                 $1.67
  4/14/2013      7,621                $1.21               15,368                $1.20                161                 $1.74
  4/21/2013      7,302                $1.24               17,200                $1.22                157                 $1.67
  4/28/2013      7,927                $1.18               18,594                $1.15                183                 $1.59



                                                                                                                                     Page 2 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 493 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   5/5/2013      7,481                $1.31               16,170                $1.34                254                 $1.61
  5/12/2013      6,012                $1.38               14,927                $1.30                395                 $1.56
  5/19/2013      5,489                $1.47               14,008                $1.35                629                 $1.68
  5/26/2013      6,995                $1.35               17,294                $1.33                820                 $1.61
   6/2/2013      7,364                $1.28               17,150                $1.30                612                 $1.57
   6/9/2013      6,221                $1.45               13,589                $1.44                788                 $1.61
  6/16/2013      5,740                $1.55               11,250                $1.56                723                 $1.70
  6/23/2013      5,467                $1.48               12,542                $1.44                976                 $1.19
  6/30/2013      6,559                $1.50               15,000                $1.40                813                 $1.33
   7/7/2013      6,937                $1.45               18,784                $1.35                804                 $1.64
  7/14/2013      5,241                $1.51               11,300                $1.48                836                 $1.32
  7/21/2013      6,149                $1.41               11,958                $1.46                929                 $1.30
  7/28/2013      6,384                $1.27               13,816                $1.35                759                 $1.49
   8/4/2013      6,340                $1.34               13,545                $1.38                632                 $1.60
  8/11/2013      6,136                $1.33               12,555                $1.41                850                 $1.49
  8/18/2013      6,444                $1.34               12,185                $1.44                804                 $1.48
  8/25/2013      7,683                $1.40               15,660                $1.39                702                 $1.48
   9/1/2013     10,068                $1.43               22,546                $1.43                836                 $1.44
   9/8/2013      8,257                $1.41               17,798                $1.42                811                 $1.49
  9/15/2013      5,912                $1.38               12,582                $1.42                869                 $1.34
  9/22/2013      6,201                $1.32               12,707                $1.36                740                 $1.42
  9/29/2013      6,548                $1.35               13,483                $1.33                682                 $1.40
  10/6/2013      6,471                $1.29               13,298                $1.39                718                 $1.51
 10/13/2013      6,238                $1.31               12,119                $1.39                655                 $1.62
 10/20/2013      6,657                $1.29               14,164                $1.33                844                 $1.53
 10/27/2013      7,189                $1.25               17,493                $1.28                830                 $1.69
  11/3/2013      5,787                $1.33               13,947                $1.37                968                 $1.44
 11/10/2013      7,521                $1.00               18,563                $1.04                681                 $1.60
 11/17/2013      5,721                $1.32               13,601                $1.32                724                 $1.56
 11/24/2013      9,268                $1.24               26,916                $1.29                917                 $1.61
  12/1/2013      8,279                $1.20               29,811                $1.23               1,003                $1.66
  12/8/2013      6,994                $1.13               17,310                $1.16                780                 $1.44
 12/15/2013      7,888                $1.04               20,894                $1.06                998                 $1.54
 12/22/2013     10,250                $1.39               33,001                $1.41               1,524                $1.52



                                                                                                                                     Page 3 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 494 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

 12/29/2013     8,552                 $1.29               30,590                $1.29               1,253                $1.57
   1/5/2014     8,816                 $1.14               26,340                $1.16                967                 $1.29
  1/12/2014     7,525                 $1.11               17,938                $1.15               1,433                $1.03
  1/19/2014     6,974                 $1.24               16,033                $1.23               1,296                $1.02
  1/26/2014     7,168                 $1.34               16,671                $1.40               1,344                $1.01
   2/2/2014     7,091                 $1.41               19,769                $1.38               1,791                $1.01
   2/9/2014     7,821                 $1.30               16,418                $1.44               1,433                $1.00
  2/16/2014     6,759                 $1.34               13,953                $1.47               1,684                $1.00
  2/23/2014     6,618                 $1.30               15,588                $1.37               1,519                $0.99
   3/2/2014     7,024                 $1.17               16,318                $1.13               1,469                $0.99
   3/9/2014     7,104                 $1.12               15,196                $1.10               1,326                $1.00
  3/16/2014     6,770                 $1.38               14,189                $1.51               1,751                $1.00
  3/23/2014     5,649                 $1.40               13,316                $1.35               1,488                $1.05
  3/30/2014     5,317                 $1.46               13,582                $1.43               1,469                $1.05
   4/6/2014     7,364                 $1.32               15,295                $1.45               1,515                $1.04
  4/13/2014     6,129                 $1.45               13,444                $1.53               1,347                $1.05
  4/20/2014     7,239                 $1.35               19,770                $1.39               1,407                $1.04
  4/27/2014     5,650                 $1.43               13,862                $1.46               1,454                $1.05
   5/4/2014     6,836                 $1.46               16,669                $1.47               1,373                $1.05
  5/11/2014     7,293                 $1.31               15,538                $1.46               1,506                $1.06
  5/18/2014     6,490                 $1.36               13,811                $1.48               1,428                $1.05
  5/25/2014     6,575                 $1.44               17,388                $1.49               1,418                $1.06
   6/1/2014     6,251                 $1.38               14,423                $1.44               1,304                $1.06
   6/8/2014     5,999                 $1.46               14,062                $1.54               1,474                $1.06
  6/15/2014     6,193                 $1.38               14,280                $1.46               1,577                $1.05
  6/22/2014     6,740                 $1.28               14,881                $1.40               1,365                $1.06
  6/29/2014     6,302                 $1.32               14,984                $1.37               1,306                $1.05
   7/6/2014     6,979                 $1.30               18,504                $1.31               1,638                $1.01
  7/13/2014     5,095                 $1.49               13,536                $1.38               1,585                $1.03
  7/20/2014     5,340                 $1.51               11,372                $1.51               1,703                $1.02
  7/27/2014     8,027                 $1.16               18,046                $1.17               1,335                $1.03
   8/3/2014     6,513                 $1.11               14,615                $1.12               1,247                $1.06
  8/10/2014     5,958                 $1.49               14,080                $1.54               1,408                $1.07
  8/17/2014     5,325                 $1.45               13,730                $1.38               1,557                $1.06



                                                                                                                                     Page 4 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 495 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

  8/24/2014     6,101                 $1.34               13,457                $1.41               1,365                $1.07
  8/31/2014     6,852                 $1.39               15,748                $1.45               1,481                $1.07
   9/7/2014     5,135                 $1.56               11,526                $1.56               1,663                $1.05
  9/14/2014     6,555                 $1.37               12,529                $1.49               1,238                $1.51
  9/21/2014     5,073                 $1.55               11,352                $1.54                793                 $1.51
  9/28/2014     5,098                 $1.53               11,209                $1.52                846                 $1.59
  10/5/2014     6,803                 $1.37               13,780                $1.47               1,406                $1.43
 10/12/2014     5,173                 $1.53               11,938                $1.54                992                 $1.45
 10/19/2014     5,061                 $1.51               12,579                $1.47               1,005                $1.41
 10/26/2014     6,140                 $1.37               14,788                $1.39               1,219                $1.41
  11/2/2014     6,933                 $1.52               17,272                $1.55               1,031                $1.63
  11/9/2014     5,893                 $1.45               15,543                $1.47                995                 $1.48
 11/16/2014     6,077                 $1.40               14,514                $1.47               1,050                $1.55
 11/23/2014     8,081                 $1.42               24,023                $1.48               1,247                $1.59
 11/30/2014     8,020                 $1.46               26,962                $1.51               1,419                $1.63
  12/7/2014     5,945                 $1.50               13,205                $1.61                869                 $1.53
 12/14/2014     6,272                 $1.40               16,078                $1.51               1,098                $1.55
 12/21/2014     8,880                 $1.40               26,268                $1.47               1,330                $1.60
 12/28/2014     7,761                 $1.47               26,996                $1.49               1,156                $1.67
   1/4/2015     7,397                 $1.49               22,992                $1.55               1,612                $1.60
  1/11/2015     6,330                 $1.48               14,428                $1.55               1,062                $1.56
  1/18/2015     5,838                 $1.54               14,348                $1.59                937                 $1.51
  1/25/2015     7,556                 $1.14               17,599                $1.16               1,063                $1.61
   2/1/2015     8,957                 $1.15               24,108                $1.20                939                 $1.70
   2/8/2015     6,982                 $1.44               16,248                $1.55                823                 $1.67
  2/15/2015     7,107                 $1.38               15,055                $1.52               1,220                $1.50
  2/22/2015     7,422                 $1.15               17,097                $1.14                820                 $1.64
   3/1/2015     6,156                 $1.48               13,870                $1.53               1,132                $1.55
   3/8/2015     4,754                 $1.65               11,604                $1.69                916                 $1.63
  3/15/2015     6,863                 $1.39               14,703                $1.52               1,289                $1.50
  3/22/2015     5,873                 $1.52               14,314                $1.57                840                 $1.66
  3/29/2015     6,629                 $1.36               14,178                $1.47                902                 $1.55
   4/5/2015     7,409                 $1.38               18,335                $1.45               1,015                $1.46
  4/12/2015     5,763                 $1.47               14,147                $1.49               1,061                $1.48



                                                                                                                                     Page 5 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 496 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

  4/19/2015     5,802                 $1.44               12,911                $1.50               1,116                $1.55
  4/26/2015     6,069                 $1.40               12,738                $1.51               1,088                $1.53
   5/3/2015     6,420                 $1.37               15,154                $1.40               1,309                $1.47
  5/10/2015     5,932                 $1.31               13,524                $1.37               1,182                $1.51
  5/17/2015     5,668                 $1.41               12,404                $1.52               1,167                $1.53
  5/24/2015     6,538                 $1.47               15,651                $1.54               1,118                $1.53
  5/31/2015     5,087                 $1.54               12,922                $1.51                833                 $1.63
   6/7/2015     5,875                 $1.48               12,971                $1.56                900                 $1.65
  6/14/2015     5,885                 $1.40               13,703                $1.50               1,149                $1.53
  6/21/2015     5,941                 $1.33               12,882                $1.36                992                 $1.53
  6/28/2015     5,464                 $1.39               12,172                $1.43                732                 $1.68
   7/5/2015     6,965                 $1.45               18,784                $1.49               1,155                $1.53
  7/12/2015     5,596                 $1.46               12,462                $1.56                771                 $1.62
  7/19/2015     6,723                 $1.10               14,613                $1.12               1,078                $1.55
  7/26/2015     4,374                 $1.49               11,258                $1.49                820                 $1.70
   8/2/2015     5,426                 $1.43               12,826                $1.42                726                 $1.76
   8/9/2015     6,139                 $1.34               13,682                $1.43                763                 $1.68
  8/16/2015     6,218                 $1.29               14,453                $1.35                978                 $1.50
  8/23/2015     4,954                 $1.57               11,962                $1.51                943                 $1.39
  8/30/2015     5,180                 $1.60               11,894                $1.52               1,483                $1.34
   9/6/2015     7,271                 $1.45               18,198                $1.44               1,286                $1.40
  9/13/2015     6,014                 $1.47               14,405                $1.50               1,229                $1.44
  9/20/2015     4,545                 $1.65               10,813                $1.68                878                 $1.63
  9/27/2015     4,917                 $1.63               11,040                $1.69               1,101                $1.53
  10/4/2015     5,113                 $1.54               11,142                $1.49               1,173                $1.45
 10/11/2015     4,711                 $1.62               12,286                $1.55               1,493                $1.39
 10/18/2015     4,437                 $1.72               10,564                $1.67               1,179                $1.38
 10/25/2015     4,027                 $1.80               10,001                $1.73               1,429                $1.32
  11/1/2015     5,243                 $1.62               15,305                $1.51               1,291                $1.60
  11/8/2015     4,772                 $1.54               12,219                $1.47               1,594                $1.23
 11/15/2015     4,359                 $1.55               11,458                $1.50               1,838                $1.22
 11/22/2015     7,784                 $1.25               20,742                $1.27               2,301                $1.35
 11/29/2015     6,833                 $1.33               23,499                $1.29               2,144                $1.47
  12/6/2015     4,848                 $1.47               12,517                $1.46               1,345                $1.42



                                                                                                                                     Page 6 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 497 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

 12/13/2015     5,822                 $1.43               14,369                $1.49               1,489                $1.36
 12/20/2015     7,565                 $1.41               22,637                $1.37               1,393                $1.57
 12/27/2015     7,428                 $1.42               26,176                $1.39               1,533                $1.63
   1/3/2016     7,720                 $1.36               23,118                $1.39               1,739                $1.63
  1/10/2016     5,444                 $1.48               12,868                $1.53               1,242                $1.57
  1/17/2016     5,791                 $1.43               13,483                $1.47               1,022                $1.60
  1/24/2016     6,595                 $1.37               14,504                $1.40               1,107                $1.45
  1/31/2016     6,357                 $1.25               14,558                $1.34               1,025                $1.50
   2/7/2016     7,442                 $1.33               18,682                $1.39               1,280                $1.57
  2/14/2016     5,810                 $1.44               12,967                $1.47               1,012                $1.55
  2/21/2016     5,866                 $1.34               13,295                $1.42               1,182                $1.49
  2/28/2016     6,284                 $1.49               14,621                $1.52               1,133                $1.48
   3/6/2016     5,744                 $1.46               13,693                $1.46               1,171                $1.38
  3/13/2016     5,425                 $1.47               13,624                $1.47               1,139                $1.45
  3/20/2016     6,265                 $1.41               15,985                $1.38               1,001                $1.56
  3/27/2016     6,415                 $1.39               16,167                $1.36               1,125                $1.57
   4/3/2016     4,785                 $1.54               13,270                $1.47                945                 $1.63
  4/10/2016     6,721                 $1.34               14,459                $1.39               1,142                $1.52
  4/17/2016     5,618                 $1.32               12,358                $1.38                962                 $1.46
  4/24/2016     5,603                 $1.40               13,301                $1.45               1,257                $1.23
   5/1/2016     5,040                 $1.48               13,055                $1.47               1,447                $1.23
   5/8/2016     5,946                 $1.33               14,091                $1.40               1,264                $1.17
  5/15/2016     6,306                 $1.30               13,492                $1.43               1,010                $1.28
  5/22/2016     5,980                 $1.26               13,719                $1.34               1,040                $1.26
  5/29/2016     7,129                 $1.30               16,655                $1.38               1,290                $1.26
   6/5/2016     6,060                 $1.43               12,692                $1.51               1,363                $1.28
  6/12/2016     5,569                 $1.34               11,933                $1.48               1,316                $1.25
  6/19/2016     5,447                 $1.40               12,446                $1.49               1,275                $1.34
  6/26/2016     6,149                 $1.37               13,251                $1.42               1,332                $1.21
   7/3/2016     7,181                 $1.28               19,002                $1.33               1,398                $1.28
  7/10/2016     5,275                 $1.34               13,837                $1.35               1,075                $1.29
  7/17/2016     5,158                 $1.40               10,615                $1.49               1,208                $1.24
  7/24/2016     5,061                 $1.38               11,478                $1.45               1,370                $1.17
  7/31/2016     5,839                 $1.37               12,016                $1.46               1,295                $1.23



                                                                                                                                     Page 7 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 498 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   8/7/2016     4,666                 $1.49               11,801                $1.49               1,112                $1.26
  8/14/2016     4,876                 $1.55               11,133                $1.53               1,195                $1.21
  8/21/2016     3,942                 $1.65                8,901                $1.67               1,154                $1.22
  8/28/2016     5,526                 $1.48               10,922                $1.48               1,087                $1.20
   9/4/2016     6,725                 $1.27               14,326                $1.32               1,121                $1.14
  9/11/2016     5,748                 $1.32               13,029                $1.40                987                 $1.21
  9/18/2016     5,242                 $1.38               11,485                $1.46                771                 $1.55
  9/25/2016     5,558                 $1.44               11,464                $1.43                947                 $1.50
  10/2/2016     6,193                 $1.20               12,208                $1.22                820                 $1.32
  10/9/2016     5,210                 $1.54               10,957                $1.57                799                 $1.52
 10/16/2016     5,602                 $1.38               11,156                $1.46                768                 $1.57
 10/23/2016     6,530                 $1.29               14,277                $1.33                672                 $1.56
 10/30/2016     5,494                 $1.47               14,066                $1.45               1,261                $1.46
  11/6/2016     5,321                 $1.38               11,571                $1.48                931                 $1.51
 11/13/2016     4,870                 $1.59               10,777                $1.58               1,023                $1.51
 11/20/2016     6,978                 $1.24               17,965                $1.27               1,034                $1.53
 11/27/2016     5,974                 $1.41               20,088                $1.35               1,344                $1.56
  12/4/2016     4,822                 $1.57               10,572                $1.60                964                 $1.54
 12/11/2016     6,212                 $1.36               13,419                $1.43               1,343                $1.14
 12/18/2016     7,015                 $1.16               18,620                $1.19                981                 $1.54
 12/25/2016     7,836                 $1.26               24,900                $1.28               1,396                $1.61
   1/1/2017     7,837                 $1.30               22,430                $1.32               1,054                $1.61
   1/8/2017     5,646                 $1.49               13,688                $1.45                783                 $1.35
  1/15/2017     5,199                 $1.58               11,436                $1.59                920                 $1.44
  1/22/2017     5,526                 $1.62               12,210                $1.61                710                 $1.50
  1/29/2017     5,712                 $1.65               12,334                $1.58                736                 $1.48
   2/5/2017     5,980                 $1.53               13,861                $1.55                933                 $1.56
  2/12/2017     6,020                 $1.33               12,258                $1.41                773                 $1.53
  2/19/2017     5,929                 $1.45               12,248                $1.53                907                 $1.42
  2/26/2017     5,431                 $1.38               11,293                $1.46                801                 $1.43
   3/5/2017     5,951                 $1.36               11,020                $1.37                821                 $1.48
  3/12/2017     4,908                 $1.54               10,484                $1.53                981                 $1.56
  3/19/2017     6,220                 $1.25               12,492                $1.43                860                 $1.51
  3/26/2017     6,304                 $1.39               12,920                $1.44                850                 $1.45



                                                                                                                                     Page 8 of 10
              Case 5:17-cv-00564-NC              Document 248-1      Filed 10/09/18         Page 499 of 551


                      2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                         Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                               Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                         (a)
                 Diet Canada Dry Ginger Ale                  Canada Dry Ginger Ale                    Schweppes Ginger Ale
                                 Weekly Average                            Weekly Average                           Weekly Average
Week Ending   Unit Sales          Retail Price          Unit Sales          Retail Price          Unit Sales          Retail Price

   4/2/2017     4,756                 $1.60               10,675                $1.61                827                 $1.47
   4/9/2017     4,823                 $1.57               10,808                $1.55                706                 $1.60
  4/16/2017     5,726                 $1.52               14,118                $1.54                733                 $1.67
  4/23/2017     5,243                 $1.51               11,370                $1.56                839                 $1.45
  4/30/2017     5,379                 $1.41               11,198                $1.50                874                 $1.44
   5/7/2017     6,612                 $1.45               14,315                $1.48                804                 $1.50
  5/14/2017     4,775                 $1.56               10,837                $1.53                807                 $1.50
  5/21/2017     4,831                 $1.43               12,216                $1.35                777                 $1.57
  5/28/2017     5,910                 $1.53               15,390                $1.44                786                 $1.55
   6/4/2017     4,729                 $1.56               11,609                $1.56                919                 $1.50
  6/11/2017     5,166                 $1.35               11,490                $1.41                898                 $1.47
  6/18/2017     4,792                 $1.60               11,179                $1.54                910                 $1.47
  6/25/2017     5,331                 $1.59               13,039                $1.51                588                 $1.55
   7/2/2017     6,467                 $1.47               15,315                $1.46                743                 $1.62
   7/9/2017     4,933                 $1.64               11,255                $1.59                765                 $1.66
  7/16/2017     4,236                 $1.57                8,704                $1.58                738                 $1.49
  7/23/2017     5,867                 $1.58               11,641                $1.54                599                 $1.54
  7/30/2017     5,509                 $1.64               11,319                $1.61                720                 $1.50
   8/6/2017     4,620                 $1.61                9,720                $1.62                809                 $1.56
  8/13/2017     4,080                 $1.62                9,265                $1.60               1,131                $1.20
  8/20/2017     4,491                 $1.57                9,873                $1.57                721                 $1.61
  8/27/2017     5,633                 $1.67               11,587                $1.59                716                 $1.60
   9/3/2017     6,050                 $1.70               13,330                $1.64                815                 $1.59
  9/10/2017     5,272                 $1.73               12,273                $1.71                622                 $1.66
  9/17/2017     4,982                 $1.55               11,304                $1.52                593                 $1.73
  9/24/2017     4,875                 $1.66               12,595                $1.62                559                 $1.73
  10/1/2017     5,321                 $1.68               12,916                $1.61                624                 $1.66
  10/8/2017     5,133                 $1.69               12,210                $1.58                684                 $1.57
 10/15/2017     4,807                 $1.42               11,075                $1.39                862                 $1.46
 10/22/2017     5,617                 $1.51               12,824                $1.44                806                 $1.39
 10/29/2017     6,711                 $1.42               15,765                $1.39                935                 $1.43
  11/5/2017     4,992                 $1.42               11,480                $1.44                956                 $1.20
 11/12/2017     4,559                 $1.42               11,048                $1.44                715                 $1.16
 11/19/2017     6,411                 $1.44               16,949                $1.37               1,131                $1.15



                                                                                                                                     Page 9 of 10
                               Case 5:17-cv-00564-NC                     Document 248-1               Filed 10/09/18            Page 500 of 551


                                         2-Liter Bottles Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products
                                            Weekly Average Retail Prices In San Francisco / Oakland Food Channel
                                                  Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                                                                                                                        (a)
                                    Diet Canada Dry Ginger Ale                             Canada Dry Ginger Ale                                Schweppes Ginger Ale
                                                    Weekly Average                                       Weekly Average                                       Weekly Average
    Week Ending                 Unit Sales                Retail Price               Unit Sales                Retail Price                Unit Sales               Retail Price

     11/26/2017                    6,272                      $1.37                     20,788                     $1.37                      1,200                     $1.27
      12/3/2017                    5,023                      $1.42                     11,163                     $1.39                       754                      $1.34
     12/10/2017                    5,412                      $1.43                     12,865                     $1.41                       879                      $1.22
     12/17/2017                    6,452                      $1.47                     16,933                     $1.39                       862                      $1.24
     12/24/2017                    7,829                      $1.48                     24,428                     $1.40                      1,285                     $1.26
     12/31/2017                    11,732                     $0.85                     33,668                     $0.88                      1,080                     $1.25
       1/7/2018                    5,308                      $1.69                     13,057                     $1.70                       526                      $1.82
      1/14/2018                    5,190                      $1.59                     12,663                     $1.66                       983                      $1.46
      1/21/2018                    6,023                      $1.49                     13,016                     $1.57                       594                      $1.66
      1/28/2018                    5,108                      $1.76                     10,959                     $1.77                      1,036                     $1.23
       2/4/2018                    6,565                      $1.22                     13,979                     $1.33                      1,085                     $1.42
      2/11/2018                    5,449                      $1.44                     12,128                     $1.60                       421                      $1.86
      2/18/2018                    5,397                      $1.43                     11,701                     $1.55                       408                      $1.86
      2/25/2018                    5,673                      $1.42                     11,498                     $1.45                       354                      $1.86
       3/4/2018                    5,576                      $1.35                     11,332                     $1.44                       362                      $1.89
      3/11/2018                    5,834                      $1.30                     13,319                     $1.39                       486                      $1.94
      3/18/2018                    5,152                      $1.39                     12,516                     $1.46                       582                      $1.70
      3/25/2018                    5,463                      $1.45                     11,667                     $1.44                       351                      $1.85
       4/1/2018                    5,997                      $1.46                     14,128                     $1.51                       420                      $1.90
       4/8/2018                    5,440                      $1.45                     10,960                     $1.47                       372                      $1.92

Note:
(a) For this sales channel, location, and package type/size (i.e., 2-liter bottles), sales data are available for three Schweppes ginger ale products: Schweppes Ginger Ale; Schweppes
Black Cherry Ginger Ale; and Schweppes Raspberry Ginger Ale. The data include sales of 2-liter bottles of (i) Schweppes Black Cherry Ginger Ale in only 7 of the 326 available
weeks with a total of 994 units sold and (ii) Schweppes Raspberry Ginger Ale in only 30 of the 326 available weeks with a total of 1,557 units sold. Therefore, for the purpose of this
analysis, only sales of 2-liter bottles of Schweppes Ginger Ale are used.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)




                                                                                                                                                                                Page 10 of 10
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 501 of 551




                            Exhibit 13
                                                                  Case 5:17-cv-00564-NC               Document 248-1            Filed 10/09/18          Page 502 of 551




                               Safeway Price Comparisons Of Canada Dry Ginger Ale And Similar Soft Drink Products Based Upon Ms. Fitzhenry-Russell's Purchases(a)
                                                                                           (b)                                                                                                 (c)
     Date Of Purchase                       Brand                    Package Type/Size                         UPC                         Regular Price                            Discount                               Price Paid


         1/25/2013                       Canada Dry                  12 pack of 12-oz. cans                7800015216                           $6.49                                     -                                   $6.49
         1/25/2013                          Squirt                   12 pack of 12-oz. cans                7800001616                           $6.49                  $6.49 (appears to be buy 2 get 2 free)                 $0.00
         1/25/2013                          A&W                      12 pack of 12-oz. cans                7800005216                           $6.49                  $6.49 (appears to be buy 2 get 2 free)                 $0.00
         1/25/2013                          Sunkist                  12 pack of 12-oz. cans                7800011316                           $6.49                                     -                                   $6.49


         2/25/2013                       Canada Dry                  12 pack of 12-oz. cans                7800015216                           $6.59                                     -                                   $6.59
         2/25/2013                          Squirt                   12 pack of 12-oz. cans                7800001616                           $6.59                                     -                                   $6.59
         2/25/2013                          Sunkist                  12 pack of 12-oz. cans                7800011316                           $6.59                                     -                                   $6.59
         2/25/2013                           Pepsi                   12 pack of 12-oz. cans                1200003068                           $6.59                                     -                                   $6.59


         5/31/2013                       Canada Dry                  12 pack of 12-oz. cans                7800015216                           $5.49                                  $2.99                                  $2.50
         5/31/2013                          A&W                      12 pack of 12-oz. cans                7800005216                           $5.49                                  $2.99                                  $2.50


         4/26/2014                       Canada Dry                       2-Liter bottle                   7800015246                           $1.99                                     -                                   $1.99
         4/26/2014                    Classic Coca Cola                   2-Liter bottle                   4900005010                           $1.99                                     -                                   $1.99
         4/26/2014                        Coke Zero                       2-Liter bottle                   4900005014                           $1.99                                     -                                   $1.99
         4/26/2014                          A&W                           2-Liter bottle                   7800005246                           $1.99                                     -                                   $1.99


         5/27/2014                       Canada Dry                  12 pack of 12-oz. cans                7800015216                           $5.99                                  $3.49                                  $2.50
         5/27/2014                    Classic Coca Cola              12 pack of 12-oz. cans                4900002890                           $5.99                                  $3.49                                  $2.50
         5/27/2014                    Classic Coca Cola              12 pack of 12-oz. cans                4900002890                           $5.99                                  $3.49                                  $2.50
         5/27/2014                        Coke Zero                  12 pack of 12-oz. cans                4900004255                           $5.99                                  $3.49                                  $2.50


          7/1/2014                       Canada Dry                  12 pack of 12-oz. cans                7800015216                           $5.99                                     -                                   $5.99
          7/1/2014                          A&W                      12 pack of 12-oz. cans                7800005216                           $5.99                  $5.99 (appears to be buy 2 get 3 free)                 $0.00
          7/1/2014                    Classic Coca Cola              12 pack of 12-oz. cans                4900002890                           $5.99                  $5.99 (appears to be buy 2 get 3 free)                 $0.00
          7/1/2014                    Classic Coca Cola              12 pack of 12-oz. cans                4900002890                           $5.99                  $5.99 (appears to be buy 2 get 3 free)                 $0.00
          7/1/2014                       Minute Maid                 12 pack of 12-oz. cans                2500005838                           $5.99                                     -                                   $5.99

Notes:
(a) This table summarizes Ms. Fitzhenry-Russell's purchases of Canada Dry ginger ale products and similar soft drink products of the same package type/size of the Canada Dry products purchased on the same day. This is not a summary of
all items purchased by Ms. Fitzhenry-Russell.
(b) Package type/size for Canada Dry products were obtained by cross-referencing the UPC codes obtained in Ms. Fitzhenry-Russell’s Safeway purchases (Fitzhenry-Russell Deposition, Exhibit 25) with the UPC codes listed in the IRI data.
(PL_IRI000567 AEO.xlsx, "2" tab.) Package type/size for similar products purchased on the same days as Ms. Fitzhenry-Russell's Canada Dry product purchases were obtained by searching for the product's UPC in Google.
(c) Based upon the deposition testimony of Ms. Fitzhenry-Russell, it is my understanding that the majority (if not all) of these discounts (or "rebates") are club-card discounts. (Fitzhenry-Russell Deposition, pp. 52, 129 - 130, 149, 158 -
159.)

Sources:
[1] Fitzhenry-Russell Deposition, Exhibit 25.
[2] IRI Data. (PL_IRI000567 AEO.xlsx, "2" tab.)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 503 of 551




                            Exhibit 14
                                  Case 5:17-cv-00564-NC                     Document 248-1                  Filed 10/09/18               Page 504 of 551




                          12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                             Average Retail Prices By Sales Channel In Los Angeles
                                          Week Ending January 15, 2012 - Week Ending April 8, 2018
$6.00
                                                    $5.65
                                                                            $5.47

                          $5.10
                                                                                              $4.93 $4.94                                                                   $4.96
$5.00                                                                                                                    $4.79                      $4.84
                  $4.70                                             $4.71
                                            $4.61                                                                                $4.60
                                                                                                                                                            $4.41
                                                                                                                                                                                    $4.24
                                                                                                                                                                    $4.07
                                                            $3.93                                                                           $3.99
$4.00                                                                                                            $3.81
                                    $3.75                                             $3.72
          $3.66




$3.00




$2.00




$1.00




$0.00
               2012                         2013                    2014                      2015                       2016                       2017                 2018
        (From Week Ending                                                                                                                                           (Through Week
            January 15)                                     Food Channel            Drug Channel            Convenience Channel                                     Ending April 8)
                                                       Case 5:17-cv-00564-NC                               Document 248-1                       Filed 10/09/18                   Page 505 of 551


                                                                       12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                                                          Average Retail Prices By Sales Channel In Los Angeles
                                                                                                                                                (a)
                                                                                      Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                2012                                                                                                                                                           2018
                                                        (From Week Ending                                                                                                                                                (Through Week
                                                            January 15)                    2013                      2014                      2015                       2016                      2017                 Ending April 8)                 Total
Dollar Sales
 Food Channel                                                      $4,227,855                 $4,777,877                $5,194,706                $5,275,224                 $5,418,410                $5,875,883                 $1,448,130               $32,218,085
 Drug Channel                                                        $176,849                   $196,823                  $221,129                  $246,022                   $247,847                  $250,576                    $67,987                $1,407,235
 Convenience Channel                                                   $1,950                     $6,918                    $3,700                    $3,217                     $5,305                    $6,416                     $1,169                   $28,675

Unit Sales
 Food Channel                                                       1,155,261                  1,272,695                 1,321,646                  1,417,633                 1,422,786                  1,473,262                    356,003                8,419,286
 Drug Channel                                                          37,637                     42,714                    46,954                     49,943                    51,722                     51,815                     13,714                  294,499
 Convenience Channel                                                      382                      1,225                       677                        651                     1,152                      1,453                        276                    5,817

Average Retail Prices
 Food Channel                                                            $3.66                     $3.75                      $3.93                     $3.72                      $3.81                     $3.99                      $4.07                     $3.83
 Drug Channel                                                            $4.70                     $4.61                      $4.71                     $4.93                      $4.79                     $4.84                      $4.96                     $4.78
 Convenience Channel                                                     $5.10                     $5.65                      $5.47                     $4.94                      $4.60                     $4.41                      $4.24                     $4.93

 Price Difference (Highest vs. Lowest)                                  $1.44                      $1.89                     $1.54                      $1.22                     $0.98                     $0.85                      $0.89                     $1.10
 Price Difference Percentage (of the Lowest Price)                       39%                        50%                       39%                        33%                       26%                       21%                        22%                       29%

Note:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the Week Ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are
counted in the 2016 totals.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 506 of 551




                            Exhibit 15
                                  Case 5:17-cv-00564-NC                      Document 248-1                    Filed 10/09/18               Page 507 of 551




                                  2-Liter Bottles Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                  Average Retail Prices By Sales Channel In Los Angeles
                                               Week Ending January 15, 2012 - Week Ending April 8, 2018
$2.50



                                                                                                                                                               $2.13
                                                                             $2.09                                                                                                     $2.10
                          $2.02                                                                                                     $2.05
                                                     $2.02
                                                                                                       $1.97
$2.00

                                                                                                                                                                               $1.77
                                                                                                                            $1.70
                                                                                                                                                       $1.64

                  $1.52                                                                        $1.55
                                                                     $1.49
$1.50                                        $1.46
                                                             $1.41
                                     $1.31
          $1.27                                                                                                                                $1.27
                                                                                       $1.22                        $1.21                                              $1.23




$1.00




$0.50




$0.00
               2012                          2013                    2014                      2015                         2016                       2017                 2018
        (From Week Ending                                                                                                                                              (Through Week
            January 15)                                      Food Channel            Drug Channel              Convenience Channel                                     Ending April 8)
                                                       Case 5:17-cv-00564-NC                               Document 248-1                       Filed 10/09/18                   Page 508 of 551


                                                                             2-Liter Bottles Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                                                             Average Retail Prices By Sales Channel In Los Angeles
                                                                                                                                                   (a)
                                                                                        Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                2012                                                                                                                                                           2018
                                                        (From Week Ending                                                                                                                                                (Through Week
                                                            January 15)                    2013                      2014                      2015                       2016                      2017                 Ending April 8)                 Total
Dollar Sales
 Food Channel                                                      $3,691,358                 $3,811,826                $4,196,572                $3,804,762                 $3,789,896                $3,765,351                 $1,018,314               $24,078,079
 Drug Channel                                                        $260,751                   $281,636                  $306,753                  $331,217                   $315,623                  $284,178                    $76,927                $1,857,084
 Convenience Channel                                                  $63,673                    $51,170                   $84,741                   $60,775                   $103,099                  $180,756                    $50,030                  $594,245

Unit Sales
 Food Channel                                                       2,916,603                  2,906,458                 2,986,021                  3,118,495                 3,125,627                  2,955,453                    826,325               18,834,982
 Drug Channel                                                         171,085                    193,006                   206,164                    213,362                   185,417                    173,398                     43,489                1,185,921
 Convenience Channel                                                   31,477                     25,337                    40,641                     30,834                    50,338                     84,750                     23,829                  287,206

Average Retail Prices
 Food Channel                                                            $1.27                     $1.31                      $1.41                     $1.22                      $1.21                     $1.27                      $1.23                     $1.28
 Drug Channel                                                            $1.52                     $1.46                      $1.49                     $1.55                      $1.70                     $1.64                      $1.77                     $1.57
 Convenience Channel                                                     $2.02                     $2.02                      $2.09                     $1.97                      $2.05                     $2.13                      $2.10                     $2.07

 Price Difference (Highest vs. Lowest)                                  $0.76                      $0.71                     $0.68                      $0.75                     $0.84                     $0.86                      $0.87                     $0.79
 Price Difference Percentage (of the Lowest Price)                       60%                        54%                       48%                        62%                       69%                       67%                        70%                       62%

Note:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the Week Ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are
counted in the 2016 totals.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 509 of 551




                            Exhibit 16
                            Case 5:17-cv-00564-NC        Document 248-1             Filed 10/09/18         Page 510 of 551




                      12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                            Non-Promoted And Promoted Average Retail Prices In Los Angeles Food Channel
                                      Week Ending January 15, 2012 - Week Ending April 8, 2018
$5.00


                                                                                                                                          $4.45
$4.50
                                                                                                                        $4.22
                   $4.04                                                                           $4.06
$4.00                                  $3.93   $3.92 $3.95                                                      $3.93             $3.92
                                                                            $3.81
                               $3.71                                $3.69                  $3.75
           $3.53
$3.50


$3.00


$2.50


$2.00


$1.50


$1.00


$0.50


$0.00
               2012               2013            2014                  2015                  2016                 2017              2018
        (From Week Ending                                                                                                       (Through Week
            January 15)                                      Promoted       Non-Promoted                                        Ending April 8)
                                                       Case 5:17-cv-00564-NC                               Document 248-1                       Filed 10/09/18                   Page 511 of 551


                                                                       12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                                             Non-Promoted And Promoted Average Retail Prices In Los Angeles Food Channel
                                                                                                                                               (a)
                                                                                      Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                2012                                                                                                                                                           2018
                                                        (From Week Ending                                                                                                                                                (Through Week
                                                            January 15)                    2013                      2014                      2015                       2016                      2017                 Ending April 8)                 Total
Dollar Sales
 Promoted                                                          $3,055,956                 $3,756,677                $4,014,879                $3,976,175                 $4,325,149                $4,619,554                 $1,000,533               $24,748,923
 Non-Promoted                                                      $1,171,899                 $1,021,200                $1,179,827                $1,299,049                 $1,093,261                $1,256,329                   $447,597                $7,469,161

Unit Sales
 Promoted                                                              864,948                 1,012,661                 1,022,942                  1,076,343                 1,153,732                  1,175,212                    255,446                6,561,283
 Non-Promoted                                                          290,313                   260,035                   298,703                    341,290                   269,054                    298,051                    100,557                1,858,003

Average Retail Prices
 Promoted                                                                $3.53                     $3.71                      $3.92                     $3.69                      $3.75                     $3.93                      $3.92                     $3.77
 Non-Promoted                                                            $4.04                     $3.93                      $3.95                     $3.81                      $4.06                     $4.22                      $4.45                     $4.02

 Price Difference (Highest vs. Lowest)                                  $0.50                      $0.22                     $0.02                      $0.11                     $0.31                     $0.28                      $0.53                     $0.25
 Price Difference Percentage (of the Lowest Price)                       14%                         6%                        1%                         3%                        8%                        7%                        14%                        7%

Note:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the Week Ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are
counted in the 2016 totals.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 512 of 551




                            Exhibit 17
                            Case 5:17-cv-00564-NC        Document 248-1               Filed 10/09/18         Page 513 of 551




                         2-Liter Bottles Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                          Non-Promoted And Promoted Average Retail Prices In Los Angeles Food Channel
                                      Week Ending January 15, 2012 - Week Ending April 8, 2018
$1.60
                                                                                                                                            $1.52
                                                                                                                          $1.49
                                                       $1.45
                                               $1.38                                                 $1.40
$1.40                                  $1.35                                  $1.37

                               $1.29
           $1.26 $1.28
                                                                                                                  $1.20
$1.20                                                                 $1.15                  $1.15                                  $1.17




$1.00



$0.80



$0.60



$0.40



$0.20



$0.00
               2012               2013            2014                    2015                  2016                 2017              2018
        (From Week Ending                                                                                                         (Through Week
            January 15)                                        Promoted       Non-Promoted                                        Ending April 8)
                                                       Case 5:17-cv-00564-NC                               Document 248-1                       Filed 10/09/18                   Page 514 of 551


                                                                             2-Liter Bottles Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                                              Non-Promoted And Promoted Average Retail Prices In Los Angeles Food Channel
                                                                                                                                                  (a)
                                                                                        Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                2012                                                                                                                                                           2018
                                                        (From Week Ending                                                                                                                                                (Through Week
                                                            January 15)                    2013                      2014                      2015                       2016                      2017                 Ending April 8)                 Total
Dollar Sales
 Promoted                                                          $2,593,750                 $2,688,386                $2,744,233                $2,429,088                 $2,711,949                $2,638,023                     $781,693             $16,587,122
 Non-Promoted                                                      $1,097,608                 $1,123,440                $1,452,338                $1,375,674                 $1,077,947                $1,127,328                     $236,622              $7,490,957

Unit Sales
 Promoted                                                           2,056,473                  2,076,456                 1,984,680                  2,112,926                 2,354,743                  2,198,812                     670,414              13,454,505
 Non-Promoted                                                         860,130                    830,003                 1,001,340                  1,005,569                   770,884                    756,641                     155,910               5,380,477

Average Retail Prices
 Promoted                                                                $1.26                     $1.29                      $1.38                     $1.15                      $1.15                     $1.20                       $1.17                    $1.23
 Non-Promoted                                                            $1.28                     $1.35                      $1.45                     $1.37                      $1.40                     $1.49                       $1.52                    $1.39

 Price Difference (Highest vs. Lowest)                                  $0.01                      $0.06                     $0.07                      $0.22                     $0.25                     $0.29                       $0.35                    $0.16
 Price Difference Percentage (of the Lowest Price)                        1%                         5%                        5%                        19%                       21%                       24%                         30%                      13%

Note:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the Week Ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are
counted in the 2016 totals.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 515 of 551




                            Exhibit 18
                            Case 5:17-cv-00564-NC                 Document 248-1              Filed 10/09/18          Page 516 of 551




                                   Diet Canada Dry Ginger Ale Products Identified In Mr. Weir's Declaration
                                        Average Retail Price Per 10 Ounce In Los Angeles Food Channel
                                        Week Ending January 1, 2017 - Week Ending December 31, 2017
$0.90



$0.80



$0.70



$0.60



$0.50



$0.40



$0.30



$0.20



$0.10



$0.00
        Diet Ginger Ale: 2-Liter   Diet Ginger Ale: 12 Packs Diet Ginger Ale: 6 Packs Of   Diet Ginger Ale: 20-Oz.   Diet Ginger Ale: 6 Packs Of   Diet Ginger Ale: 20-Oz.
                Bottles                 Of 12-Oz. Cans              12-Oz. Cans                    Bottles                  7.5-Oz. Cans                   Bottles
        Case 5:17-cv-00564-NC    Document 248-1      Filed 10/09/18   Page 517 of 551




             Canada Dry Ginger Ale Products Identified In Mr. Weir's Declaration
               Average Retail Price Per 10 Ounce In Los Angeles Food Channel
               Week Ending January 1, 2017 - Week Ending December 31, 2017
$0.90


$0.80


$0.70


$0.60


$0.50


$0.40


$0.30


$0.20


$0.10


$0.00
                       Case 5:17-cv-00564-NC                                    Document 248-1                          Filed 10/09/18                      Page 518 of 551


                                                             Canada Dry Ginger Ale Products Identified In Mr. Weir's Declaration
                                                                Average Retail Price Per Ounce In Los Angeles Food Channel
                                                                                                                             (a)
                                                              Week Ending January 1, 2017 - Week Ending December 31, 2017


                                                                                                                                                                           Total Average           Average Retail
                           Product                                    UPC Number            Total Volume (Oz.)         Total Dollar Sales        Total Unit Sales           Retail Price           Price Per 10 Oz.

Diet Drinks
 Diet Ginger Ale: 2-Liter Bottles                                      0078000148461                           68                 $719,949                  537,810                    $1.34                    $0.20
 Diet Ginger Ale: 12 Packs Of 12-Oz. Cans                              0078000148161                          144               $1,713,336                  410,883                    $4.17                    $0.29
 Diet Ginger Ale: 6 Packs Of 12-Oz. Cans                               0078000001181                           72                      $78                       22                    $3.47                    $0.48
 Diet Ginger Ale: 20-Oz. Bottles                               (b)     0078000020591                           20                   $6,209                    6,271                    $0.99                    $0.50
 Diet Ginger Ale: 6 Packs Of 7.5-Oz. Cans                              0078000002122                           45                  $10,977                    3,549                    $3.09                    $0.69
 Diet Ginger Ale: 20-Oz. Bottles                               (b)     0078000148402                           20                   $5,101                    3,060                    $1.67                    $0.83
 Diet Cranberry Ginger Ale: 2-Liter Bottles                            0078000141461                           68                       $0                          0                   N/A                      N/A
Total                                                                                                                           $2,455,648                  961,596

Regular Drinks
 Blackberry Ginger Ale: 2-Liter Bottles                                0078000025051                           68                      $25                        20                   $1.27                    $0.19
 Ginger Ale: 2-Liter Bottles                                           0078000152461                           68               $3,765,351                 2,955,453                   $1.27                    $0.19
 Cranberry Ginger Ale: 2-Liter Bottles                                 0078000156461                           68                 $167,111                   127,287                   $1.31                    $0.19
 Ginger Ale: 24 Packs Of 12-Oz. Cans                                   0078000152101                          288                 $468,074                    80,153                   $5.84                    $0.20
 Ginger Ale: 6 Packs Of 16.9-Oz. Bottles                               0078000001173                          101               $1,014,557                   375,599                   $2.70                    $0.27
 Ginger Ale: 12 Packs Of 12-Oz. Cans                                   0078000152161                          144               $5,875,883                 1,473,262                   $3.99                    $0.28
 Blackberry Ginger Ale: 12 Packs Of 12-Oz. Cans                        0078000026081                          144                   $3,069                       713                   $4.30                    $0.30
 Ginger Ale: 1-Liter Bottles                                           0078000152451                           34                 $505,920                   355,452                   $1.42                    $0.42
 Ginger Ale: 8 Packs Of 12-Oz. Bottles                                 0078000152881                           96               $1,369,811                   298,930                   $4.58                    $0.48
 Ginger Ale: 20-Oz. Bottles                                    (c)     0078000050321                           20                  $55,966                    56,516                   $0.99                    $0.50
 Ginger Ale: 6 Packs Of 12-Oz. Cans                                    0078000001141                           72                  $49,513                    12,601                   $3.93                    $0.55
 Ginger Ale: 6 Packs Of 7.5-Oz. Cans                                   0078000002011                           45               $1,325,035                   459,253                   $2.89                    $0.64
 Ginger Ale: 6 Packs Of 10-Oz. Bottles                                 0078000001682                           60                 $468,357                    92,786                   $5.05                    $0.84
 Ginger Ale: 20-Oz. Bottles                                    (c)     0078000152401                           20                 $601,018                   356,898                   $1.68                    $0.84
 Ginger Ale: 6 Packs Of 8-Oz. Cans                                     0078000003004                           48                       $0                         0                    N/A                      N/A
 Ginger Ale: NR 6 Packs Of 20-Oz. Bottles                              0016900010511                          120                       $0                         0                    N/A                      N/A
 Ginger Ale: 18 Packs Of 12-Oz. Cans                                   0078000152081                          216                       $0                         0                    N/A                      N/A
 Ginger Ale: 12 Packs Of 16.9-Oz. Bottles                              0078000152444                          203                       $0                         0                    N/A                      N/A
 Ginger Ale: NR 2-Liter Bottles                                        0016900016011                           68                       $0                         0                    N/A                      N/A
 Ginger Ale: 24 Packs Of 12-Oz. Cans                                   0078000152132                          288                       $0                         0                    N/A                      N/A
 Ginger Ale: NR 1-Liter Bottles                                        0016900017511                           34                       $0                         0                    N/A                      N/A
 Ginger Ale: 16-Oz. Bottles                                            0078000024391                           16                       $0                         0                    N/A                      N/A
Total                                                                                                                         $15,669,689                  6,644,923

Notes:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). In this analysis, the Week Ending January 1, 2017 includes six days in 2016 and one day in 2017. Since the week ended
on January 1, 2017, all sales for that week are counted in the 2017 totals.
(b) These 20-oz. bottles of Diet Canada Dry Ginger Ale are the same product but with different UPC numbers. Mr. Weir identified both items in his declaration. For the purpose of this analysis, both items are
included and presented separately (to match Mr. Weir's approach).
(c) These 20-oz. bottles of Canada Dry Ginger Ale are the same product but with different UPC numbers. Mr. Weir identified both items in his declaration. For the purpose of this analysis, both items are included
and presented separately (to match Mr. Weir's approach).

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 519 of 551




                            Exhibit 19
                                 Case 5:17-cv-00564-NC                 Document 248-1              Filed 10/09/18         Page 520 of 551




                         12 Pack Of 12-Oz. Cans Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                         Average Retail Prices By Cities In California Food Channel
                                        Week Ending January 15, 2012 - Week Ending April 8, 2018
$6.00




                                                                                                                                             $4.98                  $5.05
$5.00
                                                                                                                      $4.57                                    $4.60
                                                                                                                                        $4.36
                    $4.11$4.18             $4.10$4.10                                          $4.16             $4.13                               $4.07 $4.04
                                                        $3.93           $3.98                                                 $3.99 $4.00
$4.00                                                         $3.84$3.83                   $3.84       $3.81 $3.78
                $3.77            $3.75 $3.79                                    $3.72 $3.71
        $3.66




$3.00




$2.00




$1.00




$0.00
                  2012                   2013                   2014                    2015                   2016                   2017                   2018
                                                 Los Angeles         San Diego        Sacramento        San Francisco / Oakland
                                                       Case 5:17-cv-00564-NC                               Document 248-1                       Filed 10/09/18                   Page 521 of 551


                                                                       12 Pack Of 12-Oz. Cans Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                                                       Average Retail Prices By Cities In California Food Channel
                                                                                                                                                (a)
                                                                                      Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                2012                                                                                                                                                           2018
                                                        (From Week Ending                                                                                                                                                (Through Week
                                                            January 15)                    2013                      2014                      2015                       2016                      2017                 Ending April 8)                 Total
Dollar Sales
 Los Angeles                                                       $4,227,855                 $4,777,877                $5,194,706                $5,275,224                 $5,418,410                $5,875,883                 $1,448,130               $32,218,085
 Sacramento                                                          $483,590                   $499,312                  $480,788                  $503,370                   $495,902                  $556,380                   $169,833                $3,189,175
 San Francisco / Oakland                                           $1,546,245                 $1,543,945                $1,537,168                $1,651,410                 $1,408,137                $1,496,956                   $449,592                $9,633,454
 San Diego                                                           $756,661                   $810,220                  $843,316                  $879,903                   $873,795                  $883,670                   $217,528                $5,265,093

Unit Sales
 Los Angeles                                                         1,155,261                 1,272,695                 1,321,646                  1,417,633                 1,422,786                  1,473,262                    356,003                8,419,286
 Sacramento                                                            117,624                   121,930                   125,571                    131,012                   119,945                    127,560                     36,938                  780,581
 San Francisco / Oakland                                               370,234                   376,155                   386,652                    397,174                   307,897                    300,506                     89,043                2,227,662
 San Diego                                                             200,599                   213,968                   219,701                    237,167                   231,159                    220,761                     53,900                1,377,256

Average Retail Prices
 Los Angeles                                                             $3.66                     $3.75                      $3.93                     $3.72                      $3.81                     $3.99                      $4.07                     $3.83
 Sacramento                                                              $4.11                     $4.10                      $3.83                     $3.84                      $4.13                     $4.36                      $4.60                     $4.09
 San Francisco / Oakland                                                 $4.18                     $4.10                      $3.98                     $4.16                      $4.57                     $4.98                      $5.05                     $4.32
 San Diego                                                               $3.77                     $3.79                      $3.84                     $3.71                      $3.78                     $4.00                      $4.04                     $3.82

 Price Difference (Highest vs. Lowest)                                  $0.52                      $0.35                     $0.15                      $0.45                     $0.79                     $0.99                      $1.01                     $0.50
 Price Difference Percentage (of the Lowest Price)                       14%                         9%                        4%                        12%                       21%                       25%                        25%                       13%

Note:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the Week Ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are
counted in the 2016 totals.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 522 of 551




                            Exhibit 20
                                Case 5:17-cv-00564-NC                    Document 248-1              Filed 10/09/18          Page 523 of 551




                                2-Liter Bottles Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                             Average Retail Prices By Cities In California Food Channel
                                             Week Ending January 15, 2012 - Week Ending April 8, 2018
$1.60
                                                                                                                                                                           $1.52
                                                                                                  $1.46                                           $1.46
                                                        $1.41            $1.41               $1.41                  $1.42$1.42
                                                                    $1.38                                                                     $1.38
$1.40                                      $1.35                $1.35                                                                                                  $1.35
                                                $1.32                                                                                    $1.33
                                 $1.31                                                                                                                            $1.30
        $1.27 $1.25$1.27               $1.28                                                                                     $1.27
                        $1.23                                                            $1.25                                                            $1.23
                                                                                 $1.22                    $1.21 $1.21
$1.20



$1.00



$0.80



$0.60



$0.40



$0.20



$0.00
                2012                    2013                      2014                     2015                   2016                     2017                     2018
                                                 Los Angeles          San Diego           Sacramento       San Francisco / Oakland
                                                       Case 5:17-cv-00564-NC                               Document 248-1                       Filed 10/09/18                   Page 524 of 551


                                                                             2-Liter Bottles Of Canada Dry Ginger Ale Identified By Mr. Weir In His Declaration
                                                                                          Average Retail Prices By Cities In California Food Channel
                                                                                                                                                   (a)
                                                                                        Week Ending January 15, 2012 - Week Ending April 8, 2018

                                                                2012                                                                                                                                                           2018
                                                        (From Week Ending                                                                                                                                                (Through Week
                                                            January 15)                    2013                      2014                      2015                       2016                      2017                 Ending April 8)                 Total
Dollar Sales
 Los Angeles                                                       $3,691,358                 $3,811,826                $4,196,572                $3,804,762                 $3,789,896                $3,765,351                 $1,018,314               $24,078,079
 Sacramento                                                          $312,933                   $357,347                  $350,666                  $334,844                   $341,319                  $347,194                    $92,354                $2,136,657
 San Francisco / Oakland                                           $1,041,988                 $1,161,887                $1,170,305                $1,119,710                 $1,023,744                $1,022,360                   $263,219                $6,803,213
 San Diego                                                           $517,754                   $576,925                  $599,131                  $597,428                   $579,181                  $559,394                   $150,249                $3,580,061

Unit Sales
 Los Angeles                                                         2,916,603                 2,906,458                 2,986,021                  3,118,495                 3,125,627                  2,955,453                    826,325               18,834,982
 Sacramento                                                            247,343                   264,134                   254,672                    238,096                   241,130                    251,816                     68,555                1,565,745
 San Francisco / Oakland                                               847,712                   878,284                   827,368                    769,363                   722,875                    699,210                    172,925                4,917,738
 San Diego                                                             413,125                   451,833                   443,786                    479,334                   478,628                    420,535                    115,851                2,803,092

Average Retail Prices
 Los Angeles                                                             $1.27                     $1.31                      $1.41                     $1.22                      $1.21                     $1.27                      $1.23                     $1.28
 Sacramento                                                              $1.27                     $1.35                      $1.38                     $1.41                      $1.42                     $1.38                      $1.35                     $1.36
 San Francisco / Oakland                                                 $1.23                     $1.32                      $1.41                     $1.46                      $1.42                     $1.46                      $1.52                     $1.38
 San Diego                                                               $1.25                     $1.28                      $1.35                     $1.25                      $1.21                     $1.33                      $1.30                     $1.28

 Price Difference (Highest vs. Lowest)                                  $0.04                      $0.08                     $0.06                      $0.24                     $0.21                     $0.19                      $0.29                     $0.11
 Price Difference Percentage (of the Lowest Price)                        3%                         6%                        5%                        19%                       17%                       15%                        24%                        8%

Note:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the Week Ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are
counted in the 2016 totals.

Source:
[1] IRI Data. (DPS_165956-Copy of CDGA and Schweppes Data – by UPC.xlsx)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 525 of 551




                            Exhibit 21
                                                                Case 5:17-cv-00564-NC                                       Document 248-1                             Filed 10/09/18                       Page 526 of 551


                                                                                                               Canada Dry Ginger Ale Products Identified In Mr. Weir's Declaration
                                                                                                                           Average Retail Price And Sales Summary
                                                                                                                                                                 (a)
                                                                                                                            December 28, 2012 - January 28, 2018

                                                                                                                                                                                                              Minimum 4-Week             Maximum
                                                                                                                                                                                         Total Average          Average Retail        Average 4-Week             Claimed Price           Average Claimed Price
                                                  Product                                                        UPC Number           Total Dollar Sales        Total Unit Sales          Retail Price               Price               Retail Price         Premium Percentage           Premium Per Unit

Diet Drinks
   CANADA DRY GINGER ALE SODA DIET CAN IN FRIDGE PCK BX 12 CT 144 OZ                                              0078000148161               $24,980,963                6,233,058                  $4.01                    $3.65                 $4.48                      4.00%                        $0.16
   CANADA DRY GINGER ALE SODA DIET PLASTIC BOTTLE 1 CT 67.6 OZ                                                    0078000148461               $11,085,291                8,391,964                  $1.32                    $1.17                 $1.47                      4.67%                        $0.06
   CANADA DRY GINGER ALE SODA DIET CAN 6 CT 72 OZ                                                                 0078000001181                  $947,542                  263,595                  $3.59                    $3.15                 $4.17                      4.00%                        $0.14
   CANADA DRY GINGER ALE SODA DIET PLASTIC BOTTLE 1 CT 20 OZ                                             (b)      0078000020591                  $563,082                  560,160                  $1.01                    $0.99                 $1.08                      4.00%                        $0.04
   CANADA DRY GINGER ALE SODA DIET CAN 6 CT 45 OZ                                                                 0078000002122                  $336,959                  127,819                  $2.64                    $2.51                 $3.40                      4.00%                        $0.11
   CANADA DRY CRANBRY GINGER ALE SODA DIET PLASTIC BOTTLE 1 CT 67.6 OZ                                            0078000141461                  $297,444                  227,220                  $1.31                    $1.03                 $1.99                      4.67%                        $0.06
   CANADA DRY GINGER ALE SODA DIET PLASTIC BOTTLE 1 CT 20 OZ                                             (b)      0078000148402                   $40,838                   22,831                  $1.79                    $1.74                 $1.83                      4.00%                        $0.07
Total                                                                                                                                         $38,252,119              15,826,647

Regular Drinks
   CANADA DRY GINGER ALE SODA REGULAR CAN IN FRIDGE PCK BX 12 CT 144 OZ                                           0078000152161               $63,595,035              16,121,195                   $3.94                    $3.59                 $4.43                      4.00%                        $0.16
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 1 CT 67.6 OZ                                                 0078000152461               $45,909,425              34,572,082                   $1.33                    $1.23                 $1.48                      4.67%                        $0.06
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 1 CT 20 OZ              (c)                                  0078000152401               $32,234,626              18,587,288                   $1.73                    $1.66                 $1.81                      4.00%                        $0.07
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 1 CT 33.8 OZ                                                 0078000152451               $16,698,296               9,547,489                   $1.75                    $1.56                 $1.84                      4.00%                        $0.07
   CANADA DRY GINGER ALE SODA REGULAR CAN 6 CT 48 OZ                                                              0078000003004               $10,265,381               3,929,811                   $2.61                    $2.44                 $3.76                      4.00%                        $0.10
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 6 CT 101.4 OZ                                                0078000001173                $9,491,016               3,204,367                   $2.96                    $2.62                 $3.68                      4.00%                        $0.12
   CANADA DRY GINGER ALE SODA REGULAR CAN 6 CT 45 OZ                                                              0078000002011                $8,836,147               3,341,287                   $2.64                    $2.46                 $3.05                      4.00%                        $0.11
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 1 CT 20 OZ              (c)                                  0078000050321                $8,052,356               8,107,752                   $0.99                    $0.99                 $1.00                      4.00%                        $0.04
   CANADA DRY GINGER ALE SODA REGULAR CAN 24 CT 288 OZ                                                            0078000152101                $7,646,910               1,239,456                   $6.17                    $5.86                 $6.55                      4.00%                        $0.25
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 8 CT 96 OZ                                                   0078000152881                $7,362,720               1,717,558                   $4.29                    $3.92                 $5.17                      4.00%                        $0.17
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 6 CT 60 OZ                                                   0078000001682                $5,381,851               1,035,092                   $5.20                    $5.05                 $5.39                      4.00%                        $0.21
   CANADA DRY CRANBRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 1 CT 67.6 OZ                                         0078000156461                $2,593,194               2,023,653                   $1.28                    $1.11                 $1.97                      4.67%                        $0.06
   CANADA DRY GINGER ALE SODA REGULAR CAN 6 CT 72 OZ                                                              0078000001141                $2,142,352                 574,552                   $3.73                    $3.00                 $4.15                      4.00%                        $0.15
   CANADA DRY BLACKBERRY GINGER AL SODA REGULAR PLASTIC BOTTLE 1 CT 67.6 OZ                                       0078000025051                  $286,729                 211,603                   $1.36                    $1.11                 $1.78                      4.67%                        $0.06
   CANADA DRY GINGER ALE SODA REGULAR NR PLASTIC BOTTLE 6 CT 120 OZ                                               0016900010511                  $270,286                  30,333                   $8.91                    $4.00                $11.22                      4.00%                        $0.36
   CANADA DRY GINGER ALE SODA REGULAR CAN IN BOX 18 CT 216 OZ                                                     0078000152081                  $130,191                  26,487                   $4.92                    $2.98                 $5.99                      4.00%                        $0.20
   CANADA DRY BLACKBERRY GINGER SODA REGULAR CAN IN FRIDGE PCK BX 12 CT 144 OZ                                    0078000026081                   $96,418                  24,150                   $3.99                    $2.99                 $5.55                      4.00%                        $0.16
   CANADA DRY GINGER ALE SODA REGULAR PLSTC WRPD PLST BTLS 12 CT 202.8 OZ                                         0078000152444                   $52,893                  13,398                   $3.95                    $2.52                 $8.99                      4.00%                        $0.16
   CANADA DRY GINGER ALE SODA REGULAR NR PLASTIC BOTTLE 1 CT 67.6 OZ                                              0016900016011                   $38,540                  21,967                   $1.75                    $1.36                 $2.07                      4.67%                        $0.08
   CANADA DRY GINGER ALE SODA REGULAR CAN IN BOX 24 CT 288 OZ                                                     0078000152132                   $38,207                   6,416                   $5.95                    $5.52                 $7.49                      4.00%                        $0.24
   CANADA DRY GINGER ALE SODA REGULAR NR PLASTIC BOTTLE 1 CT 33.8 OZ                                              0016900017511                   $35,913                  17,321                   $2.07                    $0.24                 $2.14                      4.00%                        $0.08
   CANADA DRY GINGER ALE SODA REGULAR PLASTIC BOTTLE 1 CT 16 OZ                                                   0078000024391                   $16,222                  13,825                   $1.17                    $1.16                 $1.19                      4.00%                        $0.05
Total                                                                                                                                       $221,174,706              104,367,081

Notes:
(a) The sales are included in the year for which the last day of the week falls (i.e., Sunday). For example, the week ending January 3, 2016 includes four days in 2015 and three days in 2016. Since the week ended on January 3, 2016, all sales for that week are counted in the 2016 totals.
(b) These 20-oz. bottles of Diet Canada Dry Ginger Ale are the same product but with different UPC numbers. Mr. Weir identified both items in his declaration. For the purpose of this analysis, both items are included and presented separately (to match Mr. Weir's approach).
(c) These 20-oz. bottles of Canada Dry Ginger Ale are the same product but with different UPC numbers. Mr. Weir identified both items in his declaration. For the purpose of this analysis, both items are included and presented separately (to match Mr. Weir's approach).
(d) The IRI data utilized by Mr. Weir are presented using 4-Week Totals and 4-Week Averages. Since the Claimed Damage Period starts on December 28, 2012, Mr. Weir pro-rated 9 out of 28 days using sales data for the 4-Weeks Ending January 6, 2013. However, there are 10 days in total from December 28, 2012
to January 6, 2013 (including both dates). For the purpose of this analysis, Mr. Weir's approach is utilized here.

Source:
[1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 527 of 551




                            Exhibit 22
                           Case 5:17-cv-00564-NC          Document 248-1   Filed 10/09/18    Page 528 of 551




                     2-Liter Bottles Of Canada Dry Ginger Ale Products Identified In Mr. Weir's Declaration
            4-Week-Average Retail Prices From IRI In California Compared To Prices Assumed In Dr. Dennis' Choice Sets
                               4 Weeks Ending January 6, 2013 - 4 Weeks Ending January 28, 2018
$3.20



$2.80



$2.40                                                                                $1.00, $1.50, $2.00, $2.50,
                                                                                       and $3.00: The 2-Liter
                                                                                       Bottles of Canada Dry
$2.00                                                                                 Ginger Ale prices used in
                                                                                       Dr. Dennis' choice sets.


$1.60



$1.20



$0.80



$0.40



$0.00




        Source:
        [1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)
                           Case 5:17-cv-00564-NC          Document 248-1   Filed 10/09/18      Page 529 of 551




                 12 Pack Of 12-Oz. Cans Of Canada Dry Ginger Ale Products Identified In Mr. Weir's Declaration
            4-Week-Average Retail Prices From IRI In California Compared To Prices Assumed In Dr. Dennis' Choice Sets
                               4 Weeks Ending January 6, 2013 - 4 Weeks Ending January 28, 2018
$8.00



$7.00                                                                          $3.00, $4.00, $5.00, $6.00, and
                                                                             $7.00: The 12 Pack of 12-Oz. Cans
                                                                              of Canada Dry Ginger Ale prices
                                                                               used in Dr. Dennis' choice sets.
$6.00



$5.00



$4.00



$3.00



$2.00



$1.00



$0.00




        Source:
        [1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 530 of 551




                            Exhibit 23
                  Case 5:17-cv-00564-NC      Document 248-1         Filed 10/09/18       Page 531 of 551




                                  8 Packs Of 12-Oz. Bottles Of Canada Dry Ginger Ale
        4-Week-Average Retail Prices In California Compared To Price Paid By Named Plaintiff Gegham Margaryan
                                              June 23, 2014 - January 28, 2018
$7.00


                                               $5.99: The price paid by Mr. Margaryan
                                                for this Canada Dry ginger ale product
$6.00                                          on April 24, 2017. From June 23, 2014
                                               to January 28, 2018, the Average Retail
                                                     Price for this product is $4.29.

$5.00




$4.00




$3.00




$2.00




$1.00




$0.00
           Case 5:17-cv-00564-NC    Document 248-1    Filed 10/09/18    Page 532 of 551


                       8 Packs Of 12-Oz. Bottles Of Canada Dry Ginger Ale
                           4-Week-Average Retail Prices In California
                                June 23, 2014 - January 28, 2018

4 Weeks Ending               Units Sales                 Dollar Sales          4-Week-Average Retail Price

  7/20/2014                      50                          $246                         $4.94
   8/17/2014                   2,018                       $10,052                        $4.98
   9/14/2014                   3,761                       $19,433                        $5.17
  10/12/2014                   3,886                       $19,717                        $5.07
   11/9/2014                   4,467                       $22,265                        $4.98
   12/7/2014                   5,539                       $27,104                        $4.89
    1/4/2015                   6,121                       $30,501                        $4.98
    2/1/2015                   6,216                       $29,489                        $4.74
    3/1/2015                   7,906                       $34,954                        $4.42
   3/29/2015                    8,521                      $38,486                        $4.52
   4/26/2015                    9,855                       $44,391                       $4.50
   5/24/2015                   13,625                      $59,918                        $4.40
   6/21/2015                   12,976                      $56,737                        $4.37
   7/19/2015                   16,743                      $74,117                        $4.43
   8/16/2015                   20,445                      $87,364                        $4.27
   9/13/2015                   21,127                      $90,208                        $4.27
  10/11/2015                   23,609                       $94,972                       $4.02
   11/8/2015                   27,902                      $109,594                       $3.93
   12/6/2015                   33,639                      $136,470                       $4.06
    1/3/2016                   39,110                      $160,897                       $4.11
   1/31/2016                   35,862                      $150,289                       $4.19
   2/28/2016                   36,413                      $155,052                       $4.26
   3/27/2016                   36,946                      $159,983                       $4.33
   4/24/2016                   35,545                      $152,714                       $4.30
   5/22/2016                   39,009                      $165,192                       $4.23
   6/19/2016                   44,087                      $186,351                       $4.23
   7/17/2016                   45,827                      $197,662                       $4.31
   8/14/2016                   46,170                      $196,985                       $4.27
   9/11/2016                   43,414                      $186,775                       $4.30
   10/9/2016                   44,322                      $201,788                       $4.55
   11/6/2016                   47,801                      $214,362                       $4.48
   12/4/2016                   50,973                      $230,661                       $4.53



                                                                                                             Page 1 of 2
                     Case 5:17-cv-00564-NC               Document 248-1   Filed 10/09/18    Page 533 of 551


                                       8 Packs Of 12-Oz. Bottles Of Canada Dry Ginger Ale
                                           4-Week-Average Retail Prices In California
                                                June 23, 2014 - January 28, 2018

        4 Weeks Ending                            Units Sales                Dollar Sales          4-Week-Average Retail Price

             1/1/2017                               57,905                     $259,846                       $4.49
            1/29/2017                               53,135                     $223,369                       $4.20
            2/26/2017                               58,273                     $239,706                       $4.11
            3/26/2017                               60,029                     $238,201                       $3.97
            4/23/2017                               63,018                     $250,084                       $3.97
            5/21/2017                               58,121                     $227,864                       $3.92
            6/18/2017                               65,542                     $256,605                       $3.92
            7/16/2017                               66,761                     $272,172                       $4.08
            8/13/2017                               64,009                     $267,494                       $4.18
            9/10/2017                               65,728                     $281,985                       $4.29
            10/8/2017                               60,260                     $262,863                       $4.36
            11/5/2017                               61,242                     $278,196                       $4.54
            12/3/2017                               66,637                     $307,331                       $4.61
           12/31/2017                               77,133                     $355,698                       $4.61
            1/28/2018                               65,885                     $296,579                       $4.50

      Average Retail Price                                                                                    $4.29

Source:
[1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)




                                                                                                                                 Page 2 of 2
                            Case 5:17-cv-00564-NC                Document 248-1            Filed 10/09/18          Page 534 of 551




                                        12 Packs Of 12 Oz.-Cans Of Canada Dry Ginger Ale
          4-Week-Average Retail Prices In California Compared To Prices Paid By Named Plaintiff Jackie Fitzhenry-Russell
                                               December 28, 2012 - January 28, 2018
$7.00



$6.00



$5.00



$4.00



$3.00



$2.00
         $6.49*, $6.59, $2.50, $2.50, and $5.99*: The net
           prices paid by Mrs. Fitzhenry-Russell for this
          Canada Dry ginger ale product on January 25,
$1.00      2013, February 25, 2013, May 31, 2013, May
          27, 2014, and July 1, 2014, respectively. From
            December 28, 2012 to January 28, 2018, the
          Average Retail Price for this product is $3.94.
$0.00



        Note:
        (a) Ms. Fitzhenry-Russell's purchases on January 25, 2013 ($6.49) and July 1, 2014 ($5.99) appear to be part of a "buy 2 get 2 free" and "buy 2 get 3
        free" promotion, respectively. Thus, the effective price paid by Ms. Fitzhenry-Russell in these instances was less than the non-promoted price
        identified in this figure.
           Case 5:17-cv-00564-NC    Document 248-1    Filed 10/09/18    Page 535 of 551


                        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale
                            4-Week-Average Retail Prices In California
                              December 28, 2012 - January 28, 2018

4 Weeks Ending               Units Sales                 Dollar Sales          4-Week-Average Retail Price

   1/6/2013                     92,372                     $358,732                       $3.88
   2/3/2013                    231,897                     $905,681                       $3.91
   3/3/2013                    206,606                     $823,648                       $3.99
  3/31/2013                    243,040                     $922,917                       $3.80
  4/28/2013                    232,338                     $869,952                       $3.74
  5/26/2013                    261,750                     $962,688                       $3.68
  6/23/2013                    219,835                     $844,826                       $3.84
  7/21/2013                    260,424                     $935,116                       $3.59
  8/18/2013                    218,618                     $883,084                       $4.04
  9/15/2013                    224,016                     $863,525                       $3.85
  10/13/2013                   193,019                     $778,248                       $4.03
  11/10/2013                   217,842                     $863,863                       $3.97
   12/8/2013                   226,309                     $881,297                       $3.89
    1/5/2014                   252,663                    $1,003,000                      $3.97
    2/2/2014                   231,858                     $924,420                       $3.99
    3/2/2014                   214,705                     $838,188                       $3.90
   3/30/2014                   233,183                     $903,028                       $3.87
   4/27/2014                   248,360                     $942,497                       $3.79
   5/25/2014                   262,316                     $981,593                       $3.74
   6/22/2014                   223,110                     $866,844                       $3.89
   7/20/2014                   255,510                     $997,928                       $3.91
   8/17/2014                   229,593                     $902,509                       $3.93
   9/14/2014                   226,774                     $908,788                       $4.01
  10/12/2014                   223,664                     $876,436                       $3.92
   11/9/2014                   220,128                     $876,396                       $3.98
   12/7/2014                   268,823                    $1,045,538                      $3.89
    1/4/2015                   265,779                    $1,054,056                      $3.97
    2/1/2015                   235,328                     $936,327                       $3.98
    3/1/2015                   236,485                     $928,820                       $3.93
   3/29/2015                   249,056                     $982,398                       $3.94
   4/26/2015                   256,861                     $985,950                       $3.84
   5/24/2015                   254,589                     $947,061                       $3.72



                                                                                                             Page 1 of 3
           Case 5:17-cv-00564-NC    Document 248-1    Filed 10/09/18    Page 536 of 551


                        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale
                            4-Week-Average Retail Prices In California
                              December 28, 2012 - January 28, 2018

4 Weeks Ending               Units Sales                 Dollar Sales          4-Week-Average Retail Price

   6/21/2015                   239,244                     $905,115                       $3.78
   7/19/2015                   267,603                     $982,219                       $3.67
   8/16/2015                   239,121                     $913,639                       $3.82
   9/13/2015                   264,584                     $996,834                       $3.77
  10/11/2015                   246,564                     $960,854                       $3.90
  11/8/2015                    239,272                     $928,756                       $3.88
  12/6/2015                    261,458                    $1,025,310                      $3.92
    1/3/2016                   288,164                    $1,144,019                      $3.97
   1/31/2016                   219,181                     $905,484                       $4.13
   2/28/2016                   267,692                    $1,038,850                      $3.88
   3/27/2016                   238,066                     $962,130                       $4.04
   4/24/2016                   226,761                     $918,126                       $4.05
   5/22/2016                   214,094                     $856,870                       $4.00
   6/19/2016                   248,359                     $949,653                       $3.82
   7/17/2016                   247,409                     $966,680                       $3.91
   8/14/2016                   231,992                     $919,796                       $3.96
   9/11/2016                   267,988                    $1,021,296                      $3.81
   10/9/2016                   235,357                     $915,837                       $3.89
   11/6/2016                   243,708                     $955,661                       $3.92
   12/4/2016                   266,094                    $1,054,036                      $3.96
    1/1/2017                   273,933                    $1,104,630                      $4.03
   1/29/2017                   212,862                     $901,528                       $4.24
   2/26/2017                   244,853                     $988,146                       $4.04
   3/26/2017                   236,635                     $984,745                       $4.16
   4/23/2017                   239,867                    $1,006,420                      $4.20
   5/21/2017                   233,029                     $964,128                       $4.14
   6/18/2017                   254,032                    $1,034,608                      $4.07
   7/16/2017                   287,068                    $1,145,912                      $3.99
   8/13/2017                   231,553                     $981,714                       $4.24
   9/10/2017                   270,646                    $1,084,755                      $4.01
   10/8/2017                   225,880                     $931,220                       $4.12
   11/5/2017                   238,739                     $980,526                       $4.11



                                                                                                             Page 2 of 3
                     Case 5:17-cv-00564-NC               Document 248-1   Filed 10/09/18    Page 537 of 551


                                        12 Packs Of 12-Oz. Cans Of Canada Dry Ginger Ale
                                            4-Week-Average Retail Prices In California
                                              December 28, 2012 - January 28, 2018

        4 Weeks Ending                            Units Sales                Dollar Sales          4-Week-Average Retail Price

           12/3/2017                                275,175                   $1,145,273                      $4.16
           12/31/2017                               312,053                   $1,265,689                      $4.06
            1/28/2018                               224,542                    $995,097                       $4.43

      Average Retail Price                                                                                    $3.94

Source:
[1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)




                                                                                                                                 Page 3 of 3
                     Case 5:17-cv-00564-NC           Document 248-1             Filed 10/09/18   Page 538 of 551




                                       6 Packs Of 8-Oz. Cans Of Canada Dry Ginger Ale
        4-Week-Average Retail Prices In California Compared To Prices Paid By Named Plaintiff Jackie Fitzhenry-Russell
                                               December 28, 2012 - July 17, 2016
$4.00



$3.50



$3.00



$2.50



$2.00

                                    $2.50, $2.50, and $2.50: The net prices paid by Mrs.
                                  Fitzhenry-Russell for this Canada Dry ginger ale product
$1.50                             on March 25, 2014, March 31, 2014, and November 21,
                                  2014, respectively. From December 28, 2012 to July 17,
                                  2016, the Average Retail Price for this product is $2.61.

$1.00



$0.50



$0.00
           Case 5:17-cv-00564-NC    Document 248-1    Filed 10/09/18    Page 539 of 551


                         6 Packs Of 8-Oz. Cans Of Canada Dry Ginger Ale
                            4-Week-Average Retail Prices In California
                                 December 28, 2012 - July 17, 2016

4 Weeks Ending               Units Sales                 Dollar Sales          4-Week-Average Retail Price

    1/6/2013                    33,138                      $85,737                       $2.59
    2/3/2013                    85,221                     $242,023                       $2.84
    3/3/2013                    78,746                     $224,735                       $2.85
   3/31/2013                    89,097                     $239,935                       $2.69
   4/28/2013                    88,860                     $224,946                       $2.53
   5/26/2013                    91,499                     $238,001                       $2.60
   6/23/2013                    91,391                     $232,908                       $2.55
   7/21/2013                    95,079                     $244,098                       $2.57
   8/18/2013                    83,199                     $220,832                       $2.65
   9/15/2013                    87,770                     $232,307                       $2.65
  10/13/2013                    97,505                     $238,997                       $2.45
  11/10/2013                    98,828                     $241,400                       $2.44
   12/8/2013                    93,811                     $252,998                       $2.70
    1/5/2014                   103,894                     $282,006                       $2.71
    2/2/2014                    96,817                     $264,714                       $2.73
    3/2/2014                    90,309                     $245,847                       $2.72
   3/30/2014                    91,782                     $243,024                       $2.65
   4/27/2014                    91,650                     $243,707                       $2.66
   5/25/2014                    91,260                     $240,419                       $2.63
   6/22/2014                    86,614                     $225,101                       $2.60
   7/20/2014                    86,503                     $232,570                       $2.69
   8/17/2014                    86,042                     $230,537                       $2.68
   9/14/2014                    86,730                     $235,945                       $2.72
  10/12/2014                    94,748                     $243,378                       $2.57
   11/9/2014                    96,930                     $246,287                       $2.54
   12/7/2014                    95,824                     $248,525                       $2.59
    1/4/2015                    99,923                     $253,647                       $2.54
    2/1/2015                    94,483                     $238,475                       $2.52
    3/1/2015                    95,241                     $243,212                       $2.55
   3/29/2015                    98,928                     $252,560                       $2.55
   4/26/2015                    98,893                     $254,786                       $2.58
   5/24/2015                    99,586                     $261,135                       $2.62



                                                                                                             Page 1 of 2
                     Case 5:17-cv-00564-NC               Document 248-1   Filed 10/09/18    Page 540 of 551


                                         6 Packs Of 8-Oz. Cans Of Canada Dry Ginger Ale
                                            4-Week-Average Retail Prices In California
                                                 December 28, 2012 - July 17, 2016

        4 Weeks Ending                            Units Sales                Dollar Sales          4-Week-Average Retail Price

            6/21/2015                               102,159                   $266,990                        $2.61
            7/19/2015                               104,821                   $275,157                        $2.63
            8/16/2015                               110,105                   $282,031                        $2.56
            9/13/2015                               115,140                   $298,238                        $2.59
           10/11/2015                               119,749                   $305,944                        $2.55
            11/8/2015                               119,533                   $315,416                        $2.64
            12/6/2015                               126,067                   $323,439                        $2.57
             1/3/2016                               125,126                   $314,371                        $2.51
            1/31/2016                                58,710                   $150,133                        $2.56
            2/28/2016                                37,344                    $99,372                        $2.66
            3/27/2016                                 9,480                    $24,897                        $2.63
            4/24/2016                                 2,480                     $6,759                        $2.73
            5/22/2016                                 1,174                     $3,510                        $2.99
            6/19/2016                                  754                      $2,307                        $3.06
            7/17/2016                                  110                       $416                         $3.76

      Average Retail Price                                                                                    $2.61

Source:
[1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)




                                                                                                                                 Page 2 of 2
                     Case 5:17-cv-00564-NC      Document 248-1           Filed 10/09/18       Page 541 of 551




                                          2-Liter Bottles Of Canada Dry Ginger Ale
        4-Week-Average Retail Prices In California Compared To Price Paid By Named Plaintiff Jackie Fitzhenry-Russell
                                             December 28, 2012 - January 28, 2018
$2.50




                                                  $1.99: The price paid by Mrs. Fitzhenry-
                                                   Russell for this Canada Dry ginger ale
$2.00                                           product on April 26, 2014. From December
                                                 28, 2012 to January 28, 2018, the Average
                                                    Retail Price for this product is $1.33.




$1.50




$1.00




$0.50




$0.00
           Case 5:17-cv-00564-NC    Document 248-1    Filed 10/09/18    Page 542 of 551


                            2-Liter Bottles Of Canada Dry Ginger Ale
                           4-Week-Average Retail Prices In California
                              December 28, 2012 - January 28, 2018

4 Weeks Ending               Units Sales                 Dollar Sales          4-Week-Average Retail Price

    1/6/2013                   264,179                     $325,450                       $1.23
    2/3/2013                   539,178                     $711,219                       $1.32
    3/3/2013                   501,536                     $702,957                       $1.40
   3/31/2013                   511,515                     $676,791                       $1.32
   4/28/2013                   480,559                     $634,228                       $1.32
   5/26/2013                   464,836                     $618,366                       $1.33
   6/23/2013                   498,185                     $626,080                       $1.26
   7/21/2013                   468,259                     $625,264                       $1.34
   8/18/2013                   437,806                     $583,200                       $1.33
   9/15/2013                   467,643                     $637,106                       $1.36
  10/13/2013                   437,887                     $581,577                       $1.33
  11/10/2013                   474,557                     $607,693                       $1.28
   12/8/2013                   615,457                     $777,752                       $1.26
    1/5/2014                   723,964                     $940,847                       $1.30
    2/2/2014                   526,071                     $706,596                       $1.34
    3/2/2014                   502,757                     $675,681                       $1.34
   3/30/2014                   482,163                     $643,213                       $1.33
   4/27/2014                   490,129                     $696,922                       $1.42
   5/25/2014                   494,938                     $720,415                       $1.46
   6/22/2014                   491,080                     $714,074                       $1.45
   7/20/2014                   522,533                     $715,194                       $1.37
   8/17/2014                   494,581                     $687,721                       $1.39
   9/14/2014                   477,588                     $707,693                       $1.48
  10/12/2014                   456,263                     $661,427                       $1.45
   11/9/2014                   522,501                     $731,406                       $1.40
   12/7/2014                   627,879                     $843,012                       $1.34
    1/4/2015                   728,866                     $935,563                       $1.28
    2/1/2015                   575,274                     $733,946                       $1.28
   3/1/2015                    513,481                     $677,409                       $1.32
  3/29/2015                    533,576                     $699,018                       $1.31
  4/26/2015                    519,393                     $681,471                       $1.31
  5/24/2015                    482,961                     $648,053                       $1.34



                                                                                                             Page 1 of 3
           Case 5:17-cv-00564-NC    Document 248-1    Filed 10/09/18    Page 543 of 551


                            2-Liter Bottles Of Canada Dry Ginger Ale
                           4-Week-Average Retail Prices In California
                              December 28, 2012 - January 28, 2018

4 Weeks Ending               Units Sales                 Dollar Sales          4-Week-Average Retail Price

   6/21/2015                   475,281                     $629,717                       $1.32
   7/19/2015                   494,034                     $634,401                       $1.28
   8/16/2015                   436,527                     $586,846                       $1.34
   9/13/2015                   489,243                     $644,716                       $1.32
  10/11/2015                   476,191                     $625,294                       $1.31
   11/8/2015                   517,767                     $672,612                       $1.30
   12/6/2015                   669,112                     $837,280                       $1.25
    1/3/2016                   791,277                    $1,018,168                      $1.29
   1/31/2016                   504,991                     $683,661                       $1.35
   2/28/2016                   548,844                     $717,517                       $1.31
   3/27/2016                   518,754                     $694,498                       $1.34
   4/24/2016                   513,414                     $660,773                       $1.29
   5/22/2016                   455,644                     $620,022                       $1.36
   6/19/2016                   466,816                     $626,895                       $1.34
   7/17/2016                   519,715                     $658,679                       $1.27
   8/14/2016                   484,397                     $622,177                       $1.28
   9/11/2016                   481,522                     $625,642                       $1.30
   10/9/2016                   480,569                     $622,590                       $1.30
   11/6/2016                   497,073                     $627,487                       $1.26
   12/4/2016                   627,226                     $769,929                       $1.23
    1/1/2017                   723,795                     $896,845                       $1.24
  1/29/2017                    521,985                     $698,872                       $1.34
  2/26/2017                    495,652                     $662,189                       $1.34
  3/26/2017                    444,430                     $611,025                       $1.37
  4/23/2017                    476,796                     $642,591                       $1.35
  5/21/2017                    508,289                     $673,266                       $1.32
  6/18/2017                    476,772                     $659,742                       $1.38
  7/16/2017                    483,435                     $658,775                       $1.36
  8/13/2017                    435,461                     $589,189                       $1.35
  9/10/2017                    464,779                     $629,147                       $1.35
  10/8/2017                    444,374                     $620,043                       $1.40
  11/5/2017                    472,249                     $631,540                       $1.34



                                                                                                             Page 2 of 3
                     Case 5:17-cv-00564-NC               Document 248-1   Filed 10/09/18    Page 544 of 551


                                              2-Liter Bottles Of Canada Dry Ginger Ale
                                             4-Week-Average Retail Prices In California
                                                December 28, 2012 - January 28, 2018

        4 Weeks Ending                            Units Sales                Dollar Sales          4-Week-Average Retail Price

            12/3/2017                               595,741                   $779,924                        $1.31
           12/31/2017                               748,288                   $937,448                        $1.25
            1/28/2018                               530,460                   $745,125                        $1.40

      Average Retail Price                                                                                    $1.33

Source:
[1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)




                                                                                                                                 Page 3 of 3
                     Case 5:17-cv-00564-NC        Document 248-1            Filed 10/09/18   Page 545 of 551




                                      6 Packs Of 7.5-Oz. Cans Of Canada Dry Ginger Ale
        4-Week-Average Retail Prices In California Compared To Price Paid By Named Plaintiff Jackie Fitzhenry-Russell
                                              January 4, 2016 - January 28, 2018
$3.50

                                       $2.99: The price paid by Mrs. Fitzhenry-
                                        Russell for this Canada Dry ginger ale
$3.00                                  product on June 27, 2016. From January
                                       4, 2016 to January 28, 2018, the Average
                                         Retail Price for this product is $2.64.


$2.50




$2.00




$1.50




$1.00




$0.50




$0.00
                     Case 5:17-cv-00564-NC               Document 248-1   Filed 10/09/18    Page 546 of 551


                                        6 Packs Of 7.5-Oz. Cans Of Canada Dry Ginger Ale
                                            4-Week-Average Retail Prices In California
                                                January 4, 2016 - January 28, 2018

        4 Weeks Ending                            Units Sales                Dollar Sales          4-Week-Average Retail Price

            1/31/2016                                 9,653                    $29,468                        $3.05
            2/28/2016                                65,179                   $183,499                        $2.82
            3/27/2016                                95,593                   $255,136                        $2.67
            4/24/2016                               103,711                   $268,910                        $2.59
            5/22/2016                               111,159                   $285,716                        $2.57
            6/19/2016                               119,535                   $310,955                        $2.60
            7/17/2016                               120,576                   $312,220                        $2.59
            8/14/2016                               121,776                   $319,669                        $2.63
            9/11/2016                               110,477                   $283,207                        $2.56
            10/9/2016                               121,850                   $306,055                        $2.51
            11/6/2016                               130,155                   $319,804                        $2.46
            12/4/2016                               130,675                   $340,740                        $2.61
             1/1/2017                               146,807                   $374,268                        $2.55
            1/29/2017                               129,205                   $345,883                        $2.68
            2/26/2017                               131,596                   $351,440                        $2.67
            3/26/2017                               133,944                   $364,857                        $2.72
            4/23/2017                               135,498                   $366,124                        $2.70
            5/21/2017                               137,016                   $367,542                        $2.68
            6/18/2017                               133,791                   $364,746                        $2.73
            7/16/2017                               131,096                   $361,856                        $2.76
            8/13/2017                               129,105                   $348,352                        $2.70
            9/10/2017                               140,605                   $373,074                        $2.65
            10/8/2017                               131,316                   $338,966                        $2.58
            11/5/2017                               146,862                   $374,656                        $2.55
            12/3/2017                               147,562                   $398,124                        $2.70
           12/31/2017                               175,113                   $473,647                        $2.70
            1/28/2018                               151,409                   $417,174                        $2.76

      Average Retail Price                                                                                    $2.64

Source:
[1] IRI Data. (PL_IRI000567 AEO.xlsx, “2” tab.)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 547 of 551




                            Exhibit 24
                                                Case 5:17-cv-00564-NC                     Document 248-1                 Filed 10/09/18             Page 548 of 551


                                                                  Canada Dry Ginger Ale And Schweppes Ginger Ale Sales And Growth In California
                                                                   Based Upon Bottler-Reported Sales Measured In 288-Oz. Equivalized Case Units
                                                                                                   2008 - 2017
                                                                                                                                                                                                                  CAGR
                                  2008              2009               2010             2011             2012              2013              2014             2015              2016              2017         (2009 - 2017)

Canada Dry Ginger Ale
 Total Sales Volume                 2,300,671        2,397,366          2,797,158        3,553,900        4,217,190         4,560,805         4,955,701        5,541,304         5,924,906         6,261,928
 Volume Growth                                          96,695            399,791          756,742          663,290           343,615           394,896          585,603           383,602           337,022
 Percentage Volume Growth                                4.2%              16.7%            27.1%            18.7%              8.1%              8.7%            11.8%              6.9%              5.7%            12.8%

Schweppes Ginger Ale
 Total Sales Volume                  200,826           164,376           210,767          344,064           309,463          293,806           352,911           396,096           568,254          650,540
 Volume Growth                                         (36,449)           46,391          133,296           (34,601)         (15,657)           59,105            43,185           172,157           82,287
 Percentage Volume Growth                               -18.1%            28.2%            63.2%             -10.1%            -5.1%            20.1%             12.2%             43.5%            14.5%             18.8%

Source:
(a) Bottler-Reported Sales Of Canada Dry Ginger Ale And Schweppes Ginger Ale Products. (DPS_211836_CONFIDENTIAL_(BEX) Harold B. - CD SW Ales BCP (US California) PROV_PROV_AZCP_M04 as of 7-6-18.xlsm, "California (288oz)"
tab.)
Case 5:17-cv-00564-NC   Document 248-1   Filed 10/09/18   Page 549 of 551




                            Exhibit 25
               Case 5:17-cv-00564-NC       Document 248-1      Filed 10/09/18        Page 550 of 551


                                       Comparison Of Ginger Ale Products
                   Pricing Collected Online From Google Express With San Francisco Zip Code(a)

                                              Sales Price            Total Fl. Oz.           Price Per 10 Fl. Oz.


Canada Dry Ginger Ale
 2-Liter Bottles                                 $1.79                   67.6                       $0.26
 6 Packs of 16.9-Oz Bottles                      $3.99                   101.4                      $0.39
 12 Packs of 12-Oz. Cans                         $5.99                   144.0                      $0.42
 6 Packs of 10-Oz. Bottles                       $5.69                   60.0                       $0.95


Diet Canada Dry Ginger Ale
 2-Liter Bottles                                 $1.99                   67.6                       $0.29


Schweppes Ginger Ale
 1-Liter Bottles                                 $1.39                   33.8                       $0.41
 6 Packs of 10-Oz. Bottles                       $5.69                   60.0                       $0.95


Vernors Ginger Soda
 6 Packs of 12-Oz. Cans                          $3.29                   72.0                       $0.46


Vernors Diet Ginger Soda
 6 Packs of 12-Oz. Cans                          $4.49                   72.0                       $0.62


Reed's Original Ginger Brew Ginger Ale
 4 Packs of 12-Oz. Bottles                       $4.49                   48.0                       $0.94
 12-Oz. Bottles                                  $1.49                   12.0                       $1.24


Reed's Premium Ginger Brew Ginger Ale
 4 Packs of 12-Oz. Bottles                       $4.49                   48.0                       $0.94




                                                                                                                    Page 1 of 2
                Case 5:17-cv-00564-NC                Document 248-1             Filed 10/09/18           Page 551 of 551


                                       Comparison Of Ginger Ale Products
                   Pricing Collected Online From Google Express With San Francisco Zip Code(a)

                                                          Sales Price                    Total Fl. Oz.                Price Per 10 Fl. Oz.


Q Spectacular Ginger Ale
 4 Packs of 7.5-Oz. Cans                                     $4.99                            30.0                            $1.66
 4 Packs of 6.7-Oz. Bottles                                  $6.49                            26.8                            $2.42


Fever-Tree Premium Ginger Ale
 4 Packs of 6.8-Oz. Bottles                                  $7.99                            27.2                            $2.94


Bruce Cost Unfiltered Ginger Ale
 4 Packs of 12-Oz. Bottles                                   $6.99                            48.0                            $1.46
 12-Oz. Bottles                                              $1.99                            12.0                            $1.66


Bruce Cost Unfiltered 66 Ginger Ale
 4 Packs of 12-Oz. Bottles                                   $6.99                            48.0                            $1.46

Notes:
(a) The following process was completed on August 13, 2018 to obtain pricing from Google Express: (1) Go to
https://express.google.com/; (2) Input a San Francisco zip code chosen at random (94117); (3) Type criteria ("Canada Dry Ginger Ale",
"Schweppes", "Vernors", "Reed's", "Q Spectacular", "Fever-Tree", and "Bruce Cost") into search box.
(b) Google Express is an online shopping service that allows consumers to shop for products available from multiple stores in the area
(identified by a zip code). As such, the prices in this table were not all observed from the same retail store. For example, the price for a 2-
liter bottle of Canada Dry Ginger Ale was observed for a Vicente Foods store, while the price for a 2-liter bottle of Diet Canada Dry Ginger
Ale was observed for a Walgreens store.




                                                                                                                                                  Page 2 of 2
